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                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF DELAWARE

In re:                                                 Chapter 11

PROTERRA INC, et al.,1                                 Case No. 23-11120 (BLS)

                                                       (Jointly Administered)
                Debtors.


                                 CERTIFICATE OF SERVICE

       I, Rossmery Martinez, depose and say that I am employed by Kurtzman Carson
Consultants LLC (KCC), the proposed claims and noticing agent for the Debtors in the above-
captioned case.

        On September 8, 2023, at my direction and under my supervision, employees of KCC
caused to be served the following document via Electronic Mail upon the service list attached
hereto as Exhibit A; and via First Class Mail upon the service lists attached hereto as Exhibit B,
Exhibit C, Exhibit D and Exhibit E; Potential bidders were served via Electronic Mail with the
following document but have been redacted from disclosure on this certificate of service.

    •    Notice of Bidding Procedures, Auction Date, and Potential Sales [substantially in the
         form of Docket No. 222]

Dated: September 19, 2023
                                                           /s/ Rossmery Martinez
                                                           Rossmery Martinez
                                                           KCC
                                                           222 N Pacific Coast Highway, 3rd Floor
                                                           El Segundo, CA 90245
                                                           Tel 310.823.9000




1
    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
    identification number, are as follows: Proterra Inc (1379); and Proterra Operating Company, Inc.
    (8459). The location of the Debtors’ service address is: 1815 Rollins Road, Burlingame, California
    94010.
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               Exhibit A
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                                                                         Exhibit A
                                                                   Core/2002 Service List
                                                                  Served via Electronic Mail



              Description                      CreditorName               CreditorNoticeName                                 Email
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  State Attorney General Alaska        Alaska Attorney General        Attn Bankruptcy Department       attorney.general@alaska.gov
  State Attorney General Arizona       Arizona Attorney General - CSS Attn Bankruptcy Department       BCEIntake@azag.gov
  State Attorney General Arkansas      Arkansas Attorney General      Attn Bankruptcy Department       OAG@ArkansasAG.gov
                                                                                                       Dkoschik@arowglobal.com;
                                                                                                       bhalama@arowglobal.com;
  Top 30 Party                         AROW Global Corp                 Tim Winters                    tim.winters@arowglobal.com
  Bank of America                      Bank of America NA               Michael McCauley               Michael.Mccauley2@bofa.com
  Counsel to Navistar, Inc.            Barnes & Thornburg LLP           Jonathan Sundheimer            Jonathan.Sundheimer@btlaw.com
  Counsel to Navistar, Inc.            Barnes & Thornburg LLP           Kevin G. Collins               Kevin.Collins@btlaw.com
  Counsel to Capital Metropolitan
  Transportation Authority             Bayard, P.A.                     Evan T. Miller                 emiller@bayardlaw.com
  Counsel to South Bay Solutions, Inc. Binder & Malter, LLP             Wendy Watrous Smith            wendy@bindermalter.com
  Top 30 Party                         Birlasoft Solutions Inc.         Sumit Mehrish                  sumit.mehrish@birlasoft.com
                                       Bloomington-Normal Public
  Top 30 Party                         Transit System                   Brady Lange                    blange@connect-transit.com
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                                                                                                       Mai.Tran@bossard.com;
  Top 30 Party                         Bossard Inc.                     Attn Director or Officer       ecanales@bossard.com
                                       Bow Valley Regional Transit      Martin Bean, Chief
  Top 30 Party                         Services Commission              Administrative Officer         martin.bean@roamtransit.com
                                       Buchalter, A Professional
  Counsel to Oracle America, Inc.      Corporation                      Shawn M. Christianson, Esq     schristianson@buchalter.com
                                       Capital Metropolitan
  Top 30 Party                         Transportation Authority         Kerri Butcher                  kerri.butcher@capmetro.org
  Top 30 Party                         Chicago Transit Authority        Sanja Noble                    SNoble@transitchicago.com
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  Top 30 Party                          City of Fresno                  Purchasing Department          gary.watahira@fresno.gov
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  State Attorney General Connecticut Connecticut Attorney General       Attn Bankruptcy Department     attorney.general@ct.gov
  Administrative and Collateral Agents
  Under the Debtors’ Prepetition Credit CSI GP I LLC, as Collateral                                    ewa.kozicz@cowen.com;
  Facilities (Cowen)                    Agent                           Ewa Kozicz, Vusal Najafov      vusul.najafov@cowen.com
                                        Danfoss Power Solutions (US)
  Top 30 Party                          Company                         Cliff Stokes                   cliff.stokes@danfoss.com
  State Attorney General Delaware       Delaware Attorney General       Attn Bankruptcy Department     attorney.general@state.de.us
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  DE State Treasury                    Delaware State Treasury                                         statetreasurer@state.de.us
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                                       Highland Electric
  Top 30 Party                         Transportation, Inc.             Sean Leach                     sean@highlandfleets.com
  Counsel to the First Lien Agent,                                      Attn Robert Jones and Brent    robert.jones@hklaw.com;
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                                                                         Exhibit A
                                                                   Core/2002 Service List
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  State Attorney General Kentucky        Kentucky Attorney General       Attn Bankruptcy Department     attorney.general@ag.ky.gov
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  State Attorney General Montana         Montana Attorney General        Attn Bankruptcy Department contactocp@mt.gov
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  Top 30 Party                           Nikola Iveco Europe GmbH        Francesco Donato, CPO         francesco.donato@ivecogroup.com
                                         Ningbo Yexing Automotive Part
  Top 30 Party                           Co., Ltd.                     Coco Rong                        sales@yexingauto.com
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                                                                              Exhibit A
                                                                        Core/2002 Service List
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  Top 30 / Official Committee of
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  SEC Regional Office                 Commission                             Regional Director            philadelphia@sec.gov
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  SEC Headquarters                    Commission                             Secretary of the Treasury    SECBankruptcy-OGC-ADO@SEC.GOV
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  Top 30 Party                           South Bay Solutions Inc             Rosa Neyman                  rneyman@southbaysolutions.com
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  State Attorney General South
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  Top 30 / Official Committee of
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                                         US Attorney for District of
  US Attorney for District of Delaware   Delaware                            US Attorney for Delaware     usade.ecfbankruptcy@usdoj.gov
                                         US Customs & Border
  Top 30 Party                           Protection                          Office of Finance            Bankruptcyteam@cbp.dhs.gov
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  State Attorney General Virginia        Virginia Attorney General           Attn Bankruptcy Department   mailoag@oag.state.va.us
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                                                                                                          Matt.Barter@voltatrucks.com;
  Top 30 Party                         Volta Trucks                          John Burrows                 jacqueline.dakin@skadden.com
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  Official Committee of Unsecured
  Creditors                            Wilshire Law Firm                     Michele Thorne               benjamin@wilshirelawfirm.com
  State Attorney General Wisconsin     Wisconsin Attorney General            Attn Bankruptcy Department   dojbankruptcynoticegroup@doj.state.wi.us
  State Attorney General Wyoming       Wyoming Attorney General              Attn Bankruptcy Department   judy.mitchell@wyo.gov




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                Exhibit B
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                                                                                                        Exhibit B
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              Description                   CreditorName                 CreditorNoticeName              Address1                  Address2           Address3      City    State     Zip    Country
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                                      Arizona Attorney General -
  State Attorney General Arizona      CSS                            Attn Bankruptcy Department PO Box 6123                  MD 7611                             Phoenix        AZ   85005-6123
  State Attorney General Arkansas     Arkansas Attorney General      Attn Bankruptcy Department 323 Center St. Ste 200                                           Little Rock    AR   72201-2610
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                                                                                                Bank of America Corporate
  Bank of America                     Bank of America NA             Michael McCauley           Center                       100 North Tryon Street              Charlotte    NC     28255
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  Counsel to Navistar, Inc.            Barnes & Thornburg LLP        Kevin G. Collins           1200                                                             Wilmington     DE   19801
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                                       Bloomington-Normal Public
  Top 30 Party                         Transit System                Brady Lange                    351 Wylie Drive                                              Normal      IL      61961
  Top 30 Party                         Bossard Inc.                  Attn Director or Officer       6521 Production Drive                                        Cedar Falls IA      50613
                                       Bow Valley Regional Transit   Martin Bean, Chief
  Top 30 Party                         Services Commission           Administrative Officer     221 Beaver Street                                                Banff      AB       T1L 1A5      Canada
                                       Buchalter, A Professional                                425 Market Street, Suite                                         San
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                                       Capital Metropolitan
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  Top 30 Party                         Chicago Transit Authority     Sanja Noble                  567 W. Lake Street                                               Chicago      IL   60661
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  Top 30 Party                         City of Fresno                Purchasing Department        2156                                                             Fresno       CA   93721
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  Under the Debtors’ Prepetition       CSI GP I LLC, as Collateral
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                                       Danfoss Power Solutions
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                                                                                                  820 Silver Lake Blvd., Suite
  DE State Treasury                    Delaware State Treasury                                    100                                                              Dover        DE   19904
  State Attorney General District of   District of Columbia Attorney
  Columbia                             General                       Attn Bankruptcy Department 400 6th Street NW                                                  Washington   DC   20001




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                                                                                                  Exhibit B
                                                                                           Core/2002 Service List
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              Description                   CreditorName             CreditorNoticeName                 Address1                 Address2          Address3       City     State      Zip       Country
  Counsel for the Southeastern
  Pennsylvania Transportation
  Authority                          Duane Morris LLP             Lawrence J. Kotler, Esquire 30 South 17th Street                                            Philadelphia PA      19103
                                                                  Danielle Rushing Behrends, 112 E. Pecan Street, Suite
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  State Attorney General Georgia     Georgia Attorney General     Attn Bankruptcy Department 40 Capital Square, SW                                            Atlanta     GA       30334-1300
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                                                                                                                         302 West Washington
  State Attorney General Indiana     Indiana Attorney General     Attn Bankruptcy Department Indiana Govt Center South St 5th Fl                              Indianapolis IN      46204
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                                                                  Centralized Insolvency
  IRS                                Internal Revenue Service     Operation                   PO Box 7346                                                     Philadelphia PA      19101-7346
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                                                                                                                         Capitol Building, Suite
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                                     Law Office of Susan E.
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  Airport Authority                  Lampl, Inc.                  Sandford L. Frey            Suite 300                                                       Pasadena     CA      91101
  Counsel to Ontario International   Leech Tishman Fuscaldo &
  Airport Authority                  Lampl, Inc.                  Steven B. Eichel            875 Third Avenue, 9th Floor                                     New York     NY      10022
                                                                                                                                                                                                Republic
  Top 30 Party                       LG Energy Solution, LTD.     David Lee                   Tower 1, 108, Yeoui-daero     Yeongdeungpo-gu                   Seoul                07336        of Korea
                                     Los Angeles Department of
  Top 30 Party                       Transportation               General Manager             100 S. Main St., 10th Floor                                     Los Angeles CA       90012
                                                                                                                                                              Baton
  State Attorney General Louisiana   Louisiana Attorney General   Attn Bankruptcy Department PO Box Box 94005                                                 Rouge       LA       70804




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               Description                      CreditorName              CreditorNoticeName                 Address1                Address2           Address3            City   State      Zip       Country
                                                                      Jeffrey L. Cohen, Esquire,
                                                                      Eric S. Chafetz, Esquire,
                                                                      Jordana L. Renert, Esquire
  Proposed Counsel to the Official                                    and Michael A. Kaplan,       1251 Avenue of the
  Committee of Unsecured Creditors       Lowenstein Sandler LLP       Esquire                      Americas                                                          New York      NY      10020
                                                                                                                               3055 Wilshire Blvd,
  Top 30 Party                           Maho Lazo                    Wilshire Law Firm          Benjamin Haber                12th Fl                               Los Angeles CA        90010
  State Attorney General Maine           Maine Attorney General       Attn Bankruptcy Department 6 State House Station                                               Augusta     ME        04333
  State Attorney General Maryland        Maryland Attorney General    Attn Bankruptcy Department 200 St. Paul Place                                                  Baltimore   MD        21202-2202
  State Attorney General                 Massachusetts Attorney                                  One Ashburton Place 20th
  Massachusetts                          General                      Attn Bankruptcy Department Floor                                                               Boston        MA      02108-1518
  Counsel to Philadelphia Indemnity      McElroy, Deutsch, Mulvaney   Gaston P. Loomis, Esq. and 300 Delaware Avenue, Suite
  Insurance Company                      & Carpenter, LLP             Gary D. Bressler, Esq.     1014                                                                Wilmington    DE      19801
  Top 30 Party                           Miami-Dade County            County Attorney            701 NW 1st Court 15th Floor                                         Miami         FL      33136
  Counsel to Miami-Dade County,
  Florida, Department of                 Miami-Dade County            Ileana Cruz, Assistant     111 N.W. First Street, Suite
  Transportation and Public Works        Attorney's Office            County Attorney            2810                                                                Miami         FL      33128-1993
                                                                                                 G. Mennen Williams
  State Attorney General Michigan        Michigan Attorney General    Attn Bankruptcy Department Building                     525 W. Ottawa St.       P.O. Box 30212 Lansing       MI      48909
  Counsel to City of Detroit, Michigan
  and JR Automation Technologies,        Miller, Canfield, Paddock and Marc N. Swanson and       150 W. Jefferson Avenue,
  LLC                                    Stone, P.L.C.                 Ronald A. Spinner         Suite 2500                                                        Detroit         MI      48226
  State Attorney General Minnesota       Minnesota Attorney General Attn Bankruptcy Department 445 Minnesota St Suite 1400                                         St Paul         MN      55101-2131
  State Attorney General Mississippi     Mississippi Attorney General Attn Bankruptcy Department Walter Sillers Building   550 High St Ste 1200                    Jackson         MS      39201
                                                                                                                                                                   Jefferson
  State Attorney General Missouri        Missouri Attorney General    Attn Bankruptcy Department Supreme Court Bldg            207 W. High St.       P.O. Box 899  City            MO      65101
  State Attorney General Montana         Montana Attorney General     Attn Bankruptcy Department Justice Bldg                  215 N. Sanders 3rd Fl PO Box 201401 Helena          MT      59620-1401
                                         Monzack Mersky and
  Counsel to Waste Management            Browder, P.A.                Rachel Mersky                1201 N. Orange St, Ste 400                                        Wilmington    DE      19801
                                                                      Eric J. Monzo, Esquire,Brya
  Proposed Counsel to the Official                                    M. Keilson, Esquire and Tara 500 Delaware Avenue, Suite
  Committee of Unsecured Creditors       Morris James LLP             C. Pakrouh, Esquire          1500                                                              Wilmington    DE      19801
  Top 30 Party                           Navistar, Inc.               Ellen Mahaffey               2701 Navistar Drive                                               Lisle         IL      60532
  State Attorney General Nebraska        Nebraska Attorney General    Attn Bankruptcy Department 2115 State Capitol           P.O. Box 98920                         Lincoln       NE      68509
  State Attorney General Nevada          Nevada Attorney General      Attn Bankruptcy Department Old Supreme Ct. Bldg.        100 N. Carson St                       Carson City   NV      89701
  State Attorney General New             New Hampshire Attorney
  Hampshire                              General                Attn Bankruptcy Department 33 Capitol St.                                                            Concord       NH      03301
                                                                                           Richard J. Hughes Justice
  State Attorney General New Jersey New Jersey Attorney General Attn Bankruptcy Department Complex                             25 Market St           PO Box 080     Trenton       NJ      08625-0080
  State Attorney General New Mexico New Mexico Attorney General Attn Bankruptcy Department 408 Galisteo St                     Villagra Building                     Santa Fe      NM      87501
                                                                                           Office of the Attorney
  State Attorney General New York   New York Attorney General Attn Bankruptcy Department General                               The Capitol, 2nd Fl.                  Albany        NY      12224-0341
                                                                Bruna Chiosini & Nikola
  Top 30 Party                      Nikola Corporation          Legal                      4141 E. Broadway Rd.                                                      Phoenix       AZ      85040
  Top 30 Party                      Nikola Iveco Europe GmbH Francesco Donato, CPO         Nicolaus-Otto-Strasse 27                                                  Ulm                   89079        Germany
                                                                                                                               Cidong Binhai
                                         Ningbo Yexing Automotive                                                              Economic
  Top 30 Party                           Part Co., Ltd.               Coco Rong                    No. 259 Haifeng Road        Development Area                      Cixi                  315338       China




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              Description                     CreditorName             CreditorNoticeName                    Address1                 Address2    Address3       City     State      Zip       Country
  State Attorney General North        North Carolina Attorney
  Carolina                            General                       Attn Bankruptcy Department 9001 Mail Service Center                                      Raleigh      NC      27699-9001
                                      North Dakota Attorney
  State Attorney General North Dakota General                       Attn Bankruptcy Department 600 E. Boulevard Ave.             Dept 125                    Bismarck     ND      58505-0040
                                      Office of the United States
  US Trustee for District of DE       Trustee Delaware              Linda J. Casey             844 King St Ste 2207              Lockbox 35                  Wilmington   DE      19801
  State Attorney General Ohio         Ohio Attorney General         Attn Bankruptcy Department 50 E. Broad Street 17th Fl                                    Columbus     OH      43215
                                                                                                                                                             Oklahoma
  State Attorney General Oklahoma     Oklahoma Attorney General     Attn Bankruptcy Department 313 NE 21st St                                                City         OK      73105
  State Attorney General Oregon       Oregon Attorney General       Attn Bankruptcy Department 1162 Court St. NE                                             Salem        OR      97301-4096
  Counsel to CSI GP I LLC and its     Pachulski Stang Ziehl &       Laura Davis Jones, Peter J.
  affiliates                          Jones LLP                     Keane and Edward A. Corma 919 N. Market St, 17th Fl          P.O. Box 8705               Wilmington   DE      19899-8705
                                      Pennsylvania Attorney                                     16th Floor, Strawberry
  State Attorney General Pennsylvania General                       Attn Bankruptcy Department Square                                                        Harrisburg   PA      17120
                                      Port Authority of New York    Port Authority Law                                                                       New York
  Top 30 Party                        and New Jersey                Department                  150 Greenwich St, 24th Fl                                    City         NY      10007
  Top 30 / Official Committee of
  Unsecured Creditors                 Power Electronics USA         Mr. Carlos Llombart            1510 N. Hobson Ave                                        Gilbert      AZ      85233
                                      Rhode Island Attorney
  State Attorney General Rhode Island General                       Attn Bankruptcy Department 150 S. Main St.                                               Providence   RI      02903
  Top 30 Party                        Rhombus Energy Solutions      Scott Stromenger           10915 Technology Pl                                           San Diego    CA      92127
                                                                                               1201 N. Market Street, Suite
  Counsel to Meritor, Inc.             Robinson & Cole LLP          Jamie L. Edmonson          1406                                                          Wilmington   DE      19801
                                       Ron Whites Air Compressors,
  Top 30 Party                         Inc                         Brittany Moore                  4019 S Murray Ave                                         Anderson     SC      29626
                                       Securities & Exchange       NY Regional Office,
  SEC Regional Office                  Commission                  Regional Director               100 Pearl St., Suite 20-100                               New York     NY      10004-2616
                                       Securities & Exchange
  SEC Regional Office                  Commission                  Regional Director               1617 JFK Boulevard Ste 520                                Philadelphia PA      19103
                                       Securities & Exchange
  SEC Headquarters                     Commission                  Secretary of the Treasury       100 F St NE                                               Washington DC        20549
  Top 30 / Official Committee of
  Unsecured Creditors                 Sensata Technologies, Inc.    Mr. Justin Colson              529 Pleasant St                                           Attleboro    MA      02703
  Counsel to CSI GP I LLC and its                                   Dennis M. Twomey and
  affiliates                           Sidley Austin LLP            Jackson T. Garvey              One South Dearborn                                        Chicago      IL      60603
  Counsel to CSI GP I LLC and its
  affiliates                           Sidley Austin LLP            Maegan Quejada                 1000 Louisiana St, Ste 5900                               Houston      TX      77002
  Counsel to CSI GP I LLC and its
  affiliates                          Sidley Austin LLP             Thomas R. Califano             787 Seventh Avenue                                        New York     NY      10019
  Top 30 Party                        Sigma Machine, Inc.           Attn Director or Officer       3358 Center Park Plaza                                    Kalamazoo    MI      49048
  Top 30 Party                        South Bay Solutions Inc       Rosa Neyman                    37399 Centralmont Place                                   Fremont      CA      94536
  State Attorney General South        South Carolina Attorney
  Carolina                            General                       Attn Bankruptcy Department P.O. Box 11549                                                Columbia     SC      29211
  State Attorney General South        South Dakota Attorney                                    1302 East Highway 14 Suite
  Dakota                              General                       Attn Bankruptcy Department 1                                                             Pierre       SD      57501-8501
  State Attorney General Tennessee    Tennessee Attorney General    Attn Bankruptcy Department P.O. Box 20207                                                Nashville    TN      37202-0207
  State Attorney General Texas        Texas Attorney General        Attn Bankruptcy Department 300 W. 15th St                                                Austin       TX      78701
  Top 30 / Official Committee of
  Unsecured Creditors                 TPI, Inc.                     Jerry Lavine                   373 Market St, PO Box 367                                 Warren       RI      02885




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                                                                     David R. Jury, General     60 Boulevard of the Allies,
  Counsel to United Steelworkers       United Steelworkers           Counsel                    Room 807                                                      Pittsburgh   PA      15222
                                       US Attorney for District of
  US Attorney for District of Delaware Delaware                      US Attorney for Delaware   1313 N Market Street          Hercules Building               Wilmington   DE      19801
                                       US Customs & Border
  Top 30 Party                         Protection                    Office of Finance          6650 Telecom Drive                                            Indianapolis IN      46278
                                                                                                                        350 North State Street,               Salt Lake
  State Attorney General Utah          Utah Attorney General      Attn Bankruptcy Department Utah State Capitol Complex Suite 230                             City         UT      84114-2320
  Top 30 Party                         Valley Regional Transit    Jason Rose                 700 NE 2nd St., Ste. 100                                         Meridian     ID      83642
  State Attorney General Vermont       Vermont Attorney General   Attn Bankruptcy Department 109 State St.                                                    Montpelier VT        05609-1001
  State Attorney General Virginia      Virginia Attorney General  Attn Bankruptcy Department 202 North Ninth St                                               Richmond     VA      23219
  Top 30 Party                         Volta Trucks               John Burrows               Olof Palmesgata 29 Fl 4                                          Stockholm            111 22     Sweden
  State Attorney General Washington Washington Attorney General Attn Bankruptcy Department 1125 Washington St SE        PO Box 40100                          Olympia      WA      98504-0100
                                       West Virginia Attorney                                State Capitol Bldg 1 Rm E- 1900 Kanawha Blvd.,
  State Attorney General West Virginia General                    Attn Bankruptcy Department 26                         East                                  Charleston   WV      25305
  Official Committee of Unsecured                                                                                       3055 Wilshire Blvd.,
  Creditors                            Wilshire Law Firm          Michele Thorne             Attn: Benjamin Haber, Esq. 12th Floor                            Los Angeles CA       90010
  State Attorney General Wisconsin     Wisconsin Attorney General Attn Bankruptcy Department Wisconsin Dept. of Justice 114 East, State Capitol PO Box 7857   Madison     WI       53707-7857
  State Attorney General Wyoming       Wyoming Attorney General   Attn Bankruptcy Department 109 State Capitol                                                Cheyenne WY          82002




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    15Five, Inc.                                                           Dept LA 25012                                                                  Pasadena        CA           91185-5012
    247Security Inc                                                        1455 Alderman Drive                                                            Alpharetta      GA           30005
    3D Infotech                                                            7 Hubble                                                                       Irvine          CA           92618
    3DP Unlimited LLC                   3D Platform                        6402 Rockton Road                                                              Roscoe          IL           61073
    3R, Incorporated                    Jay Holcomb                        1 Arundel Road                                                                 Greenville      SC           29615
                                                                                                                 5018 Bristol Industrial
    424 Laboratories LLC                DBA Laboratory Design and Supply   DBA Laboratory Design and Supply      Way                       Suite 206      Buford          GA           30518
    4Imprint, Inc.                                                         101 Commerce Street                                                            Oshkosh         WI           54901
    4K Enterprises, LLC                 Instant Imprints                   8590 Pelham Road                      Suite 11                                 Greenville      SC           29615
    4X Engineering Inc.                                                    4340 Stevens Creek Blvd.              Suite 240                                San Jose        CA           95129
    601 W Companies LLC                                                    PO Box 310743                                                                  Des Moines      IA           50331
    A & E Technologies                  Tom Kilworth                       14252 W. 44th Avenue                  Unit A                                   Golden          CO           80401
    A & W Lock & Key Service                                               PO Box 44510                          RPO 1st Avenue                           Vancouver       BC           V5L 4R8      Canada
    A and A Fleet Painting Inc          The Paint Department Inc           13565 12th Street                                                              Chino           CA           91710
    A Plus Avionics Corp                AvionTeq                           7240 Hayvenhurst Place                Van Nuys Airport                         Van Nuys        CA           91406
    A&A Brake Service Co., Inc.         Gerald Abatemarco                  50 Roselle St                                                                  Mineola         NY           11501-1907
    A&A Brake Service Co., Inc.         Nazneen Sultana                    50 Roselle St                                                                  Mineola         NY           11501-1907
    A. Schulman, Inc.                                                      PO Box 932768                                                                  Cleveland       OH           44193

    A-1 Base, Inc.                                                         4980 Niagara Street                                                            Commerce City CO             80022
    A-1 Jays Machining, Inc.            James Machathil                    2228 Oakland Rd                                                                San Jose      CA             95131
    A-1 Jays Machining, Inc.            Jason Rush                         2228 Oakland Rd                                                                San Jose      CA             95131
    A1 Welding                                                             PO Box 405                                                                     Keenesburg    CO             80643
    A2MAC1 LLC                          Giovanna Dourado                   8393 Rawsonville Road                                                          Belleville    MI             48111
    A2Q2 Corporation                                                       303 Twin Dolphin Drive - Ste 600                                               Redwood City CA              94065
    AAA Locksmiths & Alarm Co                                              1613 Wade Hampton Blvd                                                         Greenville    SC             29609
    Aaron Rifkin                        Lamer Street Kreations Corp        Address Redacted

    AATIS, Inc.                                                            PMB 202                               3504 Highway 153                         Greenville      SC           29611
    Abaris Training Resources, Inc.                                        5401 Longley Lane                     Suite 49                                 Reno            NV           89511
    ABB E-Mobility Inc.                                                    305 Gregson Drive                                                              Cary            NC           27511
    ABB Inc. (USA)                      Heather Biwer                      PO Box 88868                                                                   Chicago         IL           60695-1868
    ABB Inc. (USA)                      Heather Biwer                      4050 E. Cotton Center Blvd.                                                    Phoenix         AZ           85040
    ABB Inc. (USA)                      Pat Hayes                          4050 E. Cotton Center Blvd.                                                    Phoenix         AZ           85040
    ABB Inc. (USA)                                                         305 Gregson Drive                                                              Cary            NC           27511
    ABB Inc. (USA)                                                         950 W. Elliot Road                                                             Tempe           AZ           85284
    ABB, Inc.                                                              800 Hymus                                                                      St-Laurent      QC           H4S 0B5      Canada
    ABC Bus, Inc.                       CHUCK DOBLE                        17469 West Colonial Drive                                                      Winter Garden   FL           34787
    ABC Bus, Inc.                       JOHN GILLIS                        17469 West Colonial Drive                                                      Winter Garden   FL           34787
    ABC Bus, Inc.                       MECHELLE PECKHAM                   17469 West Colonial Drive                                                      Winter Garden   FL           34787
    ABC Bus, Inc.                                                          17469 West Colonial Drive                                                      Winter Garden   FL           34787
    ABC Bus, Inc.                                                          PO Box 856703                                                                  Minneapolis     MN           55485
    ABC Electrical Services LLC                                            5299 NE 15th Street                                                            Des Moines      IA           50313
    ABC Fire Extinguisher Co., Inc.                                        1025 Telegraph St                                                              Reno            NV           89502
    ABC Fire Protection, Inc.                                              35325 Fircrest St, Ste D                                                       Newark          CA           94560
    Abdalla, Ibrahem                                                       Address Redacted
    Abera, Yosef                                                           Address Redacted
    ABF Freight System Inc.                                                3801 Old Greenwood Road                                                        Fort Smith      AR           72917-0048
    Able Engravers, Inc.                Eric Cooper                        9521 North Kedvale Avenue                                                      Skokie          IL           60076
    Able South Carolina                                                    720 Gracern Rd                        Suite 106                                Columbia        SC           29150
    ABM Electrical Power Services LLC                                      PO Box 419860                                                                  Boston          MA           02241-9860
    ABM Electrical Power Services LLC                                      14141 SW Freeway                      Suite 400                                Sugar Land      TX           77478




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    ABM Electrical Power Services LLC                                 14201 Franklin Avenue                                                        Tustin          CA           92780
    Absolute Metrology LLC               DBA Carolina Metrology LLC   197 Ridgeview Center Dr, Suite E                                             Duncan          SC           29334
    Absolute Metrology LLC               DBA Carolina Metrology LLC   567 Old Bethel Rd                                                            Moore           SC           29369
    Abujohn, Joshua                                                   Address Redacted
    Abukani, Masthan Ali Raja                                         Address Redacted
    ABX Engineering, Inc.                                             875 Stanton                                                                  Burlingame      CA           94010
    Academy Express LLC                  Randy Imbrogno               111 Paterson Avenue                                                          Hoboken         NJ           07030
    ACC Business                         AT&T Corp                    PO Box 5077                                                                  Carol Stream    IL           60197-5077

    ACC Climate Control                                               PO Box 1905                           22428 Elkhart East Blvd                Elkhart         IN           46514

    Access Manufacturing Systems, Inc.                                10150 Mallard Creed Road              Suite 207                              Charlotte       NC           28262
    Access Uniforms, Inc.                                             1731 Adrian Rd.                       #1                                     Burlingame      CA           94010
    Accilator Technologies AB                                         Munkbron 11                                                                  Stockholm                    111 28        Sweden
    ACCO Engineering Systems, Inc.                                    888 East Walnut Street                                                       Pasadena        CA           91101
    Accountemps                                                       PO Box 743295                                                                Los Angeles     CA           90074-3295
    Accu-Mold, LLC                                                    7622 S. Sprinkle Road                                                        Portage         MI           49002
    Accurate Composites LLC              Accurate Plastics            DBA Accurate Plastics                 7 Country Way                          Hopkinton       MA           01748
    Ace High Casino Rentals              Mary Alice Hall              12872 Valley View Street, Ste 1                                              Garden Grove    CA           92845
    Ace High Casino Rentals              Warren Lee                   12872 Valley View Street, Ste 1                                              Garden Grove    CA           92845
    ACF Components & Fasteners, Inc.     Steve Murphy                 2512 Tripaldi Way                                                            Hayward         CA           94545-5033
    ACI Gift Cards, LLC                                               410 Terry Ave N                                                              Seattle         WA           98109
                                                                                                                                                   Clinton
    ACME Gear Company, Inc.                                           23402 Reynolds Court                                                         Township        MI           48036
    Acosta Jr., Armando                                               Address Redacted
    Acree, Mark                                                       Address Redacted
    Act Test Panels LLC                                               273 Industrial Drive                                                         Hillsdale       MI           49242
    Actalent                             Allegis Group Holdings       7301 Parkway Drive                                                           Hanover         MD           21076
    Actalent                             Allegis Group Holdings       3689 Collection Center Drive                                                 Chicago         IL           60693-0036
    ACTIA Corporation                    Gina Pratt                   2809 Bridger Court                                                           Elkhart         IN           46514
    ACTIA Corporation                                                 2809 Bridger Court                                                           Elkhart         IN           46514
    Action Fabricators Inc               Marie Frimodig               3760 East Paris Ave SE                                                       Grand Rapids    MI           49512
    Action Fabricators Inc                                            3760 East Paris Ave SE                                                       Grand Rapids    MI           49512
    Active Cyber LLC                                                  16000 Dallas Parkway                  STE 550                                Dallas          TX           75248
    Acxess Spring                        Sarah Hughes                 2225 East Cooley Drive                                                       Colton          CA           92324
    Acxess Spring                                                     2225 East Cooley Drive                                                       Colton          CA           92324
    Adams Jr., Robert                                                 Address Redacted
    Adams, Edla                                                       Address Redacted
    Adams, Lucas                                                      Address Redacted
    Adaptive Insights LLC                Ali Pickering                2300 Geng Road, Suite 100                                                    Palo Alto       CA           94303
    Adaptive Insights LLC                Jennie Costello              2300 Geng Road, Suite 100                                                    Palo Alto       CA           94303
    Adaptive Insights LLC                                             PO Box 399115                                                                San Francisco   CA           94139-9115
    Adaptive Insights LLC                                             2300 Geng Road, Suite 100                                                    Palo Alto       CA           94303
    Adco Products, Inc.                                               PO Box 74745                                                                 Cleveland       OH           44194
    Addison Group                        CV Partners                  7076 Solutions Center                                                        Chicago         IL           60677
    Addison Group DBA CVPartners         Jamie Garbis                 125 South Wacker Drive Suite 2700                                            Chicago         IL           60606
    Additive Manufacturing LLC                                        21088 Bake Parkway, #106                                                     Lake Forest     CA           92630
    Adkins, Mason                                                     Address Redacted
    Adler & Colvin, a law corporation    Susan Williams               135 Main Street, 20th Floor                                                  San Francisco   CA           94105
    Adomaitis, Kenneth                                                Address Redacted
    Adomaitis, Kenneth                                                Address Redacted
    Adonai Enterprises, Inc              DBA Mathews Mechanical       7752 Enterprise Dr                                                           Newark          CA           94560




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                 CreditorName                    CreditorNoticeName                    Address1                           Address2        Address3         City           State           Zip    Country
    Adrian Araujo Romain                                                 Address Redacted
    Advanced Air Products                                                2901 S. Tejon St.                                                           Englewood       CO           80110
    Advanced Aluminum Structures         Landsport                       1220 Sturgis St.                                                            Sturgis         SD           57785
    Advanced Automated Ergonomic                                                                                                                     Rancho Santa
    Solitions Inc.                       A.A.E.S. Inc.                   18 Santa Sophia                                                             Margarita       CA           92688
    Advanced Circuits                                                    21101 E. 32nd Parkway                                                       Aurora          CO           80011
    Advanced Composites, LLC             Mark Anassis                    57 Patchogue Street                                                         Patchogue       NY           11772
    Advanced Electronic Services, Inc.   DBA AES, Inc.                   101 Technology Lane                                                         Mount Airy      NC           27030

    Advanced Electronic Services, Inc.   DBA AES, Inc.                   DBA AES, Inc.                            101 Technology Lane                Mount Airy      NC           27030

    Advanced Electronic Services, Inc.   DBA AES, Inc.                   SHANNON (No Longer w/Co) SMITH 101 Technology Lane                          Mount Airy      NC           27030
    Advanced Energy Economy Inc.                                         135 Main Street                Suite 1320                                   San Francisco   CA           94105

    Advanced Environmental Options, Inc.                                 25 Stan Perkins Rd                                                          Spartanburg     SC           29307
    Advanced Laser & Waterjet Cutting,
    Inc.                                 Rick Linthicum                  48607 Warm Springs Blvd.                                                    Fremont         CA           94539
    Advanced Mat Systems, Inc.           Genee LaMarsh                   3300, 205-5th Avenue SW                                                     Calgary         AB           T2P 2V7       Canada
    Advanced Packaging Solutions &
    Products, Inc.                                                       553 Trade Center Parkway                 Suite 101                          Summerville     SC           29483
    Advanced Rigging & Machinery
    Movers, LLC                          Matthew Hinty                   2117 Three and Twenty Road                                                  Easley          SC           29642
    Advanced Technology Innovation
    Corp.                                                                15 Kenneth A. Miner Drive                                                   Wrentham        MA           02093
    Advanced Test Equipment
    Corporation                                                          10401 Roselle Street                                                        San Diego       CA           92121
    Advanced Traffic Products, Inc.      Bonnie Banks                    1122 Industry Street                     Building A                         Everett         WA           98203
    Advanced Traffic Products, Inc.      DEWEY GARNER                    1122 Industry Street                     Building A                         Everett         WA           98203
    Advanced Traffic Products, Inc.      SABRINA EARLY                   1122 Industry Street                     Building A                         Everett         WA           98203
    Advanced Underground Specialists,
    Inc.                                 Len Newman                      PO Box 70                                                                   Pickens         SC           29671
    Advanced Wheel Sales LLC             BROCK HENSEL                    28381 Network Place                                                         Chicago         IL           60673
    Advanced Wheel Sales LLC             SAM DAWLEY                      28381 Network Place                                                         Chicago         IL           60673
    Advanced Wheel Sales LLC             SANDRA MORRIS                   28381 Network Place                                                         Chicago         IL           60673
    Advantage GSA Consulting LLC                                         6412 Brandon Ave                         Lockbox 228                        Springfield     VA           22150
    Aeronet Worldwide                    DBA Aeronet Inc.                42 Corporate Park                        Suite 100                          Irvine          CA           92606
    Aerovironment Inc                                                    181 W Huntington Dr.                     Suite 202                          Monrovia        CA           91016
    AES Engineering Ltd.                 Amir Tavakoli                   950 - 505 Burrard Street                                                    Vancouver       BC           V7X1M4        Canada
    AFCO                                                                 Dept. 0809                               PO Box 120809                      Dallas          TX           75312-0809
    Afiat Milani, Alireza                                                Address Redacted
    AFL Telecommunications Inc           CAROL GARRETT                   15331 Industrial Park Road                                                  Bristol         VA           24202
    AFL Telecommunications Inc           DAVE CARTY                      15331 Industrial Park Road                                                  Bristol         VA           24202
    AFL Telecommunications Inc           MIKE OSBORNE                    15331 Industrial Park Road                                                  Bristol         VA           24202
    AFL Telecommunications Inc                                           15331 Industrial Park Road                                                  Bristol         VA           24202
    AGA Restaurant Group, LLC            DBA Above and Beyond Catering   2565 3rd Street                          Suite 336                          San Francisco   CA           94107
    AGM Container Control, Inc.          Chris Machado                   3526 E. Ft. Lowell Rd.                                                      Tucson          AZ           85716
    AGM Container Control, Inc.          jairo fernandez                 3526 E. Ft. Lowell Rd.                                                      Tucson          AZ           85716
    AGM Container Control, Inc.          Luana Cunningham                3526 E. Ft. Lowell Rd.                                                      Tucson          AZ           85716
    AGM Container Control, Inc.                                          3526 E. Ft. Lowell Rd.                                                      Tucson          AZ           85716
    Aguilar, Alberto                                                     Address Redacted
    Aguilar, John                                                        Address Redacted
    Aguilar, Jonathan                                                    Address Redacted




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                 CreditorName            CreditorNoticeName                      Address1                          Address2          Address3         City          State           Zip   Country
    Aguilar, Paul                                                 Address Redacted
    Aguirre, Marcos                                               Address Redacted
    Aha! Labs Inc.                                                20 Gloria Circle                                                              Menlo Park     CA           94025
    AHC Enterprises LLC          DBA Benjamin Franklin Plumbing   3307 New Easley Highway                                                       Greenville     SC           29611
    Ahern Rentals, Inc                                            1401 Mineral Ave                                                              Las Vegas      NV           89106
    Ahern Rentals, Inc                                            PO Box 271390                                                                 Las Vegas      NV           89127
    Ahir, Ami                                                     Address Redacted
    Ahmad, Ghufran                                                Address Redacted
    AHMAD, GHUFRAN                                                Address Redacted
    Ahmed, Mohammad                                               Address Redacted
    AIAG                                                          4400 Town Center                                                              Southfield     MI           48075
    Aiken, Dallas                                                 Address Redacted
    Air Exchange Inc.                                             495 Edison Ct.                         Suite A                                Fairfield      CA           94534
    Air Power Inc                                                 PO Box 5406                                                                   High Point     NC           27262
    Air Purification                                              8121 Edenezer Church Road                                                     Raleigh        NC           27612
    Air Solutions, LLC           BILLING Maggie Leon              37310 Cedar Blvd, Suite J                                                     Newark         CA           94560
    Air Solutions, LLC                                            37310 Cedar Blvd, Suite J                                                     Newark         CA           94560
    Air Specialists, Inc.                                         PO Box 4185                                                                   Marietta       GA           30061
    Air Squared Inc                                               510 Burbank Street                                                            Broomfield     CO           80020
    Airgas USA LLC                                                6055 Rockside Woods Blvd                                                      Independence   OH           44131
    Airgas USA, LLC              JOSHUA VICKERY                   PO Box 532609                                                                 Atlanta        GA           30353
    Airgas USA, LLC              JUSTIN BEASLEY                   PO Box 532609                                                                 Atlanta        GA           30353
    AIRGAS USA, LLC                                               2020 TRAIN AVE                                                                CLEVELAND      OH           44113-4205
    AJ Tucker                                                     Address Redacted
    Alabama Dept of Revenue                                       50 North Ripley St                                                            Montgomery     AL           36104
    Alabama Dept. of Revenue                                      Business Privilege Tax Section         P.O. Box 327320                        Montgomery     AL           36132-7320
    Aladdins Sash & Glass                                         1414 W Winton Ave.                                                            Hayward        CA           94545
    Alaniz, Paul                                                  Address Redacted

                                                                                                         333 Willoughby Avenue   State Office
    Alaska Dept of Revenue       Treasury Division                Unclaimed Property Program             11th Floor              Building       Juneau         AK           99801-1770
    Alaska Dept of Revenue                                        PO Box 110400                                                                 Juneau         AK           99811-0400
    Alaska Marine Lines Inc      Aloha Marine Lines               5615 W Marginal Way SW                                                        Seattle        WA           98106
    Albers Industrial Linings                                     2398 Old Zumbrofa St.                                                         Red Wing       MN           55066
    Alberto Suarez                                                Address Redacted
    Alcayde, Aldemar                                              Address Redacted
    Alcini, Kristen                                               Address Redacted
                                                                                                                                                Fernandina
    ALCO Covers                                                   222 S. 3rd Street                                                             Beach          FL           32034
    Aldridge Electric, Inc.                                       844 E Roackland Road                                                          Libertyville   IL           60048
    Alek Balayan                 DBA AB Off The Grid Catering     Address Redacted
    Alessandra Mendes            DBA Cleaning Glow                Address Redacted
    Alex John Puchala                                             Address Redacted
    Alexander, Li                                                 Address Redacted
    Alexandria Transit Company   Dash                             3000 Business Center Drive                                                    Alexandria     VA           22314
    Alfa Laval Inc.                                               PO Box 200081                                                                 Pittsburgh     PA           15251-0081
    Alfa Laval Inc.                                               5400 International Trade Dr.                                                  Richmond       VA           23231
    Alfinito, Alessandra                                          Address Redacted
    AlHussein, Kassem                                             Address Redacted
    Ali, Shiraaz                                                  Address Redacted
    Aligned CAE LLC                                               4801 Eagle Springs Ct                                                         Clarkston      MI           48348




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    All Clean Hazardous Waste Removal,
    Inc.                                                                 21 Great Oaks Blvd.                                                         San Jose        CA           95119-1359
    All Electric Construction &
    Communication LLC                                                    80 Farwell Street                                                           West Haven      CT           06516
    All Flex Flexible Circuits, LLC                                      1705 Cannon Lane                                                            Northfield      MN           55057
    All Girls Transportation & Logistics
    Inc.                                 AGT Global Logistics            800 Roosevelt Road                      Building C           Suite 300      Glen Ellyn      IL           60137
    Allcable                                                             PO Box 21376                                                                Denver          CO           80221
    Allegis Corporation                  ANGIE FEARS                     Lockbox 446047                          P.O. Box 64765                      St. Paul        MN           55164
    Allegis Corporation                  BRAD NUSS                       Lockbox 446047                          P.O. Box 64765                      St. Paul        MN           55164
    Allegis Corporation                  GEORGE CHAREST                  Lockbox 446047                          P.O. Box 64765                      St. Paul        MN           55164
    Allegis Corporation                                                  Lockbox 446047                          P.O. Box 64765                      St. Paul        MN           55164
                                         Aerotek/TEKSYSTEMS/Major,
    Allegis Group Holdings, Inc.         Lindsey & Africa Inc.           Aerotek, Inc.                           7301 Parkway Drive                  Hanover         MD           21076
                                         Aerotek/TEKSYSTEMS/Major,
    Allegis Group Holdings, Inc.         Lindsey & Africa Inc.           Teksystems, Inc.                        7437 Race Road                      Hanover         MD           21076
    Allen Lund Co                                                        PO Box 51083                                                                Los Angeles     CA           90051
    Allen Michael Adolph                 DBA Adolph Consulting Service   Address Redacted
    Allen, Derrick                                                       Address Redacted
    Allen, Elisha                                                        Address Redacted
    Allen, Jack                                                          Address Redacted
    Alliance Benefit Group of Michigan,
    Inc.                                                                 30100 Telegraph Road                    Suite 170                           Bingham Farms MI             48025
    Alliance Cable and Wire Harness      Cole Matson                     500 S 550 W Building 4                                                      Lindon        UT             84042
    Alliance For Transportation
    Electrification                      Philip Jones                    1402 Third Avenue, Suite 1315                                               Seattle         WA           98101
    Alliance Recruiters Inc.                                             820 Stanton Rd.                         #4303                               Burlingame      CA           94010
    Alliance to Save Energy              Erin Mao                        1850 M St NW                            Suite 610                           Washington      DC           20036
    Alliance to Save Energy              Jeff Vogel                      1850 M St NW                            Suite 610                           Washington      DC           20036
    Allied Caster & Equipment Co         Sally Saulsbery                 3841 Corporation Circle                                                     Charlotte       NC           28216
    Allied Crane, Inc                    Sandy Cariel                    855 North Parkside Dr                                                       Pittsburg       CA           94565
                                                                                                                                                     Rancho
    Allied High Tech Products Inc.      KRISTINA PALOMO                  2376 E. Pacifica Place                                                      Dominguez       CA           90220
    Allied High Tech Products, Inc.                                      16207 Carmenita Road                                                        Cerritos        CA           90703
    Allied International Corp.          AP / CSR AP / CSR                7 Hill Street                                                               Bedford Hills   NY           10507
    Allied International Corp.          CAL ULMANN                       7 Hill Street                                                               Bedford Hills   NY           10507
    Allied International Corp.          SHIRLEY MCCAIN                   7 Hill Street                                                               Bedford Hills   NY           10507
    Allied International Corp.                                           7 Hill Street                                                               Bedford Hills   NY           10507
    Allied Storage Containers, Inc                                       PO Box 12684                                                                Fresno          CA           93778
    Allied Wire & Cable, Inc            Griffin Brownback                101 Kestrel Drive                                                           Collegeville    PA           19426
    Allied Wire & Cable, Inc            Nicolas Capozzi                  101 Kestrel Drive                                                           Collegeville    PA           19426
    Allied Wire & Cable, Inc            PAUL DOONER                      101 Kestrel Drive                                                           Collegeville    PA           19426
    Allied Wire & Cable, Inc                                             101 Kestrel Drive                                                           Collegeville    PA           19426
    Allied World Specialty Insurance
    Company                                                              100 Pine Street, Suite 2100                                                 San Francisco   CA           94111
    Allison Transmission, Inc           CAMERON WHITE                    One Allison Way                                                             Indianapolis    IN           46222
    Allison Transmission, Inc                                            One Allison Way                                                             Indianapolis    IN           46222
    Allison, Richard                                                     Address Redacted
    Allosense, Inc.                                                      110 E Houston Street                    7th Floor #207                      San Antonio     TX           78205
    Alloy Weldworks                                                      2988 1ST Street                         Suite H                             La Verne        CA           91750
    Alltite, Inc.                                                        1600 E Murdock                                                              Wichita         KS           67214
    Almanza, Luis                                                        Address Redacted




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    Almendares, Rafael                                                   Address Redacted
    Almon, Inc.                                                          W223 N797 Saratoga Dr                                                     Waukesha        WI           53186
    Alpha Enterprise Corp.                                               23 Maxwell St                                                             Lodi            CA           95240
    Alpha Technology, Inc                                                PO Box 5408                                                               Anderson        SC           29623
    Alpine Awards, Inc.                                                  1150 Whipple Road                                                         Union City      CA           94587
    Alpine Awards, Inc.                                                  P.O. Box 765                                                              Union City      CA           94587
    Alpine Graphic Productions LImited                                   34 Magnum Drive                                                           Schomberg       ON           L0G 1N0       Canada
    Alt Solutions, Inc.                                                  PO Box 390889                                                             Mountain View   CA           94039
    Altair Product Design Inc                                            270 Park Avenue                                                           Troy            MI           48083
    Altair Product Design Inc                                            1820 East Big Beaver Rd.                                                  Troy            MI           48083
    Altairnano                                                           PO Box 10630                                                              Reno            NV           89502
    Altec Air, LLC                       Karla Garvert                   226A Commerce S                                                           Broomfield      CO           80020
    Altec Air, LLC                       PATTI QUARLES                   226A Commerce S                                                           Broomfield      CO           80020
    Altec Air, LLC                                                       PO Box 11407                            Drawer #1186                      Binghamton      AL           35246-1186
    Altec Air, LLC                                                       226A Commerce S                                                           Broomfield      CO           80020

    Altek Systems, Inc.                                                  PO Box 232                              7776 US Highway 50                Lamar           CO           81052

    Alten Technology USA, Inc                                            7830 Thorndike Road                                                       GREENSBORO NC                27409
    Altium Inc.                                                          4225 Executive Square, Suite 800                                          La Jolla   CA                92037
    Altom, Tyler Colby                                                   Address Redacted
    Altro Transfloor                     BARB SOGAMOSO                   80 Industrial Way                       Suite 1                           Willmington     MA           01887
    Altro Transfloor                     BARBARA SOGAMOSO                80 Industrial Way                       Suite 1                           Willmington     MA           01887
    Altro Transfloor                     DANIEL MONTOYA                  80 Industrial Way                       Suite 1                           Willmington     MA           01887
    Altro Transfloor                                                     80 Industrial Way                       Suite 1                           Willmington     MA           01887
    Altro USA, Inc                                                       80 Industrial Way Suite #1                                                Wilmington      MA           01887
    AltWheels Connect US                                                 74 Buckingham Street                                                      Cambridge       MA           02138
    Alvarado Jr., Federico                                               Address Redacted
    Alvarez & Marsal Holdings, LLC                                       600 Madison Avenue                      8th Floor                         New York        NY           10022
    Amarnath, Joshua                                                     Address Redacted
    Amatrimara Inc                       DBA River Drive Manufacturing   200 N. Service Rd. W.                   Unit 1 Suite 484                  Oakville        ON           L6M 2Y1       Canada
    Amazing Organizations, Inc.          Mastery Training Services       41214 Bridge Street                                                       Novi            MI           48375
    Amazon Capital Services, Inc.                                        410 Terry Avenue North                                                    Seattle         WA           98109
    Amazon Capital Services, Inc.                                        PO Box 035184                                                             Seattle         WA           98124
    Amazon Web Services                                                  PO Box 84023                                                              Seattle         WA           98124-8423
    Amerex Corporation                   Cheryl Hannum                   7595 Gadsden Hwy                                                          Trussville      AL           35173
    Amerex Corporation                   Derek Bryant                    7595 Gadsden Hwy                                                          Trussville      AL           35173
    Amerex Corporation                   James Knowles                   7595 Gadsden Hwy                                                          Trussville      AL           35173
    Amerex Corporation                                                   7595 Gadsden Hwy                                                          Trussville      AL           35173
    Amerex Corporation                                                   PO Box 81                                                                 Trussville      AL           35173
    American Association of Airport
    Executives                                                           601 Madison Street                                                        Alexandria      VA           22314
    American Benefit Insurance Corp                                      PO Box 1209                                                               Northampton     MA           01061

    American Cable & Rigging Supply, Inc Greg Baker                      34 Sterling Place                                                         Mills River     NC           28759
    American Cable and Rigging Supply,
    Inc.                                                                 34 Sterling Place                                                         Mills River     NC           28759
    American Cable Company                                               1200 E Erie Avenue                                                        Philadelphia    PA           19124
    American Cooling Technology, Inc.    DAVE OBERDORFF                  715 Willow Springs Lane                                                   York            PA           17406
    American Cooling Technology, Inc.    DEBBIE KINARD                   715 Willow Springs Lane                                                   York            PA           17406
    American Cooling Technology, Inc.    DEREK MITCHELL                  715 Willow Springs Lane                                                   York            PA           17406
    American Cooling Technology, Inc.                                    715 Willow Springs Lane                                                   York            PA           17406




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    American Express Travel Related
    Services Company                                                            PO Box 650448                                                               Dallas          TX           75265
    American Fire Protection Inc           Mike Greer                           PO Box 4139                                                                 Greenville      SC           29608
    American International Group, Inc.     Risk Specialists Companies Insurance                                       One Montgomery Tower,
    (AIG)                                  Agency, Inc.                         d/b/a RSCIA in NH, UT & VT            25th Floor            Justin Bailey   San Francisco   CA           94104-4505
    American Land Surveying                                                     1390 Market St                        Suite 303                             San Francisco   CA           94102
    American Lung Association                                                   333 Hegenberger Road                                                        Oakland         CA           94621
    American Public Transportation
    Association                                                                1300 I Street, NW.                     Suite 1200 East                       Washington      DC           20005
    American Rigging & Relocation
    Systems Inc                                                                1370 Vander Way                                                              San Jose        CA           95112
    American Seating Company               Betsy Howell                        801 Broadway Ave NW                                                          Grand Rapids    MI           49504
    American Seating Company               DOUG TUMMONS                        801 Broadway Ave NW                                                          Grand Rapids    MI           49504
    American Seating Company                                                   801 Broadway Ave NW                                                          Grand Rapids    MI           49504
    American Seating Company                                                   9058 Paysphere Circle                                                        Chicago         IL           60674
    American Seating Company                                                   PO BOX 772560                                                                Chicago         IL           60677-2560

    American Security of Greenville, LLC                                       Dept #298                              PO Box 63446                          Charlotte       NC           28263-3446
    American Society for Training and
    Development, Inc.                      Jeana Chun                          1640 King Street                                                             Alexandria      VA           22314
    American Society for Training and
    Development, Inc.                      Ofreda Dino                         1640 King Street                                                             Alexandria      VA           22314
    American Society for Training and
    Development, Inc.                                                          PO Box 743041                                                                Atlanta         GA           30374
    American Society of Engineering
    Education                                                                  1818 North Street NW                   Suite 600                             Washington      DC           20036
                                                                                                                      7490 Golden Triangle
    American Spirit Graphics               DBA Carlson Print Group             DBA Carlson Print Group                Drive                                 Eden Prairie    MN           55344
    American Tower Investments LLC         CoreSite, L.P.                      1001 17th Street                       Suite 500                             Denver          CO           80202
    American Tower Investments LLC         CoreSite, L.P.                      3020 Coronado                                                                Santa Clara     CA           95054
    American Truck Boxes                                                       41659 256th Street                                                           Mitchell        SD           57301
    American Utility Metals, LLC                                               PO Box 122302                                                                Dallas          TX           75312-2302
    American Wiping Cloth & Rag, Inc.                                          68 Anderson Rd.                                                              Walterboro      SC           29488

    Americas Best Towing and Transport                                         7426 Cherry Ave                        No. 210                               Fontana        CA            92336
    Americase, LLC                                                             6200 N I-35E                                                                 Waxahachie     TX            75165
    Ameritran Service Corp                 DBA Transit Resource Center         5840 Red Bug Lake Rd, #165                                                   Winter Springs FL            32708
    Ames, Jonathan                                                             Address Redacted
    Ametek Technical & Industrial
    Products, Inc.                         MARY TIDWELL                        PO Box 782751                                                                Philadelphia    PA           19178-2751
    Ametek Technical & Industrial
    Products, Inc.                         SPRING LEMASTER                     PO Box 782751                                                                Philadelphia    PA           19178-2751
    Ametek Technical & Industrial
    Products, Inc.                         TERESA MELCHOR                      PO Box 782751                                                                Philadelphia    PA           19178-2751
    Ametek Technical & Industrial
    Products, Inc.                                                             PO Box 782751                                                                Philadelphia    PA           19178-2751
    AMEX - Purchasing, Cashdollar                                              PO Box 7078                                                                  Charleston      WV           25356
    AMEX - Purchasing, Diana Pineda                                            P.O. Box 7078                                                                Charleston      WV           25356
    AMEX - Purchasing, Gary Zieses                                             P.O. Box 7078                                                                Charleston      WV           25356
    AMEX - Purchasing, Savalia                                                 PO Box 7078                                                                  Charleston      WV           25356
    AMEX World Trade Corporation                                               18765 SW 78 Ct.                                                              Miami           FL           33157
    Amin, Avni                                                                 Address Redacted




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    Ammermann, Taylor                                                   Address Redacted
    Ammu, Suryanarayana                                                 Address Redacted
    Amphenol Interconnect Products
    Corporation                            Anita Ballard                20 Valley Street                                                         Endicott        NY           13760
    Amphenol Interconnect Products
    Corporation                                                         20 Valley Street                                                         Endicott        NY           13760
    Amphenol Technical Products
    International                                                       2110 Notre Dame Ave.                                                     Winnipeg        MB           R3HOK1        Canada
    Amphenol Thermometrics, Inc.           CONTROLLER Andy Canter       967 Windfall Road                                                        St. Marys       PA           15857
    Amphenol Thermometrics, Inc.                                        967 Windfall Road                                                        St. Marys       PA           15857
    Amphenol Thermometrics, Inc.                                        28690 Network Place                                                      Chicago         IL           60673-1286
    Amwins Brokerage Insurance
    Services                               Michael Wood, Jeff Fisher    105 Fieldcrest Ave                 Suite 200                             Edison          NJ           08837
    Andersen Tax Holdings LLC              Andersen Tax LLC             100 First Street                   Suite 1600                            San Francisco   CA           94105
                                                                        3000 Two Logan Square, 18th & Arch
    Andersen Tax Holdings LLC                                           Streets                                                                  Fort Lauderdale FL           33312

    Anderson Audio Visual-Bay Area, Inc.                                604 Pardee Street                                                        Berkeley        CA           94710
    Anderson Fire & Safety                 Bubba Todd                   3013 Standridge Rd                                                       Anderon         SC           29625
    Anderson, Benjamin                                                  Address Redacted
    Anderson, Kevin                                                     Address Redacted
    AndFel Corporation                     Jennifer Cassidy             1225 Sieboldt Quarry Road                                                Springville     IN           47462
    AnDi Smashing LLC                      Smash My Trash               7460 Reidville Road                    Unit 263                          Reidville       SC           29375
    Andres, Eulises                                                     Address Redacted
    Andrew Cater                           DBA Boxi Design LLC          Address Redacted
    Andrew M. Weiss, PHD                                                Address Redacted
    Andrews Jr., Harold                                                 Address Redacted
    Andrews, Alex                                                       Address Redacted
    Andrio, Pedro                                                       Address Redacted
    Anest Iwata Air Engineering                                         5325 Muhlhauser Rd.                                                      Hamilton        OH           45011
    Angel Flores                           Orange County Linens         Address Redacted
    Angela Novoa                           Terramont Consulting, LLC    Address Redacted
    Angelo Christopher Rivera                                           Address Redacted
    Angelo Cosentino                                                    Address Redacted
    AngelTrax                              Bill Beck                    119 S. Woodburn Dr                                                       Dothan          AL           36305
    AngelTrax                              breslin                      119 S. Woodburn Dr                                                       Dothan          AL           36305
    AngelTrax                              SALLY KLEIN                  119 S. Woodburn Dr                                                       Dothan          AL           36305
    AngelTrax                                                           119 S. Woodburn Dr                                                       Dothan          AL           36305
    Angon, Claudia                                                      Address Redacted
    Anixter, Inc.                          AMY WILLIAMS                 4300 North Lake Court                  Suite I                           Charlotte       NC           28216
    Anixter, Inc.                          CODY ROMONE                  4300 North Lake Court                  Suite I                           Charlotte       NC           28216
    Anixter, Inc.                          HEATHER FRENCH               4300 North Lake Court                  Suite I                           Charlotte       NC           28216
    Anixter, Inc.                                                       PO Box 3966                                                              Boston          MA           02241-3966
    Anixter, Inc.                                                       4300 North Lake Court                  Suite I                           Charlotte       NC           28216
    Anixter, Inc.                                                       2301 Patriot Boulevard                                                   Glenview        IL           60026
    Anna Law PC                                                         219 Cureton St                                                           Greenvilel      SC           29605
    Annapareddy, Kalpana                                                Address Redacted
    Anspach, Lori                                                       Address Redacted
    Antaira Technologies, LLC                                           780 Challenger Street                                                    Brea            CA           92821

    Anuraagavi Kannan, Vishaal Krishna                                  Address Redacted
    Anver Corporation                                                   36 Parameter Rd.                                                         Hudson          MA           01749




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    Aon Consulting , Inc                    DBA Radford Consulting               2570 North First Street                                                 San Jose       CA         95131
    APD Incorporated                                                             1525 S Grove Ave. Unit 10             Unit 10                           Ontario        CA         91761
    Apex Fasteners                                                               15858 Business Center Dr                                                Irwindale      CA         91706
    Apex Tool                               Bryan Earll                          10957 E State Road 7                                                    Columbus       IN         47203
    Apex Tool                                                                    15858 Business Center Drive                                             Irwindale      CA         91706
    Apikol                                                                       2940 Valmont Road                                                       Boulder        CO         80301
    APIS North America, LLC                                                      621 E. 5th St.                                                          Royal Oak      MI         48067
    APIS North America, LLC                                                      938 N Washington Avenue                                                 Royal Oak      MI         48067
    Aplus Link Inc                                                               44168 S. Grimmer Blvd                                                   Fremont        CA         94538
    Apollo Electric                         ANITA PULLEY                         330 N. Basse Lane                                                       Brea           CA         92621
    Apollo Video Technology                 Ashley Wright                        24000 35th Avenue SE                                                    Bothell        WA         98021
    Apollo Video Technology                 JENNIFER KING                        24000 35th Avenue SE                                                    Bothell        WA         98021
    Apollo Video Technology                 KARISSA CRUZ                         24000 35th Avenue SE                                                    Bothell        WA         98021
    Apollo Video Technology                                                      24000 35th Avenue SE                                                    Bothell        WA         98021
    Appaiah, Prathika                                                            Address Redacted
                                                                                                                                                         Greenwood
    Applied Computer Services Inc.                                               5445 DTC Parkway/P4                                                     Village        CO         80111
    Applied Environmental                                                        1210 N Maple Road                                                       Ann Arbor      MI         48103

    Applied Industrial Technologies, Inc.   Claire Smrekar                       1 Applied Plaza                                                         Cleveland      OH         44115
    Applied Research Center, Inc.                                                301 Gateway Drive                                                       Aiken          SC         29803
    Applied Sensor, Inc.                                                         53 Mountain Blvd                                                        Warren         NJ         07059
    Applied Technical Services              J COOK                               1049 Triad Court                                                        Marietta       GA         30062
    Applied Technical Services              J TITANO                             1049 Triad Court                                                        Marietta       GA         30062
    Applied Technical Services              K SOLESBEE                           1049 Triad Court                                                        Marietta       GA         30062
    Applied Technical Services                                                   1049 Triad Court                                                        Marietta       GA         30062
    Applus IDIADA KARCO Engineering,
    LLC                                                                          9270 Holly Road                                                         Adelanto       CA         92301
    aPriori Technologies, Inc.                                                   300 Baker Ave                                                           Concord        MA         01742
    APTA                                    c/o National Trade Productions       313 S. Patrick Street                                                   Alexandria     VA         22314
    APTA                                    Heather Rachels                      1300 I (Eye) Street, NW.              Suite 1200 East                   Washington     DC         20005

                                            Nebraska Association of Tranportation
    APTA                                    Providers Jennifer Eurek              1300 I (Eye) Street, NW.             Suite 1200 East                   Washington     DC         20005
    APTA                                                                          PO Box 716502                                                          Philadelphia   PA         19171-6502
    APTA                                                                          1300 I (Eye) Street, NW.             Suite 1200 East                   Washington     DC         20005
    APTA                                                                          313 S. Patrick Street                                                  Alexandria     VA         22314
    APTA                                                                          400 E. Court Ave, Suite 126                                            Des Moines     IA         50309
    Aqua Security Software, Inc.                                                  800 District Avenue                  Suite 510                         Burlington     MA         01803
    AR Enterprises LLP                      C & C Pressure Washing Services       429 Laurel Tree Lane                                                   Simpsonville   SC         29681
    Arabe, Arturo                                                                 Address Redacted
    Arachie, Kamnsi                                                               Address Redacted
    Araikar, Chinmay                                                              Address Redacted
    Aranda Tooling, Inc.                    Amparo Batiste                        13950 Yorba Ave.                                                       Chino          CA         91710
    Aranda Tooling, Inc.                    Clayton Howard                        13950 Yorba Ave.                                                       Chino          CA         91710
    Aranda Tooling, Inc.                    David Gutierrez                       13950 Yorba Ave.                                                       Chino          CA         91710
    Aranda Tooling, Inc.                                                          13950 Yorba Ave.                                                       Chino          CA         91710
    Aranda, Angela                                                                Address Redacted
    Aransas Autoplex                        San Patricio Automotive Group         2352 W. Wheeler Avenue                                                 Aransas Pass TX           78336
    Arbin Corporation                                                             762 Peach Tree Cutoff Road                                             College Station TX        77845
    Arbon Equipment Corp.                                                         8900 N Arbon Dr.                                                       Milwaukee       WI        53223
    Arbouet, Diana                                                                Address Redacted




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                 CreditorName                    CreditorNoticeName                Address1                          Address2        Address3         City            State           Zip    Country
    Arburg, Inc.                                                      644 West Street                                                           Rocky Hill       CT           06067
    ARC Engineering                      GNB Engineering, Inc.        222 E Huntington Dr, Suite 235                                            Monrovia         CA           91016
    ARC Tec Inc                                                       1731 Technology Drive                  Suite 750                          San Jose         CA           95110
                                                                                                                                                Highlands
    Arcadis U.S. Inc.                    David Sliwa                  630 Plaza Drive, Suite100                                                 Ranch            CO           80129
                                                                                                                                                Highlands
    Arcadis U.S. Inc.                    Ellen Hooper                 630 Plaza Drive, Suite100                                                 Ranch            CO           80129
    ArcAscent Inc.                                                    118 Waverley Road                                                         Toronto          ON           M4L 3T3       Canada
    ARCBEST II, Inc.                     DBA ARCBEST                  PO Box 10048                                                              Fort Smith       AR           72917-0048
    Arch Insurance Company                                            Harborside 3, 210 Hudson Street        Suite 300                          Jersey City      NJ           07311
    Archer Norris                                                     Address Redacted
    Archer, Miles                                                     Address Redacted
    ArcherPoint, Inc.                                                 1735 North Brown Road                  Suite 425                          Lawrenceville    GA           30244
    Architectural Nexus, Inc.                                         2505 Parleys Way                                                          Salt Lake City   UT           84109
    ArcLight CTC Holdings LP                                          200 Clarendon St                       55th Floor                         Boston           MA           02116
    ARCpoint Labs of Greenville                                       355 Woodruff Rd.                       Suite 403                          Greenville       SC           29607
    Arctic Traveler Canada Ltd                                        1416 Grahams Lane                                                         Burlington       ON           L7S 1W3       Canada
    Ard, Amy                                                          Address Redacted
    Ardashes Hovsepian                                                Address Redacted
    Aremco Products, Inc.                                             707-B Executive Blvd                   PO Box 517                         Valley Cottage   NY           10989
    Arena Solutions, Inc.                                             989 E Hillsdale Blvd                   Suite 250                          Foster City      CA           94404
    Arete Partners, Inc.                                              343 Sansome St.                        Suite 1510                         San Francisco    CA           94104
    Argyle (DBA Labrador Company                                      530 Means Street, Suite 410                                               Atlanta          GA           30318
    Arielle Olache-Anderson                                           Address Redacted
    Arizona Department of Revenue                                     PO Box 29085                                                              Phoenix          AZ           85038
    Arizona Dept of Revenue              Unclaimed Property Unit      1600 W Monroe Division Code 10                                            Phoenix          AZ           85007-2650
    Arizona Dept of Revenue                                           1600 West Monroe St                                                       Phoenix          AZ           85007
    Arizona Transit Association          Becky Miller                 3104 E. Camelback Road #932                                               Phoenix          AZ           85016
    Arkansas Dept of Finance &
    Administration                       Administrative Services      1515 W 7th St, Ste 700                                                    Little Rock      AR           72201
    Arkansas Dept of Finance &                                                                               1816 W 7th St, Room
    Administration                       Attn Revenue Legal Counsel   Ledbetter Building                     2380                               Little Rock      AR           72201
    Arkansas Dept of Finance &
    Administration                       RLC Mailing Address          PO Box 1272                                                               Little Rock      AR           72203-1272
    Arkansas Dept of Finance &
    Administration                                                    1509 West 7th St                                                          Little Rock      AR           72201
    Arkansas Dept of Finance and
    Administration                                                    PO Box 1272                                                               Little Rock      AR           72203-1272

    Arkansas Unclaimed Property Division                              1401 West Capitol Avenue Suite 325                                        Little Rock      AR           72201
    Armanino LLP                         Lucie Wuescher               12657 Alcosta Blvd                 Suite 500                              San Ramon        CA           94583
    Armstrong Race Engineering, Inc                                   2890 Lopes Lane                                                           Loomis           CA           95650
    Arnett, Roxanne                                                   Address Redacted
    Arnold & Porter Kaye Scholer LLP                                  601 Massachusetts Ave, NW                                                 Washington       DC           20001
    Arnold, Michael                                                   Address Redacted
    AROW Global Corp                     Aftermarket Aftermarket      924 North Parkview Circle                                                 Mosinee          WI           54455
    AROW Global Corp                     Amber Stieber                924 North Parkview Circle                                                 Mosinee          WI           54455
    AROW Global Corp                                                  924 North Parkview Circle                                                 Mosinee          WI           54455
    Arriola, Mayette                                                  Address Redacted
    Arrow Electronics, Inc.              Greg Clarke                  9201 E Dry Creek Road                                                     Centennial       CO           80112
    ArrowHawk Industries                 LARRY PARRISH                325 Byars Road                                                            Laurens          SC           29360
    ArrowHawk Industries                                              325 Byars Road                                                            Laurens          SC           29360




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    ArroyoVargas, Victor Emmanuel                                    Address Redacted
    Arrua Martinez, Silvia Carolina                                  Address Redacted
    Arslanturk, Emrah                                                Address Redacted
    Arthur, Austin                                                   Address Redacted
    Arvizu, Alan                                                     Address Redacted
    Aryaka Networks, Inc.                Emily James                 1850 Gateway Drive                     Suite 500                               San Mateo       CA           94404
    Aryaka Networks, Inc.                Tobias Hammon               1850 Gateway Drive                     Suite 500                               San Mateo       CA           94404
    Aryaka Networks, Inc.                                            1800 Gateway Dr.                       Suite 200                               San Mateo       CA           94404
    Aryaka Networks, Inc.                                            1850 Gateway Drive                     Suite 500                               San Mateo       CA           94404
    Arzate, Erik                                                     Address Redacted
                                                                                                            370 West Dussel Drive
    AS Raymond                           Barnes Group                d/b/a Associated Spring Rao            Suite A                                 Maumee          OH           43537
    AS Raymond                           Barnes Group                Dept CH 14115                                                                  Palatine        IL           60055-4115
    ASA Electronics                                                  2602 Marina Drive                                                              Elkhart         IN           46514
    ASAM e.V.                                                        Altlaufstr. 40                                                                 Hohenkirchen                 85635         Germany
    Asana, Inc.                                                      1550 Bryant Street                     Suite 800                               San Francisco   CA           94103

    ASC American Sun Components Inc                                  7880 N University Drive Suite 100                                              Tamarac         FL           33321
    AscendPBM                            Alice Henderson             6480 Technology Ave Ste A                                                      Kalamazoo       MI           49009
    AscendPBM, LLC                                                   6480 Technology Ave                    Suite A-103                             Kalamazoo       MI           49009
    ASCENTIA ENGINEERING
    SERVICES, INC.                       MARIE MUSEE                 PO Box 2955                                                                    Crestline       CA           92325
    Ascentis                                                         11040 Main Street                      Suite 101                               Bellevue        WA           98004
    Ashe, Joshua                                                     Address Redacted
    Ashland                                                          62190 Collections Center Drive                                                 Chicago         IL           60693-0621
    Ashley I, Jacob                                                  Address Redacted
    Ashworth, Taylor                                                 Address Redacted
                                                                                                                                    Central World
    Asian Metal Corp                                                 6 Jianguomenwai Avenue                 Suite 16b, Tower C      Trade Center    Beijing                      100022        China
    Asif Habeebullah                                                 Address Redacted
                                                                                                                                                    Santa Fe
    Askew Industrial Corporation                                     13071 Arctic Circle                                                            Springs         CA           90670
    Askew, Francis                                                   Address Redacted
    ASPEQ Heating Group LLC              DBA INDEECO                 INDEECO                                PO Box 638472                           Cincinnati      OH           45263
    ASPEQ Heating Group LLC              DBA INDEECO                 425 Hanley Industrial Court                                                    St Louis        MO           63144
    Asset Panda LLC                                                  3001 Dallas Parkway                    Suite 590                               Frisco          TX           75034
    AssetWorks LLC                                                   998 Old Eagle School Road              Suite 1215                              Wayne           PA           19087
    AssetWorks LLC                                                   PO Box 202525                                                                  Dallas          TX           75320-2525
    Associated Environmental Systems     Thaddeus Gertsen            8 Post Office Square                                                           Acton           MA           01720
    Associated Packaging, Inc.                                       PO Box 306068                                                                  Nashville       TN           37230-6068
    Associated Research, Inc.                                        13860 West Laurel Drive                                                        Lake Forest     IL           60045
    Association for the Advancement of
    Sustainability in Higher Education                               2401 Walnut Street                     Suite 102                               Philadelphia    PA           19103
    Association for the Advancement of
    Sustainability in Higher Education                               PO Box 824583                                                                  Philadelphia    PA           19182-4583
    Association of Corporate Counsel                                 PO Box 824272                          Attn Finance                            Philadelphia    PA           19182-4272
    Association of Corporate Counsel                                 1001 G Street NW                       Suite 300W                              Washington      DC           20001
    Assured Testing Services             Brian Smith                 388 Servidea Dr                                                                Ridgway         PA           15853
    Astrodyne Corporation                                            36 Newburgh Road                                                               Hackettstown    NJ           07840
    Astute Electronics Inc.                                          500 Center Ridge Drive                 Suite 600                               Austin          TX           78753
    AT&T                                 c/o Bankruptcy              4331 Communications Dr, Flr 4W                                                 Dallas          TX           75211
    AT&T                                                             One AT&T Way                                                                   Bedminster      NJ           07921-0752




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    AT&T                                                                       PO Box 105262                                                              Atlanta           GA           30348
    AT&T (Box 5019)                                                            PO Box 5019                                                                Carol Stream      IL           60197
    AT&T (Box 5025)                                                            PO Box 5025                                                                Carol Stream      IL           60197
    AT&T (Box 5080)                                                            PO Box 5080                                                                Carol Stream      IL           60197-5080
    AT&T Mobility                                                              1025 Lenox Park Blvd NE                                                    Atlanta           GA           30319-5309
    AT&T Mobility                                                              PO Box 6463                                                                Carol Stream      IL           60197
    AT&T Mobility-CC                                                           PO Box 5085                                                                Carol Stream      IL           60197
    AT&T-IOT                                 At&T Mobility-CC                  PO Box 5085                                                                Carol Stream      IL           60197

    Atchison Transportation Services, Inc.                                     120 Interstate Park                                                        Spartanburg       SC           29301
    A-Tech Controls & Service LLC                                              147 Blue Ridge Lane                                                        Mount Airy        NC           27030

    Atlantic Specialty Insurance Company                                       605 Highway 169 North, Suite 800                                           Plymouth          MN           55441

    Atlantic Specialty Insurance Company                                       1201 Third Avenue, Ste 3850                                                Seattle           WA           98101
    Atlas Copco Tools & Assembly
    Systems, LLC                                                               3301 Cross Creek Parkway                                                   Auburn Hills      MI           48326
    Atlas Organics, Inc.                 Bianca Parris                         PO Box 5065                              Bianca Parris                     Spartanburg       SC           29304
    Atlas Organics, Inc.                 JUNK MATTERS                          501 Southport Rd.                                                          Roebuck           SC           29376
    Atlas Public Policy                                                        515 Q Street NW                          Unit 2                            Washington        DC           20001
    Atlas/ Pellizzari Electric, Inc.                                           450 Howland Street                                                         Redwood City      CA           94063
    atlasRFIDstore.com                   Atlas RFID Solutions Store, LLC       1500 1st Avenue North                    Unit 10                           Birmingham        AL           35203
    atlasRFIDstore.com                   Atlas RFID Solutions Store, LLC       2014 Morris Ave                                                            Birmingham        AL           35203
    ATM Detailing Services Inc           Nikole Maddox                         14926 Valley Blvd                                                          Fontana           CA           92335
    AtomBeam Technologies Inc                                                  1036 Country Club Drive                  Suite 200                         Moraga            CA           94556
    ATS Applied Tech Systems, LLC                                              1055 South Blvd E.                       Suite 120                         Rochester Hills   MI           48307
    Atta, Mina                                                                 Address Redacted
    Attila Mari                          dba Mill-Tek, LLC                     Address Redacted

    Attorney General of the State of Ohio    Ohio Attorney General Dave Yost   30 E. Broad St., 14th Floor                                                Columbus          OH           43215
    Aubin Industries, Inc.                                                     23833 S. Chrisman Rd                                                       Tracy             CA           95304
    Auburn Tool & Machine Co. Inc.                                             15865 West 5th Avenue                                                      Golden            CO           80401
    Augustine, Aaron                                                           Address Redacted
    Aulakh, Savitoj                                                            Address Redacted
    Aurora A. Putulin                                                          Address Redacted
    Aurora North America LLC                                                   4311 Patterson Ave SE                                                      Grand Rapids      MI           49512

    Aurora North America LLC                                                   PO Box 161                               6757 Cascade Road                 Grand Rapids      MI           49546
    Ausmus, Donald                                                             Address Redacted
    Austin Hardware & Supply, Inc            Joe Verdini                       Dept CH 19373                                                              Palatine          IL           60055
    Austin Hardware & Supply, Inc            JULIE WILLARD                     Dept CH 19373                                                              Palatine          IL           60055
    Austin Hardware & Supply, Inc            Melissa Landon                    Dept CH 19373                                                              Palatine          IL           60055
    Austin Hardware & Supply, Inc                                              Dept CH 19373                                                              Palatine          IL           60055
    Austin Nikkel                            5visual                           Address Redacted
    Auto Motion Shade Inc.                   c/o John Woodbine                 P.O. Box 42010                           2851 John Street                  Markham           ON           L3R OP9      Canada
    Auto Motion Shade Inc.                   Cindy-Lou Jardine                 125 Nashdene Road                        Unit 1                            Toronto           ON           M1V 2W3      Canada
    Auto Motion Shade Inc.                   DWIGHT QUINLAN                    125 Nashdene Road                        Unit 1                            Toronto           ON           M1V 2W3      Canada
    Auto Motion Shade Inc.                   EWA ZAJACH                        125 Nashdene Road                        Unit 1                            Toronto           ON           M1V 2W3      Canada
    Auto Motion Shade Inc.                                                     125 Nashdene Road                        Unit 1                            Toronto           ON           M1V 2W3      Canada
                                                                                                                                                          Santa Fe
    Auto Motive Power, Inc.                                                    11643 Telegraph Rd                                                         Springs           CA           90670
    Autoliv ASP, Inc.                                                          1320 Pacific Drive                                                         Auburn Hills      MI           48326




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    Autoliv NCS Pyrotechnie et
    Technologies                                                           Rue de la Cartoucherie                                                     Survillier                     95470         France
    Automation Direct                        JOY WILLIAMS                  3505 Hutchinson Road                                                       Cumming           GA           30040
    Automation Direct                                                      3505 Hutchinson Road                                                       Cumming           GA           30040
    AutomationSolutions, Inc.                DBA iAutomation               DBA iAutomation                         10 Larsen Way                      North Attleboro   MA           02763
    Automotive Dynamics Corp                                               20203 Windemere Drive                                                      Macomb            MI           48043
    Automotive Enviro Testing Inc.                                         PO Box 458                                                                 Baudette          MN           56623

    Automotive Media LLC                     iMBranded                     iMBranded                               2791 Research Drive                Rochester Hills MI             48309
    Autotech Technologies Limited
    Partnership                              DBA EZAutomation              4140 Utica Ridge Road                                                      Bettendorf        IA           52722
    Autotech Technologies Limited
    Partnership                              DBA EZAutomation              PO Box 74853                                                               Chicago           IL           60694-4853
    Avail Recovery Solutions, LLC                                          120 E Corporate Pl                      Suite 2                            Chandler          AZ           85225
    AVAIL Technologies, Inc.                 MATT SANDBAKKEN               1960 Old Gatesburg Road                 Suite 200                          State College     PA           16803
    AVAIL Technologies, Inc.                 Robert Manaseri               1960 Old Gatesburg Road                 Suite 200                          State College     PA           16803
    AVAIL Technologies, Inc.                 Tami Dotson                   1960 Old Gatesburg Road                 Suite 200                          State College     PA           16803
    AVAIL Technologies, Inc.                                               1960 Old Gatesburg Road                 Suite 200                          State College     PA           16803
    Avalon Staffing, LLC                     IT Avalon                     1811 N Tatum Blvd                       Ste 2650                           Phoenix           AZ           85028
    Avalon Staffing, LLC                     IT Avalon                     550 Harvest Park Dr                     Suite B                            Brentwood         CA           94513
    Avanti Storage Systems Inc               Bill Virnig                   14531 Griffith Street                                                      San Leandra       CA           94577
    AVC Corporation                                                        4487 Ish Dr.                                                               Simi Valley       CA           93063
    Avents Empty Band                                                      1677 Redwing Ave                                                           Sunnyvale         CA           94087
                                                                                                                                                                                                   United
    Aviation Media Ltd                                                     PO Box 448                              13 Moatside                        Feltham           Middlesex    TW13 9EA      Kingdom
    Avila, Vincent                                                         Address Redacted
    Avina, Gabriel                                                         Address Redacted
    Avina, Gustavo                                                         Address Redacted
    Avitia, Ruben                                                          Address Redacted

    AVL- California Technical Center, Inc.                                 47603 Halyard Drive                                                        Plymouth          MI           48170
    Avnet, Inc                                                             2211 S. 47th Street                                                        Phoenix           AZ           85034

    AW Company                               dba AW-Lake Company           2440 W Corporate Preserve Dr #600                                          Oak Creek         WI           53154
    AW Direct                                                              PO Box 74771                                                               Chicago           IL           60694-4771
    AW Site Services LLC                     DBA Arwood Waste              16150 N Main Street                                                        Jacksonville      FL           32218
    Awonusi, Omolola                                                       Address Redacted
    AXA XL Professional Insurance            Daniel Brennan                100 Constitution Plaza, 17th Floor                                         Hartford          CT           06103
    Axispoint Technology Solutions
    Group, Inc.                                                            507 North State Road                                                       Briarcliff Manor NY            10510
    Axispoint Technology Solutions
    Group, Inc.                                                            Lockbox 10447                           PO box 70280                       Philadelphia      PA           19176
    AxleTech International, LLC              ANNE-MARIE PAYNE              1400 Rochester Hwy                                                         Troy              MI           48083
    AxleTech International, LLC              CAMERON WHITE                 1400 Rochester Hwy                                                         Troy              MI           48083
    AxleTech International, LLC              JASON GIES                    1400 Rochester Hwy                                                         Troy              MI           48083
    AxleTech International, LLC                                            PO Box 855992                                                              Minneapolis       MN           55485-5992
    Axon Design, Inc.                        DBA Nterra Group              1155 North First Street                                                    San Jose          CA           95112
    Ayers, William                                                         Address Redacted
    Ayres Muffler Brake & Alignment
    Center                                   Chris Padgett                 1739 Shaber Ave                                                            Sharks            NV           89431
    B&H Foto & Electronics Corp                                            420 Ninth Avenue                                                           New York          NY           10001
    B&H Foto & Electronics Corp                                            PO Box 28072                                                               New York          NY           10087




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    B.C. Lawson Drayage, Inc            DBA Lawson Drayage, Inc              3402 Enterprise Avenue                                                       Hayward        CA           94545
    B2B Media, LLC                                                           34 Ellwood Ct.                                                               Greenville     SC           29607
    Bade, Brace                                                              Address Redacted
    Badger Meter Inc.                   Credit                               4545 W Brown Deer Road                                                       Milwaukee      WI           53223
    Badger Meter Inc.                   Credit                               Box 88223                                                                    Milwaukee      WI           53288-0223
    Badger Meter Inc.                   Inside Sales                         4545 W Brown Deer Road                                                       Milwaukee      WI           53223
    Badger Meter Inc.                   Inside Sales                         Box 88223                                                                    Milwaukee      WI           53288-0223
    Baehser, William                                                         Address Redacted
    Baena, Albert                                                            Address Redacted
    Baena, Kevin                                                             Address Redacted
    Baglin, Luis                                                             Address Redacted
    Bagwell, Jarrett                                                         Address Redacted
    Bagwell, Jeffrey                                                         Address Redacted
    Bahulikar, Nihal                                                         Address Redacted
    Baig, Altamash Shakeel Ahm                                               Address Redacted
    Bailey and Son Engineering, Inc.                                         124 Edinburgh Court                    Suite 209                             Greenville     SC           29607
    Bailey, Chris                                                            Address Redacted

    Baiqiang Rubber & Plastic Technology                                                                            Xiaoxiang Community
    Co., Ltd                             Mark Melody                         No.2-3, Kaitouji 2nd Rd                Wanjiang                              Dongguan       Guangdong 523000           China
    Bairagi, Pranav Rameshwar                                                Address Redacted
    Baker & McKenzie Partnerschaft von
    Rechtsanwalten, Wirtshaftspruefern,                                                                                                                   Frankfurt am
    Stb mbB                              Germany Contact Ulrich Ellinghaus   Bethmannstrasse 50-54                                                        Main           Hesse        60311         Germany
    Baker & McKenzie Partnerschaft von
    Rechtsanwalten, Wirtshaftspruefern,                                                                                                                   Frankfurt am
    Stb mbB                              U.S. Contact Craig Lilly            Bethmannstrasse 50-54                                                        Main           Hesse        60311         Germany
    Baker & McKenzie Partnerschaft von
    Rechtsanwalten, Wirtshaftspruefern,                                                                                                                   Frankfurt am
    Stb mbB                              U.S. Contact Naoko Watanabe         Bethmannstrasse 50-54                                                        Main           Hesse        60311         Germany
    Baker, Scott                                                             Address Redacted
    Baker, William                                                           Address Redacted
    Balderson, Darryl                                                        Address Redacted
    Baldonado, Keith                                                         Address Redacted
    Ball, Johnston                                                           Address Redacted
    Ballard Power Systems Inc                                                9000 Glenlyon Parkway                                                        Burnaby        BC           V5J 5J8       Canada
    Ballard, Jared                                                           Address Redacted
    Ballenger, Richard                                                       Address Redacted
    Ballschmidt, Brian                                                       Address Redacted
    Baltimore Gas and Electric                                               7210 Windsor Blvd                                                            Baltimore      MD           21244
    Bank of America                                                          6000 Feldwood Rd                                                             College Park   GA           30349-3652
    Bank Of America Lockbox Services                                         12003 Collections Center Drive                                               Chicago        IL           60693

    Bank of America NA                  Michael McCauley                     Bank of America Corporate Center       100 North Tryon Street                Charlotte      NC           28255
    Bank of America, N.A., as agent                                          100 N Tryon Street                                                           Charlotte      NC           28255
    Bank of the West                                                         PO Box 7167                                                                  Pasadena       CA           91109
    Banks, Olivia                                                            Address Redacted
    Banuelos Lopez, Uriel                                                    Address Redacted
    Banuelos, Rene                                                           Address Redacted
    Barajas, Ariel                                                           Address Redacted
    Barba, Diego                                                             Address Redacted
    Barber, Raymond                                                          Address Redacted




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                 CreditorName                  CreditorNoticeName                 Address1                        Address2     Address3         City           State           Zip     Country
    Barchalk, Jean                                                  Address Redacted
    Barcodes, Inc.                     Barcodes LLC                 PO Box 0776                                                           Chicago         IL           60690
    Barfield, Emily                                                 Address Redacted
    Barker Air & Hydraulics, Inc.      Andrew Barker                1308 Miller Rd                                                        Greenville      SC           29607
    Barker Air & Hydraulics, Inc.                                   1308 Miller Rd                                                        Greenville      SC           29607
    Barker, David                                                   Address Redacted
    Barnes, Christopher                                             Address Redacted
    Barnes, Jeffrey                                                 Address Redacted
    Barnett, Christie                                               Address Redacted
    Barnwell House of Tires, Inc.      Dominic Vitale               65 Jetson Lane                                                        Central Islip   NY           11722
    Barnwell House of Tires, Inc.      Stacey Papas                 65 Jetson Lane                                                        Central Islip   NY           11722
    Barredo, Rocky                                                  Address Redacted
    Barrera, Carlos                                                 Address Redacted
    Barreras, Alma                                                  Address Redacted
    Barroso, Ramon                                                  Address Redacted
    Barrow, Melinda                                                 Address Redacted
    Barry, Dave                                                     Address Redacted
    Bart Manufacturing, Inc.           Danielle Aregis              1043 Di Giulio Avenue                                                 Santa Clara     CA           95050
    Bart Manufacturing, Inc.           Joel Weissbart               1043 Di Giulio Avenue                                                 Santa Clara     CA           95050
    Barton, Collin                                                  Address Redacted
    BASF Corporation                   Jim Casey                    100 Park Avenue                                                       Florham Park    NJ           07932
    BASF Corporation                                                100 Park Avenue                                                       Florham Park    NJ           07932
    Basic, Nicholas                                                 Address Redacted
    Baskett, Tyler                                                  Address Redacted
    Bass, Jeremy                                                    Address Redacted
    Bastion Infotec Private Limited    Kapil Kumar Upadhyay         73, Nandgram                                                          Ghaziabad                    201003        India
    Bastion Projects LLC                                            712 Bancroft Rd                       Suite 742                       Walnut Creek    CA           94598
    BAT, INC.                                                       7630 Matoaka Rd.                                                      Sarasota        FL           34243-3301
    Bates, Kelsi                                                    Address Redacted
    Batson, Evan                                                    Address Redacted
    Battenberg, Lindsay                                             Address Redacted
    Batteries Plus                     DAVID FREEMAN                1791-A Woodruff Road                                                  Greenville      SC           29607
    Batteries Plus                     JOHN BENJAMIN                1791-A Woodruff Road                                                  Greenville      SC           29607
    Batteries Plus                     RUSTY BOONE                  1791-A Woodruff Road                                                  Greenville      SC           29607
    Battery Recyclers of America LLC   Glenn Garey                  1920 Mckinney Ave, 8th Floor                                          Dallas          TX           75201
    Baucom, Charles                                                 Address Redacted
    Bautista Jr., Catarino                                          Address Redacted
    Bautista, Arturo                                                Address Redacted
    Bay Alarm Company                                               PO Box 7137                                                           San Francisco   CA           94120
    BAY AREA AIR QUALITY
    MANAGEMENT DISTRICT                                             375 BEALE STREET                                                      San Francisco   CA           94105
    Bay Area Circuits, Inc.                                         44358 Old Warm Springs Blvd                                           Fremont         CA           94538
    Bay Area Concretes, Inc.                                        5637 La Ribera Street                 Suite B                         Livermore       CA           94550
    Bay Area Council                                                353 Sacramento St                     10th Floor                      San Francisco   CA           94111
    Bay Area Transport Refrigeration                                22409 Thunderbird Place                                               Hayward         CA           94545
    Bay Electric Co., Inc.                                          627 36th Street                                                       Newport News    VA           23607
    Bay Photo Inc                                                   920 Disc Drive                                                        Scotts Valley   CA           95066
    BAYCOM INC                         DAVE FEILER                  2040 Radisson Street                                                  Green Bay       WI           54302
    BAYCOM INC                                                      PO Box 88013                                                          Milwaukee       WI           53288
                                       DBA SpeedPro Imaging of SF
    BayGrafx LLC                       Peninsula                    551 Taylor Way Ste 1                                                  San Carlos      CA           94070
    Bayside Equipment Co.                                           3562 Haven Ave.                                                       Redwood City    CA           94063




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                CreditorName                 CreditorNoticeName                         Address1                          Address2             Address3           City        State           Zip    Country
    Bazeghi, Bijan                                                          Address Redacted
    BC Hydro                                                                PO Box 8910                                                                   Vancouver      BC           V6B 4N1       Canada
    BC Transit                                                              520 Gorge Road East                   PO Box 9861                             Victoria       BC           V8W 9T5       Canada

    BD Electronics Ltd.                                                     SOHO The Strand, Fawwara Building Triq L - Imsida                             Gzira                       GZR 1401      Malta

    BDO Canada LLP                                                          600 Cathedral Place                   925 West Georgia Street                 Vancouver      BC           V6C 3L2       Canada
    BDO USA, LLP                                                            3 Embarcadero Center, 20th Floor                                              Atlanta        GA           30308
    BDO USA, LLP                                                            770 Kenmoor SE                        Suite 300                               Grand Rapids   MI           49546
    BDO USA, LLP                                                            PO Box 677973                                                                 Dallas         TX           75267-7973
    BEA, Inc.                                                               100 Enterprise Drive                                                          Pittsburgh     PA           15275
    BEA, Inc.                                                               Lockbox 638769                                                                Cincinnati     OH           45263-8769
    Beachler, Zachary                                                       Address Redacted
    Bear Communications Inc                                                 4009 Distribution Drive               Suite 200                               Garland        TX           75041
    Bearcom Management Group Ltd     DBA The Bus Centre                     11461 261 Street                                                              Acheson        AB           T7X 6C6       Canada
    Bearden, Bradley                                                        Address Redacted
    Bearden, Brady                                                          Address Redacted
    Beatty, Yasmine                                                         Address Redacted
    Becerra, Johanna                                                        Address Redacted
    Beck & Pollitzer USA             Clarkson Industrial Contractor, Inc.   256 Broadcast Dr                                                              Spartanburg    SC           29303
    Beck, Curtis                                                            Address Redacted
    Becker, Kenneth                                                         Address Redacted
    Beckett, Porshay                                                        Address Redacted
    Beeks, Arron                                                            Address Redacted
    Beeline Company                                                         62nd St Ct                                                                    Bettendorf     IA           52722
    Belair Services                                                         641 Tremont Avenue                                                            Orange         NJ           07050
    Belcan Service Group Limited
    Partnership                      Belcan Tech Services                   10151 Carver Road                                                             Cincinnati     OH           45242
    Belknap, Fleet                                                          Address Redacted
    Bell, Marcus                                                            Address Redacted
    Belo, Jayvee                                                            Address Redacted
    Belton Wakefield, Shadiedra                                             Address Redacted
    Beltran, Gabriel                                                        Address Redacted
    Beltran, Uriel                                                          Address Redacted
    Ben Mahoney Productions, LLC     DBA The BMP Film Co.                   Ben Mahoney Productions, LLC          1147 W. Ohio St.          #406          Chicago        IL           60642
    Benchmark Mineral Intelligence                                                                                                                                                                  United
    Limited                                                                 3 Coldbath Square                                                             London                      EC1R 5HL      Kingdom
    BenchPro Inc                     BenchDepot                             PO Box G                                                                      Tecate         CA           91980
    Bender, Inc.                     DALE BOYD                              PO Box 824805                                                                 Philadelphia   PA           19182-4805
    Bender, Inc.                     KRESHNIK FURXHIU                       PO Box 824805                                                                 Philadelphia   PA           19182-4805
    Bender, Inc.                     Tracey Lively                          PO Box 824805                                                                 Philadelphia   PA           19182-4805
    Bender, Inc.                                                            PO Box 824805                                                                 Philadelphia   PA           19182-4805
    Bendix CVS LLC                   ADRIAN RODRIGUEZ                       PO Box 92096                                                                  Chicago        IL           60675
    Bendix CVS LLC                   ANN KESSLER                            PO Box 92096                                                                  Chicago        IL           60675
    Bendix CVS LLC                   CHERYL PARADIS                         PO Box 92096                                                                  Chicago        IL           60675
    Bendix CVS LLC                                                          PO Box 92096                                                                  Chicago        IL           60675
    Benen Manufacturing LLC                                                 2266-2268 Trade Zone Blvd                                                     San Jose       CA           95131
    Benesch, Friedlander, Coplan &
    Aronoff LLP                                                             200 Public Square                     Suite 2300                              Cleveland      OH           44114
    Benfield, Bryce                                                         Address Redacted
    Benitez, Angel                                                          Address Redacted




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    Bennett Equipment & Supply Co., Inc.                              PO Box 740                                                                  Piedmont        SC           29673
    Bennett Motor Express, LLC                                        PO Box 100004                                                               Mcdonough       GA           30253-9304
    Bennett, Mazeo                                                    Address Redacted
    Benson, Dexter                                                    Address Redacted
    Benson, Michelle                                                  Address Redacted
    Bentech Inc                          DEVON KEARNS                 PO Box 46128                                                                Philadelphia    PA           19160
    Bentech Inc                          VASYL ISHCHENKO              PO Box 46128                                                                Philadelphia    PA           19160
                                                                                                                                                  Trabuco
    Berg Mechanical Partners                                          7 Gingham Street                                                            Canyon          CA           92679
    Bergeson, LLP                       Rowena Stewart                111 N Market Street                     Suite 600                           San Jose        CA           95113
    Berkeley Coaching Institute, LLC                                  PO Box 9601                                                                 Berkeley        CA           94709
    Berkley Professional Liability                                    475 Steamboat Road                                                          Greenwich       CT           06830
    Berkley Professional Liability                                    757 Third Avenue, 10th Floor                                                New York        NY           10017
    Bermudez, Octavio                                                 Address Redacted
    Berrios, Alexander                                                Address Redacted
    Berry, Andrew                                                     Address Redacted
    Bertelkamp Automation Inc.                                        4716 Middle Creek Lane                                                      Knoxville       TN           37921
    Beta Max Inc.                                                     PO Box 2750                                                                 Melbourne       FL           32902
    Beta Max Inc.                                                     1895 R.J Conlan Blvd NE                                                     Palm Bay        FL           32905
    Better Block Foundation             Krista Nightengale            PO Box 4007                                                                 Dallas          TX           75208
    Better Way Constructor LLC          Timothy Rayford               26 Westbrook Court                                                          San Francisco   CA           94124
    Beuth Verlag GmbH                                                 Burggrafenstr. 6,                                                           Berlin                       10787         Germany
    Bevan, James                                                      Address Redacted
    Beveridge & Diamond, P.C.                                         1350 I Street, NW                                                           Washington      DC           20005
                                                                                                              11695 Johns Creek
    BeyondTrust Corporation             formerly Bomgar Corporation   Corporate HQ                            Parkway              Suite 200      Johns Creek     GA           30097
    BeyondTrust Corporation             formerly Bomgar Corporation   578 Highland Colony Pkwy                Suite 200                           Ridgeland       MS           39157
    BG Networks, Inc.                                                 100 Robin Road                                                              Weston          MA           02493
    Bhave, Shantanu                                                   Address Redacted
    Biddeford Saco Old Orchard Beach
    Transit                                                           13 Pomerleau Street                                                         Biddeford       ME           04005
    Biddle Consulting Group, Inc.       Amy Fraser-White              193 Blue Ravine Rd., Suite 270                                              Folsom          CA           95630
    BidPrime Inc                                                      2211 S Interstate 35 Suite 401                                              Austin          TX           78741
    Big Joe California North Inc                                      25932 Eden Landing Road                                                     Hayward         CA           94545

    Big O Dodge of Greenville                                         2645 Laurens Road                       PO Box Drawer 5575                  Greenville      SC           29607
    Big River Film Co., LLC                                           117 W Reed St                                                               Dover           DE           19903
    Bigge Crane and Rigging Co.         Evan Zappe                    10700 Bigge Street                                                          San Leandro     CA           94577
    Bilz Vibration Technology, Inc                                    PO Box 241305                                                               Cleveland       OH           44124
    Bin Taleb, Omar                                                   Address Redacted
    BIP GP LLC                                                        222 Berkeley St                         16th Floor                          Boston          MA           02116
    Birch Consulting Services, LLC      Randall Kyle Birch            408 Ashley Oaks Drive                                                       Moore           SC           29369
    Birch, Sandra                                                     Address Redacted
    Bird Marella Boxer Wolpert Nessim
    Drooks&Linceberg                    WENDY NABONSAL                1875 Century Park East                  23rd Floor                          Los Angeles     CA           90067-2561
    Birlasoft Solutions Inc.            Sumit Mehrish                 399 Thornall St, 8th Floor                                                  Edison          NJ           08837
    Birlasoft Solutions Inc.                                          399 Thornall St, 8th Floor                                                  Edison          NJ           08837
    Bisco Industries                    KENDALL BROOKS                1500 N Lakeview                                                             Anaheim         CA           92807
    Bisco Industries                    TAYLOR HARTENSTINE            1500 N Lakeview                                                             Anaheim         CA           92807
    Bisco Industries                                                  1500 N Lakeview                                                             Anaheim         CA           92807




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                                                                                                                                              San Luis
    Bishop Peak Technology, Inc.                                      205 Suburban Road                     Suite 3                           Obispo         CA           93401
    Bishop, Travis                                                    Address Redacted
    BISKE, DAVID                                                      Address Redacted
    Bismeyer, Mike                                                    Address Redacted
    Bitetti, Stephanie                                                Address Redacted
    Bizlink Technology, Inc.            Amanda Zhang                  47211 Bayside Parkway                                                   Fremont        CA           94538
    Bizlink Technology, Inc.            Amber Li                      47211 Bayside Parkway                                                   Fremont        CA           94538
    Bizlink Technology, Inc.            George Tsang                  47211 Bayside Parkway                                                   Fremont        CA           94538
    Bizlink Technology, Inc.                                          47211 Bayside Parkway                                                   Fremont        CA           94538
    Bjoernsen, Jeannette                                              Address Redacted
    Black & Decker (U.S.) Inc.          DBA SWS VidmarLista           PO Box 371744                                                           Pittsburgh     PA           15251
    Black & Veatch Corporation                                        PO Box 803823                                                           Kansas City    MO           64180-3823
    Black, David                                                      Address Redacted
    Black, Dennis                                                     Address Redacted
    Black, Nicholas                                                   Address Redacted
    Blackerby, Karina                                                 Address Redacted
    BlackRock Inc.                                                    55 East 52nd Street                                                     New York       NY           10055
    Blackstone Laboratories Inc.                                      416 East Pettit Avenue                                                  Fort Wayne     IN           46804
    Blackstone, Adam                                                  Address Redacted
    Blackwell, Joan                                                   Address Redacted
    Blackwell, John                                                   Address Redacted
                                        DBA Blaine and Blaine Event
    Blaine Convention Services, Inc.    Services                      114 South Berry Street                                                  Brea           CA           92821
    Blair, Dylan                                                      Address Redacted
    Blair, Nathan                                                     Address Redacted
                                        DBA Fonnesbeck Electric Bus
    Blake Kenyon Fonnesbeck             Solutions LLC                 Address Redacted
    Blake, Kendall                                                    Address Redacted
    Blakley, Javores                                                  Address Redacted
    Blanchard, Drew                                                   Address Redacted
    Blanchard, Jonah                                                  Address Redacted
    Blanco Ozuna, Carmen                                              Address Redacted
    BLANCO, CARMEN                                                    Address Redacted
    BLANDI, ROBERTO                                                   Address Redacted
    Blandi, Roberto                                                   Address Redacted

    Blank Rome LLP                      Kevin OMalley                 One Logan Square                      130 N. 18th Street                Philadelphia   PA           19103-6998
    BLARE Media, LLC                                                  1416 Broadway Street                  Suite D                           Fresno         CA           93721
    Blazak, Thomas                                                    Address Redacted
    Bloomington-Normal Public Transit
    System                                                            351 Wylie Drive                                                         Normal         IL           61752
    Blue Ox Towing Products                                           1 Mill Road                           Industrial Park                   Pender         NE           68047
    Blue Star Trading, LLC              Matthew Stellas               1532 Sommerell Avenue                                                   Forked River   NJ           08731
    Blue Tarp Financial                                               PO Box 105525                                                           Atlanta        GA           30348-5525
    Blue Water Area Transportation
    Commission                                                        2021 Lapeer Avenue                                                      Port Huron     MI           48060
    BlueChoice Health Plan                                            PO Box 6000 AX-430                                                      Columbia       SC           29260
    Bluewater Civil Design, LLC                                       718 Lowndes Hill Road                                                   Greenville     SC           29607
    Bluhm, Casey                                                      Address Redacted
    BMC Software, Inc.                                                PO BOX 301165                                                           Dallas         TX           75303
    BMW (US) Holding Corporation                                      300 Chestnut Ridge Road                                                 Woodcliff      NJ           07677




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    BMW (US) Holding Corporation                                              1155 Highway 101 South                                                         Greer             SC           29651
    Board of County Commissions of
    Miami-Dade County                                                         111 NW 1st Street, Suite 250                                                   Miami             FL           33128
    Board of Education of Frederick
    County                                                                    191 S. East Street                                                             Frederick         MD           21701-5918

    Bobit Business Media                                                      PO Box 2703                             3520 Challenger Street                 Torrance          CA           90509
    Bode North America, Inc.                  CHARLES STOCKLEY                660 John Dodd Road                                                             Spartanburg       SC           29303
    Bode North America, Inc.                  MICHELLE BROWN                  660 John Dodd Road                                                             Spartanburg       SC           29303
    Bode North America, Inc.                  MICHELLE VANSICKLE              660 John Dodd Road                                                             Spartanburg       SC           29303
    Bode North America, Inc.                                                  660 John Dodd Road                                                             Spartanburg       SC           29303
    Boes, Roth                                                                Address Redacted
    BofA Securities, Inc.                                                     4 World Financial Center                250 Vesey Street                       New York          NY           10080
    Boggess, Michael                                                          Address Redacted
    Bohdzia, John                                                             Address Redacted
    Bohorquez Toledo, Paul                                                    Address Redacted

                                                                                                                                                             Gloucester,                                  United
    Boiswood Limited                                                          Unit A1, Spinakker House, Hempsted                                             Gloucestershire                GL2 5FD       Kingdom
    Boldra, Joshua                                                            Address Redacted
    Bolick, Perry                                                             Address Redacted
    Bolin III, Steven                                                         Address Redacted
    Bolosan, Jason                                                            Address Redacted

    Bolton Tools                                                              1136 Samuelson St.                                                             City Of Industry CA            91748
    Bon Secours Ambulatory Services-St
    Francis LLC                        AFC Urgent Care                        PO Box 743652                                                                  Atlanta           GA           30374-3652
                                       Harness Health Partners LLC,
    Bon Secours Occupational Health    WorkWell Occupational                  135 Commonwealth Dr                     Suite 120                              Greenville        SC           29615

    Bond Civil & Utility Construction, Inc.                                   10 Cabot Road                     Sutie 300                                    Medford           MA           02155
    Bond Safeguard Insurance Co                                               10002 Shelbyville Road, Suite 100                                              Louisville        KY           40223-2979
    Bond Safeguard Insurance Co                                               900 S Frontage Rd, No 250                                                      Woodridge         IL           60517
    Bonsol, Alexis                                                            Address Redacted
                                                                              2000 Pennsylvania Avenue NW Suite
    Bookoff McAndrews PLLC                                                    4001                                                                           Washington        DC           20006
    Bookoff McAndrews PLLC                                                    2020 K Street NW, Suite 400                                                    Washington        DC           20006

    Bookoff McAndrews PLLC                                                    555 Eleventh Street, N.W., Suite 1000                                          Dallas            TX           75312-0613
    Boomi Inc                                 Matthew Achuff                  PO Box 842848                                                                  Boston            MA           02284-2848
    Boomi Inc                                                                 1400 Liberty Ridge Drive                                                       Chesterbrook      PA           19087
    Boone, Nicholas                                                           Address Redacted
    Boran, Yasin                                                              Address Redacted
                                                                              Centennial Place, East Tower, 520
    Borden Ladner Gervais                                                     3rd Avenue SW, Suite 1900                                                      Calgary           AB           T2P 0R3       Canada

    Borden Ladner Gervais LLP                 Bay Adelaide Centre             East Tower                              22 Adelaide Street West                Toronto           ON           M5H 4E3       Canada

    Border States                             John Dabe                       120 Saxe Gotha Road                                                            West Columbia SC               29172

    Border States Industries, Inc.            Shealy Electrical Wholesalers   Attn Accounts Receivable                120 Saxe Gotha Road                    West Columbia SC               29172




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                                                                                                                    48022 Santa Maria in
    BorgWarner Systems Lugo S.R.L          Annemarie Swineford               Via Mensa, 3/2                         Fabriago RA                             Lugo            Ravenna      48022         Italy
    BorgWarner, Inc.                                                         155 Northboro Road                     Suite 1                                 Southborough    MA           01772
    BorgWarner, Inc.                                                         PO Box 845192                                                                  Boston          MA           02284-5192
    Bork, Michael                                                            Address Redacted
    Bosch Rexroth Corporation              Blong Moua                        14001 South Lakes Drive                                                        Charlotte       NC           28273-6791
    Bosch Rexroth Corporation              Bryan Hellum                      14001 South Lakes Drive                                                        Charlotte       NC           28273-6791

    Bosco Oil Company                      DBA Valley Oil Company            DBA Valley Oil Company                 Lockbox #138719         PO Box 398719   San Francisco   CA           94139-8719

    Boss Bolt and Tool of Greenville, LLC                                    1062 S. Batesville Rd.                                                         Greer           SC           29650
    Bossard Inc.                          AMANDA SINCLAIR                    6521 Production Drive                                                          Cedar Falls     IA           50613
    Bossard Inc.                          Andrew Wold                        6521 Production Drive                                                          Cedar Falls     IA           50613
    Bossard Inc.                                                             6521 Production Drive                                                          Cedar Falls     IA           50613
    Boston, Mark                                                             Address Redacted
    Botello-sanchez, Omar                                                    Address Redacted
    Botero, Edwin                                                            Address Redacted
    Bottier, Icare                                                           Address Redacted
    Boucard, David                                                           Address Redacted
    Boulder Waterjet Inc.                                                    13790 Deere Ct                                                                 Longmont        CO           80504
                                                                                                                                                                                                       United
    Bouncepad North America                                                  Lockwood Industrial Park               Unit 7                                  London                       N17 9QP       Kingdom
    Boundary Stone Partners                                                  1001 Pennsylvania Avenue NW            Suite 740S                              Washington      DC           20004
    Boundary Stone Partners                                                  1817 M Street, NW                                                              Washington      DC           20036
    Bourdess, Neal                                                           Address Redacted
    Bow Valley Regional Transit Services
    Commission                                                               221 Beaver Street                      PO Box 338                              Banff           AB           T1L 2A5       Canada
                                           Charles Taylor Marine Technical
    Bowditch Marine, Inc                   Services                          64 Danbury Road                        Suite 201                               Wilton          CT           06897
    Bowen, Matthew                                                           Address Redacted
    Bowers, William                                                          Address Redacted
    Bowles, Donald                                                           Address Redacted
    Bowman Trailer Leasing                                                   112 Metrogate Court                                                            Simpsonville    SC           29681
    Bowser, John                                                             Address Redacted
    Box, Inc.                                                                900 Jefferson Avenue                                                           Redwood City    CA           94063
    Boyd Welding LLC                       Dave Boyd                         802 NW 27th Ave                                                                Ocala           FL           34475
    Boykin, Paul                                                             Address Redacted
    Boykins Jr., William                                                     Address Redacted
    Boyter, Trevor                                                           Address Redacted

    BPB Holding Corp.                      Batteries Plus, LLC               Batteries Plus, LLC                    1325 Walnut Ridge Dr.                   Hartland        WI           53029
    BPB Holding Corp.                      Batteries Plus, LLC               1325 Walnut Ridge Dr.                                                          Hartland        WI           53029
    Bracey, Brian                                                            Address Redacted
    Bracken, Gregory                                                         Address Redacted
    Bracken, James                                                           Address Redacted
    Brad L. Walters                                                          Address Redacted
    Bradford, Logan                                                          Address Redacted
    Bradley C. Stepp                                                         Address Redacted
    Bradley-Morris, LLC                    Justin Boggs                      1825 Barrett Lakes Blvd.               Suite 300                               Kennesaw        GA           30144
    Brads Creative Inc                                                       79 Glen Valley Circle                                                          Danville        CA           94526
    Brads Creative Inc                                                       2020 Dennison Street                   Suirte 107                              Oakland         CA           94606




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                                           dba Bragg Crane Service, Bragg
    Bragg Investment Company, Inc.         Crane & Rigging, Heavy Transport    6242 Paramount Blvd                                                     Long Beach     CA           90805
    Brake Systems Inc                                                          2221 N.E. Hoyt                                                          Portland       OR           97232
    Bramley, William                                                           Address Redacted
    Brandit Graphics                       LAMB                                3651 S Lindell Rd                                                       Las Vegas      NV           89103
    Brandon Hopkins                                                            Address Redacted
    Branson Ultrasonics Corporation                                            120 Park Ridge Road                                                     Brookfield     CT           06804
    Branson Ultrasonics Corporation                                            PO Box 73174                                                            Chicago        IL           60673
    Bravo, Christopher                                                         Address Redacted
    BRAYBROOKS, PHYLLIS                                                        Address Redacted
    Braznell, Travis                                                           Address Redacted
    BRC Group                                                                  6061 - 90 Avenue SE                                                     Calagary       AB           T2C 4Z6       Canada
    Bread and Barley Inc                                                       130 N Citrus Ave                                                        Covina         CA           91723
    BreakThru Marketing                    Melissa Morlan                      421 Los Gatos Blvd                                                      Los Gatos      CA           95032
    BreakThru Marketing                                                        130 Palm Ct                                                             San Bruno      CA           94066
    Breazeale, Sachse & Wilson, LLP                                            PO Box 3197                                                             Baton Rouge    LA           70821
    Brennan Industries Inc                                                     6701 Cochran Rd                                                         Solon          OH           44139
    Brevan Electronics                                                         106 Northeastern BLVD                                                   Nashua         NH           03062
    Brewster, Justen                                                           Address Redacted
    Brewster, Steven Edward                                                    Address Redacted
    Brian Homsangpradit                                                        2002 Grant Street                                                       Terre Haute    IN           47802
    Bridge Technology, Inc.                Ian McDonald                        5232 North 43rd Place                                                   Phoenix        AZ           85018
    Bridgemart                             Bridge Purchasing Solutions, Inc.   PO Box 454                                                              Rogers         AR           72757
                                           Bridgestone Americas Tire
    Bridgestone Americas, Inc.             Operations, LLC                     200 4th Ave S                                                           Nashville      TN           37201
    Bright Shark Powder Coating
    Corporation                                                                4530 Schaefer Avenue                                                    Chino          CA           91710
    Bright, Michael                                                            Address Redacted
    Bright, Wesley                                                             Address Redacted
    Brisco Sr., Demauriee                                                      Address Redacted

    British Columbia Ministry of Finance                                       617 Government St,                                                      Victoria       BC           V8V 2M1       Canada

    British Columbia Ministry of Finance                                       4370 Dominion St                                                        Burnaby        BC           V8W 2E6       Canada
    Britsch, Mary                                                              Address Redacted
    Britt, Peters & Associates, Inc                                            101 W. Camperdown Way                   Suite 601                       Greenville     SC           29601
    Brittany Caplin                                                            Address Redacted
    Broadridge Financial Solutions                                             1155 Long Island Avenue                                                 Edgewood       NY           11717
    Broadridge Investor Communication
    Solutions, Inc.                                                            51 Mercedes Way                                                         Edgewood       NY           11717
    Broadscale PT Investors LP                                                 55 East 59th Street                                                     New York       NY           10022
    Brock, Crayton                                                             Address Redacted
    Brock, Eva                                                                 Address Redacted
    Brock, Jill                                                                Address Redacted
    Brock, Timothy                                                             Address Redacted
    Brodsky & Smith LLC                                                        333 E City Avenue                       Suite 805                       Bala Cynwyd    PA           19004
    Brogan, Daniel                                                             Address Redacted
    Brooket, Joel                                                              Address Redacted
    Brooks, Hannah                                                             Address Redacted
    Brooks, Joshua                                                             Address Redacted
    Brooks, Patrick                                                            Address Redacted
    Broomfield, Shelton                                                        Address Redacted




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    Brouwer, Andrew                                                    Address Redacted
    Brown 2 Green Landscape                                            33 Sagamore Lane                                                         Greenville    SC           29607
    Brown, Brandon                                                     Address Redacted
    Brown, Christopher                                                 Address Redacted
    Brown, Eva                                                         Address Redacted
    Brown, Glen                                                        Address Redacted
    Brown, James                                                       Address Redacted
    Brown, Jeffery                                                     Address Redacted
    Brown, Michael                                                     Address Redacted
    Brown, Morgan                                                      Address Redacted
    Brown, Nadja                                                       Address Redacted
    Browning, John                                                     Address Redacted
    Brownlee, Gregory                                                  Address Redacted
    Brownworks LLC                                                     876 Oakcrest Rd                                                          Spartanburg   SC           29301
    Bruel & Kjaer North America, Inc.                                  3079 Premiere Parkway, Suite 120                                         Duluth        GA           30097
    Bruner, Aaron                                                      Address Redacted
    Bruner, Aaron                                                      Address Redacted
    Bruner, Cory                                                       Address Redacted
    Bruner, Ralph                                                      Address Redacted
    Brunet-Goulard Les
    Agences/Agencies Inc                                               1095 Algoma Rd                           Unit 100                        Gloucester    ON           K1B 0B3       Canada
    Brunner, Scott                                                     Address Redacted
    Brunner, Scott                                                     Address Redacted
    Brusa Elektronik AG                                                Neudorf 14                                                               Sennwald                   9446          Switzerland
    Brust, Bryan                                                       Address Redacted
    Bryant, Jason                                                      Address Redacted
                                        ADMINISTRATIVE ASSISTANT Toni
    Bryant-Durham Electric Co., Inc.    Barrett                       PO Drawer 2597                                                            Durham        NC           27715
    Bryant-Durham Electric Co., Inc.    CFO Donald McNeill            PO Drawer 2597                                                            Durham        NC           27715
    Buchanan Ingersoll & Rooney PC                                    101 N Monroe Street                       Suite 1090                      Tallahassee   FL           32301
    Buchanan, Avery                                                   Address Redacted
    Bucher Hydraulics AG                FKA Lenze-Schmidhauser        Obere Neustrasse 1                                                        Romanshorn                 CH-8590       Switzerland
    Buckles-Smith Electric              Kyle Devlin                   540 Martin Avenue                                                         Santa Clara   CA           95050
    Buckles-Smith Electric                                            540 Martin Avenue                                                         Santa Clara   CA           95050
    Buda, Dan                                                         Address Redacted
    Budak, Alper                                                      Address Redacted
    Budget Truck and Auto Inc                                         2027 West Avalon Road                                                     Janesville    WI           53546
    Bui, Giang                                                        Address Redacted
    Bula, Reginald                                                    Address Redacted
    Bulten North America LLC            FINANCE Patti Sidley          1104 N Meridian Road                                                      Youngstown    OH           44509
    Bulten North America LLC                                          1104 N Meridian Road                                                      Youngstown    OH           44509
    Bung King                                                         Address Redacted
    Bunnell Lammons Engineering, Inc.                                 6004 Ponders Court                                                        Greenville    SC           29615
    Burke, Brittany                                                   Address Redacted
    Burkert                                                           PO Box 896001                                                             Charlotte     NC           28289
    Burkett, Jacob                                                    Address Redacted
    Burlingame/SFO Chamber of
    Commerce                                                           417 California Drive                                                     Burlingame    CA           94010
    Burnett Associates                  DBA Burnett Search             101 First Street                         #112                            Los Altos     CA           94022
    Burnett, Nathan                                                    Address Redacted
    Burnidge, Joshua                                                   Address Redacted




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                  CreditorName                   CreditorNoticeName                       Address1                        Address2     Address3         City           State           Zip     Country
    Burns & McDonnell Engineering
    Company, Inc.                                                           9400 Ward Parkway                                                     Kansas City    MO            64114
    Burns, James                                                            Address Redacted
    Burrell Jr., Robert                                                     Address Redacted
    Burton, Paris                                                           Address Redacted
    Burwell, Walter                                                         Address Redacted
    Burwell, Walter                                                         Address Redacted
    Bus and Truck of Chicago Inc         Randy Westergaard                  7447 S. Central Ave, Suite B                                          Bedford Park   IL            60638
    Buseman, David                                                          Address Redacted
    Bushing, Inc.                                                           1967 Rochester Industrial Drive                                       Rochester Hills MI           48309
                                         Zero Emission Transportation
    Business Climate Initiative Action   Association                        659 C Street SE                                                       Washington     DC            20003
    Busstuf                                                                 PO Box 6405                                                           Scottsdale     AZ            85261-6405
    Bustech Pty Ltd                                                         10 Calabro Way                        PO Box 2854                     Burleigh Heads QLD           4220          Australia
    Butardo, Christian                                                      Address Redacted
    Butler, Kauquane                                                        Address Redacted
    Butler, Revis                                                           Address Redacted
    Butler, Samuel                                                          Address Redacted
    Byars, Ernest                                                           Address Redacted
    Byk-Rak LLC                          Jaydan Tracey                      1940 W. Stewart St.                   PO Box 40                       Owosso         MI            48867
    Byk-Rak LLC                          Kathleen Bayliss                   1940 W. Stewart St.                   PO Box 40                       Owosso         MI            48867
    Byk-Rak LLC                          Ron Byk-Rak LLC                    1940 W. Stewart St.                   PO Box 40                       Owosso         MI            48867
    Byk-Rak LLC                                                             1940 W. Stewart St.                   PO Box 40                       Owosso         MI            48867
    Bynder LLC                           Bianca Ravida                      24 Farnsworth Street                  Suite 400                       Boston         MA            02210
    Bynder LLC                                                              321 Summer Street                     First Floor                     Boston         MA            02210
    Byrd, Brandon                                                           Address Redacted
    Byrd, Cory                                                              Address Redacted
    Byrd, Everett                                                           Address Redacted
    C&C Assembly, Inc.                   Michelle Harden                    3410-B West Main Street                                               Salem          VA            24153
    C&C Fiberglass Components Inc.                                          75 Ballou Blvd.                                                       Bristol        RI            02809
    C&J Market Enterprises, LLC          DBA Conference Room AV             13601 W McMillian Rd.                 Suite 102-277                   Boise          ID            83713
                                         Pro Electric Motor Service/MC Supply
    C&L Solutions Group LLC              Company                              1927A Perimeter Road                                                Greenville     SC            29605
    C.F. Maier Composites, Inc.                                               16351 Table Mountain Parkway                                        Golden         CO            80403
    C.H. Powell Company                                                       PO Box 75303                                                        Charlotte      NC            28275-0303
    C.H. Robinson Company                                                     PO Box 9121                                                         Minneapolis    MN            55480-9121

    CA Franchise Tax Board               Business Entity Bankruptcy MS A345 PO Box 2952                                                           Sacramento     CA            95812-2952
                                                                                                                                                  Rancho
    CA Franchise Tax Board               Legal Division                     PO Box 1720                                                           Cordova        CA            95741-1720

    CA FRANCHISE TAX BOARD                                                  PO BOX 942867                                                         SACRAMENTO CA                94267-0011
    Cabaleiro, Jamie                                                        Address Redacted
    Caballero, Adrian                                                       Address Redacted
    Cabe, Kevin                                                             Address Redacted
    Cabell, Ed                                                              Address Redacted
    Cable Assemble, LLC                                                     6532 Judge Adams Rd, Suite 150                                        Whitsett       NC            27377
    Cable Assemble, LLC                                                     PO Box 603262                                                         Charlotte      NC            28260

    CableOrganizer.com                                                      6250 NW 27th Way                                                      Fort Lauderdale FL           33309
    Cabrera, Art                                                            Address Redacted
    Caddell, Jamie                                                          Address Redacted




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    Caggiano Jr., Dominic                                                      Address Redacted
    Cagle, Steven                                                              Address Redacted
    Cain, Phillip                                                              Address Redacted
    Caleb Jones                                                                Address Redacted
                                                                                                                                                          Avondale
    Calendly LLC                                                               88 N Avondale Rd #603                                                      Estates         GA           30002
    Calhoun, Lesley                                                            Address Redacted
    California Air Resources Board                                             1001 I Street                           PO Box 1436                        Sacramento      CA           95812-1436
    California Association for Coordinated
    Transportation, Inc.                   Clint Miller                        4632 Duckhom Drive                                                         Sacramento      CA           95834
    California Board of Equalization                                           PO Box 942879                                                              Sacramento      CA           94279-0090
    California Chamber of Commerce                                             PO Box 888336                                                              Los Angeles     CA           90088-8336
    California Chamber of Commerce                                             PO Box 398342                                                              San Francisco   CA           94139
                                                                                                                                                          Rancho
    California Child Support                                                   P.O. Box 419064                                                            Cordova         CA           95741-9064
    California Department of Motor
    Vehicles                                                                   Occupational Licensing Renewal Unit PO Box 932342                          Sacramento      CA           94232-3420
    California Department of Motor
    Vehicles                                                                   PO Box 942894                                                              Sacrametro      CA           94294
    California Department of Motor
    Vehicles                                                                   Department of Motor Vehicles            8243 Demetre Ave     MS-L224       Sacramento      CA           95828
    California Department of Tax and Fee
    Administration                       Account Information Group, MIC 29     PO Box 942879                                                              Sacramento      CA           94279-0029
    California Department of Tax and Fee Collections Support Bureau
    Administration                       Bankruptcy Team, MIC 74               PO Box 942879                                                              Sacramento      CA           94279-0074
    California Department of Tax and Fee
    Administration                                                             PO Box 942879                                                              Sacramento      CA           94279-6001
    California Electric Transportation
    Coalition                                                                  1015 K Street                           Suite 200                          Sacramento      CA           95814
                                         Energy Resources Conservation &
    California Energy Commission         Development Commission                715 P Street, MS-2                                                         Sacramento      CA           95814
    California Franchise Tax Board                                             PO Box 942857                                                              Sacramento      CA           94257
    California Quality Standards LLC     V-Trust Inspection Service Group      2101 Business Center Dr                 Ste 200                            Irvine          CA           92612

    California State Board of Equalization Legal Department, MIC 121           450 N St.                               P.O. Box 942879                    Sacramento      CA           94279-0029

    California State Board of Equalization                                     3321 Power Inn Road, Suite 210                                             Sacramento      CA           95826
                                                                                                                                                          Rancho
    California State Controllers Office       Unclaimed Property Division      10600 White Rock Road Suite 141                                            Cordova         CA           95670

    California Strategies & Advocacy, LLC                                      2318 Mill Road, 12th Floor                                                 New York        NY           10022

    California Strategies & Advocacy, LLC                                      980 Ninth Street                        Suite 2000                         Sacramento      CA           95814
    California Transit Association                                             1415 L Street                           Suite 1000                         Sacramento      CA           95814

    California Transport Refrigeration Inc.                                    1125 S Greenwood Ave.                                                      Montebello      CA           90640
    Calpack Crating, Inc.                                                      4700-B Horner St.                                                          Union City      CA           94587
    CALSTART, Inc.                                                             48 S Chester Ave                                                           Pasadena        CA           91106
    CALSTART, Inc.                                                             501 Canal Boulevard                     Suite G                            Richmond        CA           94804

    CALSTART, Inc.                                                             4500 E. Pacific Coast Hwy, Suite 400                                       San Jose        CA           95110
    Calvin E Taylor                           Taylor Seal Coating & Striping   Address Redacted




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    Calvin E. Taylor                      Taylor Sealcoating & Striping LLC   Address Redacted
    Camacho, Michelle                                                         Address Redacted
    Camelback Displays, Inc.              Kaci                                20020 Hickory Twig Way                                                       Spring         TX           77388
    Camere, Aaron                                                             Address Redacted
    Cameron, Jordan                                                           Address Redacted
    Campbell Inc                          Kelly Durham                        16 Oakvale Road                                                              Greenville     SC           29611
    Campbell Inc                                                              PO Box 9087                                                                  Greenville     SC           29604
    Campbell Jr., Dewey                                                       Address Redacted
    Campbell, Cecil                                                           Address Redacted
    Campbell, Derek                                                           Address Redacted
    Campbell, Laquestter                                                      Address Redacted
    Campbell, Raena                                                           Address Redacted
    Campero Molina, David                                                     Address Redacted
    Campion, Christopher                                                      Address Redacted
    Campos, Michelle                                                          Address Redacted

    Canada Border Services Agency                                             355 North River Road                   Tower B 6th Floor                     Ottawa         ON           K1A 0L8       Canada
    Canada Revenue Agency                 Tax Centre                          9755 King George Highway                                                     Surrey         BC           V3T 5E6       Canada
    Canadian Urban Transit Association                                        55 York Street                         Suite 1401                            Toronto        ON           M5J 1R7       Canada
    Canadian Urban Transit Research
    and Innovation Consortium             Michael Keran                       1 Yonge Street                         Suite 1801                            Toronto        ON           M5E 1W7       Canada
    Cannon Roofing, LLC                                                       PO Box 3030                                                                  Spartanburg    SC           29304
    Canoy, Eric                                                               Address Redacted
    Canteen Refreshment Services                                              PO Box 417632                                                                Boston         MA           02241-7632
    Cantrell, Dola                                                            Address Redacted
    Canty & Associates LLC                DBA CantyMedia                      802A Olde Georgetown Court                                                   Great Falls    VA           22066
    Canvas Leadership LLC                                                     169 Newtown Turnpike                                                         Westport       CT           06880
    Canvas Solutions                                                          PO Box 413                                                                   Reisterstown   MD           21136
    Capelin Solutions LLC                                                     23 Bluebird Lane                                                             Amherst        NY           14228
    Capital Metropolitan Transportation
    Authority                                                                 2910 E 5th St                                                                Austin         TX           78702
    Caplin, Brittany                                                          Address Redacted
    Caplugs                               JEFF MOTEN                          3012 Momentum Place                                                          Chicago        IL           60689
    Caplugs                                                                   3012 Momentum Place                                                          Chicago        IL           60689
    Carballo, Jaime                                                           Address Redacted
    Carbaugh, Ethan                                                           Address Redacted
    Carbaugh, Kallan                                                          Address Redacted
    Carbon Supply Chain Management
    LLC                                   Bruce Chew                          19925 Stevens Creek Blvd                                                     Cupertino      CA           95014
    Carbon Supply Chain Management
    LLC                                   Jason Hernadez                      19925 Stevens Creek Blvd                                                     Cupertino      CA           95014
    Carbon Supply Chain Management
    LLC                                                                       14351 Pendragon Way                                                          Fishers        IN           46037
    Carbon, Brian                                                             Address Redacted
    Carbures USA, Inc.                                                        202 Beechtree Blvd                                                           Greenville     SC           29605
                                                                                                                                                           Menomonee
    Cardinal Components Inc.                                                  N83W12650 Stratton Circle, Suite 400                                         Falls          WI           53051
    Cardinal Logistics management
    Corporation                           AM-CAN                              PO Box 405069                                                                Atlanta        GA           30384
    Carey International Inc.                                                  7445 New Technology Way                                                      Frederick      MD           21703

    Carl Stahl Sava Industries Inc.                                           PO Box 30                              40 North Corporate Dr.                Riverdale      NJ           07457




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    Carl Thomas Guardino                                                      Address Redacted
    Carlos Guzman, Inc                                                        1619 E Creston St                                                           Signal Hill    CA           90755
    Carlos Vergara                                                            Address Redacted

    Carlton Group, Inc.                   Carlton Scale E.S. Inc. Everest Scale 14 Dunbar Street                                                          Greenville     SC           29601
    Carnival Foods, Inc.                  The Catering Carnival                 2029 Verdugo Blvd                     Suite 140                           Montrose       CA           91020

                                                                                                               3715 Northside Parkway,
    Carolina CC Venture XXXVII, LLC       J. Austin McDonald                  c/o McDonald Development Company Bldg 200, Suite 700                        Atlanta        GA           30327

    Carolina CC Venture XXXVII, LLC                                           3715 Northside Pkwy, NW                 Bldg. 200, Suite 700                Atlanta        GA           30327
    Carolina Fluid Components             Dean Frazier                        PO Box 601687                                                               Charlotte      NC           28260
    Carolina Fluid Components             ROGER WALLACE                       PO Box 601687                                                               Charlotte      NC           28260
    Carolina Fluid Components                                                 PO Box 601687                                                               Charlotte      NC           28260
    Carolina Foundation Solutions, LLC                                        PO Box 2228                                                                 Burlington     NC           27216
    Carolina Handling LLC                                                     4835 Sirona Dr                          Ste 100                             Charlotte      NC           28273
    Carolina International Trucks, Inc.                                       1501 White Horse Road                                                       Greenville     SC           29605

    Carolina Regional Center Fund X, L.P                                      101 North Main Street                   Suite 1400                          Greenville     SC           29601
    Carolina Textiles, Inc.                                                   68 Anderson Road                                                            Walterboro     SC           29488
    Carolina Textiles, Inc.                                                   200 Sunbelt Court                                                           Greer          SC           29650
    Carolina Thomas, LLC                                                      PO Box 18209                                                                Greensboro     NC           27419
    Carolina Water Specialties LLC       Attn Andy Murray                     PO Box 570                                                                  Blountville    TN           37617
    Carolina Water Specialties LLC       Attn Andy Murray                     212 Cooper Lane                                                             Easley         sc           29642
    Carolinas-Virginia Minority Supplier
    Development Council                  CVMSDC                               9115 Harris Corners Pkwy                Ste 440                             Charlotte      NC           28269
    Carpenter, Cameron                                                        Address Redacted
    Carpenter, Justin                                                         Address Redacted
    Carr Lane Manufacturing Co           Cathy Martin                         4200 Carr Lane Court                                                        St. Louis      MO           63119
    Carr Lane Manufacturing Co                                                4200 Carr Lane Court                                                        St. Louis      MO           63119
    Carr, Kristy                                                              Address Redacted
    Carrasco, Angel                                                           Address Redacted
    Carrasco, Max                                                             Address Redacted
    Carrier Transport Air Conditioning                                        PO Box 70312                                                                Chicago        IL           60673-0312
    Carrillo Molina, Ivan                                                     Address Redacted
    Carrington, Patrick                                                       Address Redacted
    Carroll, Erin                                                             Address Redacted
    Carson, Ryan                                                              Address Redacted

    Carsons Nut-Bolt & Tool Co, Inc       Clay Carsons Nut-Bolt & Tool Co, Inc 301 Hammett Street Ext                                                     Greenville     SC           29609
    Carsons Nut-Bolt & Tool Co, Inc       Wanda L                              301 Hammett Street Ext                                                     Greenville     SC           29609
    Cartel Industries, Inc.                                                    17152 Armstrong Ave.                                                       Irvine         CA           92614
    Carter Hollis                                                              Address Redacted
    Carter, William                                                            Address Redacted
    Carver, Andrew                                                             Address Redacted
    Cary Products Co., Inc                                                     101 Lacaster Hutchins Road                                                 Hutchins       TX           75141
    Casale, Scott                                                              Address Redacted
    Cascade Engineering Inc                                                    3400 Innovation Ct SE                                                      Grand Rapids   MI           49512
    Casey, John                                                                Address Redacted
    Cashdollar, Hayley                                                         Address Redacted
    Cashin, Thomas                                                             Address Redacted
    Castaneda, Edna                                                            Address Redacted




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    Caster Concepts Inc.                                                 16000 E. Michigan Ave                                                      Albion          MI           40224
    Castillo Sr., Ruben                                                  Address Redacted
    Castillo, Brandon                                                    Address Redacted
    Castillo, Emmanuel                                                   Address Redacted
    Castleberry, Robert                                                  Address Redacted
    Castro, Jose                                                         Address Redacted
    Castro, Marcela                                                      Address Redacted
    Catalano, Andrew                                                     Address Redacted
    CBIZ Operations, Inc                CBIZ ARC Consulting, LLC         275 Battery Street                       Suite 420                         San Francisco   CA           94111
    CBM Systems, Inc.                                                    1599 Monte Vista Ave                                                       Claremont       CA           91711

    CBRE, Inc                                                            PO Box 15531                             Location Code 2085                Chicago         IL           60696
    CDW Direct, LLC                     Attn Vida Krug                   200 N. Milwaukee Ave                                                       Vernon Hills    IL           60061
    CDW, Inc.                           Brandon Ginter                   PO Box 75723                                                               Chicago         IL           60675-5723
    CDW, Inc.                           Paul Bak                         PO Box 75723                                                               Chicago         IL           60675-5723
    CDW, Inc.                           SAM MULICA                       PO Box 75723                                                               Chicago         IL           60675-5723
    Ceballos, Steven                                                     Address Redacted
    Cederoth, Andrew                                                     Address Redacted

    Center for Internet Security, Inc   CIS Security                     31 Tech Valley Drive                                                       East Greenbush NY            12061
    Center For Transportation &
    Environment                                                          730 Peachtree St.                        Suite 330                         Atlanta         GA           30308
    Center For Transportation &
    Environment                                                          730 Peachtree St NE                      Suite 450                         Atlanta         GA           30308
    Centorbi, James                                                      Address Redacted
    Central Coast Systems                                                312 Kings Street                                                           Salinas         CA           93905
    Central Florida Regional
    Transportation Authority dba LYNX                                    455 N. Garland Ave                                                         Orlando         FL           32801
    Central Mass Transit Management,
    Inc.                                Ahmad Yasin                      42 Quinsigamond Avenue                                                     Worcester       MA           01610
    Centrics Staffing Group             DBA TheCentricsGroup             PO Box 538481                                                              Atlanta         GA           30053-8481
    Centrics Staffing Group             DBA TheCentricsGroup             3140 Northwoods Parkway                  Suite 700                         Norcross        GA           30071
    Century Fire Protection                                              2450 Satellite Blvd                                                        Duluth          GA           30096
                                        DBA Carry Cases Plus & My Case
    Century Service Affiliates, Inc.    Builder                          510 East 31st Street                                                       Paterson        NJ           07504
    CenturyLink, Inc.                   Sachi Petz                       200 S 5th Street                                                           Minneapolis     MN           55402
    CenturyLink, Inc.                                                    PO Box 52187                                                               Phoenix         AZ           85072
    Ceridian                                                             1655 Grant Street                                                          Concord         CA           94580
    Cerochi, Gustavo                                                     Address Redacted
    Ceros, Inc                                                           40 West 25th Street                      Floor 12                          New York        NY           10010
    Cervantes Fonseca, Manuel Hector                                     Address Redacted
    Cervellione, Marty                                                   Address Redacted
    Ceva International Inc                                               15350 Vickery Dr                                                           Houston         TX           77032
    CFM Company                                                          1440 S. Lipan Street                                                       Denver          CO           80223-2307
    CG4 Enterprises Inc                 Speedpro Greenville              1327 Miller Road                         Suite I                           Greenville      SC           29607
    Chacon, Ronald                                                       Address Redacted
    Chadwick, Daniel                                                     Address Redacted
    Chadwick, Rebecca                                                    Address Redacted
    Chakravorty, Jaijeet                                                 Address Redacted
    Chamberlain, Michael                                                 Address Redacted
    Champion Benefits, an Alera Group
    Company LLC                                                          1455 Lincoln Parkway                     Suite 100                         Atlanta         GA           30346




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                CreditorName                   CreditorNoticeName                    Address1                          Address2     Address3        City            State           Zip    Country
    Champlain Cable Corp                                                175 Hercules Dr                                                        Colchester      VT           05446
    Chan, Christina                                                     Address Redacted
    Chan, Kristie                                                       Address Redacted
    Chan, Nathan                                                        Address Redacted
    Chao, Yi-Wen                                                        Address Redacted
    Chapa, Phillip                                                      Address Redacted
    Chaplin, Richard                                                    Address Redacted
    Chapman, Christopher                                                Address Redacted
                                                                                                                                               Palos Verdes
    Chappell Creek Consulting           William Pack                    2108 Thorley Road                                                      Estates         CA           90274
    ChargeKnowledgy LLC                                                 1461 Eastfield Drive                                                   Clearwater      FL           33764
    ChargePoint                         Chloe Durham                    Dept LA 24104                                                          Pasadena        CA           91185
    ChargePoint                         Leah Nix                        Dept LA 24104                                                          Pasadena        CA           91185
    ChargePoint                         WHITNEY SCHMIDT                 Dept LA 24104                                                          Pasadena        CA           91185
    ChargEVC, Inc.                                                      417 Denison Street                                                     Highland Park   NJ           08904
    CharIN e.V.                                                         Schiffbauerdamm 12                                                     Berlin                       10117         Germany
    Charity Miles, Inc.                                                 350 First Avenue #1H                                                   New York        NY           10010
    Charles B. Johnson                                                  Address Redacted

    CHB Restoration LLC DBA
    SERVPRO of West Greenville County                                   225 W Stone Avenue                                                     Greenville      SC           29609
    ChemTel, Inc.                                                       1305 N. Florida Ave.                                                   Tampa           FL           33602
    Chen, David                                                         Address Redacted
    Chen, Hsin Yi                                                       Address Redacted
    CHEN, JIAN                                                          Address Redacted
    Chen, Tseng                                                         Address Redacted
    Chen, Yale                                                          Address Redacted
    Chenangro Farm and Industrial
    Supply                                                              431 E Hill rd                                                          Sherburne       NY           13460
    Cheng, Kar Chun                                                     Address Redacted
    Chereti Trevino, Angel                                              Address Redacted

    CHERETI TREVINO, ANGEL MARIO                                        Address Redacted
    Cheryl Cromartie                                                    Address Redacted
                                        DBA Cheryl Davis Presentation
    Cheryl Davis                        Design+                         Address Redacted
    Chess, Herman                                                       Address Redacted
    Cheung, Clive                                                       Address Redacted
    Chevalier, Casey                                                    Address Redacted
    Chevalier, Eric                                                     Address Redacted
    Chew, Aaron                                                         Address Redacted
    Chiang, Megan                                                       Address Redacted
    Chicago Transit Authority                                           567 W. Lake Street                                                     Chicago         IL           60661
    Chicago Transit Authority                                           PO Box 94434                                                           Chicago         IL           60690-4434
    Chicago Watermark Corporation       Chicago Watermark Company       455 W 37th Street                      1018                            New York        NY           10018
    Chicago Youth Programs, Inc.                                        5350 S. Prairie                                                        Chicago         IL           60615
    Chick, Zinjue                                                       Address Redacted
    Childress Jr., Terry                                                Address Redacted
    Chip Stock LLC                                                      1013 Centre Rd                                                         Wilmington      DE           19805
    Chisom, Curtis                                                      Address Redacted
    Chmunevich, Pavel                                                   Address Redacted
    Cho, Eun                                                            Address Redacted




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               CreditorName                       CreditorNoticeName                       Address1                           Address2        Address3            City           State           Zip    Country
    Cho, Johnny                                                                Address Redacted
    Choice, Francell                                                           Address Redacted
    Choice, Pinkney                                                            Address Redacted
    Chowbey, Anand                                                             Address Redacted
    Chris Hackett                                                              Address Redacted
                                                                                                                                                                                                       United
    Chris Wood Light Ltd                  Daisy Russell                        6 Wallis Court                                                              Mildenhall                    IP28 7DD      Kingdom
                                          MGMT ACCOUNTANT Marianne                                                                                                                                     United
    Christie & Grey Ltd                   Brown                                Morley Road                            Tornbridge                           Kent                          TN9 1RA       Kingdom
                                          VP NORTH AMERICA Matthew                                                                                                                                     United
    Christie & Grey Ltd                   Coombs                               Morley Road                                                                 Tornbridge                    TN9 1RA       Kingdom
    Christopher E. Cooper                                                      Address Redacted
    Christopher Kohler                    Riparian Studios                     Address Redacted
    Christopher L. Hylton                                                      Address Redacted
    Christopher Prentice                  DBA CP Recruiting                    Address Redacted
    Christopher Taylor                                                         Address Redacted
    CHRITTO, Inc.                                                              271 17th St NW                         Suite 1750                           Atlanta          GA           30363
    Chroma Systems Solutions, Inc.                                             19772 Pauling                                                               Foothill Ranch   CA           92610

    Chubb Bermuda Insurance Ltd                                                Chubb Bldg                             17 Woodbourne Ave                    Hamilton                      HM 08         Bermuda
    Chubb Group of Insurance Co.                                               1133 Avenue of the Americas                                                 New York         NY           10036
    Church, Kevin                                                              Address Redacted
    Church, Ross                                                               Address Redacted
    Cigna Health and Life Insurance Co.                                        Dept 59                                                                     Denver           CO           80291
    CIMA Canada Inc.                                                           600-3400 Souvenir Blvd                                                      Laval            QC           H7V 3Z2       Canada
    Cincinnati Test Systems, Inc.                                              10100 Progress Way                                                          Harrison         OH           45030
    Cintas Corp 2                         DBA Cintas Fire Protection Loc #19   4320 E. Miraloma Ave.                                                       Anaheim Hills    CA           92807
    Cintas Corporation #216                                                    LOC 216                                PO Box 630803                        Cincinnati       OH           45263
    Cintas Corporation #464                                                    PO Box 29059                                                                Phoenix          AZ           85038
    Cintas Fire Protection Loc #F51                                            PO Box 636525                                                               Cincinnati       OH           45263
    Cintas First Aid & Safety                                                  PO Box 631025                                                               Cincinnati       OH           45263
    Ciprian, Timothy                                                           Address Redacted
    Cipriano, Maria Rhoda                                                      Address Redacted
    Circle Graphics, Inc.                                                      PO Box 561047                                                               Denver           CO           80256-1047
    Circuit Board Medics LLC                                                   15C Pelham Ridge Drive                                                      Greenville       SC           29615
    Circuitlink LLC                       David Parr                           300 Hylan Drive, Suite 6-202                                                Rochester        NY           14623
    Circuitlink LLC                       Lindsay Silcock                      300 Hylan Drive, Suite 6-202                                                Rochester        NY           14623
    Circuitlink LLC                       Raji El-Kassouf                      300 Hylan Drive, Suite 6-202                                                Rochester        NY           14623
    Circuitlink LLC                                                            300 Hylan Drive, Suite 6-202                                                Rochester        NY           14623
    Circuits West, Inc.                                                        PO Box 1528                                                                 Longmont         CO           80502
    Cirrus Link Solutions LLC             Kurt Hochanadel                      2445W 162nd Street                                                          Stilwell         KS           66085
    Cision US Inc                         James DeVor                          12051 Indian Creek Court                                                    Beltsville       MD           20705
                                                                                                                                          130 E Randolph
    Cision US Inc                                                              1 Prudential Plaza                     7th Floor           Street           Chicago          IL           60601
    Cisneros, Federico                                                         Address Redacted
    Citrix                                                                     PO Box 50264                                                                Los Angeles      CA           90074
    Citrix Systems Inc.                   David Rubenstein                     PO Box 931686                                                               Atlanta          GA           31193-1686
    Citrix Systems Inc.                   David Rubenstein                     851 W. Cypress Creek Rd.                                                    Ft. Lauderdale   FL           33309
    Citrix Systems Inc.                                                        PO Box 931686                                                               Atlanta          GA           31193-1686
    Citrix Systems Inc.                                                        851 W. Cypress Creek Rd.                                                    Ft. Lauderdale   FL           33309
    City and County of San Francisco                                           1 Dr. Carlton B. Goodlett Place                                             San Francisco    CA           94102
    City and County of San Francisco                                           P.O. Box 7425                                                               San Francisco    CA           94120




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    City of Albuquerque                                                   PO BOX 1985                                                                         Albuquerque       NM           87121

    City of Artesia                                                       18747 Clarkdale Avenue                    Finance Department                        Artesia           CA           90701
    City of Arvin                          Arvin Transportation           165 Plumtree Drive                                                                  Arvin             CA           93203
    City of Asheville                                                     Finance Department                        PO Box 7148                               Asheville         NC           28802
    City of Burlingame                                                    1111 Trousdale Drive                                                                Burlingame        CA           94010
    City of Burlingame                                                    501 Primrose Rd                                                                     Burlingame        CA           94010
    City of Burlingame                                                    PO Box 191                                                                          Burlingame        CA           94011-0191
    City of Burlingame, Alarms                                            PO Box 191                                                                          Burlingame        CA           94011-0191
    City of Edmonton                                                      PO Box 2600                                                                         Edmonton          AB           T5J 5A1       Canada

    City of Everett - Motor Vehicle Division James Zerhire                3200 Cedar Street, Bldg #2                                                          Everett           WA           98201
    City of Fayetville                                                    433 Hay St                                                                          Fayetteville      NC           28301
    City of Greensboro                                                    PO Box 3136                                                                         Greensboro        NC           27402-3136

    City of Greenville                                                    200 West Fifth Street                     Second Floor - City Hall                  Greenville        NC           27834
    City of Greenville                                                    P. O. Box 2207                                                                      Greenville        SC           29602

    City of Greer                                                         301 E Poinsett Street                     attn Business Licensing                   Greer             SC           29651

    City of Industry                                                      PO Box 3366                                                                         City Of Industry CA            91744
                                                                                                                                               16102 Arrow
    City of Irwindale                      Julie Salazar                  Building and Safety                       ATTN Julie Salazar         Highway        Irwindale         CA           91706
    City of Los Angeles                                                   200 N. Spring Street                                                                Los Angeles       CA           90012
    City of Madison                                                       1245 E Washington Ave                     Suite 201                                 Madison           WI           53703
    City of Modesto                        Jeff Custer                    1609 8th St                                                                         Modesto           CA           95354
    City of Philadelphia                                                  Department of Revenue                     PO Box 1393                               Philadelphia      PA           19105-1393
    City of Providence Deliquent Taxes                                    PO Box 845312                                                                       Boston            MA           02284
    City of Rochester Hills                                               1000 Rochester Hills Drive                                                          Rochester Hills   MI           48309
    City of Rochester Hills Taxes                                         PO Box 94591                                                                        Cleveland         OH           44101-4591
    City of Rochester Hills Treasury
    Division                                                              1000 Rochester Hills Drive                                                          Rochester Hills   MI           48309
    City of Rock Hill                                                     PO Box 11706                                                                        Rock Hill         SC           29731
    City of San Jose                                                      200 East Santa Ana Clara 5th Floor                                                  San Jose          CA           95113
    City of Santa Rosa                                                    55 Stony Point Rd                                                                   Santa Rosa        CA           95401
    City of Seattle                        dba Seattle City Light (SCL)   PO Box 35178                                                                        Seattle           WA           98124-5178
    City of Seneca                                                        221 E North First St                                                                Seneca            SC           29679
    City of Shreveport                                                    1115 Jack Wells Blvd                                                                Shreveport        LA           71107
    City of Spokane                                                       808 W. Spokane Falls Blvd.                                                          Spokane           WA           99201
    City of Temple City                                                   9701 Las Tunas Drive                                                                Temple City       CA           97180
    City of Visalia                                                       PO Box 4002                                                                         Visalia           CA           93278
    City of Visalia                                                       707 W Acequia Ave                                                                   Visalia           CA           93291
    City of Wichita                                                       777 E Waterman                                                                      Wichita           KS           67202

    City of Wilsonville                                                   29799 SW Town Center Loop E               Attn Accounts Payable                     Wilsonville       OR           97070

    City View Bus Sales and Service Ltd    Bill Ingram                    1213 Lorimar Dr                                                                     Mississauga       ON           L5S 1M9       Canada

    City View Bus Sales and Service Ltd    Maragaret Grabowska            1213 Lorimar Dr                                                                     Mississauga       ON           L5S 1M9       Canada
    Cius, Romelson                                                        Address Redacted
    Claigan Environmental Inc                                             10 Brewer Hunt Way                        Suite 200                                 Ottawa            ON           K2K 2B5       Canada
    Claims-x-Change, LLC                                                  14200 Midway Rd                           STE 106                                   Dallas            TX           75244




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    Claire Wiley                          Eclectic Brew, LLC               Address Redacted
    Clarcorp Industrial Sales                                              1209 Marlin Court                                                             Waukesha        WI           53186
    Clarence Lee                                                           Address Redacted
    Clark Hill PLC                                                         500 Woodward Ave                      Ste 3500                                Detroit         MI           48226
    Clark, Demorris                                                        Address Redacted
    Clark, Gregory                                                         Address Redacted
    Clark, Mallary                                                         Address Redacted
    Clark, Michael                                                         Address Redacted
    Classic Components Corp                                                23605 Telo Avenue                                                             Torrance        CA           90505
    Claudio, Sherry                                                        Address Redacted
    Clausen Miller as attorneys for AXA                                    27285 Las Ramblas                     Suite 200                               Mission Viejo   CA           92691
    Clayton Construction Company Inc.     Jay Taylor                       PO Box 2998                                                                   Spartanburg     SC           29304
    Clayton Controls, Inc.                                                 2865 Pullman St.                                                              Santa Ana       CA           92705
    Clayton, Alyssa                                                        Address Redacted
    Clean Tactics                                                          122 Graceful Sedge Way                                                        Simpsonville    SC           29680
    Clean Tactics LLC                     Kaitlynn Norton                  122 Graceful Sedge Way                                                        Simpsonville    SC           29680
    Clear Carbon and Components, Inc.     Michael Donahue                  108 Tupelo Street                                                             Bristol         RI           02809
    Clearwater Analytics, LLC                                              777 W Main St                         Suite 900                               Boise           ID           83702

    Cleary Gottlieb Steen & Hamilton LLP                                   One Liberty Plaza                                                             New York        NY           10006
    Cleary, Patrick                                                        Address Redacted
    Clemens, Jeremy                                                        Address Redacted
    Clements, Amanda                                                       Address Redacted
    Clemson Area Transit                                                   200 West Lane                                                                 Clemson         SC           29631
    Clemson University                   Department of Civil Engineering   202 Hugo Drive                                                                Clemson         SC           29634
                                                                           Acct Receivable- Admin Services       108 Silas N. Pearman
    Clemson University                    T3S Kelsey Reed                  Building                              Blvd                                    Clemson         SC           29634
                                                                           Transportation Technology Transfer    Department of Civil
    Clemson University                    T3S Kelsey Reed                  Service                               Engineering            202 Hugo Drive   Clemson         SC           29634
    Clemson University                                                     108 Silas N. Pearman Blvd                                                     Clemson         SC           29634
    Clemson University Foundation                                          110 Daniel Drive                                                              Clemson         SC           29631
    Cleveland Ignition Co. Inc.                                            600 Golden Oak Parkway                                                        Cleveland       OH           44146
    Cleveland, Jeffrey                                                     Address Redacted
    Clever Devices Ltd                    ALISON MANASERI                  300 Crossways Park Dr                                                         Woodbury        NY           11797
    Clever Devices Ltd                    AMY MILLER                       300 Crossways Park Dr                                                         Woodbury        NY           11797
    Clever Devices Ltd                    BLANK                            300 Crossways Park Dr                                                         Woodbury        NY           11797
    Clever Devices Ltd                                                     300 Crossways Park Dr                                                         Woodbury        NY           11797
    Clickfold Plastics                                                     2900 Westinghouse Blvd                #118                                    Charlotte       NC           28273
    Cliffs Truck Service LLC              Cliff Fitzpatrick                401 McConnell Springs Rd                                                      Lexington       KY           40504
                                          J. Scott Climate Comfort
    Climate Comfort Technologies          Technologies                     4903 Oneida Street                                                            Commerce City CO             80022
    Climate Solutions                                                      1402 3rd Ave.                         Suite 1305                              Seattle       WA             98101
    Cline Hose and Hydraulics, LLC        Kathy Simo                       PO Box 1188                                                                   Mauldin       SC             29662
    Cline Hose and Hydraulics, LLC        Leslie Brooks                    PO Box 1188                                                                   Mauldin       SC             29662
    Cline Hose and Hydraulics, LLC                                         PO Box 1188                                                                   Mauldin       SC             29662
    Clint Davis                           DBA Collectiv3 LLC               Address Redacted
    Clippard, Robert                                                       Address Redacted
    Close, Dustin                                                          Address Redacted
    Cloud Networx LLC                     Robert Johnson                   951 Dickson Rd                                                                Campobello      SC           29322
    Cloud Performer Inc                   David Flick                      5019 West Broad St, Suite 236                                                 Sugar Hill      GA           30518
    Cloud Performer Inc                   Michael Boutin                   5019 West Broad St, Suite 236                                                 Sugar Hill      GA           30518
    Cloudaction, LLC                      Samir Kumar                      4200 E Skelly Drive, Suite 1000                                               Tulsa           OK           74135




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    Cloudflare, Inc                                                      101 Townsend Street                                                    San Francisco    CA           94107
    Clover Consulting, Inc.              Beth Hunt                       PO Box 196                                                             Rockford         MI           49341
    Clover Consulting, Inc.                                              PO Box 196                                                             Rockford         MI           49341
    CMH Services                                                         929 Berry Shoals Road                                                  Duncan           SC           29334
    CML USA, Inc.                        Ercolina CML USA, Inc.          3100 Research Pkwy                                                     Davenport        IA           52806
    CNP Technologies, LLC                                                806 Tyvola Rd                          Ste 102                         Charlotte        NC           28217
    Coach Glass                          GINA NEAL                       91302 N Coburg Industrial Way                                          Coburg           OR           97408
    Coach Glass                          MEGAN FISHER                    91302 N Coburg Industrial Way                                          Coburg           OR           97408
    Coach Glass                                                          91302 N Coburg Industrial Way                                          Coburg           OR           97408
    Cobble, Jason                                                        Address Redacted
    Cobblestone Promotions/IPromoteU                                     IPromoteU Dept CH 17195                                                Palatine         IL           60055
    COBE Construction Inc                                                498 Salmar Ave                                                         Campbell         CA           95008
    CODICO                                                               Zwingenstrasse 6-8                                                     Perchtoldsdorf                A-2380        Germany
    Cofta, Stephen                                                       Address Redacted
    Cogency Global Inc.                                                  122 E. 42nd St.                        18th Floor                      New York         NY           10168
    Cogency Global Inc.                                                  725 SW Higgins Ave                     Suite C                         Missoula         MT           59803
    Coggins, Isaac                                                       Address Redacted
    Cognex Corporation                                                   1 Vision Drive                                                         Natick           MA           01760
    Coherix Inc.                                                         3980 Ranchero Drive                                                    Ann Arbor        MI           48108
    Coilcraft Incorporated                                               1102 Silver Lake Road                                                  Cary             IL           60013
    COING, Inc                           Clockify                        2100 Geng Road                         suite 210                       Palo Alto,       CA           94303
    Coit Services, Inc.                                                  897 Hinckley Road                                                      Burlingame       CA           94010
    Cole, Amanda                                                         Address Redacted
    Coleman, Curtis                                                      Address Redacted
    Coligos LLC                          James Brian Jones               4117 Hilsboro Pike                     Suite 103-211                   Nashville        TN           37215
    Colin Read                                                           Address Redacted
    Colletti, Andrew                                                     Address Redacted
    Colletti, Andrew                                                     Address Redacted
    Collier, William                                                     Address Redacted
    Colliers International Greater Los
    Angeles, Inc.                                                        2855 E. Guasti Rd. Suite 401                                           Ontario          CA           91761
    Collins, Stuart                                                      Address Redacted
    Colmenares, Celeste                                                  Address Redacted
    Colon, Ivan                                                          Address Redacted
    Colonial Engineering                                                 6400 Corporate Drive                                                   Portage          MI           49002
    Colorado Association of Transit
    Agencies (CASTA)                     Joseph Parks                    110 16th Street, Suite 604                                             Denver           CO           80202
    Colorado Department of Revenue       Attn Bankruptcy Unit            PO Box 17087                                                           Denver           CO           80217-0087
    Colorado Department of Revenue                                       PO Box 17087                                                           Denver           CO           80217-0087
    Colorado Dept of Revenue             Attn Bankruptcy Unit            1881 Pierce St.                        Entrance B                      Lakewood         CO           80214
    Colorado Electronic Hardware                                         16050 Table Mountain Parkway           Suite 200                       Golden           CO           80403
    Colucci, Ethan                                                       Address Redacted
    Columbia-Willamette Clean Cities
    Coalition, Inc                                                       P.O. Box 721                                                           Tualatin         OR           97062
    Combs, Thomas                                                        Address Redacted
    Combs, Ty                                                            Address Redacted
    Comcast Cable Communications
    Management, LLC                      Kristine Ball                   1900 S 10th Street                                                     San Jose         CA           95112
    Comcast Cable Communications
    Management, LLC                                                      PO Box 60533                                                           City of Industry CA           91716-0533
    Comemso GmbH                         Anita Athanasas                 Karlsbader Str. 13                                                     Ostfildem                     73760         Germany




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    Commerce Hose & Industrial Products DBA Hose King Riverside             4575 E. Washington Street                                                              Commerce        CA           90040

    Commercial Forms Recycler Supply                                        PO Box 1859                                                                            Brighton        MI           48116
    Commercial Furniture Interiors, LLC                                     4603 Dwight Evans Road                                                                 Charlotte       NC           28217
    Commercial Metals Company                                               2061 Nazareth Church Road                                                              Spartanburg     SC           29301
                                                                            USE SUPPLIER - SPRAGUE                                               Collections Center
    Commercial Vehicle Group              Joe Kelly                         DEVICES FOR POs                        P.O. Box 15683                Drive              Chicago        IL           60643
                                                                            USE SUPPLIER - SPRAGUE                                               Collections Center
    Commercial Vehicle Group              MARCIA PAYNE                      DEVICES FOR POs                        P.O. Box 15683                Drive              Chicago        IL           60643
                                                                            USE SUPPLIER - SPRAGUE                                               Collections Center
    Commercial Vehicle Group              Sandran Davis                     DEVICES FOR POs                        P.O. Box 15683                Drive              Chicago        IL           60643

    Commercial Vehicle Group                                                P.O. Box 15683                         Collections Center Drive                        Chicago         IL           60643
    Commission of Public Works, City of
    Greer SC                                                                PO Box 216                                                                             Greer           SC           29652-0216
    Commission of Public Works, City of
    Greer, SC                                                               301 McCall Street                                                                      Greer           SC           29650
    Committee to Protect AC Transit
    Services                                                                5940 College Avenue                    Suite F                                         Oakland         CA           94618
    Commodity Components International
    , Inc.                                                                  75 Sylvan Street                       C-108                                           Danvers         MA           01923
    Commonwealth of KY Department of
    Revenue                             Legal Support Branch - Bankruptcy   PO Box 5222                                                                            Frankfort       KY           40602
    Commonwealth of Massachusetts                                           Mass. Dept of Revenue                  PO Box 7065                                     Boston          MA           02204

                                                                                                                   4th Floor Riverfront Office
    Commonwealth of Pennsylvania         Bureau of Unclaimed Property       1101 South Front Street                Center                                          Harrisburg      PA           17104-2516
    Commonwealth of Virginia Dept of the
    Treasury                             Division of Unclaimed Property     PO Box 2485                                                                            Richmond        VA           23218-2485
    Communication Enterprises Inc.       Jay Cruz                           2315 Q Street                                                                          Bakersfield     CA           93301
    Communication Enterprises Inc.       Wendy Philpott                     2315 Q Street                                                                          Bakersfield     CA           93301
    Communication Service Center, Inc. Alicia Ross                          4 Sulphur Springs Rd                                                                   Greenville      SC           29617
    Communication Service Center, Inc. Ronnie Channell                      4 Sulphur Springs Rd                                                                   Greenville      SC           29617
    Communication Service Center, Inc.                                      4 Sulphur Springs Rd                                                                   Greenville      SC           29617
    Community Emergency Management, dba BERT - Emergency Operations
    Inc.                                 managment                          14271 Jeffrey Road, #409                                                               Irvine          CA           92620
    Community Foundation of Greenville,
    Inc.                                                                    630 E. Washington Street               Suite A                                         Greenville      SC           29601
    Community of Experts of Dassault
    Systemes Solutions                                                      330 N Wabash Avenue                    Suite 200                                       Chicao          IL           60611
    Community of Experts of Dassault
    Systemes Solutions                                                      8300 Solutions Center                                                                  Chicago         IL           60677
    Community Transportation
    Association of Virginia              Alexis Quinn                       PO Box 1026                                                                            Bluefield       VA           24605
    Community Transportation
    Association of Virginia              Josh Baker                         PO Box 1026                                                                            Bluefield       VA           24605
    Compass Components, Inc.             DBA Compass Made                   48133 Warm Springs Blvd                                                                Fremont         CA           94539
    Compass Group USA, Inc.                                                 PO Box 50196                                                                           Los Angeles     CA           90074-0196

    Complete Companies Inc.                                                 1145 Salt Lick Creek Road                                                              Pleasant Shade TN            37145
    Component Central Inc                                                   10700 Flower Ave                                                                       Stanton        CA            90680




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    Composites Canada                   Div. of FFO Fiberglass Inc.           1100 Meyerside Drive                                                       Mississauga    ON           L5T 1J4      Canada
    Composites Consolidation Company II
    LLC                                 McClarin Plastics LLC                 PO Box 83029                                                               Chicago        IL           60691
    Composites One LLC                  Aaron Kuhn                            PO Box 409328                                                              Atlanta        GA           30384
    Composites One LLC                  Marietta Darling                      PO Box 409328                                                              Atlanta        GA           30384
    Composites One LLC                  Pam Purvis                            PO Box 409328                                                              Atlanta        GA           30384
    Composites One LLC                                                        PO Box 409328                                                              Atlanta        GA           30384
    Compressed Air of CA                                                      PO Box 4570                                                                Cerritos       CA           90703
    Compton, Ivy                                                              Address Redacted
                                                                                                                    301 W. Preston Street
    Comptroller of Maryland              Baltimore Taxpayer Service           State Office Bldg.                    Room 409                             Baltimore      MD           21201-2373
    Comptroller of Maryland              Revenue Administration Center        Taxpayer Service Center               110 Carroll St                       Annapolis      MD           21411-0001
    Comptroller of Maryland              Unclaimed Property Unit              301 W Preston St, Room 310                                                 Baltimore      MD           21201-2385
    Comptroller of Maryland                                                   80 Calvert St                         PO Box 466                           Annapolis      MD           21404-0466
    Comptroller of Maryland                                                   110 Carroll St                                                             Annapolis      MD           21411-0001
    Comptroller of Public Accounts                                            P.O. Box 149359                                                            Austin         TX           78714
    Compulab LTD.                                                             17 HaYetzira                                                               Yokneam        Elite        2069208      Israel
    Computer Design & Integration LLC                                         500 Fifth Ave                         Suite 1500                           New York       NY           10110
    Computer Options, Inc.               DBA Convergent Computing             1450 Maria Lane, Suite 400                                                 Walnut Credk   CA           94596
    Computershare Inc.                   Mark Cano                            150 Royall Street                                                          Canton         MA           02021
    Computershare Inc.                                                        150 Royall St                                                              Canton         MA           02021
    Computershare Inc.                                                        Dept CH 19228                                                              Chicago        IL           60055
    Compx Security Products (CSP)        JULIE GALLOWAY                       PO Box 931717                                                              Atlanta        GA           31193
    Compx Security Products (CSP)        Sheila Lore                          PO Box 931717                                                              Atlanta        GA           31193
    COMTO Philadelphia Area Chapter                                           PO Box 40746                                                               Philadelphia   PA           19107

    Concentra                            U.S. Healthworks Medical Group, P.C. PO Box 50042                                                               Los Angeles    CA           90074-0042

    Concentra                             U.S. Healthworks Medical Group, P.C. 28035 Avenue Stanford West                                                Valencia       CA           91355
    Concur Technologies, Inc.                                                  62156 Collecions Center Drive                                             Chicago        IL           60693
    Concur Technologies, Inc.                                                  601 108th Ave NE Suite 1000                                               Bellevue       WA           98011
    Condor Manufacturing, Inc.            Judy Yeh                             44755 S. Grimmer Blvd, Unit A                                             Fremont        CA           94538
    Conduent State & Local Solutions,
    Inc.                                  Ganesh Persaud                       12410 Milestone Center Drive         5th Floor                            Germantown     MD           20876
    Conduent State & Local Solutions,
    Inc.                                  Kurt Lord                            12410 Milestone Center Drive         5th Floor                            Germantown     MD           20876
    Conduent State & Local Solutions,
    Inc.                                  Nancy Kramer                         12410 Milestone Center Drive         5th Floor                            Germantown     MD           20876
    Conduent State & Local Solutions,
    Inc.                                                                       12410 Milestone Center Drive         5th Floor                            Germantown     MD           20876
    Conference of Minority Transportation                                                                                                                Pompano
    Officials                             COMPTO Ft. Lauderdale                801 NW 33rd Street                                                        Beach          FL           33064
    ConnectAndSell, Inc.                                                       50 University Avenue                 Suite B310                           Los Gatos      CA           95030
    Connecticut Department of Labor                                            200 Folly Brook Blvd                                                      Wethersfield   CT           06109
    Connecticut Department of Revenue
    Services                              Department of Revenue Services       450 Columbus Blvd., Ste 1                                                 Hartford       CT           06103
    Connecticut Office of the State
    Treasurer                             Unclaimed Property Unit              55 Elm Street                                                             Hartford       CT           06106
    Connelly Electric                                                          40 S Addison Road                    Suite 100                            Addison        IL           60101
    Connelly, Dylan                                                            Address Redacted
    Connery III, Robert                                                        Address Redacted




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                                                                                                                                                                                                      New
    Connexions Limited LLC                  Brian Garrett                Level 1, Building 2                     1 Show Place, Addington                Christchurch                    8024          Zealand
                                                                                                                                                                                                      New
    Connexions Limited LLC                                               Level 1, Building 2                     1 Show Place, Addington                Christchurch                    8024          Zealand
    Connors, Daniel                                                      Address Redacted
    Connors, Reginald                                                    Address Redacted
    Consat Canada Inc.                                                   1414 Lasalle Blvd                       Suite 203                              Sudbury            ON           P3A 1Z6       Canada
    Conseillers En Management Marcon
    Inc.                                                                 555 Boul Rene Levesque O.               #750                                   Montreal           QC           H2Z 1B1       Canada
    Conselyea, Martin                                                    Address Redacted
    Consolidated Electrical Distributors,
    Inc.                                    Royal Industrial Solutions   DBA Royal Industrial Solutions          PO Box 847124                          Los Angeles        CA           90084-7124
    Consolidated Electrical Distributors,
    Inc.                                    Royal Industrial Solutions   DBA Royal Industrial Solutions          15139 Don Julian Rd                    City of Industry   CA           91746
    Consolidated Parts Inc.                 Celia                        2425 Scott Blvd                                                                Santa Clara        CA           95050
    Consolidated Parts Inc.                                              2425 Scott Blvd                                                                Santa Clara        CA           95050
    Consolidated Parts Inc. (CPI)                                        PO Box 16104                                                                   Denver             CO           80216

    Consolidated Storage Company, Inc.      DBA Equipto                  225 Main Street                         PO Box 429                             Tatamy             PA           18085
    Constangy, Brooks, Smith &
    Prophete, LLP.                                                       PO Box 102476                                                                  Atlanta            GA           30368-0476
    Constantino Zavala, Cesar                                            Address Redacted
    Constellium Valais SA                                                Route des Laminoirs 15                                                         Sierre             Valais       3960          Switzerland
    ConsuLab Educatech, Inc.                                             4210, rue Jean-Marchand                                                        Quebec             QC           G2C 1Y6       Canada

    Consumers Energy                                                     PO Box 740309                           Acct # 103028454975                    Cincinnati         OH           45274-0309
    Container Solutions, Inc.                                            29850 Jones Ave.                                                               Ardmore            AL           35739
    Contemporary Amperex Technology                                      No. 2, Xingang Road, Zhangwan
    Co., Limited.                           CATL                         Town, Jiaocheng District                                                       Ningde City                     352000        China
    Continental Automotive Systems US,
    Inc.                                                                 PO Box 934675                           Reference 595405                       Allentown          PA           18106
    Continental Resources                   LORI SMITH                   175 Middlesex Turnpike                                                         Bedford            MA           01730
    Contour Hardening, Inc.                 Kory Drake                   8401 Northwwest Blvd                                                           Indianapolis       IN           46278
    Contra Costa Heating and Air
    Conditioning                                                         14676 Doolittle Dr.                                                            San Leandro        CA           94577
    Contreras, Alex                                                      Address Redacted
    Contreras, Mauricia                                                  Address Redacted
    Contreras, Patrick                                                   Address Redacted
    Controlled Motion Solutions                                          911 N. Poinsettia St.                                                          Santa Ana          CA           92701
    Convex Insurance UK Limited             Locke Lord LLP               300 S. Grand Avenue, Suite 2600                                                Los Angeles        CA           90071
                                                                                                                                                                                                      United
    Convex Insurance UK Limited                                          52 Lime Street                                                                 London                          EC3M 7AF      Kingdom
    Con-Way Freight Inc.                                                 2211 Old Earhart Road                                                          Ann Arbor          MI           48105
    Cook, Randal                                                         Address Redacted
    Coolbox Protable Storage, LLC                                        5901 South Belvedere Avenue                                                    Tucson             AZ           85706
    Cooley LLP                                                           3 Embarcadero Center                    20th Floor                             San Francisco      CA           94111-4004
    Cooper Jr., David                                                    Address Redacted
    Cooper, LaTorre                                                      Address Redacted
    Coplen, Erika                                                        Address Redacted
    Cordstrap USA Inc.                                                   2000 S. Sylvania Av Ste 101                                                    Sturtevant         WI           53177
    CoreSite                                General Counsel              1001 17th Street, Suite 500                                                    Denver             CO           80202
    CoreStates, Inc                         Brian Baird                  3039 Premier Parkway, Suite 700                                                Duluth             GA           30097




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    CoreStates, Inc                     Josh Gatlin                            3039 Premier Parkway, Suite 700                                                Duluth          GA            30097
    CoreStates, Inc                     Towoanna Johnson                       3039 Premier Parkway, Suite 700                                                Duluth          GA            30097
    Corley Plumbing and Electric, Inc.  Summer Terry                           300 Ben Hamby Drive                                                            Greenville      SC            29615
    Corley Plumbing and Electric, Inc.                                         300 Ben Hamby Drive                                                            Greenville      SC            29615
    Corn, Langston                                                             Address Redacted
    Cornelio, Enrique                                                          Address Redacted
    Cornell, Kevin                                                             Address Redacted
    Cornerstone Consulting Organization
    LLC                                                                        15 N. Saint Clair St., 3rd FL                                                  Toledo          OH            43604
    Cornerstone Printing, Inc.                                                 50 Francisco Street                     Suite 245                              San Francisco   CA            94133
    Cornerstone Staffing Solutions, Inc                                        7020 Koll Center Pkwy                   Suite 100                              Pleasanton      CA            94566
    Coronado, Hoover                                                           Address Redacted
    Coroplast Fritz Muller GmbH & Co.
    KG                                                                         271 Wittner strasse                                                            Wuppertal                     42279         Germany

    Corporation for International Business                                     217 Park Ave                                                                   Barrington      IL            60010-4332
    Corrugated Containers Inc                                                  1040 Rogers Bridge Road                                                        Duncan          SC            29334
    Cortes, London                                                             Address Redacted
    Cortes, Marco                                                              Address Redacted
    Cosgrove, Brian                                                            Address Redacted

    Cost Accounting Recruiters                                                 2300 Highland Village Rd.               Suite 800                              Highland Village TX           75077
    Cote, Jean-Sebastien                                                       Address Redacted
    Coulomb Solutions Inc.                                                     235 Wright Brothers Ave                                                        Livermore       CA            94551
    Coumans, Lindsay                                                           Address Redacted
    Coundoussias, Demetri                                                      Address Redacted
    Counts, Shayla                                                             Address Redacted
                                                                                                                                           159 East McClellan
    County Transportation Association        NJ TransAction Conference & Exp   NJ TransAction Conference               c/o Michael Viera   Avenue             Livingston      NJ            07039
    County Transportation Association        NJ TransAction Conference & Exp   460 Elm Street                                                                 Stirling        NJ            07980
    Countywide Coalition to Fix Our
    Roads                                                                      150 Post Street                         Suite 405                              San Francisco   CA            94108
    Covington, JoAnn                                                           Address Redacted
    Cowart Awards, Inc                       Diane Bayne                       PO Box 16417                                                                   Greenville      SC            29606
    Cowart Awards, Inc                       Kerri Cowart Awards, Inc          PO Box 16417                                                                   Greenville      SC            29606
    Cowell, Wesley                                                             Address Redacted
    Coyote Gear                                                                1087 S. CHATFIELD DR.                                                          Vail            AZ            85641
    Coyote International L.L.C               ERIN MURPHY                       PO Box 1350                                                                    Colleyville     TX            76034
    Coyote International L.L.C               Karoline Young                    PO Box 1350                                                                    Colleyville     TX            76034
    CPA Global Support Services, LLC                                           PO Drawer 2426                                                                 Arlington       VA            22203
    CPA Global Support Services, LLC                                           2318 Mill Road                          12th Floor                             Alexandria      VA            22314
    CPA Global Support Services, LLC                                           3133 W. Frye Road                       Suite 400                              Chandler        AZ            85226
    CPAC Systems AB                          Nethaji Karuppasami               Box 217                                                                        Goteborg                      401 23        Sweden
    CPD Enterprises, LLC                     Phillip Dell                      3340 Sisk St                                                                   Las Vegas       NV            89108
    CRA International, Inc.                  Charles River Associates, Inc.    200 Clarendon Street                                                           Boston          MA            02116
    Craig H. Johnson & Associates                                              29 Tappan Lane                                                                 Orinda          CA            94563
    Craig Lawson                                                               Address Redacted
    Crane 1 Services, Inc.                   Material Handling Solutions       1027 Byers Road                                                                Miamisburg      OH            45342
    Crawford Strategy, LLC                                                     201 W. McBee Avenue                     Suite 150                              Greenville      SC            29601
    Crawford, Ethan                                                            Address Redacted
    Crawford, Matthew                                                          Address Redacted
    Crawley Jr., Roland                                                        Address Redacted




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    Crawley, Michael                                                  Address Redacted
    CRC Group                            Jim Sipich, Josh Chassman    50 California Street Suite 2000                                              San Francisco   CA           94111
    CRC Scrap Metal Recycling LLC                                     PO Box 306                                                                   Duncan          SC           29334

    Creative Manufacturing Solutions, Inc                             18400 Sutter Blvd                                                            Morgan Hill     CA           95037
    Creative Safety Supply, LLC                                       8030 SW Nimbus Avenue                                                        Beaverton       OR           97008
    Creform Corporation                                               PO Box 281485                                                                Atlanta         GA           30384
    Cremedy, Juoaquina                                                Address Redacted
    Crestlawn Truck Alignment Ltd                                     5870 Shawson Drive                                                           Mississauga     ON           L4W 3W5       Canada
    Cromer Food Services, Inc                                         P.O Box 1447                                                                 Anderson        SC           29622
    Cromer Food Services, Inc                                         1851 Harris Bridge Road                                                      Anderson        SC           29621
    Cromer Food Services, Inc.                                        PO Box 1447                                                                  Anderson        SC           29621
    Cross Company                         BETTY FIELDS                PO Box 601855                                                                Charlotte       NC           28260
    Cross Company                         SCOT TOSI                   PO Box 601855                                                                Charlotte       NC           28260
    Cross Company                         STEVE BURTON                PO Box 601855                                                                Charlotte       NC           28260
    Cross Company                                                     PO Box 601855                                                                Charlotte       NC           28260
    Cross Company                                                     Lockbox                                PO Box 746408                         Atlanta         GA           30374-6408

    Cross Technology, Inc.               Allison Lambert              305 Junia Avenue                                                             Winston-Salem NC             27127

    Cross Technology, Inc.               Zachariah Barker             305 Junia Avenue                                                             Winston-Salem NC             27127
    Crouch, Toni                                                      Address Redacted
    CrowdHealth Source LLC                                            247 Centre Street, Floor 4R                                                  New York        NY           10013
    CrowdStrike, Inc                                                  150 Mathilda Place                     3rd Floor                             Sunnyvale       CA           94086
    Crowe, John                                                       Address Redacted
    Crowell, William                                                  Address Redacted
    Crown Auto Transport Inc.                                         86104 Coastline Dr.                                                          Yulee           FL           32097
    Crown Awards                                                      9 Skyline Drive                                                              Hawthorne       NY           10532
    Crown Equipment Corporation          Andrew Parker                PO Box 641173                                                                Cincinnati      OH           45264
    Crown Equipment Corporation                                       44 S Washington Street                                                       New Bremen      OH           45869
    Crown Nissan of Greenville           CHRIS FORD                   445 Atlanta South Parkway              Suite 135                             College Park    GA           30349
    Crown Packaging Corp                                              17854 Chesterfield Airport Road                                              Chesterfield    MO           63005
    Crum & Forster Specialty Insurance
    Company                                                           305 Madison Avenue                                                           Morristown      NJ           07960
    Cruz, Alex                                                        Address Redacted
    Cruz, Charlton                                                    Address Redacted
    Crystal Instruments Corporation      Tiffany Pan                  2090 Duane Ave                                                               Santa Clara     CA           95054
    Crystal Sewer & Water Inc                                         243 Stonehaven Way                                                           Seneca          SC           29672
    CSA America, Inc.                    Victoria Lozada              34 Bunsen                                                                    Irvine          CA           92618
    CSA America, Inc.                                                 8501 E Pleasant Valley Road                                                  Independenc     OH           44131
    CSC                                                               PO Box 7410023                                                               Chicago         IL           60674
    CSI I Prodigy Holdco LP                                           100 West 33rd Street                                                         New York        NY           10001
    CSI Prodigy Co-Investment LP                                      100 West 33rd Street                                                         New York        NY           10001
    CSI PRTA Co-Investment LP                                         100 West 33rd Street,                                                        New York        NY           10001
    CSM Products, Inc                    TINA JUDY                    1920 Opdyke Court                      Ste. 200                              Auburn Hills    MI           48326
    CSM Products, Inc                                                 1920 Opdyke Court                      Ste. 200                              Auburn Hills    MI           48326
    CT Corporation                                                    300 Montvue Road                                                             Knoxville       TN           37919-5546
    CT Corporation                                                    PO Box 4349                                                                  Carol Stream    IL           60197
    CT Corporation                                                    1999 Bryan Street                      Suite 900                             Dallas          TX           75201
    CTI/USA Inc                          Globe Ticket                 11 Eisenhower LN S.                                                          Lombard         IL           60148

    CTI/USA Inc                          Globe Ticket                 d/b/a Globe Ticket                     350 Randy Road Suite 1                Carol Stream    IL           60188




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    CTI/USA Inc                           Globe Ticket                        350 Randy Road                          Suite 1                           Carol Stream     IL           60188
    CTOU Inc dba Carrier Transicold of
    Utah                                  Henri Vanderbeek                    5209 W 70050                                                              Salt Lake City   UT           84104
    Cubic Transportation Systems, Inc.    ALICIA HUSCHER                      400 California St.                                                        San Francisco    CA           94101
    Cubic Transportation Systems, Inc.    DEBORAH LINQUIST                    400 California St.                                                        San Francisco    CA           94101
    Cubic Transportation Systems, Inc.    Debra Lindquist.                    400 California St.                                                        San Francisco    CA           94101
    Cubic Transportation Systems, Inc.                                        400 California St.                                                        San Francisco    CA           94101
    Cuellar Salinas, Jesus                                                    Address Redacted
    Culafi, Abdi                                                              Address Redacted
    Cullen Western Star Trucks LTD.       Gary Harrison                       9300 192nd Street                                                         Surrey           BC           V4N 3R8       Canada
    Culligan of the Piedmont              Carolina Water Specialties, LLC     212 Cooper Lane                                                           Easley           SC           29642
    Cummins Inc.                          Cummins Sales and Service           260 Commercial Road                                                       Spartanburg      SC           29303
    Cunningham, Deshundre                                                     Address Redacted
    Cuny, Amy                                                                 Address Redacted
    Curiel, Ricardo                                                           Address Redacted
    Curry, Knisha                                                             Address Redacted
    Curtis, Justin                                                            Address Redacted
    Curtiss Wright Controls, Integrated
    Sensing Inc.                          Penny & Giles                       210 Ranger Ave                                                            Brea             CA           92821
    Cushman & Wakefield Ltd.              Amy Ward                            161 Bay Street, Suite 1500                                                Toronto          ON           M5J 2S1       Canada
    Cushman & Wakefiled U.S., Inc                                             1350 Bayshore Highway                   Suite 900                         Burlingame       CA           94010
    Custom Glass Solutions Upper                                                                                                                        Upper
    Sandusky, LLC                         ACCTG/PROFORMA INV Lori Ellis       12688 State Hwy 67                                                        Sandusky         OH           43351
    Custom Glass Solutions Upper                                                                                                                        Upper
    Sandusky, LLC                         REGINA CARPENTER                    12688 State Hwy 67                                                        Sandusky         OH           43351
    Custom Glass Solutions, LLC           ACCTG/PROFORMA INV Lori Ellis       600 Lakeview Plaza Blvd                 Suite A                           Worthington      OH           43085
                                          PROJECT ACCT MGR Kevin
    Custom Glass Solutions, LLC           McMillan                            600 Lakeview Plaza Blvd                 Suite A                           Worthington      OH           43085
    Custom Glass Solutions, LLC           REGINA CARPENTER                    600 Lakeview Plaza Blvd                 Suite A                           Worthington      OH           43085
    Custom Glass Solutions, LLC                                               600 Lakeview Plaza Blvd                 Suite A                           Worthington      OH           43085
                                                                                                                                                        Upper
    Custom Glass Solutions, LLC                                               12688 State Hwy 67                                                        Sandusky         OH           43351
    Custom Training Aids Inc.                                                 2259 Third Street                                                         La Verne         CA           91750
    Cutting Edge Composites Inc.                                              213 Jedburg Road                                                          Summerville      SC           29483
                                                                              No.31, Lane. 50, Sec. 3, Nan-Kang
    Cymmetrik Enterprise Co., Ltd.                                            Rd.                                                                       Taipei           Taiwan       115           Taiwan
    Cynergy Ergonomics, Inc.                                                  13144 Barrett Meadows Dr.                                                 Ballwin          MO           63021
                                          Pamco Printed Tape and Label Co.,
    Cypress Multigraphics LLC             Inc.                                PO Box 1000                             Dept #005                         Memphis          TN           38148
                                          Pamco Printed Tape and Label Co.,
    Cypress Multigraphics LLC             Inc.                                8500 West 185th Street                  Suite A                           Tinley Park      IL           60487
                                          Pamco Printed Tape and Label Co.,
    Cypress Multigraphics, LLC            Inc.                                8500 W. 185TH Street                    Unit A                            Tinley Park      IL           60477
    Cypress Pest Control, LLC                                                 PO Box 16675                                                              Greenville       SC           29606
    D&C Fabrication, LLC                  DBA L&L Fabricating                 15263 Wheeler Road                                                        Legrange         OH           44050
    D&L Engineering                                                           264 Emanuel Ln                                                            Kirksey          KY           42054-9502
    D&W Diesel Inc.                                                           1503 Clark Street Rd.                                                     Auburn           NY           13021
    D.C. Treasurer                                                            PO Box 96019                                                              Washington       DC           20090-6019
    D.L.S. Electronic Systems, Inc.                                           1250 Peterson Drive                                                       Wheeling         IL           60090
    D2G Group LLC                         Displays2go                         81 Commerce Drive                                                         Fall River       MA           02720

    dacore Datenbanksysteme AG                                                Bavaria                                 Hauptstrasse 106b                 Heroldsberg                   D-90562       Germany




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    Dadyar, Labkhand                                                     Address Redacted
    Daeshin Lee                                                          Address Redacted
    Dai, Xiangyang                                                       Address Redacted
    Dailey, Zeke                                                         Address Redacted
    Daimler AG                                                           Mercedesstrasse 120                                                     Stuttgart      Germany      70372         Germany
    Daimler Trucks North America                                         Bank of America Atlanta Lockbox          PO Box 277953                  Atlanta        GA           30384-7953
    Dakota Software Corporation       Carla Taylor                       PO Box 18559                                                            Rochester      NY           14618
    Dakota Software Corporation       Carla Taylor                       1375 Euclid Ave, Suite 500                                              Cleveland      OH           44115
    Dakota Software Corporation       James Miller                       PO Box 18559                                                            Rochester      NY           14618
    Dakota Software Corporation       James Miller                       1375 Euclid Ave, Suite 500                                              Cleveland      OH           44115
    Dallas Area Rapid Transit                                            PO Box 840009                                                           Dallas         TX           75284-0009
    Dalmec, Inc.                                                         469 Fox Ct.                                                             Bloomingdale   IL           60108
    Dalrymple, Jason                                                     Address Redacted
    Damania, Zarvan                                                      Address Redacted
    Damas, Sara                                                          Address Redacted
    Dan Kamut                                                            Address Redacted
    Dana V Leusch                     Greenhouse Grant Consulting, LLC   Address Redacted
    Danda, Soumya                                                        Address Redacted
    Dandrea, Luc                                                         Address Redacted
    Danfoss Power Solutions (US)
    Company                           Alberto Ceballos Uribe             2800 E 13th Street                                                      Ames           IA           50010
    Danfoss Power Solutions (US)
    Company                           Amy Kitchen                        2800 E 13th Street                                                      Ames           IA           50010
    Danfoss Power Solutions (US)
    Company                           Andreas Michalski                  2800 E 13th Street                                                      Ames           IA           50010
    Danfoss Power Solutions (US)
    Company                                                              2800 E 13th Street                                                      Ames           IA           50010
    Dang Jr., Tuan                                                       Address Redacted
    Dangler, Aaron                                                       Address Redacted
    Daniel R. Revers                                                     Address Redacted
    Daniel, Kewana                                                       Address Redacted
    Daniels, Richard                                                     Address Redacted
    Danjuma, Joshua                                                      Address Redacted
    Danny Simpson                     DBA Bay Area Cleaning              Address Redacted
    Dantkale, Rohit                                                      Address Redacted
    Dao, Duybao                                                          Address Redacted
    Dara, David                                                          Address Redacted
    Darade, Nilesh                                                       Address Redacted
    Darius Hall                                                          Address Redacted
    Dassault Systemes Americas Corp                                      PO Box 415728                                                           Boston         MA           02241-5728
    Dassault Systemes Americas Corp                                      175 Wyman St.                                                           Waltham        MA           02451-1223
    Data Alliance Inc.                Simon Kingsley                     420 W. International Street                                             Nogales        AZ           85621
    Data Center Solutions                                                588 Bellerive Road                       Suite 1B                       Annapolis      MD           21409
    Data Weighing Systems, Inc.                                          255 Mittel Dr                                                           Wood Dale      IL           60191
    Daughters of Rosie Inc.           Ezra Spier                         1498 Rose St.                                                           Berkeley       CA           94702
    Dave Zamora                       dba Ztech MFG, LLC                 Address Redacted
    Davey Coach Sales LLC                                                7182 Reynolds Drive                                                     Sedalia        CO           80135
    David Buseman                                                        Address Redacted
    David Davis                                                          Address Redacted
    Davidson, Morghan                                                    Address Redacted
    Davis, Adam                                                          Address Redacted
    Davis, Benjamin                                                      Address Redacted




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                CreditorName                     CreditorNoticeName                     Address1                            Address2          Address3           City            State           Zip   Country
    Davis, Dennis                                                         Address Redacted
    Davis, Glenda                                                         Address Redacted
    Davis, Jacob                                                          Address Redacted
    Davis, Jay                                                            Address Redacted
    Davis, Jonathan                                                       Address Redacted
    Davis, William                                                        Address Redacted
    Day Management Corporation           DBA Day Wireless Systems         4728 East 2nd Street                    Suite 10                                  Benicia         CA           94510
    Day Management Corporation           DBA Day Wireless Systems         PO Box 22169                                                                      Milwaukie       OR           97269
    Day, Dylan                                                            Address Redacted
    Day, Steven                                                           Address Redacted
    DBK USA, Inc.                                                         212 Northeast Drive                                                               Spartanburg     SC           29303
    DC BLOX INC.                                                          6 W Druid Hill Drive NE                 Suite 400                                 Atlanta         GA           30329
    DC Office of Finance and Treasury    Unclaimed Property Unit          1101 4th St. SW, Ste. 800 W                                                       Washington      DC           20024
    DC Office of Tax and Revenue                                          1101 4th St SW #270                                                               Washington      DC           20024
    DCC Corporation                                                       7250 Westfield Avenue                   Suite B                                   Pennsauken      NJ           08110
    DCX, Inc                             Thomas Glogower                  PO Box 9366                                                                       Louisville      KY           40209
    DDB Unlimited, Inc.                                                   2301 S. Highway 77                                                                Pauls Valley    OK           73075
    De Bella Mechanical, Inc.            John Helm                        605 Nuttman Street                                                                Santa Clara     CA           95054
    De La Riva, Hernan                                                    Address Redacted
    De La Rosa, Arthur                                                    Address Redacted
    de la Vega, Sabrina                                                   Address Redacted
    De Lage Landen Financial Services,
    Inc.                                                                  PO Box 41602                                                                      Philadelphia    PA           19102
    De Lange, Joseph                                                      Address Redacted
    De-Almeida, MYRIAM                                                    Address Redacted
    De-Almeida, Myriam                                                    Address Redacted
    Dean Knepp                                                            Address Redacted
    Dean, Glenn                                                           Address Redacted
    Dean, Kendrick                                                        Address Redacted
    Dean, Sharon                                                          Address Redacted
    Dearborn Crane & Engineering Co.                                      1133 East Fifth Street                                                            Mishawaka       IN           46544
    Decca Design                                                          476 S First Street                                                                San Jose        CA           95113
    Decisionpoint Systems, Inc.                                           23456 S. Pointe Drive                   Unit A                                    Laguana Hills   CA           92653
    Decker Electric Inc.                 Brandon Horsch                   4500 Harry St                                                                     Wichita         KS           67209
    Decker Electric Inc.                 Brian Fair                       4500 Harry St                                                                     Wichita         KS           67209
    Decker Electric Inc.                 Joanie Estell                    4500 Harry St                                                                     Wichita         KS           67209
    Decosta, Susan                                                        Address Redacted
                                         CHECK ORDER STATUS CHECK
    Dedicated Micros, Inc.               ORDER STATUS                     3855 Centerview Dr.                     Suite 400B                                Chantilly       VA           22021
    Dedicated Micros, Inc.               JOHN BONSEE                      3855 Centerview Dr.                     Suite 400B                                Chantilly       VA           22021
    Dedicated Micros, Inc.               MARIE NELSON                     3855 Centerview Dr.                     Suite 400B                                Chantilly       VA           22021
    Dedicated Micros, Inc.                                                3855 Centerview Dr.                     Suite 400B                                Chantilly       VA           22021
    Deep Three, Inc.                     Brimstone Fire Protection        17607 Rupert Rd                                                                   Spencerville    IN           46788
    Deflecto LLC                         Eagle Plastics & Rubber Co.      PO Box 772651                                                                     Detroit         MI           48277-2651
    Del Pilar, Exequiel                                                   Address Redacted
    Del Toral Jr., Arturo                                                 Address Redacted
    Delaplane, William                                                    Address Redacted
    Delaware Department of Finance       Office of Unclaimed Property     PO Box 8931                                                                       Wilmington      DE           19899-8931

    Delaware Dept of Justice             Attorney General                 Attn Bankruptcy Department              Carvel State Building   820 N French St   Wilmington      DE           19801
    Delaware Division of Revenue         Division of Revenue/Bankruptcy
    Bankruptcy Service                   Services                         820 N French St 8th Floor               Carvel State Building                     Wilmington      DE           19801




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                CreditorName                      CreditorNoticeName                 Address1                       Address2        Address3         City          State         Zip    Country
    Delaware Secretary of State          Division of Corporations      Franchise Tax                          PO Box 898                       Dover          DE           19903
    Delaware Secretary of State                                        PO Box 5509                                                             Binghamton     NY           13902-5509
    Delaware State Treasury                                            820 Silver Lake Blvd., Suite 100                                        Dover          DE           19904
    Delaware Transit Authority                                         119 Lower Beech St                                                      Wilmington     DE           19805
    Delaware Transit Corporation                                       900 Public Safety Blvd                                                  Dover          DE           19901
    Delgado, Maximo                                                    Address Redacted
    Dell Financial Services L.L.C.                                     One Dell Way                                                            Round Rock     TX           78682-0001
    Dell Financial Services LLC          AJ Robertson                  One Dell Way                                                            Round Rock     TX           78682-0001
    Dell Financial Services LLC          Michael Jorgeson              One Dell Way                                                            Round Rock     TX           78682-0001

                                                                                                              PAYMENT
    Dell Financial Services LLC                                        PO Box 5292                            PROCESSING CENTER                Carol Stream   IL           60197
    Dell Marketing L.P                   c/o Dell USA L.P.             PO Box 534118                                                           Atlanta        GA           30353-4118
    Dell Marketing L.P                   Christopher Bussie            c/o Dell USA L.P.                      PO Box 534118                    Atlanta        GA           30353-4118
    Dell Marketing L.P                   Corey Lennier                 c/o Dell USA L.P.                      PO Box 534118                    Atlanta        GA           30353-4118
    Dell Marketing L.P                   Danny Wanner                  c/o Dell USA L.P.                      PO Box 534118                    Atlanta        GA           30353-4118
    Dell Marketing L.P                                                 PO Box 534118                                                           Atlanta        GA           30353-4118
    Dellinger Enterprises, LTD           CHAD BALLARD                  759 Cason Street                       PO Box 627                       Belmont        NC           28012
    Dellinger Enterprises, LTD           Chris Isenberg                759 Cason Street                       PO Box 627                       Belmont        NC           28012
    Dellinger Enterprises, LTD           GREG DELLINGER                759 Cason Street                       PO Box 627                       Belmont        NC           28012
    Dellinger Enterprises, LTD                                         759 Cason Street                       PO Box 627                       Belmont        NC           28012
    Deloach, Michael                                                   Address Redacted
    Delta Dental of Missouri                                           PO Box 790320                                                           Saint Louis    MO           63179
    Delta Electronics (Americas) Ltd.                                  46101 Fremont Blvd.                                                     Fremont        CA           94538
    Delta Services, LLC                                                4676 Jennings Ln.                                                       Louisville     KY           40218
    Delta T Corporation                  ISABELLE MARTINEZ             2425 Merchant Street                   PO Box 11307                     Lexington      KY           40575
    Delta T Corporation                                                2425 Merchant Street                   PO Box 11307                     Lexington      KY           40575
    Delta Wireless, Inc.                                               1700 W. Fremont Street                                                  Stockton       CA           95203
    Deluca, David                                                      Address Redacted
    Deluxe Small Business Sales, Inc.                                  PO Box 742572                                                           Cincinnati     OH           45274
    Demler, Armstrong & Rowland, LLP                                   4500 E. Pacific Coast Hwy              Suite 400                        Long Beach     CA           90804
    Democratic Party of Orange County                                  1916 W. Chapman Ave                                                     Orange         CA           92868
    Dempsey, Anthony                                                   Address Redacted
    Denim Video LLC                      Sylvia Gorajek                3334 Brittan Ave                       Suite 10                         San Carlos     CA           94070
    Dennis Gomez, Nicolas                                              Address Redacted
    Denominator Company, The                                           744 Main Street                        PO Box 5004                      Woodbury       CT           06798
                                         ADMINISTRATIVE ASSISTANT
    Dentons US LLP                       Lynette Wilson                233 S. Wacker Drive, Suite 5900                                         Chicago        IL           60606
    Dentons US LLP                       Corianne Laue                 233 S. Wacker Drive, Suite 5900                                         Chicago        IL           60606
    Denver Metal Finishing                                             3100 E. 43rd Ave                                                        Denver         CO           80216
    Department of Enterprise Services                                  PO Box 41460                                                            Olympia        WA           98504-1460
    Department of Health and Human
    Services Centers                     Pay.gov                       200 Independence Avenue, S.W.                                           Washington     DC           20201

    Department of HomeLand Security                                    1625 Rock Mountain Blvd # Q                                             Stone Mountain GA           30083

    Department of Licensing Washington                                 PO Box 9020                                                             Olympia        WA           98507
    Department of Revenue Services -
    State of Connecticut                                               PO Box 2974                                                             Hartford       CT           06104
    Department of Revenue State of
    Washington                                                         Business License Service               PO Box 34456                     Seattle        WA           98124-1456




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    Department of the Treasury - Internal
    Revenue Service                         Centralized Insolvency Operation   PO Box 7346                                                                   Philadelphia   PA           19101-7346
    Department of the Treasury - Internal                                      George Hyde (G. H.) Fallon Federal
    Revenue Service                                                            Building                              31 Hopkins Plaza                        Baltimore      MD           21201
    Department of the Treasury, Internal
    Revenue Service                                                            1500 Pennsylvania Avenue, NW                                                  Washington     DC           20220
    Depco Pump Company                                                         PO Box 6820                                                                   Clearwater     FL           33758
    Depco Pump Company                                                         2145 Calumet Street                                                           Clearwater     FL           33765
    Dept of Revenue Washington State        Unclaimed Property Section         PO Box 34053                                                                  Seattle        WA           98124-1053

    Dept of the State Treasurer             Commonwealth of Massachusetts      Unclaimed Property Division           One Ashburton Pl 12th Fl                Boston         MA           02108-1608

                                                                                                                     9-21Shing YIP Street
    Depu Electronics Co. Limited                                               FIAT06, 10/F Shing YIP Ind Bldg       KWUN Tongkowloon                        Hongkong                    999077        China
    Derek N Walton                          DBA L F Research                   Address Redacted
    Derich, Zackery                                                            Address Redacted
    DeRosa, James                                                              Address Redacted
    Derrick Pendergrass                                                        Address Redacted
    Des Moines Area Regional Transit
    Authority                                                                  620 Cherry Street                                                             Des Moines     IA           50309
    Deshler C. Mansel                       Greenville Deputy                  Address Redacted
    Deshmukh, Mahesh                                                           Address Redacted
    Design & Assembly Concepts, Inc.                                           10949 E Crystal Falls Pkwy                                                    Leander        TX           78641
    Design Tool, Inc.                                                          1607 Norfolk Place SW                                                         Conover        NC           28613
    Desman Corp                                                                5575 Dobbins Bridge Rd                                                        Anderson       SC           29626
    Deufol Sunman, Inc.                     Andrew                             924 South Meridian                                                            Sunman         IN           47041
    Deufol Sunman, Inc.                     James Hudgins                      924 South Meridian                                                            Sunman         IN           47041
    Deufol Sunman, Inc.                     Mainerd Shoemaker                  924 South Meridian                                                            Sunman         IN           47041
    Deufol Sunman, Inc.                                                        924 South Meridian                                                            Sunman         IN           47041
    Deutsche Messe AG                                                          Messegelande Hannover                                                         Hanover                     30521         Germany
    Devin Domnick                                                              Address Redacted
    Devin Ikenberry                                                            Address Redacted
    DeVita & Associates, Inc.               Reggie Reynolds                    1150 E. Washington Street                                                     Greenville     SC           29601
    DeVita & Associates, Inc.                                                  PO Box 1596                                                                   Greenville     SC           29602
    Dew, Mathilda                                                              Address Redacted
    DEWESoft, LLC                           Jake Rosenthal                     10730 Logan St                                                                Whitehouse     OH           43571
    DeWinter Group, Inc.                                                       1919 S. Bascom Avenue                 Suite 250                               Campbell       CA           95008
    Dhami, Narinder                                                            Address Redacted
    DHL Express, Inc.                                                          1408 Courtesy Road                                                            High Point     NC           27260
    DHL Express, Inc.                                                          16592 Collections Center Drive                                                Chicago        IL           60693
    DHL Global Forwarding                                                      14076 Collections Center Drive                                                Chicago        IL           60693
    DHoore, Michael                                                            Address Redacted
    Dialight Corporation                    JOHN VINES                         Lock Box #S-7055                      P. O. Box 8500                          Philadelphia   PA           19178-7055
    Dialight Corporation                    KATHY SMITH                        Lock Box #S-7055                      P. O. Box 8500                          Philadelphia   PA           19178-7055
    Dialight Corporation                    KRISTA DEL GRASSO                  Lock Box #S-7055                      P. O. Box 8500                          Philadelphia   PA           19178-7055
    Dialight Corporation                                                       Lock Box #S-7055                      P. O. Box 8500                          Philadelphia   PA           19178-7055
                                                                                                                                                             North Kansas
    Diamond Manufacturing                                                      2330 Burlington Street                                                        City           MO           64116
    Diamond Manufacturing, Inc.          Todd Cull                             2330 Burlington Street                                                        Kansas City    MO           64116
    Diamond Point International (Europe)                                       Suite 13 Ashford House Beaufort                                                                                         United
    Ltd                                                                        Court Sir Thomas Longley Road                                                 Rochester                   ME2 4FA       Kingdom
    Diamond Springs Water                                                      PO Box 667887                                                                 Charlotte      NC           28266




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    Diaz, Anthony                                                      Address Redacted
    Diaz, Jaime                                                        Address Redacted
    Diaz, Simon                                                        Address Redacted
    Dice Career Solutions, Inc                                         4939 Collections Center Dr                                                      Chicago         IL             60693
                                       Cox Automotive Mobility Fleet
    Dickinson Fleet Services, LLC      Services                        4709 West 96th Street                                                           Indianapolis    IN             46268
    Dickinson, John                                                    Address Redacted
    Diego Garcia                                                       Address Redacted
    Dietz, Ryan                                                        Address Redacted
    Digabit, Inc DBA Documoto                                          800 Englewood Pkwy                       Suite C201                             Englewood       CO             80110
    DigiCert, Inc.                     Tyrell Schmoe                   2801 North Thanksgiving Way              # 500                                  Lehi            UT             84043-5596

    Digi-Key Corporation                                               701 Brooks Ave. South                    P.O. Box 250                           Thief River Falls MN           56701-0677

    Digi-Key Electronics                                               701 Brooks Ave S                         PO Box 250                             Thief River Falls MN           56701
    Digital Recorders, Inc.                                            4018 Patriot Dr                          Suite 100                              Durham            NC           27703
    Digitize Designs, LLC                                              400 Birnie St Suite i                                                           Greenville        SC           29611
    DILAX Systems Inc.                 Alexander Okapuu                406 - Desaulniers                        Suite 406                              Saint-Lambert QC               J4P 1L3       Canada
    DILAX Systems Inc.                 SYLVAIN BESNER                  406 - Desaulniers                        Suite 406                              Saint-Lambert QC               J4P 1L3       Canada
    Dillon Supply Company                                              440 Civic Boulevard                                                             Raleigh           NC           27610
    DILLON, SHANE                                                      Address Redacted
    Dillon, Shane                                                      Address Redacted
    DiMalanta, Emma                                                    Address Redacted
    Dimplex Thermal Solutions, Inc.                                    2625 Emerald Dr.                                                                Kalamazoo       MI             49001
    Dingre, Sayali                                                     Address Redacted
    Direct Resource Management, Inc.                                   2375 Davis St.                                                                  San Leandro     CA             94577
    Direct Scaffold Supply, LP                                         PO Box 301584                                                                   Dallas          TX             75303-1584
    DIRECTV, LLC                                                       PO Box 105249                                                                   Atlanta         GA             30348
    DisCom International               Lori Carr                       50421 E Russell Schmidt Boulevard                                               Chesterfield    MI             48025

    DisCom International                                               200 Pier Ave, Suite 137                                                         Hermosa Beach CA               90254
    Dispense Works Inc.                                                4071 Albany Street                                                              McHenry       IL               60050
    Displayit Holdings, LLC            Michael Rector                  4345 Hamilton Mill Road                  Suite 100                              Buford        GA               30518
    Dittmaier Jr., Donald                                              Address Redacted
    Diversified Electronics Inc.                                       309-C Agnew Drive                                                               Forest Park     GA             30297

    Divine Coaches Inc.                                                5491 Newport St                                                                 Commerce City CO               80022-4322
                                                                                                                Pleasantburg Industrial
    Dixie Rubber & Plastics, Inc.      MARTIN BOSWELL                  PO Box 6554                              Park                                   Greenville      SC             29606
                                                                                                                Pleasantburg Industrial
    Dixie Rubber & Plastics, Inc.      NINA CORLEY                     PO Box 6554                              Park                                   Greenville      SC             29606
                                                                                                                Pleasantburg Industrial
    Dixie Rubber & Plastics, Inc.      Tanner Corley                   PO Box 6554                              Park                                   Greenville      SC             29606
    Dixit, Nishant                                                     Address Redacted
    Dixon Hughes Goodman                                               Address Redacted
    Dixon Hughes Goodman                                               Address Redacted
    Dixon Jr., Isaac                                                   Address Redacted
    Dixon, Kevin                                                       Address Redacted
    Dizon, Ronald                                                      Address Redacted
    DJ Products                                                        PO Box 528                                                                      Little Falls    MN             56345

    DK Power, Inc                                                      6 Ives Bluff Court                                                              East Greenwich RI              02818




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    DLA Piper LLP                                                           6225 Smith Avenue                                                               Baltimore        MD           21209
    DMS Video Productions Ltd           DBA 5Gear Studios                   6-411 Confederation Parkway                                                     Concord          ON           L4K 0A8      Canada
    Do, Hoang                                                               Address Redacted
    Dobbs Heavy Duty Holdings, LLC                                          33301 9th Avenue S                     Suite 100                                Federal Way      WA           98003
    DocuSign, Inc.                                                          1301 2nd Ave.                          #2000                                    Seattle          WA           98101
    Dodd Jr., Jamie                                                         Address Redacted
    Dodd, Michael                                                           Address Redacted

    Doerrer Group LLC, The              DBA Sitrick Group, LLC              11999 San Vicente Blvd, Penthouse                                               New York         NY           10017
    Doerrer Group LLC, The                                                  920 Massachusetts Ave, NW                                                       Washington       DC           20001
    Doga USA, Corp                      BETH REILLY                         12060 Raymond Ct                                                                Huntley          IL           60142-8069
    Doga USA, Corp                      David Alicea                        12060 Raymond Ct                                                                Huntley          IL           60142-8069
    Doga USA, Corp                      Jim Tyrakowski                      12060 Raymond Ct                                                                Huntley          IL           60142-8069
    Doga USA, Corp                                                          12060 Raymond Ct                                                                Huntley          IL           60142-8069
    Dominguez, Philip                                                       Address Redacted
    Dominic Bolton                                                          Address Redacted
    Dominick Dunne                      DBA Dominick Dunne Painting         Address Redacted

    Dominion Energy                     Virginia Electric and Power Company 120 Tredegar St.                                                                Richmond         VA           23219
                                                                                                                                         600 Canal Place,
    Dominion Energy                     Virginia Electric and Power Company PO Box 26666                           Attn Adam Birdsong    11th Floor         Richmond         VA           23219
    Domino Amjet Inc                                                        3809 Collection Center Drive                                                    Chicago          IL           60693
    Donaldson, Chad                                                         Address Redacted
                                                                                                                                         Suzhou New
    Dongling Technologies Co, Ltd                                           No.2 Longshan Road                     SSTT                  District           Jiangsu                       215163       China
    Dongling Technologies Co, Ltd                                           5002 Gem St                                                                     Newaygo          MI           49337
    Donnelley Financial, LLC                                                35 W Wacker Drive                                                               Chicago          IL           60601
    Donnelly Electrical Services, LLC                                       PO Box 907                                                                      Crayson          GA           30017
    Doran Mfg, LLC                      TIM MULLEN                          2851 Massachusetts Avenue                                                       Cincinnati       OH           45225
    Dority & Manning                                                        PO Box 1449                                                                     Greenville       SC           29602
    Dos Santos, Antonio                                                     Address Redacted
    Dos Santos, Antonio                                                     Address Redacted
    Double E Company LLC                DBA Schlumpf Inc                    PO Box 847457                                                                   Boston           MA           02284
                                                                                                                                                            West
    Double E Company LLC                DBA Schlumpf Inc                    319 Manly Street                       Corporate HQ                             Bridgewater      MA           02379
    Double E Company LLC                DBA Schlumpf Inc                    39 Enterprise Drive, Suite 1                                                    Windham          ME           04062
    DoubleMap, Inc.                     DANIEL AGERTER                      101 W Washington Street                Suite 700                                Indianapolis     IN           46204
    DoubleMap, Inc.                                                         101 W Washington Street                Suite 700                                Indianapolis     IN           46204
    Douglas Autotech Corporation        AKIHIKO MACHIDA                     300 Albers Rd.                                                                  Bronson          MI           49028
    Douglas Autotech Corporation        DEBBIE HAVENS                       300 Albers Rd.                                                                  Bronson          MI           49028
    Douglas Autotech Corporation        RICHELLE KULPINSKI                  300 Albers Rd.                                                                  Bronson          MI           49028
    Douglas Autotech Corporation                                            300 Albers Rd.                                                                  Bronson          MI           49028
    Downtown Garage, Inc                                                    4913 Massaponax Church Road                                                     Fredericksburg   VA           22407
    Doyle II, John                                                          Address Redacted
    Drew Pinciaro                                                           Address Redacted
    Driggers, Keri                                                          Address Redacted
    Drive Test GmbH                                                         Adi-Maislinger-St. 9                                                            Muenchen                      81373        Germany
    Drive Train Industries                                                  PO Box 5845                                                                     Denver           CO           80217
                                                                                                                   North West Business
    Drive-Rite Ltd                                                          Unit 626 Kilshane Ave                  Park                                     Dublin                                     Ireland
    Drummond, Keith                                                         Address Redacted
    Druva, Inc.                         LICENSE DELIVERY                    800 W California Ave, Suite 100                                                 Sunnyvale        CA           94086




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    Druva, Inc.                     Peter Torre ACCOUNT MANAGER   800 W California Ave, Suite 100                                              Sunnyvale       CA           94086
    Druva, Inc.                                                   800 W California Ave, Suite 100                                              Sunnyvale       CA           94086
    Druva, Inc.                                                   2051 Mission College Blvd                                                    Santa Clara     CA           95054
    DRYCO Construction Inc                                        4250 E Mariposa Rd                                                           Stockton        CA           95215
    DS Services of America, Inc.                                  Alhambra                             PO Box 660579                           Dallas          TX           75266
                                                                  1-4-3 Minatojima Minamimachi Chuo-
    DSP Research, Inc.                                            ku                                                                           Kobe City                    650-0047      Japan
    DSV Air & Sea, Inc.             Erin Buckingham               100 Walnut Avenue                    Suite 405                               Clark           NJ           07066
    DSV Air & Sea, Inc.                                           100 Walnut Avenue                    Suite 405                               Clark           NJ           07066
    DSV Air & Sea, Inc.                                           1700 E Walnut Ave, 6th Floor                                                 El Segundo      CA           90245
    DT Equipment Services INC                                     94 Bays Branch                                                               East Point      KY           41216
    DTE Electric Co                                               One Energy Plaza                                                             Detroit         MI           48226
    DTE Energy Company                                            One Energy Plaza                                                             Detroit         MI           48226
    DTEN Inc.                                                     97 E. Brokaw Rd.                     Suite 180                               San Jose        CA           95112
    DTI Group Ltd                   ADRIAN JOHNSON                31 Affleck Rd.                                                               Perth Airport                6105          Australia
    DTI Group Ltd                   CLIFF BROOKS                  31 Affleck Rd.                                                               Perth Airport                6105          Australia
    DTI Group Ltd                   JUSTIN DYER                   31 Affleck Rd.                                                               Perth Airport                6105          Australia
    DTI Group Ltd                                                 31 Affleck Rd.                                                               Perth Airport                6105          Australia
    DuBose, Robert                                                Address Redacted
    Duckett, Michael                                              Address Redacted
    Dugal, Aditya                                                 Address Redacted
    Duggan, Thomas                                                Address Redacted
    Duke Corporate                                                PO Box 104131                                                                Durham          NC           27708
    Duke Energy                                                   526 S Church S                                                               Charlotte       SC           28202-1802
    Duke Energy                                                   PO Box 70516                                                                 Charlotte       NC           28272-0516
    Duluth Transit Authority                                      2402 W Michigan St                                                           Duluth          MN           55806-1928
    Dun and Bradstreet                                            PO Box 75434                                                                 Chicago         IL           60675
    Duncan, Cameron                                               Address Redacted
    Duncan, Chase                                                 Address Redacted
    Duncan, David                                                 Address Redacted
    Duncan, Mary                                                  Address Redacted
    Duncan, Ryan                                                  Address Redacted
    Dungarees, LLC                                                500 East Broadway                                                            Columbia        MO           65201
    Dunlavey, Shane                                               Address Redacted
    Dunn, Casen                                                   Address Redacted
    Dunn, John                                                    Address Redacted
    Duong, Sang                                                   Address Redacted
    Dupree, Jaquan                                                Address Redacted
    Durex Industries                                              109 Detroit Street                                                           Cary            IL           60013
    Dushkin, Fedor                                                Address Redacted
    Dust Collector Services, Inc.   Greg Schlentz                 1280 N Sunshine Way                                                          Anaheim         CA           92806
    Dust Collector Services, Inc.   Samantha Fitch                1280 N Sunshine Way                                                          Anaheim         CA           92806
    DustControl, Inc.                                             6720 Amsterdam Way                                                           Wilmington      NC           28405
    Duvall, Corey                                                 Address Redacted
    DWF Claims                                                    740 Waukegan Road, Suite 340                                                 Deerfield       IL           60015
    DWFritz Automation, Inc         Mac Makhni                    9600 Boeckman Road                                                           Wilsonville     OR           97070
                                                                                                       1300 SW Fifth Ave., Ste.
    DWFritz Automation, LLC         Kevin H. Kono                 Davis Wright Tremaine LLP            2400                                    Portland        OR           97201
    Dynalab Test Systems, Inc.                                    555 Lancaster Ave                                                            Reynoldsburg    OH           43068
    Dynamic Motion Control, Inc.    DBA DMC,Inc.                  2222 N. Elston Avenue, Ste 200                                               Chicago         IL           60614
    Dynamic Motion Control, Inc.                                  2222 N Elston Ave, Suite 200                                                 Chicago         IL           60614
    Dynatect Manufacturing          Erica Zurita                  2300 S Calhoun Rd                    PO Box 510847                           New Berlin      WI           53151-0847




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    Dynatect Manufacturing               Shannon Smith                2300 S Calhoun Rd                       PO Box 510847                 New Berlin     WI           53151-0847
    Dynatect Manufacturing               Steve Brahm                  2300 S Calhoun Rd                       PO Box 510847                 New Berlin     WI           53151-0847
    Dynatect Manufacturing                                            2300 S Calhoun Rd                       PO Box 510847                 New Berlin     WI           53151-0847
    Dynatect Manufacturing Inc.                                       2300 S Calhoun Rd                                                     New Berlin     WI           53151
    Dytran Instruments, Inc.                                          21592 Marilla St.                                                     Chatsworth     CA           91311

    E & G Terminal, Inc.                                              6510 E. 49th Avenue                                                   Commerce City CO            80022
    E & M Sales, Inc.                                                 Dept 2141                                                             Denver        CO            80291-2141
    E Mobility Market Services Inc DBA
    ZappyRide                                                         902 Broadway, Fl. 6                                                   New York       NY           10010
    E&M Electric and Machinery, Inc.                                  126 Mill Street                                                       Healdsburg     CA           95448
    Eagan, Shannon                                                    Address Redacted
    Eagle Group USA, Inc.                Deborah Iafrate              901 Tower Drive, Suite 420                                            Troy           MI           48098
    E-ANDE (H.K.) Limited                                             33/F., ICBC Tower                       3 Garden Road                 Central                     999077       Hong Kong
    EAO Switch Corporation               Constance Carroll            1 Parrott Drive                                                       Shelton        CT           06484
    EAO Switch Corporation               David Healy                  1 Parrott Drive                                                       Shelton        CT           06484
    EAO Switch Corporation               HEATHER HEATH                1 Parrott Drive                                                       Shelton        CT           06484
    EAO Switch Corporation                                            1 Parrott Drive                                                       Shelton        CT           06484
    Eartec Company, Inc                                               145 Dean Knauss Drive                                                 Narragansett   RI           02882
    Easterling, Chuck                                                 Address Redacted
    Eastern Contra Costa Transit
    Authority                                                         801 Wilbur Avenue                                                     Antioch        CA           94509
    Eastern Crane & Hoist LLC                                         311 Dale Dr                             PO Box 907                    Fountain Inn   SC           29644
    Easton, Haley                                                     Address Redacted
    Eaton Corporation                    ROMMELL MANDAP               Eaton Vehicle Group Aftermarket         PO Box 93531                  Chicago        IL           60673-3531
    Eaton Corporation                                                 26101 Northwestern Hwy                                                Southfield     MI           48076
    Eaton Corporation                                                 PO Box 93531                                                          Chicago        IL           60673
    Eaton Corporation                                                 PO Box 730455                                                         Dallas         TX           75373-0455

    Eaton Corporation (PA Division)                                   1000 Cherrington Parkway                                              Moon Township PA            15108
    Eaton Corporation (PA Division)                                   29085 Network Place                                                   Chicago       IL            60673-1290
    Eaton Industrial (Wuxi) Co., Ltd     Wenya Zhou                   111 Chunlei Eastern Road                                              Wuxi          Jiangsu       214101       China
    Eaton Truck Components SP            ALEKSANDRA MEGIER            30 Stycznia 55                                                        Tczew                       83-110       Poland
    Eaton Truck Components SP            Magdalena Gorynska           30 Stycznia 55                                                        Tczew                       83-110       Poland
    Eaton Truck Components SP            MALGORZATA LILLA             30 Stycznia 55                                                        Tczew                       83-110       Poland
    Eaton Truck Components SP                                         30 Stycznia 55                                                        Tczew                       83-110       Poland
    Ebel, Steven                                                      Address Redacted
    Eberspacher Sutrak GmbH & Co.        ANITA KROLL                  Heinkelstrasse 5                                                      Renningen                   71272        Germany
    Eberspacher Sutrak GmbH & Co.        ATTILA ILLES                 Heinkelstrasse 5                                                      Renningen                   71272        Germany
    Eberspacher Sutrak GmbH & Co.        CALEB CREER                  Heinkelstrasse 5                                                      Renningen                   71272        Germany
    Eberspacher Sutrak GmbH & Co.                                     Heinkelstrasse 5                                                      Renningen                   71272        Germany
    Eberspaecher Climate Control         AFTMKT ORDERS AFTMKT
    Systems Sp. zo.o                     ORDERS                       Godzikowice 50 P                                                      Godzikowice                 55-200 OLAWA Poland
    Eberspaecher Climate Control
    Systems Sp. zo.o                     Anna Kowalska                Godzikowice 50 P                                                      Godzikowice                 55-200 OLAWA Poland
    Eberspaecher Climate Control
    Systems Sp. zo.o                     crc.suetrak crc.suetrak      Godzikowice 50 P                                                      Godzikowice                 55-200 OLAWA Poland
    Eberspaecher Climate Control
    Systems Sp. zo.o                                                  Godzikowice 50 P                                                      Godzikowice                 55-200 OLAWA Poland
    Eberspaecher Climate Control
    Systems U.S.A. Inc.                  Ulises Espinisa              29101 Haggerty Road                                                   Novi           MI           48377




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    Eberspaecher Climate Control
    Systems U.S.A. Inc.                                          2210 East Long                                                          Troy            MI           48085
    Echevarria, Maria                                            Address Redacted
    Echo Engineering & Production
    Supplies, Inc.                   CLIFF SHEPHARD              Echo Supply, Inc.                     2406 W 78th Street                Indianapolis    IN           46268
    Echo Engineering & Production
    Supplies, Inc.                   Jacqueline ESCAMILLA        Echo Supply, Inc.                     2406 W 78th Street                Indianapolis    IN           46268
    Echo Engineering & Production
    Supplies, Inc.                   NATE WALKER                 Echo Supply, Inc.                     2406 W 78th Street                Indianapolis    IN           46268
    Echo Engineering & Production
    Supplies, Inc.                                               Echo Supply, Inc.                     2406 W 78th Street                Indianapolis    IN           46268
    Echo Engineering & Production
    Supplies, Inc.                                               2406 W 78th Street                                                      Indianapolis    IN           46268
    Echo Global Logistics, Inc.      MYRON RONAY                 22168 Network Place                                                     Chicago         IL           60673
    Eclipse Metal Fabrication Inc.   Eduardo Molina              2901 Spring St                                                          Redwood City    CA           94063
    ECO, Inc.                                                    PO Box 2731                                                             Rocklin         CA           95677
    Ecofleet Industries, Inc                                     145 Vallecitos de Oro                 Suite 204                         San Marcos      CA           92069
    EcoShift Consulting, LLC                                     270 Canyon Oaks                                                         Santa Cruz      CA           95065
    EDAG, Inc                                                    1875 Research Drive                                                     Troy            MI           48083
    Edelman, Kyle                                                Address Redacted

    Eden Technologies, Inc.          ACCOUNT MGR Kei Baron       PMB 26053                             9450 SW Gemini Dr                 Beaverton       OR           97008-7105
    Edgar Agents, LLC                                            105 White Oak Lane                    Suite 104                         Old Bridge      NJ           08857
    Edison Welding Institute, Inc.                               1250 Arthur E Adams Drive                                               Columbus        OH           43221
    Edmilao, Jose Antonio                                        Address Redacted
    Edmonds, Erin                                                Address Redacted
    Edwards, Brandon                                             Address Redacted
    Edwards, James                                               Address Redacted
    Edwards, Kevin                                               Address Redacted
    EEEA, Inc.                                                   PO Box 369                                                              Mauldin         SC           29662
    EFC International                                            1940 Craigshire Road                                                    Saint Louis     MO           63146
    Effectus Group LLC                                           1735 Technology Dr                    Suite 520                         San Jose        CA           95120
    Egelston, Jonathan                                           Address Redacted
    Egon Zehnder International Inc                               350 Park Avenue                       8th Floor                         New York        NY           10022
    E-Hazard Management LLC                                      3018 Eastpoint Parkway                                                  Louisville      KY           40223
    EHS Compliance Services Inc.     Kahlilah Guyah              3744 Bairn Court                                                        Pleasanton      CA           94588
    EIS SC, LLC f/k/a LSC SC, LLC    dba Palmetto Compressors    PO Box 577                            302 Hughes St                     Fountain Inn    SC           29644
    Ekren, Efe                                                   Address Redacted
    Elasticsearch, Inc.                                          800 W El Camino Real                  Suite 350                         Mountain View   CA           94040
    Elasto Proxy                     Beth Branyon                1021 Old Stage Rd.                    Suite C                           Simpsonville    SC           29681
    Elasto Proxy                     Bradley Hieronymus          1021 Old Stage Rd.                    Suite C                           Simpsonville    SC           29681
    Elasto Proxy                     Katherine Dunn              1021 Old Stage Rd.                    Suite C                           Simpsonville    SC           29681
    Elasto Proxy                                                 1021 Old Stage Rd.                    Suite C                           Simpsonville    SC           29681
    Elcometer, Inc.                                              6900 Miller Drive                                                       Warren          MI           48092
    Eldeco, Inc.                                                 5751 Augusta Rd                                                         Greenville      SC           29605
    Elder, Dustin                                                Address Redacted
    Elec-Tec, Inc.                   JOE BROWN                   15656 US Hwy 84 East                                                    Quitman         GA           31643
    Elec-Tec, Inc.                                               15656 US Hwy 84 East                                                    Quitman         GA           31643
    Electric Drive Transportation
    Association                      Emory Oney                  1250 Eye Street, NW, Suite 902                                          Washington      DC           20005
    Electric Mobility Canada                                     38 Place du Commerce, 11-530                                            Verdun          QC           H3E 1T8       Canada
    Electric Plus, Inc                                           173 S County Rd 525 E                                                   Avon            IN           46123




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    Electrification Coalition Foundation    Robbie Diamond                    1111 19th St NW #406                                                   Washington      DC            20036
    Electripack, Inc                                                          2064 Byers Rd                                                          Miamisburg      OH            45342
    Electro Kinetic Technologies                                              W194 N11301 McCormick Drive                                            Germantown      WI            53022
    Electro Rent Corporation                                                  8511 Fallbrook Avenue                  Suite 200                       West Hills      CA            91304
    Electro Star Industrial Coating, Inc.                                     1945 Airport Blvd.                                                     Red Bluff       CA            96080
    Electro-LuminX Lighting Corporation                                       1320 North Boulevard                                                   Richmond        VA            23230
    Electrolux Home Products, Inc.                                            10200 David Taylor Drive                                               Charlotte       NC            28262

    Electro-Matic Integrated, Inc.          Britney Leemgraven                23410 Industrial Park Court                                            Farmington Hills MI           48335

    Electro-Matic Integrated, Inc.          George Strachan                   23410 Industrial Park Court                                            Farmington Hills MI           48335

    Electro-Matic Integrated, Inc.          Josh Tataren                      23410 Industrial Park Court                                            Farmington Hills MI           48335

    Electro-Matic Integrated, Inc.                                            23409 Industrial Park Court                                            Farmington Hills MI           48335

    Electro-Matic Integrated, Inc.                                            23410 Industrial Park Court                                            Farmington Hills MI           48335
    Electronic Control Services Corp                                          10721 Kim Lane                                                         Hudson           FL           34669
    Electronics Recycling Service, Inc.                                       1664 Waton Ct                                                          Milpitas         CA           95035
    Element Material Technology Detroit     DBA Element Material Technology
    LLC                                     Detroit - Troy                    1150 West Maple Rd                                                     Troy            MI            48084
    Element Materials Technology            BUSINESS DEVELOPMENT Brian                                                                               Huntington
    Huntington Beach LLC                    Tran                              15062 Bolsa Chica                                                      Beach           CA            92649
    Element Materials Technology
    Portland Evergreen Inc.                                                   6775 NE Evergreen Pkwy                 Suite 400                       Hillsboro       OR            97124
    Elevated Components Inc                                                   2770 Arapahoe Rd, STE 132                                              Lafayette       CO            80026
    Elie, Michael                                                             Address Redacted
    Elite Electronic Engineering Inc                                          1516 Centre Circle                                                     Downers Grove IL              60515
    Elizabeth Dock                                                            Address Redacted
    Elizalde, Edmund                                                          Address Redacted
    Elkomy, Omar                                                              Address Redacted
    Elliot S. Wells                                                           Address Redacted
    Elliott Davis Decosimo LLC              Lauren Smith                      500 E Morehead Street                  Suite 700                       Charlotte       NC            28202
    Ellis, Jeffrey                                                            Address Redacted
    Elmer L. Johnson                                                          Address Redacted
    Elmore, Curtis                                                            Address Redacted
    Elswick Sr., David                                                        Address Redacted
    E-M Manufacturing, Inc.                 VANESSA MORANDA                   1290 Dupont Ct.                                                        Manteca         CA            95336
    E-M Manufacturing, Inc.                                                   1290 Dupont Ct.                                                        Manteca         CA            95336
    Embt, Jeffrey                                                             Address Redacted
    eMedia Group Inc                                                          PO Box 1808                                                            Greenville      SC            29602
    eMedia Group Inc                                                          615 Worley Rd                                                          Greenville      SC            29609
    Emka, Inc.                                                                1961 Fulling Mill Road                                                 Middletown      PA            17057
    Emma, Inc.                                                                11 Lea Avenue                                                          Nashville       TN            37210
    Empire Broadcasting Corporation-
    KLIV                                    LISA SALUD                        750 Story Rd                                                           San Jose        CA            95122

    Employment Screening Services, Inc.                                       2700 Corporate Dr, Suite 100                                           Birmingham      AL            35242

    Employment Screening Services, Inc.                                       Dept K, PO Box 830520                                                  Birmingham      AL            35283
    Emrah Tolga Yildiz                                                        Address Redacted
    Encinares-Trinidad, Elizabeth                                             Address Redacted




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                                                                                                                                                           Colorado
    Encore Electric, Inc                                              6349 Corporate Drive                                                                 Springs         CO           80919
    Encore Technology Group, LLC                                      141 Grace Drive                                                                      Easley          SC           29640
    Endeavor Business Media LLC                                       PO Box 306479                                                                        Nashville       TN           37230-6479
    Endeavor Business Media LLC                                       1233 Janesville Ave.                                                                 Fort Atkinson   WI           53538
    Endeavor Technologies, LLC                                        3504 Highway 153                   Suite 328                                         Greenville      SC           29611
    Endeavor Technologies, LLC                                        PO Box 197565                                                                        Nashville       TN           37219
    EndoChem LLC                          Christine Chen              14351 Pendragon Way                                                                  Fishers         IN           46037
    EndoChem LLC                          Jason Hernandez             19225 Stevens Creek Blvd           Suite 183                                         Cupertino       CA           95014
    EndoChem LLC                          SALES Jason Hernandez       19225 Stevens Creek Blvd           Suite 183                                         Cupertino       CA           95014
    EndoChem LLC                          Tony Chen                   14351 Pendragon Way                                                                  Fishers         IN           46037
    EndoChem LLC                          Tony Chen                   19225 Stevens Creek Blvd           Suite 183                                         Cupertino       CA           95014
                                                                      Room 202, No.1 Building, Yuanzheng
                                                                      Science and Technology Park        Wuhe Ave. North,              Longgang District
    EndoChem LLC                                                      No.4202                            Bantian St.                   Shenzhen            Guangdong                    518126        China
    Endura Steel, Inc.                    DBA Smith Ironworks         17671 Bear Valley Road                                                               Hesperia        CA           92345
    Energetx Composites, Inc                                          725 E. 40th Street                                                                   Holland         MI           49423

    Energy Arts and Science Corporation                               70 S Val Vista Drive                     Suite A3-522                                Gilbert         AZ           85296
    Enfasco Inc.                                                      1675 Hylton Rd.                                                                      Pennsauken      NJ           08110
    Engel, Joshua                                                     Address Redacted
    Engent Inc.                                                       Lock Box 538349                          PO Box 538349                               Atlanta         GA           30353
    Engineered Components, Inc.                                       546 Old York Road                        PO Box 360                                  Three Bridges   NJ           08887

    Engineered Machined Products Inc.     EMP Advanced Development    Lockbox 773393                           3393 Solutions Center                       Chicago         IL           60677-3003
    Engineered Systems, Inc                                           1121 Duncan Reidville Rd                                                             Duncan          SC           29334
    Engineered Systems, Inc                                           PO Box 11407                                                                         Birmingham      AL           35246
    Englewood Driveshafts                                             3364 1/2 S. Broadway                                                                 Englewood       CO           80113
    Enk, Nicholas                                                     Address Redacted
    Ennis Electric Company, Inc.          Stephen Blankenship         7851 Wellingford Drive                                                               Manassas        VA           20109
    Eno Center for Transportation                                     1629 K Street, NW                        Suite 200                                   Washington      DC           20006
    Enriquez, Marlon                                                  Address Redacted
    Ensign, Joshua                                                    Address Redacted
    Entelo, Inc                                                       755 Sansome Street                       Suite 100                                   San Francisco   CA           94111
    Enterprise Damage Recovery                                        PO Box 801988                                                                        Kansas City     MO           64180
    Enterprise Damage Recovery                                        PO Box 801770                                                                        Kansas City     MO           64180
    Enterprise Security, Inc.                                         22860 Savi Ranch Parkway                                                             Yorba Linda     CA           92887
    Environmental Outsource, Inc.                                     Dept 0613, PO Box 120001                                                             Clemson         SC           29631
    Environmental Outsource, Inc.                                     5932 E Washington Blvd.                                                              Los Angeles     CA           90040
    Environmental Spray Systems, Inc.                                 7114 Convoy Ct.                                                                      San Diego       CA           92111
    Envision Entertainment                                            710 Covina Way                                                                       Fremont         CA           94539
    Envoy Inc                             Dhruv Mohan                 488 Bryant St                                                                        San Francisco   CA           94107
    Envoy Inc                             Ross Watson                 488 Bryant St                                                                        San Francisco   CA           94107
    Envoy Inc                                                         488 Bryant St                                                                        San Francisco   CA           94107
    EO Charging US, Inc.                  Juuce Limited               1828 Walnut Street                       Floor 3                                     Kansas City     MO           64108
    EP Executive Press                    CCRcorp                     PO Box 674438                                                                        Dallas          TX           75267
    EPC Power Corp.                       CCO & EVP Allan Abela       13250 Gregg St., Ste A2                                                              Poway           CA           92064
    EPC Power Corp.                       Moqim Amin                  13250 Gregg St., Ste A2                                                              Poway           CA           92064

    Ephesians Three Twenty Realty, LLC                                511-A South Florida Ave                                                              Greenville      SC           29611
    Epiq eDiscovery Solutions Inc                                     Dept 0250                                PO Box 120250                               Dallas          TX           75312
    EPMware, Inc.                      Tony Kiratsous                 2059 Camden Ave, Suite 121                                                           San Jose        CA           95124




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    Epps, Jennifer                                                           Address Redacted
    Epsilon Technologies International,
    LLC DBA MoviMED & MoviTHERM                                              15540 Rockfield Blvd                  C110                              Irvine         CA            92618
    Epstein Becker & Green P.C                                               875 3rd Avenue                                                          New York       NY            10022-6225
    Epstein Becker and Green, P.C.        Christopher Farella                875 Third Avenue                                                        New York       NY            10022
    Epstein Becker and Green, P.C.        Robert G. Chervenak                875 Third Avenue                                                        New York       NY            10022
    Epter, Sydney                                                            Address Redacted
                                                                             2010 Crow Canyon Pl, Suite 100-
    eQuest LLC                            AR Supervisor                      10016                                                                   San Ramon      CA            94583
                                                                             2010 Crow Canyon Pl, Suite 100-
    eQuest LLC                            Emily Chen                         10016                                                                   San Ramon      CA            94583
                                                                             2010 Crow Canyon Pl, Suite 100-
    eQuest LLC                            Liz Lee                            10016                                                                   San Ramon      CA            94583
    Equinox Geoup, Inc.                                                      329 W. 18th Street                                                      Chicago        IL            60616
    Equipment Depot                                                          PO Box 841750                                                           San Marino     CA            90084-1750
    Equity Methods, LLC                                                      17800 N Perimeter Drive               Suite 200                         Scottsdale     AZ            85255
    era-contact USA LLC                                                      1475 Smith Grove Road                                                   Liberty        SC            29657
    Ergo Corporation                                                         212B Riverside Court                                                    Greer          SC            29650
    Ergomat, Inc.                                                            7395 Industrial Parkway                                                 Lorain         OH            44053
    Ergotech Controls Inc.                DBA Industrial Networking          PO Box 540                                                              Addision       TX            75001
    ERI Economic Research Institute                                          111 Academy Drive                     Suite 270                         Irvine         CA            92617
    Erin Ellis                            Ellis Performance Solutions, LLC   Address Redacted
    Erlich Industrial Development,Corp                                       5000 Providence Road                                                    Charlotte      NC            28226
    Ernest Packaging Solutions                                               5 South 84th Ave.                     Suite D                           Tolleson       AZ            85353
    Ertel, Kevin                                                             Address Redacted

    ES America, LLC                                                          3800 North Central Avenue Suite 460                                     Phoenix        AZ            85012
    Escobar, Juan                                                            Address Redacted
    Escobar, Martin                                                          Address Redacted
    Escobedo, Luis                                                           Address Redacted

    Escol Corporation                                                        3776 NW 16 Street                                                       Fort Lauderdale FL           33311

    ESCP PPG Intermediate Holdings, Inc DBA Penn Power Group                 8330 State Road                                                         Philadelphia   PA            19136
    Espadas, Jesse                                                           Address Redacted
    Esparza, Jovani                                                          Address Redacted
    Espinoza Sr., Norman                                                     Address Redacted
    Espinoza, Ashley                                                         Address Redacted
    Espinoza, Daniel                                                         Address Redacted
    Espinoza, Estate of Osvaldo                                              Address Redacted
    Espinoza, Kevin                                                          Address Redacted
    Espinoza, Luis                                                           Address Redacted
    Essentialmedia LLC                                                       6902 Timber Ridge Court                                                 Prospect       KY            40059
    Essig, Bryan                                                             Address Redacted
    Estes, Benjamin                                                          Address Redacted
    Estrada, Gerald                                                          Address Redacted
    ETA Advertising                                                          444 W. Ocean Blvd                     Ste. #150                         Long Beach     CA            90802
    ETA Phi Systems, Inc                ETA Transit Systems                  7700 Congress Ave                     Ste 2201                          Boca Raton     FL            33487
    Etorch Inc.                         DBA MailControl                      225 West Washington, Suite 1150                                         Chicago        IL            60606
    Etorch Inc.                         DBA MailControl                      1811 W North Ave, Suite 400                                             Chicago        IL            60622
    ETRADE Financial Corporate
    Services, Inc.                      C/O Corp. Tax Dept.                  671 N. Glebe Road                                                       Arlington      VA            22203




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    ETRADE Financial Corporate
    Services, Inc.                                                       PO Box 3512                                                                     Arlington       VA            22203
    ETRADE Financial Corporate
    Services, Inc.                                                       770 Kenmoor SE, Suite 300                                                       Los Angeles     CA            90049
    etrailer.com                         Melissa Atwell                  1507 East Highway A                                                             Wentzville      MO            63385
    etrailer.com                         P-CARD ONLY BRANDON             1507 East Highway A                                                             Wentzville      MO            63385
    ETS-Lindgren Inc.                                                    PO Box 841147                                                                   Kansas City     MO            64184
    ETS-Lindgren Inc.                                                    1301 Arrow Point Drive                                                          Cedar Park      TX            78613
    Eudy, Mark                                                           Address Redacted
    Eugene B Loftis                      DBA Loftis Printing Co., Inc.   Address Redacted
    Eugene L. Goins                                                      Address Redacted
                                                                                                                                                                                                     United
    Euromoney Global Limited             Henry Thomas                    8 Bouverie Street                                                               London                        EC4Y 8AX      Kingdom
                                                                         Unit 6/10 Skitts Manor Farm Moor                                                                                            United
    European International (Fairs) Limited                               Lane                                   Kent, B2028                              Marsh Green                   TN8           Kingdom
    EV Infrastructure LLC                  Maxgen EV Construction        12 Morgan                                                                       Irvine          CA            92618
    Evans, Jesse                                                         Address Redacted
    Evans, Nia                                                           Address Redacted
    Evatt, Cory                                                          Address Redacted

    Everest National Insurance Company   Cory Doyle                      461 Fifth Avenue, 4th Floor                                                     New York        NY            10017-6234
    Evgateway                                                            5251 Califronia Ave, Ste 150                                                    Irvine          CA            92617
    Evolve Packaging LLC                                                 1049 S Gateway Blvd                                                             Norton Shores   MI            49441
    EWT Holdings III Corp                DBA Evoqua Water Technologie    28563 Network Place                                                             Chicago         IL            60673-1285
    Excel RP, Inc.                                                       6531 Part Ave                                                                   Allen Park      MI            48101
    Excel4apps, Inc.                     DBA Insightsoftware             3301 Benson Drive                      Suite 301                                Raleigh         NC            27609
    Excel4apps, Inc.                     DBA Insightsoftware             8529 Six Forks Road                    Suite 400                                Raleigh         NC            27615
    Excelfore Corporation                                                39650 Liberty Street                   Suite 255                                Fremont         CA            94538
    Execusource, LLC                                                     220 North Main Street                  Suite 500                                Greenville      SC            29601
    Execusource, LLC                                                     3575 Piedmont Rd. NE                   Bldg 15                  Suite 350       Atlanta         GA            30305
    Exley, Philip                                                        Address Redacted
    Exova, Inc.                                                          4214 Solutions Center                  No. 774214                               Chicago         IL            60677-4022
    Expeditors Canada Inc.               Todd Jackman                    55 Standish Court, 11th Floor                                                   Mississauga     ON            L5R 4A1       Canada
    Expeditors Canada Inc.                                               55 Standish Court, 11th Floor                                                   Mississauga     ON            L5R 4A1       Canada
                                                                                                                Hams Hall Distribution                                                               United
    Expeditors International (UK) Ltd                                    Canton Lane                            Park                     Coleshill       Birmingham                    B46 1GA       Kingdom
    Expeditors International of
    Washington Inc                                                       12200 S. Wilkie Ave, Suite 100                                                  Hawthorne       CA            90250
    Expeditors Tradewin, LLC             Nara Mitchell                   1015 Third Avenue, 1st Floor                                                    Seattle         WA            98104

    Experi-Metal Inc.                    Chris Ditri                     6385 Wall Street                                                                Sterling Heights MI           48312

    Experi-Metal Inc.                    Kevin Deras                     6385 Wall Street                                                                Sterling Heights MI           48312

    Experi-Metal Inc.                                                    6385 Wall Street                                                                Sterling Heights MI           48312
    Experior Laboratories, Inc.                                          1635 Ives Avenue                                                                Oxnard           CA           93033
    Expert Piping Supply, Inc.                                           3601 E. 39th Ave                                                                Denver           CO           80205
    Exponent, Inc.                       Andersen Tax LLC                100 First Street, Suite 1600                                                    San Ramon        CA           94583
    Exponent, Inc.                       Meagan Hebdon                   149 Commonwealth Drive                                                          Menlo Park       CA           94025
    Exponent, Inc.                                                       149 Commonwealth Drive                                                          Menlo Park       CA           94025
    Extended DISC North America, Inc.                                    32731 Egypt Lane                       Suite #904                               Magnolia         TX           77354
    Extrusions, Inc                                                      PO Box 430                             2401 S Main                              Fort Scott       KS           66701




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    F&K Delvotec Inc.                                                27182 Burbank                                                             Foothill Ranch   CA           92610
    F3 Concepts                        Dawn McAndrews                11132 Broad River Road                  Suite F                           Irmo             SC           29063
    F3 Concepts                                                      11132 Broad River Road                  Suite F                           Irmo             SC           29063
    FAB Industries                                                   1417 A Commerce Blvd.                                                     Anniston         AL           36207
    FabricAir, Inc.                    Andrew Johnson                312-A Swanson Drive                                                       Lawrenceville    GA           30043
    FabricAir, Inc.                    Bret Pettit                   312-A Swanson Drive                                                       Lawrenceville    GA           30043
    FabricAir, Inc.                    Philip Daugherty              312-A Swanson Drive                                                       Lawrenceville    GA           30043
    FabricAir, Inc.                                                  1400 Northbrook Parkway                 Suite 300                         Suwanee          GA           30024
    FabricAir, Inc.                                                  312-A Swanson Drive                                                       Lawrenceville    GA           30043
    Facet Engineering, LLC             Noemy Skidelsky               427 Sawyer Meadow Way                                                     Grayson          GA           30017
    Factiva a Dow Jones Co             Lori Dunbar                   PO Box 300                                                                Princeton        NJ           08543
    Factiva, Inc.                      Dow Jones                     P.O. Box 300                                                              Princeton        NJ           08543
                                                                                                                                               Elk Grove
    Fagor Automation                                                 2250 Estes Ave.                                                           Village          IL           60007
    Fairbanks Scales                                                 PO Box 419655                                                             Kansas City      MO           64121
    Fairforest of Greenville LLC                                     28 Global Drive                         Suite 100                         Greenville       SC           29607
    Fairforest of Greenville, LLC      Madina Cauthen                28 Global Drive, Suite 100                                                Greenville       SC           29607
    Faiveley Transport North America   KIM SHAW                      PO Box 9377                                                               Greenville       SC           29604
    Faiveley Transport North America   SHERRY CLARDY                 PO Box 9377                                                               Greenville       SC           29604
    Faiveley Transport North America                                 2259 Reliable Parkway                                                     Chicago          IL           60686
    Faizi, Shireen                                                   Address Redacted
                                                                                                                                               Maryland
    Falcon Technologies, Inc.          Desiree Pantukhoff            2631 Metro Blvd                                                           Heights          MO           63043
    Falk & Associates, Inc                                           11 Allaire Way                                                            Aliso Viejo      CA           92656
    Fall for Greenville                                              PO Box 2207                                                               Greenville       SC           29602
    Falls Lake National Insurance
    Company                                                          6131 Falls of Neuse Road Suite 306                                        Raleigh          NC           27609
    Fanning, Daniel                                                  Address Redacted
    FANUC America Corporation          Carol Johns                   3900 W Hamlin Road                                                        Rochester Hills MI            48309
    Farient Advisors, LLC              Marcia Kostos                 201 South Lake Avenue                                                     Pasadena        CA            91104
    Farino, Anthony                                                  Address Redacted
    Farlow, Kyle                                                     Address Redacted
    Farmer Jr., Nathan                                               Address Redacted
    Faro Technologies, Inc.                                          PO Box 116908                                                             Atlanta          GA           30368-6908
    Farr, Derrick                                                    Address Redacted
    Faryna, Seth                                                     Address Redacted
    Fassett, Tyler                                                   Address Redacted
    Fast Turn Harnesses LLC                                          21 Olde Meadow Rd                                                         Marion           MA           02738
                                                                     FLAT/RM A27 9/F silvercorp IntL
    FAST TURN PCB INTL COMPANY                                       Tower 707-713 Nathan RD Mongkok
    LIMITED                                                          Kln                                                                       Hong Kong                     999077        China
                                                                                                                                               South
    Fastbolt                                                       200 Louis St.                                                               Hackensack       NJ           07606
                                       GREENVILLE STORE GREENVILLE
    Fastenal Company                   STORE                       PO Box 1286                                                                 Winona           MN           55987-0978
    Fastenal Company                   MATTHEW WAYCASTER           PO Box 1286                                                                 Winona           MN           55987-0978
    Fastenal Company                   STOWE ROBERTS               PO Box 1286                                                                 Winona           MN           55987-0978
    Fastener Supply Co.                                            13410 South Ridge Dr.                                                       Charlotte        NC           28273
    Faust, Ben                                                     Address Redacted
    Fayyaz, Jacqueline                                             Address Redacted
    FCA, LLC                           Tori DeVolder               7601 John Deere Parkway                                                     Moline           IL           61265
    FCA, LLC                                                       7601 John Deere Parkway                                                     Moline           IL           61265




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    Feaser                                                                 Tristanstr. 8                                                            Muelheim                     45473         Germany
                                                                                                                                                    Whitehouse
    Federal Insurance Company              DBA Chubb & Son                 202A Halls Mill Road                                                     Station         NJ           08889
                                                                                                                                                    Whitehouse
    Federal Insurance Company              DBA Chubb & Son                 PO Box 1675                                                              Station         NJ           08889
    Federal Trade Commission               US Department of the Treasury   33 Liberty St                                                            New York City   NY           10045
    Federman Law Firm obo Keolis                                                                                                                    San Luis
    Transit America                                                        1241 Johnson Avenue                      Suite 331                       Obispo          CA           93401
    Fedex                                                                  PO Box 371461                                                            Pittsburgh      PA           15250
    Fedex                                                                  PO Box 94515                                                             Palatine        IL           60094-4515
    FedEx Freight                                                          PO Box 223125                                                            Pittsburgh      PA           15251-2125
    FedEx Freight                                                          PO Box 10306                                                             Palatine        IL           60055-0306
    FedEx Freight                                                          Dept LA PO Box 21415                                                     Pasadena        CA           91185-1415

    FedEx Office and Print Services Inc.   Darryl Pollard                  7900 Legacy Dr.                                                          Plano           TX           75024

    FedEx Office and Print Services Inc.                                   P.O. Box 672085                                                          Dallas          TX           75267
    Fedor, Craig                                                           Address Redacted
    Felber, William                                                        Address Redacted
    Felder, Andre                                                          Address Redacted
    Feldman, Richard                                                       Address Redacted
    Felton Inc                                                             PO Box 4110                              Dept 6450                       Woburn          MA           01888
    Felton Inc                                                             7 Burton Drive                                                           Londonderry     NH           03053
    Femco USA, Inc.                        Jolene Jewett                   PO Box 219                                                               Duvall          WA           98019
    Femco USA, Inc.                        Ron Wolsuijk                    PO Box 219                                                               Duvall          WA           98019
    Femco USA, Inc.                        Terri Wasley                    PO Box 219                                                               Duvall          WA           98019
    Femco USA, Inc.                                                        PO Box 219                                                               Duvall          WA           98019
    Fender, Wesley                                                         Address Redacted
    Feng, Mabel                                                            Address Redacted
    Fennell, Brian                                                         Address Redacted
    Fennemore Craig, P.C.                  Fennemore Wendel                2394 E Camelback Rd., Suite 600                                          Phoenix         AZ           85016
    Fennemore Craig, P.C.                                                  1111 Broadway 24th Floor                                                 Oakland         CA           94607
    Fenton, Teal                                                           Address Redacted
    Fenwick and West LLP                   Marcia Matson                   PO Box 742814                                                            Los Angeles     CA           90074-2814
    Fenwick and West LLP                                                   PO Box 742814                                                            Los Angeles     CA           90074-2814
    Ferguson Advertising, Inc.                                             347 W BERRY STREET                       3RD FLOOR                       Fort Wayne      IN           46802
    Fern Exposition Services, LLC.                                         645 Linn St                                                              Cincinnati      OH           45203
    Fernandez, Kimberly                                                    Address Redacted
    Ferreira, Gabriel                                                      Address Redacted
    Ferrer Motor Inc                       All American Truck & Body       PO Box 3997                                                              Fontanna        CA           92334-3997
    FiberTec Insulation LLC                                                PO Box 1622                                                              Saluda          VA           23149
    Fictiv Inc.                            Sunny Sahota                    168A Welsh Street                                                        San Francisco   CA           94107
    Fields, Brandon                                                        Address Redacted
    Fields, Harry                                                          Address Redacted
    Fiero Fluid Power Inc.                                                 5280 Ward Road                                                           Arvada          CO           80002
    Fierro, Jonathan                                                       Address Redacted
    Figma, Inc                                                             760 Market St,                           Floor 10                        San Francisco   CA           94102
    Figueroa, Alexander                                                    Address Redacted
    Financial Accounting Standards
    Board/Governmental Accounting
    Standards Board                                                        401 Merritt 7                                                            Norwalk         CT           06856




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    Financial Analysis and Control
    Technology Services                                                        48 Lakewood Rd                                                               Stow            MA           01775
    Financial Intelligence, LLC                                                4232 PACIFICA WAY, UNIT 2                                                    OCEANSIDE       CA           92056
    Financial Intelligence, LLC                                                4332-2 Pacifica Way                                                          Oceanside       CA           92056
    Financial Intelligence, LLC                                                PO Box 2094                                                                  Saratoga        CA           95070
    Find Great People, LLC               Payroll & Billing Amanda Stern        15 Brendan Way, Suite 140                                                    Greenville      SC           29615
                                         Sr. HR Consultant Mrs. Dennis
    Find Great People, LLC               Hughes                                15 Brendan Way, Suite 140                                                    Greenville      SC           29615
    Finer, Kyle                                                                Address Redacted
    Finish Master Inc                                                          115 Washington Street                                                        Indianapolis    IN           46204
    Finley, Sherrica                                                           Address Redacted
    Finley, Stephanie                                                          Address Redacted
    Finnern, Michael                                                           Address Redacted
    Fireball Equipment Ltd               ACCOUNTANT Lynsey White               16815 117 Ave                                                                Edmonton        AB           T5M 3V6       Canada
    Fireball Equipment Ltd               Adam Rompfer                          16815 117 Ave                                                                Edmonton        AB           T5M 3V6       Canada
    Fireball Equipment Ltd               Inside Sales                          16815 117 Ave                                                                Edmonton        AB           T5M 3V6       Canada
    Firestone Industrial Products
    Company                              ANDREA MILLER                         PO Box 93402                                                                 Chicago         IL           60673
    Firestone Industrial Products
    Company                              DANIEL KUMATZ                         PO Box 93402                                                                 Chicago         IL           60673
    Firestone Industrial Products
    Company                              STEPHEN STREET                        PO Box 93402                                                                 Chicago         IL           60673
    Firestone Industrial Products
    Company                                                                    PO Box 93402                                                                 Chicago         IL           60673
    Firestone Productions Inc                                                  1525 Opechee Way                                                             Glendale        CA           91208
    Firetrace USA, LLC                                                         8435 N 90th St                        Suite 2                                Scottsdale      AZ           85258
    First Aid Canada Inc.                Aaron Wayne                           6-14845 Yonge Street, Suite 547                                              Aurora          ON           L4G 6H8       Canada
    First America                                                              29776 Network Place                                                          Chicago         IL           60673

    First Industrial LP                  First Industrial Realty Trust, Inc.   30300 Telegraph Road, Suite 123                                              Bingham Farms MI             48025
                                                                                                                     Attn Operations
    First Industrial LP                  First Industrial Realty Trust, Inc.   311 South Wacker Drive, Suite 3900    Department                             Chicago         IL           60606
    First Industrial LP                                                        PO Box 932761                                                                Cleveland       OH           44193
    First Industrial LP                                                        311 S. Wacker Drive                   Suite 3900                             Chicago         IL           60606
    FIRST Insurance Funding                                                    PO Box 7000                                                                  Carol Stream    IL           60197

                                                                                                                                          17 Canton Road
    First Part China Limited             James Li                              RMS 05-15 13A/F South Tower           World Finance CTR    Tsim Sha Tsui, KL Harbour City    Hong Kong                  China
    First Person, Inc.                                                         550 Bryant St.                                                               San Francisco   CA           94107
    First Truck Centre Inc.                                                    18688 96th Ave                                                               Surrey          BC           V4N3P9        Canada
    First Vehicle Services                                                     PO Box 900                                                                   Frisco          CO           80443
    Fisheye Studios, Inc                                                       802 Augusta St                                                               Greenville      SC           29605
    Fixlogix LLC                         Mike Martin                           7898 S Marshall Road                                                         Olivet          MI           49076
    Fixtureworks LLC                                                           33792 Doreka Dr                                                              Fraser          MI           48026
    Fleet BodyWorx Inc.                                                        341 N. Montgomery Street                                                     San Jose        CA           95110
    Fleet Maintenance Specialists Inc.                                         31500 Grape Street                    #3-363                                 Lake Elsinore   CA           92532
    FleetPride, Inc.                     Brent Schrack                         PO Box 281811                                                                Atlanta         GA           30384
    FleetPride, Inc.                     JUSTIN EMERY                          PO Box 281811                                                                Atlanta         GA           30384
    FleetPride, Inc.                                                           PO Box 281811                                                                Atlanta         GA           30384
                                                                                                                                                            Santa Fe
    Fleetworks Inc.                                                            14011 Marquardt Ave.                                                         Springs         CA           90670
    Fleitas Rivera, Alejandro                                                  Address Redacted




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    Fleming Metal Fabricators                                              2810 South Tanager Avenue                                             Los Angeles     CA           90040-2716
    Fletcher, Brian                                                        Address Redacted
    Flex Technologies Inc.                                                 15151 S. Main Street                                                  Gardena         CA           90248
    Flex-Cable                           Northern Cable & Automation LLC   5822 Henkel Road                                                      Howard City     MI           49329
    Flexible Assembly Systems, Inc.                                        8220 Arjons Drive                                                     San Diego       CA           92126
    FlexQube, Inc..c/o AR Funding        PR Orders                         101 Park Ave                          #2503                           New York        NY           10178
    FlexQube, Inc..c/o AR Funding                                          101 Park Ave                          #2503                           New York        NY           10178
                                                                           1577 North Technology Way, Suite
    FlexSim Software Products, Inc.      Brent Campbell                    2300                                                                  Orem            UT           84097
    Flickema, William                                                      Address Redacted
    Floersch, Christopher                                                  Address Redacted
    Flores, Danny                                                          Address Redacted
    Flores, Jose                                                           Address Redacted
    Flores, Roberto                                                        Address Redacted
    Flores, Samuel                                                         Address Redacted
    Florida Association for Pupil                                                                                                                New Smyrna
    Transportation, Inc.                                                   PO Box 1248                                                           Beach           FL           32170
    Florida Department of Revenue                                          5050 W Tennessee St                                                   Tallahassee     FL           32399-0135
    Florida Dept of Financial Services   Division of Unclaimed Property    200 East Gaines Street                                                Tallahassee     FL           32399-0358
    Florida Dept of Revenue              Attn Bankruptcy Dept              5050 West Tennessee St                                                Tallahassee     FL           32399-0112
    Florida Power and Light Company                                        General Mail Facility                                                 Miami           FL           33188-0001
    Florida Power and Light Company                                        700 Universe Boulevard                                                Juno Beach      FL           33408
    Florida Public Transportation
    Association                          Lisa Bacot                        PO Box 10168                                                          Tallahassee     FL           32302
    Florida Public Transportation
    Association                                                            PO Box 10168                                                          Tallahassee     FL           32302
    Floyd Anderson                                                         Address Redacted
    Floyd Bell Inc.                                                        720 Dearborn Park Lane                                                Columbus        OH           43085
    Floyd, Madison                                                         Address Redacted
    Fluid Power Energy, Inc.                                               W229 N591 Foster Court                                                Waukesha        WI           53186
    Fluidium Concepts, LLC               U.S. SALES Kim Bergman            28141 Seco Canyon Road, Suite 54                                      Santa Clarita   CA           91390
    FLW Southeast, Inc.                  Carrie Brazil                     4451 Canton Road                                                      Marietta        GA           30066
    FLW Southeast, Inc.                                                    4451 Canton Road                                                      Marietta        GA           30066
    FMK Construction Inc                 Giampiero Kirpatrick              1366 Doolittle Dr                                                     San Leandro     CA           94577
                                                                                                                                                                                           United
    FMP Global                           DBA Eurowage Ltd                  17 Ensign House, Admirals Way                                         London          UK           E14 9XQ      Kingdom
    FNS, INC.                                                              1545 Francisco St                                                     Torrance        CA           90501
    Foggie, Lakiesha                                                       Address Redacted
    Fong, James                                                            Address Redacted
    Fonokalafi, Lesley                                                     Address Redacted
    Foothill Transit                                                       100 S. Vincent Ave. Suite 200                                         West Covina     CA           91790
    Forbes Bros Ltd                                                        #200, 1290 - 91 Street SW                                             Edmonton        AB           T6X 0P2      Canada
                                                                                                                                                 Rancho Santa
    Forbes Commercial Services, Inc.                                       PO Box 80782                                                          Margarita       CA           92688
    Forbes, Orantis                                                        Address Redacted
    Forbes, Orantis                                                        Address Redacted
    ForceOne Solutions, Inc.                                               555 Brookshire Rd                                                     Greer           SC           29651
    Ford, Travis                                                           Address Redacted
    ForeFront Inc.                                                         800 River Rd.                                                         Fair Haven      NJ           07704
    Forensic Analytical Consulting
    Services Inc                         Ashley Campbell                   21228 Cabot Boulevard                                                 Hayward         CA           94545




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    Forensic Analytical Consulting
    Services Inc                         Betsy Lee                      21228 Cabot Boulevard                                                     Hayward       CA           94545
    Formlabs, Inc.                                                      35 Medford St.                          Suite 201                         Somerville    MA           02143
    Forster Instruments Inc                                             7141 Edwards Blvd                                                         Mississauga   ON           L5S1Z2        Canada
    Fort Garry Industries Ltd                                           2525 Inkster Blvd                                                         Winnipeg      MB           R2R 2Y4       Canada
    Forte Press Corporation              David David                    1835 Rollins Rd                                                           Burlingame    CA           94010
    Forte Press Corporation              David David                    937 Lido Lane                                                             Foster City   CA           94404
    Forte Press Corporation                                             1835 Rollins Rd                                                           Burlingame    CA           94010
    Forte Press Corporation                                             937 Lido Lane                                                             Foster City   CA           94404
    Forth                                Simbiat Yusuff                 2059 NW Front Ave, Suite 101                                              Portland      OR           97209
    FORVIS, LLP                                                         910 E St Louis Street                   Suite 400                         Springfield   MO           65806-2570
    Foster Instruments Inc                                              7141 Edwards Blvd                                                         Mississauga   ON           L5S 1Z2       Canada

    Fotronic Corporation                 Test Equipment Depot           DBA Test Equipment Depot                5 Commonwealth Ave                Woburn        MA           01801
    Fotronic Corporation                 Test Equipment Depot           5 Commonwealth Ave                      Unit 6                            Woburn        MA           01801
                                                                                                                5 Commonwealth Ave
    Fotronic Corporation                 Test Equipment Depot           DBA Test Equipment Depot                Unit 6                            Woburn        MA           01801
    Fotronic Corporation                 Test Equipment Depot           DBA Test Equipment Depot                PO Box 3989                       Boston        MA           02241-3989
    Foundations Unlimited LLC                                           PO Box 1145                                                               Greer         SC           29652
                                                                                                                                                  Santa Fe
    Foundry Service and Supply                                          11808 Burke Street                                                        Springs       CA           90670
    Fouts, Christophor                                                  Address Redacted
    Fowler, Anthony                                                     Address Redacted
    Fowlkes, Adam                                                       Address Redacted
    Fowlkes, Frances                                                    Address Redacted
    Fox Cordle, Terry                                                   Address Redacted
    Fox, Jamie                                                          Address Redacted
    Fox, Ryan                                                           Address Redacted
    Fraczek, Michael                                                    Address Redacted
    Fragomen, Del Rey, Bernsen &
    Loewy, LLP                                                          2121 Tasman Drive                                                         Santa Clara   CA           95054
    Frame.Io, Inc.                       Adobe                          345 Park Avenue                                                           San Jose      CA           95110
    Franco, Jose                                                        Address Redacted
    Frank, Rimerman + Co. LLP                                           60 South Market Street                  Suite 500                         San Jose      CA           95113
    Franklin Advisers Inc                                               One Franklin Parkway                                                      San Mateo     CA           94403-1906
    Franklin County Court of Common
    Pleas                                                               345 S. High Street - Room 1B                                              Columbus      OH           43215
    Franklin Resources Inc.                                             One Franklin Parkway                                                      San Mateo     CA           94403-1906
                                                                                                                                                  City of
    Franklin Truck Parts, Inc.           Derrick Pinnecker              6925 Bandini Blvd.                                                        Commerce      CA           90040
    Frascati, Joseph                                                    Address Redacted
    Frederick K Byers                                                   Address Redacted
    Freedman Seating Company             Jessica Zamudio                4545 W Augusta Blvd                                                       Chicago       IL           60651
    Freedman Seating Company             Obed Reyes                     4545 W Augusta Blvd                                                       Chicago       IL           60651
    Freedman Seating Company             Solimar Carrion                4545 W Augusta Blvd                                                       Chicago       IL           60651
    Freeman                                                             PO Box 650036                                                             Dallas        TX           75265
    Freeman, Serkan                                                     Address Redacted
    Freightliner Custom Chassis-DTNA                                    552 Hyatt St                                                              Gaffney       SC           29341
    Fresh Water Systems Inc.                                            2299 Ridge Road                                                           Greenville    SC           29607

    Fresno County Rural Transit Agency   MAINTENANCE MGR George Sipin   2035 Tulare St                                                            Fresno        CA           93721
    Friends of Laketran                  Julia Schick                   41 E. Erie Street                                                         Painesville   OH           44077




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    Frizzley, Jill                                                  Address Redacted
    Front Panel Express LLC                                         5959 Corson Ave S Ste I                                                     Seattle         WA           98108
    Frost & Sullivan                   Joseph Bove                  7550 IH 10 West                         Suite 400                           San Antonio     TX           78229
    Frost & Sullivan                   Vassilissa Kozoulina         7550 IH 10 West                         Suite 400                           San Antonio     TX           78229
    Frost & Sullivan                                                7550 IH 10 West                         Suite 400                           San Antonio     TX           78229
    Frost, Matthew                                                  Address Redacted
    Frost, Robert                                                   Address Redacted
                                                                                                                                                Colorado
    FROZENBOOST.COM                                                 6045 Terminal Ave, Suite 100                                                Springs         CO           80915
    Frutchey, Daryl                                                 Address Redacted
    Fry, James                                                      Address Redacted
    Fueled Creative                                                 4701 SW Admiral Way                     Suite 137                           Seattle         WA           98116
    Fujipoly American Corp                                          900 Milik Street                                                            Carteret        NJ           07008
    Fujiwara, Grant                                                 Address Redacted
    Full Spectrum Laser LLC                                         6216 South Sandhill Road                                                    Las Vegas       NV           89120
    Fuller, Barbara                                                 Address Redacted
    Fuller, Cambria                                                 Address Redacted
    Fuller, Larry                                                   Address Redacted
    Fuller, Lori                                                    Address Redacted
    Fuller, Thomas                                                  Address Redacted
    Fumex, LLC                                                      1150 Cobb International Place           Suite D                             Kennesaw        GA           30152
    Funnell, EDWARD                                                 Address Redacted
    Funnell, Edward                                                 Address Redacted
    Furniture Services Inc.            DBA ACRS                     775 Woodruff Road                                                           Greenville      SC           29607
    Fusco, Adam                                                     Address Redacted
    Fusion Project Management Ltd      DBA Fusion Projects          #800 - 850 West Hastings Street                                             Vancouver       BC           V6C1E1        Canada
    Fusion Technology                                               1543 Plymouth Street                                                        Mountain View   CA           94043
    Fusion Trade, Inc.                 Fusion Worldwide             One Marina Park Drive                   Suite 305                           Boston          MA           02210
    FUTEK Advanced Sensor
    Technology, Inc.                                                10 Thomas                                                                   Irvine          CA           92618


                                                                                                            Fuzhou High-tech
    Fuzhou BAK Battery Co., LTD        Sherry Liu                   4002 Wengchang Avenue                   Development District                Fuzhou          Jiangxi      344099        China
    G & T Properties                                                10 Guittard Road                                                            Burlingame      CA           94010
    G & W Equipment, Inc.                                           600 Lawton Road                                                             Charlotte       NC           28216
    G and K Services                                                PO Box 677057                                                               Dallas          TX           75267
    G&G Builders, Inc.                 Harry Cathrea                4542 Contractors Place                                                      Livermore       CA           94551
    G&T Properties LLP                 Laura Lomazzi                10 Guittard Road                                                            Burlingame      CA           94010
    G. P Industries                                                 333 E Parr Blvd                                                             Reno            NV           89512
    G.A. Wirth Company, Inc.                                        3494 Camino Tassajara                   #244                                Danville        CA           94506
    G.F. League Company, Inc. (QUICK
    CRATE)                                                          PO Box 3626                                                                 Greenville      SC           29608-3626
    GA Business Purchaser LLC          DBA Guardian Alarm Company   20800 Southfield Rd                                                         Southfield      MI           48075
    Gadamsetty, Pranav                                              Address Redacted
    Gaging.com LLC                     Monty Abrams                 5016 Tropical Cliff Avenue                                                  Las Vegas       NV           89130
    Gagliardi, Kimberly                                             Address Redacted
    Gagnon, Amy                                                     Address Redacted
    Galaviz, Andres                                                 Address Redacted
                                                                                                                                                Madison
    Galco Industrial Electronics       Beata Votral                 26010 Pinehurst Drive                                                       Heights         MI           48071




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                                                                                                                                        Madison
    Galco Industrial Electronics                                 26010 Pinehurst Drive                                                  Heights        MI           48071
    Galea, Robert                                                Address Redacted
    Gali, Ali                                                    Address Redacted
    Gallagher, Peter                                             Address Redacted
    Gallardo, Armando                                            Address Redacted
    Gallo Business Media                                         8001 Lincoln Ave.                      Suite 720                       Skokie         IL           60077
    Galloway, David                                              Address Redacted
    Galvan, Alex                                                 Address Redacted
    Gambino, George                                              Address Redacted
    Gamble, Avion                                                Address Redacted
    Gamble, Jvonte                                               Address Redacted
    Gamers Gear LLC                  DBA Wonder Guards           218 Old Zoar Rd.                                                       Monroe         CT           06468
    Gamma Technologies LLC           Lana Castillo               601 Oakmont Lane                       Suite 220                       Westmont       IL           60559
    Gamma Technologies LLC                                       601 Oakmont Ln Suite 220                                               Westmont       IL           60559
    Gandu, Venkata Sainath Redd                                  Address Redacted
    Ganzcorp Investments, Inc.       DBA Mustang Dynamometer     2300 Pinnacle Parkway                                                  Twinsburg      OH           44087
    Garcia, Angel                                                Address Redacted
    Garcia, Jeff                                                 Address Redacted
    Garcia, Juan                                                 Address Redacted
    Garcia, Juan                                                 Address Redacted
    Garcia, Norbert                                              Address Redacted
    Garcia, Ricardo                                              Address Redacted
    Garcia, Roger                                                Address Redacted
    Garcia, Rosalia                                              Address Redacted
    Gardner, Anthony                                             Address Redacted
    Garfield Signs & Graphics, LLC   Josh                        203 Ford Street                                                        Greer          SC           29650
    Garreth Adam Williams                                        Address Redacted
    Garrett Cashwell                                             Address Redacted
    Garrett, Ashley                                              Address Redacted
    Garrett, Bradley                                             Address Redacted
    Garrett, Patrick                                             Address Redacted
    Gartner, Inc.                                                56 Top Gallant Road                                                    Stamford       CT           06902
    Gartner, Inc.                                                PO Box 911319                                                          Dallas         TX           75391
    Gary D. Nelson Associates                                    PO Box 49195                                                           San Jose       CA           95161
    Gatekeeper Systems USA Inc       Abdul Azim                  221 Valley Road                                                        Wilmington     DE           19804
    Gatekeeper Systems USA Inc       Bob LeBlevec                221 Valley Road                                                        Wilmington     DE           19804
    Gatekeeper Systems USA Inc                                   LB# 1872                               PO Box 95000                    Philadelphia   PA           19195
    Gatekeeper Systems USA Inc                                   Dept CH 19468                                                          Palatine       IL           60055-9468
    Gatta, Nicholas                                              Address Redacted
    Gaultney, Brian                                              Address Redacted
    Gauri Joshi                                                  Address Redacted
    Gautam, Sparsh                                               Address Redacted
                                                                                                                                                                                  United
    GAWS of London                                               One America Square                                                     London                      EC3N 2AD      Kingdom
    Gaytan, Alfredo                                              Address Redacted
    GBT US LLC                                                   PO Box 53618                                                           Phoenix        AZ           85027-3618
    GEA PHE Systems North America,
    Inc.                                                         100 GEA Drive                                                          York           PA           17406
    Gems Sensors, Inc.               COREY FLANIGAN              PO Box 96860                                                           Chicago        IL           60693
    Gems Sensors, Inc.               Richard Slenn               PO Box 96860                                                           Chicago        IL           60693
    Gems Sensors, Inc.               RMA RMA                     PO Box 96860                                                           Chicago        IL           60693




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    Gems Sensors, Inc.                                                      PO Box 96860                                                                 Chicago         IL           60693
    Genard, Inc. DBA Lennova                                                1717 Boyd St.                                                                Santa Ana       CA           92705
    Gendy, Hany                                                             Address Redacted
    General Assembly Corporation                                            7101 N. Mesa St                       PMB# 544                               El Paso         TX           79912-3613
                                                                                                                                                         Highland
    General Cable Industries, Inc.                                          4 Tesseneer Drive                                                            Heights         KY           41076
    General Metals LLC                                                      328 E Main ST                         PO BOX 99                              Pine Level      NC           27568
    General Services Administration      Craig Yokum                        1800 F Street NW                                                             Washington      DC           20006
    General Services Administration                                         1800 F Street NW                                                             Washington      DC           20006
    General Traffic Equipment Corp       Raymond Staffon                    259 Broadway                                                                 Newburgh        NY           12550
    Generation IM Climate Solutions Fund                                                                                                                                                            Cayman
    II, L.P.                                                                PO Box 309                            Ugland House                           Grand Cayman                 KY1-1104      Islands
    GENERATION INVESTMENT
    MANAGEMENT                                                              555 Mission Street                                                           San Francisco   CA           94105
    Genesys Industrial Corp              Dutch Dillingham                   3210 East 85th Street                                                        Kansas City     MO           64132
    Genesys Industrial Corp              Eileen ONeill                      3210 East 85th Street                                                        Kansas City     MO           64132
    GENFARE, LLC                         Antonio Scimo                      DBA Genfare                           PO Box 277399                          Atlanta         GA           30384-7399
                                                                                                                                                         ELK GROVE
    GENFARE, LLC                        Antonio Scimo                       GENFARE                               800 ARTHUR AVE.                        VILLAGE         IL           60007
    GENFARE, LLC                        TERESE GILLUM                       DBA Genfare                           PO Box 277399                          Atlanta         GA           30384-7399
                                                                                                                                                         ELK GROVE
    GENFARE, LLC                        TERESE GILLUM                       GENFARE                               800 ARTHUR AVE.                        VILLAGE         IL           60007
    Genomic Life, Inc.                                                      3344 North Torrey Pines Court         STE 100                                La Jolla        CA           92037
    George Heiser Body Co., Inc.        Trenia Christianson                 9426 8th Ave.S                                                               Seattle         WA           98108
    George Heiser Body Co., Inc.                                            9426 8th Ave.S                                                               Seattle         WA           98108
                                         Golden State Maintenance &
    George Hernandez                     Inspection LLC                      Address Redacted
    George Industries                                                        PO Box 841583                                                               Los Angeles     CA           90063
    George Industries                                                        4116 Whiteside Street                                                       Los Angeles     CA           90063
    George Industries                                                        PO Box 841583                                                               Los Angeles     CA           90084-1583
    George, Daniel                                                           Address Redacted
    Georgeson LLC                                                            Dept CH 16640                                                               Palatine        IL           60055
    Georgia Child Support                                                    PO Box 1600                                                                 Carrollton      GA           30112
    Georgia Department of Administrative
    Services                                                                 200 Piedmont Avenue, S.E.           Suite 1308, West Tower                  Atlanta         GA           30334
    Georgia Department of Revenue                                            Processing Center                   PO Box 740317                           Atlanta         GA           30374
    Georgia Department of Revenue                                            Processing Center                   PO Box 740239                           Atlanta         GA           30374-0239
                                         Compliance Division - Central
    Georgia Dept of Revenue              Collection Section                  1800 Century Blvd NE, Suite 9100                                            Atlanta         GA           30345-3202
    Georgia Dept of Revenue              Unclaimed Property Program          4125 Welcome All Rd Suite 701                                               Atlanta         GA           30349-1824
    Georgia Transit Association                                              2146 Roswell Road                   Suite 108-885                           Marietta        GA           30062
    Georgia/Carolina Safety Specialties,
    Inc                                                                      1120 W. Butler Road, Suite R                                                Greenville      SC           29607
    Georgia/Carolina Safety Specialties, DBA Eyes in Motion, USA & Saefty Rx DBA Eyes in Motion, USA & Saefty Rx
    Inc.                                 Eyewear                             Eyewear                             1120 W. Butler Road      Suite R        Greenville      SC           29607
    Gerber, John                                                             Address Redacted
    Gerflor USA                          Abby Pantoja                        595 Supreme Drive                                                           Bensenville     IL           60106
    Gerflor USA                          Ellyn Grunenwald                    595 Supreme Drive                                                           Bensenville     IL           60106
                                         FLOORING ROLLS FLOORING
    Gerflor USA                          ROLLS                               595 Supreme Drive                                                           Bensenville     IL           60106
    Gerflor USA                                                              595 Supreme Drive                                                           Bensenville     IL           60106
    GES Canada Limited                                                       5675 McLaughlin Road                                                        Mississauga     ON           L5R 3K5       Canada




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    Gexpro Services                     Dan Phillips                    9500 N. Royal Lane, Suite 130                                             Irving          TX            75063
    Gexpro Services                     GS Operating, LLC               201 Forrester Dr                                                          Greenville      SC            29607
    Gexpro Services                     GS Operating, LLC               9500 North Royal Lane                  Suite 130                          Irving          TX            75063
    GH Metal Solutions, Inc.            CARI LOCKLEAR                   PO Box 742323                                                             Atlanta         GA            30374
    GH Metal Solutions, Inc.            DALE JOLLY                      PO Box 742323                                                             Atlanta         GA            30374
    GH Metal Solutions, Inc.            DAVID CAME                      PO Box 742323                                                             Atlanta         GA            30374
    GH Metal Solutions, Inc.                                            PO Box 742323                                                             Atlanta         GA            30374
    Ghanbari Ph.D., Vahideh                                             Address Redacted
    Ghorab, Mona                                                        Address Redacted
                                        Custom Glass Solutions Upper    Custom Glass Solutions Upper                                              Upper
    GI Glass Holdings, LLC              Sandusky, LLC                   Sandusky                               12688 SH 67                        Sandusky        OH            43351
                                        Custom Glass Solutions Upper    d/b/a Custom Glass Solutions Upper
    GI Glass Holdings, LLC              Sandusky, LLC                   Sandusky, LLC                          28908 Network Place                Chicago         IL            60673-1289
                                        Custom Glass Solutions Upper
    GI Glass Holdings, LLC              Sandusky, LLC                   28908 Network Place                                                       Chicago         IL            60673-1289
    Giehl, Michael                                                      Address Redacted
    Gigavac LLC                         Frida Sofia Aguilar Romo        6382 Rose Lane                                                            Carpinteria     CA            93013
    Gigavac LLC                                                         6382 Rose Lane                                                            Carpinteria     CA            93013
    GigSky, Inc.                        John Francis                    2390 El Camino Real, Suite 250                                            Palo Alto       CA            94306
    Gilbert, Anthony                                                    Address Redacted
    Gilbert, Donna                                                      Address Redacted
    Gill, Randall                                                       Address Redacted
    Gillespie, James                                                    Address Redacted
    Girish, Tanya                                                       Address Redacted
    Giron, Ricko                                                        Address Redacted
    GitHub, Inc.                                                        88 Colin P Kelly Jr. Street                                               San Francisco   CA            94107
    GitLab, Inc.                                                        268 Bush St                            #350                               San Francisco   CA            94104
    GL Frederick Inc                    Electrical Services Company     9835 Kitty Lane                                                           Oakland         CA            94603
    Gladstein, Neandross & Associates                                   2525 Ocean Park Boulevard              Suite 200                          Santa Monica    CA            90405
    Glass & Marker Inc.                 Sam Yudes                       2220 Livingston Street, #209                                              Oakland         CA            94707
    Glass Doctor                                                        PO Box 26406                                                              Greenville      SC            29616
    Glass Service Center                                                1215 3rd Avenue                                                           Rock Island     IL            61201
    Gleason Reel Corporaton                                             600 South Park Street                                                     Mayville        WI            53050
    Glenn, Robert                                                       Address Redacted
    Global Choice, Inc                  Prepac Designs, Inc             25 Abner Place                                                            Yonkers         NY            10704
    Global Equipment Company            ACCOUNT MGR Barbara Bouton      PO Box 905713                                                             Charlotte       NC            28290
    Global Equipment Company            DIANE KELLY                     PO Box 905713                                                             Charlotte       NC            28290
    Global Equipment Company            Nick Cimber                     PO Box 905713                                                             Charlotte       NC            28290
    Global Equipment Company                                            PO Box 905713                                                             Charlotte       NC            28290
    Global HR Research, LLC             Employment Screening Services   9530 Marketplace Road                  Suite 301                          Fort Myers      FL            33912
    Global HR Research, LLC             Employment Screening Services   PO Box 638968                                                             Cincinnati      OH            45263-8968

    Global Technology Ventures Inc.                                     37408 Hills Tech Drive                                                    Farmington Hills MI           48331
    Global Traffic Technologies LLC     Craig Carroll                   7800 Third Street North, Suite 100                                        Saint Paul       MN           55128
    Global Traffic Technologies LLC                                     7800 Third Street North, Suite 100                                        Saint Paul       MN           55128
    Globalization Partners                                              175 Federal Street                     17th Floor                         Boston           MA           02110
    Gloss Postproduction LLC                                            3767 Overland Avenue                   Unite 112                          Los Angeles      CA           90034
    Glossop, Susan                                                      Address Redacted
    Glover, Antonio                                                     Address Redacted
    Glover, Derienzo                                                    Address Redacted
    Glover, Jordan                                                      Address Redacted
    Gloves Plus, Inc.                                                   227 Neely Ferry Road                                                      Simpsonville    SC            29680




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                 CreditorName                  CreditorNoticeName                  Address1                         Address2     Address3         City        State           Zip   Country
    GM Nameplate, Inc./SuperGraphics                                2040 15th Avenue                                                        Seattle        WA         98119
    GMPC LLC                                                        11390 W Olympic Blvd                    Suite 400                       Los Angeles    CA         90064
    GMW Associates                     INSIDE SALES Simone Sexton   955 Industrial Road                                                     San Carlos     CA         94070
    Godfrey & Wing LLC                 dba Imprex Inc.              3260 S 108th Street                                                     Milwaukee      WI         53227
    Godshall & Godshall Personnel
    Consultants, Inc                   Send POs to                  Godshall Staffing                       PO Box 1984                     Greenville     SC         29602
    Godshall & Godshall Personnel
    Consultants, Inc                                                PO Box 1984                                                             Greenville     SC         29602
    GoEngineer, Inc.                   Teri Knight                  739 E Fort Union Blvd                                                   Midvale        UT         84047
    Goetzinger, Christopher                                         Address Redacted
    Goheen, Spencer                                                 Address Redacted
    Goins III, Joseph                                               Address Redacted
    Goins, Josiah                                                   Address Redacted
    Goken America LLC                                               5100 Parkcenter Ave                                                     Dublin         OH         43017
    Gold Coast Dist.                                                2638 Kenita St.                                                         Oxnard         CA         93035
    Golden Strip Glass, Inc.           Henry Kurtz                  PO Box 1176                                                             Mauldin        SC         29662
    Golden Strip Glass, Inc.                                        PO Box 1176                                                             Mauldin        SC         29662
    Gomez Ocampo, John                                              Address Redacted
    Gomez, Adan                                                     Address Redacted
    Gomez, Andre                                                    Address Redacted
    Gomez, Hugo                                                     Address Redacted
    Gomez, Irene                                                    Address Redacted
    Gonzales, Diogenes                                              Address Redacted
    Gonzales, Jonathan                                              Address Redacted
    Gonzales, Kareen                                                Address Redacted
    Gonzalez, Cindy                                                 Address Redacted
    Gonzalez, Jaudiel                                               Address Redacted
    Gonzalez, Jorge                                                 Address Redacted
    Gonzalez, Jose                                                  Address Redacted
    Gonzalez, Luis                                                  Address Redacted
    Gonzalez, Travis                                                Address Redacted
    Goodman, Catherine                                              Address Redacted
    Goodnough, Brandon                                              Address Redacted
    Goodnough, Daniel                                               Address Redacted
    Goodwin, Brittney                                               Address Redacted
    Goodwin, Dustin                                                 Address Redacted
    Goodwin, Dustin                                                 Address Redacted
    Goodwin, Jason                                                  Address Redacted
    Goodwin, Patrick                                                Address Redacted
    Goodwyn, Mills & Cawood, Inc                                    2660 Eastchase Lane                     Suite 200                       Montgomery     AL         36117
    Gopaluni, Karthikeyan                                           Address Redacted
    Gordey, James                                                   Address Redacted
    Gordon A. Nevison                                               Address Redacted
    Gordon A. Nevison                                               Address Redacted
    Gordon A. Nevison                                               Address Redacted
    Gore, Erik                                                      Address Redacted
    Gorilla Circuits                                                1445 Oakland Rd                                                         San Jose       CA         95112
    Gorilla Creative                                                7172 Regional Street                    #506                            Dublin         CA         94568
    GOS                                                             PO Box 3358                                                             Greenville     SC         29602
    Gosaye, Clifford                                                Address Redacted
    Got Electric, LLC                  Joshua Parmentier            18978 Bonanza Way                                                       Gaithersburg   MD         20879
    Gourmet Lovers Catering Inc        Carolina Guardado            1722 North Tustin St                                                    Orange         CA         92865




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    GOVARDHAN, ROHAN RAVINDRA                                              Address Redacted
    Govardhan, Rohan Ravindra                                              Address Redacted
    Gowling WLG LLP                                                        160 Elgin Street                        Suite 2600                        Ottawa          ON           K1P 1C3       Canada
    Gowri Shankar Shekar                                                   Address Redacted
    Goyal, Priyanka                        Priyanka Goyal                  Address Redacted
    GPS Networking                                                         710 West 4th Street                     Unit A                            Pueblo          CO           81003
    Grace, Dustin                                                          Address Redacted
    Graffiti Shield                                                        2940 East La Palma Avenue               Suite D                           Anaheim         CA           92806
    Grafton, Daniel                                                        Address Redacted
    Grainger                               Ashley Watson                   Dept 880089966                                                            Palatine        IL           60038-0001
    Grainger                               JEFF WHALEN                     Dept 880089966                                                            Palatine        IL           60038-0001
    Grainger                               Nathan Jared                    Dept 880089966                                                            Palatine        IL           60038-0001
    Grainger                                                               Dept 880089966                                                            Palatine        IL           60038-0001
    GRANADOS VAZQUEZ, ALBERTO                                              Address Redacted
    Granados Vazquez, Alberto                                              Address Redacted
    Grand Hyatt at SFO                                                     55 South Mcdonnel Rd                                                      San Francisco   CA           94128
    Graphic Innovations Inc.               Carolyn Bouchard                380 Jefferson Blvd.-Unit C                                                Warwick         RI           02886
    Graphic Products Inc.                                                  PO Box 4030                                                               Beaverton       OR           97076-4030
    Graphic Products, Inc                                                  9825 SW Sunshine Ct.                                                      Beaverton       OR           97005
    Graybar                                JASON WATKINS                   File 57072                                                                Los Angeles     CA           90074-7072
    Graybar                                LARRY LITTLEJOHN                File 57072                                                                Los Angeles     CA           90074-7072
    Graybar                                                                PO Box 403052                                                             Atlanta         GA           30384
    Graybar                                                                File 57072                                                                Los Angeles     CA           90074-7072
    Grayhawk Search Inc.                                                   320 March Road                          Unit 401                          Kanata          ON           K2K 2E3       Canada
    Grayhill Inc                                                           561 Hillgrove Ave                                                         LaGrange        IL           60525
    Grayson Thermal Systems Corp.          CIARA ABBEY                     980 Hurricane                                                             Franklin        IN           46131
    Grayson Thermal Systems Corp.          FAY TAYLOR                      980 Hurricane                                                             Franklin        IN           46131
    Grayson Thermal Systems Corp.          FAYBIAN TAYLOR                  980 Hurricane                                                             Franklin        IN           46131
    Grayson Thermal Systems Corp.                                          980 Hurricane                                                             Franklin        IN           46131
    Great American Alliance Insurance
    Company                                                                301 E Fourth Street                                                       Cincinnati      OH           45202
    Great American Insurance Group                                         PO Box 89400                                                              Cleveland       OH           44101
    Great American Insurance Group                                         3561 Solutions Center                                                     Chicago         IL           60677
    Great Lakes Rubber Portland Inc.       DBA Chinook O-Rings and Seals   8062 SW Nimbus Ave                      Bldg 6                            Beaverton       OR           97008

                                                                                                                   8062 SW Nimbus Ave
    Great Lakes Rubber Portland Inc.       DBA Chinook O-Rings and Seals   DBA Chinook O-Rings and Seals           Bldg 6                            Beaverton       OR           97008
    GreatAmerican Leasing Corporation                                      PO Box 609                                                                Cedar Rapids    IA           52406-0609
    Greater Bridgeport Transit Authority                                   1 Cross St                                                                Bridgeport      CT           06610

    Greater Peoria Mass Transit District                                   2105 NE Jefferson Ave                                                     Peoria          IL           61603
    Greater Raleigh Chamber of
    Commerce                               Natalie Griffith                PO Box 2978                                                               Raleigh         NC           27602
    Greater Raleigh Chamber of
    Commerce                                                               800 South Salisbury Street                                                Raleigh         NC           27601
    Greater Raleigh Chamber of
    Commerce                                                               PO Box 2978                                                               Raleigh         NC           27602
    Greatwide Dedicated Transport                                          PO Box 770                                                                Anderson        SC           29622-0750
    Green Earth Sustainable Solutions
    LLC                                                                    360 S. Market Street, Unit 1507                                           San Jose        CA           95113
    Green Earth Sustainable Solutions
    LLC                                                                    117 Bernal Road                         Suite 70 MS 239                   San Jose        CA           95119




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    Green Heart Foods, LLC               Nautica Welch                1069 Pennsylvania Ave                                                            San Francisco   CA           94107
    Green Metro Construction                                          1299 Bayshore Hwy                        Ste 128                                 Burlingame      CA           94010
    Green Mountain Transit                                            101 Queen City Park Rd                                                           Burlington      VT           05401
    Green Paradigm Consulting, Inc.                                   11800 Clark Street                                                               Arcadia         CA           91006

    Green State Power LLC                                             PO Box 13604                                                                     GREENSBORO NC                27415
    Green, Chad                                                       Address Redacted
    Green, Taborus                                                    Address Redacted

    Greenberg Traurig, LLP                                            3003 Breezewood Lane, PO Box 368                                                 Mount Airy      NC           27030
    Greenberg Traurig, LLP                                            8400 NW 36th Street              Suite 400                                       Doral           FL           33166
    Greenlight Innovation Corp.                                       3430 Brighton Avenue             Unit 104A                                       Burnaby         BC           V5A 3H4       Canada
    Greentech Landscape Servies                                       333 N Grant St                                                                   San Mateo       CA           94401-1808
    Greentree Advisors LLC                                            7021 Verde Way                                                                   Naples          FL           34108

    Greentree Advisors LLC                                            3198 Oakdale                                                                     Hickory Corners MI           49060
    Greenville Camperdown Hotel, LLC     AC Hotel Greenville          315 S Main Street                                                                Greenville      SC           29601
    Greenville Chamber of Commerce                                    24 Cleveland Street                                                              Greenville      SC           29601
    Greenville Chamber of Commerce                                    550 S. Main Street                       Suite 550                               Greenville      SC           29607
    Greenville City Center LLC           Hyatt Regency Greenville     220 North Main Street                                                            Greenville      SC           29601

    Greenville County Tax Collector                                   301 University Ridge                     Greenville County Square                Greenville      SC           29601
    Greenville County Tax Collector                                   301 University Ridge                     Suite 700                               Greenville      SC           29601
    Greenville Drive, LLC                                             945 S. Main Street                                                               Greenville      SC           29601
    Greenville Drive, LLC                                             935 S Main Street                        Suite 202                               Greenville      SC           29601-3345
    Greenville Industrial Rubber & Gasket
    Co., Inc.                             Devin Stone                 2707 Poinsett Highway                                                            Greenville      SC           29609
    Greenville Industrial Rubber & Gasket
    Co., Inc.                             INSIDE SALES Joey Russo     2707 Poinsett Highway                                                            Greenville      SC           29609
    Greenville Industrial Rubber & Gasket
    Co., Inc.                                                         PO Box 4469                                                                      Greenville      SC           29608
    Greenville Industrial Rubber & Gasket
    Co., Inc.                                                         2707 Poinsett Highway                                                            Greenville      SC           29609
    Greenville Maintenance                Hunter Jenkins              PO Box 27036                                                                     Greenville      SC           29616
    Greenville Maintenance                Rex Jones                   PO Box 27036                                                                     Greenville      SC           29616
    Greenville Maintenance                                            2503 Rutherford Road                                                             Greenville      SC           29609
    Greenville Maintenance                                            PO Box 27036                                                                     Greenville      SC           29616
    Greenville Mechanical, LLC            Gail Borrmann               103 Woodruff Industrial Lane                                                     Greenville      SC           29607
    Greenville Mechanical, LLC            Jamie Bridwell              103 Woodruff Industrial Lane                                                     Greenville      SC           29607
    Greenville Pickens Roundtrac                                      220 Kay Drive                                                                    Easley          SC           29640
    Greenville Police Department False
    Alarm Reduction Program                                           PO Box 6496                                                                      Greenville      SC           29606
    Greenville Scale Co., Inc             GSC                         149 Landmark Drive                                                               Taylors         SC           29687
    Greenville Tech                                                   PO Box 5616                                                                      Greenville      SC           29606
    Greenville Transit Authority                                      PO Box 2207                                                                      Greenville      SC           29602
    Greenville Water System                                           407 West Broad Street                    P.O. Box 687                            Greenville      SC           29601
    Greenville Water System                                           PO Box 687                                                                       Greenville      SC           29602

    Greenville, City and County of SCTAC Danny Moyd                   c/o SCTAC                                2 Exchange Street                       Greenville      SC           29605
    Greer, Austin                                                     Address Redacted
    Greg Fadell, LLC DBA Not             DBA Not, Inc.                9420 Allen Road                                                                  Clarkston       MI           48348
    Greg Smith Equipment Sales                                        5800 Massachusetts Ave.                                                          Indianapolis    IN           46218




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                  CreditorName                       CreditorNoticeName                    Address1                         Address2             Address3         City            State           Zip    Country
    Greg Smith Equipment Sales                                               4685 Troy Court                                                                 Jurupa Valley   CA           92509
    Greggs, Jason                                                            Address Redacted
    Gregoire, Darcie                                                         Address Redacted
    Gregory M. Johnson                                                       Address Redacted
    Grice, Marcus                                                            Address Redacted
    Grid Connect                             INSIDE SALES Carla Silveria     1630 W. Diehl Rd.                                                               Naperville      IL           60563
    Grid Subject Matter Experts, LLC                                         145 Parkshore Drive                   Suite 140                                 Folsom          CA           95630
    GridFabric, LLC                                                          111 North Broadway                    Suite B                                   Green Bay       WI           54303
    Grier, Paul                                                              Address Redacted
    Griffin, Chase                                                           Address Redacted
    Griffin, Christopher                                                     Address Redacted
    Griffin, Kristina                                                        Address Redacted
    Griffiths Corporation                    DBA K-TEK CAROLINA              2717 Niagara Ln. N                                                              Minneapolis     MN           55447
    Grippe, Franklin                                                         Address Redacted
    Grooms, James                                                            Address Redacted
    Groove Jones LLC                                                         3900 Willow Street                    Suite 200                                 Dallas          TX           75226
    Grote Industries, LLC                    Ashleigh Hamilton               Fifth Third Bank                      Dept 0116                                 Cincinnati      OH           45263-0116
    Grote Industries, LLC                    Dorothee Suin de Boutemard      Fifth Third Bank                      Dept 0116                                 Cincinnati      OH           45263-0116
    Grote Industries, LLC                    Lora McMahon                    Fifth Third Bank                      Dept 0116                                 Cincinnati      OH           45263-0116
    Grote Industries, LLC                                                    Fifth Third Bank                      Dept 0116                                 Cincinnati      OH           45263-0116
    Grote Industries, LLC                                                    2600 Lanier Drive                                                               Madison         IN           47250
    Grote Industries, LLC                                                    PO Box 734425                                                                   Chicago         IL           60673-4425
    Group Dekko                                                              4777 Solutions Center                                                           Chicago         IL           60677-4007
    Grover, Sai                                                              Address Redacted
    Gruntworkz Welding and Fab Inc.                                          15519 80th Ave                                                                  Blue Grass      IA           52726
    GS Manufacturing Inc.                                                    985 W. 18th Street                                                              Costa Mesa      CA           92627

    GS Operating, LLC d/b/a Gexpro                                                                                 9 Greenway Plaza, Suite
    Services                                 Ben L. Aderholt                 Coats Rose, P.C.                      1000                                      Houston         TX           77046

    GS Operating, LLC d/b/a Gexpro                                                                                 1201 N. Market Street,
    Services                                 John D. Demmy                   Saul Ewing LLP                        Suite 2300                P.O. Box 1266   Wilmington      DE           19899
    GSL Fine Lithographers                                                   8386 Rovana Circle                                                              Sacramento      CA           95828
    GSW Manufacturing Inc.                                                   1801 Production Drive                                                           Findlay         OH           45840
    GT Development Corporation               Deborah Turner                  IMI Precision                         425 C St. N.W.            Suite 100       Auburn          WA           98001
                                             Deborah Turner GT Development
    GT Development Corporation               Corporation                     IMI Precision                         425 C St. N.W.            Suite 100       Auburn          WA           98001
    GT Development Corporation               Service GT Customer             IMI Precision                         425 C St. N.W.            Suite 100       Auburn          WA           98001

    GTI Roll Transportation Services, Inc.                                   5020 rue Fairway                                                                Lachine         QC           H8T 1B8       Canada
    Gudino, Marco                                                            Address Redacted
    Guerrero, Michael                                                        Address Redacted
    Guevara, John                                                            Address Redacted
    GuidePoint Security LLC                                                  2201 Cooperative Way                  Suite 225                                 Herndon         VA           20171
    Gulamhussein, Nizar                                                      Address Redacted

    Gunderson Dettmer Stough
    Villeneuve Franklin & Hachigian, LLP Maggie White                        550 Allerton Street                                                             Redwood City    CA           94063
    Gunnison, Ezekiel                                                        Address Redacted
    Gupta, Akagra                                                            Address Redacted
    Gurcan, Chase                                                            Address Redacted
    Gurobi Optimization, LLC             Mark Steidel                        9450 SW Gemini Drive                  #90729                                    Beaverton       OR           97008




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                CreditorName                    CreditorNoticeName                 Address1                       Address2           Address3          City         State           Zip   Country
    Guthrie, Hunter                                                  Address Redacted
    Gutierrez, Aaron                                                 Address Redacted
    Gutierrez, Andres                                                Address Redacted
    Gutierrez, Christopher                                           Address Redacted
    Gutierrez, Esiquiel                                              Address Redacted
    Guzman, Beatriz                                                  Address Redacted
    Guzman, Marvin                                                   Address Redacted
    H & W Electrical Corp                                            PO Box 9716                                                                 Greenville    SC           29604
    H.A. DeHart & Son, Inc.                                          311 Crown Point Road                                                        Thorofare     NJ           08086
    H.B. Fuller Company                                              1200 Willow Lake Blvd.                                                      St. Paul      MN           55110
    Haaker Equipment Company             DBA Total Clean             2070 N. White Ave                                                           La Verne      CA           91750
    Habig, William                                                   Address Redacted
    Hackett, Moses                                                   Address Redacted
    Hadley Products Corporation          BETH HAWKINS                2851 Prairie St SW                                                          Grandville    MI           49418
    Hadley Products Corporation          Kris Vanderwall             2851 Prairie St SW                                                          Grandville    MI           49418
    Hadley Products Corporation          Linda Kingma                2851 Prairie St SW                                                          Grandville    MI           49418
    Hadley Products Corporation                                      2851 Prairie St SW                                                          Grandville    MI           49418
    Haeufle, John                                                    Address Redacted
    Hagen, Chris                                                     Address Redacted
    Hagler I, Xander                                                 Address Redacted
    Haig Precision Mfg. Corp.                                        3616 Snell Avenue                                                           San Jose      CA           95136
    Haldex Brake Products Corp.          Isis Guel                   10930 N Pomona Ave                                                          Kansas City   MO           64153
    Haldex Brake Products Corp.          MICHELLE CASARES            10930 N Pomona Ave                                                          Kansas City   MO           64153
                                                                                                          Haldex Brake Products
    Haldex Brake Products Corp.                                      Dept. #289301                        Corp.                   PO Box 67000   Detroit       MI           48267-2893
    Haldex Brake Products Corp.                                      10930 N Pomona Ave                                                          Kansas City   MO           64153
    Hale, James                                                      Address Redacted
                                                                                                                                                 Saint
    Halkey Roberts Corporation           Joe Martens                 2700 Halkey Roberts Place North                                             Petersburg    FL           33716
                                                                                                                                                 Saint
    Halkey Roberts Corporation           Joseph Martin               2700 Halkey Roberts Place North                                             Petersburg    FL           33716
    Hall III, John                                                   Address Redacted
    Hall, James                                                      Address Redacted
    Hall, Rashun                                                     Address Redacted
    Hall, Scott                                                      Address Redacted
    Hall, William                                                    Address Redacted

    Haltec Corporation                   Janet Hendershot            PO Box 1180                          2556 State Route 9                     Salem         OH           44460-8180

    Haltec Corporation                   Jason Crank                 PO Box 1180                          2556 State Route 9                     Salem         OH           44460-8180

    Haltec Corporation                                               PO Box 1180                          2556 State Route 9                     Salem         OH           44460-8180
    Hamdard, Ashvir                                                  Address Redacted
    Hamelin, Mark                                                    Address Redacted
    Hamid Madani                         DBA Base Builders, Inc.     Address Redacted
    Hamilton Clark Sustainable Capital
    Inc.                                 John McKenna                1701 Pennsylvania Ave NW             Suite 200                              Washington    DC           20006
    Hamilton, Matthew                                                Address Redacted
    Hamm, Jesse                                                      Address Redacted
    Hammett, Scott                                                   Address Redacted
    Hampton, Artis                                                   Address Redacted
    Han, David                                                       Address Redacted




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               CreditorName                     CreditorNoticeName                 Address1                          Address2               Address3        City            State           Zip     Country
    Hanbury Brown, Holly                                               Address Redacted
    Handling Services Inc                Heath Bland                   21 AD Asbury Road                                                               Greenville      SC           29605
    Handling Services Inc                Stephanie Hovanec             21 AD Asbury Road                                                               Greenville      SC           29605
    Handling Solutions LLC                                             PO Box 1551                                                                     Clemmons        NC           27012

    Hangtown Electric, Inc                                             PO Box 630                                                                      Shingle Springs CA           95682
                                                                                                                                                       Elk Grove
    Hanover Displays                     BRENT ANDERSON                1601 Tonne Road                                                                 Village         IL           60007
                                                                                                                                                       Elk Grove
    Hanover Displays                     KEELY ELLIS                   1601 Tonne Road                                                                 Village         IL           60007
                                                                                                                                                       Elk Grove
    Hanover Displays                     KRISTYN LEVATO                1601 Tonne Road                                                                 Village         IL           60007
                                                                                                                                                       Elk Grove
    Hanover Displays                                                   1601 Tonne Road                                                                 Village         IL           60007
    Hanover Displays                                                   6111 North River Road                                                           Rosemont        IL           60018

                                                                                                             Songbai Road, Xili Street,
    Hans Information Co.                                               613 Baiwangxin Tech Building          Nanshan District                          Shenzhen                                   China
    Hansen, Alex                                                       Address Redacted
    Hansen, Nicholas                                                   Address Redacted
    Hansens Precision Machining, Inc.                                  5611 Kendall Ct.                      #2                                        Arvada          CO           80002
    Hanson Bridgett LLP                  Shannon Nessier               425 Market Street, 26th Floor                                                   San Francisco   CA           94105
    Happy Tree Productions Inc.          Dean Vogtman                  1040 84th Ave. West                                                             Duluth          MN           55808
    Harbor Diesel & Equipment, Inc       HD Industries                 537 W. Anaheim St.                                                              Long Beach      CA           90813
    Hargraves, Curtis                                                  Address Redacted
    Hargrove, Torrance                                                 Address Redacted
    Harmon, Matthew                                                    Address Redacted
    Harney, Brendan                                                    Address Redacted
    Harold A Steuber Enterprises, Inc.   Associated Services Company   600 McCormick Street                                                            San Leandro     CA           94577
    Harper Corporation                   FRANK TUCKER                  35 W. Court Street                    Suite 400                                 Greenville      SC           29601-2817
    Harper Corporation                                                 35 W. Court Street                    Suite 400                                 Greenville      SC           29601-2817
    Harper, James                                                      Address Redacted
    Harper, Jarocca                                                    Address Redacted
    Harrell, Cruz                                                      Address Redacted
    Harris Handling LLC                                                PO Box 471965                                                                   Charlotte       NC           28277

    Harris Integrated Solutions                                        PO Box 4286                                                                     West Columbia SC             29171-4286
    Harris Integrated Solutions                                        319 Garlington Rd                     Suite C8                                  Greenville    SC             29615
    Harris, Alvin                                                      Address Redacted
    Harris, Kenya                                                      Address Redacted
    Harris, Melvon                                                     Address Redacted
    Harris, Tiffany                                                    Address Redacted
    Harrison, Heather                                                  Address Redacted
    Harrison, William                                                  Address Redacted
    Harrisons Workwear                                                 206D New Neely Ferry Rd                                                         Mauldin         SC           29662
    Harry the Hirer                                                    81-95 Burnley Street                                                            Richmond        VIC          3121          Australia
    Harsco Corporation                   DBA Protran Technology        1762 Solutions Center                                                           Chicago         IL           60677-1007
    Harsha Kestur Narayanaswamy                                        Address Redacted
    Harting, Inc. of North America       SARAH CORCORAN                6280 Eagle Way                                                                  Chicago         IL           60678-1062
    Harting, Inc. of North America                                     6280 Eagle Way                                                                  Chicago         IL           60678-1062
    Hastings Air-Energy Control, Inc.    INSIDE SALES Kellie Griffin   5555 S. Westridge Drive                                                         New Berlin      WI           53151
    Hastings Air-Energy Control, Inc.    PAYMENTS-A/R Sue Bohrer       5555 S. Westridge Drive                                                         New Berlin      WI           53151




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    Hastings Air-Energy Control, Inc.    VP-FINANCE Mike Bohrer              5555 S. Westridge Drive                                                           New Berlin       WI           53151
    Hastings Air-Energy Control, Inc.                                        5555 S. Westridge Drive                                                           New Berlin       WI           53151
    Hauser, Jan                                                              Address Redacted
    Hawaii Dept of Taxation              Attn Bankruptcy Dept                PO Box 259                                                                        Honolulu         HI           96809-0259
    Hawaii Medical Service Association                                       PO Box 29810                                                                      Honolulu         HI           96820-1730
    Hawkins Towing                                                           32 Taunya Lane                                                                    Travelers Rest   SC           29690
    Hawkins, Calvin                                                          Address Redacted
    Haydock, Benjamin                                                        Address Redacted
    Haydon, Graham                                                           Address Redacted
    Haynsworth Sinkler Boyd, PA                                              1201 Main Street                       22nd Floor                                 Columbia         SC           29201
    Haywood, Rakeem                                                          Address Redacted
    Haywood, Roderick                                                        Address Redacted
    Hazarika, Deeprekha                                                      Address Redacted
    Hazmat Safety Consulting, LLC                                            1765 Duke Street                                                                  Alexandria       VA           22314
    HBM Prenscia, Inc.                   Jae Thompson                        5210 E. Williams Circle, Suite 240                                                Tucson           AZ           85711
    HDR Engineering Inc.                                                     8404 Indian Hills Drive                                                           Omaha            NE           68114
    Health Solutions Services            Interactive Health                  11409 Cronhill Drive                   Suite M                                    Owings Mills     MD           21117
    Health Solutions Services            Interactive Health                  1700 East Golf Rd                      Suite 900                                  Schaumburg       IL           60173
    Healy, Michelle                                                          Address Redacted
    Heard, Myliah                                                            Address Redacted

    Heavy Duty Lift & Equipment                                              6559 Bermuda Ln.                                                                  Flowery Branch GA             30542
    Heavy Haul Solutions, LLC                                                386 Sims Chapel Road                                                              Spartanburg    SC             29306
    Hector Ruiz v. Proterra Operating Co.,                                                                          5743 Corsa Ave., Ste.                      Westlake
    Inc.                                   Roman Otkupman , Nidah Farishta   Otkupman Law Firm                      123                                        Village        CA             91362
    Heigl Adhesive Sales, Inc              DBA Heigl Technologies            7667 Cahill Rd., Suite 100                                                        Edina          MN             55439
    Heiken, Brandon                                                          Address Redacted
    Heilind Electronics, Inc.              Dawna Evans                       2636 N First St, Suite 107                                                        San Jose         CA           95134
    Heilind Electronics, Inc.              Jack Wallace                      2636 N First St, Suite 107                                                        San Jose         CA           95134
    Heilind Electronics, Inc.                                                58 Jonspin Rd.                                                                    Wilmington       MA           01887
    Heilind Electronics, Inc.                                                6520 Meridien Drive, Suite 100                                                    Raleigh          NC           27616
    Heilind Electronics, Inc.                                                2636 N First St, Suite 107                                                        San Jose         CA           95134

                                                                                                                    Ho King Commerical      No. 2-16 Fa Yuen
    Heisener Electronics Limited                                             Flat/Rm 2103 21/F                      Centre                  Street             Mong Kok                                    Hong Kong
    Heliox Automotive B.V.               Aswin Linden                        De Waal 24                             Noord-Brabant                              Best                          5684 PH       Netherlands

    Heliox Technology North America LLC                                      165 Ottley Dr NE                       Suite 205                                  Atlanta          GA           30324
    Hella, Incorporated                                                      Dept #771011                           PO Box 77000                               Detroit          MI           48277-0011
    Helm, Joshua                                                             Address Redacted
    Helmut Jilling                                                           Address Redacted
    Helriegel, Stephen                                                       Address Redacted
    Helwig Carbon Products              Geoff Wienke                         8900 W Tower Ave.                                                                 Milwaukee        WI           53224
    Helwig Carbon Products                                                   8900 W Tower Ave.                                                                 Milwaukee        WI           53224
    HEM Data                                                                 17320 12 Mile Rd.                                                                 Southfield       MI           48076-2105
    Hemsing, Elizabeth                                                       Address Redacted
    Henderson, Raven                                                         Address Redacted
    Henderson, Wendy                                                         Address Redacted
    Hendricks Fabrication Inc.                                               712 Shiloh Road                                                                   Piedmont         SC           29673
    Heng, Hoeun                                                              Address Redacted
    Henkel Corporation                                                       One Henkel Way                                                                    Rocky Hill       CT           06067
    Hennessy, Michael                                                        Address Redacted




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    Henry Christopher Hammett                                                 Address Redacted
    Henry Servin & Sons, Inc.             HS&S                                2185 Ronald St.                                                        Santa Clara        CA           95050-2838
    Henry, Manuel                                                             Address Redacted
    Herbst, Alex                                                              Address Redacted
    Hercules Capital, Inc.                                                    400 Hamilton Avenue, Suite 310                                         Palo Alto          CA           94301

    Hercules Technology Growth Capital                                        400 Hamilton Avenue                   Suite 310                        Palo Alto          CA           94301
    Hercules Technology Growth Capital,
    Inc.,                                                                     400 Hamilton Avenue, Suite 310                                         Palo Alto          CA           94301
    Heredia, Robert                                                           Address Redacted
    Heritage Wire Harness, LLC            BRANDI TOWNSEND                     1500 Airport Rd                                                        Fort Payne         AL           35967
    Heritage Wire Harness, LLC            CHARLENE MAGBIE                     1500 Airport Rd                                                        Fort Payne         AL           35967
    Heritage Wire Harness, LLC            Martha Scott                        1500 Airport Rd                                                        Fort Payne         AL           35967
    Heritage Wire Harness, LLC                                                1500 Airport Rd                                                        Fort Payne         AL           35967
    Heritage-Crystal Clean                Christopher Heritage-Crystal Clean  13621 Collections Center Dr                                            Chicago            IL           60693
                                          CORPORATE OFFICE CORPORATE
    Heritage-Crystal Clean                OFFICE                             13621 Collections Center Dr                                             Chicago            IL           60693
    Heritage-Crystal Clean                Joey Belue                         13621 Collections Center Dr                                             Chicago            IL           60693
    Hermenegildo, Melissa                                                    Address Redacted
    Hermes Engineering                                                       St. Mur 15                                                              Sofia                           1680          Bulgaria
    Hernandez Jr., Angel                                                     Address Redacted
    Hernandez, Alfred                                                        Address Redacted
    Hernandez, David                                                         Address Redacted
    Hernandez, David                                                         Address Redacted
    Hernandez, Leo                                                           Address Redacted
    Hernandez, Maura                                                         Address Redacted
    Herrera, Jennifer                                                        Address Redacted
    Herron, Nicholas                                                         Address Redacted
    Herron, Shelvin                                                          Address Redacted
    Hervieux, Ben                                                            Address Redacted
    Hester Fabrication Inc.               Daniel Hester                      20876 Corsair Blvd                     Unit A                           Hayward            CA           94545
    Hettmann, Joseph                                                         Address Redacted
    Heustess, Coleman                                                        Address Redacted
    Hexagon Manufacturing Intelligence,                                                                                                              North
    Inc                                                                      250 Circuit Drive                                                       Kingstown          RI           02852
    Hi Pro Speed International Inc        Michelle                           5367 Ayon Ave                                                           Irwindale          CA           91706
    Hi Pro Speed International Inc        Michelle                           15332 E Valley Blvd                                                     City of Industry   CA           91746
    Hi Pro Speed International Inc                                           5367 Ayon Ave                                                           Irwindale          CA           91706
    Hi Pro Speed International Inc                                           15332 E Valley Blvd                                                     City of Industry   CA           91746
    Hidden Pasture Unicorn Farm, LLC                                         108 Hidden Pasture Trail                                                Fountain Inn       SC           29644
    High Pressure Technologies, LLC                                          24895 Ave Rockefeller                                                   Valencia           CA           91355
    HighByte, Inc.                                                           PO Box 17854                                                            Portland           ME           04112
    Highlight Labs LLC                                                       6 Liberty Square #2026                                                  Boston             MA           02109
    Hi-Heat Industries                    QUINCY MCCORD                      256 Hanover Rd                                                          Lewistown          MT           59457
    Hi-Heat Industries                                                       256 Hanover Rd                                                          Lewistown          MT           59457
    Hilbish, James                                                           Address Redacted
    Hilco Diligence Services, LLC         Sandy Clark                        5 Revere Drive, Suite 300                                               Northbrook         IL           60062
    Hilco Valuation Services, LLC         Sandy Clark                        5 Revere Drive, Suite 300                                               Northbrook         IL           60062
    Hill, Dale                                                               Address Redacted
    Hill, Kameron                                                            Address Redacted
    Hill, Tanner                                                             Address Redacted
    Hill, Tommy                                                              Address Redacted




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    Hill, Tristen                                                         Address Redacted
    Hiller Aviation Institute            Lanie Agulay                     601 Skyway Road                                                        San Carlos      CA           94070
    Hin, Bobby                                                            Address Redacted
    Hin, Michael                                                          Address Redacted
    Hioki USA Corporation                                                 6 Corporate drive                                                      Cranbury        NJ           08512
    Hioki USA Corporation                                                 6600 Chase Oaks Blvd.                Suite 150                         Plano           TX           75023
    HiQ Solar, Inc.                                                       1259 Reamwood Ave                                                      Sunnyvale       CA           94089
    HireVue, Inc                                                          10876 S River Front Parkway          STE 500                           South Jordan    UT           84095
    Hisco, Inc.                                                           6650 Concord Park Drive                                                Houston         TX           77040
    Hi-Tech                                                               PO Box 691863                                                          Stockton        CA           95269
    Ho, Joshua                                                            Address Redacted
    Ho, Simon                                                             Address Redacted
    Hoad, Devin                                                           Address Redacted
    Hoang, Tri                                                            Address Redacted
    Hobbs & Towne, Inc                                                    PMB 269                              PO Box 987                        Valley Forge    PA           19482
    Hodge Products Inc                   Matt Jones                       PO Box 1326                                                            El Cajon        CA           92022-1326
    Hodge Products Inc                   Matt Jones                       7365 Mission Gorge Road              Suite F                           San Diego       CA           92120
    Hodge Products Inc                                                    PO Box 1326                                                            El Cajon        CA           92022-1326
    Hodge Products Inc                                                    7365 Mission Gorge Road              Suite F                           San Diego       CA           92120
    Hodges Transportation, Inc.                                           Nevada Automotive Test Center        P.O. Box 234                      Carson City     NV           89702
    Hoffman & Hoffman, Inc.              MEREDITH SLOAN                   PO Box 896000                                                          Charlotte       NC           28289
    Hoffman & Hoffman, Inc.              PAT LAWSON                       PO Box 896000                                                          Charlotte       NC           28289
    Hoffman & Hoffman, Inc.                                               PO Box 896000                                                          Charlotte       NC           28289
    Hoffman, Kenneth                                                      Address Redacted
    Hoists Direct LLC                                                     123 Charter St.                                                        Albemarle       NC           28001
    Holden, Joseph                                                        Address Redacted
    Holder Electric Supply                                                431 N. Pleasantburg Dr.                                                Greenville      SC           29607
    Holder, David                                                         Address Redacted
    Holder, Trevor                                                        Address Redacted
    Holland                                                               27052 Network Place                                                    Chicago         IL           60673-1270
    Hollenbeck, Mark                                                      Address Redacted
    Hollin Machine Repair & Scraping,
    Inc.                                                                  PO Box 1065                                                            Easley          SC           29641
    Hollis, Shawn                                                         Address Redacted
    Holloway, Cassie                                                      Address Redacted
    Holloway, Christopher                                                 Address Redacted
    Holmes Jr., Louis                                                     Address Redacted
    Holstar LLC                          Chad Sullivan                    210 PIntail Drive                                                      McKinney        TX           75072
    Holstar LLC                          Doug Mercer                      210 PIntail Drive                                                      McKinney        TX           75072
    Holstar LLC                          Kirk Extrell                     210 PIntail Drive                                                      McKinney        TX           75072
    Holt, Dennis                                                          Address Redacted
    Hom, Ana Dominique                                                    Address Redacted
    Hom, Jason                                                            Address Redacted
    Home Depot                                                            2455 Paces Ferry Road NW                                               Atlanta         GA           30339
    Homeland Insurance Company of
    New York                             Intact Insurance Group USA LLC   605 Highway 169 N                                                      Plymouth        MN           55441
    Homeland Manufacturing, Inc.                                          11537 W. Dixie Shores Drive                                            Crystal River   FL           34429
                                                                                                                                                 Bainbridge
    Homemade Classes, LLC                                                 15620 Agatewood Road NE                                                Island          WA           98110
    HonBlue Inc.                                                          501 Sumner St, #3B1                                                    Honolulu        HI           96817
    Hood Exhibits, Inc.                  DBA Hood Branded Environments    1001 Canal Blvd.                     Suite C                           Richmond        CA           94804
    Hoosier Tank & Manufacturing, Inc.   Amy Steele                       2190 Industrial Drive                                                  Niles           MI           49120




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    Hoosier Tank & Manufacturing, Inc.     Nicole Rininger                      2190 Industrial Drive                                                        Niles           MI           49120
    Hoosier Tank & Manufacturing, Inc.                                          2190 Industrial Drive                                                        Niles           MI           49120

    Hope Contractors of Shreveport, Inc.                                        1513 W. Dalzell                                                              Shreveport      LA           71133

    Hope Contractors of Shreveport, Inc.                                        PO Box 3726                                                                  Shreveport      LA           71133
    Hopf, Patrick                                                               Address Redacted
    Hopper, Taquiesha                                                           Address Redacted
    HornBlasters Inc                                                            3752 Copeland Dr                                                             Zephyrhills     FL           33542
    Horton, Matthew                                                             Address Redacted
    Hottinger Bruel and Kjaer Inc.         CHRISTOPHER DeMARTINI                19 Bartlett Street                                                           Marlboro        MA           01752
    Hottinger Bruel and Kjaer Inc.         Jae Thompson                         19 Bartlett Street                                                           Marlboro        MA           01752
    Hottinger Bruel and Kjaer Inc.         Tara Bailey                          19 Bartlett Street                                                           Marlboro        MA           01752
    Hottinger Bruel and Kjaer Inc.                                              19 Bartlett Street                                                           Marlboro        MA           01752
    Houlihan Lokey Financial Advisors,
    Inc.                                                                        10250 Constellation Blvd.                  5th Floor                         Los Angeles     CA           90035
    Houston Casualty Company (UK                                                                                                                                                                        United
    Branch)                                                                     1 Aldgate                                                                    London                       EC3N 1RE      Kingdom
    Houston Casualty Company (UK
    Branch)                                                                     13403 Northwest Freeway                                                      Houston         TX           77040
    Hovair Automotive LLC                  Rusty Jackson                        211 Province Street                                                          Franklin        IN           46131
    Hovair Systems Manufacturing Inc                                            6912 South 220th Street                                                      Kent            WA           98032
    Howard, John                                                                Address Redacted
    Howard, Kerri                                                               Address Redacted
    Howzell, Allison                                                            Address Redacted
    HQS Technician Services, LLC                                                3620 Griffith Drive                                                          Stockton        CA           95212
    HR Experts on Demand                                                        2801 Wade Hampton Blvd                     Suite 115-263                     Taylors         SC           29687
    HR Kleckner Construction, Inc.                                              PO Box 2927                                                                  Dublin          CA           94568
    HRP Associates, Inc.                                                        197 Scott Swamp Road                                                         Farmington      CT           06032
    HTI/Human Technologies Inc.                                                 PO Box 896593                                                                Charlotte       NC           28289-6593
    Huang Ogata, Zachary                                                        Address Redacted
    Hub Group Inc.                                                              2001 Hub Group Way                                                           Oak Brook       IL           60523-1000
    Hub Group Inc.                                                              33773 Treasury Center                                                        Chicago         IL           60694
    Huber+Suhner, Inc                      Desiree Diaz                         8530 Steele Creek Place Drive              Suite H                           Charlotte       NC           28273
    Huber+Suhner, Inc                      Johanne Hairston                     8530 Steele Creek Place Drive              Suite H                           Charlotte       NC           28273
    Huber+Suhner, Inc                      Sandra Denham                        8530 Steele Creek Place Drive              Suite H                           Charlotte       NC           28273
    Huber+Suhner, Inc                                                           8530 Steele Creek Place Drive              Suite H                           Charlotte       NC           28273
    Hubner Manufacturing Corporation,
    Inc.                                   DARLENE BERRY                        510 Tram Trail                                                               Dunlap          TN           37327
    Hubner Manufacturing Corporation,
    Inc.                                   Micah Sprecher                       510 Tram Trail                                                               Dunlap          TN           37327
    Hubner Manufacturing Corporation,
    Inc.                                   Tripp Ward                           510 Tram Trail                                                               Dunlap          TN           37327
    Hubner Manufacturing Corporation,
    Inc.                                                                        450 Wando Park Blvd.                                                         Mount Pleasant SC            29464
    Hudgens, Stanley                                                            Address Redacted
    Hudson Insurance Company                                                    100 William Street, 5th Floor                                                New York        NY           10038

    Hudson Insurance Group                 Raksha Lahiri, CFA, Vice President   580 California Street Floor, 16 th Floor                                     San Francisco   CA           94104
    Hudson, Katelin                                                             Address Redacted
    Huebner, Terrence                                                           Address Redacted
    Hueso, Ricky                                                                Address Redacted




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    Hughes, Gregory                                                        Address Redacted
    Hughey, Jonathan                                                       Address Redacted
    Huibregtse, Richard                                                    Address Redacted
    Human Factors North Inc.                                               174 Spadina Avenue                    Suite 202                       Toronto          ON           M5T 2C2       Canada
    Humatics Corporation                  Phil Mann                        101 Main Street                       Suite 1400                      Cambridge        MA           02142
    Humberto Wu, LLC                      The Catering Company             13613 NE 126th Place, #350                                            Kirkland         WA           98034
    Humboldt Transit Authority            Jim Wilson                       133 V Street                                                          Eureka           CA           95501
    Hung, Kang Yung                                                        Address Redacted
    Hunter Services Inc.                                                   140 Woodruff Rd                       #132                            Greenville       SC           29607
    Hunter, Michael                                                        Address Redacted
    Hunter, Sandra                                                         Address Redacted
    Huntress, Kara                                                         Address Redacted
    Huron Consulting Group, Inc                                            550 W. Van Buren Street                                               Chicago          IL           60607
    Hurst, Leslie                                                          Address Redacted
    Hurtado, David                                                         Address Redacted
    Hurtig, Jeffery                                                        Address Redacted
    Hutchins, Grant                                                        Address Redacted
    Hutchinson Aerospace & Industry       Art Hale                         82 South Street                                                       Hopkington       MA           01748
    Hutchinson Aerospace & Industry       Sandy Della Penna                82 South Street                                                       Hopkington       MA           01748
    Hutchisson III, William                                                Address Redacted
    Hutton, Tyler                                                          Address Redacted
    Huxley Joseph                                                          Address Redacted
    Hyatt Regency Long Beach                                               200 South Pine Avenue                                                 Long Beach       CA           90802
    Hyatt, Chris                                                           Address Redacted
    Hydradyne LLC                         CORY ODOM                        1957 SC Hwy 101                                                       Greer            SC           29651
    Hydradyne LLC                         KAREN BERNARD POC                1957 SC Hwy 101                                                       Greer            SC           29651
    Hydradyne LLC                         KAREN BERNARD-EDMUNDS            1957 SC Hwy 101                                                       Greer            SC           29651
    Hydradyne LLC                                                          1957 SC Hwy 101                                                       Greer            SC           29651
    Hydradyne LLC                                                          Carolina Fluid Air                    P.O Box 974799                  Dallas           TX           75397

    Hydraulic & Pneumatics Sales, Inc.      JODY CLONINGER                 ATTN Accounts Receivable              P. O. Box 410587                Charlotte        NC           28241
    Hydraulic & Pneumatics Sales, Inc.                                     P. O. Box 410587                                                      Charlotte        NC           28241
    Hydraulic Controls Inc.                 Leslie Guzman                  PO Box 8157                                                           Emeryville       CA           94662
    Hydraulic Controls Inc.                                                PO Box 8157                                                           Emeryville       CA           94662
    Hydraulic Fittings, Inc                 DBA HFI Fluid Power Products   1210 Washington Ave                                                   Racine           WI           53403
    Hydraulic Fittings, Inc HFI Fluid Power
    Products                                                               1210 Washington Ave                                                   Racine           WI           53403
    Hydro Engineering                                                      865 W 2600 So                                                         Salt Lake City   UT           84119
    Hydrogenics Corporation                                                220 Admiral Blvd.                                                     Mississauga      ON           L5T 2N6       Canada
    HYG Financial Services, Inc.                                           PO Box 14545                                                          Des Moines       IA           50306-3545
    HYG Financial Services, Inc.                                           800 Walnut St                                                         Des Moines       IA           50309-3605
    HYG Financial Services, Inc.                                           5000 Riverside Dr., Suite 300 East                                    Irving           TX           75039-4314
    Hyman, Catherine                                                       Address Redacted
    HyperSurf Internet Services Inc.                                       1929 Concourse Dr.                                                    San Jose         CA           95131
    Hysen, Dora                                                            Address Redacted
    I & A Engineering                       Iradj Rahnama                  1610 Blossom Hill Rd.                 Suite 6A                        San Jose         CA           95124
    I.C. Ink Image Co., Inc.                DBA Harbor Signs               DBA Harbor Signs                      PO Box 4487                     Stockton         CA           95204
    I/O Controls                            GABRIEL LOPEZ-BERNAL           1357 W. Foothill Blvd.                                                Azusa            CA           91702
    I/O Controls                            Jerry Lin                      1357 W. Foothill Blvd.                                                Azusa            CA           91702
    I/O Controls                            MICHELLE UPTON                 1357 W. Foothill Blvd.                                                Azusa            CA           91702
    I/O Controls                                                           1357 W. Foothill Blvd.                                                Azusa            CA           91702
    I2SE GmbH                                                              Friedrich - Ebert - Str. 61,                                          Leipzig                       4109          Germany




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    Iav Automotive Engineering                                            15620 Technology Drive                                                      Northville      MI           48168
    iba America, LLC                                                      370 Winkler Dr                           Suite C                            Alpharetta      GA           30004
    Ibanez, Marcos                                                        Address Redacted
    Ibis Hannover City                                                    Vahrenwalder Str. 113                                                       Hannover                     30165         Germany
    Ice Components, Inc.                                                  1165 Allgood Road                        Suite #20                          Marietta        GA           30062
    Ickes Jr., Lloyd                                                      Address Redacted
    ICOMERA U.S., Inc.               Andrea Agreda                        9210 Corporate Blvd.                     Suite 100                          Rockville       MD           20850
    ICOMERA U.S., Inc.               GABRIEL LOPEZ-BERNAL                 9210 Corporate Blvd.                     Suite 100                          Rockville       MD           20850
    ICOMERA U.S., Inc.               VAN JOHNSON                          9210 Corporate Blvd.                     Suite 100                          Rockville       MD           20850
    ICOMERA U.S., Inc.                                                    9210 Corporate Blvd.                     Suite 100                          Rockville       MD           20850
    ICS Inc.                                                              217 Donaldson Rd                                                            Greenville      SC           29605
    ID Wholesaler                    Mark Nusbaum                         1501 NW 163rd St                                                            Miami           FL           33169
    ID Wholesaler                                                         5830 NW 163rd Street                                                        Miami Lakes     FL           33014
    ID Wholesaler                                                         1501 NW 163rd St                                                            Miami           FL           33169
    ID Wholesaler                                                         PO Box 95265                                                                Chicago         IL           60694
    Idaho State Tax Commission       Attn Compliance Division             PO Box 36                                                                   Boise           ID           83722-0036
    Idaho State Tax Commission       Unclaimed Property Program           304 N 8th St. Suite 208                                                     Boise           ID           83702-5834
    Idaho State Tax Commission                                            PO Box 76                                                                   Boise           ID           83707-0076
    Idaho State Tax Commission                                            11321 W Chinden Blvd Bldg 2                                                 Boise           ID           83714
    Ideal Products, Inc.                                                  PO Box 4090                                                                 Ontario         CA           91761
    Ideal Prototypes, Inc.                                                2216 Page Road                           Suite 102                          Durham          NC           27703
    IDEX Global Services                                                  505 Montgomery Street                    Suite 1250                         San Francisco   CA           94111
    Iduate, Daniel                                                        Address Redacted
    IES Synergy, Inc.                                                     330 E. Maple Rd                          Suite U                            Troy            MI           48083
    IEWC CORP.                       Charlie Medlen                       Dept CH - Box 17084                                                         Palatine        IL           60055-7084
    IEWC CORP.                       Jason Bower                          Dept CH - Box 17084                                                         Palatine        IL           60055-7084
    IEWC CORP.                       Keri Brylow                          Dept CH - Box 17084                                                         Palatine        IL           60055-7084
    IEWC CORP.                                                            Dept CH - Box 17084                                                         Palatine        IL           60055-7084
    Ignacio J. Ciocchini             DBA True Eye Design LLC              Address Redacted
                                                                                                                                                      East
    Igus Bearings, Inc.              DBA Igus, Inc.                       P.O. Box 14349                                                              Providence      RI           02914
    Iizaki, Geoffrey                                                      Address Redacted

                                                                                                                   Jiangbei Investment
    IKD Co., Ltd                                                          588 Jinshan Road                         Pioneering Park                    Ningbo                       315033        China
    Ikenberry, Devin                                                      Address Redacted
    Ikonix USA LLC                   INSIDE SALES Lindsay Baker           28105 N. Keith Drive                                                        Lake Forest     IL           60045
    ILI Infodisk, Inc                SAI Global Standards                 205 W Wacker Dr.                         Suite 1800                         Chicago         IL           60606
    Illinois Department of Revenue                                        State of IL                                                                 Springfield     IL           62726-0001
    Illinois Dept of Revenue         Bankruptcy Unit                      PO Box 19035                                                                Springfield     IL           62794-9035
    Illinois Public Transportation
    Association                                                           928 S. Spring St.                                                           Springfield     IL           62704
    Illinois Secretary of State      Jesse White                          213 State Capitol                                                           Springfield     IL           62756
    Illinois Secretary of State                                           213 State Capitol                                                           Springfield     IL           62756
    Illinois State Treasurer                                              555 W. Monroe Street, 14th Floor                                            Chicago         IL           60661
    Imagi Outdoor                    Natacha Quesnel                      9436, Du Golf Blv.                                                          Montreal        QC           H1J 3A1       Canada
    Imanami Corporation              Juliet Beacham                       2301 Armstrong Street, Suite 211                                            Livermore       CA           94551
    Imeco Cables America Inc.                                             5650 Kieran                                                                 St Laurent      QC           H4S 2B5       Canada
    Imeco Cables America Inc.                                             33 Gus Lapham Ln                                                            Plattsburgh     NY           12901
    Immedion LLC                                                          78 Global Drive                          Suite 100                          Greenville      SC           29607
                                     DBA Indiana Mills & Manufacturing,
    IMMI Holdings, Inc.              Inc.                                 18881 IMMI Way                                                              Westfield       IN           46074




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    IMMI Vehicle Improvement Products,
    Inc.                                  Legal Department                18881 IMMI Way                                                                Westfield      IN           46074
    Impact Business Coaches                                               4855 Walnut Grove                      Suite 101                              Johns Creek    GA           30022
    Impak Corporation                                                     13700 S Broadway                                                              Los Angeles    CA           90061
    Impakt Holdings, LLC                  DBA DMP                         1655 Rollins Road                                                             Burlingame     CA           94010
    In, Mycahjane                                                         Address Redacted
                                                                                                                                                        Pembroke
    Inceptra                                                              2020 N W 150th Avenue                  Suite 300                              Pines          FL           33028
    Inceptra                                                              1900 N Commerce Pkwy                                                          Weston         FL           33326
    InCharge Energy, Inc.                                                 1433 5th Street                                                               Santa Monica   CA           90401
    Indeed, Inc                                                           Mail Code 5160                         PO Box 660367                          Dallas         TX           75266-0367
    Indexx, Inc.                                                          303 Haywood Rd                                                                Greenville     SC           29607

                                                                                                                 505 Eagleview
    Indian Harbor Insurance Company       AXA XL Professional Insurance   Kimberly Bongiorno                     Boulevard, Suite 100     PO Box 636    Exton          PA           19341-0636
    Indian Head Industries, Inc.          DBA MGM Brakes                  6200 Harris Technology Blvd.                                                  Charlotte      NC           28269
                                                                                                                 6200 Harris Technology
    Indian Head Industries, Inc.          DBA MGM Brakes                  DBA MGM Brakes                         Blvd.                                  Charlotte      NC           28269
    Indian Head Industries, Inc.          DBA MGM Brakes                  229 PARK AVENUE                                                               MURPHY         NC           28906
    Indian Head Tool & Cutter Grinding,
    Inc.                                                                  802 Walnut St                          PO Box 1094                            Waterford      PA           16441
    Indiana Attorney Generals Office      Unclaimed Property Division     PO Box 2504                                                                   Greenwood      IN           46142
    Indiana Department of Revenue                                         100 N Senate Ave                                                              Indianapolis   IN           46204
    Indiana Dept of Revenue               Bankruptcy Section              100 North Senate Avenue, MS 108                                               Indianapolis   IN           46204
    Indicate Technologies Inc                                             2065 Martin Ave, Ste 103                                                      Santa Clara    CA           95050
    Indoff Incorporated                                                   11816 Lackland RD                                                             St Louis       MO           63146
    Inductive Automation, LLC                                             340 Palladio Parkway                   Suite 540                              Folsom         CA           95630
    Inductive Automation, LLC                                             PO Box 2030                                                                   Folsom         CA           95763
    Industrial Diecast Design, LLC                                        125 NW 13th Street                     Suite B7                               Boca Raton     FL           33432
    Industrial Fabricators, Inc.          Chris Barnes                    4328 South York Hwy                                                           Gastonia       NC           28052
    Industrial Fabricators, Inc.          Claudia Chaires                 4328 South York Hwy                                                           Gastonia       NC           28052
    Industrial Fabricators, Inc.          DEBBIE TAYLOR                   4328 South York Hwy                                                           Gastonia       NC           28052
    Industrial Fabricators, Inc.                                          4328 South York Hwy                                                           Gastonia       NC           28052
    Industrial Gas Springs Inc            Karen Lukasiewicz               370 W Dussel Dr Ste A                                                         Maumee         OH           43537-1604
    Industrial Gas Springs Inc                                            370 W Dussel Dr Ste A                                                         Maumee         OH           43537-1604
    Industrial Handling Solutions LLC     JOHN FORD                       1619 Montford Dr.                                                             Charlotte      NC           28209
    Industrial Handling Solutions LLC     TOM CURRIER                     1619 Montford Dr.                                                             Charlotte      NC           28209
    Industrial Handling Solutions LLC                                     1619 Montford Dr.                                                             Charlotte      NC           28209
    Industrial Rubber Supply USA Inc      Kevin Magalas                   630 9th Street NW, Building 1                                                 West Fargo     ND           58078
    Industrial Rubber Supply USA Inc.     ACCTS REC Nguyen Nguyen         630 9th Street NW, Bldg 1                                                     West Fargo     ND           58078
                                          CAULK/KIT/FLOORING
    Industrial Rubber Supply USA Inc.     CAULK/KIT/FLOORING              630 9th Street NW, Bldg 1                                                     West Fargo     ND           58078
    Industrial Rubber Supply USA Inc.     Kathy Slater                    630 9th Street NW, Bldg 1                                                     West Fargo     ND           58078
    Industrial Rubber Supply USA Inc.                                     55 Dunlop Ave                                                                 Winnipeg       MB           R2X 2V2       Canada
    Industrial Rubber Supply USA Inc.                                     630 9th Street NW, Bldg 1                                                     West Fargo     ND           58078
    Industrial Safety Shoe Company                                        1421 E. First St.                                                             Santa Ana      CA           92701
    Industrial Service Group, LLC                                         7645 Brookside Street                                                         Spartanburg    SC           29303
    Industrial Supply Solutions, Inc                                      PO Box 844601                                                                 Boston         MA           02284-4601
    Industrial Supply Solutions, Inc                                      804 Julian Road                                                               Salisbury      NC           28147
    Industrialex                                                          6250 Joyce Dr.                                                                Arvada         CO           80403
    Industrystar Solutions LLC                                            300 East Liberty St.                                                          Ann Arbor      MI           48104
    Indy Wiring Services, LLC                                             3800 N State Road 267                  Suite E                                Brownsburg     IN           46112




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    Ineo Systrans USA                          Equans                        8601-Dunwoody Place                        Suite 115                             Sandy Springs   GA           30350
    Infinita Lab Inc.                                                        15060 Sperry Ln                                                                  Saratoga        CA           95070

    Infinite Electronics International, Inc.   formerly L-COM                PO Box 55758                                                                     Boston          MA           02205

    Infinite Electronics International, Inc.   formerly L-COM                Infinite Electronics International, Inc.   Dept LA 24787                         Pasadena        CA           91185-4787

    Infinite Electronics International, Inc.   formerly L-COM                17792 Fitch                                                                      Irvine          CA           92614
    INFODEV                                    CHARLES ROUTIER               1995 Frank Carrel                          Suite 202                             Quebec          QC           G1N 4H9       Canada
    INFODEV                                    MADELEINE BONNEVILLE          1995 Frank Carrel                          Suite 202                             Quebec          QC           G1N 4H9       Canada
    INFODEV                                    SHEILA PARADIS                1995 Frank Carrel                          Suite 202                             Quebec          QC           G1N 4H9       Canada
    INFODEV                                                                  1995 Frank Carrel                          Suite 202                             Quebec          QC           G1N 4H9       Canada

                                                                                                                        3rd Cross, Electronic
    Infosys Limited                                                          Plot No. 44/97 A                           City, Hosur Road                      Benguluru                    560 100       India
    Info-Tech Research Group Inc.                                            3960 Howard Hughes Pkwy                    Ste 500                               Las Vegas       NV           89169
    InfraStrategies LLC                        Wendy Mendez                  18100 Von Karman Ave, Ste 850                                                    Irvine          CA           92648
    Ingber, Kyle                                                             Address Redacted
    Ingenio Engineering LLC                                                  5920 Old Sawmill Road                                                            Fairfax         VA           22030
    Ingersoll-Rand Industrial U.S., Inc.                                     800-A Beaty Street                                                               Davidson        NC           28036
    Ingram, Jonathan                                                         Address Redacted
    INGUN USA, Inc.                                                          252 Latitude Ln.                           Suite 105 & 106                       Lake Wylie      SC           29710
                                                                                                                                                                                                         United
    Inigo Insurance                            Lloyds Syndicate 1301         7th Floor, 1 Creechurch Place                                                    London                       EC3A 5AY      Kingdom

    INIT Innovations In Transportation Inc. DAN BURS                         424 Network Station                                                              Chesapeake      VA           23320

    INIT Innovations In Transportation Inc. EVELYN RUNGE                     424 Network Station                                                              Chesapeake      VA           23320

    INIT Innovations In Transportation Inc. LEE NOBLES                       424 Network Station                                                              Chesapeake      VA           23320

    INIT Innovations In Transportation Inc.                                  424 Network Station                                                              Chesapeake      VA           23320
    Inland Marine Industries, Inc.                                           3245 Depot Rd.                                                                   Hayward         CA           94545
    Inland Metal Technologies               JESSICA DICKINSON                3245 Dport Road                                                                  Hayward         CA           94545
    Inland Powder Coating Corporation                                        PO Box 3427                                                                      Ontario         CA           91761
    Inmotion US LLC                                                          3157 State Street                                                                Blacksburg      VA           24060
    Innes, Roger                                                             Address Redacted
    Innoairvation, Inc.                                                      270 Storey Drive                           P.O. Box 365                          Waverly Hall    GA           31831
    Innominds Software Inc                  Pradeep Lakkaraju                2055 Junction Ave, Suite 122                                                     San Jose        CA           95131
    Innovative Manufacturing & Design
    LLC                                     Jennifer Kapustka                1528 Roper Mountain Road                                                         Greenville      SC           29615
    InnovMetric Software Inc.                                                2014 Cyrille-Duquest                       Suite 310                             Quebec City     QC           G1N 4N6       Canada
    Insight Direct USA, Inc.                                                 PO Box 731069                                                                    Dallas          TX           75373
    Insight Direct USA, Inc.                                                 6820 South Harl Avenue                                                           Tempe           AZ           85283
    Insight Financial Staffing & Search
    Group, LLC                              Dan Schutt                       48 Parkway Commons Way                                                           Greer           SC           29650
    Insight Global, LLC                     Hannah Schippers                 4170 Ashford Dunwoody Rd NE                Suite 250                             Atlanta         GA           30319
    Insight Global, LLC                                                      4170 Ashford Dunwoody Rd NE                Suite 250                             Atlanta         GA           30319
    Inspired Solutions International        MVSCS                            DBA MVSCS                                  6668 9 HWY                            Selkirk         MB           R1A 4G2       Canada

    Instaclustr Pty Limited                                                  LPO Box 5027                               University of Canberra                Bruce                        2627          Australia
    InstaLAN Systems, Inc.                                                   4630 Kane Court                                                                  Fremont         CA           94538




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    Institute for Process Excellence                                             3700 Quebec Street                     Suite 100-103                      Denver          CO           80207
    Institute for Process Excellence                                             2870 N Bryant Street                                                      Denver          CO           80211
    Institute of Configuration
    Management, Inc.                      Institute for Process Excellece        2870 Bryant Street                                                        Denver          CO           80211
                                                                                                                                                           South
    Instrumart LLC                                                               35 Green Mountain Drive                                                   Burlington      VT           05403
    Intact Insurance Company                                                     1725 Windward Concourse No 210                                            Alpharetta      GA           30005
    Intact Insurance Company                                                     605 Highway 169 N                                                         Plymouth        MN           55441
    Intact Insurance Group USA LLC          Gavin Russell                        605 Highway 169 N                                                         Plymouth        MN           55441
    in-tech smart charging GmbH                                                  Friedrich List Platz 2                                                    Leipzig                      4103          Germany
    Integrated Manufacturing and Supply,
    Inc.                                                                         620 Orvis Ave                                                             San Jose        CA           95112
    Integration Partners                    Chris Kolb                           12 Hartwell Ave                                                           Lexington       MA           02421
    Intellic Integration LLC                                                     2081 Hutton Drive                      Suite 103                          Carrolton       TX           75006
                                            Casey Clugston Intellitec Products
    Intellitec Products LLC                 LLC                                  1485 Jacobs Rd                                                            Deland          FL           32724
    Intellitec Products LLC                                                      PO Box 775608                                                             Chicago         IL           60677-5608
    Intepro Systems America, LP                                                  14712-A Franklin Avenue                                                   Tustin          CA           92780
    Interface, Inc.                         Mark Amatuzzo                        7401 E Butherus Drive                                                     Scottsdale      AZ           85260
    Interface, Inc.                         Melissa Cowan                        7401 E Butherus Drive                                                     Scottsdale      AZ           85260
    Interface, Inc.                                                              7401 E Butherus Drive                                                     Scottsdale      AZ           85260
    Interiano, Joseph                                                            Address Redacted
    Interior Plantscapes, LLC                                                    51 Plant Drive Ext.                                                       Greenville      SC           29607
    Interior Plantscapes, LLC                                                    PO Box 217                                                                Mauldin         SC           29662
    Internal Revenue Service                Attn Susanne Larson                  31 Hopkins Plz Rm 1150                                                    Baltimore       MD           21201
    Internal Revenue Service                Centralized Insolvency Operation     PO Box 7346                                                               Philadelphia    PA           19101-7346
    Internal Revenue Service                Centralized Insolvency Operation     2970 Market St                                                            Philadelphia    PA           19104
    International Bond & Marine
    Brokerage, LTD.                                                              2 Hudson Pl 4th Floor                                                     HOBOKEN         NJ           07030
    International Freight Services Inc.                                          1610 Rollins Rd                                                           Burlingame      CA           94010
    International Organization for
    Standardization (ISO)                                                        Chemin de Blandonnet 8                 CP 401              1214 Vernier   Geneva                       CP 401        Switzerland
    International Parking and Mobility
    Institute                                                                    PO Box 3787                                                               Fredericksburg VA            22402
    International Port Manage               IPME CORP                            19523 S. Susana Rd.                                                       COMPTON        CA            90221
    International Transportation Innovation
    Center                                  dba ITIC                             2 Exchange Street                                                         Greenville      SC           29605
    International Transportation Innovation
    Center (ITIC)                           SC Technology and Aviation Center    Jody Bryson                            2 Exchange Street                  Greenville      SC           29605
    Interphase Electric                                                          79 Rocklyn Avenue                                                         Lynbrook        NY           11563
                                                                                                                                                                                                      United
    InterRegs Ltd                                                                21-23 East Street                                                         Fareham,        Hampshire    PO16 0BZ      Kingdom
    Intertek Testing Service NA, Inc                                             PO Box 405176                                                             Atlanta         GA           30384
    InterVision Systems LLC               Danielle Frankina                      2270 Martin Ave                                                           Santa Clara     CA           95050
    InterVision Systems LLC               Mark McEnroe                           2270 Martin Ave                                                           Santa Clara     CA           95050
    InterVision Systems LLC                                                      2270 Martin Ave                                                           Santa Clara     CA           95050
    Interwest Consulting Group Inc.                                              PO Box 18330                                                              Boulder         CO           80308
    Interwest Consulting Group Inc.                                              9300 W Stockton Blvd, #105                                                Elk Grove       CA           95758
    InterWorks, Inc.                                                             1425 S Sangre Road                                                        Stillwater      OK           74074
    Intrado Digital Media, LLC                                                   PO Box 74007143                                                           Chicago         IL           60674
    Intrado Digital Media, LLC                                                   11808 Miracle Hills Drive                                                 Omaha           NE           68154
    Intralinks, Inc.                                                             101 California Street                                                     San Francisco   CA           94111




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    Intuilab Inc.                                                             211 West Wacker Drive                   3rd Floor                                Chicago       IL           60606

    INVENTORY PCARD PURCHASES                                                 1 Whitlee Ct                                                                     Greenville    SC           29607
    Invio Automation, Inc.                                                    16185 National Parkway                                                           Lansing       MI           48906
    IoTecha Corp                              Brenda LiBrizzi                 220 Old New Brunswick Rd                Suite 202                                Piscataway    NJ           08854
    IoTecha Corp                              Jacque Kirila                   220 Old New Brunswick Rd                Suite 202                                Piscataway    NJ           08854
    IoTecha Corp                              Maura McCarthy                  220 Old New Brunswick Rd                Suite 202                                Piscataway    NJ           08854
    IoTecha Corp                                                              2555 Route 130                          Suite 2                                  Cranbury      NJ           08512
    IoTecha Corp                                                              220 Old New Brunswick Rd                Suite 202                                Piscataway    NJ           08854
    Iowa Department of Revenue                                                Hoover State Office Building            1305 E Walnut                            Des Moines    IA           50319
    Iowa Dept of Revenue and Finance          Attn Bankruptcy Unit            PO Box 10330                                                                     Des Moines    IA           50306-0330

    Iowa Office of the State Treasurer        Great Iowa Treasure Hunt        Lucas State Office Building             321 E 12th St., 1st Floor                Des Moines    IA           50319
    Iowa Public Transit Association                                           400 East Court Avenue                   Suite 126                                Des Moines    IA           50309
    IPG Photonics Company                                                     8900 Harrison Street                                                             Davenport     IA           52806
    Ipswitch, Inc.                                                            PO Box 3726                                                                      New York      NY           10008-3726
    IRI Consultants, Inc.                                                     3290 W Big Beaver Rd                    Suite 142                                Troy          MI           48084
    Iris Infrared & Intelligent Sensors NA.
    Inc                                       Dina Stegall                    34 Peachtree St. NW                     Suite 2610                               Atlanta       GA           30303
    Iris Infrared & Intelligent Sensors NA.
    Inc                                       Kahiha Nguvi                    34 Peachtree St. NW                     Suite 2610                               Atlanta       GA           30303
    Iris Infrared & Intelligent Sensors NA.
    Inc                                       Primary Contact - Orders Iris   34 Peachtree St. NW                     Suite 2610                               Atlanta       GA           30303
    Iris Infrared & Intelligent Sensors NA.
    Inc                                                                       1575 Northside Drive NW, Suite 330                                               Atlanta       GA           30318
    Iron Mountain                                                             1 Federal Street                                                                 Boston        MA           02110
    Iron Mountain                                                             Storage Service                         PO 27128                                 New York      NY           10087-7128
    Iron Mountain                                                             PO 27128                                                                         New York      NY           10087-7128
    Iron Mountain                                                             P. O. Box 27129                                                                  New York      NY           10087-7129
    Iron Mountain                                                             PO Box 915004                                                                    Dallas        TX           75391-5004

    Ironshore Indemnity Inc.           Liberty Mutual Insurance               Michelle Mongiello                      28 Liberty Street, 5th Fl                New York      NY           10005
    Irving, Kelly                                                             Address Redacted
    Isaac E. Pritzker                                                         Address Redacted
    Isabellenhuette Heusler GmbH & Co.
    KG                                 Joanne Oliveira                        d/b/a Isotek Corporation                1199 GAR Highway                         Swansea       MA           02777
    Isabellenhuette Heusler GmbH & Co.
    KG                                 Matthias Hilpert                       d/b/a Isotek Corporation                1199 GAR Highway                         Swansea       MA           02777
    Isabellenhuette Heusler GmbH & Co.
    KG                                                                        Eibacher Weg 3-5                                                                 Dillenburg                 35683         Germany
    Isabellenhuette Heusler GmbH & Co.
    KG                                                                        1199 GAR Highway                                                                 Swansea       MA           02777
    Isabellenhutte USA                                                        1199 G.A.R. Highway                                                              Swansea       MA           02777
    Islas Soto, Cesar                                                         Address Redacted
                                       Integrated Systems REsearch ISR
    ISR Transit USA Inc                Transit USA Inc                        715 South, 21st Avenue                  Suite 1                                  Hollywood     FL           33020
    Istate Truck, Inc.                 DBA I-State Truck Center               2901 East 78th Street                                                            Minneapolis   MN           55425-1501
    Istate Truck, Inc.                 DBA I-State Truck Center               NW7246                                  PO Box 1450                              Minneapolis   MN           55485
    Italian American Corporation       April Yohn                             1515 Alvarado Street                                                             San Leandro   CA           94577
    Italian American Corporation       Franz Schmechtig                       1515 Alvarado Street                                                             San Leandro   CA           94577
    Italian American Corporation       Veronica Batezone                      1515 Alvarado Street                                                             San Leandro   CA           94577
    Italian American Corporation                                              1515 Alvarado Street                                                             San Leandro   CA           94577




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    item America, LLC dba item
    Southeast                                                          102 Bucklevel Road                                                        Greenwood        SC           29649
    Itin Scale CO., Inc.                                               4802 Glenwood Road                                                        Brooklyn         NY           11234
    ITR LLC                           DBA All City Tow Service         1015 S Bethany                                                            Kansas City      KS           66105
    Iwahashi, Gregory                                                  Address Redacted
    J and B Tool Sales                                                 31720 Plymouth Road                                                       Livonia          MI           48150
    J F Industries Inc                BPG, Inc.                        513 Hrosham Road                                                          Horsham          PA           19044

    J F Industries Inc                BPG, Inc.                        Brandon Products Group                440 Industrial Drive                North Wales      PA           19454
    J F Industries Inc                CHAD SINON                       513 Hrosham Road                                                          Horsham          PA           19044
    J F Industries Inc                JEREMY FIELDER                   513 Hrosham Road                                                          Horsham          PA           19044
    J F Industries Inc                                                 PO Box 854                                                                Horsham          PA           19044
    J Ranck Electric, Inc.                                             1993 Gover Parkway                                                        Mt. Pleasant     MI           48858
    J Rillan Daniel Dasalla           JRD Films                        Address Redacted
    J. B. Hunt Transport, Inc.                                         PO Box 98545                                                              Chicago          IL           60693
    J. B. Hunt Transport, Inc.                                         615 JB Hunt Corporate Dr                                                  Lowell           AR           72745
                                      Joele Frank, Wilkinson Brimmer
    J. Frank Associates, LLC          Katcher                          622 Third Avenue                      36th Floor                          New York         NY           10017
    J. J. Keller & Associates, Inc.   Cindy Hull                       3003 Breezewood Lane                  PO Box 368                          Neenah           WI           54957-0368
    J. J. Keller & Associates, Inc.   Emily Charles                    3003 Breezewood Lane                  PO Box 368                          Neenah           WI           54957-0368
    J. J. Keller & Associates, Inc.   Vicky Klassen                    3003 Breezewood Lane                  PO Box 368                          Neenah           WI           54957-0368
    J. J. Keller & Associates, Inc.                                    PO Box 6609                                                               Carol Stream     IL           60197-6609

    J.I.T. Manufacturing                                               PO Box 1017                           428 Oglesby Lane                    Cowpens          SC           29330
    J.P. Morgan Securities LLC                                         270 Park Avenue                                                           New York         NY           10017

    J.V. Currie Associates, Inc.      DBA Currie Associates            DBA Currie Associates                 10 Hunter Brook Lane                Queensbury       NY           12804
    J.W. Koehler Electric, Inc.       Mike Reckman                     2716 W Central Park Ave                                                   Davenport        IA           52804
    J.W. Koehler Electric, Inc.       Robin Rollins                    2716 W Central Park Ave                                                   Davenport        IA           52804
                                                                                                             6922 Hollywood Blvd
    J2 Cloud Services LLC             eFax Corporate                   DBA eFax Corporate                    Suite 500                           Los Angeles      CA           90028
    J2 Cloud Services LLC                                              700 S Flower St FL 15                                                     Los Angeles      CA           90017-4101

    J3 Industries                                                      2831 E El Dorado Pkwy                 Suite 103 PMB-165                   Frisco           TX           75034
    J-8 Equipment Company, Inc                                         PO Box 40402                                                              Denver           CO           80204-0402
    Jackie Allen                      Cupio                            Address Redacted
    Jackson Group Peterbilt           DBA St George Peterbilt, Inc.    PO Box 276734                                                             Salt Lake City   UT           84127
    Jackson Group Peterbilt           DBA St George Peterbilt, Inc.    203 E Playa Della Rosita                                                  Washington       UT           84780
    Jackson II, Richard                                                Address Redacted
    Jackson, Demecia                                                   Address Redacted
    Jackson, Kanye                                                     Address Redacted
    Jackson, Kenneth                                                   Address Redacted
    Jackson, Olando                                                    Address Redacted
    Jackson, Phillip                                                   Address Redacted
    Jackson, Romero                                                    Address Redacted
    Jackson, Sheila                                                    Address Redacted
    Jade Global, Inc.                 Sarnjit Sadhra                   1731 Technology Drive                 Suite 350                           San Jose         CA           95110
    Jadhav, Aditya                                                     Address Redacted
    Jagadale, Pankaj                                                   Address Redacted
    JagCo Global                                                       3133 W Frye Rd                                                            Chandler         AZ           85226
                                                                                                             6541 Franz Warner
    JAK                               J.A. King                        DBA J.A. King                         Parkway                             Whitsett         NC           27377




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    JAK                                   J.A. King                        6541 Franz Warner Parkway                                                           Whitsett        NC           27377
    JAK                                   J.A. King                        PO Box 746284                                                                       Atlanta         GA           30374
    Jama Software Inc.                    Neil Bjorklund                   135 SW Taylor, Suite 200                                                            Portland        OR           97204
    James Bevan                                                            Address Redacted
    James G. Huffman                      Huffmans Welding Works           Address Redacted
    James Schwaba                                                          Address Redacted
    James Z. Wu                           DBA Envision Productions, Inc.   Address Redacted
    James, Corey                                                           Address Redacted
    James, Michael                                                         Address Redacted
    James, Ryan                                                            Address Redacted
    JAMS, Inc.                            Lynne Hart                       PO Box 845402                                                                       Los Angeles     CA           90084
    Janesville Tool & Mfg, Inc.                                            3930 Enterprise Drive                                                               Janesville      WI           53546
    Janette M. Hunter                     Global Innovations USA           Address Redacted
    Jani, Jainil                                                           Address Redacted
    Janicki Industries, Inc.                                               1476 Moore Street                                                                   Sedro Woolley   WA           98284
    Janieka L. Pearson                                                     Address Redacted
                                                                                                                                                               South San
    Jan-Pro of San Francisco                                               61 Airport Blvd.                      Suite B                                       Francisco       CA           94080
    Jared Leninger                        On The Road Graphics LLC         Address Redacted
    Jarnagin, Jordan                                                       Address Redacted
    Jason Mucciocoli                                                       Address Redacted
    Jayasinghe, Raveen                                                     Address Redacted

    JCB Squared LLC                       DBA Crown Trophy                 JCB Squared LLC                       92 Orchard Park Drive                         Greenville      SC           29615
    Jean Martin Inc                                                        260 Madison Ave, Suite - 8060                                                       New York        NY           10016
    Jefferson Reed                                                         Address Redacted
    Jeffrey A. Sobul                      DBA Cobalt Creative              Address Redacted
    Jemby Electric Inc.                   CEO/OWNER Benjie Craig           4468 Technology Dr.                                                                 Fremont         CA           94538
    Jemby Electric Inc.                                                    4468 Technology Dr.                                                                 Fremont         CA           94538
    Jenkins, Dameale                                                       Address Redacted
    Jenkins, Robert                                                        Address Redacted
    Jenkins, Ty                                                            Address Redacted
    Jennifer Claire McConnell                                              Address Redacted
    Jennifer M. Granholm                                                   Address Redacted
    Jennings-Dill, Inc.                                                    33 Grand Avenue                                                                     Greenville      SC           29607

                                                                                                                 1160 Battery Street East, Case No. 3 23-cv-
    Jeremey Villanueva v. Proterra Inc.   Adam M. Apton                    Levi & Korsinsky, LLP                 Ste. 100                  03519               San Francisco   CA           94111
    Jerkovic, Drazan                                                       Address Redacted
    Jeromy Brians                         DBA Rustworks                    Address Redacted
    Jerry Moreland Plumbing Inc.                                           339 El Camino Real                                                                  Millbrae        CA           94030
    Jesus Aucar                           DBA Kojak Wholesale              Address Redacted
    Jet Garage Inc                                                         17 Wroxeter Ave                                                                     Toronto         ON           M4K 1J5       Canada
    Jet Plastics                                                           941 N. Eastern Ave                                                                  Los Angeles     CA           90063
    Jiang, Jonathan                                                        Address Redacted
    Jimenez, Adriana                                                       Address Redacted
    Jimenez, Armando                                                       Address Redacted
    Jimenez, Osdal                                                         Address Redacted
    Jimmy Nguyen                                                           Address Redacted
    JL Rogers & Callcott Engineers, Inc                                    426 Fairforest Way                                                                  Greenville      SC           29607
    JLRG, Inc.                            DBA Precision Specialties        1158 Campbell Avenue                                                                San Jose        CA           95126




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    JM Burns Inc                            DBA Burns Truck and Trailer Services PO Box 239                                                               Ripon           CA           95366
    JMB Renewables, LLC                                                          2500 Summer St                           ste 1100                        Houston         TX           77007
    JMK, Inc.                                                                    15 Caldwell Drive                                                        Amherst         NH           03031
    JobSource North America, Inc.                                                PO Box 92                                                                Fullerton       CA           92832
    Joe Weldie                                                                   Address Redacted
    John B Roybal                           d/b/a Ace Vending Company            Address Redacted
    John Casey                                                                   Address Redacted
    John Copeland                           Applied Technologies                 Address Redacted

    John Deere Electronic Solutions, Inc.   Brian Ruud                            1441 44th Street N.                                                     Fargo           ND           58102

    John Deere Electronic Solutions, Inc.   Patty Mohamed                         1441 44th Street N.                                                     Fargo           ND           58102

    John Deere Electronic Solutions, Inc.   RMA RMA                               1441 44th Street N.                                                     Fargo           ND           58102

    John Deere Electronic Solutions, Inc.                                         1441 44th Street N.                                                     Fargo           ND           58102
    John Efird Company, Inc                                                       1012 NE Main Street                                                     Simpsonville    SC           29681
    John F. Erhard                                                                Address Redacted

    John Junker-Andersen                    RMG - Resource Management Group Address Redacted
    John Kill                                                               Address Redacted
    John Nystrom                                                            Address Redacted
    John Pearson Racing                                                     Address Redacted
    John, Nikhil                                                            Address Redacted
    Johnas, Heather                                                         Address Redacted
    Johnny Westmoreland                                                     Address Redacted

                                            Johnson Controls Security Solutions   dba Johnson Controls Security
    Johnson Controls US Holdings Inc.       (formerly Tyco Fire & Safety)         Solutions                               PO Box 371967                   Pittsburgh      PA           15250
    Johnson Welded Products, Inc.           BETSY JOHNSON                         625 South Edgewood Avenue                                               Urbana          OH           43078-0907
    Johnson Welded Products, Inc.           BILL JOHNSON                          625 South Edgewood Avenue                                               Urbana          OH           43078-0907
    Johnson Welded Products, Inc.           Kalie Purk                            625 South Edgewood Avenue                                               Urbana          OH           43078-0907
    Johnson Welded Products, Inc.                                                 625 South Edgewood Avenue                                               Urbana          OH           43078-0907
    Johnson, Bryan                                                                Address Redacted
    Johnson, Cynthia                                                              Address Redacted
    Johnson, Dylan                                                                Address Redacted
    Johnson, Geoffrey                                                             Address Redacted
    Johnson, James                                                                Address Redacted
    Johnson, Kathryn                                                              Address Redacted
    Johnson, Kevin                                                                Address Redacted
    Johnson, Kylan                                                                Address Redacted
    Johnson, Robert                                                               Address Redacted
    Johnson, Timothy                                                              Address Redacted
    Johnston, Scribner                                                            Address Redacted
    Jolley Towing & Recovery                                                      PO Box 161029                                                           Spartanburg     SC           29316
    Jolley, Billy                                                                 Address Redacted
    Jon Byk Advertising, Inc.               Tim Byk                               140 S Barrington Ave                                                    Los Angeles     CA           90049
    Jonathan Allen                                                                Address Redacted
    Jonathan Engineered Solutions           Amanda Childers                       410 Exchange                            Suite 200                       Irvine          CA           92602
    Jonathan Engineered Solutions           Kathy Kraft                           410 Exchange                            Suite 200                       Irvine          CA           92602
    Jonathan Engineered Solutions                                                 410 Exchange                            Suite 200                       Irvine          CA           92602




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    Jonathan S. Monat, Ph.D.                                           Address Redacted
    Jonathan Sargent                     DBA Sargent Pest Solutions    Address Redacted
    Jones Day                                                          Address Redacted
    Jones Jr., Larry                                                   Address Redacted
    Jones, Brennen                                                     Address Redacted
    Jones, Chad                                                        Address Redacted
    Jones, Dequanta                                                    Address Redacted
    Jones, Jeremy                                                      Address Redacted
    Jones, Justin                                                      Address Redacted
    Jones, Keke                                                        Address Redacted
    Jones, Perry                                                       Address Redacted
    Jones, Samad                                                       Address Redacted
    Jordan Mark Redd                                                   Address Redacted
    Jordan, Jesse                                                      Address Redacted
    Jordan, Tisha                                                      Address Redacted
    Jorge Campagnoli                                                   Address Redacted
    Jorge Davila                         Davilas Janitorial Services   Address Redacted
    Jorgensen, Brett                                                   Address Redacted
    Josan, Mayank                                                      Address Redacted
    Joseph Barbato Associates, LLC                                     6 Dickinson Drive                       Suite# 103                      Chadds Ford     PA           19317
    Joseph T. Ryerson & Son                                            Address Redacted
    Joseph, Eustachius                                                 Address Redacted
    Joshi, Ajinkya Pramod                                              Address Redacted
    Joshi, Avani                                                       Address Redacted
    Joshi, Gauri                                                       Address Redacted
    Joshi, Nachiket                                                    Address Redacted
    Joshua Kaipo Lucas                                                 Address Redacted
    Joyce, Gareth                                                      Address Redacted
    JP Electric and Son, Inc.            DBA Ruel Electric             667 Westminster Street                                                  Fitchburg       MA           01420
    JR Automation Technologies, LLC      Kassi Batty                   13365 Tyler Street                                                      Holland         MI           49424
    JR Automation Technologies, LLC                                    4190 Sunnyside Drive                                                    Holland         MI           49424
    JR Automation Technologies, LLC                                    13365 Tyler Street                                                      Holland         MI           49424

    JS International Shipping Corporation DBA JSI Logistics            1535 B Rollins Road                                                     Burlingame      CA           94010
    JSAC, LLC                                                          206 Stonecliff Way                                                      Spartanburg     SC           29301
    J-Tec Industries, Inc.                                             201 Carver Ln                                                           East Peoria     IL           61611
    Juarez, Freddy                                                     Address Redacted
    Judd Wire, Inc.                                                    124 Turnpike Road                                                       Turners Falls   MA           01376
    Judge, Thomas                                                      Address Redacted
    Julian, Bobby                                                      Address Redacted
    Juliana, Christopher                                               Address Redacted
                                                                                                                                               South San
    Junk King LLC                                                      389 Oyster Point Blvd.                  #6                              Francisco       CA           94080
    Junk Matters, LLC                                                  PO Box 5065                                                             Spartanburg     SC           29304
    Juranek, Ryan                                                      Address Redacted
    Justimbaste, Rey                                                   Address Redacted
    Kaeser Compressors, Inc                                            511 Sigman Drive                                                        Fredericksburg VA            22408
    Kalas Mfg, Inc.                                                    167 Greenfield Road                                                     Lancaster      PA            17601
    Kale, Maria                                                        Address Redacted
    Kalra, Shrey                                                       Address Redacted
    Kalyani Mistequay Drivelines LLC                                   1015 West Cedar Street                                                  Standish        MI           48658
    Kamal, Nora                                                        Address Redacted




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    Kamin Industries Inc.                                           2150 5th Avenue                                                          Ronkonkoma     NY           11779
                                                                                                                                             Elk Grove
    Kang Yang International           Target Tech Inc,              1600 Jarvis Ave                                                          Village        IL           60007
    Kang, Na Kyung                                                  Address Redacted
    Kansas Dept of Revenue            Scott State Office Building   120 SE 10th Avenue                                                       Topeka         KS           66612-1103
    Kansas Dept of Revenue                                          501 High St                                                              Frankfort      KY           40601
    Kansas State Treasurer            Unclaimed Property Division   900 SW Jackson Ste 201                                                   Topeka         KS           66612-1235
    Kantola Training Solutions, LLC                                 55 Sunnyside Ave                                                         Mill Valley    CA           94941
    Kar Bhowmik, Haimanti                                           Address Redacted
    Karhan, Turkiz                                                  Address Redacted
    Karounos, George                                                Address Redacted
    Karr, Ethan                                                     Address Redacted
    Karri, Suresh                                                   Address Redacted
    Karst Sports                                                    35 Rodeo Dr.                                                             Fairmont       WV           26554
    Kazantzis, William                                              Address Redacted
    KDB Printing Enterprises Inc.     DBA Minuteman Press           435 Wade Hampton Blvd.                                                   Greenville     SC           29609
    Kean, Raymond                                                   Address Redacted
    Keeney, Melissa                                                 Address Redacted
    Keeney, Nakia                                                   Address Redacted
    Keisler, Marissa                                                Address Redacted
    Keller Products                                                 PO Box 4105                          41 Union Street                     Manchester     NH           03108
    Keller USA, Inc.                                                2168 Carolina Place Drive                                                Fort Mill      SC           29708
    KELLER, PAUL                                                    Address Redacted
    Kelley Engineering, LLC           Matthew A. Kelley             709 Highway 17                                                           Piedmont       SC           29673
    Kemeera, Inc, DBA Fathom          DBA FATHOM                    3000F Danville Blvd #141                                                 Alamo          CA           94507
    Kemeera, Inc, DBA Fathom          DBA FATHOM                    620 3rd Street                                                           Oakland        CA           94607
    Kemme, William                                                  Address Redacted
    Kempower Oyj                                                    Address Redacted
    Kennedy Wall, Michael                                           Address Redacted
    Kennedy, Tyler                                                  Address Redacted
    Kenson Plastics Inc               Allen Dunlap                  620 West Beaver Street                                                   Zelienople     PA           16063
    Kenson Plastics Inc               Ashley Pratte                 620 West Beaver Street                                                   Zelienople     PA           16063
    Kenson Plastics Inc               Christina Starcher            620 West Beaver Street                                                   Zelienople     PA           16063
    Kenson Plastics Inc                                             2835 Darlington Road                                                     Beaver Falls   PA           15010
    Kentucky Child Support                                          P.O. Box 14059                                                           Lexington      KY           40512-4059
    Kentucky Clean Fuels Coalition                                  PO Box 5174                                                              Louisville     KY           40255
    Kentucky Department of Revenue                                  501 High St.                                                             Frankfort      KY           40601
    Kentucky Dept of Revenue                                        501 High St                                                              Frankfort      KY           40601
    Kentucky State Treasurer                                        State of KY                                                              Frankfort      KY           40620
                                                                    1050 US Highway 127 South, Suite
    Kentucky State Treasury           Unclaimed Property Division   100                                                                      Frankfort      KY           40601
    Keolis Transit Services, LLC      Bud Spear                     223 W Meadowview Road                                                    Greensboro     NC           27406

    Keolis Transit Services, LLC                                    Cost Center #415                     2050 Villanova Drive                Reno           NV           89502
    Keolis Transit Services, LLC                                    200 South East End Ave.                                                  Pomona         CA           97166
    Kepco, Inc.                                                     131-38 Sanford Avenue                                                    Flushing       NY           11355
    Keriazes, Kayla                                                 Address Redacted
                                                                                                                                                                                       United
    Keronite International ltd                                      1 Tudor Rose Court                   53 Hollands Road                    Haverhill                   CB9 8PJ       Kingdom
    Kerr, Heather                                                   Address Redacted
    Kershaw, Dejuan                                                 Address Redacted
    Kerwin Associates                                               1733 Woodside Road                   Suite 260                           Redwood        CA           94061




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    Kerwin Associates, LLC                                                 1733 Woodside Road, Suite 260                                          Redwood City     CA           94061
    Kesavan, Ramesh                                                        Address Redacted
    Kevin Whitaker Chevrolet, Inc.                                         PO Box 16029                                                           Greenville       SC           29607
    Keyence Corporation of America                                         669 River Drive                        Suite 403                       Elmwood Park     NJ           07407
    Keynote and Co.                                                        1614 Emerald River Drive                                               Katy             TX           77494
    Keysight Technologies, Inc.                                            1400 Fountaingrove Parkway                                             Santa Rosa       CA           95403
    Keystone National Group, LLC                                           60 E. South Temple                     Suite 2100                      Salt Lake City   UT           84111
    Kforce Inc                                                             1150 Assembly Dr., Ste. 500                                            Tampa            FL           33607
    KG Technologies Inc                                                    6028 State Farm Drive                                                  Rohnert Park     CA           94928
    Khammao, Bob                                                           Address Redacted
    Khatib, Amar                                                           Address Redacted
    Khatri, Gagan                                                          Address Redacted
    Khazaee, Javad                                                         Address Redacted
    Kidde Technologies, Inc.             ANISHA TAYLOR HARRIS              4200 Airport Dr., NW                                                   Wilson           NC           27896
    Kidde Technologies, Inc.             Christine Scaia                   4200 Airport Dr., NW                                                   Wilson           NC           27896
    Kidde Technologies, Inc.             JOHN LEWIS                        4200 Airport Dr., NW                                                   Wilson           NC           27896
    Kidde Technologies, Inc.                                               4200 Airport Dr., NW                                                   Wilson           NC           27896
    Kiel NA, LLC.                        Christine McDonald                3000 Saint Charles Rd                                                  Bellwood         IL           60104-1544
    Kiel NA, LLC.                        Don Makarius                      3000 Saint Charles Rd                                                  Bellwood         IL           60104-1544
    Kiel NA, LLC.                                                          3000 Saint Charles Rd                                                  Belwood          IL           60104-1544
    Kiel NA, LLC.                                                          3000 St. Charles Rd                                                    Bellwood         IL           60104-1544
    Kiesewetter, Patton                                                    Address Redacted

    Kilpatrick Townsend & Stockton LLP                                     607 14th Street, NW                    Suite 900                       Washington       DC           20005
    Kim, Claire                                                            Address Redacted
    Kimball Communications Inc           Brian Kimball                     245 Duncan Hill Road                                                   Hendersonville NC             28792
    Kimley-Horn and Associates, Inc.                                       PO Box 75557                                                           Baltimore      MD             21275-5557
    Kimley-Horn and Associates, Inc.                                       421 Fayetteville St, Suite 600                                         Raleigh        NC             27601
    Kinard, Theo                                                           Address Redacted
                                         DBA bioPURE Environmental
    Kinder Holdings LLC                  Services                          655H Fairview Rd, Suite 333                                            Simpsonville     SC           29680
    King County Metro                                                      12200 East Marginal Way So                                             Seattle          WA           98168
    King Kustom Kovers, Inc.             Dale Dameral                      22357 Mission Blvd                                                     Hayward          CA           94541
    Kingfisch LLC                        DBA Budget Blinds of Greenville   348 Feaster Rd, Suite A                                                Greenville       SC           29615
    Kinsbursky Brothers Inc.                                               125 East Commercial Street             Suite A                         Anaheim          CA           92801-1214
    Kintetsu World Express Inc.                                            One Jericho Plaza                      Suite 100                       Jericho          NY           11753
    Kirkland & Ellis LLP                                                   300 N Lasalle Dr                                                       Chicago          IL           60654
    Kirkpatrick, Geoffrey                                                  Address Redacted
    Kirksey, Curtis                                                        Address Redacted
    Kirlin, David                                                          Address Redacted
    Kissling Electrotec, Inc.                                              320A Business Parkway                                                  Greer            SC           29651-7114
    Kit, Petr                                                              Address Redacted
    Kit, Zoryana                                                           Address Redacted
    Kitsap County Transit                ACCTS PAYABLE Christine Nelson    60 Washington Ave, Suite 200                                           Bremerton        WA           98337
    Kitsap County Transit                Jeff Dimmem                       60 Washington Ave, Suite 200                                           Bremerton        WA           98337
    Kiwitz, Amanda                                                         Address Redacted
    KL2 Connects LLC                                                       15 Baird Lane                                                          Asheville        NC           28804
    Klumpp, Alex                                                           Address Redacted
    Knies, Joshua                                                          Address Redacted
    Knight Global                        Knght Industries & Associates     2705 Commerce Parkway                                                  Auburn Hills     MI           48326
    Knight, Jessie                                                         Address Redacted
    Knight, Kashunda                                                       Address Redacted




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    Knight, Walter                                                            Address Redacted
    Knipfing, Isaac                                                           Address Redacted
    Knockeart, James                                                          Address Redacted
    KnowBe4, Inc.                                                             33 N. Garden Avenue                     Suite 1200                            Clearwater      FL           33755
    Knowledge Key Associates, In. DBA
    Training Camp                        Training Camp                        6 Neshaminy Interplex                   Suite 101                             Trevose         PA           19053
    Knowles, Logan                                                            Address Redacted
    Ko Ko, Zin Phyo                                                           Address Redacted
    Ko, Yungunn                                                               Address Redacted

    Kobalt Industries, Inc.              Keith Klingerman                     d/b/a AR Industries                     1739 S Grove Avenue #B                Ontario         CA           91761

    Kobalt Industries, Inc.             Kim Salt                              d/b/a AR Industries                     1739 S Grove Avenue #B                Ontario         CA           91761
    Kober, Zachary                                                            Address Redacted
    Kolors by Keisler Auto Body & Heavy
    Truck Collision Repair, LLC         Lonnie Keisler                        5935 Edmund Highway                                                           Lexington       SC           29073
                                                                                                                                                            Santa Fe
    Konecranes, Inc.                                                          10310-2 Pioneer Blvd.                                                         Springs         CA           90670
    Kongsberg Power Products Systems I,
    LLC                                 ANGELA YOUNG                          300 South Cochran Street                                                      Willis          TX           77378
    Kongsberg Power Products Systems I,
    LLC                                 ANTHONY BUGAMELLI                     300 South Cochran Street                                                      Willis          TX           77378
    Kongsberg Power Products Systems I,
    LLC                                 CARLOS ROSAS                          300 South Cochran Street                                                      Willis          TX           77378
    Kongsberg Power Products Systems I,
    LLC                                                                       300 South Cochran Street                                                      Willis          TX           77378
    Kongsberg Power Products Systems I,
    LLC                                                                       PO Box 588                                                                    Willis          TX           77378-0588
    Koni NA, Inc                        Kay Shewnarain                        1961 A International Way                                                      Hebron          KY           41048
    Koni NA, Inc                                                              1961 A International Way                                                      Hebron          KY           41048
    Koni NA, Inc                                                              28556 Network Place                                                           Chicago         IL           60673-1285
    Koonce, Shaquinna                                                         Address Redacted
    Koops, Inc.                                                               987 Productions Ct.                                                           Holland         MI           49423
    Kopis LLC                                                                 411 University Ridge                    Suite 230                             Greenville      SC           29601
    Koprince McCall Pottroff LLC                                              901 Kentucky Street                     Suite 301                             Lawrence        KS           66044
    KORE1, LLC                                                                530 TECHNOLOGY DR. #150                                                       Irvine          CA           92618
    Kosmek USA Ltd                                                            650 Springer Drive                                                            Lombard         IL           60148
    Kotha, Saisindhu                                                          Address Redacted
    Kovalenko, John                                                           Address Redacted
    Kozan, Michael                                                            Address Redacted
                                        co Kleiner Perkins Caufield & Byers
    KPCB GGF Associates, LLC            LLC                                   2750 Sand Hill Road                                                           Menlo Park      CA           94025
                                        co Kleiner Perkins Caufield & Byers
    KPCB Green Growth Fund, LLC         LLC                                   2750 Sand Hill Road                                                           Menlo Park      CA           94025
    KPIT Technologies Inc.                                                    21333 Haggerty Road                     Suite 100                             Novi            MI           48375
    KPIT Technologies Inc.                                                    28001 Cabot Drive                       Suite 110                             Novi            MI           48377
    KPMG LLP                                                                  Dept 0613                               PO Box 120001                         Dallas          TX           75312-0613
    KPMG LLP                                                                  464 Monterey Ave, Suite E                                                     Los Angeles     CA           90040
    Krakauer, Mary Louise                                                     Address Redacted
    Krantz, Nicholas                                                          Address Redacted
    Kraus, Ethan                                                              Address Redacted
    Kraus, Tobias                                                             Address Redacted




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    Krayden, Inc.                                                        1491 W 124th Ave                                                           Westminster      CO           80234
    Kreps, Mary                                                          Address Redacted
    Kretschmar, Andrea                                                   Address Redacted
    Kreutziger, Jason                                                    Address Redacted
    Krinjak, David                                                       Address Redacted
    Kristie deJong                                                       Address Redacted
    Kristie deJong                                                       Address Redacted
    Kronos, Inc / CIT Vendor Finance                                     Lease Payments                       P.O. Box 100706                       Pasadena         CA           91189
    Kronos, Inc.                                                         900 Chelmsford Street                                                      Lowell           MA           01851
    Kronos, Inc.                                                         PO Box 743208                                                              Atlanta          GA           30374
    Krummel, Mikal                                                       Address Redacted
    KSG Enterprise                      12 Point Productions             4038 Peppertree Dr                                                         Weston           FL           33332
    KTH Sales, Inc.                                                      8574 Louisiana Place                                                       Merrillville     IN           46410-6360
    KTM Solutions, Inc.                 KTM Engineering                  603 High Tech Court                                                        Greer            SC           29650
    Kubik Inc                           Kevin Taylor                     1680 Mattawa Avenue                                                        Mississauga      ON           L4X 3A5       Canada
    Kuehne + Nagel, Inc.                                                 PO Box 7247-7382                     Lockbox 7992                          Philadelphia     PA           19170
    Kuehne + Nagel, Inc.                                                 921 W Bethel Road                                                          Coppell          TX           75019
    Kulkarni, Anish Srikanth                                             Address Redacted
    Kumar, Hamoodah                                                      Address Redacted
    Kumar, Pramod                                                        Address Redacted
    Kuria, Gibby                                                         Address Redacted
    Kurian, Alexander                                                    Address Redacted
    Kuroiwa, Derek                                                       Address Redacted
    Kurtz & Revness, P.C.                                                1265 Drummers Lane                   Suite 120                             Wayne            PA           19087
    Kuykendall, Dacoda                                                   Address Redacted
    Kuzmic, Greg                                                         Address Redacted
    Kvaser, Inc.                                                         29 Cantata Drive                                                           Mission Viejo    CA           92692
    Kyabasinga, Andrew                                                   Address Redacted
    KYEL Group Inc.                                                      PO Box 998                                                                 Fountain Inn     SC           29644
    Kyle House                                                           Address Redacted
    L Miller & Son Inc.                                                  606 Triana Blvd NW                                                         Huntsville       AL           35805
    L&R Technologies, LLC                                                6065 Memorial Drive                                                        Dublin           OH           43017
    L&T Technology Services Limited                                      2035 Lincoln Highway                 Suite 3002                            Edison           NJ           08817
    L3 Harris Technologies Inc                                           221 Jefferson Ridge Parkway                                                Lynchburg        VA           24501
    LabCreatrix Global                  Pei Evans                        2120 University Ave                  Suite 432                             Berkeley         CA           94704
    Labor Management Universal Health
    Benefit Trust                                                        1055Park View Drive                  Suite 111                             Covina           CA           91724
    Laco Technologies Inc.              Emily Garcia                     3085 W Directors Row                                                       Salt Lake City   UT           84104
    Laco Technologies Inc.                                               3085 W Directors Row                                                       Salt Lake City   UT           84104
    LACO, Inc                           Erika Meciar                     1150 Trademark Dr #111                                                     Reno             NV           89521
    LACO, Inc                           Mae Tornio                       1150 Trademark Dr #111                                                     Reno             NV           89521
    LACO, Inc                                                            1150 Trademark Dr #111                                                     Reno             NV           89521
    LACO, Inc                                                            PO Box 3069                                                                Danville         CA           94526
    LACO, Inc                                                            6767 Preston Avenue                                                        Livermore        CA           94551

                                        Merle C. Meyers and Kathy Quon                                        100 Shoreline Highway,
    LACO, Inc.                          Bryant                           c/o Meyers Law Group, P.C.           Suite B-160                           Mill Valley      CA           94941
    Lacy, Brock                                                          Address Redacted
    LADD Distribution                   Amy Roark                        26449 Network Place                                                        Chicago          IL           60673-1264
    LADD Distribution                   BEVERLY LYBROOK                  26449 Network Place                                                        Chicago          IL           60673-1264
    LADD Distribution                   Dawn Dombrowski                  26449 Network Place                                                        Chicago          IL           60673-1264
    LADD Distribution                                                    26449 Network Place                                                        Chicago          IL           60673-1264




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    LAG Strategy Corp                                               427 S El Molino Ave #6                                              Pasadena       CA           91101
    Lahlouh Inc                                                     1649 Adrian Rd                                                      Burlingame     CA           94010
    Lai, David                                                      Address Redacted
    Lai, Tommy                                                      Address Redacted
    Laing, Mathew                                                   Address Redacted
    Lajeunesse, Eugene                                              Address Redacted
    Lake, Stephanie                                                 Address Redacted
    Lakshmanan, Arvind Kumar                                        Address Redacted
    Lakshmanan, Gubendran                                           Address Redacted
    Lalljie, Andre                                                  Address Redacted
    Lam, Cherk                                                      Address Redacted
    Lam, Stanley                                                    Address Redacted
    Lamar Texas Limited Partnership    The Lamar Companies          814 Duncan Reidville Rd.                                            Duncan         SC           29334
    Lamar Texas Limited Partnership    The Lamar Companies          PO Box 96030                                                        Baton Rouge    LA           70896
    Lamlein, Benton                                                 Address Redacted
    Land of Sky Regional Council       Arlene Wilson                339 New Leicester Highway           Suite 140                       Asheville      NC           28806
    Land of Sky Regional Council       Bill Eaker                   339 New Leicester Highway           Suite 140                       Asheville      NC           28806
    Landmark American Insurance                                     945 East Paces Ferry Road NE, Suite
    Company                            RSUI Indemnity Company       1800                                                                Atlanta        GA           30326
    Landon HR Consulting               Chuck Landon                 3409 Cerritos Ave                                                   Los Alamitos   CA           90720
    Landstar Ranger                                                 13410 Sutton Park Drive South                                       Jacksonville   FL           32224
    Landstar Ranger, Inc.                                           13410 Sutton Park Drive South                                       Jacksonville   FL           32224
    Langdon, Richard                                                Address Redacted
    Langley, Sterling                                               Address Redacted
    Langston Construction Co. of
    Piedmont, LLC                                                   125 Langston Rd                                                     Piedmont       SC           29673
    LaRock, Guthrie                                                 Address Redacted
    Larry Jones                                                     Address Redacted
    Laser Design Inc.                                               9401 James Avenue S                    Suite 132                    Bloomington    MN           55431

    Laser Fabrication & Machine Co., Inc. DONALD L. THACKER         PO Box 709                                                          Alexandria     AL           36250
    Laserform and Machine Inc             CHIP ELSASSER             10010 Farrow Rd                                                     Columbia       SC           29203
    Laserform and Machine Inc             CHRIS CROMER              10010 Farrow Rd                                                     Columbia       SC           29203
    Laserform and Machine Inc             DEVIN BARRICK             10010 Farrow Rd                                                     Columbia       SC           29203
    Laserform and Machine Inc                                       10010 Farrow Rd                                                     Columbia       SC           29203
    Laserline Holdings LLC                                          PO Box 535                                                          Roy            UT           84067
    Laservision USA, LP                   Abdalla Sammaneh          595 Phalen Blvd                                                     St. Paul       MN           55130
    Last Frontier Aerial, LLC                                       PO Box 33032                                                        Juneau         AK           99803
    Latham & Watkins                                                555 Eleventh Street, N.W.              Suite 1000                   Washington     DC           20004
    Latham & Watkins                                                501 Canal Boulevard, Suite G                                        Sacramento     CA           95814
    Latinos In Transit                                              PO Box 4382                                                         Covina         CA           91723
    Latitude Applied Technologies         Kyle Morris               303 Dale Drive                                                      Fountain Inn   SC           29644
    Latitude Applied Technologies         MIKE ROSE                 303 Dale Drive                                                      Fountain Inn   SC           29644
    Latitude Applied Technologies         RAILEY LOLLIE             303 Dale Drive                                                      Fountain Inn   SC           29644
    Latitude Applied Technologies                                   303 Dale Drive                                                      Fountain Inn   SC           29644
    LaToya Lomax                          Amanda Brookhuis          Address Redacted
    Laughlin, Gavril                                                Address Redacted
    Laughter, Janet                                                 Address Redacted
    Laurel Products LLC                   DBA Warm Fuzzy Toys       23 Broderick Road                                                   Burlingame     CA           94010
    Laurie & Brennan, LLP                 Daniel Brennan            2 N. Riverside Plaza, Suite 1750                                    Chicago        IL           60606
    Lauzun & Associates, Inc. dba FPC of
    Brighton                                                        10491 Stoney Point Dr.                                              South Lyon     MI           48178




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    Lavulo, John                                                                Address Redacted
    Lawhun, Brandon                                                             Address Redacted
    Lawson Products, Inc.                                                       8770 W. Bryn Mawr Ave                  Suite 900                               Chicago       IL           60631
    Lawyers for Employee and Consumer
    Rights, APC                                                                 4100 W Alameda Avenue                  Third Floor                             Burbank       CA           91505
    Lazaro, Arturo                                                              Address Redacted
                                                                                                                       3055 Wilshire Blvd., 12th Case No.
    Lazo v. Proterra Operating Co., Inc.   Benjamin Haber                       Wilshire Law Firm                      Floor                     21STCV30663   Los Angeles   CA           90010

                                                                                                                       751 North Fair Oaks Ave, Case No.
    Lazo v. Proterra Operating Co., Inc.   Douglas Han                          Justice Law Corporation                Ste. 101                 21STCV30663    Pasadena      CA           91103
    Lazo, Maho                                                                  Address Redacted
    Lazzerini Corporation                  Rocco Carbone                        1011 Herman Street                                                             Elkhart       IN           46516
    LBV Hotel, LLC                                                              154 Berkeley Street                                                            Boston        MA           02116
    Le Groupe Poitras Inc                                                       1265 Rue Borne                                                                 Quebec        QC           GIN IM6       Canada
    Le Nouveau Palace S.A.                 DoubleTree by Hilton Brussels City   Rue Gineste 3                                                                  Brussels                   1210          Belgium
    Le, Charles                                                                 Address Redacted
    Leacock, Ferdinand                                                          Address Redacted
    Leading Mobility Consulting Ltd                                             192 Spadina Avenue                     Suite 303                               Toronto       ON           M5T 2C2       Canada
    Leal Hernandez, Jaime                                                       Address Redacted
    Lean Coaching inc                                                           6 Parklane Blvd                        suite 667                               Dearborn      MI           48126
    Lean Factory America, LLC                                                   816 E. 3rd Street                                                              Buchanan      MI           49107

    LEB Services LLC                       DBA Jan-Pro of the Western Carolina LEB Services LLC                        128 Milestone Way                       Greenville    SC           29615
    LeBarre, Leo                                                               Address Redacted
    LeDonne, Mario                                                             Address Redacted
    Lee Hecht Harrison                                                         Address Redacted
    Lee Mathews Equipment, Inc.                                                6345 Downing Street                                                             Denver        CO           80216-1227
    Lee Spring Company LLC                                                     140 58th Street                         Suite 3C                                Brooklyn      NY           11220
    Lee White - Sole Proprietor                                                Address Redacted
    Lee, Chengtse                                                              Address Redacted
    Lee, Curtis                                                                Address Redacted
    Lee, Joshua                                                                Address Redacted
    Lee, Juliet                                                                Address Redacted
    Lee, Nathan                                                                Address Redacted
    Lee, Russell                                                               Address Redacted
    Lee, Wen Chao                                                              Address Redacted
    LEG Industrie-Elektronik GmbH                                              Textilstr. 2                                                                    Viersen                    41751         Germany
    Legacy Components, LLC                                                     4613 N. Clark Ave                                                               Tampa         FL           33614

    Legacy Roofing & Waterproofing, Inc. Barbara Laubach                        1698 Rogers Ave #10                                                            San Jose      CA           95112
    LEGE, DANTE                                                                 Address Redacted
    Lehigh Outfitters, LLC                                                      39 East Canal Street                                                           Nelsonville   OH           45764
    LEM U.S.A., Inc                      SATYA LEM U.S.A., Inc                  Bin 88054                                                                      Milwaukee     WI           53288-0054
    Lemire, Serge                                                               Address Redacted
    Lenco Equipment Co., Inc.                                                   64750 Federal Blvd.                                                            Lemon Grove   CA           91945
    Lenze Americas Corporation                                                  630 Douglas Street                                                             Uxbridge      MA           01569
    Lenze Service GmbH                                                          Breslauer Strasse 3                                                            Extertal                   32699         Germany
    Leo H LeBarre Jr                                                            Address Redacted
    Leon, Ariel                                                                 Address Redacted
    Leonard Stacks                       DBA Test Tech, LLC                     Address Redacted
    Leonard, Joshua                                                             Address Redacted




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    Leong, Jamie                                                     Address Redacted
    LER TechForce, LLC                   Jay Adams                   1888 Poshard Drive                                                           Columbus        IN           47203
    Les Industries Flexpipe Inc.         DANIEL CLOUTIER             1355 Magenta Est                                                             Farnham         QC           J2N 1C4       Canada
    Les Industries Flexpipe Inc.                                     1355 Magenta Est                                                             Farnham         QC           J2N 1C4       Canada
    Level (3)                            TW Telecom                  PO Box 910182                                                                Denver          CO           80291
    Levy, Shane                                                      Address Redacted
    Lewallen Automation and Industrial
    Services                             Mike Lewallen               505 John Ross Court                                                          Pelzer          SC           29669
    Lewallen, Larry                                                  Address Redacted
    Lewandowski, Jason                                               Address Redacted
    Lewandowski, JASON                                               Address Redacted
    Lewis Jr., Rick                                                  Address Redacted
    Lewis, Desmond                                                   Address Redacted
    Lewis, Drusonna                                                  Address Redacted
    Lewis, Karen                                                     Address Redacted
    Lewis, Matthew                                                   Address Redacted
    Lewis, Xavier                                                    Address Redacted

    Lexco Cable MFG & Distributors Inc                               P.O. Box 56380                                                               Chicago         IL           60656

    Lexco Cable MFG & Distributors Inc                               7320 W. Agatite                                                              Norridge        IL           60706
    Lexington Metal Fabricators, Inc.                                PO Box 488                                                                   Linwood         NC           27299
    Lexon Insurance Company                                          12890 Lebanon Road                                                           Mount Juliet    TN           37216
    Lextran                                                          200 West Loundon Avenu                                                       Lexington       KY           40508
    LG Chem Power, Inc.                                              1857 Technology Drive                                                        Troy            MI           48083

    LG Chem. Ltd.                        David Lee                   LG Twin Tower 128                       Yeoni-daero          Yeongdeungpo-gu Seoul                        7336          South Korea

    LG Chem. Ltd.                        Jeongha Hwang               LG Twin Tower 128                       Yeoni-daero          Yeongdeungpo-gu Seoul                        7336          South Korea

    LG Chem. Ltd.                        Kenny Kwak                  LG Twin Tower 128                       Yeoni-daero          Yeongdeungpo-gu Seoul                        7336          South Korea

                                                                                                             128 Yeoui-daero,
    LG Energy Solution, LTD.             David Lee                   LG Twin Towers                          Yeongdeungpo-gu                      Seoul                        7336          South Korea
    LG Waterjet & Manufacturing                                      8250 Electric Ave.                                                           Stanton         CA           90680
    LHP Telematics                                                   17406 Tiller Court                      Suite 100                            Westfield       IN           46074
    Li, Cicely                                                       Address Redacted
    Life and Safety Consultants, Inc                                 31 Boland Court                                                              Greenville      SC           29615
    Life Insurance Company of North
    America                                                          1455 Valley Center Parkway                                                   Bethlehem       PA           18017
    Lifelock Medical Supply, LLC         AED Market                  3011 Harrah Drive                       Suite R                              Spring Hill     TN           37174
    Lift One LLC                         GREG KOON                   PO Box 602727                                                                Charlotte       NC           28260-2727
    Lift One LLC                                                     PO Box 602727                                                                Charlotte       NC           28260-2727
    Lift-It Manufacturing Co., Inc.                                  1603 W. 2nd St.                                                              Pomona          CA           91766
    Lift-U (Hogan Manufacturing          BRIMLOW DAVID               PO Box 398                                                                   Escalon         CA           95320
    Lift-U (Hogan Manufacturing          DIANN BOGER                 PO Box 398                                                                   Escalon         CA           95320
    Lift-U (Hogan Manufacturing          JOHN DURHAM                 PO Box 398                                                                   Escalon         CA           95320
    Lift-U (Hogan Manufacturing                                      PO Box 398                                                                   Escalon         CA           95320
    LightShip Energy, Inc.                                           150 Elsie Street                                                             San Francisco   CA           94110
    LightSource Labs Inc.                                            2845 California ST                                                           San Francisco   CA           94115
    Lim, Cheol Woong                                                 Address Redacted
    Lim, Derek                                                       Address Redacted




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    Lin M. Stillman                                                        Address Redacted
    Lina A. Naumann                                                        Address Redacted
    Lindstrom, Anna                                                        Address Redacted
    Line X Edmonton                                                        Address Redacted
    Linear Express                                                         7007 Winchester Circle                 Suite 130                              Boulder         CO           80301
    Link Engineering Company                                               3143 County Road 154                                                          East Liberty    OH           43319
    Link Engineering Company                                               401 Southfield Road                                                           Dearbourn       MI           48120
    Link Manufacturing Ltd.                 KRISTOPHER VANDERWALL          223 15th St NE                                                                Sioux Center    IA           51250
    Link Mfg., Ltd.                                                        223 15th St NE                                                                Sioux Center    IA           51250
    Linkedin Corporation                    Erin Reynolds                  62228 Collections Center Drive                                                Chicago         IL           60693-0622
    Linkedin Corporation                                                   62228 Collections Center Drive                                                Chicago         IL           60693-0622
    Linnett, Andrew                                                        Address Redacted
    Lino, Tiffany                                                          Address Redacted
    Lintelio, LLC                           Martha Stabelfeldt             8360 E Via De Ventura Blvd             Suite L200                             Scottsdale      AZ           85258
    Linville, Charles                                                      Address Redacted
    Lion Technology, Inc.                   Laura Konopko                  570 Lafayette Rd.                                                             Sparta          NJ           07871
    Lippert Components Manufacturing        KAREN ANDELIN                  2909 Pleasant Center Rd                                                       Yoder           IN           46798-9742
    Lippert Components Manufacturing        MIKE MATHEWSON                 2909 Pleasant Center Rd                                                       Yoder           IN           46798-9742
    Lippert Components Manufacturing                                       2909 Pleasant Center Rd                                                       Yoder           IN           46798-9742
    Lira, Edward                                                           Address Redacted
    Lira, Steven                                                           Address Redacted
    Littelfuse, Inc.                        DBA U.S. Sensor Corp           1832 West Collins Ave                                                         Orange          CA           92867

    Littelfuse, Inc.                        Gary Littelfuse                DBA U.S. Sensor Corp                   1832 West Collins Ave                  Orange          CA           92867

    Littelfuse, Inc.                        JOYCE PANTAS                   DBA U.S. Sensor Corp                   1832 West Collins Ave                  Orange          CA           92867

    Littelfuse, Inc.                        Karen Lopez                    DBA U.S. Sensor Corp                   1832 West Collins Ave                  Orange          CA           92867
    Little, John                                                           Address Redacted
    LittleJohn Portable Toilets & Storage
    Containers                                                             PO Box 8622                                                                   Greenville      SC           29604
    Littlejohn, Karissa                                                    Address Redacted
    Littleton, Jeremy                                                      Address Redacted
    Liu, Ryan                                                              Address Redacted
    Livingston & Haven LLC                  BILL MEEK                      PO Box 890218                                                                 Charlotte       NC           28289-0218
    Livingston & Haven LLC                                                 PO Box 890218                                                                 Charlotte       NC           28289-0218
    Livingstone, Christopher                                               Address Redacted
                                                                                                                                                         West
    LK Goodwin Co.                                                         20 Technology Way                                                             Greenwich       RI           02817
    LK Goodwin Co.                                                         890 Broad Street                                                              Providence      RI           02907
    Lloyd Neel Storr                        A-1 Communications Supply Co   Address Redacted
    Lloyd Neel Storr                        A-1 Communications Supply Co   Address Redacted
    Lloyd W. Aubry Co., Inc.                CONTROLLER Kevin Overstreet    2148 Dunn Road                                                                Hayward         CA           94545
    Lloyd W. Aubry Co., Inc.                                               2148 Dunn Road                                                                Hayward         CA           94545

    Lloyds America Inc.                                                    280 Park Avenue                        East Tower, 25th Floor                 New York        NY           10017
    Lloyds Insurance Company S.A.                                          Bastion Tower, Marsveldplein 5                                                1050 Brussels                              Belgium

    Lloyds of London                                                       280 Park Avenue                        East Tower, 25th Floor                 New York        NY           10017
    Lloyds Underwriters                     Foley & Lardner LLP            555 California Street, Suite 1700                                             San Francisco   CA           94104
    Load Banks Direct, LLC                                                 15765 Acorn Trl                                                               Faribault       MN           55021-7606
    Lock-Ridge Tool Co., Inc.               Dan Klamut                     2000 Pomona Blvd                       Suite A-3                              Pomona          CA           91768




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    Lock-Ridge Tool Co., Inc.            Kathryn McKelvey                      2000 Pomona Blvd                         Suite A-3                        Pomona          CA           91768
    Lock-Ridge Tool Co., Inc.            Maria Corona                          2000 Pomona Blvd                         Suite A-3                        Pomona          CA           91768
    Lock-Ridge Tool Co., Inc.                                                  2000 Pomona Blvd                         Suite A-3                        Pomona          CA           91768
    Loftware Inc.                        Matthew Smith                         249 Corporate Drive                                                       Portsmouth      NH           03801
    Logena Automotive                                                          3477 Corporate Parkway                   Suite 100                        Center Valley   PA           18034
    LogicGate, Inc.                                                            320 West Ohio Street                     Suite 5E                         Chicago         IL           60654
    Lollis, Stephen                                                            Address Redacted
    Lomax, LaToya                                                              Address Redacted
    Lomax, Sally                                                               Address Redacted
    Long Trailer and Body Service Inc.                                         5817 Agusta Rd.                                                           Greenville      SC           29605
    Longo Electric Inc.                                                        111 Bruce Ave                                                             Stratford       CT           06615
    Longview Holdings Inc.               DBA WTS                               1025 Segovia Circle                                                       Placentia       CA           92870
    Loopio Inc.                                                                310 Spadina Avenue                       Suite 600                        Toronto         ON           M5T 2E8       Canada
    Lopez Salvador, Porfirio                                                   Address Redacted
    Lopez, Brendan                                                             Address Redacted
    Lopez, Christian                                                           Address Redacted
    Lopez, Daniel                                                              Address Redacted
    Lopez, David                                                               Address Redacted
    Lopez, Eddie                                                               Address Redacted
    Lopez, Joseph                                                              Address Redacted
    Lopez, Pedro                                                               Address Redacted
    Lopez, Regina                                                              Address Redacted
                                         BUSINESS DEVELOPMENT Thang
    LORD Corporation                     Nguyen                                111 Lord Drive                                                            Cary            NC           27511
    LORD Corporation                     James Jiuliani                        111 Lord Drive                                                            Cary            NC           27511
    LORD Corporation                                                           111 Lord Drive                                                            Cary            NC           27511
    Lori D. Mills                                                              Address Redacted
    Los Angeles Cleantech Incubator      Shawn Traylor                         525 S. Hewitt Street                                                      Los Angeles     CA           90013

    Los Angeles County Fire Department                                         PO Box 513148                                                             Los Angeles     CA           90051-1148

    Los Angeles County Fire Department                                         PO Box 54740                                                              Los Angeles     CA           90054-0740

    Los Angeles County Tax Collector     Kenneth Hahn Hall of Administration   500 W Temple Street                                                       Los Angeles     CA           90012
    Los Angeles County Tax Collector                                           225 North Hill St                        Rm 122                           Los Angeles     CA           90012
    Los Angeles County Tax Collector                                           PO Box 54027                                                              Los Angeles     CA           90054-0027
    Lot Network Inc.                                                           2055 E WARNER RD                                                          Tempe           AZ           85284
    LOU METRO REVENUE COMM                                                     PO Box 35410                                                              Louisville      KY           40232
    Louisiana Department of Revenue                                            P.O. Box 66658                                                            Baton Rouge     LA           70896-6658
    Louisiana Department of Revenue                                            617 N 3rd Street                                                          Baton Rouge     LA           70802
    Louisiana Dept of Revenue                                                  617 North Third St                                                        Baton Rouge     LA           70802

    Louisiana Motor Vehicle Commission                                         3519 12th Street                                                          Metairie        LA           70002

    Louisiana Motor Vehicle Commission                                         3132 Valley Creek Drive                                                   Baton Rouge     LA           70808
    Lowes Business Acct                                                        PO Box 530970                                                             Atlanta         GA           30353-0970
    Lowrance, Mckenzie                                                         Address Redacted
    Lowstuter, Nathan                                                          Address Redacted
    Loza, Cesar                                                                Address Redacted
    Lubrication Engineers, Inc                                                 1919 East Tulsa                                                           Wichita         KS           67216
    Lubrication Engineers, Inc                                                 PO Box 16025                                                              Wichita         KS           67216
    Lucas Associates Inc               DBA Lucas Group                         950 E Paces Ferry Rd, Ste 2300                                            Atlanta         GA           30326




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    Lucas Associates Inc                 DBA Lucas Group                PO Box 638364                                                            Cincinnati      OH           45263
    Lucerix International Corporation    James Anderson                 2488 Bristol Circle                                                      Oakville        ON           L6H 5S1      Canada
    Lucerix International Corporation    Kinza Saleh                    2488 Bristol Circle                                                      Oakville        ON           L6H 5S1      Canada
    Lucerix International Corporation                                   2488 Bristol Circle                                                      Oakville        ON           L6H 5S1      Canada
    Lucero II, Louis                                                    Address Redacted

    Luchetta Gear Design Services, LLC                                  105 Verdana Ct                                                           Simpsonville    SC           29680
    Lucid Software Inc.                                                 DEPT CH 17239                                                            Palatine        IL           60055
    Lucid Software Inc.                                                 10355 South Jordan Gateway            Suite 300                          South Jordan    UT           84095
    Luft, Clint                                                         Address Redacted
    Lui, Justin                                                         Address Redacted
    Lui, Yee-Hong                                                       Address Redacted
    Luis Andre Gazitua dba Gazitua
    Letelier, PA                                                        Address Redacted
    Lumack Bellot                                                       Address Redacted
    Luminator Mass Transit, LLC (LMT)                                   28818 Network Place                                                      Chicago         IL           60673-1259

    Luminator Technology Group Global,
    LLC dba Luminator Technology Group Casey Vanschaik                  900 Klein Rd                                                             Plano           TX           75074

    Luminator Technology Group Global,
    LLC dba Luminator Technology Group CREDIT MANAGER Tina Morris       900 Klein Rd                                                             Plano           TX           75074

    Luminator Technology Group Global,
    LLC dba Luminator Technology Group SALES Karissa Cruz               900 Klein Rd                                                             Plano           TX           75074

    Luminator Technology Group Global,
    LLC dba Luminator Technology Group                                  900 Klein Rd                                                             Plano           TX           75074
    Lunsford, Joshua                                                    Address Redacted
    Luo, Haiwei                                                         Address Redacted
    Lusk, Matthew                                                       Address Redacted
    Luster, Dyshaum                                                     Address Redacted
    Luxfer Holdings NA LLC                                              490 Post St Suite 1700                                                   San Francisco   CA           94102
    Luxottica Retail North America     DBA Lenscrafters                 14963 Collections Center Drive                                           Chicago         IL           60693
    LVT LLC DBA Item West                                               9725 S 500 W                                                             Sandy           UT           84070
    Lyddane, William                                                    Address Redacted
    Lyles, Sheri                                                        Address Redacted
    Lyndon Paul Schneider              DBA Creative Product Specialty   Address Redacted
    Lytx, Inc.                         CESAR VILLASENOR                 9785 Towne Centre Drive                                                  San Diego       CA           92121
    Lytx, Inc.                         KRIS JENSEN                      9785 Towne Centre Drive                                                  San Diego       CA           92121
    Lytx, Inc.                         MAX KABRICH                      9785 Towne Centre Drive                                                  San Diego       CA           92121
    Lytx, Inc.                                                          PO Box 849972                                                            Los Angeles     CA           90084-9972
    Lytx, Inc.                                                          9785 Towne Centre Drive                                                  San Diego       CA           92121
    M & P Labs                         Deborah Roscoe                   481 Garlington Road                   Suite L                            Greenville      SC           29615
    M & P Labs                         Janet West                       481 Garlington Road                   Suite L                            Greenville      SC           29615
    M. A. Mortenson Company            DBA Mortenson Construction       700 Meadow Lane North                                                    Minneapolis     MN           55422
    M.J. Bradley & Associates, LLC     Heather Moore                    47 Junction Square Drive                                                 Concord         MA           01742
    M1 Graphics CO, Inc                JODY MCMURRY                     PO Box 606                                                               Fountain Inn    SC           29644
    M1 Graphics Co., Inc.              Jody McMurry                     302 Putman Road                       PO Box 606                         Fountain Inn    SC           29644
    MA Dept of Revenue                                                  PO BOX 7089                                                              Boston          MA           02241-7089
    Ma, Wenting                                                         Address Redacted
    Mac Papers                         INSIDE SALES Elizabeth Pulliam   4607 Dairy Dr                                                            Greenville      SC           29607




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                CreditorName                    CreditorNoticeName                        Address1                            Address2               Address3         City            State           Zip    Country
    Mac Papers                                                              4607 Dairy Dr                                                                        Greenville     SC            29607
    Macaspac, Normandy                                                      Address Redacted
    Maccor, Inc.                                                            4322 South 49th W. Avenue                                                            Tulsa          OK            74107
    Machado, Enrique                                                        Address Redacted
    Machine Shop Services, LLC          BILLING Allison Gillespie           230 Berry Shoals Rd                                                                  Duncan         SC            29334
    Machine Shop Services, LLC          ROD DICKARD                         230 Berry Shoals Rd                                                                  Duncan         SC            29334
    Machine Shop Services, LLC          Shipping                            230 Berry Shoals Rd                                                                  Duncan         SC            29334
    Machine Shop Services, LLC                                              230 Berry Shoals Rd                                                                  Duncan         SC            29334
    Machinery Maintenance & Rebuilders,
    Inc                                                                     711 Washington St                                                                    Greenville     SC            29601
    Mack, Elias                                                             Address Redacted
    Mack, James                                                             Address Redacted
    Mackenzie Group Inc DBA The Hayes
    Approach                                                                319 Garlington Rd                                                                    Greenville      SC           29615
    Mackro Sales of Michigan, LLC       MICHAEL GROVIER                     PO Box 82441                                                                         Rochester Hills MI           48306
    Mackro Sales of Michigan, LLC                                           PO Box 82441                                                                         Rochester Hills MI           48306
    Macquarie Corporate and Asset                                                                                   Ground, Level 8, Level 15-
    Funding Inc.                                                            125 West 55Th Street                    23                                           New York       NY            10019
    Macrofab                                                                11330 Caly Road                         Suite 300                                    Houston        TX            77041
    Madera, Raymon                                                          Address Redacted
    Madison Art Shop                                                        17 Engleberg Terrace                                                                 Lakewood       NJ            08701
    Madison Company                                                         27 Business Park Dr                                                                  Branford       CT            06405
    Madland Diesel Fleet and Service                                        4420 State Rd                                                                        Bakersfield    CA            93308
    Madrid, Marisol                                                         Address Redacted
    Madrid, Maximas                                                         Address Redacted
    Maeltzer, Corey                                                         Address Redacted
    Maestas, Felipe                                                         Address Redacted

    Magaldi and Magaldi Inc               See Amerex Magaldi and Magaldi Inc 6658 Gunpark Drive                     Suite 102                                    Boulder        CO            80301
    Magdaleno Avila, J Socorro                                               Address Redacted

    Magna Carta Insurance, Ltd.                                             Windsor Place, 22 Queen Street          PO Box HM 2078                               Hamilton                     HM 12         Bermuda
    Magna-Power Electronics, Inc.                                           39 Royal Road                                                                        Flemington     NJ            08822
    Magnetek                              FIELD SERVICE FIELD SERVICE       PO Box 8497                                                                          Carol Stream   IL            60197-8497
    Magnetek                              Mike Fedorchak Magnetek           PO Box 8497                                                                          Carol Stream   IL            60197-8497
    Magnetek                                                                PO Box 8497                                                                          Carol Stream   IL            60197-8497
    Magnetic Concepts Corporation                                           611 3rd Ave. SW                                                                      Carmel         IN            46032
    Mahaffey III, Louis                                                     Address Redacted
    Mai, Johnny                                                             Address Redacted
    Maimin Technology Group, Inc.                                           227 Ambrogio Drive                      Suite B                                      Gurnee         IL            60031
    Main Electric Supply Company LLC                                        3600 W Segerstrom Avenue                                                             Santa Ana      CA            92704
    Main Street Teleproductions                                             PO Box 1878                                                                          Davidson       NC            28036

                                                                                                                    Burton M Cross Office
    Maine Office of the State Treasurer   Unclaimed Property                39 State House Station                  Building, 3rd Floor          111 Sewall St   Augusta        ME            04333-0039
    Maine Revenue Services                                                  PO Box 1060                                                                          Augusta        ME            04332-1060
    MaintainX, Inc                        Alison Golfman                    244 Biscayne Blvd #2902                                                              Miami          FL            33132
    Majors, David                                                           Address Redacted
    Majumdar, Zachary                                                       Address Redacted
    Maldonado, Frank                                                        Address Redacted
    Malhotra, Giovanna                                                      Address Redacted
    Malik, Anubhav                                                          Address Redacted




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    Mall, William                                                       Address Redacted
    Malladi, Satish                                                     Address Redacted
    Maloney, Annabelle                                                  Address Redacted
    Manaflex Inc.                         Alan Liao                     11919 Fisterra Ct                                                          Las Vegas       NV           89138-1602
    Manaflex Inc.                         Ammy Liu                      11919 Fisterra Ct                                                          Las Vegas       NV           89138-1602
    Manaflex Inc.                         Candice Zhang                 11919 Fisterra Ct                                                          Las Vegas       NV           89138-1602
    Manaflex Inc.                                                       11919 Fisterra Ct                                                          Las Vegas       NV           89138-1602

    Manaflex Inc.                                                       19745 Colima Road                        Suite 1910                        Rowland Height CA            91748
    Manaflex Inc.                                                       68-3527 Hena St                                                            Waikoloa       HI            96738
    Manchana, Ramakrishna                                               Address Redacted
    Mancuso, Emily                                                      Address Redacted
    Manet, Derek                                                        Address Redacted
    Maney International of Duluth, Inc.   Rob Isackson                  3204 Carlton St                                                            Duluth          MN           55806
    Mangas, Robert                                                      Address Redacted
    MangoApps Inc.                                                      1495 11th Avenue NW                                                        Issaquah        WA           98027
    Mani, Mohan                                                         Address Redacted
    Manigan, Tyquan                                                     Address Redacted
    Mann, Joseph                                                        Address Redacted
                                          ACCOUNT MGR/SALES Mirco                                                                                                                             United
    Mann+Hummel (UK) Ltd                  Schoen                        Unit C                                   Vernon Park        Featherstone   Wolverhampton                WV10 7HW      Kingdom
                                                                                                                                                                                              United
    Mann+Hummel (UK) Ltd                  Stefanie Zimmermann           Unit C                                   Vernon Park                       Wolverhampton                WV10 7HW      Kingdom
                                                                                                                                                                                              United
    Mann+Hummel (UK) Ltd                                                Unit C                                   Vernon Park                       Wolverhampton                WV10 7HW      Kingdom
    Mansell, Torrey                                                     Address Redacted
    Mansour, Maan                                                       Address Redacted
    Mansouri, Amir                                                      Address Redacted
    Manukin III, Paul                                                   Address Redacted
    Manweiler, Amy                                                      Address Redacted
    Manz AG                                                             Steigaeckerstrasse 5                                                       Reutlingen                   D-72768       Germany
                                                                                                                                                   North
    Manz USA, Inc.                                                      376 Dry Bridge Road                      B2                                Kingstown       RI           02852
    Manzanita Micro                                                     PO Box 1774                                                                Kingston        WA           98346
                                                                                                                                                                                              Cayman
    Maples and Calder (Cayman) LLP                                      PO Box 309                               Grand Cayman                      Ugland House                 KY1-1104      Islands
    March Networks Inc.                   Heidi Buzzell                 PO Box 66512                                                               Chicago         IL           60666
    March Networks Inc.                   Keith Winchester              PO Box 66512                                                               Chicago         IL           60666
    March Networks Inc.                                                 PO Box 66512                                                               Chicago         IL           60666
    Marco Gudino                          Zach Herbert                  Address Redacted
    Marco Rubber and Plastic, Inc                                       PO Box 3500                                                                Seabrook        NH           03874
    Marcoux, Zachary                                                    Address Redacted
    Marcum LLP                                                          10 Melville Park Road                                                      Melville        NY           11747
    Marcus Davenport                                                    Address Redacted
    Marian Inc                            Julie Marian Inc              1101 East St. Clair Street                                                 Indianapolis    IN           46202
    Marietta Wrecker Service                                            950 Allgood Road                                                           Marietta        GA           30062
    Marin, Salvador                                                     Address Redacted
    Marion County Justice Court                                         4660 Portland Road NE                    Suite 107                         Salem           OR           97305
    Maritec-Metpro Corporation            Denise Montgomery             215 Commerce Rd                                                            Greenville      SC           29611
    Mark C. Pope Associates, Inc.                                       4910 Martin Ct. SE                                                         Smyrna          GA           30082
    Mark Kazikowski                       DBA KazTia Design LLC         Address Redacted
    Mark L. Gunnion                                                     Address Redacted




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    Marketing Genome Project LLC          Jeff Pascarella                20 Foulkes Terrace                                                      Lincroft        NJ           07738
    Markland, Reagan                                                     Address Redacted
    Marques, Philip                                                      Address Redacted
    Marquez, Alfred                                                      Address Redacted
    Marquez, Nicholas                                                    Address Redacted
    Marrero, Tyler                                                       Address Redacted
    Marsh & McLennan Agency, LLC          William Choy                   9171 Towne Centre Dr. #100                                              San Diego       CA           92122
    Marsh Jr., Lamar                                                     Address Redacted
    Marsh Limited                         Foley & Lardner LLP            555 California Street, Suite 1700                                       San Francisco   CA           94104
                                                                                                                                                                                            United
    Marsh Limited                                                        1 Tower Place West                     Tower Place                      London                       EC3R 5BU      Kingdom
    Marsh Risk and Insurance Services     Lauren Wensel Kauffman         4 Embarcadero Center, Suite 1100                                        San Francisco   CA           94111
    Marsh USA, Inc.                       Jeffrey Perkins                4 Embarcadero Center, Suite 1100                                        San Francisco   CA           94111
    Marsh USA, Inc.                       Scott Francis                  345 California Street, Suite 1300                                       San Francisco   CA           94104
    Marsh USA, Inc.                                                      PO Box 846112                                                           Dallas          TX           75284-6112
    Marson International LLC              Teresa Hes                     PO Box 1529                                                             Elkhart         IN           46515
    Marson International LLC              Tracy Waggoner                 PO Box 1529                                                             Elkhart         IN           46515
    Marson International LLC                                             PO Box 1529                                                             Elkhart         IN           46515
    Marson International LLC                                             1001 Sako Court                                                         Elkhart         IN           46516
    Marte, Lenin                                                         Address Redacted
    Martin Matias, Reynaldo                                              Address Redacted
    Martin, Chasity                                                      Address Redacted
    Martin, Patty                                                        Address Redacted
    Martinez, Brandon                                                    Address Redacted
    Martinez, Hugo                                                       Address Redacted
    Martinez, Jose                                                       Address Redacted
    Martinez, Russell                                                    Address Redacted
    Martinez, Salvador                                                   Address Redacted
    Martins Industries                    CONTROLLER Benoit Beauchemin   1200, Boul, Industriel                                                  Farnham         QC           J2N 3B5       Canada
    Martins Industries                                                   1200, Boul, Industriel                                                  Farnham         QC           J2N 3B5       Canada
    Marulanda Quintana, Santiago                                         Address Redacted
    Maryland Dept of Assessments &
    Taxation                                                             PO Box 17052                                                            Baltimore       MD           21297
    Maskine LLC                                                          11210 S. Bannock St.                                                    Phoenix         AZ           85044
    Mason, Davon                                                         Address Redacted
    Mass Precision, Inc.                                                 2110 Oakland Road,                                                      San Jose        CA           95131

    Mass Truck Refrigeration Service, Inc                                47 Sword St                                                             Auburn          MA           01501
    Massachusetts Department of
    Revenue                                                              100 Cambridge St., 2nd Floor                                            Boston          MA           02114
    Massachusetts Department of
    Revenue                                                              PO Box 7090                                                             Boston          MA           02204-7090
    Massachusetts Secretary of
    Commonwealth                                                         One Ashburton Place                                                     Boston          MA           02108
    Massey, Jerrica                                                      Address Redacted
    Massey, Suboure                                                      Address Redacted
    Mast Jr., John                                                       Address Redacted
    Master International Corporation      Master Electronics             1301 Olympic Blvd.                                                      Santa Monica    CA           90404
    Mate Precisioin Tooling                                              1295 Lund Blvd                                                          Anoka           MN           55303
    Material Storage Systems, Inc.                                       8827 Will Clayton Parkway                                               Humble          TX           77338
    Materials Handling Solutions          Crane 1 Services, Inc.         PO Box 5023                                                             Greenville      SC           29607
    Materials Handling Solutions          Crane 1 Services, Inc.         PO Box 88989                                                            Milwaukee       WI           53288




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    Mathis Electronics, Inc.          Dima Kazantsev              102A Caribou Rd                                                          Asheville        NC           28803
    Mathis, Michael                                               Address Redacted
    Mathworks Inc., The                                           3 Apple Hill Drive                                                       Natick           MA           01760-2098
    Mathworks Inc., The                                           PO Box 845428                                                            Boston           MA           02284-5428
    Mathworks Inc., The                                           PO Box 21301                                                             New York         NY           10087-1301
    Matt Horton                                                   Address Redacted
    Mattei Transport Engineering                                  9635 Liberty Road                     Suite E                            Randallstown     MD           21133
    MatterHackers, Inc                                            27156 Burbank                                                            Foothill Ranch   CA           92610
    Mattero, John                                                 Address Redacted
    Matthew T Shafer                                              Address Redacted
    Matthew T Shafer                                              Address Redacted
    Matthews Bus Alliance Inc.        Matthews Buses Florida      4802 W Colonial Dr                                                       Orlando          FL           32808
    Matthews Buses, Inc.                                          2900 Route 9                                                             Ballston Spa     NY           12020
    Mattison, Marquis                                             Address Redacted
    Mattson Resources LLC                                         PO Box 2999                                                              Phoenix          AZ           85062
    Maugatai, Akana                                               Address Redacted
    Mauri, Adriano                                                Address Redacted
    Max, Jeremy                                                   Address Redacted

    Maxgen Energy Services Corporation James Tillman              1690 Scenic Avenue                                                       Costa Mesa       CA           92626
    Maxwell, Michael                                              Address Redacted
    Mayes, Corey                                                  Address Redacted
    Mayhead, Frederick                                            Address Redacted
    Mayowa Alonge                                                 Address Redacted
    Mazooji, Sabrina                                              Address Redacted
    MB Kit Systems, Inc.                                          3860 Ben Hur Ave.                                                        Willoughby       OH           44094
    MB Kit Systems, Inc.                                          925 Glaser Parkway                                                       Akron            OH           44306
    MBR DISTRIBUTORS                                              1330 Holmes Rd                                                           Elgin            IL           60123
    Mc Bee Systems Inc.                                           PO Box 88042                                                             Chicago          IL           60680
    Mcbride, Mario                                                Address Redacted
    McBride, MARIO                                                Address Redacted
    McCarson, Andrew                                              Address Redacted
    Mccarthy, Eric                                                Address Redacted
    McCarty, Ryan                                                 Address Redacted
    McCarty, Samantha                                             Address Redacted
    McCauley Jr., Frederick                                       Address Redacted
    McCauley, Ponsie                                              Address Redacted
    Mccleland, Evelyn                                             Address Redacted
    McClintock Jr., Harvie                                        Address Redacted
    McClinton, Justin                                             Address Redacted
    McClung, Samantha                                             Address Redacted
    Mcconnell, Jennifer                                           Address Redacted
    McCrary Jr., Anthony                                          Address Redacted
    McCraw, Hailee                                                Address Redacted
    McDaniel, Kyle                                                Address Redacted
    McDermott Will & Emery LLP         Karen Davis                275 Middlefield Road                  Suite 100                          Menlo Park       CA           94025
    McDermott Will & Emery LLP                                    444 West Lake Street                  Suite 4000                         Chicago          IL           60606
    McDonald II, George                                           Address Redacted
    McDonald Transit Associates, Inc.                             3800 Sandshell                        No. 185                            Fort Worth       TX           76137
    McDonald, Curtis                                              Address Redacted
    Mcduffee, Thomas                                              Address Redacted
    McGill, Colin                                                 Address Redacted




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    McGraw, Donovan                                                         Address Redacted
    McGriff Insurance Services            DBA Precept Advisory Group, LLC   3605 Glenwood Avenue                    Suite 201                                  Raleigh        NC           27612
    McGriff Insurance Services            DBA Precept Advisory Group, LLC   PO Box 5689                                                                        Irvine         CA           92616

    McGuireWoods LLP                                                        800 E. Canal Street                     Attn Accounts Receivable                   Richmond       VA           23219-3916

    MCI Sales and Service                                                   Lockbox 774755                          CUSTOMER # 1096841                         Chicago        IL           60677-4007
    Mckim, Brian                                                            Address Redacted
    McKinley Equipment Corporation                                          17611 Armstrong Avenue                                                             IRVINE         CA           92614
    McKinney Trailer Rentals              BILLING Elia Rivera               2601 Saturn St, Suite 110                                                          Brea           CA           92821
    McKinney Trailer Rentals              Jennifer Crutchfield              2601 Saturn St Suite 110                                                           Brea           CA           92821
    McKinney Trailer Rentals                                                PO Box 515574                                                                      Los Angeles    CA           90051
    McKinsey & Company, Inc.                                                PO Box 7247-7255                                                                   Philadelphia   PA           19170
    McLaughlin, Nicholas                                                    Address Redacted
    McLeod, Donna                                                           Address Redacted
    McMaster-Carr Supply Co.                                                PO Box 7690                                                                        Chicago        IL           60680-7690
    McMillan Pazdan Smith LLC                                               Dept 999450, P.O. Box 537044                                                       Atlanta        GA           30353
    McNaughton-McKay Electric
    Company                               Aaron Sanders                     35 Old Mill Road                                                                   Greenville     SC           29607
    McNaughton-McKay Electric
    Company                               Chase Boehlke                     35 Old Mill Road                                                                   Greenville     SC           29607
    McNaughton-McKay Electric
    Company                               John Orlando                      35 Old Mill Rd                                                                     Greenville     SC           29607
    McNaughton-McKay Electric
    Company                                                                 35 Old Mill Road                                                                   Greenville     SC           29607
    McNeal, Vernon                                                          Address Redacted
    McNeil, Shawn                                                           Address Redacted
    McRae, Jesse                                                            Address Redacted
    MDH F1 Greenville AG14, LLC,                                                                                    3715 Northside Parkway Building 400, Suite
    Electrolux Home Products, Inc.        Attention President               MDH F1 Greenville AG14, LLC             NW                     240                 Atlanta        GA           30327
    Mead, Kinsey                                                            Address Redacted
    Meadows, Dale                                                           Address Redacted
    Means, Sierra                                                           Address Redacted

    Mechanical Electrical Systems, Inc.                                     PO Box 503003                                                                      Indianapolis   IN           46250

    Mechanical Electrical Systems, Inc.                                     8802 Bash Street, Suite F                                                          Indianapolis   IN           46256

    Mechanical Rubber Products Co. Inc. COMPLIANCE Alisa Sherow             77 Forester Avenue                                                                 Warwick        NY           10990

    Mechanical Rubber Products Co. Inc. COMPLIANCE Alisa Sherow             PO Box 593                                                                         Warwick        NY           10990

    Mechanical Rubber Products Co. Inc.                                     77 Forester Avenue                                                                 Warwick        NY           10990

    Mechanical Rubber Products Co. Inc.                                     PO Box 593                                                                         Warwick        NY           10990
    Mediant Communications Inc.                                             PO Box 75185                                                                       Chicago        IL           60675
    Medina, Juan                                                            Address Redacted
    Medina, Pedro                                                           Address Redacted
    Medina, Victor                                                          Address Redacted
    Medius Software Inc.                                                    14 E 44th Street                        5th Floor                                  New York       NY           10017
    Medix Staffing Solutions, Inc.                                          222 S. Riverside Plaza                  Suite 2120                                 Chicago        IL           60606
    Mega Technical Holdings Ltd                                             7116 67ST NW                                                                       Edmonton       AB           T6B3A6        Canada




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    Mehdian, Behrooz                                                     Address Redacted
    Mehta, Rushabh                                                       Address Redacted
    Mehta, Vishal                                                        Address Redacted
    Mejia Sanchez, Gonzalo                                               Address Redacted
    Mejia Sanchez, Moises                                                Address Redacted
    Mejia, Miguel                                                        Address Redacted
    Melendy, Kodee                                                       Address Redacted
    Melero, Joel                                                         Address Redacted
    Mellott, Jerald                                                      Address Redacted
    Men, Sann                                                            Address Redacted
    Mena, Haroldo                                                        Address Redacted
    Mendez Perez, Joaquin                                                Address Redacted
    Mendez, Eliseo                                                       Address Redacted
    Mendez, Eric                                                         Address Redacted
    Mendez, Miguel                                                       Address Redacted
    Mendoza Jr., Teofilo                                                 Address Redacted
    Mendoza Sr., Joey                                                    Address Redacted
    Mendoza, Christian                                                   Address Redacted
    Mendoza, Raymond                                                     Address Redacted
    Mendoza, Raymond                                                     Address Redacted
    Menegay, Jeff                                                        Address Redacted
    Mentor Graphics Corporation                                          8005 SW Boeckman Road                                                   Wilsonville    OR           97070
    Mercer, Daniel                                                       Address Redacted
                                                                                                                                                 Santa Fe
    Mercury GSE Rentals, LLC                                             9445 Ann St                                                             Springs        CA           90670
    Mercury Technology Group, Inc.           Mary Chmaj                  6430 Oak Canyon                        Suite 100                        Irvine         CA           92618
    Mercury Technology Group, Inc.                                       6430 Oak Canyon                        Suite 100                        Irvine         CA           92618
    Mercy High School - Burlingame                                       2750 Adeline Drive                                                      Burlingame     CA           94010
    Meredith W Roy                                                       Address Redacted
    Meritor, Inc                             Autumn Schoenberger         2135 West Maple Road                                                    Troy           MI           48084
    Meritor, Inc                             HOLLY KAROW                 2135 West Maple Road                                                    Troy           MI           48084
    Meritor, Inc                             JOHN WOLF                   2135 West Maple Road                                                    Troy           MI           48084
    Meritor, Inc                                                         2135 West Maple Road                                                    Troy           MI           48084
    Merrill Lynch                            Thomas F. Jackson           Address Redacted
    Merrimack Valley Regional Transit
    Authority                                                            85 Railroad Avenue                                                      Haverhill      MA           01835
    Merrimack Valley Regional Transit
    Authority                                                            101 Arch Street                        12th Floor                       Boston         MA           02110
    Merriwether, Nathaniel                                               Address Redacted
    Mersen USA EP Corp                       SALLY MAHONEY               374 Merrimac Street                                                     Newburyport    MA           01950
    Mersen USA EP Corp                                                   374 Merrimac Street                                                     Newburyport    MA           01950
    Mersen USA EP Corp                                                   PO Box 7247-6444                                                        Philadelphia   PA           19170-6444
    MESA Corporation                         MATT CARTER                 9 Distribution Ct                                                       Greer          SC           29650
    MESA Corporation                                                     PO Box 16253                                                            Greenville     SC           29606
    Messina Ndjana, Martial                                              Address Redacted
    Metal Solutions, Inc.                    Ashley Emerick              1141 Industrial Park Road                                               Vandergrift    PA           15690
    Metal Solutions, Inc.                    BOB GEER                    1141 Industrial Park Road                                               Vandergrift    PA           15690
    Metal Solutions, Inc.                    Brian Carney                1141 Industrial Park Road                                               Vandergrift    PA           15690
    Metal Solutions, Inc.                                                1141 Industrial Park Road                                               Vandergrift    PA           15690

    Metallurgical Technologies, Inc., P.A.                               160 Bevan Drive                                                         Mooresville    NC         28115
    Metalsa Sapi De CV                                                   Carr. Miguel Aleman KM 16.5 100                                         Apodaca        Nuevo Leon 66600           Mexico




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    Metaltec Steel Abrasive Company                                        41155 Joy Road                                                                       Canton         MI           48187
    Metcalf, Andrew                                                        Address Redacted
    METCO Inc.                                                             303 Highway 29 By-Pass                                                               Anderson       SC           29621
                                                                                                                                                                                                          United
    Metis Engineering Ltd                                                  2 Colliers Gardens                                                                   Backwell                    BS48 3DT      Kingdom
    Metrolink                                                              4501 4th Ave                                                                         Rock Island    IL           61201
    Metrolink                                                              1515 River Drive                                                                     Moline         IL           61265
    Metropolitan Council                                                   390 Robert St. N.                                                                    St. Paul       MN           55101
    Metropolitan Washington Airports
    Authority                                                              Two Potomac Yard                       2733 Crystal Drive                            Arlington      VA           22202
    Metropolitan Washington Airports
    Authority                                                              2733 Crystal Drive                                                                   Arlington      VA           22202
    Meza, Juan                                                             Address Redacted
    MFG West                               ANNALISE OROSCO                 9400 Holly Road                        PO Box 370                                    Adelanto       CA           92301
    MFG West                               BARBARA RIVET                   9400 Holly Road                        PO Box 370                                    Adelanto       CA           92301
    MFG West                               DANIEL CHIPS                    9400 Holly Road                        PO Box 370                                    Adelanto       CA           92301
    MFG West                                                               9400 Holly Road                        PO Box 370                                    Adelanto       CA           92301
    MGA Research Corporation                                               820 Suburban Park Drive                                                              Greer          SC           29651
    MGA Research Corporation                                               PO Box 689916                                                                        Chicago        IL           60695
    Mica Electrical Material (Luhe) Co.,
    Ltd.                                   Jonas Ju                        Development Zone, Hedong               Guandong Province        Luhe County          Shanwei City                516700        China
    Mica Electrical Material (Luhe) Co.,
    Ltd.                                   Wenyi Tang                      Development Zone, Hedong               Guandong Province        Luhe County          Shanwei City                516700        China
    Micah Morrell, Drone Scope Media                                       116 Rindge Road                                                                      Piedmont       SC           29673

    Michael and Company Interiors, Inc.                                    226 Pelham Davis Circle                                                              Greenville     SC           29615
    Michael Black Construction, Inc.                                       PO Box 4294                                                                          Hayward        CA           94540
    Michael C Hammond                      Storyboard Media Group          Address Redacted

    Michael E Boyle Consulting Services                                    7465 Maple Avenue                                                                    Maplewood      MO           63143-3029
    Michael F Murphy                       DBA postcorptv LLC              Address Redacted
    Michael Francis Adami                  DBA M. A. Communications        Address Redacted
    Michael J. Lyons                       DBA Mike Lyons Photography      Address Redacted
    Michael McCurdy                        DBA Mike McCurdy Roofing Inc.   Address Redacted
    Michael Prishlyak                      DBA Webwave Co.                 Address Redacted
    Michael Ray Segvich                                                    Address Redacted
    Michelin North America Inc             James Tillman                   2440 Hwy 39                                                                          Mountville     SC           29370
    Michelin North America Inc             Jim Anderson                    515 Michelin Road                                                                    Greenville     SC           29605
    Michelin North America, Inc.           GAIL BAXTER                     One Parkway South                                                                    Greenville     SC           29615
    Michelin North America, Inc.           GENE HUTCHINS                   One Parkway South                                                                    Greenville     SC           29615
    Michelin North America, Inc.           GEORGE KAHALEH                  One Parkway South                                                                    Greenville     SC           29615
    Michelin North America, Inc.                                           One Parkway South                                                                    Greenville     SC           29615
    Michelin North America, Inc.                                           8220 Troon Circle, Ste 200                                                           Austell        GA           30168
    Michelin North America, Inc.                                           3030 North Lamb Blvd, Ste 106                                                        Las Vegas      NV           89115
                                                                                                                                             430 West Allegan
    Michigan Dept of Treasury              Attn Litigation Liaison         Tax Policy Division                    2nd Floor, Austin Building Street             Lansing        MI           48922
    Michigan Dept of Treasury              Collection/Bankruptcy Unit      P.O. Box 30168                                                                       Lansing        MI           48909
    Michigan Dept of Treasury              Office of Collections           430 W. Allegan Street                  P.O. Box 30199                                Lansing        MI           48909
    Michigan Dept of Treasury              Unclaimed Property Division     7285 Parsons Dr                                                                      Dimondale      MI           48821
    Micro Precision Calibration, Inc.                                      2165 N Glassell                                                                      Orange         CA           92865
    Micro Precision Calibration, Inc.                                      6878 Santa Teresa Blvd                                                               San Jose       CA           95119
    Micro Precision Calibration, Inc.                                      22835 Industrial Place                                                               Grass Valley   CA           95949




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    Micro Quality Calibration, Inc.          Conrad Kramer                9168 De Soto Avenue                                                     Chatsworth      CA           91311
    Micro Quality Calibration, Inc.          Dulce Banuelos               9168 De Soto Avenue                                                     Chatsworth      CA           91311
    MicroDAQ, LLC                                                         879 Maple Street                                                        Contoocook      NH           03229
    MicroDAQ, LLC                                                         29 Pembroke Road                                                        Concord         NH           03301

    Microsemi Frequency and Time Corp Cheri Ramsey                        3870 N. 1st Street                                                      San Jose        CA           95134

    Microsemi Frequency and Time Corp                                     PO Box 847325                                                           Dallas          TX           75284-7325
    Microsoft Corporation                                                 PO Box 842103                                                           Dallas          TX           75282

    Mid-Atlantic Electrical Services, Inc.   Victor Rolli                 24556 Betts Pond Rd.                                                    Millsboro       DE           19966

    Mid-Atlantic Electrical Services, Inc.                                24556 Betts Pond Rd.                                                    Millsboro       DE           19966
    Middlesex Truck & Auto Body, Inc.                                     65 Gerard St                                                            Boston          MA           02119
    Middleton, Todd                                                       Address Redacted
    Midwest Motor Supply Co., Inc.           Kimball Midwest              4800 Roberts Road                                                       Columbus        OH           43228
    Miguel Angel Salazar Govea               S1 Cleaning                  Address Redacted
    Mijares, Exson                                                        Address Redacted
    Mikes Canvas                                                          Address Redacted
    Miles Fiberglass & Composites, Inc       Mollie LeClaire              8855 SE Otty Road                                                       Happy Valley    OR           97086
    Miles Fiberglass & Composites, Inc                                    11401 SE Jennifer St.                                                   Clackamas       OR           97015
    Mill Supply Inc                                                       19801 Miles Road                                                        Cleveland       OH           44128
    Mill Supply Inc                                                       PO Box 28750                                                            Cleveland       OH           44128-0750
    Millbrook Revolutionary Engineering,
    Inc.                                                                  36865 Schoolcraft Rd.                  Ste 1                            Livonia         MI           48150
    Miller Electric Company                                               6805 Southpoint Parkway                                                 Jacksonville    FL           32216
    Miller Jr., James                                                     Address Redacted
    Miller, Brian                                                         Address Redacted
    Miller, Charles                                                       Address Redacted
    Miller, Joshua                                                        Address Redacted
    Miller, Julie                                                         Address Redacted
    Miller, Kevin                                                         Address Redacted
    Miller, Randall                                                       Address Redacted
    Miller, Richard                                                       Address Redacted
    Miller, Sherri                                                        Address Redacted
    Miller, Zachary                                                       Address Redacted
    Milligan, David                                                       Address Redacted
    Mills, Shelia                                                         Address Redacted
    Miltec Rapid Manufacturing Systems
    LLC                                      Marshall Liles               357 Hidden Cove Ln                                                      Winchester      TN           37398
    Milwaukee Composites, Inc.                                            PO Box 780647                                                           Philadelphia    PA           19178-0647
    Milwaukee Composites, Inc.                                            6055 S. Pennsylvania Avenue                                             Cudahy          WI           53110
    Mimecast North America Inc               Edgar Genosa                 480 Plesant Street                                                      Watertown       MA           02472
    Mimecast North America Inc                                            191 Spring Street                                                       Lexington       MA           02421
    Mimecast North America Inc                                            Department CH 10922                                                     Palatine        IL           60055-0922
    Minervini, David                                                      Address Redacted
    Minitab, LLC                                                          1829 Pine Hall Road                                                     State College   PA           16801-3210
    Minnesota Dept of Commerce               Unclaimed Property Program   85 7th Place East, Ste 280                                              St Paul         MN           55101-2198
    Minnesota Dept of Revenue                                             600 North Robert Street                                                 St. Paul        MN           55101

    Minnesota Public Transit Association     MPTA                         525 Park Street                        Suite 240                        Saint Paul      MN           55103
    Minnesota Revenue                                                     Mail Station 1765                                                       St. Paul        MN           55145-1765




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    Minor, Matthew                                                        Address Redacted
    Miracle, David                                                        Address Redacted
    Mirades, Thomas                                                       Address Redacted
    Mirza, Sophya                                                         Address Redacted
    Mishra, Suchismita                                                    Address Redacted
    Mission Cloud Services, Inc.                                          4470 W Sunset Blvd                    Suite 107                PMB 94146     Los Angeles      CA           90027
    Mission CTRL - MC2                                                    39 Chenery St                                                                San Francisco    CA           94131
    Mississipi Treasury Office of the State
    Treasurer                               Unclaimed Property Division   PO Box 138                                                                   Jackson          MS           39205-0138
    Mississippi Child Support                                             P.O. Box 23094                                                               Jackson          MS           39225
    Mississippi Department of Revenue       Attn Bankruptcy Dept          500 Clinton Center Drive                                                     Clinton          MS           39056
    Mississippi Department of Revenue       Attn Bankruptcy Section       PO Box 22808                                                                 Jackson          MS           39225-2808

    Missoula Urban Transportation District John Roseboom                  1221 Shakespeare St                                                          Missoula         MT           59802
    Missouri Department of Revenue                                        PO Box 475                                                                   Jefferson City   MO           65105

                                                                                                                Harry S Truman State
    Missouri Department of Revenue                                        301 West High Street                  Office Building                        Jefferson City   MO           65101

                                                                                                                Harry S Truman State
    Missouri Dept of Revenue                                              301 West High Street                  Office Building                        Jefferson City   MO           65101
    Missouri Public Transit Association   Kimberly Celia                  911 Washington Ave                    Suite 200                              St. Louis        MO           63101
    Missouri State Treasury               Unclaimed Property Division     PO Box 1272                                                                  Jefferson City   MO           65102-1272

    Mistequay Group, Ltd                  CHRISTINA JONES                 JRJ Manufacturing Inc                 1156 N. Niagara Street                 Saginaw          MI           48602
    Misumi USA Inc                        Ktrena Spencer                  1717 N Penny Lane                     Suite 200                              Schaumburg       IL           60173
    Misumi USA Inc                                                        1717 N Penny Lane                     Suite 200                              Schaumburg       IL           60173
    Mitchell, Jeffrey                                                     Address Redacted
    Mitchell, Jeffrey                                                     Address Redacted
    Mitre, Jesus                                                          Address Redacted
    MKP Parts                             DELIANA VAN DER WEGEN           Gildeweg 22                                                                  Nootdorp                      2632 BA       Netherlands
    MKP Parts                             MARK Kieviet                    Gildeweg 22                                                                  Nootdorp                      2632 BA       Netherlands
    Mobile Climate Control, Corp.         Debbie Oliver                   75 Remittance Drive                   Suite 6668                             Chicago          IL           60675-6668
    Mobile Climate Control, Corp.         Donna Irving-Wright             75 Remittance Drive                   Suite 6668                             Chicago          IL           60675-6668
    Mobile Climate Control, Corp.         Ildiko Grant                    75 Remittance Drive                   Suite 6668                             Chicago          IL           60675-6668
    Mobile Climate Control, Corp.                                         75 Remittance Drive                   Suite 6668                             Chicago          IL           60675-6668

    Mobile Communications America, Inc. Alicia Ross                       100 Dunbar Street, Suite 304                                                 Spartanburg      SC           29306

    Mobile Communications America, Inc. CHRIS SIMPSON                     100 Dunbar Street, Suite 304                                                 Spartanburg      SC           29306

    Mobile Communications America, Inc. Ronnie Channell                   100 Dunbar Street, Suite 304                                                 Spartanburg      SC           29306

    Mobile Communications America, Inc.                                   PO Box 1458                                                                  Charlotte        NC           28207

    Mobile Communications America, Inc.                                   PO Box 3364                                                                  Spartanburg      SC           29304

    Mobile Communications America, Inc.                                   100 Dunbar Street, Suite 304                                                 Spartanburg      SC           29306

    Mobile Communications America, Inc.                                   4 SULPHUR SPRINGS RD                                                         Greenville       SC           29617
    Mobile Mark Inc                     Christian Hansen                  1140 W. Thorndale                                                            Itasca           IL           60143
    Mobile Mark Inc                     NICK Mobile Mark Inc              1140 W. Thorndale                                                            Itasca           IL           60143




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                 CreditorName                   CreditorNoticeName                 Address1                        Address2       Address3           City         State           Zip   Country
    Mobile Mark Inc                                                  1140 W. Thorndale                                                        Itasca         IL           60143
    Mobile Power Solutions                                           6260 SW Arctic Dr                                                        Beaverton      OR           97005
    Mobile Relay Associates            Raycom                        15330 Vermont Avenue                                                     Paramount      CA           90723
    Mobileye Inc                                                     1350 Broadway                       Suite 1600                           New York       NY           10018
    Mobility Forefront LLC                                           535 Middlefield Road                Suite 100                            Menlo Park     CA           94025
    Modder, Robert                                                   Address Redacted
    Modern Mail Services, Inc.                                       Modern Express Courier              P.O. Box 8195                        Walnut Creek   CA           94596
    ModernTech Corporation                                           1626 Downtown West Blvd                                                  Knoxville      TN           37919
    Modine Manufacturing Company       BEN WHITE                     PO Box 809625                                                            Chicago        IL           60680
    Modine Manufacturing Company       Katie Brittney Thomas         PO Box 809625                                                            Chicago        IL           60680
    Modine Manufacturing Company       KEITH PING                    PO Box 809625                                                            Chicago        IL           60680
    Modine Manufacturing Company                                     PO Box 809625                                                            Chicago        IL           60680
    Mohamad Saad                                                     Address Redacted
    Mohawk Resources Ltd                                             PO Box 110                                                               Amsterdam      NY           12010
    Mohawk Southeast, Inc.                                           601 Eastchester Drive               Suite D                              High Point     NC           27262
    Mohmoud, Adam                                                    Address Redacted
    Molded Devices, Inc.                                             740 W Knox Rd                                                            Tempe          AZ           85284-3800
    Molded Fiber Glass                 ERIC BRACE                    55 Fourth Ave.                                                           Union City     PA           16438
    Moldovan, Lorand                                                 Address Redacted
    Molina Jr., Leonel                                               Address Redacted
    MOLINA, LEONEL                                                   Address Redacted
    Moncada, Luis                                                    Address Redacted
    Monoprice, Inc.                                                  PO Box 740417                                                            Los Angeles    CA           90074-0417
    Monreal, Steve                                                   Address Redacted
    Monroe Magnus LLC                  DBA Magnus Mobility Systems   2805 Barranca Parkway                                                    Irvine         CA           92606
    Montana Department of Revenue                                    PO Box 8021                                                              Helena         MT           59604
                                                                     Tammie Chenoweth & Marci Ballard
    Montana Dept of Revenue            Attn Bankruptcy Dept          Gohn                                125 N. Roberts       P.O. Box 5805   Helena         MT           59604-5805
    Montana Dept of Revenue            Unclaimed Property            PO Box 5805                                                              Helena         MT           59604-5805
    Montana Transit Associaton                                       2820 S. Higgins Avenue                                                   Missoula       MT           59801
    Montano Martinez, Jovan                                          Address Redacted
    Montano, Jonathan                                                Address Redacted
    Monteith, Ashley                                                 Address Redacted
    Montes Bros. Construction Inc      DBA MBC INC                   PO Box 5564                                                              Hercules       CA           94547
    Montes Solano, Carlos                                            Address Redacted
    Montes, Moana                                                    Address Redacted
    Montgomery County, MD                                            101 Monroe St.                      8th Floor                            Rockville      MD           20850
    Montiel, Ruben                                                   Address Redacted
    Montoya, Emanuel                                                 Address Redacted
    Moody, Elexus                                                    Address Redacted
    Moody, Kristopher                                                Address Redacted
    Moody, Nicholas                                                  Address Redacted
    Moon Roof Corporation of America   DBA MRC Manufacturing         28117 Groesbeck Highway                                                  Roseville      MI           48066
    Moore & Balliew Oil Company Inc.                                 2903 Rutherford Rd                                                       Taylors        SC           29687
    Moore, Christopher                                               Address Redacted
    Moore, Lindsay                                                   Address Redacted
    Moore, Terry                                                     Address Redacted
    Moorhouse, Deanna                                                Address Redacted
    Morales, Alejandro                                               Address Redacted
    Morales, Andrew                                                  Address Redacted
    Morales, Gabriel                                                 Address Redacted
    Morales, Joshua                                                  Address Redacted




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    Moran, Stephanie                                                    Address Redacted
    MORE Consulting                         Michael C. Orosco           60 W Main Ave Ste 21                                                      Morgan Hill   CA           95037-4571
    MORE Consulting, Inc.                                               60 W. Main Ave.                          Suite 21                         Morgan Hill   CA           95037
    Moreno Jr., Edward                                                  Address Redacted
    Moreno Jr., Ignacio                                                 Address Redacted
    Moreno, Brandon                                                     Address Redacted
    Moreno, Gildardo                                                    Address Redacted
    Moreno, Nicholas                                                    Address Redacted
    Moreno, Rebecca                                                     Address Redacted
    Morfin Rios, Jared                                                  Address Redacted
    Morfin, Oliver                                                      Address Redacted
    Morgan Louise Imrie Osment                                          Address Redacted
    Morgan Stanley                                                      Address Redacted
    Morgan, Frank                                                       Address Redacted
    Morgan, Graham                                                      Address Redacted
    Morgan, James                                                       Address Redacted
    Moring, Leonard                                                     Address Redacted
    Morris, Amanda                                                      Address Redacted
    Morrison, Nathan                                                    Address Redacted
    Morrow, Ryan                                                        Address Redacted
    Morton, Alden                                                       Address Redacted
    Moser Services Group, LLC               DBA EV Charge Solutions     7464 W. Henrietta Rd.                                                     Rush          NY           14543
    Moss Marketing                                                      215 S Wadsworth Blvd                     Suite 220                        Lakewood      CO           80226
    Motion & Flow Control                   McCoy Sales Corporation     PO Box 270088                                                             Littleton     CO           80127-0088
    Motion AI                               Motion Industries           1605 Alton Road                                                           Birmingham    AL           35210

    Motion and Flow Control Products Inc.                               8433 Solution Center                                                      Chicago       IL           60677-8004

    Motion and Flow Control Products Inc.                               7941 Shaffer Parkway                     PO Box 270088                    Littleton     CO           80127
    Motion Industries, Inc                GPC                           2041 Saybrook Ave                                                         Los Angeles   CA           90040
    Motion Industries, Inc                GPC                           File 57463                                                                Los Angeles   CA           90074-7463
    Motion Industries, Inc                GPC                           8076 Central Ave                                                          Newark        CA           94560
    Motion Savers Inc.                                                  8573 Mason Montgomery Rd                 Suite # 40                       Mason         OH           45040
    Motion Savers Inc.                                                  9378 Mason Montgomery Rd                                                  Mason         OH           45040
    Motor City Racks, Inc.                Essex Weld                    597 Ford Road                            MESLER                           Gaffney       SC           29340
    Motor City Racks, Inc.                Essex Weld                    597 Ford Road                                                             Gaffney       SC           29340
    Motor City Racks, Inc.                Essex Weld                    597 Ford Road                            JOHN FRIESEN                     Gaffney       SC           29340
    Motor City Racks, Inc.                Essex Weld                    597 Ford Road                            MATT GLEASON                     Gaffney       SC           29340
    Motor City Racks, Inc.                Essex Weld                    24445 Forterra Dr                                                         Warren        MI           48089
    Motor City Racks, Inc.                Essex Weld                    24445 Forterra Dr                        Greg Lumley                      Warren        MI           48089
    Motor City Racks, Inc.                Essex Weld                    24445 Forterra Dr                        Eric Kettunen                    Warren        MI           48089
    Motor City Racks, Inc.                Essex Weld                    24445 Forterra Dr                        Daniel Skelton                   Warren        MI           48089
    Motor Vehicle Industry Licensing
    Board                                                               PO Box 3469                                                               Honolulu      HI           96801
    Motorola Solutions Inc                                              PO Box 404059                                                             Atlanta       GA           30384
    Motter, Andrew                                                      Address Redacted
    Mottram, Paul                                                       Address Redacted
    Mottsmith, Rosemary                                                 Address Redacted
    Mountain Machinery Repair Inc.                                      939 Edgecliff Drive                                                       Reno          NV           89523
    Mouser Electronics                    EMILY GAY                     PO Box 99319                                                              Ft. Worth     TX           78199-0319
    Mouser Electronics                    Jamie Sprague                 PO Box 99319                                                              Ft. Worth     TX           78199-0319
    Mouser Electronics                    Kiyaun Washington             PO Box 99319                                                              Ft. Worth     TX           78199-0319




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    Mouser Electronics                                               PO Box 99319                                                                  Ft. Worth       TX           78199-0319
    Movement Search LLC                                              20 W Washington Street                    Suite 14                            Clarkston       MI           48346
    Mowry, Tyler                                                     Address Redacted
    Mozy, Inc                            DBA Decho Corp              15767 Collections Center Dr                                                   Chicago         IL           60693
    MPS Industries Inc.                                              10991 Petal St                                                                Dallas          TX           75238
    MPS Industries Inc.                                              19210 S. Vermont Ave                      Bldg D-415                          Gardena         CA           90248
    MPTA                                 Samantha Schwanke           525 Park Street                           Ste. 240                            St. Paul        MN           55103
                                                                                                                                                                                             New
    MRCagney Pty Limited                                             Level 4                                   12 O Connell Street                 Auckland                     1010         Zealand
    MrMr Industry, Inc                                               1725 Orangethorpe Park                                                        Anaheim         CA           92801
    MSC Industrial Supply Co.            RUTH VEGA                   PO Box 953635                                                                 Saint Louis     MO           63195-3635
    MSC Industrial Supply Co.                                        PO Box 953635                                                                 Saint Louis     MO           63195-3635
    MSC Industrial Supply Company                                    515 Broadhollow Road                                                          Melville        NY           11747
    MSC Software Corporation                                         PO Box 535277                                                                 Atlanta         GA           30353-5277
    MSC Software Corporation                                         4675 MacArthur Court                      Suite 9                             Newport Beach   CA           92660
    MSDSonline Inc. DBA VelocityEHS                                  27185 Network Place                                                           Chicago,        IL           60673
    MSI-Viking Gage, LLC                                             PO Box 537                                321 Tucapau Rd                      Duncan          SC           29334
    MSMB Construction Maintenance        Michael C. Waters           10 Ladbroke Road                                                              Greenville      SC           29615
    MSMB Construction Maintenance                                    12 Willow Drive                                                               Greenville      SC           29609
    MSMB Construction Maintenance                                    10 Ladbroke Road                                                              Greenville      SC           29615
    MSMB Construction Maintenance                                    101 Folkstone Court                                                           Easley          SC           29640
    MTB Transit Solutions Inc.           Tom Glover                  8170 Lawson Road                                                              Milton          ON           L9T 5C4      Canada
    Mubea, Inc.                                                      PO Box 636331                                                                 Cincinnati      OH           45263
    Much Shelist, P.C.                                               191 North Wacker Drive                    Suite 1800                          Chicago         IL           60606
    Mullaney, Morgan                                                 Address Redacted
    Mullen Coughlin, LLC                                             426 W Lancaster Avenue                    Suite 200                           Devon           PA           19333
    Multi-Service Technology Solutions                               7601 Penn Ave. South                                                          Richfield       MN           55423
    Multi-Service Technology Solutions                               PO Box 731247                                                                 Dallas          TX           75373-1247
    Munaco Sealing Solutions, Inc.       Tim Ennis                   5 Ketron Court                                                                Greenville      SC           29607
    Munaco Sealing Solutions, Inc.                                   5 Ketron Court                                                                Greenville      SC           29607
    Munafo, Allison                                                  Address Redacted
    Munich Electrification               Adria Riera                 Landaubogen 1                                                                 Munich                       81373        Germany
    Munich Electrification               Katrin Frommelt             Landaubogen 1                                                                 Munich                       81373        Germany
    Munich Electrification               Vladislavs Kabanovs         Landaubogen 1                                                                 Munich                       81373        Germany
    Munich Electrification                                           Landaubogen 1                                                                 Munich                       81373        Germany
    Municipal Emergency Services, Inc.   Travis Cone                 PO Box 656                                                                    Southbury       CT           06488
    Municipal Maintenance Equipment,
    Inc.                                                             4634 Mayhew Road                                                              Sacramento      CA           95827
    Murphy, Devin                                                    Address Redacted
    Murphy, Joseph                                                   Address Redacted
    Mustafa, Sabreenah                                               Address Redacted
    Mutual Solutions LLC                                             84 Saw Mill Road                                                              Branford        CT           06405
    MV Transportation, Inc.              Janet Zimmerman             2024 College Street                                                           Elk Horn        IA           51531
    Mycorrxyz Inc.                       Pioneer                     2 Sandpoint Dr                                                                Richmond        CA           94804
    Myers, Kevin                                                     Address Redacted
    Myers, Kevin                                                     Address Redacted
    Myers, Larry                                                     Address Redacted
    Myun, Jesse                                                      Address Redacted
    N.F. Smith & Associates, L.P.                                    5306 Hollister Street                                                         Houston         TX           77040
    Nadzam, Eric                                                     Address Redacted
    Naidu, Navneel                                                   Address Redacted
    Naidu, Tenesh                                                    Address Redacted




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    Nain, Raman                                                               Address Redacted
    Nair, Jishnu Sudhir                                                       Address Redacted
    Naldoza, Steve                                                            Address Redacted
    NameStormers                          Intrinsics, Inc.                    2201 East Windsor Road                                                   Austin         TX           78703
    Nano Precision Manufacturing, Inc     Jay Lee                             4580 Enterprise Street                                                   Fremont        CA           94538
                                          CHARLOTTE AR/AP CHARLOTTE
    NAPA AUTO PARTS                       AR/AP                               1014 Laurens Rd.                                                         Greenville     SC           29607
    NAPA AUTO PARTS                       Debbie Gosnell                      1014 Laurens Rd.                                                         Greenville     SC           29607
    NAPA AUTO PARTS                       Jeff Orndorff                       1014 Laurens Rd.                                                         Greenville     SC           29607
    NAPA AUTO PARTS                                                           1014 Laurens Rd.                                                         Greenville     SC           29607

    Narayanan Srinivasan                  Fulfeelment, LLC                    2201 Long Prairie Road Suite 107-325                                     Flower Mound   TX           75022
    Narayanan Srinivasan                  Fulfeelment, LLC                    3813 Appleton Ln                                                         Flower Mound   TX           75022
    Narayanasamy, Sankaranarayanan                                            Address Redacted
    NASDAQ Private Market - LBX
    #41700                                                                    PO Box 780700                                                            Philadelphia   PA           19178-0700

    Nasdaq, Inc                           DBA nasdaq Corporate Services, LLC One Liberty Plaza - 49th FL                                               New York       NY           10006
    Nasiphandone, John                                                       Address Redacted
    Nass Jr., Thomas                                                         Address Redacted

    Nassau County, NY                                                         998 East Old Country Road              Suite C, PMB #260                 Plainview      NY           11803
    Nassiri, Navid                                                            Address Redacted
    Natalie C Metcalf                                                         Address Redacted
    Natalie Marie Ramirez                                                     Address Redacted
    Nathan Jones                                                              Address Redacted
    Nathania, Monica                                                          Address Redacted
    National Association for Pupil
    Transportation (NAPT)                 Brianne Peck                        1840 Western Avenue                                                      Albany         NY           12203
    National Association of Corporate
    Directors                                                                 1515 N. Courthouse Road                Suite 1200                        Arlington      VA           22201
    National Business Furniture LLC                                           770 South 70th Street                                                    Milwaukee      WI           53214
    National Business Furniture LLC                                           3530 Wilshire Blvd                     Suite 710                         Los Angeles    CA           90010
    National Car Rental                                                       PO Box 801770                                                            Kansas City    MO           64180
    National Cart LLC                                                         3125 Boschertown Road                                                    St. Charles    MO           63301
    National Instruments Corporation                                          PO Box 202262                                                            Austin         TX           78759
    National Integrated Systems, Inc.                                         47676 Galleon Drive                                                      Plymouth       MI           48170
    National Safety Council                                                   1121 Spring Lake Drive                                                   Itasca         IL           60143-3201

    National Sheet Metal Machines, Inc.                                       PO Box 72                              Attn Tim Cantrell                 Smartt         TN           37378
    National Test Equipment Inc.                                              1935 Plaza Real                                                          Oceanside      CA           92056
    National Union Fire Insurance
    Company of Pittsburgh, Pa.                                                1271 Ave of the Americas, Fl 37                                          New York       NY           10020-1304
    Nava, Efrain                                                              Address Redacted
    Navarro, Angel                                                            Address Redacted
    Navex Global Inc.                                                         5500 Meadows Rd.                       Suite 500                         Lake Oswego    OR           97035
    Navisite LLC                          Remote DBA Experts, LLC             400 Minuteman Rd                                                         Andover        MA           01810
    Navistar, Inc.                        DBA Navistar Proving Grounds        1111 Northshore Drive                                                    Knoxville      TN           37919
    Naylor LLC                            Alicia Casos                        PO Box 677251                                                            Dallas         TX           75267
    Naylor LLC                                                                5950 NW 1st Place                                                        Gainesville    FL           32607-6018
    Naylor LLC                                                                Naylor (Canada)                        PO Box 66512        AMG OHare     Chicago        IL           60666-0512
    Naylor LLC                                                                PO Box 677251                                                            Dallas         TX           75267




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    NC Coatings LLC                         James McDaniel                     178 North Main Street                                                         Stanley       NC           28164
    NC Department of Revenue                                                   PO Box 25000                                                                  Raleigh       NC           27640
    NC Dept of Revenue                                                         PO Box 25000                                                                  Raleigh       NC           27640-0150
    NC Division of Motor Vehicles, Fiscal
    Section                                                                    PO Box 29615                                                                  Raleigh       NC           27626
    NCC Automated Systems, Inc.                                                255 Schoolhouse Road                                                          Souderton     PA           18964
    Neal, Alex                                                                 Address Redacted
    Neal, Gerber & Eisenberg, LLP                                              2 North LaSalle St                                                            Chicago       IL           60602
    Neal, Stephen                                                              Address Redacted
                                                                                                                        301 Centennial Mall
    Nebraska Dept of Revenue                Attn Bankruptcy Unit               Nebraska State Office Building           South                                Lincoln       NE           68508
    Nebraska Dept of Revenue                Attn Bankruptcy Unit               PO Box 94818                                                                  Lincoln       NE           68509-4818
    Nebraska State Treasurer                Unclaimed Property Division        809 P St                                                                      Lincoln       NE           68508-1390
    Neelamraju, Hanumantharao                                                  Address Redacted
    Neely Electric Inc.                                                        10481 Mocassin Ln.                                                            Missoula      MT           59808
    Nefab Packaging, Inc.                   DBA Nefab Packaging West, LLC      204 Airline Drive, Ste 100                                                    Coppell       TX           75019
    Nefab Packaging, Inc.                   DBA Nefab Packaging West, LLC      8477 Central Ave                                                              Newark        CA           94560
    Nelson Global Products                                                     1560 Williams Drive                                                           Stoughton     WI           53589-3336
    Nelson, Samuel                                                             Address Redacted
    Nemec, Jack                                                                Address Redacted
    Nereson, Brent                                                             Address Redacted
    Nestle Waters North America dba
    ReadyRefresh by Nestle                                                     PO Box 856680                                                                 Louisville    KY           40285
    Nestle Waters North America dba
    ReadyRefresh by Nestle                                                     PO Box 856192                                                                 Louisville    KY           40285
    NETAPP INC.                                                                3600 Olsen Dr                                                                 San Jose      CA           95128
    NetLink Inc.                                                               206 Woods Lake Road                                                           Greenville    SC           29607
                                                                                                                                                                                                     United
    Netvu Limited                           STEVE BEAVEN                       No. 1 Thellow Heath Park                 Northwich Road                       Antrobus      Cheshire     CW9 6JB      Kingdom
    Network Controls & Electric, Inc.       Carole Toth                        1521 S. Buncombe Rd                                                           Greer         SC           29651
    Network Controls & Electric, Inc.                                          136 Johns Rd.                                                                 Greer         SC           29650
    Network Controls & Electric, Inc.                                          1521 S. Buncombe Rd                                                           Greer         SC           29651
    Nevada Dept of Taxation                 Attn Bankruptcy Dept               700 E. Warm Springs Rd. 2nd Floor                                             Las Vegas     NV           89119
    Nevada Dept of Taxation                 Attn Bankruptcy Dept               1550 College Pkwy Ste 115                                                     Carson City   NV           89706

                                                                                                                        555 E Washington Ave
    Nevada Office of the State Treasurer    Unclaimed Property Division        Grant Sawyer Bldg                        Ste 4200                             Las Vegas     NV           89101
    Nevarez, Humberto                                                          Address Redacted
    New Eagle, LLC                                                             3588 Plymouth Road                       #272                                 Ann Arbor     MI           48105

    NEW HAMPSHIRE DEPARTMENT                                                   109 Pleasant St. (Medical & Surgical     Governor Hugh Gallen
    OF REVENUE ADMINISTRATION               ATTN LEGAL BUREAU                  Building)                                State Office Park                    Concord       NH           03301

    New Hampshire State Treasury            Abandoned and Unclaimed Property   25 Capitol St, Room 121                                                       Concord       NH           03301
    New Jersey Division of Taxation                                            PO Box 666                                                                    Trenton       NJ           08646-0666
    New Mexico Taxation and Revenue
    Department                                                                 PO Box 25127                                                                  Santa Fe      NM           87504-5127
    New Mexico Taxation and Revenue
    Dept                                    Unclaimed Property Office          1200 South St Francis Dr                                                      Santa Fe      NM           87504

    New York City Department of Finance                                        1 Centre St Floor 22                                                          New York      NY           10007




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                                                                                                                ATTN Mr. Gianfranco
    New York City Transit Authority                                    750 Zerega Avenue                        DiMeglio                            Bronx              NY           10473
    New York City Transit Authority                                    48-05 Grand Ave                                                              Maspeth            NY           11378
    New York Public Transit Association
    Inc.                                                               136 Everett Road                                                             Albany             NY           12205
    New York State Department of
    Taxation                                                           W A Harriman Campus Building 9                                               Albany             NY           12227
    New York State Dept of Taxation and
    Finance                             Attn Office of Counsel         Building 9                               WA Harriman Campus                  Albany             NY           12227
    New York State Dept of Taxation and
    Finance                             Bankruptcy Section             PO Box 5300                                                                  Albany             NY           12205-0300
    New York State Office of the State
    Comptroller                         Office of Unclaimed Funds      110 State St                                                                 Albany             NY           12236
    New, Gerald                                                        Address Redacted
                                                                                                                NOS 1 SHEUNG YUET     KOWLOON BAY
    Neware Technology Limited                                          Offic C 22/F, YHC TOWER                  ROAD                  KLN           HONG KONG                       999077        China
    Newark Element 14                                                  33190 Collection Center Drive                                                Chicago            IL           60693-0331

    Newegg Business Inc.                                               17560 Rowland St.                                                            City Of Industry   CA           91748
    Newport Corporation                 MKS Instruments, Inc.          1791 Deere Avenue                                                            Irvine             CA           92606
                                                                                                                                                    West Valley
    Newspaper Agency Company, LLC       DBA Utah Media Group           4770 South 5600 West                                                         City               UT           84118
    NexGen Search Solutions, LLC                                       PO Box 2689                                                                  Edwards            CO           81632
    Nexsen Pruet LLC                                                   PO Drawer 2426                                                               Columbia           SC           29202
    Nexsen Pruet LLC                                                   101 Bullitt Lane, Suite 205                                                  Toledo             OH           43604
    NextEnergy Center                                                  461 Burroughs Street                                                         Detroit            MI           48202
    Nguyen, Daniel                                                     Address Redacted
    Nguyen, David                                                      Address Redacted
    Nguyen, Don                                                        Address Redacted
    Nguyen, Hieu                                                       Address Redacted
    Nguyen, Jimmy                                                      Address Redacted
    Nguyen, Ngoc                                                       Address Redacted
    Nguyen, Ryan                                                       Address Redacted
    Nguyen, Tai                                                        Address Redacted
    Nguyen, Vi                                                         Address Redacted
    NHResearch, LLC                                                    16601 Hale Avenue                                                            Irvine             CA           92606
    Niagara Frontier Transportation
    Authority                                                          181 Ellicott St                                                              Buffalo            NY           14203
    Nicholson III, Dale                                                Address Redacted
    Nicholson, Thomas                                                  Address Redacted
    Nicklaus, Tyler                                                    Address Redacted
    Nicolaou, Alexander                                                Address Redacted
    Nielsen, Roger                                                     Address Redacted
    Nielsen, Taylor                                                    Address Redacted
    Nielsen, Ulrik                                                     Address Redacted
    Nikhil Lulla                                                       Address Redacted
    Nikola Corporation                                                 4141 E Broadway Rd                                                           Phoenix            AZ           85040
    Nikola Iveco Europe GmbH                                           Nicolau-Otto Stabe 27                                                        Ulm                             89079         Germany
                                                                       No 367 Xingda Road, Xingqi ,Beilun
    Ningbo Wego Machinery Co.,Ltd       Jim Liu                        District                                                                     Ningbo             Zhejiang     315800        China




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                                                                          No 367 Xingda Road, Xingqi ,Beilun
    Ningbo Wego Machinery Co.,Ltd        Jones Cao                        District                                                                       Ningbo          Zhejiang     315800        China
    Ningbo Xusheng Group Co., Ltd.       Claudia Xiong                    No 128 Yingluohe Rd, Beilun             Zhejiang                               Ningbo                       315800        China
    Ningbo Xusheng Group Co., Ltd.       Jerry Yu                         No 128 Yingluohe Rd, Beilun             Zhejiang                               Ningbo                       315800        China
                                         Ningbo Xusheng Auto Technology
    Ningbo Xusheng Group Co., Ltd.       Co., Ltd.                        No 128 Yingluohe Rd, Beilun             Zhejiang                               Ningbo                       315800        China
    Ningbo Xusheng Group Co., Ltd.                                        No 128 Yingluohe Rd, Beilun             Zhejiang                               Ningbo                       315800        China


    Ningbo Yexing Automotive Part Co.,                                                                            Cidong Binhai Economic
    Ltd.                                 COCO RONG                        No. 259 Haifeng Road                    Development Area                       Cixi            China        315338        China

    Ninyo & Moore Geotechnical &
    Environmental Sciences Consultants   Alfredo Rodriguez                475 Goddard, Suite 200                                                         Irvine          CA           92618

    Ninyo & Moore Geotechnical &
    Environmental Sciences Consultants                                    5710 Ruffin Road                                                               San Diego       CA           92123
    Nissens Cooling Solutions, Inc.      ALAN STEIGHNER                   115 North Commercial Drive, Unit D                                             Mooresville     NC           28115
    Nissens Cooling Solutions, Inc.      CHERYL POGSON                    115 North Commercial Drive, Unit D                                             Mooresville     NC           28115
    Nix, Cecilia                                                          Address Redacted
    Nixon Power Services, LLC                                             155 Franklin Rd                         ste 255                                Brentwood       TN           37027
    NM Passenger Transportation
    Association                          DBA NM Transit Association       PO Box 15272                                                                   Rio Rancho      NM           87174
    No on Prop 6 Stop the Attack on
    Bridge & Road Safety, sponsored by
    business, labor, local governments
    and transp                                                            1787 Tribute Road                       Suite K                                Sacramento      CA           95818
    Noll, Corbin                                                          Address Redacted
    Nolte, Kurt                                                           Address Redacted
    NoMuda VisualFactory Inc.            Dave Lathey                      2500 Regency Parkway                                                           CARY            NC           27518
    NoMuda VisualFactory Inc.                                             2500 Regency Parkway                                                           CARY            NC           27518
    Nor-Cal Controls, Inc.                                                1952 Concourse Drive                                                           San Jose        CA           95131
    NORCAL Portable Services, Inc.                                        PO Box 53328                                                                   San Jose        CA           95153
    Nordson Corporation                  Attn Credit Risk                 300 Nordson Drive                                                              Amherst         OH           44001
                                                                                                                                                         East
    Nordson Corporation                  Nordson EFD LLC                  40 Catamore Boulevard                                                          Providence      RI           02914
                                                                                                                                                         East
    Nordson Corporation                                                   40 Catamore Boulevard                                                          Providence      RI           02914
    Nordson Corporation                                                   28775 Beck Rd                                                                  Wixom           MI           48393
                                                                                                                                                         East
    Nordson EFD LLC                      Diane Gray                       40 Catamore Blvd                                                               Providence      RI           02914
    Norfolk Wire and Electronics                                          PO Box 890608                                                                  Charlotte       NC           28289
    NORMA Michigan, Inc.                                                  2430 E. Walton Blvd                                                            Auburn Hills    MI           48326
    Norman Cruz                                                           Address Redacted
    Norman Cruz                                                           Address Redacted
    Norman Scally                        DBA Scally Computechs            Address Redacted
    Norman, Bryan                                                         Address Redacted
    Norris, Jatavis                                                       Address Redacted
    Norris, Kayla                                                         Address Redacted
    North American Capacity Insurance
    Company                                                               650 Elm Street                                                                 Manchester      NH           03101
    North American Fabrics, Inc                                           1155 Cleveland Avenue                                                          Wyomissing      PA           19610




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    North Bay Distribution                                                  2050 Cessna Dr.                                                                     Vacaville     CA            95688
    North Carolina Child Support                                            PO Box 20800                                                                        Raleigh       NC            27619-0800
    North Carolina Dept of Revenue        Attn Bankruptcy Dept              PO Box 25000                                                                        Raleigh       NC            27640-0640
    North Carolina Dept of Revenue        Attn Bankruptcy Unit              Post Office Box 1168                                                                Raleigh       NC            27602-1168
    North Carolina Dept of State
    Treasurer                             Unclaimed Property Division       PO Box 20431                                                                        Raleigh       NC            27619-0431
    North Carolina Metropolitan Mayors
    Coalition                                                               4441 Six Forks Rd, Ste 106-399                                                      Raleigh       NC            27609
    North Dakota State Land Dept          Unclaimed Property Division       1707 N 9th St                                                                       Bismarck      ND            58501-1853
    North Eastern Bus Rebuilders, Inc.    Henry Stobierski                  3025 Veterans Memorial Highway                                                      Ronkonkoma    NY            11779
    Northeast Passenger Transportation
    Association                                                             PO Box 438                                                                          Foxboro       MA            02035
    Northern Altair Nanotechnologies Co.,
    Ltd                                   Alex Li                           Altair New Energy Industrial Park                                                   Wuan          Hebei                      China
                                          E. Todd Sable, Esq. & Cydney J.
    Northern Cable and Automation LLC McGill, Esq.                          Honigman LLP                           2290 First National Bldg   660 Woodward Ave Detroit        MI            48226-3506

    Northern Cable and Automation LLC                                       450 North Old Woodward, Suite 2                                                     Birmingham    MI            48009
    Northern Tool & Equipment Catalog
    Company, Inc.                                                           PO Box 105525                                                                       Atlanta       GA            30348
    Northern Tool & Equipment Catalog
    Company, Inc.                                                           PO Box 1499                                                                         Burnsville    MN            55337
    Northern.tech, Inc.                                                     470 Ramona Street                                                                   Palo Alto     CA            94301
    Northwest PA Mobility Alliance                                          214 Pine Street                                                                     Meadville     PA            16335
    Norton, Mark                                                            Address Redacted
    Norton, Nathaniel                                                       Address Redacted
    Nostalgic Air Parts                                                     2124 SW PINE AVE                       Unit 200                                     Ocala         FL            34471
    Nourse, John                                                            Address Redacted
    Novellino, Peter                                                        Address Redacted
    Novoa, Angela                                                           Address Redacted
    Novotny, Benjamin                                                       Address Redacted
    Nowacki, Matthew                                                        Address Redacted
    NPS / IMR Financial Manger                                              12795 W. Alameda Pkwy                                                               Lakewood      CO            80228
                                         NSF International Strategic
    NSF International                    Registrations Ltd                  789 N. Dixboro Rd                                                                   Ann Arbor     MI            48105
    NSF International                                                       Dept. Lockbox #771380                  PO Box 77000                                 Detroit       MI            48277-1380
    NSF International Strategic
    Registrations, Ltd                   Danielle Pope                      789 N Dixboro Rd                                                                    Ann Arbor     MI            48105
    NSF International Strategic
    Registrations, Ltd                                                      Dept. Lockbox #771380                  PO Box 77000                                 Detroit       MI            48277-1380
    NSI, Inc.                                                               PO Box 4281                                                                         Greensboro    NC            27404

    NSK Industries Inc                   ERIKA Drum                         150 Ascot Parkway                                                                   Cuyahoga Falls OH           44223

    NSK Industries Inc                   Lauren Kincaid                     150 Ascot Parkway                                                                   Cuyahoga Falls OH           44223

    NSK Industries Inc                                                      PO Box 1089                                                                         Cuyahoga Falls OH           44223

    NSK Industries Inc                                                      150 Ascot Parkway                                                                   Cuyahoga Falls OH           44223
                                                                            c/o Gellert Scali Busenkell & Brown,   1201 N. Orange St., Ste.
    NSK Industries, Inc.                 Bradley P. Lehman                  LLC                                    300                                          Wilmington    DE            19801
    NSTI LLC                             TechConnect                        696 San Ramon Valley Blvd              Suite 423                                    Danville      CA            94526




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    NTF Micro Filtration USA, Inc.                                              28221 Beck Road                       Building A1                              Wixom              MI           48393
    NTS Technical Systems                                                       PO Box 733364                                                                  Dallas             TX           75373-3364
    NTS Technical Systems                                                       24007 Ventura Blvd                    Suite 200                                Calabasas          CA           91302
    NTS Technical Systems                                                       20970 Centre Pointe Parkway                                                    Santa Clarita      CA           91350
    NTS Technical Systems                                                       1536 East Valencia Dr.                                                         Fullerton          CA           92831
    Numatek LLC                             DBA Eye9 Design                     PO Box 461712                                                                  Aurora             CO           80046
    Nunez, David                                                                Address Redacted
    Nunez, Kenny                                                                Address Redacted
    Nunez, Ramon                                                                Address Redacted
    NYC Department of Finance                                                   PO Box 3933                                                                    New York           NY           10008
    Nystrom, John                                                               Address Redacted

    Oasis Sales, Inc.                                                           PMB# 424                              7650 S. McClintock Drive Ste. 103        Tempe              AZ           85284
    Oasis Scientific Inc.                                                       3110 Wade Hampton Blvd                Suite 18                                 Taylors            SC           29687
    OBD2Cables.com                                                              1819 W Rose Garden Ln                 Suite 3                                  Phoenix            AZ           85027
    OBrien Atkins Associates, PA            Rita Whitfield                      PO Box 12037                                                                   RTP                NC           27707
    Ocampo, Jonathan                                                            Address Redacted
    Ocampo, Robert                                                              Address Redacted
    Occupational Health Centers of                                                                                                                             Rancho
    California, A Medical Corporation       Concentra Medical Centers           PO Box 3700                                                                    Cucamonga          CA           91729
    Occuvax, LLC                                                                13308 Chandler Road                                                            Omaha              NE           68137
    Ochoa, Carmen                                                               Address Redacted
    Ochoa, Juan                                                                 Address Redacted
    Odgers Berndtson LLC                                                        730 Third Avenue                      23rd Floor                               New York           NY           10017
    ODonald, Donnie                                                             Address Redacted
    OEM Materials & Supplies Inc.           ANA GARCIA                          1500 Ritchey Street                                                            Santa Ana          CA           92705
    OEM Materials & Supplies Inc.                                               1500 Ritchey Street                                                            Santa Ana          CA           92705
    Oeschger, Michael                                                           Address Redacted

    Off the Grid Services LLC                                                   Fort Mason Center                     Building C, Room 370                     San Francisco      CA           94123
    Office Max                                                                  PO Box 101705                                                                  Atlanta            GA           30392-1705
    Office Max                                                                  PO Box 29248                                                                   Phoenix            AZ           85038
                                                                                                                      100 North Union Street
    Office of Alabama State Treasurer       Unclaimed Property Division         RSA Union Building                    Suite 636                                Montgomery         AL           36104
    Office of Colorado State Treasurer      The Great Colorado Payback Office   200 E. Colfax Ave. Room 141                                                    Denver             CO           80203-1722
    Office of State Tax Commissioner                                            600 E Boulevard Ave, Dept 127                                                  Bismarck           ND           58505-0599
                                                                                                                      1 East Old State Capitol
    Office of the State Treasurer of Illinois Unclaimed Property Division       Marine Bank Building                  Plaza                                    Springfield        IL           62701

    Office Pro Furniture, Inc.                                                  17133 Gale Ave.                                                                City Of Industry   CA           91745
    Office1                                                                     720 S 4th St                                                                   Las Vegas          NV           89101
    Office1 Inc.                            DBA Office1                         720 S 4th Street                                                               Las Vegas          NV           89101
    OfficePro Upstate                                                           2131 Woodruff Rd                      Suite 2100 #197                          Greenville         SC           29607
    Ogletree, Deakins, Nash, Smoak &
    Stewart, PC                             Ann Louise Cauble                   PO Box 89                                                                      Columbia           SC           29202
    Ogletree, Deakins, Nash, Smoak &
    Stewart, PC                             Dawn Nelson                         PO Box 89                                                                      Columbia           SC           29202
    Ogletree, Deakins, Nash, Smoak &
    Stewart, PC                                                                 149 Commonwealth Drive                                                         Binghamton         NY           13902-5509
    Ogletree, Deakins, Nash, Smoak &
    Stewart, PC                                                                 PO Box 89                                                                      Columbia           SC           29202




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    Ogletree, Deakins, Nash, Smoak &                                           Patewood IV, 50 International Drive,
    Stewart, PC                                                                Ste 300                                                                       Greenville       SC           29615
    OGrady, John                                                               Address Redacted
    Ohio Department of Taxation                                                PO Box 16158                                                                  Columbus         OH           43216-6158
    Ohio Dept of Commerce                     Division of Unclaimed Funds      77 South High St 20th Fl                                                      Columbus         OH           43215-6108
    Ohio Dept of Taxation                     Attn Bankruptcy Division         4485 Northland Ridge Blvd.                                                    Columbus         OH           43229

                                                                                                                      Tax Commissioners
    Ohio Dept of Taxation                     Jeff McClain, Tax Commissioner   4485 Northland Ridge Blvd.             Office                                 Columbus         OH           43229
                                                                                                                                                             Broadview
    Ohio Machinery Co.                                                         3993 E. Royalton Road                                                         Heights          OH           44147
    Ohio Machinery Co.                                                         PO Box 854439                                                                 Minneapolis      MN           55485
    Ohio Public Transit Association           W. Curtis Stitt                  605 N. High Street, #175                                                      Columbus         OH           43215
    Ohio Semitronics, Inc.                                                     4242 Reynolds Drive                                                           Hilliard         OH           43026
    Oklahoma State Treasurer                  Unclaimed Property Division      9520 N. May Ave., Lower Level                                                 Oklahoma City    OK           73120
    Oklahoma Tax Commission                   General Counsels Office          Oklahoma Tax Commission                                                       Oklahoma City    OK           73194
    Oklahoma Tax Commission                   Taxpayer Service Center          300 N Broadway Ave.                                                           Oklahoma City    OK           73102
    Oklahoma Tax Commission                                                    P. O. Box 26800                                                               Oklahoma         OK           73126
    Okta, Inc.                                                                 301 Brannan Street                     Suite 100                              San Francisco    CA           94107
    Old Dominion Freight Lines                                                 PO Box 198475                                                                 Atlanta          GA           30384-8475
    OLeary, John                                                               Address Redacted
    Oles Morrison Rinker & Baker, LLP         LEGAL Adam Lasky                 701 Pike Street, Suite 1700                                                   Seattle          WA           98101
    Oles Morrison Rinker & Baker, LLP                                          701 Pike Street, Suite 1700                                                   Seattle          WA           98101
    Olga Beyers                                                                Address Redacted
    Oliver, Herman                                                             Address Redacted
    Olympus America Inc.                                                       48 Woerd Avenue                        Suite 105                              Waltham          MA           02453
    Olympus America Inc.                                                       PO Box 123595                          Dept 3595                              Dallas           TX           75312
    Omega Engineering, Inc.                                                    PO Box 405369                                                                 Atlanta          GA           30384-5369
    Omega Engineering, Inc.                                                    26904 Network Place                                                           Chicago          IL           60673-1269
    Omni Louisville, LLC                                                       400 South 2nd Street                                                          Louisville       KY           40202
    Omni Provincial                           Cheryl Miller                    #5, 2115-27 Ave NE                                                            Calgary          AB           T2E 7E4       Canada
    Omni Provincial                           Ron Miller                       #5, 2115-27 Ave NE                                                            Calgary          AB           T2E 7E4       Canada
    OmniSource Southeast                                                       7575 W Jefferson Blvd.                                                        Fort Wayne       IN           46819
    On Target Holdings, LLC                                                    17691 Mitchell North                                                          Irvine           CA           92614
    On Your Mark Transportation, LLC                                           1427 Brighton Circle                                                          Old Hickory      TN           37138
    On Your Mark Transportation, LLC                                           PO Box 292851                                                                 Nashville        TN           37229
    ONE SOURCE                                                                 6530 Altura Blvd.                                                             Buena Park       CA           90620
    ONeill, Colleen                                                            Address Redacted
    Oneill, Justin                                                             Address Redacted
    OneSource Distributors LLC                                                 PO Box 740527                                                                 Los Angeles      CA           90074
    Onfulfillment Inc                                                          3780 Filbert St                                                               Newark           CA           94560
    ONLINECOMPONENTS.COM                                                       11125 S Eastern Ave.                   Ste 120                                Henderson        NV           89052
    Onrion LLC                                                                 93 S Railroad Ave                      Suite C                                Bergenfield      NJ           07621
    Onset Financial                                                            274 W. 12300 S.                                                               Draper           UT           84020
                                                                                                                      Attn Keystone National
    Onset Financial                                                            60 E. South Temple, Suite 2100         Group                                  Salt Lake City   UT           84111

    Onspot of North America, Inc.             KURT HUNT                        PO Box 1077                            1075 Rodgers Park Drive                North Vernon     IN           47265

    Onspot of North America, Inc.                                              PO Box 1077                            1075 Rodgers Park Drive                North Vernon     IN           47265

    Ontario International Airport Authority                                    1923 E Avion St                                                               Ontario          CA           91761




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    Ontario Motor Coach Association                                        320 North Queen Street                Suite 210                        Toronto         ON           M9C 5K4      Canada
    Ontario Public Transit Association                                     55 York St                                                             Toronto         ON           M5J 1R7      Canada
    Ophir-Spiricon LLC                                                     3050 North300 West                                                     Logan           UT           84341
                                                                                                                                                  Rancho
    Optex, Inc.                                                            18730 S Wilmington Ave.               Suite 100                        Dominguez       CA           90220
    Optimed Health Partners                                                6480 Technology Drive                 Ste A                            Kalamazoo       MI           49009
    Optimism Brewing Company                                               1158 Broadway                                                          Seattle         WA           98122
    Optimized Financial Planning LLC                                       4509 Rio Robles Drive                                                  Austin          TX           78746
    Opti-Temp                                                              PO Box 5246                                                            Traverse City   MI           49686
    Optiv Security, Inc.                                                   1125 17th Street                      Suite 1700                       DENVER          CO           80202
    Optronics International, LLC                                           Department #96-0457                                                    Oklahoma City   OK           73196-0457
    Oracle America, Inc.                                                   500 Oracle Parkway                                                     Redwood City    CA           94065
    Orbis Corporation                    TOM SALEMI                        1055 Corporate Center Drive                                            Oconomowoc      WI           53066
    Orbis Corporation                                                      1055 Corporate Center Drive                                            Oconomowoc      WI           53066
    Oregon Department of Revenue                                           955 Center St NE                                                       Salem           OR           97301
    Oregon Dept of Revenue               Attn Bankruptcy Unit              955 Center St NE                                                       Salem           OR           97301-2555
                                         Oregon State Treasury Unclaimed
    Oregon Dept of State Lands           Property Program                  867 Hawthorne Ave. SE                                                  Salem           OR           97301
    Oregon Transit Association           Kelly Ross                        700 N Hayden Island Dr, Suite 160                                      Portland        OR           97217
    Orion ICS, LLC                       Orion Talent                      8000 Regency Parkway                  Suite 430                        Cary            NC           27518
    Orkin Services of California                                           PO Box 7161                                                            Pasadena        CA           91109
    Orlaco Inc.                                                            33 Confederat Avenue                                                   Jasper          GA           30143
    Oronia Jr., Ramon                                                      Address Redacted
    Orosa, Maria                                                           Address Redacted
    Orozco, Esteban                                                        Address Redacted
    Orrco International                                                    PO Box 225828                                                          Dallas          TX           75222-5828
    Orrco International                                                    1548 North Main Street                                                 Joshua          TX           76058
    Ortega, Oscar                                                          Address Redacted
    Ortiz Jr., Michael                                                     Address Redacted
    Ortiz Rodriguez, Fabio                                                 Address Redacted
    Ortiz, Adrian                                                          Address Redacted
    Orvac Electronics, Inc                                                 1645 E Orangethorpe Ave.                                               Fullerton       CA           92831
    Orvis, David                                                           Address Redacted
    OS4Labor LLC                                                           120 N Fairway Lane                                                     West Covina     CA           91791
    Osdal Jimenez                                                          Address Redacted
    Osmosis Films LLC                                                      15 E 62nd Street                                                       New York        NY           10065
    Oswalt, Janet                                                          Address Redacted
    Otis Elevator Company                                                  PO Box 73579                                                           Chicago         IL           60673
    Ott, Clinton                                                           Address Redacted
    Otto, Jacob                                                            Address Redacted
    Our Next Energy Inc                                                    45145 Twelve Mile Rd                                                   Novi            MI           48377
    Oury, Robert                                                           Address Redacted
    OUT OF THE BOX Consulting &
    Productions, Inc.                                                      1669 Hollenbeck Ave.                  #2-210                           Sunnydale       CA           94087
    Outwater Plastic Industries                                            24 River Rd                           PO Box 500                       Bogata          NJ           07603-0500
    Ova-Nee Productions                                                    4509 NW 122nd St                                                       Vancouver       WA           98685
    Overhead Door Company of
    Greenville, Inc.                                                       PO Box 6225                                                            Greenville      SC           29606
    Overland Contracting Inc.            Cassandra Bain                    11401 Lamar Avenue                                                     Overland Park   KS           66211
    Owen, Collin                                                           Address Redacted
    Owens, Eric                                                            Address Redacted
    Owens, Ethan                                                           Address Redacted




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    Owens, Jessie                                                       Address Redacted
    Oyoung, Brandon                                                     Address Redacted
    Ozgur, Sehnaz                                                       Address Redacted
    Ozone Collision Center, LLC                                         511 A S. Florida Ave                                                          Greenville      SC           29611
    P3 USA Inc.                                                         One North Main Street                   Fourth Floor                          Greenville      SC           29601
    P3C Media, LLC                                                      607 Rockefeller                                                               Irvine          CA           92612
    PA Department of Revenue                                            PO Box 280425                                                                 Harrisburg      PA           17128

                                                                                                                Prologis Industry
    PAC Operating Limited Partnership      Pat Welsh                    4545 Airport Way                        Distribution Center 4                 Denver          CO           80239

                                                                        17777 Center Court Drive North, Suite Prologis Industry
    PAC Operating Limited Partnership      Pat Welsh                    100                                   Distribution Center 4                   Cerritos        CA           90703

                                                                                                                Prologis Industry
    PAC Operating Limited Partnership      Prologis General Counsel     1800 Wazee Street, Suite 500            Distribution Center 4                 Denver          CO           80202
    Pace Suburban Bus Division of the                                                                                                                 Arlington
    Regional Transportation Authority                                   550 West Algonquin Road                                                       Heights         IL           60005-4412
    Pace Technologies Corporation          Joseph Vargas                3601 East 34th Street                                                         Tucson          AZ           85713
    Pacer, a Division of Anixter           HEATHER FRENCH               4300 Northlake Court                                                          Charlotte       NC           28216
    Pacer, a Division of Anixter           Steve Williams               4300 Northlake Court                                                          Charlotte       NC           28216
    Pacer, a Division of Anixter                                        PO Box 3966                                                                   Boston          MA           02241
    Pacer, a Division of Anixter                                        4300 Northlake Court                                                          Charlotte       NC           28216
    Pacific Gas & Electric (PG&E)                                       77 Beale Street                                                               San Francisco   CA           94105

    Pacific Overhead Crane Services Inc. Quality Hoist & Electric       PO Box 1416                                                                   Walnut          CA           91788

    Pacific Overhead Crane Services Inc. Quality Hoist & Electric       952 Barcelona Place                                                           Walnut          CA           91789

    Pacific Overhead Crane Services Inc.   Quality Hoist & Electric     92-108 Elele Place                                                            Kapolei         HI           96707
    Pack, William                                                       Address Redacted
    PackIQ                                                              1 American Way                                                                Anderson        SC           29621
    Pacor, Inc.                            Tracey Allen                 333 Rising Sun Road                                                           Bordentown      NJ           08505
    Padilla, Carlos                                                     Address Redacted
    Padilla, Jose                                                       Address Redacted
    Padilla, Julio                                                      Address Redacted
    Padilla, Karina                                                     Address Redacted
    Padilla, Ray                                                        Address Redacted
    Pailton Incorporated                   Abby Gummery                 500 W Madison St                        Suite 3700                            Chicago         IL           60661
    Pailton Incorporated                   Roger Brereton               500 W Madison St                        Suite 3700                            Chicago         IL           60661
    Pailton Incorporated                                                500 W Madison St                        Suite 3700                            Chicago         IL           60661
    Paint Body Vinyl & Graphics Inc                                     15875 Santa Ana Ave.                                                          Fontana         CA           92337
    Painter, Elizabeth                                                  Address Redacted
    PAIR design                                                         11231 Gold Express Drive                Suite 103                             Gold River      CA           95670
    Pal, Abhishek                                                       Address Redacted
    Pal, Abhishek                                                       Address Redacted
    Palacios, Jason                                                     Address Redacted
    Palantir Technologies Inc.                                          1555 Blake Street                       Suite 250                             Denver          CO           80202
    Palermo III, Salvatore                                              Address Redacted
    Palindrome Master Fund LP                                           1209 Orange Street                                                            Wilmington      DE           19801
    Pallet Solutions, Inc.                 Michael Cantrell             2620 Fews Bridge Road                                                         Greer           SC           29651
    Pallet Solutions, Inc.                                              2620 Fews Bridge Road                                                         Greer           SC           29651




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    Pallet Solutions, Inc.                                            2357 Stanford Road                                                       Greer          SC           29651
    Palma, Juliano                                                    Address Redacted
    Palmer, Daniel                                                    Address Redacted
    Palmer, Sophie                                                    Address Redacted
    Palmetto Precision Machining, Inc.                                517 Camson Rd                                                            Anderson       SC           29622
    Palmetto Sound Works                                              215 Northeast Dr                                                         Spartanburg    SC           29303
    Palmetto State Transportation                                     1050 Park West Blvd                                                      Greenville     SC           29611
    Palmtree Acquisition Corporation                                  17777 Center Court Drive N.            Suite 100                         Cerritos       CA           90703
    Pamco Printed Tape and Label Co.,
    Inc.                                 Marla Darman                 2200 S. Wolf Road                                                        Des Plaines    IL           60018
    Pamujula, Suresh                                                  Address Redacted
    Panasonic Industrial Device Sales
    Company of America                   Attn Joseph LoBrace          2 Riverfront Plaza                                                       Newark         NJ           07102
    Panasonic Industrial Device Sales
    Company of America                   Kenta Fujimoto               2 Riverfront Plaza                                                       Newark         NJ           07102
    Panasonic Industrial Device Sales
    Company of America                   Soccorro Drew                2 Riverfront Plaza                                                       Newark         NJ           07102
    Panasonic Industrial Device Sales
    Company of America                   Thomas Peng                  2 Riverfront Plaza                                                       Newark         NJ           07102
    Panasonic Industrial Device Sales
    Company of America                                                3461 Plano Parkway                                                       The Colony     TX           75056
    Pandey, Govind                                                    Address Redacted
    Panor Corp                           DBA MAXXIMA                  125 Cabot Ct.                                                            Hauppauge      NY           11788
    Par7, LLC                            Jae Park                     1863 Ashwood Ct.                                                         Folsom         CA           95630
    Paragon International Insurance                                                                                                                                                      United
    Brokers Ltd                                                       140 Leadenhall Street                                                    London                      EC3V 4QT      Kingdom
    Parallax                             Carolyn Heller               599 Menlow Drive                                                         Rocklin        CA           95765
    Parallax                                                          599 Menlow Drive                                                         Rocklin        CA           95765
    Pardiwala, Irfan                                                  Address Redacted
    Pare Jr., Ronald                                                  Address Redacted
    Paredes Sr., Roberto                                              Address Redacted
    Parham, Mercedes                                                  Address Redacted
    Parikh, Hiren                                                     Address Redacted
    Park City Municipal Corporation      Holly Erickson               PO Box 1480                                                              Park City      UT           84060
    Park City Municipal Corporation      Larry Simpson                PO Box 1480                                                              Park City      UT           84060
    Park Computer Systems, Inc.                                       39899 Balentine Drive                  Suite# 218                        Newark         CA           94560
    Parker Hannifin Canada                                            4625 Durham Road                                                         S. Grimsby     ON           L3M 4H8       Canada

    Parker Hannifin Corporation          Andrew Bauch                 101 Canterbury Road                                                      Kings Mountain NC           28086

    Parker Hannifin Corporation          DIANA BROWN                  101 Canterbury Road                                                      Kings Mountain NC           28086

    Parker Hannifin Corporation          FAYTH CHRISTENSEN            101 Canterbury Road                                                      Kings Mountain NC           28086

    Parker Hannifin Corporation          Heather Sehr                 Electromechanical and Drives Division 2101 N. Broadway                   New Ulm        MN           56073

    Parker Hannifin Corporation          Jay Schultz                  Electromechanical and Drives Division 2101 N. Broadway                   New Ulm        MN           56073

    Parker Hannifin Corporation          Kevin Holloway               Electromechanical and Drives Division 2101 N. Broadway                   New Ulm        MN           56073
                                                                                                            1300 North Freedom
    Parker Hannifin Corporation          PDNPlus                      Parflex Division                      Street                             Ravenna        OH           44266




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                                                                                                         1300 North Freedom
    Parker Hannifin Corporation       Robert Jensen               Parflex Division                       Street                             Ravenna         OH           44266
                                                                                                         1300 North Freedom
    Parker Hannifin Corporation       TARA FARIS                  Parflex Division                       Street                             Ravenna         OH           44266

    Parker Hannifin Corporation                                   101 Canterbury Road                                                       Kings Mountain NC            28086
                                                                                                         1300 North Freedom
    Parker Hannifin Corporation                                   Parflex Division                       Street                             Ravenna         OH           44266
    Parker Hannifin Corporation                                   Pneumatic Division                     8676 E M-89                        Richland        MI           49083

    Parker Hannifin Corporation                                   Electromechanical and Drives Division 2101 N. Broadway                    New Ulm         MN           56073
    Parker Hannifin Corporation                                   7851 Collection Center Dr                                                 Chicago         IL           60693
    Parker Hannifin Corporation                                   7880 Collection Center Dr                                                 Chicago         IL           60693
    Parker Hannifin Corporation                                   7857 Collection Dr                                                        Chicago         IL           60693
    Parker, Preston                                               Address Redacted
    Parker-Hannifin Corp.                                         7857 Collection Center Drive                                              Chicago         IL           60693
                                                                                                                                            Glendale
    Parker-Origa Corporation                                      100 West Lake Dr.                                                         Heights         IL           60139
    Parkhouse Tire Inc                C Bruner                    PO Box 2430                                                               Bell Gardens    CA           90202-2430
    Parkhouse Tire Inc                C Bruner                    6006 Shull Street                                                         Bell Gardens    CA           90202-2430
    Parkhouse Tire Inc                Cindy Leeger-Patton         PO Box 2430                                                               Bell Gardens    CA           90202-2430
    Parkhouse Tire Inc                Cindy Leeger-Patton         6006 Shull Street                                                         Bell Gardens    CA           90202-2430
    Parking & Transportation
    Management Services, Inc.         DBA Transwest               2724 6th Ave.                          Suite 200                          Seattle         WA           98134
    Parks, Bryan                                                  Address Redacted
    Parr Instrument Company                                       211 53rd Street                                                           Moline          IL           61265
    Parriott, Mark                                                Address Redacted
    Parry, Dhiraj Himanush                                        Address Redacted
    Parsons, Charles                                              Address Redacted
    Par-Tech, Inc.                                                139 Premier Drive                                                         Lake Orion      MI           48359
    Parth Chauhan                                                 Address Redacted
    Paselk, Erich                                                 Address Redacted
    Pasha Hawaii                                                  4040 Civic Center Drive                Suite 350                          San Rafael      CA           94903
    Passio Technologies                                           6100 Lake Forest Drive                 Suite 410                          Atlanta         GA           30328
    Pasternack Enterprises, Inc.                                  PO Box 16759                                                              Irvine          CA           92623
    Pastrana Mendoza, Juan                                        Address Redacted
    Patel, Dhavalkumar                                            Address Redacted
    Patel, Harsh                                                  Address Redacted
    Patel, Rahul                                                  Address Redacted
    Patel, Roshni                                                 Address Redacted
    Patel, SACHIN                                                 Address Redacted
    Patel, Sachin                                                 Address Redacted
    Patel, Sahil                                                  Address Redacted
    Pathways Executive Coaching and
    Consulting, LLC                                               604 Asheton Way                                                           Simpsonville    SC           29681
    Patino Menez, Benjamin                                        Address Redacted
    Patrick & Co.                                                 560 Market St                          2nd Fl                             San Francisco   CA           94104
    Patrick Monahan                   DBA Iron Cove Solutions     Address Redacted
    Patrick Services Inc.             Shannon Huckaba             4727 Alexander Lane                                                       Dallas          TX           75247
    Patrick, Jason                                                Address Redacted
    Patridge Tires and Service, LLC                               9245 Laguna Springs Dr.                Suite 200                          Elk Grove       CA           95758
    Patriot Concrete Cutting, LLC                                 PO Box 504                                                                Piedmont        SC           29673




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    Patron, Daniel                                                      Address Redacted
    Patterson Jr., William                                              Address Redacted
    Patterson, Daniel                                                   Address Redacted
    Patterson, DANIEL                                                   Address Redacted
    Patterson, Scott                                                    Address Redacted
    Patton Sr., Antonio                                                 Address Redacted
    Patty, Andrew                                                       Address Redacted
                                      DBA Comfort Consulting World Wide
    Paul Comfort                      LLC                               Address Redacted
    Paul H Bowers                     DBA Chapel Road Communications Address Redacted
    Paul H Bowers                     DBA Chapel Road Communications Address Redacted
    Paul Miller Motor Company dba
    Fortune Collision Centre          Chelsie Sawyers                   1425 Jingle Bell Lane                                                  Lexington     KY           40509
    Paul, Derek                                                         Address Redacted
    Paul, Weiss, Rifkind, Wharton &
    Garrison LLP                                                        1285 Avenue of Americas                                                New York      NY           10019
    Pauley, Jason                                                       Address Redacted
    Pauley, Thomas                                                      Address Redacted
    Pawar, Yogesh                                                       Address Redacted
    Pawel Nuckowski                   DBA Oahu Films                    Address Redacted
    Payne, Angela                                                       Address Redacted
    Payne, Christopher                                                  Address Redacted
    Payton, Cynthia                                                     Address Redacted
    Payton, Heaven                                                      Address Redacted
    PB Equipment Inc.                                                   138 W. Shipyard Rd                                                     Mt Pleasant   SC           29464
    PC Connection Sales Corporation   DBA Coneection                    PO Box 536472                                                          Pittsburg     PA           15253
    PCB Piezotronics Inc.             Michele Maslowski                 3425 Walden Avenue                                                     Depew         NY           14043
    PCB Piezotronics Inc.                                               3425 Walden Avenue                                                     Depew         NY           14043
    Peabody, Kevin                                                      Address Redacted
    Peak Safety Performance, LLC      David Lynn                        PO Box 831                                                             Seneca        SC           29679
    PEAK Technical Services Inc.                                        583 Epsilon Drive                                                      Pittsburgh    PA           15238
    Peak Technical Services, Inc.     DBA PEAK Technical Staffing USA   583 Epsilon Drive                                                      Pittsburgh    PA           15238
                                                                                                                                               Linthicum
    Peak Technologies, Inc.           Peak-Ryzex, Inc.                  901 Elkridge Landing Rd               Suite 300                        Heights       MD           21090
    Peak Technologies, Inc.           Peak-Ryzex, Inc.                  901 Elkridge Landing Rd Ste 300                                        Linthicum     MD           21090-2919
    Pearce Renewables                 Pearce Services, LLC              1222 Vine Street                      Suite 301                        Paso Robles   CA           93448
    Pearce Services, LLC              Corporate Administration          1222 Vine Street, Suite 301                                            Paso Robles   CA           93446
    Pearson, Derrick                                                    Address Redacted
    Pearson, Jenieka                                                    Address Redacted
    Pearson, Kelly                                                      Address Redacted
    Peco Electrical Ltd               Scott Tracey                      6708-41 St                                                             Leduc         AB           T9E 0Z4       Canada
    PED Enterprises, LLC                                                2441 Boardwalk                                                         San Antonio   TX           78217
    Peddireddy, Karthik Reddy                                           Address Redacted
    Pedrero, Jose                                                       Address Redacted
    Pedro Carrasco                                                      Address Redacted
    Pegasus Auto Racing                                                 2475 S. 179th Street                                                   New Berlin    WI           53146
    Peker, Sedat                                                        Address Redacted
    Pelco Structural, LLC             Brandon Parduhn                   1501 Industrial Blvd.                                                  Claremore     OK           74017
    Pelco Structural, LLC             Kasey Scott                       1501 Industrial Blvd.                                                  Claremore     OK           74017
    Pelco Structural, LLC             Kimmy Harris                      1501 Industrial Blvd.                                                  Claremore     OK           74017
    Pelco Structural, LLC                                               1501 Industrial Blvd.                                                  Claremore     OK           74017
    Pendly, Samhith Babu Reddy                                          Address Redacted




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    Peng, Sean                                                          Address Redacted
    Pennel, Patrick                                                     Address Redacted
    Pennex Aluminum Company, LLC                                        50 Community St.                                                       Wellsville        PA           17365
    Pennington, Aaron                                                   Address Redacted
    PENNSYLVANIA DEPARTMENT OF
    REVENUE                              BANKRUPTCY DIVISION            Strawberry Square Lobby                                                Harrisburg        PA           17128-0101
    Pennsylvania Dept of Revenue         Attn Compliance & Bankruptcy   Strawberry Square Lobby                                                Harrisburg        PA           17128-0101
    Pennsylvania Public Transporation
    Association                                                         115 Pine Street                                                        Harrisburg        PA           17101
    Pennsylvania Public Transportation
    Association                          PPTA                           115 Pine Street                                                        Hrrisburg         PA           17101
    Pennsylvania State University, The                                  227 W. Beaver Avenue                  Suite 401                        State College     PA           16801
    Pennsylvania State University, The                                  408 Old Main                                                           University Park   PA           16802
    Penske Truck Leasing CO, L.P.        mary martin                    PO Box 532658                                                          Atlanta           GA           30353
    Penske Truck Leasing CO, L.P.                                       PO Box 532658                                                          Atlanta           GA           30353
    Pereda, Diego                                                       Address Redacted
    Peregrino, Benjamin                                                 Address Redacted
    Perez, Juana                                                        Address Redacted
    Perez, Juana                                                        Address Redacted
    Perez, Matthew                                                      Address Redacted
    Performance Composites, Inc.         BENITO RODRIGUEZ               1418 S. Alameda Street                                                 Compton           CA           90221
    Performance Composites, Inc.         JERRY YEH                      1418 S. Alameda Street                                                 Compton           CA           90221
    Performance Composites, Inc.         PAOLA VELADOR                  1418 S. Alameda Street                                                 Compton           CA           90221
    Performance Composites, Inc.                                        1418 S. Alameda Street                                                 Compton           CA           90221
    Performance Friction Corporation
    (PFC Brakes)                                                        PO Box 745170                                                          Atlanta           GA           30374
    Performance Industries, Inc.                                        8972 Kittiwake Street                                                  Littleton         CO           80126-5252
    Persistent Telecom Solutions Inc.                                   2055 Laurelwood Rd, Ste 210                                            Santa Clara       CA           95054
    Personal Awards Inc                                                 938 S Amphlett Blvd                                                    San Mateo         CA           94402-1801
    Peschel, Erich                                                      Address Redacted
    Peter Campanella                                                    Address Redacted
    Peter Waweru                                                        Address Redacted
    Peters, Scott                                                       Address Redacted
    Peterson Fluid Systems                                              9801 Havana St.                                                        Henderson         CO           80604
    Peterson, Ronald                                                    Address Redacted
    Petroleum Equipment and
    Manufacturing Company Inc.           DBA PEMCO                      2185 W 76 Street                                                       Hialeah           FL           33016
    Petty, Daniel                                                       Address Redacted
    Petty, Jason                                                        Address Redacted
    Pevear, Brian                                                       Address Redacted
    Pfeiffer, Brandon                                                   Address Redacted
    PG&E                                                                PO Box 997300                                                          Sacramento        CA           95899
    Pham, Jenny                                                         Address Redacted
    Phan, MELINDA                                                       Address Redacted
    Phan, Melinda                                                       Address Redacted
    Phibbs, Cody                                                        Address Redacted
    Philadelphia Indemnity Insurance                                    100 Bala                                                               Cynwyd            PA           19004
    Philadelphia Indemnity Insurance
    Company                                                             One Bala Plaza, Suite 100                                              Bala Cynwyd       PA           19004
    Philadelphia Indemnity Insurance
    Company                                                             1125 Sanctuary Pkwy, Suite 450                                         Alpharetta        GA           30009




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                                                                             1420 5th Avenue, Suite 2200, Office
    Philadelphia Insurance Companies      A Member of the Tokio Marine Group #2225                                                                      Seattle        WA           98101
    Philadelphia Insurance Companies                                         PO Box 70251                                                               Philadelphia   PA           19176
    Philadelphia Insurance Group                                             One Bala Plaza, Suite 100                                                  Bala Cynwyd    PA           19004
    Phillip Jay Hurtt                                                        Address Redacted
    Phillips Corporation                                                     8500 Triad Drive                                                           Colfax         NC           27235
    Phillips, Jeremy                                                         Address Redacted
    Phillips, Joseph                                                         Address Redacted
    Phillips, Joshua                                                         Address Redacted
    Phillips, Marquis                                                        Address Redacted
    Phillips, Monteith                                                       Address Redacted
    Phillips, Shelly                                                         Address Redacted
                                                                                                                                                        Schieder-
    Phoenix Automation & Sales                                                Hainbergstrasse 2                     Unit L                              Schwalenberg                32816         Germany
                                                                                                                                                        Schieder-
    Phoenix Contact E-Mobility GmbH                                           Hainbergstrasse 2                     Nordrhein-Westfalen                 Schwalenberg                32816         Germany
    Phoenix Vibration Controls B.V.                                           Nijverheidsweg 6                                                          Stellendam                  3251 LP       Netherlands
    PHS West, Inc.                                                            6704 Bleck Drive                                                          Rockford       MN           55373
                                                                                                                                                        Bainbridge
    Phytools, LLC                                                             900 Winslow Way E                     Suite 120                           Island         WA           98110
    PI Innovo, LLC                        Adrian Carnie                       47023 Five Mile Road                                                      Plymouth       MI           48170
    PI Innovo, LLC                        HOPE RUMPH                          47023 Five Mile Road                                                      Plymouth       MI           48170
    PI Innovo, LLC                        JONATHAN HURDEN                     47023 Five Mile Road                                                      Plymouth       MI           48170
    PI Innovo, LLC                                                            47023 Five Mile Road                                                      Plymouth       MI           48170
    PI Innovo, LLC                                                            47047 Five Mile Road                                                      Plymouth       MI           48170
    PI Manufacturing                                                          20732 Currier Rd                                                          Walnut         CA           91719
    Pickens, Brittany                                                         Address Redacted
    Pickens, Daniel                                                           Address Redacted
    Piedmont Electrical Distributors of
    Greenville, Inc.                                                          PO Box 8616                                                               Greenville     SC           29604
    Piedmont Electrical Distributors of
    Greenville, Inc.                                                          200 Bi-Lo Boulevard                                                       Greenville     SC           29607
    Piedmont National Corporation         Jamie Buckhiester                   182 Kayaker Way                                                           Easley         SC           29642
    Piedmont National Corporation                                             PO Box 890938                                                             Charlotte      NC           29289
    Piedmont Natural Gas                                                      4720 Piedmont Row Dr                                                      Charlotte      NC           28210
    Piedmont Natural Gas                                                      PO Box 660920                                                             Dallas         TX           75266
    Pierce Manufacturing Inc                                                  2600 American Drive                                                       Appleton       WI           54914
    Pierce Transit                        Brenda Lacey                        3701 96th Street SW                                                       Lakewood       WA           98499
    Pierce, Aileen                                                            Address Redacted
    Piergiovanni, Andrew                                                      Address Redacted
    Piggford, James                                                           Address Redacted
    Pihl, Scott                                                               Address Redacted
    Pike Corporation                                                          123 North White Street                                                    Fort Mill      SC           29715
    Pilkington Automotive Finland Oy      Engineering Janne Ilonen            Pihtisulunkatu 10                                                         Tampere        Finland      33330         Finland
    Pilkington Automotive Finland Oy      Olli Sara                           Pihtisulunkatu 10                                                         Tampere        Finland      33330         Finland
    Pilkington Automotive Finland Oy                                          Pihtisulunkatu 10                                                         Tampere        Finland      33330         Finland
    Pilot Freight Services                                                    Dept 2540                             P.O.Box 122540                      Dallas         TX           75312
    Pine Estates Enterprises Inc          Dustin Smith                        201B West Butler Road                 Suite 160                           Mauldin        SC           29662
    Pine Estates Enterprises Inc.                                             201B W Butler Rd #160                                                     Mauldin        SC           29662
    Pineda, Diana                                                             Address Redacted
    Pintail Capital Partners, LLC                                             PO Box 9776                                                               Greenville     SC           29604
    Pinto, Blanchard                                                          Address Redacted




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    PIP Printing                           SoCa Business Services, LLC   1143H Woodruff Rd                                                        Greenville      SC           29607
    PIP Printing                           SoCa Business Services, LLC   1846 Old Highway 14 South                                                Greer           SC           29651
    Piper Alderman                                                       Address Redacted
    Pitney Bowes, Inc.                                                   PO Box 371896                                                            Pittsburgh      PA           15250
    Pitt, Cade                                                           Address Redacted
                                           Marisa Thomas Communication
    Pivotal Media                          Services Ltd.                 666 Burrard Street                     Suite 2800                        Vancouver       BC           V6C 2Z7       Canada
    Placentia Yorba Linda Girls Softball
    Association                                                          PO Box 423                                                               Placentia       CA           92871
    Plascencia, Jessica                                                  Address Redacted
                                                                                                                                                  Rancho
    Plastech Manufacturing Inc.                                          9576 Fernon Blvd Unit B                                                  Cucamonga       CA           91730
    Plastic Creations Ltd.                 Brian Huttig                  1360 South Lipan Street                                                  Denver          CO           80223
    Plastic Creations Ltd.                 DAVID HUTTIG                  1360 South Lipan Street                                                  Denver          CO           80223
    Plastic Creations Ltd.                 REESE PLASTIC CREATIONS       1360 South Lipan Street                                                  Denver          CO           80223
    Plasticare                                                           4211 S Natches Ct                      Unit K                            Englewood       CO           80110
    Plasticwatertanks.com Inc                                            361 Neptune Ave                                                          West Babylon    NY           11704
    Plata, Enrique                                                       Address Redacted
    Plessinger, Dustin                                                   Address Redacted
    Plexus Corporation dba Plexus
    International                                                        5550 Nicollet Ave                                                        Minneapolis     MN           55419
    PLM Advisors, LLC                      Andreas Lindenthal            PLM Advisors, LLC                      PO Box 2807                       Mission Viejo   CA           92690
    PLM Advisors, LLC                      Andreas Lindenthal            PLM Advisors, LLC                      27452 Avanti Dr                   Mission Viejo   CA           92692
    Plumley, Joseph                                                      Address Redacted
    PMC Engineering LLC                                                  11 Old Sugar Hollow Road                                                 Danbury         CT           06810
    PNC Equipment Finance                                                4720 Piedmont Row                      Suite 200                         Charlotte       NC           28210
    Pocketsquare Design                                                  301 W. 4th St                          Suite 450                         Royal Oak       MI           48067
    Pocobello, Todd                                                      Address Redacted
    Pod Office                             O+A Inc.,                     636 Chenery Street                                                       San Francisco, CA            94131
    Pogue, Aaron                                                         Address Redacted
    Polar Mobility Research Ltd.                                         7860 62 Street SE                                                        Calgary         AB           T2C 5K2       Canada
    POLARIS Laboratories, LLC                                            7451 Winton Drive                                                        Indianapolis    IN           46268
    Popovici, Emanuel                                                    Address Redacted
    Poppin, Inc                                                          1115 Broadway                          3rd Floor                         New York        NY           10010
    Popple, Estate of Ryan                                               Address Redacted
    Porsche Cars North America, Inc.       Cassidy Ishida                19800 South Main Street                                                  Carson          CA           90745
    Porsche Cars North America, Inc.                                     1 Porsche Drive                                                          Atlanta         GA           30354
    Port Arthur Transit                                                  P.O. BOX 1089                                                            Port Arthur     TX           77641

    Port City Logistics Inc.                                             5816 Highway 21                                                          Port Wentworth GA            31407
    Porter II, John                                                      Address Redacted
    Porter, Andrew                                                       Address Redacted
    Porter, Brook                                                        Address Redacted
    Porter, James                                                        Address Redacted
    Portillo, Denys                                                      Address Redacted
    Positive Adventures LLC                                              4907 Morena Blvd., Suite 1401                                            San Diego       CA           92117
    Possum Holdings, LLC                                                 715 J Street                           Unit 206                          San Diego       CA           92101
    Powell, Barry                                                        Address Redacted
    Powell, Codie                                                        Address Redacted
                                                                         Gloucester House, 162 Wellington                                         Long Eaton,                                United
    Power Electronic Measurements Ltd      Dr. Chris Hewson              Street                                                                   Nottingham                   NG10 4HS      Kingdom
    Power Electronics USA                  Brandon DiBuo                 1510 N Hobson St                                                         Gilbert         AZ           85233




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    Power Electronics USA                Edwyn Villareal                      1510 N Hobson St                                                       Gilbert          AZ         85233
    Power House Manufacturing Inc.                                            1490 Whitestown Rd. Ext.                                               Prospect         PA         16052
    Power Science Engineering LLC                                             3458 S 368th Place                                                     Auburn           WA         98001
    Power Supply Components, Inc.                                             2307 Calle Del Mundo                                                   Santa Clara      CA         95054
    Powerex-Iwata Air Technology, Inc.                                        150 Production Drive                                                   Harrison         OH         45030
    PowerHandling, Inc.                  ACCOUNT REP Sam Williams             1110 West Riverside Ave, Suite 400                                     Spokane          WA         99201
    PowerHandling, Inc.                  INSIDE SALES Pamela Hansen           1110 West Riverside Ave, Suite 400                                     Spokane          WA         99201

    PowerHandling, Inc.                  TECHNICAL SUPPORT Matt Ragan         1110 West Riverside Ave, Suite 400                                     Spokane          WA         99201
    PowerHandling, Inc.                                                       1110 West Riverside Ave, Suite 400                                     Spokane          WA         99201
    Powertran Corporation                                                     1605 Bonner Street                                                     Ferndale         MI         48220
    PPAP MGR CORP                        PPAP Manager                         1433 E. Larned St. #203                                                Detroit          MI         48207
    PR Newswire Assoc LLC                                                     350 Hudston St                        Suite 300                        New York         NY         10014
    Prado Sao Pedro, Cristiano                                                Address Redacted
    PRAXIS Technology Escrow, LLC        W Jackson                            12540 Broadwell Road                  Suite 2201                       Milton         GA           30004
    Precise Alignment, Inc.                                                   S71 W23265 Adam Dr                                                     Big Bend       WI           53103
    Precision Cutting Solutions, Inc.                                         9108-B Warren H Abernathy Hwy                                          Spartanburg    SC           29301
                                                                                                                                                     Rancho Mission
    Precision Expedited                  Wheeler & Co. LLC                    28482 Airoso St.                                                       Viejo          CA           92964
                                                                                                                                                     Santa Fe
    Precision Granite USA Inc.                                                9437 Santa Fe Springs Rd.                                              Springs        CA           90670
    Precision Jig & Fixture South LLC    Tom Oshiniski                        915 Berry Shoals Road                                                  Duncan         SC           29334
    Precision Jig & Fixture South LLC    Tom Oshiniski                        PO Box 641                                                             Rockford       MI           49341
    Precision Jig & Fixture South LLC                                         915 Berry Shoals Road                                                  Duncan         SC           29334
    Precision Jig & Fixture South LLC                                         PO Box 641                                                             Rockford       MI           49341
    Precision Metal Spinning                                                  1120 Fenway Circle                                                     Fenton         MI           48430
    Precision Products, LLC              Patty Brigman                        3819 Hendricks Road                                                    Midlothian     VA           23112
    Precision Products, LLC              Richard Kavanaugh                    3819 Hendricks Road                                                    Midlothian     VA           23112
    Precision Transmission, Inc.         David MacFarland                     159 Discovery Drive                                                    Colmar         PA           18915
    Precision Waterjet & Laser           Carolyn Lypinski                     880 W Crowther Ave                                                     Placentia      CA           92870
    Precisionworks MFG LLC               BOB SMITH                            463 N Denver Ave.                                                      Loveland       CO           80537
    Precisionworks MFG LLC               CORY WRIGHT                          463 N Denver Ave.                                                      Loveland       CO           80537
    Precisionworks MFG LLC               Greg Gernert                         463 N Denver Ave.                                                      Loveland       CO           80537
    Precisionworks MFG LLC                                                    463 N Denver Ave.                                                      Loveland       CO           80537
    Predictive Index Arizona, Inc.                                            8130 N 86th Place                                                      Scottsdale     AZ           85258
    Preferred Piping Systems                                                  15540 Illinois Ave                                                     Paramount      CA           90723
    Preferred Technologies, LLC.                                              1414 Wedgewood Street                                                  Houston        TX           77093
    Preiser Scientific Inc.                                                   94 Oliver Street                                                       Saint Albans   WV           25177

    Premier Janitorial Serivces LLC      Manuel Hernandez                     1348 Santa Anita Ave, #A                                               South El Monte   CA         91733
    Premier Staffing Solution LLC                                             15 N. Saint Clair St. 3rd Fl.                                          Toledo           OH         43604
    Premier Truck Group of Salem                                              40 S. Addison Road, Suite 100                                          Addison          IL         60101
    Premier Truck Group of Salem                                              4060 Interstate Pl NE                                                  Salem            OR         97303
    Premier Wireless Solutions           Marius Avilla                        88 Bonaventura Drive                                                   San Jose         CA         95134
    Premier Wireless Solutions                                                88 Bonaventura Drive                                                   San Jose         CA         95134
                                         California Caster & and Hand Truck
    Premiere Casters, Inc                Co.                                  6425 San Leandro Street                                                Oakland          CA         94621
    Prescribed Promotions                                                     24 Flintwood Drive                                                     Simpsonville     SC         29681
    Preston Xu                                                                Address Redacted
    Prettl Automotive Corporation                                             1721 White Horse Rd                                                    Greenville       SC         29605
    PricewaterhouseCoopers Advisory
    Services LLC                         PWC Holdings No. 21 LLC              500 Woodward Avenue                   Suite 3300                       Detroit          MI         48226




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    Pril Motors                                                               6015 Spirit St. #419                                                        Pittsburgh      PA           15206

    Primary Manufacturing Inc.                                                PO Box 283                               117 N Main Street                  Humboldt        SD           57035
    Prime Electric, Inc.                                                      13301 SE 26th St                                                            Bellevue        WA           98005
    Prime Resource Inc                    Ana Avila                           566 S. State College Blvd                                                   Fullerton       CA           92031
    Prince, Lana                                                              Address Redacted

    Princeton Corporate Consultants Inc                                       16830 Ventura Blvd                       Ste 346                            Encino          CA           91436
    Proactive MD SC, PA                                                       10 Centimeters Dr                                                           Mauldin         SC           29662
    ProAir, LLC                           American Cooling Technology, Inc.   2900 County Road 6 West                                                     Elkhart         IN           46514
    ProAir, LLC                           ANGELA / ORDERS MUNCIE              2900 County Road 6 West                                                     Elkhart         IN           46514
    ProAir, LLC                           BRITTANY COFFMAN                    2900 County Road 6 West                                                     Elkhart         IN           46514
    ProAir, LLC                                                               2900 County Road 6 West                                                     Elkhart         IN           46514
    Pro-Bolt                                                                  9857 SW Pueblo Terrace                                                      Palm City       FL           34990
    Processia Solutions Corp              Michael Kalthoff                    100 Illinois Street, Suite 200                                              St Charles      IL           60174
    ProClip USA, LLC                                                          4915 Voges Road                                                             Madison         WI           53718
    Procore Technologies Inc                                                  6309 Carpinteria Avenue                                                     Carpinteria     CA           93013
                                          PE-Energy, Procurement Equipment,
    Procurement Equipment LLC             IndustrialStop                      PO Box 701522                                                               Houston         TX           77270
    PRO-DEC.com                                                               PO Box 542035                                                               Houston         TX           77023
    ProductBoard, Inc.                                                        612 Howard Street, 4th Floor                                                San Francisco   CA           94105
    ProductBoard, Inc.                                                        392 Staten Ave                                                              Oakland         CA           94610
    Production Automation Corporation                                         6200 Bury Drive                                                             Eden Prairie    MN           55346
    Productive Design Services Corp.                                          6 Parklane Blvd.                         Suite 106                          Dearborn        MI           48126
    Productive Plastics, Inc.             CHRISTINA GIFILLAN                  103 W. Park Drive                                                           Mount Laurel    NJ           08054
    Productive Plastics, Inc.             JILL CALLAHAN                       103 W. Park Drive                                                           Mount Laurel    NJ           08054
    Productive Plastics, Inc.             JOHN ZERILLO                        103 W. Park Drive                                                           Mount Laurel    NJ           08054
    Productive Plastics, Inc.                                                 103 W. Park Drive                                                           Mount Laurel    NJ           08054
    Proemion Corporation                                                      711 E. Monument Ave.                     Suite 310                          Dayton          OH           45402
    Professional Engineering Consultants,
    P.A.                                  Linday Fuces                        303 S Topeka                                                                Wichita         KS           67202
    Professional Engineering Consultants,
    P.A.                                  Tim Lenz                            303 S Topeka                                                                Wichita         KS           67202

    Professional Fleet Maintenance LLC                                        2081 SW 70th Ave #H14                                                       Davie           FL           33317
    Professional Party Rental                                                 17 Haywood Rd                                                               Greenville      SC           29607
    Professional Party Rental                                                 2607 Woodruff Rd., Suite E-357                                              Simpsonville    SC           29681
    Proficium, Inc.                                                           7300 Central Ave.                        Suite C                            Newark          CA           94560
    Profitap HQ B.V.                                                          High Tech Campus 84                                                         Eindhoven                    5656AG        Netherlands
                                                                                                                                                          Greenwood
    Project Genetics LLC                  Sallyport Commercial Finance LLC    4950 S Yosemite St                       #F2-102                            Village         CO           80111
    ProKo Consulting LLC                                                      221 Stillings Avenue                                                        San Francisco   CA           94131-2843
    Promark Electronics Inc.                                                  215 rue Voyageur                                                            Pointe-Claire   QC           H9R 6B2       Canada
    Promenade Software Inc.                                                   16 Technology Drive                      Suite 100                          Irvine          CA           92618
    ProQC International North America
    Inc.                                                                      774 Ridgeview Dr                                                            McHenry         IL           60050

    Prospect Mold                         CHRIS SMITH                         1100 Main Street                                                            Cuyahoga Falls OH            44221

    Prospect Mold                         Dan Hentosz                         1100 Main Street                                                            Cuyahoga Falls OH            44221

    Prospect Mold                         DAVID HUNT                          1100 Main Street                                                            Cuyahoga Falls OH            44221




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    Prospect Mold                                                      1100 Main Street                                                           Cuyahoga Falls OH           44221
    ProTech Service & Engineering BV      Jos Swagemakers              Melanenweg 9                                                               Halsteren                   4661SC        Netherlands
    Protective Coating Systems, Inc                                    31685 Hayman St.                                                           Hayward        CA           94544
    ProTemp Mechanical, Inc.                                           3350 Scott Blvd.                        Bldg. 3                            Santa Clara    CA           95054
    Protiviti Inc.                                                     2613 Camino Ramon                                                          San Ramon      CA           94583
    Proto Labs, Inc.                                                   5540 Pioneer Creek Drive                                                   Maple Plain    MN           55359

    Prototype Automotive Solutions LLC                                 7240 N Haggerty Rd                                                         Canton         MI           48187
    Provident Plumbing, LLC                                            PO Box 2001                                                                Easley         SC           29642
                                                                                                                                                  San Juan
    PS Trade Show Services              Teresa Chapman                 330 Merrill Road                                                           Bautista       CA           95045
    PSI Control Solutions, Inc.                                        9900 Twin Lakes Pkwy                                                       Charlotte      NC           28269
    PSI EMPLOYER SERVICES INC.                                         4200 SOUTH SERVICE RD                   SUITE 200                          BURLINGTON     ON           676 4X5       Canada
    PSMG Inc. DBA Pacwest Security
    Services                                                           3303 Harbor Blvd                        Suite A 103                        Costa Mesa     CA           92626
    PTC INC.                            Arena, A PTC Business          121 Seaport Blvd                        13th floor                         Boston         MA           02210
    Public Company Accounting Oversight
    Board                                                              1666 K Street NW                                                           Washington     DC           20006
    Public Service Company of Colorado
    alias Xcel Energy                                                  1800 Larimer Street                                                        Denver         CO           80202
    Public Storage 23034                                               4026 Mission Blvd.                                                         Montclair      CA           91763
    Public Transportation Safety
    International Corp                  Krista Barry                   523 W Sixth Street                      Suite 1101                         Los Angeles    CA           90014
    PublicRelay, Inc.                                                  8500 Leesburg Pike                      Suite 7800                         Vienna         VA           22182
    Puchala, Alexander                                                 Address Redacted
    Puckett, Nathaniel                                                 Address Redacted
    Puddan, Gagandeep                                                  Address Redacted
    Pullen, Jennifer                                                   Address Redacted
    Pullings, Adam                                                     Address Redacted
    Pulver Laboratories Inc.,
    Electromagnetics Division                                          320 North Santa Cruz Avenue                                                Los Gatos      CA           95030
                                                                                                                                                  Santa Fe
    Pump Engineering Company                                           9807 Jordan Circle                                                         Springs        CA           90670
    Pump South Inc.                                                    117 N Main Street                                                          Fountain Inn   SC           29644
    Punzalan, Marc                                                     Address Redacted
    Purchase Power                                                     PO BOX 371874                                                              Pittsburgh     PA           15250
    PurCo Fleet Services, Inc.                                         136 South Main Street                                                      Spanish Fork   UT           84660
    Purdy, Amos                                                        Address Redacted
    Pure Water Partners LLC               George Hege                  1600 District Ave                   Suite #200                             Burlington     MA           01803
    Pure Water Partners LLC               Regina Botticelli            1600 District Ave                   Suite #200                             Burlington     MA           01803
    Pure Water Partners LLC                                            PO Box 0369                                                                Woburn         MA           01888
    Pushyla, Ihar                                                      Address Redacted
                                                                       King Kalakaua Building (aka US Post
    PVL Department of Commerce &                                       Office Custom House and Court
    Consumer Affairs                      Hawaii MFG License           House)                              335 Merchant Street                    Honolulu       HI           96813
    Pye Barker Fire & Safety, LLC                                      PO Box 735358                                                              Dallas         TX           75373
    Q4 Inc                                                             469A King Street W                                                         Toronto        ON           M5V 1K4       Canada

    Qinhuangdao Xinchi Photoelectricity                                275-km South spot to No.102 National                                       Qinhuangdao
    Technology Co., Ltd                                                Road                                 Funing District                       City                        66000         China
    QPB Holdings Ltd                                                   27 Hospital Road                                                           George Town    PA           19008




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    QPL Technologies Inc.               dba Q-PLUS labs                  13765 Alton Parkway                   Unit E                            Irvine         CA            92618
    Quackt Glass LLC                                                     300 Springhill Farm Rd                                                  Fort Mill      SC            29715
    Quackt Glass LLC                                                     939 Norman Lane                                                         Lancaster      SC            29720
    Quad City Garage Policy Group                                        1515 River Drive                                                        Moline         IL            61265
    Quales, Christian                                                    Address Redacted
    Quality Concrete                                                     98 Faith Drive                                                          Campobello     SC            29322
    Quality Control Solutions, Inc                                       43339 Business Park                   Suite 101                         Temecula       CA            92590
    Qualters, Zackary                                                    Address Redacted
    Qualtrics, LLC                      Sadie Young                      333 W River Park Drive                                                  Provo          UT            84604
    Quanta Laboratories                                                  3199 DeLaCruz Blvd                                                      Santa Clara    CA            95054
    Quantronix, Inc.                    Cubiscan                         314 S. 200 W.                                                           Farmington     UT            84025
    Quazzo-Elnick, Caroline                                              Address Redacted
    Quench USA, Inc.                    DBA Waterlogic Americas, LLC     630 Allendale Road                    Suite 200                         King of Prussia PA           19406
    Quench USA, Inc.                    DBA Waterlogic Americas, LLC     PO Box 677016                                                           Dallas          TX           75267
    QuikGlass                                                            PO Box 446                                                              Easley          SC           29641
    Quincy Greene                                                        Address Redacted
    Quinn, Harrison                                                      Address Redacted
    Quinn, Will                                                          Address Redacted
    Quintero, Emilio                                                     Address Redacted
                                                                                                                                                 South San
    R&S Erection North Peninsula Inc.                                    133 S. Linden Avenue                                                    Francisco      CA            94080
    R.S. Hughes Co., Inc.               Adam Guynes                      10639 Glenoaks Blvd                                                     Pacoima        CA            91331
    R.S. Hughes Co., Inc.               AJ ADDIS                         10639 Glenoaks Blvd                                                     Pacoima        CA            91331
    R.S. Hughes Co., Inc.               LAX ORDERS                       10639 Glenoaks Blvd                                                     Pacoima        CA            91331
    R.S. Hughes Co., Inc.                                                10639 Glenoaks Blvd                                                     Pacoima        CA            91331
    R.S. Hughes Co., Inc.                                                2405 Verna Court                                                        San Leandro    CA            94577
    R.W. Hatfield Co., Inc.             Proline                          10 Avco Rd                                                              Haverhill      MA            01835
    R+L Carriers                                                         PO Box 10020                                                            Port William   OH            45164-2000
    Raap, Scott                                                          Address Redacted
    Rabade, Sameer                                                       Address Redacted
    Rabbit Copiers, Inc                 DBA Rabbit Office Automation     904 Weddell Ct.                                                         Sunnyvale      CA            94089
    Rackley II, Timothy                                                  Address Redacted
    Radiation Protection Services                                        60 Leonard Drive                                                        Groton         CT            06340
                                        Crystal Parr Radio Engineering
    Radio Engineering Industries, Inc   Industries, Inc                  6534 L Street                                                           Omaha          NE            68117
    Radio Engineering Industries, Inc   Riley Hays                       6534 L Street                                                           Omaha          NE            68117
    Radio Engineering Industries, Inc   Wilma Fleischmann                6534 L Street                                                           Omaha          NE            68117
    Radius Power, A Division of
    Astrodyne                                                            22895 Eastpark Drive                                                    Yorba Linda    CA            92887
    Radwell International Inc.                                           PO Box 419343                                                           Boston         MA            02241-9343
    Radwell International Inc.                                           1 Millennium Drive                                                      Willingboro    NJ            08046
    Rafael Hernandez                                                     Address Redacted
    Raghavan, Sundarraman                                                Address Redacted
    Rainbow Sign & Banner, Inc.                                          181 East Riverside Drive                                                Saint George   UT            84790
    Raja, Kamran                                                         Address Redacted
    Raju Mathew, Joel                                                    Address Redacted
    Raleigh-Durham Airport Authority    Mervin Augustin                  PO Box 80001                                                            Raleigh        NC            27623
    Ralphs Store & Trophy Shop                                           PO Box 1524                                                             Seneca         SC            29679-1524
    Ramadan, Eyad                                                        Address Redacted
    Ramaraj, Goutham                                                     Address Redacted
    Ramaraj, Goutham                                                     Address Redacted
    Ramco Electric LTD                                                   5-33 Casebridge Ct                                                      Toronto        ON            M1B 3J5       Canada




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    Ramirez, Andrew                                                       Address Redacted
    Ramirez, Bill                                                         Address Redacted
    Ramirez, Gabriela                                                     Address Redacted
    Ramirez, Jose                                                         Address Redacted
    Ramirez, Marcos                                                       Address Redacted
    Ramirez, Natalie                                                      Address Redacted
    Ramos, Alfonso                                                        Address Redacted
    Ramos, Henry                                                          Address Redacted
    Ramos, Patrick                                                        Address Redacted
    Ramos-Rodriguez, Isabel                                               Address Redacted
    RAMPF Composite Solutions Inc.                                        5295 John Lucas Drive                 Unit 5                            Burlington      ON           L7L 6A8       Canada
    Ramsay, Tyra                                                          Address Redacted
    Ramstein, Jason                                                       Address Redacted
    Randall W Wells                        Randy Wells Photography        Address Redacted
    Rangarajan, Amar                                                      Address Redacted
    Rankin Jr., Samuel                                                    Address Redacted
    Rankin Publishing, Inc.                                               PO Box 130                                                              Arcola          IL           61910
    Ranu, Victor                                                          Address Redacted

    Rapid Global Business Solutions Inc.                                  1200 Stephenson Hwy                                                     Troy            MI           48083
    Rapid Product Solutions, Inc                                          2240 Celsius Ave                      Unit D                            Oxnard          CA           93030
    RAPID Sheet Metal, LLC                 Machining Orders               104 Perimeter Road                                                      Nashua          NH           03063
    RAPID Sheet Metal, LLC                 Neal Topliffe                  104 Perimeter Road                                                      Nashua          NH           03063
    RAPID Sheet Metal, LLC                 Sheet Metal ORDERS             104 Perimeter Road                                                      Nashua          NH           03063
    Rassikhin, David                                                      Address Redacted
    Rastogi, Nihal                                                        Address Redacted
    RATP-DEV DC Circulator                 LEAD TECHNICIAN Rick Paulsen   1710 17th St NE                                                         Washington      DC           20002
    RATP-DEV DC Circulator                 LEAD TECHNICIAN Rick Paulsen   3800 Sandshell Drive, Suite 180                                         Ft. Worth       TX           76137
    RATP-DEV DC Circulator                                                1710 17th St NE                                                         Washington      DC           20002
    RATP-DEV DC Circulator                                                3800 Sandshell Drive, Suite 180                                         Ft. Worth       TX           76137
    Raul Higareda                          DBA Dannys Auto Body & Paint   Address Redacted
    Raval, Ankur                                                          Address Redacted
    Raval, Kalpesh                                                        Address Redacted
    Raval, Kaushik                                                        Address Redacted
    RAVEN Engineering, Inc.                                               725 S. Glaspie St                                                       Oxford          MI           48371
    Ravivenkatesh, Pragadish                                              Address Redacted
    Ray Products Company, Inc.             Esmeralda Ruvira               1700 Chablis Avenue                                                     Ontario         CA           91761
    Ray Products Company, Inc.             Farhad Matin                   1700 Chablis Avenue                                                     Ontario         CA           91761
    Ray Products Company, Inc.             Gloria Gomez                   1700 Chablis Avenue                                                     Ontario         CA           91761
    Ray Products Company, Inc.                                            1700 Chablis Avenue                                                     Ontario         CA           91761
    Ray, Felicia                                                          Address Redacted
    Ray, Kenneth                                                          Address Redacted
    Ray, Tangela                                                          Address Redacted
    Raymond, Kendall                                                      Address Redacted
    Rays the Mark Foundation                                              11935 Pasco Trails Blvd                                                 Spring Hill     FL           34610
    Razorfrog Web Design LLC               Max Elman                      153 Wool Street                                                         San Francisco   CA           94110
    Razorfrog Web Design LLC               Max Elman                      1032 Irving St                        Suite 984                         San Francisco   CA           94122
    Razorleaf Corporation                                                 3732 Fishcreek Rd.                    Suite 291                         Stow            OH           44224
    RBI Solar, Inc.                        Tim Flick                      5513 Vine Street                                                        Cincinnati      OH           45217
    RCM Security Consulting                                               10506 El Comal Drive                                                    San Diego       CA           92124
    RDU Airport Authority                                                 PO Box 80001                                                            RDU Airport     NC           27623
    Re Transportation Inc                                                 855 Ridge Lake Blvd                                                     Memphis         TN           38120




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    Reale, Philip                                                                 Address Redacted
    Real-Time Marketing, LTD                                                      3100 Main St.                           # 510                                Dallas          TX           75226
    Realwear, Inc                                                                 600 Hatheway Road                       Suite 105                            Vancouver       WA           98661
    Reaves, Carla                                                                 Address Redacted

    Recaro North America, Inc.              Ana Monsivais                         Lockbox #774916                         4916 Solution Center                 Chicago         IL           60677-4009

    Recaro North America, Inc.              Brett Kielman                         Lockbox #774916                         4916 Solution Center                 Chicago         IL           60677-4009
    Recaro North America, Inc.                                                    Lockbox # 778706                                                             Chicago         IL           60677

    Recaro North America, Inc.                                                    Lockbox #774916                         4916 Solution Center                 Chicago         IL           60677-4009
    Receiver General of Canada                                                    11 Laurier Street                                                            Gatineau        QC           K1A 0S5       Canada
    Recognition and Awards, Inc.             Richard Lachman                      1856 Johns Drive                                                             Glenview        IL           60025
    Recology San Mateo County                General Manager, Evan Boyd           225 Shoreway Road                                                            San Carlos      CA           94070
    Recology San Mateo County                                                     PO Box 512268                                                                Los Angeles     CA           90051-0268
    Recology San Mateo County                                                     PO Box 848268                                                                Los Angeles     CA           90084-8268
    Rector and Visitors of the University of
    Virginia                                                                      1001 N. Emmet St                                                             Charlottesville VA           22904
    Recycle Away, LLC                        Trashcans Warehouse                  35 Frost Street                                                              Brattleboro     VT           05301
    Red Pepper Software, LLC                                                      2436 W 700 S Ste 202                                                         Pleasant Grove UT            84062
    Red Points Enterprises, LLC                                                   334 Cornelia St.                        Suite 350                            Plattsburgh     NY           12901
    Red Wing Brands of America, Inc.         DBA Red Wing Shoe                    PO Box 844329                                                                Dallas          TX           75284-4329
    Red Wing Brands of America, Inc.         DBA Red Wing Shoe                    1135 El Camino Real                                                          Millbrae        CA           94030

    Red Wing Brands of America, Inc.        DBA Red Wing Shoe                     DBA Red Wing Shoe                       1135 El Camino Real                  Millbrae        CA           94030
    Redden, Timothy                                                               Address Redacted

    Redding Area Bus Authority (RABA)                                             777 Cypress Avenue                                                           Redding         CA           96001
    RedE Parts Inc.                         Patience Paine                        2250 N. Opdyke Rd.                                                           Auburn Hills    MI           48326
    RedE Parts Inc.                                                               2250 N. Opdyke Rd.                                                           Auburn Hills    MI           48326
    Redline Detection, LLC                                                        828 W Taft Ave                                                               Orange          CA           92865
    Redmond, Michael                                                              Address Redacted
    Redwood Materials, Inc                                                        2801 Lockheed Way                                                            Carson City     NV           89706
    Reed II, Michael                                                              Address Redacted
    Reeder, Mary                                                                  Address Redacted
    Reel Power Wire & Cable Inc.                                                  PO Box 679037                                                                Dallas          TX           75367
    Reelcraft Industries Inc.                                                     2842 E Business Hwy 30                                                       Columbia City   IN           46725
    Reelcraft Industries Inc.                                                     PO Box 775468                                                                Chicago         IL           60677-5468
    Regents of the University of California
    alias University of California, San
    Diego                                   University of California, San Diego   9500 Gilman Drive                                                            La Jolla        CA           92093-0953

    Regional Idealease of Rochester, LLC Jason Carello                            PO Box 247                                                                   Buffalo         NY           14225
    Regional Material Handling & Supply
    Inc.                                                                          2711 Middleburg Dr.                                                          Columbia        SC           29204
    Regional Transportation Commission
    of Washoe County                                                              PO Box 30002                                                                 Reno            NV           89520
    Regus Corporation                    Regus Management Group                   901 Main Street                                                              Dallas          TX           75284
    Reid, Tyler                                                                   Address Redacted
    Reid, Vincent                                                                 Address Redacted
    Reliable Fire Equipment Co           DBA Reliable Fire & Security             12845 S Cicero Ave.                                                          Alsip           IL           60803




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    Reliance Worldwide Distribution
    (Europe) Limited                                                   Ludwig-Erhard-Allee 30                                                          Bielefeld                    33719         Germany
    Reliant Labs, Inc.                                                 925 Thompson Place                                                              Sunnyvale       CA           94085
    RELX Inc. DBA LexisNexis                                           313 Washington St                      Suite 400                                Newton          MA           02458
    REMA USA LLC                       Daniela Thames                  385 South Woods Drive                                                           Fountain Inn    SC           29644
    REMA USA LLC                       Kalyn Baker                     385 South Woods Drive                                                           Fountain Inn    SC           29644
    REMA USA LLC                                                       385 South Woods Drive                                                           Fountain Inn    SC           29644
    Remarc Manufacturing, Inc.         Charlene Norvell                1995 Tampa Street                                                               Reno            NV           89512
    Rendezvous Services LLC dba Dustin
    Goodwin                                                            306 Garfield Place                     Apt 2R                                   Brooklyn        NY           11215
    Renewable Design Associates, LLC   Alan Watts                      1570 Patton Ave, Suite 5                                                        Asheville       NC           28806
    Renewable Design Associates, LLC                                   1570 Patton Ave, Suite 5                                                        Asheville       NC           28806
    Renewable Energy Vermont           Ansley Bloomer                  PO Box 1036                                                                     Montpelier      VT           05601
    Renewable Energy Vermont                                           33 Court Street                                                                 Montpelier      VT           05602
    Renfrow Brothers                                                   855 Gossett Rd                                                                  Spartensburg    SC           29307
    Reno, Thomas                                                       Address Redacted
    Renteria, Oscar                                                    Address Redacted
    Republic Services #744                                             PO Box 9001099                                                                  Louisville      KY           40290-1099
    Republic Services #744                                             18500 North Allied Way                                                          Phoenix         AZ           85054
    Research Triangle Regional Public                                                                                                                  Research
    Transportation Authority           GoTriangle                      4600 Emperor Blvd                      Attn Accts Receivable                    Triangle Park   NC           27709
    Resolution Graphics, Inc.                                          3770 Dunlap Street                     North                                    Arden Hills     MN           55112
    Resolution Graphics, Inc.                                          LB 7376                                PO Box 9438                              Minneapolis     MN           55440-9438
    Resource Intl Inc.                 Mishimoto Automotive            7 Boulden Circle                                                                New Castle      DE           19720
                                                                                                              18 Boulden Circle Suite
    Resource Intl. Inc.                     DBA Mishimoto              DBA Mishimoto                          10                                       New Castle      DE           19720
    Resource Intl. Inc.                     DBA Mishimoto              18 Boulden Circle                      Suite 10                                 New Castle      DE           19720

    Resource Intl. Inc.                     DBA Mishimoto              QS / INQUIRY QS / INQUIRY              18 Boulden Circle         Suite 10       New Castle      DE           19720
    Resources Connection, Inc.              DBA Sitrick Group, LLC     11999 San Vicente Blvd                 Penthouse                                Los Angeles     CA           90049
    Resources Connection, Inc.              DBA Sitrick Group, LLC     PO Box 740909                                                                   Los Angeles     CA           90074
    Resources Connection, Inc.              DBA Sitrick Group, LLC     17101 Armstrong Ave. Suite 100                                                  Irvine          CA           92614
    Restek Corporation                                                 110 Benner Circle                                                               Bellefonte      PA           16823
    Restek Corporation                                                 PO Box 4276                                                                     Lancaster       PA           17604

    Restoration Services of the Carolinas   Rainbow International      1341 Rutherford Road                                                            Greenville      SC           29609
    Retirement Funding Advisors, LLC                                   PO Box 17262                                                                    Greenville      SC           29606
    Reverse Engineering Inc                 Quality Inspection         668 Parkridge Ave                                                               Norco           CA           92860
    Rexan USA LLC                           Thinakar Nadar             17304 Preston Road, Suite 800                                                   Dallas          TX           75252
    Reyco Granning LLC                      Billing Lisa Snitker       PO Box 88463                                                                    Chicago         IL           60680
    Reyco Granning LLC                      Billing Lisa Snitker       1205 Industrial Park Drive                                                      Mt. Vernon      MO           65712
    Reyco Granning LLC                      SALES Scott Ames           PO Box 88463                                                                    Chicago         IL           60680
    Reyco Granning LLC                      SALES Scott Ames           1205 Industrial Park Drive                                                      Mt. Vernon      MO           65712
    Reyes, Amanda                                                      Address Redacted
    Reyes, Joaquin                                                     Address Redacted
    Reyes, Juan                                                        Address Redacted
    Reyes, Miko                                                        Address Redacted
    Reyes, Natalie                                                     Address Redacted
    Reyes, Ruben                                                       Address Redacted
    Reyes, Steven                                                      Address Redacted
    Reyes, William                                                     Address Redacted
    Reynolds, Eric                                                     Address Redacted




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    Reynolds, Jarvis                                                      Address Redacted
    Reynolds, Robert                                                      Address Redacted
    Reynoso, Ariadna                                                      Address Redacted
    RFID Canada, Inc.                                                     25 Valleywood Drive, Unit 19                                                 Markham        ON           L3R 5L9       Canada
    RGA Office of Architectural Design,
    Inc.                                                                  15231 Alton Parkway                    Suite 100                             Irvine         CA           92618
    Rhino Assembly Company, LLC                                           7575-A West Winds Blvd                                                       Concord        NC           28027
    Rhode Island Department of State                                      148 West River Street                                                        Providence     RI           02904-2615
    Rhode Island Division of Taxation                                     One Capitol Hill                                                             Providence     RI           02908
    Rhode Island Division of Taxation                                     One Capitol Hill                       Suite 36                              Providence     RI           02908
    Rhode Island Office of the General
    Treasurer                             Unclaimed Property Division     50 Service Ave                                                               Warwick        RI           02886
                                          WARRANTY OFFICER Thomas
    Rhode Island Public Transit Authority Cabral                          705 Elmwood Ave                                                              Providence     RI           02907
    Rhodes, Fernando                                                      Address Redacted
    Rhodes, Letecia                                                       Address Redacted
    Rhodes, Lori                                                          Address Redacted
    Rhodes, LORI                                                          Address Redacted
    Rhodes, Shiniquia                                                     Address Redacted
    Rhombus Energy Solutions              Kimberly Tom Accounts Payable   12245 World Trade Dr.                  Suite G                               San Diego      CA           92128
    Rhombus Energy Solutions              Pat Ackerman Accounts Payable   12245 World Trade Dr.                  Suite G                               San Diego      CA           92128
    Rhombus Energy Solutions              RUSSELL PULTER                  12245 World Trade Dr.                  Suite G                               San Diego      CA           92128
    Rhombus Energy Solutions                                              15301 Century Dr, Suite 204                                                  Dearborn       MI           48120
    Rhombus Energy Solutions                                              10915 Technology Place                                                       San Diego      CA           92127
    Ricasata, Ricardo                                                     Address Redacted
    Rice, JaMarcus                                                        Address Redacted
    Rice, Marcus                                                          Address Redacted
    Richard Fiore                                                         Address Redacted
    Richard Huibregtse                                                    Address Redacted
    Richard M. Van Der Linden                                             Address Redacted
    Richard Schwartz                      DBA J and .R Graphics, Co.      Address Redacted

    Richards, Layton & Finger, P.A.                                       One Rodney Square                      920 North King Street                 Wilmington     DE           19801
    Richardson RFPD Inc.                                                  1950 S Batavia Ave, Suite 100                                                Geneva         IL           60134
    Richardson, Scott                                                     Address Redacted
    Richter, Patrick                                                      Address Redacted
    Ricketts Case, LLP                    Chris Phillips                  2800 North Central Ave                 Suite 1910                            Phoenix        AZ           85004
    Ricketts Case, LLP                    Hope Case                       2800 North Central Ave                 Suite 1910                            Phoenix        AZ           85004
    Ricketts Case, LLP                    Jessica Talavera-Rauh           2800 North Central Ave                 Suite 1910                            Phoenix        AZ           85004
    Ricketts Case, LLP                                                    1900 Embarcadero Road                  Suite 111                             Palo Alto      CA           94303
    Ricks Sewer & Drain Inc                                               305 Seminole Drive                                                           Simpsonville   SC           29680
    Ricks, Ronnie                                                         Address Redacted
    Rico, Sergio                                                          Address Redacted
                                          BACK UP FOR NICK RICON
    RICON CORPORATION                     CORPORATION                     PO Box 100936                                                                Pasadena       CA           91189-0936
    RICON CORPORATION                     COREY THOMAS                    PO Box 100936                                                                Pasadena       CA           91189-0936
    RICON CORPORATION                     ERICKA MAYORGA                  PO Box 100936                                                                Pasadena       CA           91189-0936
    RICON CORPORATION                                                     PO Box 100936                                                                Pasadena       CA           91189-0936
    Ridings, Jeffrey                                                      Address Redacted
    Riegel, Jordan                                                        Address Redacted
    Right Freight Solutions, Inc                                          110 Virginia Place                                                           Fayetteville   GA           30214
    Right Management Inc.                                                 100 Manpower Place                                                           Milwaukee      WI           53212




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    RightStar Systems                                                1951 Kidwell Drive                      Suite 110                        Vienna         VA            22182
    Rin Jr., Sareth                                                  Address Redacted
    Rincon Power, LLC                                                6381 Rose Lane, STE A                                                    Carpinteria    CA            93013
    RingCentral, Inc.                                                PO Box 734232                                                            Dallas         TX            75373-4232
    RingCentral, Inc.                                                20 Davis Drive                                                           Belmont        CA            94002
    Rios Velasco, Fernando                                           Address Redacted
    Ritz Safety LLC                     Slate Rock Safety            755 W Smith Rd.                         Unit C                           Medina         OH            44256
                                                                                                                                              Pompano
    Rivaracing.com                      Jami Kerrigan                3671 North Dixie Hwy                                                     Beach          FL            33064
                                                                                                                                              Pompano
    Rivaracing.com                                                   3671 North Dixie Hwy                                                     Beach          FL            33064
    Rivas, Antonio                                                   Address Redacted
    River Park Inc                      Cliff Dittman                21953 Protecta Dr                                                        Elkhart        IN            46516
    River Park Inc                      Tia Hocking                  21953 Protecta Dr                                                        Elkhart        IN            46516
    River Park Inc                                                   21953 Protecta Dr                                                        Elkhart        IN            46516
    Rivera Jr., William                                              Address Redacted
    Rivera Lopez, Eddy                                               Address Redacted
    Rivera, Angelo                                                   Address Redacted
    Rivera, Carlos                                                   Address Redacted
    Rivera, Gabriel                                                  Address Redacted
    Rivera, Jeremy                                                   Address Redacted
    Rivera, Jomar                                                    Address Redacted
    Rivera, Marikit                                                  Address Redacted
    Rivera, Martin                                                   Address Redacted
    Rivera, William                                                  Address Redacted
    Riverlink                                                        PO Box 16799                                                             Austin         TX            78761-6799
    Riverside Mfg., LLC                 JAMIE BLAKE                  PO Box 6069                             Dept 203                         Indianapolis   IN            46206-6069
    Riverside Mfg., LLC                 STACI HOWARD                 PO Box 6069                             Dept 203                         Indianapolis   IN            46206-6069
    Riverside Mfg., LLC                                              PO Box 6069                             Dept 203                         Indianapolis   IN            46206-6069
    Riverwood Associates, LLC                                        4756 Promontory Court                                                    Dunwoody       GA            30338
    Rizzuti, Christopher                                             Address Redacted
    RLS Fleet Services, LLC             DBA Capitol Coachworks       201 Ritchie Rd, Bldg A                                                   Capitol Heights MD           20743
    Roberson, James                                                  Address Redacted
    Robert Bourcheau                    Mr. Bs CDL Testing           Address Redacted
    Robert Frank Whatley                                             Address Redacted
    Robert H. Wager Company, Inc.                                    570 Montroyal Road                                                       Rural Hall     NC            27045
    Robert Half Internationals                                       12400 Collections Center Drive                                           Chicago        IL            60693
    Robert Ian Macpherson                                            Address Redacted
    Robert P Stevens                    DBA The Stevens Group, LLC   Address Redacted
    Roberts Tours and Transportation,
    Inc.                                Aaron Kimura                 680 Iwilei Road, Suite 700                                               Honolulu       HI            96817
    Robertshaw Controls Company                                      1222 Hamilton Parkway                                                    Itasca         IL            60143
    Robertson, Eric                                                  Address Redacted
    Robins Woodwork, Inc.                                            8035 East Crystal Drive                                                  Anaheim        CA            92807
    Robinson III, Rogers                                             Address Redacted
    Robinson Jr., Gene                                               Address Redacted
    Robinson Jr., Rogers                                             Address Redacted
    Robinson, Marcus                                                 Address Redacted
    Robinson, Zion                                                   Address Redacted
    Robinson-Berry, Joan                                             Address Redacted
    Roble, Elizabeth                                                 Address Redacted
    Rocha, Johnny                                                    Address Redacted




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    Rochester Electromics, LLC                                          PO Box 847983                                                            Boston          MA           02284-7983
    Rochester Hills Executive Park
    Owners Association                                                  2 Towne Square                        Suite 850                          Southfield      MI           48076

    Rock Island Metropolitan Mass Transit                               4501 4th Avenue                                                          Rock Island     IL           61265

    Rock Island Metropolitan Mass Transit                               1515 River Drive                                                         Moline          IL           61265
    Rockville Radiator Shop, Inc.                                       14630 Southlawn Ln St G& H                                               Rockville       MD           20850-7305
    Rocky Mountain Driveline                                            6295 W 55th Avenue                                                       Arvada          CO           80002
    Rodden, Kevin                                                       Address Redacted
    Rodrigues, Lindsey                                                  Address Redacted
    Rodrigues, Roschmann                                                Address Redacted
    Rodriguez, Alexander                                                Address Redacted
    Rodriguez, Christopher                                              Address Redacted
    Rodriguez, Jessica                                                  Address Redacted
    Rodriguez, Joseph                                                   Address Redacted
    Rodriguez, Larry                                                    Address Redacted
    Rodriguez, Michael                                                  Address Redacted
    Rodriguez, Oscar                                                    Address Redacted
    Rodriguez, Rikki                                                    Address Redacted
    Rodriguez, Sergio                                                   Address Redacted
    Rodriguez, The Estate of Marco                                      Address Redacted
    Roger Wire EDM                                                      Address Redacted
    Rogers Corporation                                                  Afrikalaan 188                                                           Gent                         9000         Belgium
    Rogers Corporation                                                  26995 Network Place                                                      Chicago         IL           60673
    Rogers Joseph ODonnell                                              311 California Street                 10th Floor                         San Francisco   CA           94104
    Rogers, William                                                     Address Redacted
    Rohde & Schwarz USA, Inc                                            6821 Benjamin Franklin Drive                                             Columbia        MD           21046
    Rohde & Schwarz USA, Inc                                            PO Box 5120                                                              Carol Stream    IL           60197-5120
    Rojas Moreno, Aurora                                                Address Redacted
    Rolleri, Judith Anne                                                Address Redacted
    Rome Truck Parts & Repair, Inc.                                     241 Dempsey Dairy Rd.                                                    Rome            GA           30161
    Romeo Rim, Inc.                       LAURIE COLLINS                74000 Van Dyke Rd.                                                       Romeo           MI           48065
    Romeo RIM, Inc.                       Michelle M Bourdage           7400 Van Dyke Rd                                                         Romeo           MI           48065
    Romeo Rim, Inc.                       MIKE ROBINSON                 74000 Van Dyke Rd.                                                       Romeo           MI           48065
    Romeo Rim, Inc.                       NIKI LOUWSMAN                 74000 Van Dyke Rd.                                                       Romeo           MI           48065
    Romeo Rim, Inc.                                                     74000 Van Dyke Rd.                                                       Romeo           MI           48065
    Romero Sr., Michael                                                 Address Redacted
    Romero, Marvin                                                      Address Redacted

    Ron Whites Air Compressor Sales         DBA RWI Industrial          DBA RWI Industrial                    4019 S. Murray Ave                 Anderson        SC           29624
    Ron Whites Air Compressor Sales         DBA RWI Industrial          4019 S. Murray Ave                                                       Anderson        SC           29624
    Ronald L. Book, PA                                                  Address Redacted
    Ronnie Maxey II                         DBA Maxi-Clean              Address Redacted
    ROSCO, INC.                             Awounda Mitchell            90-21 144th Pl.                                                          Jamaica         NY           11435
    ROSCO, INC.                             AZEEM KHAN                  90-21 144th Pl.                                                          Jamaica         NY           11435
    ROSCO, INC.                             LEENA VIDAL                 90-21 144th Pl.                                                          Jamaica         NY           11435
    ROSCO, INC.                                                         90-21 144th Pl.                                                          Jamaica         NY           11435
    Rose Tse                                                            Address Redacted
    Rosen Centre Inc.                                                   9840 International Drive                                                 Orlando         FL           32819
    Rosen Centre Inc.                                                   4000 Destination Parkway                                                 Orlando         FL           32819




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    Rosenberger GmbH & Co. KG           FRANZISKA HOGGER                   Haupstrasse 1                                                             83413 Fridolfing                              Germany

    Rosenberger GmbH & Co. KG                                              Haupstrasse 1                                                             83413 Fridolfing                              Germany
    Rotaloc International LLC                                              9903 Titan Ct #15                                                         Littleton        CO             80125
    Rotaloc Intl, LLC                   Kevin Krause                       9903 Titan Ct.                         Suite 15                           Littleton        CO             80125
    Rotaloc Intl, LLC                   Megan Frank                        9903 Titan Ct.                         Suite 15                           Littleton        CO             80125
    Rotaloc Intl, LLC                   MIKE CLANCY                        9903 Titan Ct.                         Suite 15                           Littleton        CO             80125
    Rotaloc Intl, LLC                                                      9903 Titan Ct.                         Suite 15                           Littleton        CO             80125
    Rothell, Chris                                                         Address Redacted
    Roto Power, Inc                                                        191 Granite Street                     Suite A                            Corona             CA           92879
    Roto Rooter                                                            Address Redacted
    Rouleau, Stephen                                                       Address Redacted
                                        DBA Roush Yeates manufacturing
    Roush & Yates Racing Engines LLC    Solutions                          112 Byers Creek Road                                                      Mooresville        NC           28117
                                        DBA Roush Yeates manufacturing
    Roush & Yates Racing Engines LLC    Solutions                          PO Box 3788                                                               Mooresville        NC           28117
    Roush Industries Inc                                                   12445 Levan Road                                                          Livonia            MI           48150

    Routematch Software, Inc.           CORP. CONTROLLER A.J. Dote         1230 Peachtree Street NE, Suite 2800                                      Atlanta            GA           30309

    Routematch Software, Inc.           Dale Kartushyn                     1230 Peachtree Street NE, Suite 2800                                      Atlanta            GA           30309

    Routematch Software, Inc.           Eddie Anderson                     1230 Peachtree Street NE, Suite 2800                                      Atlanta            GA           30309

    Routematch Software, Inc.                                              1230 Peachtree Street NE, Suite 2800                                      Atlanta            GA           30309
    Rowland, Sophia                                                        Address Redacted
    Roy Metal Finishing Co, Inc.        John Murphy                        1515 Old Grove Road                                                       Piedmont           SC           29673
    Royal, Margaret                                                        Address Redacted
    Royce Digital Systems, Inc.         ACCTS. REC. Bob Pavlovic           8697 Research Dr.                                                         Irvine             CA           92618
    Royce Digital Systems, Inc.                                            8697 Research Dr.                                                         Irvine             CA           92618
    RR Franchising, Inc.                                                   6281 Beach Blvd.                     Suite 225                            Buena Park         CA           90621
    RS Americas, Inc.                   RS (formerly Allied Electronics)   7151 Jack Newell Blvd., South                                             Fort Worth         TX           76118
                                                                           945 East Paces Ferry Road NE, Suite
    RSUI Indemnity Company                                                 1800                                                                      Atlanta            GA           30326
    Ruano, Joel                                                            Address Redacted
    Ruch, Josh                                                             Address Redacted
    Rudco Products, Inc.                                                   114 East Oak Road                                                         Vineland           NJ           08361
    Ruffer, Kyle                                                           Address Redacted
    Ruiz Jr., Anthony                                                      Address Redacted
    Ruiz Jr., Hector                                                       Address Redacted
    Ruiz, Jesus                                                            Address Redacted
    Ruiz, Thomas                                                           Address Redacted
    Rumbaugh, Kevin                                                        Address Redacted
    Rumph, Autumn                                                          Address Redacted
    Runyon, John                                                           Address Redacted
    Rupert H. Johnson, Jr                                                  Address Redacted
    Rushabh Mehta                                                          Address Redacted
    Russell K Nilsen                                                       Address Redacted
    Russell Reynolds Associates, Inc.                                      277 Park Avenue                      Suite 3800                           New York           NY           10172
    Russell Scott Davis                                                    Address Redacted
    Russell, Lynwood                                                       Address Redacted




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    Russell, Preston                                                           Address Redacted
    Rutan & Tucker, LLP                                                        18575 Jamboree Road 9th Floor                                                Irvine           CA           92612
    Rutledge, Justin                                                           Address Redacted
    Ruvalcaba, Richard                                                         Address Redacted
                                                                                                                                                            Green Cove
    RX-M Enterprises LLC                                                       411 Walnut Street                       #3797                                Springs          FL           32043
    Ryan C. Popple                                                             Address Redacted
    Ryan Croke                             DBA Full Circle Productions Media   Address Redacted
    Ryan Flood                                                                 Address Redacted
    Ryan Laughy                                                                Address Redacted
    Ryan McCarty                                                               Address Redacted
    Ryan Watts                                                                 Address Redacted
    Ryan, Jason                                                                Address Redacted
    Ryder Truck Rental, Inc.                                                   PO Box 105366                                                                Atlanta          GA           30348-5366
    Ryerson Denver                                                             Address Redacted
    Ryerson, Inc. - Greenville             Ray Werness                         PO Box 905716                                                                Charlotte        NC           28290
    Ryerson, Inc. - Greenville             Sarah Gilbert                       PO Box 905716                                                                Charlotte        NC           28290
    S & A Systems, Inc.                    Don Rakow                           992 Sids Road                                                                Rockwall         TX           75032-6512
    S & D Products, Inc.                                                       1390 Schiferl Rd.                                                            Bartlett         IL           60103
    S&J Industrial Services, LLC                                               342 Old Fox Squirrel Ridge Road                                              Pickens          SC           29671
    S&P GLOBAL MARKET
    INTELLIGENCE LLC                                                           55 WATER ST,                                                                 New York         NY           10041
    S. Sterling Company                    AMANDA COLLIER                      102 International Drive                                                      Peachtree City   GA           30269
    S. Sterling Company                    CHRIS COOK                          102 International Drive                                                      Peachtree City   GA           30269
    S. Sterling Company                                                        102 International Drive                                                      Peachtree City   GA           30269

    S.F. Containers                        DBA Steele Fabrication, LLC         S.F. Containers                         8501 San Leandro Street              Oakland          CA           94621
    S.M. Adams and Others                  Piper Alderman                      DX102 Adelaide                          GPO Box 65                           Adelaide                      5001          Australia
    SA Automotive LTD, LLC                 DBA SA Engineering                  DBA SA Engineering                      PO Box 536036                        Pittsburgh       PA           15253-5902
    SA Automotive LTD, LLC                 DBA SA Engineering                  1307 Highview Dr.                                                            Webberville      MI           48892
    Saad, Mohamad                                                              Address Redacted
    Sable Computer, Inc.                   DBA KIS                             48383 Fremont Blvd.                     #12                                  Fremont          CA           94538

    Sacramento Regional Transit District                                       PO Box 2110                                                                  Sacramento       CA           95812
    Sacristan-Lagunas, Laura                                                   Address Redacted
    Sadowski Jr., George                                                       Address Redacted
    SAE International                                                          PO Box 536036                                                                Pittsburgh       PA           15253-5902
    SAE International                                                          PO Box 79572                                                                 Baltimore        MD           21279
    Safe Fleet Bus & Rail                  Dan DiSarro                         319 Roske Drive                                                              Elkhart          IN           46516
    Safe Fleet Bus & Rail                  Diane Babcox                        319 Roske Drive                                                              Elkhart          IN           46516
    Safe Fleet Bus & Rail                  Donna Atwood                        319 Roske Drive                                                              Elkhart          IN           46516
    Safe Fleet Bus & Rail                                                      Unit 111, 3B Burbidge Street                                                 Coquitlam        BC           V3K 7B2       Canada
    Safe Fleet Bus & Rail                                                      319 Roske Drive                                                              Elkhart          IN           46516
    Safe Systems, Inc                                                          421 South Pierce Avenue                                                      Louisville       CO           80027
    SafeCo Inc.                            DBA Safety Plus Inc                 4254 Halls Mill Road                                                         Mobile           AL           36693
                                                                                                                                                                                                        United
    Safeglass Limited                                                          Nasmyth Ave.                            Nasmyth Building                     East Kilbride                 G75 0QR       Kingdom
    Safety Supply America, Inc.                                                520 Newport Center Dr.                  Suite 570                            Newport Beach    CA           92660
    Safety Vision                          EMMA YANCY                          6100 W Sam Houston Parkway N                                                 Houston          TX           77041-5113
    Safety Vision                          JEFF TAYLOR                         6100 W Sam Houston Parkway N                                                 Houston          TX           77041-5113
    Safety Vision                          KIRK JOHNSON                        6100 W Sam Houston Parkway N                                                 Houston          TX           77041-5113
    Safety Vision                                                              6100 W Sam Houston Parkway N                                                 Houston          TX           77041-5113




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    Safety-Kleen Systems, Inc.                                                 PO Box 7170                                                                     Pasadena        CA           91109

    Safway Intermediate Holding LLC        DBA BrandSafway Solutions, LLC      1325 Cobb International Dr, Suite A-1                                           Kennesaw        GA           30152

    Sager Electrical Supply Company Inc                                        PO Box 842544                                                                   Boston          MA           02284-2544

    Sager Electrical Supply Company Inc                                        19 Leona Drive                                                                  Middleborough   MA           02346
    Sai Grover                                                                 Address Redacted
    Saia Motor Freight Line, Inc                                               PO Box 730532                                                                   Dallas          TX           75373
    SailPoint Technologies, Inc                                                11120 Four Points Drive                  Suite 100                              Austin          TX           78726-2118
    Salary.com                                                                 PO Box 844048                                                                   Boston          MA           02284-4048
                                                                                                                        North Building - Suite
    Salary.com                                                                 610 Lincoln Street                       #200                                   Waltham         MA           02451
    Salazar, Jake                                                              Address Redacted
    Salazar, Jeffry                                                            Address Redacted
    Salazar, Maximiliano                                                       Address Redacted
    Salem Tools, Inc                       ST Solutions                        1602 Midland Road                                                               Salem           VA           24153
    Salem, Thomas                                                              Address Redacted
    Sales for Life Inc.                                                        40 Eglinton Avenue East                  Suite 200                              Toronto         ON           M4P 3A2       Canada
    Sales Jr., John                                                            Address Redacted
    Salesforce, Inc                                                            PO Box 203141                                                                   Dallas          TX           75320
    Salesforce, Inc                                                            415 Mission Street                       3rd Floor                              San Francisco   CA           94105
    Salim, Ayoub                                                               Address Redacted
    Salva, Jessica                                                             Address Redacted
    Salvador, Theresa                                                          Address Redacted
    Salvi, Ameya                                                               Address Redacted
    Sameer Rabade                                                              Address Redacted
    Samia, Elias                                                               Address Redacted
    Samin Tekmindz Inc.                                                        350 Fifth Avenue, 41st Floor                                                    New York        NY           10118
    Samin Tekmindz Inc.                                                        4677 Old Ironsides Dr., Suite 170                                               Santa Clara     CA           95054
    Samirkumar Varia                                                           Address Redacted
    Samsung SDI America, Inc.                                                  150-20 Gongsero                          Giheung-gu                             Yongsin-Si                   446-577       China
    Samtec Automotive Software &
    Electronics GmbH                                                           Saarstr. 17                                                                     Filderstadt                  D-70794       Germany
    Samuel Gastelum v. Proterra                                                                                         21860 Burbank Blvd.,
    Operating Co., Inc.                    Howard Rutten                       The Rutten Law Firm, APC                 Ste. 340                               Woodland Hills CA            91367
                                           DBA ArcLight Inspection Services,
    Samuel J Sullivan                      LLC                                 Address Redacted
    Samuel, Son & Co                                                           24784 Network Place                                                             Chicago         IL           60679-1247
    San Bernardino International Airport
    Authority                                                                  1601 E Third Street                                                             San Bernardino CA            92408
    San Gabriel Valley Council of
    Governments                                                                1000 S Fremont Avenue                    Unit 42                                Alhambra        CA           91803

    San Joaquin Regional Transit District Brad Menil                           PO Box 201010                                                                   Stockton        CA           95201

    San Joaquin Regional Transit District Emily Oestreigher                    PO Box 201010                                                                   Stockton        CA           95201
    San Mateo County Economic
    Development Association               DBA SAMCEDA                          1301 Shoreway Rd                         Suite 150                              Belmont         CA           94002
    San Mateo County Economic
    Development Association               DBA SAMCEDA                          1900 OFarrell Street                     Suite 380                              San Mateo       CA           94403




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    San Mateo County Environmental
    Health                                                             2000 Alameda De Las Pulgas             Suite 100                              San Mateo       CA           94403
    San Mateo County Neighbors for
    Congestion Relief                                                  20 Park Road, Suite E                                                         Burlingame      CA           94010
    San Mateo County Tax Collector                                     555 County Center - 1st Floor                                                 Redwood City    CA           94063
    San Mateo County Tax Collector                                     PO Box 45901                                                                  San Francisco   CA           94145-0901
    San Mateo County Transit                                           1250 San Carlos Avenue                                                        San Carlos      CA           94070
    San Mateo County Transit District
    (SamTrans)                            Emily M. Charley             Hanson Bridgett                        1000 4th Street, Ste. 700              San Rafael      CA           94901
    San Mateo Union High School District,
    Facilities Use Department                                          650 N Delaware Street                  Building 3                             San Mateo       CA           94401
    Sanchez Vargas, Jorge                                              Address Redacted
    Sanchez, Jorge                                                     Address Redacted
    SANCHEZ, KEVIN                                                     Address Redacted
    Sanchez, Victor                                                    Address Redacted
    Sandoval, Juan                                                     Address Redacted
    Sangave, Ashish                                                    Address Redacted
    Sankaran, Sriram                                                   Address Redacted
    Santa Clara Commercial Inc.           Donald Finn                  1585 N 4th Street                      Suite R                                San Jose        CA           95112
    Santa Clara Valley Transportation
    Authority                             Rocky Bal                    3331 North First Street, Bldg B-1                                             San Jose        CA           95134-1927
    Santa Clara Valley Transportation
    Authority                             VTA Chaboya Division Yard    2240 S 7th St                                                                 San Jose        CA           95112
    Santa Clara Valley Transportation
    Authority                                                          3331 North First Street, Bldg B-1                                             San Jose        CA           95134-1927
    Santa Cruz Marine Services LLC                                     120 Bershire Ave                                                              Santa Cruz      CA           95060
    Santiago, Janessa                                                  Address Redacted
    Santoyo, Jose                                                      Address Redacted
    Sanz Clima S.L.                       Alejandro Blanco             Address Redacted
    Sanz Kenway                           Kenway Engineeriing, Inc.    Address Redacted
    Sapa Profiles Inc.                    RAY GOODY                    7933 NE 21st Ave                                                              Portland        OR           97211
    Sapa Profiles Inc.                                                 7933 NE 21st Ave                                                              Portland        OR           97211
    Sarah A Earles                                                     Address Redacted
    Sarasty, Stewart                                                   Address Redacted
    Sargent, Jeannine                                                  Address Redacted
    Sargent, Jeannine                                                  Address Redacted
    SARKAR, REUBEN                                                     Address Redacted
    Sasha Ostojic                                                      Address Redacted
    Saunders, Ryan                                                     Address Redacted
    Savalia, Lalit                                                     Address Redacted
    Saxon, Randy                                                       Address Redacted
    Say Technologies LLC                  Say Communication            245 8th Ave                            Suite 1040                             New York        NY           10011
    Say Technologies LLC                  Say Communication            85 Willow Road                                                                Menlo Park      CA           94025
    Sayrols Penguelly, Jordi                                           Address Redacted
    SC Commission on CLE                                               PO Box 2138                                                                   Columbia        SC           29202
    SC Department of
    Labor,Licensing&Reg                                                PO Box 11329                                                                  Columbia        SC           29211
                                                                                                              300A Outlet Pointe
    SC Department of Revenue                                           Sales Tax Return                       Boulevard                              Columbia        SC           29210
    SC Dept Employment & Workforce                                     PO Box 2644                                                                   Columbia        SC           29202
    SC Dept of Motor Vehicle                                           P. O. Box 1498                                                                Blythewood      SC           29016-0023
    SC Dept of Revenue                                                 PO Box 2535                                                                   Columbia        SC           29202-2535




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    SC DHEC                                                          PO Box 100103                                                           Columbia     SC           29202
    SC Mech Solution, Inc.              Jacqueline Nguyen            2241 Paragon Dr.                                                        San Jose     CA           95131
    SC Party Rentals LLC                                             106 Willenhall Lane                                                     Greenville   SC           29611
    SC State Fire                       State of South Carolina      141 Monticello Trail                                                    Columbia     SC           29203
    Schaefer, Ian                                                    Address Redacted
    Schaffner EMC Inc                   Controller Leidy Alba        52 Mayfield Avenue                                                      Edison       NJ           08837
    Schaffner EMC Inc                   Tom Larkin                   52 Mayfield Avenue                                                      Edison       NJ           08837
    Schaffner EMC Inc                                                52 Mayfield Avenue                                                      Edison       NJ           08837
    Schaubach, Marina                                                Address Redacted
    Schaupp, Gregory                                                 Address Redacted
    Schawe, Sharon                                                   Address Redacted
    Scheib, Kelly                                                    Address Redacted
    Schepmann, Seneca                                                Address Redacted
    Schetky Northwest Sales, Inc.                                    8430 NE Killingsworth St.                                               Portland     OR           97220
    Schlarb, Nathan                                                  Address Redacted
    Schleich, Christopher                                            Address Redacted
    Schleuniger, Inc                                                 87 Colin Drive                                                          Manchester   NH           03103
    Schlumpf USA, Inc.                  VP-SALES Doug Jones          39 Enterprise Drive, Suite 1                                            Windham      ME           04062
    Schlumpf USA, Inc.                                               39 Enterprise Drive, Suite 1                                            Windham      ME           04062
    Schneider, Jason                                                 Address Redacted
    Schneider, Joshua                                                Address Redacted
    Schneider, Lyndon                                                Address Redacted
    Schobert, Spencer                                                Address Redacted
    Schulte, Jack                                                    Address Redacted
    Schultz Controls, Inc.                                           PO Box 5837                                                             Norco        CA           92860
    Schumpert Jr., Roy                                               Address Redacted
                                                                                                                                             Menomonee
    Schunk Carbon Technology, LLC       Edward Naczek                W146 N9300 Held Drive                                                   Falls        WI           53051
                                                                                                                                             Menomonee
    Schunk Carbon Technology, LLC       JAVIER CAMARILLO             W146 N9300 Held Drive                                                   Falls        WI           53051
                                                                                                                                             Menomonee
    Schunk Carbon Technology, LLC       Mark Maurice                 W146 N9300 Held Drive                                                   Falls        WI           53051
                                                                                                                                             Menomonee
    Schunk Carbon Technology, LLC       Terry Leet                   W146 N9300, Held Drive                                                  Falls        WI           53051

    Schwab Retirement Plan Services, Inc                             9875 Schwab Way                                                         Lone Tree    CO           80124
    Schwab, Aaron                                                    Address Redacted
    Science Spark                        Lauren Gicas                3663 Lone Dove Lane                                                     Olivehain    CA           92024
    Scientific Developments, Inc.        Heather Moffatt             175 S Danebo Ave                                                        Eugene       OR           97402
    Scientific Developments, Inc.                                    PO Box 2522                                                             Eugene       OR           97402
    Scott Allen Matheny                                              Address Redacted
    Scott Foam Technologies, LLC         Melissa Southerland         1573 HWY 136 West                      PO Box 7                         Henderson    KY           42419-0007
    Scott Foam Technologies, LLC         Myka Givens                 1573 HWY 136 West                      PO Box 7                         Henderson    KY           42419-0007
                                         Tonya Rawlins Scott Foam
    Scott Foam Technologies, LLC         Technologies, LLC           1573 HWY 136 West                      PO Box 7                         Henderson    KY           42419-0007
    Scott II, Charles                                                Address Redacted
    Scott Systems International, Inc     Kristina Gordon             2205 Beltway Blvd                      Suite 100                        Charlotte    NC           28214
    Scott Tidwell                                                    Address Redacted
    Scott, Ashley                                                    Address Redacted
    Scott, Chaunta                                                   Address Redacted
    Scott, Michael                                                   Address Redacted
    Scott, Mikala                                                    Address Redacted




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    Scotts Automotive & Tire Service                                         6905 Highway 25 N                                                          Hodges        SC           29653
    Scottsdale Insurance Company                                             8877 N Gainey Center Dr                                                    Scottsdale    AZ           85258
    Scoville, Lauren                                                         Address Redacted
                                                                                                                                                                                                 United
    ScreenCloud Inc.                                                         24 Holborn Viaduct                                                         London                     EC1A 2BN      Kingdom
    Scrogham, Kimberly                                                       Address Redacted
    SCRTTC                                                                   1963 E Anaheim Street                                                      Long Beach    CA           90813
    Scruggs & Son Towing LLC                                                 7153 Lone Oak Rd                                                           Spartanburg   SC           29303
    Scruggs and Son Transport                                                7153-B Lone Oak Road                                                       Spartanburg   SC           29303
    Scruggs, Joe                                                             Address Redacted
    SCSI, LLC                                                                8515 N University Street                                                   Peoria        IL           61615
                                       DBA South Carolina Technology &
    SCTAC Board of Directors           Aviation Center SCTAC                   2 Exchange St                                                            Greenville    SC           29605
                                       International Transportation Innovation
    SCTAC Board of Directors           Center                                  5 Hercules Way                                                           Greenville    SC           29605
    Seagate Plastics Company           Austin Skinner                          1110 Disher Drive                                                        Waterville    OH           43566
    Seagate Plastics Company           KEVIN FLYNN                             1110 Disher Drive                                                        Waterville    OH           43566
    Seagate Plastics Company           Laura Fritz                             1110 Disher Drive                                                        Waterville    OH           43566
    Seagate Plastics Company                                                   1110 Disher Drive                                                        Waterville    OH           43566
    Seagraves, Lucian                                                          Address Redacted
                                                                                                                                                        Santa Fe
    Seal Methods, Inc                  Alejandra Medina                      11915 Shoemaker Avenue                                                     Springs       CA           90670
                                                                                                                                                        Santa Fe
    Seal Methods, Inc                  Amanda Manjarrez                      11915 Shoemaker Avenue                                                     Springs       CA           90670
                                                                                                                                                        Santa Fe
    Seal Methods, Inc                  AYERIM ACOSTA                         11915 Shoemaker Avenue                                                     Springs       CA           90670
                                                                                                                                                        Santa Fe
    Seal Methods, Inc                                                        11915 Shoemaker Avenue                                                     Springs       CA           90670
                                       C USTOMER SERVICE Erin
    Sea-Land Chemical Co.              Thinschmidt                           821 Westpoint Parkway                                                      Westlake      OH           44145
    Sea-Land Chemical Co.              Tony Grzejka                          821 Westpoint Parkway                                                      Westlake      OH           44145
    Sealcon, LLC                       Carol Zander                          14853 E. Hinsdale Ave                   Suite D                            Centennial    CO           80112
    Sealcon, LLC                                                             14853 E. Hinsdale Ave                   Suite D                            Centennial    CO           80112
    Sealed Air Corporation (US)                                              2415 Cascade Pointe Blvd.                                                  Charlotte     NC           28208
    Sealed Buss Bar LLC                                                      PO Box 115                                                                 Myakka City   FL           34251
    Sealevel Systems Inc                                                     PO Box 830                                                                 Liberty       SC           29657
    Sealeze                            ANGELA CLARKE                         22465 Network Pl                                                           Chicago       IL           60673-2246
    Sealeze                            CYNTHIA TAYLOR                        22465 Network Pl                                                           Chicago       IL           60673-2246
    Sealeze                            JOHN COSTAIN                          22465 Network Pl                                                           Chicago       IL           60673-2246
    Sealeze                                                                  22465 Network Pl                                                           Chicago       IL           60673-2246
    Sealing Devices INC                Roxann Cottet                         4400 Walden Ave                                                            Lancaster     NY           14086
    Sealing Devices INC                                                      4400 Walden Ave                                                            Lancaster     NY           14086
    SEAM Group LLC                     John Lanham                           21111 Chagrin Blvd #100                                                    Beachwood     OH           44122
    Sean Haymond                                                             Address Redacted
    Seawright, Patrick                                                       Address Redacted
    Seck, Tammy                                                              Address Redacted
    Secretary of State Corporations
    Division                                                                 801 Capitol Way S                       PO Box 40234                       Olympia       WA           98504
    Secretary of State of California                                         1500 11th Street                                                           Sacramento    CA           95814
    Secretary of State-CA                                                    PO Box 944260                                                              Sacramento    CA           94244
    SecureWorks, Inc                   Lawrence Hamilton                     1 Concourse Pkwy                        Ste 500                            Atlanta       GA           30328
    Secureworks, Inc.                                                        PO Box 534583                                                              Atlanta       GA           30353−4583




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    Secureworks, Inc.                                                           1 Concourse Pkwy, Suite 500                                                   Atlanta        GA           30328−5346
    Securing Americas Future Energy
    Foundation                                                                  1111 19th St, NW                       Suite 406                              Washington     DC           20036
    Securitas Electronic Security, Inc.                                         3800 Tabs Drive                                                               Uniontown      OH           44685
    Securitas Security Service USA                                              PO Box 403412                                                                 Atlanta        GA           30384

    Securities & Exchange Commission      NY Regional Office, Regional Director 100 Pearl St., Suite 20-100                                                   New York       NY           10004-2616

    Securities & Exchange Commission      Regional Director                     1617 JFK Boulevard Ste 520                                                    Philadelphia   PA           19103

    Securities & Exchange Commission      Secretary of the Treasury             100 F St NE                                                                   Washington     DC           20549
    Seegars Fence Company, Inc. of
    Spartanburg                                                                 PO Box 635                                                                    Woodruff       SC           29388
    Seeger, Nadja                                                               Address Redacted
    Seetharam, Rohit                                                            Address Redacted
    SEFAC USA, Inc                                                              381 Nina Way                                                                  Warminster     PA           18974
    Segvich, Michael                                                            Address Redacted
    Seica                                                                       110 Avco Road                                                                 Haveehill      MA           01835
    Seifert Graphics, Inc.                Rhianna Houck                         6133 Judd Road                                                                Oriskany       NY           13424
    Seifert Graphics, Inc.                Stephanie Millage                     6133 Judd Road                                                                Oriskany       NY           13424
    Seifert Graphics, Inc.                WANDA CUST. SUPPORT MGR               6133 Judd Road                                                                Oriskany       NY           13424
    Seifert Graphics, Inc.                                                      6133 Judd Road                                                                Oriskany       NY           13424
    Select Equipment Sales, Inc.                                                6911 8th Street                                                               Buena Park     CA           90620
    Seletsky, Alexander                                                         Address Redacted
    Selvakumar, Sabarish                                                        Address Redacted
    Selvamani, Sundaraselvi                                                     Address Redacted
    SEMCO Consultants Inc                 Zoran Milatovic                       5231 SW 28th Place,                                                           Cape Coral     FL           33914
    SEMCO Consultants Inc                                                       5231 SW 28th Place                                                            Cape Coral     FL           33914
    Semmler, Kyle                                                               Address Redacted
    Semper Fi Fleet Maintenance LLC       DBA Semper Fi Mobi                    300 North LaSalle Street               Suite 4925                             Chicago       IL            60654
    Sensata Technologies, Inc.            Frida Sofia Aguilar Romo              529 Pleasant St.                                                              Attleboro     MA            02703
    Sensata Technologies, Inc.                                                  529 Pleasant St.                                                              Attleboro     MA            02703
    Sensor Products Inc.                                                        300 Madison Ave                                                               Madison       NJ            07940
    Sentek Dynamics, Inc.                                                       2090 Duane Ave                                                                Santa Clara   CA            95054
    Sentinel Benefits & Financial Group                                         100 Quannapowitt Parkway               Suite 300                              Wakefield     MA            01880
    Sentinel Technologies, Inc.                                                 2550 Warrenville Rd.                                                          Downers Grove IL            60515
                                                                                                                       1313 East Maple Street
    Seon Design (USA) Corp                MobileView                            DBA MobileView                         Suite 231                              Bellingham     WA           98225
    Seon Design (USA) Corp                MobileView                            1313 East Maple Street Suite 231                                              Bellingham     WA           98225
    Seon Design (USA) Corp DBA
    MobileView                            ADRIAN BALLAM                         1313 East Maple Street                 Suite 231                              Bellingham     WA           98225
    Seon Design (USA) Corp DBA
    MobileView                            BRENT THRIFT                          1313 East Maple Street                 Suite 231                              Bellingham     WA           98225
    Seon Design (USA) Corp DBA
    MobileView                            DAPHNE DITTENHOFFER                   1313 East Maple Street                 Suite 231                              Bellingham     WA           98225
    Seon Design (USA) Corp DBA
    MobileView                                                                  PO Box #74008297                                                              Chicago        IL           60674-8297
    Seon Design (USA) Corp DBA
    MobileView                                                                  1313 East Maple Street                 Suite 231                              Bellingham     WA           98225
                                          ACCTS RECEIVABLES Adrian
    Seon System Sales Inc.                Charles Ballam                        Unit 111 3-B Burbidge Street                                                  Coquitlam      BC           V3K 7B2      Canada
    Seon System Sales Inc.                                                      Unit 111 3-B Burbidge Street                                                  Coquitlam      BC           V3K 7B2      Canada




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    Seon System Sales Inc.                                                  PO Box 74008297                                                           Chicago         IL           60674
    Serban, Steven                                                          Address Redacted
    Service Electric Co., Inc.        Phil Ogdee                            PO Box 1489                                                               Snohomish       WA           98291
    Service Max, Inc.                 Gia Virk                              4450 Rosewood Dr.                       Suite 200                         Pleasanton      CA           94588
    Service Max, Inc.                 Scott Edwards                         4450 Rosewood Dr.                       Suite 200                         Pleasanton      CA           94588
    Service Max, Inc.                                                       2700 Camino Ramon                       Suite 450                         San Ramon       CA           94583
    Service Max, Inc.                                                       4450 Rosewood Dr.                       Suite 200                         Pleasanton      CA           94588
    Service Transport INC, (STI)                                            1441 S Buncombe Rd                                                        Greer           SC           29651
    Service Transport INC, (STI)                                            PO Box 2267                                                               Greer           SC           29652
    ServiceNow Inc.                                                         2225 Lawson Lane                                                          Santa Clara     CA           95054
    Servotech Inc.                                                          329 W 18th Street                       Suite 301                         Chicago         IL           60616
    Setpoint Systems LLC              Cy Nielsen                            2835 Commerce Way                                                         Ogden           UT           84401
    Setpoint Systems LLC              Kassie Batty                          2835 Commerce Way                                                         Ogden           UT           84401
    Setra Systems Inc.                Bank Of America Lockbox Services      12003 Collections Center Drive                                            Chicago         IL           60693
    Setra Systems Inc.                                                      One Cowles Road                                                           Plainville      CT           06062
    Settles, James                                                          Address Redacted
    Sevenstax GmbH                    HRB 60782                             Gunther-Wagner-Allee 19                                                   Hannover                     30177         Germany
    Sevilla, Matthew                                                        Address Redacted
    SEW- Eurodrive, Inc.              MICHAEL FULTON                        PO Box 751704                                                             Charlotte       NC           28275
    Sexton, Alicia                                                          Address Redacted
    SGS North America Inc.                                                  6601 Kirkville Rd                                                         East Syracuse   NY           13057
    SGS North America Inc.                                                  635 S. Mapleton St.                                                       Columbus        IN           47201

    SGS-CSTC STANDARDS                                                                                              NO. 73 FUCHENG
    TECHNICAL SERVICES CO., LTD                                             16F, CENTURY YUHUI MANSION              ROAD                              BEIJING         BEIJING      100142        China
    Shaftmasters Inc                                                        1668 John A Paplas Dr                                                     Lincoln Park    MI           48146
    Shahkhalilollahi, Seyed Taha                                            Address Redacted
    Shainin LLC                       Karolyn Crabtree                      41820 Six Mile Road                     Suite 103                         Northville      MI           48168
    Shake, Marshall                                                         Address Redacted
    Shandong Juncheng Metal           Western of Termoelectric Industrial
    Technology Co., Ltd               Park                                  Chiping County                                                            Liaocheng City Shandong      252100        China
    Shanney, Robert                                                         Address Redacted
    Shared-Use Mobility Center        Kimberly Steele                       222 W. Merchandise Mart, Ste 570                                          Chicago         IL           60654
    ShareFile                                                               701 Corporate Center Dr                 Suite 300                         Raleigh         NC           27607
    Sharma, Shawn                                                           Address Redacted
    Sharp Electronics Corporation     Cheryl Burdiss                        8670 Argent Street                                                        Santee          CA           92071
    Sharp Electronics Corporation     Francisca Alvarado                    8670 Argent Street                                                        Santee          CA           92071
    Shaw Telecom G.P.                 Vincent Cheung                        630-3rd Avenue S.W.                                                       Calgary         AB           T2P 4L4       Canada
    Shaw, Corey                                                             Address Redacted
    Shaw, Tyler                                                             Address Redacted
    Shawnee Peeples                                                         Address Redacted
    Sheikh, Mohammed                                                        Address Redacted
    Shelton, Jesse                                                          Address Redacted
    Shen, Nana                                                              Address Redacted

    Shenzhen BAK Power Battery Co.,Ltd                                      BAK Industrial Park                     Kuichong St        Dapeng Disc    Shenzhen                     518119        China
    Shepard Exposition Services        Tara Crosby                          1424 Hills Place                                                          Atlanta         GA           30318
    Sherman Jr., Johnny                                                     Address Redacted
    Sherman, Ian                                                            Address Redacted
    Sherman, Johnny                                                         Address Redacted
    Sherman, Rachel                                                         Address Redacted
    Shevlin, Megan                                                          Address Redacted




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    SHI International Corp               Joey Costa                           290 Davidson Ave.                                                            Somerset        NJ           08873
    Shih, Eric                                                                Address Redacted
    Shih, Stanford                                                            Address Redacted
    Shin, Joong                                                               Address Redacted
    Shinde, Aditya                                                            Address Redacted
    SHJ Electric Co Inc                                                       18920 13th Pl S                                                              SeaTac          WA           98148
    Shoai Naini Ph.D., Shervin                                                Address Redacted
    Shoeteria, Inc                                                            5305 East Washington Blvd                                                    Comerece        CA           90040
    Shoffit, Jamie Glee                                                       Address Redacted

    Shore Auto Rubber Exports Pvt Ltd                                         GAt no. 148, At. Post-Kuruli          Tal-Khed, Dist-PUNE                    Pune            Maharastra   410 501       India
    Shoreline IOT Inc                                                         15750 Winchester Blvd                 Suite 206                              Los Gatos       CA           95030
    Shred-It US JV LLC                   DBA Shred-It USA LLC                 28883 Network Place                                                          Chicago         IL           60673-1288
    Shreveport Area Transit System                                            1115 Jack Wells Blvd                                                         Shreveport      LA           71107
    Shu, Eric                                                                 Address Redacted
    Shumpert, Diamond                                                         Address Redacted
    Shurick, Litsa                                                            Address Redacted
    Shutts & Bowen LLP                                                        920 Massachusetts Ave, NW                                                    Charlotte       NC           28260-2828
    Shutts & Bowen LLP                                                        200 South Biscayne Boulevard          Suite 4100                             Miami           FL           33131
    Shwetz, Camille                                                           Address Redacted
    Sibros Technologies Inc              Hemant Sikaria                       102 Persian Drive                     Suite 201                              Sunnyvale       CA           94089
    Sibros Technologies Inc                                                   785 Orchard Drive                     Suite 150                              Folsom          CA           95630
                                         formerly Siemens Product Lifecycle
    Siemens Industry Software Inc.       Mgmt Software Inc.                   PO Box 2168                                                                  Carol Stream    IL           60132-2168
    Siemens Industry, Inc.               Brian Pollock                        7000 Siemens Road                                                            Wendell         NC           27591
    Siemens Industry, Inc.                                                    100 Technology Drive                                                         Alpharetta      GA           30005
    Sierra Circuits, Inc.                Sierra Proto Express                 1108 West Evelyn Ave                                                         Sunnyvale       CA           94086
    Sierra Club                                                               2101 Webster Street                   Suite 1300                             Oakland         CA           94612
    Sierra IC Inc.                                                            16151 Lancaster Hwy                   Sutie E                                Charlotte       NC           28277
    Sierra, Luis                                                              Address Redacted

    Sigalit Yochay-Wise                  DBA Uptima, Inc.                     651 Holiday Drive                     Foster Plaza 5, Suite 400              Pittsburgh      PA           15220
    Sigalit Yochay-Wise                  DBA Uptima, Inc.                     110 N 3rd St.                                                                San Jose        CA           95112
    Sigalit Yochay-Wise                  DBA Uptima, Inc.                     Sigalit Yochay-Wise                   110 N 3rd St.                          San Jose        CA           95112
    Sigalit Yochay-Wise                  DBA Uptima, Inc.                     110 N 3rd St                                                                 Sacramento      CA           95814
    Sigerseth, Eric                                                           Address Redacted
    Sigma Machine, Inc.                  Amber Felty                          3358 Center Park Plaza                                                       Kalamazoo       MI           49048
    Sigma Machine, Inc.                  ANN VAN WEELDEN                      3358 Center Park Plaza                                                       Kalamazoo       MI           49048
    Sigma Machine, Inc.                                                       3358 Center Park Plaza                                                       Kalamazoo       MI           49048
    Sigma-West                           Kurt Hinkley                         542 Kirkham Street                                                           San Francisco   CA           94122
    Signal Perfection, Ltd.                                                   4255 Hopyard Rd.                      Suite 1                                Pleasanton      CA           94588
    Signature Transportation Parts &
    Service                                                                   6 Frampton Ct.                                                               Columbia        SC           29212
    Signatures, Inc.                     Shane McMahon                        327 Miller Rd                         Suite A                                Mauldin         SC           29662
    Signs by Tomorrow                                                         413 N. Pleasantburg Drive                                                    Greenville      SC           29607
    Signs for Success Inc, dba Georgia
    Case Company                                                              4998 S. Royal Atlanta Drive                                                  Tucker          GA           30084
    Signsouth, LLC                                                            116 Singing Pines Dr.                                                        Greenville      SC           29611
    Sigura Construction INC.                                                  774 Charcot Ave                                                              San Jose        CA           95131-2224
    Sika Corporation                     Sika Automotive Kentucky, LLC        201 Polito Ave                                                               Lyndhurst       NJ           07071
    Sika Corporation                     Sika Automotive Kentucky, LLC        103 Industry Drive                                                           Versailles      KY           40383




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    Silentaire Technologies (Werther
    International)                                                      8614 Veterans Memorial Drive                                           Houston         TX           77088
    Silicon Forest Electronics             Beth Bottemiller             6204 E 18th Street                                                     Vancouver       WA           98661
    Silicon Forest Electronics             Brian Spratt                 6204 E 18th Street                                                     Vancouver       WA           98661
    Silicon Forest Electronics             Jessica Hinchliff            6204 E 18th Street                                                     Vancouver       WA           98661
    Silicon Forest Electronics                                          6204 E 18th Street                                                     Vancouver       WA           98661
    Silicon Valley Bank                    Jordan Kanis                 3003 Tasman Drive                                                      Santa Clara     CA           95054

    Silicon Valley Bank (SVB)                                           Mailstop HF 256                      3003 Tasman Drive                 Santa Clara     CA           95054
    Silicon Valley Bank-7313 Purchase                                   PO Box 7078                                                            Crosslanes      WV           25356
    Silicon Valley Bicycle Coalition       Deanna Chevas                PO Box 1927                                                            San Jose        CA           95109
    Silicon Valley Laser, LLC                                           3375 Woodward Avenue                                                   Santa Clara     CA           95054
    Silicon Valley Leadership Group                                     2001 Gateway Place                   Suite 101E                        San Jose        CA           95110
    Silicon Valley Precision, Inc                                       5625 Brisa Street                    Suite G                           Livermore       CA           94550
    Silicon Valley Shelving & Equipment
    Co., Inc.                                                           2144 Bering Drive                                                      San Jose        CA           95131
    Simcona Electronics Corporation        April Thompson               275 Mt Read Blvd.                                                      Rochester       NY           14606
    Simcona Electronics Corporation        Diana Horton                 275 Mt Read Blvd.                                                      Rochester       NY           14606
    Simcona Electronics Corporation        Jake Mcdermott               275 Mt Read Blvd.                                                      Rochester       NY           14606
    Simcona Electronics Corporation                                     275 Mt Read Blvd.                                                      Rochester       NY           14606
    Simmons, Amber                                                      Address Redacted
    Simmons, Jason                                                      Address Redacted
    Simmons, John                                                       Address Redacted
    Simmons, Steven                                                     Address Redacted
    Simolex Rubber Corporation             Bob Dungarani                14505 Keel Street                                                      Plymouth        MI           48170
    Simonini, Matthew                                                   Address Redacted
    Simplified Office Solutions                                         6220 Bush River Road                                                   Columbia        SC           29212
    Simply Sanitize LLC                    Dane Gordon                  22982 La Cadena, Suite 211                                             Laguna Hills    CA           92653
    Simply Sanitize LLC                                                 23986 Aliso Creek Rd #546                                              Laguna Niguel   CA           92677
    Simpson, Ryan                                                       Address Redacted
    Sims, Paul                                                          Address Redacted
    Sinclair Technologies, A Division of
    Norsat International Inc               Jennifer Nash                85 Mary Street                                                         Aurora          ON           L4G 6X5       Canada
    Sinclair Technologies, A Division of
    Norsat International Inc                                            85 Mary Street                                                         Aurora          ON           L4G 6X5       Canada
    Sinclair Technologies, A Division of
    Norsat International Inc                                            110-4020 Viking Way                                                    Richmond        BC           V6V 2L4       Canada
    Singh, Anjay                                                        Address Redacted
    Singh, Titiksha                                                     Address Redacted
    Single Point of Contact                                             992 San Antonio Road                                                   Palo Alto       CA           94303
    SinglePoint Communications, Inc.       Robert Taylo                 7990 SW Cirrus Drive                                                   Beaverton       OR           97008
    SinglePoint Communications, Inc.                                    7990 SW Cirrus Drive                                                   Beaverton       OR           97008
    SinglePoint Communications, Inc.                                    7325 NE Imbrie Drive                 #349                              Hillsboro       OR           97124
    Siniard, Kevin                                                      Address Redacted
    Sis, Angela                                                         Address Redacted
    Sisouvanthong, Phonemany                                            Address Redacted
    Sisson, Matt                                                        Address Redacted
    Sistoso, Michael                                                    Address Redacted
    Sitetracker Inc                                                     491 Bloomfield Ave                   Suite 301                         Montclair       NJ           07042
    Sitetracker Inc                                                     150 Grant Avenue                     Suite A                           Palo Alto       CA           94306
    Six, Justin                                                         Address Redacted
    SixDOF Testing & Analysis                                           701B US HWY 50                                                         Milford         OH           45150




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    SKF USA Inc.                                                       890 Forty Foot Road                   PO Box 352                     Lansdale         PA           19446
    Skidmore, Constance                                                Address Redacted
    SKOE, NANCY                                                        Address Redacted
    Skolnick, Nicholaus                                                Address Redacted
    Skyline Displays Bay Area, Inc.       John Gibson                  44111 Fremont Boulevard                                              Fremont          CA           94538
    Slanec, Scott                                                      Address Redacted
    Slater, Theresa                                                    Address Redacted
    SLEC, Inc.                                                         23 Fontana Lane                       Suite 109                      Baltimore        MD           21237
    SlideRabbit LLC                                                    3320 W Clyde Place                                                   Denver           CO           80211
    Sloan, Earnest                                                     Address Redacted
    Smalley Steel Ring Company                                         555 Oakwood Rd                                                       Lake Zurich      IL           60047
    Smart Charge Residential LLC          DBA Smart Charge America     2016 Centimeter Circle                                               Austin           TX           78758
    Smart City Solutions                                               5795 W Badura Ave                     Suite 110                      Las Vegas        NV           89118

    SMARTPROCURE, INC                      GOVSPEND                    P.O. BOX 4968                                                        Deerfield Beach FL            33442
    Smartsheet Inc.                        Finance                     10500 NE 8th Street                   Suite 1300                     Bellevue        WA            98004-4369
    Smartsheet Inc.                                                    10500 NE 8th Street                   Suite 1300                     Bellevue        WA            98004-4369
    SMC Corporation of America                                         10100 SMC Boulevard                                                  Noblesville     IN            46060
    Smith Development Company Inc.                                     PO Box 17189                                                         Greenville      SC            29606
    Smith Dray Line & Storage Co Inc       DBA Go-Mini                 PO Box 2226                                                          Greenville      SC            29602
    Smith Garage Equipment, Inc.                                       331 Versailles Rd.                                                   Frankfort       KY            40601
    Smith Jr., Jackie                                                  Address Redacted
    Smith Power Products, Inc                                          3065 W California Ave                                                Salt Lake City   UT           84104
    Smith Power Products, Inc                                          PO Box 27527                                                         Salt Lake City   UT           84127
    Smith, Brantley                                                    Address Redacted
    Smith, Braxton                                                     Address Redacted
    Smith, Brian                                                       Address Redacted
    Smith, Carson                                                      Address Redacted
    Smith, Chester                                                     Address Redacted
    Smith, Clayton                                                     Address Redacted
    Smith, Darren                                                      Address Redacted
    Smith, Douglas                                                     Address Redacted
    Smith, Floyd                                                       Address Redacted
    Smith, Hayden                                                      Address Redacted
    Smith, Joshua                                                      Address Redacted
    Smith, Justin                                                      Address Redacted
    Smith, Krystina                                                    Address Redacted
    Smith, Michael                                                     Address Redacted
    Smith, Michael David                                               Address Redacted
    Smith, Rebekah                                                     Address Redacted
    Smith, Sam                                                         Address Redacted
    Smith, Shun                                                        Address Redacted
    Smith, Stephen                                                     Address Redacted
    Smith, Ted                                                         Address Redacted
    Smith, Tyler                                                       Address Redacted
    Smith, Vanessa                                                     Address Redacted
    Smithers MSE Inc                       Smithers Rapra Inc          425 West Market Street                                               Akron            OH           44303
    Smithson III, Herbert                                              Address Redacted
    Smoak Public Relations                                             105 North Spring Street               Ste 111                        Greenville       SC           29601
    Smoak, Clay                                                        Address Redacted
    Snap ON Industrial, a division of IDSC
    Holdings                                                           3011 E. Route 176                                                    Crystal Lake     IL           60039




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                                             IDSC Holdings LLC DBA Snap-On
                                             Business Solutions (Nexiq
    Snap-on Incorporated                     Technologies)                       2801 80th Street                                                       Kenosha          WI           53143
    Snappy Services, LLC                     Matthew Gooch                       116 Howard Circle                                                      Simpsonville     SC           29681
    SnapShot Interactive                                                         1530 Riverside Dr.                                                     Nashville        TN           37206
    Snelgrove II, William                                                        Address Redacted
    Snider Fleet Solutions                   CHASE STEVENS                       PO Box 16046                                                           Greensboro       NC           27416-6046
    Snider Fleet Solutions                   JESSE STEVENS                       PO Box 16046                                                           Greensboro       NC           27416-6046
    Snider Fleet Solutions                                                       PO Box 16046                                                           Greensboro       NC           27416-6046
    Snow, Michelle                                                               Address Redacted
    Social Enterprises, Inc.                                                     1604 NW 15th Ave.                                                      Portland         OR           97209
    Socotec Engineering, Inc.                LPI, Inc.                           360 Park Avenue South, 15th Floor                                      New York         NY           10010
    Soell, Julian                                                                Address Redacted
    Softchoice Corporation                   A/R Representative                  16609 Collections Center Drive                                         Chicago          IL           60693
    Softchoice Corporation                   Kaitlyn Cantrell - POC              16609 Collections Center Drive                                         Chicago          IL           60693
    Softchoice Corporation                   Kevin Tidball                       16609 Collections Center Drive                                         Chicago          IL           60693
    Softchoice Corporation                                                       16609 Collections Center Drive                                         Chicago          IL           60693
    Sok, Aaron                                                                   Address Redacted
    Solarwinds, Inc.                                                             PO Box 730720                                                          Dallas           TX           75373
    Sol-Go, Inc.                                                                 555 Bryant Street #716                                                 Palo Alto        CA           94301
    Solium Plan Managers LLC                                                     Dept 3542                             PO Box 123542                    Dallas           TX           75312
    Solomon, Hayden                                                              Address Redacted
    Solutions 4 Industry, Inc.                                                   3633 Pomona Blvd.                                                      Pomona           CA           91768
    Som, Saroeuth                                                                Address Redacted
    Sonny Merryman Inc.                                                          5120 Wards Rd.                                                         Evington         VA           24550
    Sonny Merryman Inc.                                                          PO Box 495                                                             Rustburg         VA           24588
    SONNYS CAMP AND TRAVEL                   ALEX RODRIGUEZ                      333 Frontage Rd                                                        Duncan           SC           29334
    SONNYS CAMP AND TRAVEL                                                       333 Frontage Rd                                                        Duncan           SC           29334
    Sontakay, Radhika                                                            Address Redacted
    Sontakke, Sarang                                                             Address Redacted
    Soria, Angel                                                                 Address Redacted
    Sorofin Enterprises Incorporated         George Musa                         329 Willow Ave.                                                        Lyndhurst        NJ           07071
    Sorofin Enterprises Incorporated         SALLY MUSA                          329 Willow Ave.                                                        Lyndhurst        NJ           07071
    Sorofin Enterprises Incorporated                                             329 Willow Ave.                                                        Lyndhurst        NJ           07071
    Sosa, Andrew                                                                 Address Redacted
    Soto, Gerardo                                                                Address Redacted
    Soto, Ramiro                                                                 Address Redacted
    SoundView Applications Inc               Ashleigh Deluccio                   2390 Lindbergh St                     Suite 100                        Auburn           CA           95602
    SoundView Applications Inc               Robert Lazor                        2390 Lindbergh St                     Suite 100                        Auburn           CA           95602
                                             ENI Labs Metrology & Electronic
    Source Detection Systems                 Repair                              3120 Independence Dr                                                   Fort Wayne       IN           46808
    Sourcing Fuel                            dba Sourcing Insights               3218 Daugherty Drive                  Suite 150                        Lafayette        IN           47909

    South Alliance Industrial Machine Inc.                                       2423 Troy Ave                                                          South El Monte   CA           91733
    South Bay Solutions Inc                  Michael Dreniany                    37399 Centralmont Place                                                Fremont          CA           94536
    South Bay Solutions Inc                  Talia Kelly                         37399 Centralmont Place                                                Fremont          CA           94536
    South Carolina Child Support                                                 P.O. Box 1469                                                          Columbia         SC           29202-1469
    South Carolina Clean Energy
    Business Alliance                                                            2711 Middleburg Drive                 Suite 313C                       Columbia         SC           29204
    South Carolina Coordinating Council      Attn Cynthia S. Turnipseed, Legal
    for Economic Development                 Counsel for SCCCED                  1201 Main Street Suite 1600                                            Columbia         SC           29201




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    South Carolina Coordinating Council
    for Economic Development                                                  1201 Main Street                       Suite 1600                            Columbia        SC           29201
    South Carolina Department of Labor,
    Licensing & Regulation                                                    110 Centerview Dr                                                            Columbia        SC           29210
    South Carolina Department of Motor
    Vehicle                                                                   10311 Wilson Boulevard                 Building C                            Blythewood      SC           29016
    South Carolina Dept of Revenue        Corporate Tax                       PO Box 125                                                                   Columbia        SC           29214-0400
    South Carolina Dept of Revenue                                            300A Outlet Pointe Blvd                                                      Columbia        SC           29210
    South Carolina State Treasurers
    Office                                Unclaimed Property Program          1200 Senate Street Ste 214             Wade Hampton Building                 Columbia        SC           29201
    South Dakota Dept of Revenue          Attn Bankruptcy Dept                445 E Capitol Ave                                                            Pierre          SD           57501-3185
    South Dakota Office of the State
    Treasurer                             SD State Treasurer - UCP            124 E Dakota Ave                                                             Pierre          SD           57501
    South Shore Clean Cities, Inc                                             10115 Ravenwood Drive                                                        St. John        IN           46373
    South West Transit Association        Kristen Joyner                      PO Box 60475                                                                 Fort Worth      TX           76115
    SouthComm Business Media, LLC                                             210 12th Ave South                     Suite 100                             Nashville       TN           37203
    SouthComm Business Media, LLC                                             PO Box 197565                                                                Nashville       TN           37219

    Southeast Energy Efficiency Alliance Pamela Fann                          50 Hurt Plaza, Suite 1250                                                    Atlanta         GA           30303
    Southeastern Dock & Door                                                  54 Bruce Rd                                                                  Greenville      SC           29605
    Southeastern Penn. Transportation
    Authority (SEPTA)                      Patrick J. Kearney                 Duane Morris LLP                       30 South 17th Street                  Philadelphia    PA           19103-4196
    Southeastern Pennsylvania
    Transportation Authority               Patrick J. Kearney                 Duane Morris LLP                       30 South 17th Street                  Philadelphia    PA           19103-4196
    Southeastern Pennsylvania
    Transportation Authority                                                  1234 Market St, 14th Floor             Attn Sherry Burno                     Philadelphia    PA           19107
    Southern California Contractors                                           1455 Queen Summit Drive                                                      West Covina     CA           91791
    Southern California Edison                                                2244 Walnut Grove Avenue                                                     Rosemead        CA           91770
    Southern California Edison                                                PO Box 300                                                                   Rosemead        CA           91772
    Southern California Material Handling,
    Inc.                                   Equipment Depot California, Inc    12393 Slauson Avenue                                                         Whittier        CA           90606
    Southern Painting & Maintenance
    Specialists, Inc.                                                         PO Box 8924                                                                  Greenville      SC           29604
    Southpaw Electric                                                         4433 E County Line Rd                                                        Erie            CO           80516
    Southwest Lift & Equipment, Inc.                                          254 E Valley Street                                                          San Bernadino   CA           92408
    Southwest Research Institute           Attn General Counsel               6220 Culebra Road                                                            San Antonio     TX           78238
    Southwest Research Institute                                              6220 Culebra Road                                                            San Antonio     TX           78238-5166
    SOV Construction Inc                                                      3148 Sechelt Drive                                                           Coquitlam       BC           V3B 5X9       Canada
    SP Plus                                                                   7447 South Central Avenue              Suite B                               Bedford Park    IL           60638
    Space Structures GmbH                                                     Fanny-Zobel-Strasse 11                                                       Berlin                       12435         Germany
    SPAL USA                               AMY ALLEN                          1731 SE Oralabor Rd.                                                         Ankeny          IA           50021
    SPAL USA                               DAN MCNEAL                         1731 SE Oralabor Rd.                                                         Ankeny          IA           50021
    SPAL USA                               JULIE LIMBAUGH                     1731 SE Oralabor Rd.                                                         Ankeny          IA           50021
    SPAL USA                                                                  1731 SE Oralabor Rd.                                                         Ankeny          IA           50021
    Spalding, William                                                         Address Redacted
    Sparkfun Electronics                                                      6175 Longbow Dr.,                      Suit 200                              Boulder         CO           80301
    Sparkle Cleaning and Vending                                              39 Brisbane Dr.                                                              Fountain Inn    SC           29644

    Sparks Marketing Corp.                Sparks Exhibits & Environments Corp. 2828 Charter Road                                                           Philadelphia    PA           19154
    Spartanburg Maintenance LLC           City Wide Maintenance                1200 Woodruff Rd                      Suite G12                             Greenville      SC           29607
    Spartanburg Regional Healthcare
    System                                                                    101 East Wood Street                                                         Spartanburg     SC           29303




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    Spear, Kenneth                                                           Address Redacted
    Spears Jr, Edward                                                        Address Redacted
    Spears, Edward                                                           Address Redacted
    SpecFab Services, Inc                  Charity Trostel                   PO Box 5429                                                            Greenville    SC           29606
    SpecFab Services, Inc                  Lucy Swearingen                   PO Box 5429                                                            Greenville    SC           29606
    SpecFab Services, Inc                  MIKE WILLIAMS                     PO Box 5429                                                            Greenville    SC           29606
    SpecFab Services, Inc                                                    PO Box 5429                                                            Greenville    SC           29606

    Specialized Packaging Solutions Inc.                                     PO Box 3042                                                            Fremont       CA           94539

    Specialized Packaging Solutions Inc.                                     38505 Cherry Street, Suite H                                           Newark        CA           94560
    Specialized Product Supply                                               17420 W 54th Pl.                                                       Golden        CO           80403
    Specialty Manufacturing, Inc           MIKE MILHOLLAND                   PO Box 198712                                                          Atlanta       GA           30384
    Specialty Manufacturing, Inc           VIKKI QUEEN                       PO Box 198712                                                          Atlanta       GA           30384
    Specialty Manufacturing, Inc                                             PO Box 198712                                                          Atlanta       GA           30384
    Spector Logistics Inc                  ROBERT WELSH                      221 Valley Rd.                                                         Wilmington    DE           19804
    Spector Logistics Inc                  Sales                             221 Valley Rd.                                                         Wilmington    DE           19804
    Spector Logistics Inc                  Tom Franklin                      221 Valley Rd.                                                         Wilmington    DE           19804
    Spector Logistics Inc                                                    221 Valley Rd.                                                         Wilmington    DE           19804
    Spectrum                               Siobhan McEneany                  1600 Dublin Road                                                       Columbus      OH           43215
                                           Charter Communications Holding,
    Spectrum Business                      LLC                               Box 223085                                                             Pittsburgh    PA           15251-2085
                                           Charter Communications Holding,
    Spectrum Business                      LLC                               PO Box 94188                                                           Palatine      IL           60094-4188
                                           Charter Communications Holding,
    Spectrum Business                      LLC                               PO Box 83180                                                           Chicago       IL           60691-0180
                                           Charter Communications Holding,
    Spectrum Business                      LLC                               12405 Powerscourt Dr.                                                  St. Louis     MO           63131
    Spectrum Business                                                        400 Atlantic Street                                                    Stamford      CT           06901
    Spectrum Lifts & Loaders Inc                                             13600 5th St                                                           Chino         CA           91710
    Spedding, Lisa                                                           Address Redacted
    Speedgoat GmbH                                                           Waldeggstrasse 37                                                      Liebefeld                  3097          Switzerland
    Speedgoat GmbH                                                           209 West Central Street               Suite 215                        Natick        MA           01760
    Speedgoat Inc.                                                           209 West Central Street               Suite 215                        Natick        MA           01760
    Sperling, Samuel                                                         Address Redacted

    Spika Design and Manufacturing, Inc.                                     254 Cottonwood Creek Road                                              Lewistown     MT           59457
    Spokane Transit Authority                                                1230 West Boone Avenue                                                 Spokane       WA           99201
                                                                             15540 Woodinville-Redmond Rd NE,
    Sportworks Global LLC                  Amanda Strand                     A-200                                                                  Woodinville   WA           98072
                                                                             15540 Woodinville-Redmond Rd NE,
    Sportworks Global LLC                  Caroline Vo                       A-200                                                                  Woodinville   WA           98072
                                                                             15540 Woodinville-Redmond Rd NE,
    Sportworks Global LLC                  Emma Bennett                      A-200                                                                  Woodinville   WA           98072
                                                                             15540 Woodinville Redmond Rd NE
    Sportworks Global LLC                  Marc Lanegraff                    A#200                                                                  Woodinville   WA           98072-4508
                                                                             15540 Woodinville-Redmond Rd NE,
    Sportworks Global LLC                  Sportworks Northwest, Inc.        A-200                                                                  Woodinville   WA           98072
                                                                             15540 Woodinville Redmond Rd NE
    Sportworks Global LLC                                                    A#200                                                                  Woodinville   WA           98072-4508
    Sportworks Northwest, Inc.             AMANDA HOLMES                     15540 Wood Red Rd NE             #A-200                                Woodinville   WA           98072
    Sportworks Northwest, Inc.             Jana Anderson                     15540 Wood Red Rd NE             #A-200                                Woodinville   WA           98072




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    Sportworks Northwest, Inc.                                                   15540 Wood Red Rd NE                    #A-200                                 Woodinville    WA         98072
    Sprague Devices Inc.                                                         15683 Collections Center Drive                                                 Chicago        IL         60693
    Sprau, Samantha                                                              Address Redacted
    Spraying Systems Co                                                          PO Box 7900                                                                    Wheaton        IL         60187
    Springfield Tool and Die, Inc.                                               1130 Rogers Bridge Rd.                                                         Duncan         SC         29334
    SPS Commerce, Inc.                    Joshua Vought                          333 S 7th St., Ste 1000                                                        Minneapolis    MN         55402
    SPS Commerce, Inc.                                                           333 S 7th St., Ste 1000                                                        Minneapolis    MN         55402
    SPS Commerce, Inc.                                                           PO Box 205782                                                                  Dallas         TX         75320
    Spurlock, Chelette                                                           Address Redacted
    Square Grove, LLC                     DBA UPLIFT Desk                        2139 W.Anderson Ln                                                             Austin         TX         78757
    Squire Patton Boggs (US) LLP          Chris Carmichael                       1801 California Street                  Suite 4900                             Denver         CO         80202

    Squire Patton Boggs (US) LLP                                                 4900 Key Tower                          127 Public Square                      Cleveland      OH         44114
    Squire Patton Boggs (US) LLP                                                 PO Box 643051                                                                  Cincinnati     OH         45264
    Srdic, Stefan                                                                Address Redacted
    Srdic, Stefan                                                                Address Redacted
    Sridharan Venk                                                               Address Redacted
    St Amour, Craig                                                              Address Redacted
    St. Jean, Christopher                                                        Address Redacted
    Staffmark Investment LLC                                                     201 East Fourth St                      8th Floor                              Cincinnati     OH         45202
    Stafford, Timothy                                                            Address Redacted

    Stage 8 Locking Fasteners Inc.        Director of Accounting Denise Keeler   4318 Redwood Hwy, Suite 200                                                    San Rafael     CA         94903
    Stage 8 Locking Fasteners Inc.        Elvia Vega                             4318 Redwood Hwy, Suite 200                                                    San Rafael     CA         94903
    Stambaugh, Matthew                                                           Address Redacted
    Stancil, Michael                                                             Address Redacted
    Standifer, David                                                             Address Redacted
    Stanley Convergent Security
    Solutions, Inc.                                                              Dept. CH 10651                                                                 Palatine       IL         60055
    Stansell Electric Company, Inc.                                              860 Visco Drive                                                                Nashville      TN         37210
    Staples Advantage                                                            500 Staples Dr                                                                 Framingham     MA         01702
    Staples Advantage                                                            PO Box 105748                                                                  Atlanta        GA         30348-5748

    Staples Technology Solutions          Staples Contract & Commercial LLC      1096 E. Newport Center Drive            Suite 300                              Deerfield Beach FL        33442

    Staples Technology Solutions          Staples Contract & Commercial LLC      PO Box 95230                                                                   Chicago        IL         60694

    STARMETRO                                                                    City of Tallahassee                     555 Appleyard Drive                    Tallahassee    FL         32304
    Starr Surplus Lines Insurance
    Company                               Jennifer Sadalski                      500 W. Monroe Street, Ste. 3100                                                Chicago        IL         60661
    State Industrial Solutions                                                   PO Box 19785                                                                   Charlotte      NC         28209
    State of California                   Contractors License Board              P.O. Box 26000                                                                 Sacramento     CA         95826
    State of California                                                          1021 O Street, Suite 9000                                                      Sacramento     CA         95814
    State of California - Department of                                                                                                                         West
    General Services                                                             PO BOX 989053                                                                  Sacramento,    CA         95798-9053
    State of California Franchise Tax
    Board                                                                        PO Box 942867                                                                  Sacramento     CA         94267-0011
    STATE OF FLORIDA -
    DEPARTMENT OF REVENUE                 General Counsel, Mark Hamilton         PO BOX 6668                                                                    Tallahassee    FL         32314-6668

                                                                                                                         Princess Ruth Keelikolani
    State of Hawaii                       Oahu Office                            830 Punchbowl Street                    Building                               Honolulu       HI         96813




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    State of Hawaii                       Unclaimed Property Program         PO Box 150                                                                     Honolulu       HI           96810

    State of Hawaii                                                          Department of Taxation                  830 Punchbowl Street                   Honolulu       HI           96813-5094
    State of Louisiana                                                       617 North Third St                                                             Baton Rouge    LA           70802
    State of Louisiana Unclaimed Property                                                                            1051 N 3rd Street Room
    Division                              Unclaimed Property Division        State Capitol Building Annex            150                                    Baton Rouge    LA           70802
    State of Michigan                                                        PO Box 30054                                                                   Lansing        MI           48909
    State of Michigan                                                        Michigan Department of Treasury                                                Lansing        MI           49822
    State of New Jersey                   Department of the Treasury         P.O. Box 002                                                                   Trenton        NJ           08625-0002

    State of New Jersey                  Division of Taxation                Bankruptcy Unit                         3 John Fitch Way         PO Box 245    Trenton        NJ           08695-0245
    State of New Jersey                  Unclaimed Property Administration   PO Box 214                                                                     Trenton        NJ           08625-0214
    State of New Mexico Taxation &
    Revenue Department                                                       10500 Copper Ave NE Suite C                                                    Albuquerque    NM           87123
    State of Oregon                                                          P.O. Box 14140                                                                 Salem          OR           97309-5052
    State of Rhode Island and Providence
    Plantations                                                              148 W. River Street                                                            Providence     RI           02904
    State of Rhode Island Division of
    Taxation                                                                 Dept #88 - PO Box 9702                                                         Providence     RI           02940
    State of Washington                  Contractors Board                   7273 Linderson Way SW                                                          Tumwater       WA           98501-5414
    State Road and Tollway Authority                                         PO Box 2644                                                                    Atlanta        GA           30301-2644

    State Water Resources Control Board Fee Branch                           Accounting Office                       1001 I Street                          Sacramento     CA           95814

    State Water Resources Control Board Water Board                          PO Box 1977                             Storm Water Section                    Sacramento     CA           95812-1977

    State Water Resources Control Board                                      1001 I Street 22nd Floor                                                       Sacramento     CA           95814
    Steelcase Financial Services Inc.                                        901 44th Street SE                                                             Grand Rapids   MI           49508-7594
    SteelSentry Inc.                                                         PO Box 83579                                                                   Gaithersburg   MD           20883
    Stein, Lori                                                              Address Redacted
    Steiner, Tucker                                                          Address Redacted
    Step Function I/O LLC                                                    55 SW Wall St Unit 15                                                          Bend           OR           97702
    Sterling Bay                                                             Address Redacted
    Sterling Drug Test Solutions                                             33895 Pauba Rd                                                                 Temecula       CA           92592
    Sterling Engineering Solutions Inc                                       111 Goodwin Avenue                                                             Salem          VA           24153
    Sterling Jr., Shawn                                                      Address Redacted
    Stertil Koni USA                                                         200 Log Canoe Circle                                                           Stevensville   MD           21666-2111
    Steve Eugene Rhea                                                        Address Redacted
                                          DBA Manufacturers of Fine Ideas
    Steven Andrew Cecil                   (MFI)                              Address Redacted
    Steven Day and Jerry Reardon,
    Esquire                                                                  325 Rocky Slope Rd, Suite 201                                                  Greenville     SC           29607
    Steven Douglas Associates, LLC                                           1301 International Pkwy                 Ste 510                                Sunrise        FL           33323-2874
    Steven Engineering                    EJ RAMOS                           PO Box 1029                                                                    San Bruno      CA           94066
    Steven Engineering                    Maria Duran                        PO Box 1029                                                                    San Bruno      CA           94066
    Steven Engineering                    MARK MIYAJI                        PO Box 1029                                                                    San Bruno      CA           94066
    Steven Engineering                                                       PO Box 1029                                                                    San Bruno      CA           94066
    Steven Kuring                                                            Address Redacted
    Steven M Palay                        dba Funtronix LLC                  Address Redacted
    Stevens, Travis                                                          Address Redacted
    Stevenson, Coretta                                                       Address Redacted
    Steves Miscellaneous Services                                            137 Greenvista Lane                                                            Greenville     SC           29609




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    Stewart & Stevenson Power Products
    LLC                                                                          601 W. 38th Street                                                        Houston         TX           77018-6403
    Stewart Handling Systems, Inc.                                               9227 Orco Pkwy                          Unit E                            Riverside       CA           92509
    Stewart, Brian                                                               Address Redacted
    Stewart, Jared                                                               Address Redacted
    Stewart, Jennifer                                                            Address Redacted
    Stewart, Joshua                                                              Address Redacted
    Stewart, Liling                                                              Address Redacted
    Stewart, McCarley                                                            Address Redacted
    Stiglich, Nicholas                                                           Address Redacted
    Stiles, Jacob                                                                Address Redacted
    Stock & Option Solutions, Inc.                                               1475 S. Bascom Ave.                     Suite 203                         Campbell        CA           95008
    Stockley, Charles                                                            Address Redacted
    Stoller Vineyards, Inc             Stoller Family Estate                     16161 NE McDougall Road                                                   Dayton          OR           97128
    Stoltzfus, Jarrett                                                           Address Redacted
    Stone, Dennis                                                                Address Redacted
    Stoner, Jennifer                                                             Address Redacted
    Storm Manufacturing Corporation    Storm Power Components                    PO Box 99                                                                 Decatur         TN           37322
    Stowers, Montriques                                                          Address Redacted
                                                                                                                                                                                                      United
    STR Limited                             Talos Automation                     1-2 Quay Point, Northarbour Road                                          Portsmouth                   PO6 3TD       Kingdom
    Straight, Jay                                                                Address Redacted
    Strange, Braxtin                                                             Address Redacted
    Strangeway, Rachel                                                           Address Redacted
                                            Dial 0, ask for Roni Strategic Mapping
    Strategic Mapping Inc.                  Inc.                                   2200 Yonge Street                     Suite 1711                        Toronto         ON           M4S 2C6       Canada
    Strategic Mapping Inc.                  Jordan Brock                           2200 Yonge Street                     Suite 1711                        Toronto         ON           M4S 2C6       Canada
    Strategic Mapping Inc.                  Roni Pinhasor                          2200 Yonge Street                     Suite 1711                        Toronto         ON           M4S 2C6       Canada

    Strategic Marketing Innovations, Inc.                                        1020 19th Street NW                     Suite 375                         Washington      DC           20036

    StratEx Advisors, Inc.                                                       5593 Amber Fields Drive                                                   Shingle Springs CA           95682
    Stratford, Samantha                                                          Address Redacted
    Streamline Shippers & Affiliates                                             6279 East Slauson Ave.                  Suite 303                         Commerce        CA           90040
    Streck, Christopher                                                          Address Redacted
    Stress Engineering Services, Inc.                                            7030 Stress Engineering Way                                               Mason           OH           45040
    Strickland, Andrew                                                           Address Redacted
    Strocky, David                                                               Address Redacted
    Stronco Design Inc                      Prakash Doobay                       1510B Caterpillar Road                                                    Missisissauga   ON           L4X2W9        Canada
    Stronco Design Inc                                                           1510B Caterpillar Road                                                    Missisissauga   ON           L4X2W9        Canada
    Strong, Christina                                                            Address Redacted
    Strossners Bakery, Inc.                                                      21 Roper Mountain Road                                                    Greenville      SC           29607
    Structural Engineers, Inc.                                                   2901 Tasman Drive                       Suite 100                         Santa Clara     CA           95054
    Structure & Site Inspection Services,
    LLC                                                                          32375 Plumwood St.                                                        Beverly Hills   MI           48025
                                                                                                                                                           Colorado
    STSC LLC                                                                     2074 Aerotech Drive                                                       Springs         CO           80916
    Stsiapanau, Andrei                                                           Address Redacted
    Studio Anand Sheth                                                           3371 21st Street #1                                                       San Francisco   CA           94110
    Stueck, Brandon                                                              Address Redacted
    STW Technic, LP.                                                             1750 Corporate Dr Ste 750                                                 Norcross        GA           30093-2975
    Suasive, Inc.                                                                3450 Sacramento Street #515                                               San Francisco   CA           94118




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    Sue Pipkin                            DBA Industiral Millwright Services, Inc. Address Redacted
    Sugalski, Nicholas                                                             Address Redacted
                                                                                                                                                           South San
    Sugar Bear Plumbing, Inc.             Lawrence Smith                        101-A Hickey Blvd                       Unit 120                           Francisco      CA           94080
    Sullivan, Cordell                                                           Address Redacted
    Sullivan, James                                                             Address Redacted
    Sullivan, Mario                                                             Address Redacted
    Sullivan, Zachary                                                           Address Redacted
    Sumang II, Ramon                                                            Address Redacted
    Summit County                                                               PO Box 68                                                                  Breckenridge   CO           80424
    Summit Racing                                                               20 King Mill Road                                                          McDonough      GA           30253
    Sun Source/STS Operating, Inc.                                              PO Box 74007453                                                            Chicago        IL           60674-7453
    Sun West Specialty                    Robert Schiavone                      5665 N Maroa Ave                                                           Fresno         CA           93704
    Sunbelt Rentals Inc                                                         600 Peachtree St NE                     10th Floor                         Atlanta        GA           30308
    SunCap Property Group                                                       6101 Carnegie Blvd                      Suite 180                          Charlotte,     NC           28277
    Suncoast Elevator Inspections, LLC                                          799 South Dixie Road                                                       Wagener        SC           29164
    Sundarraj, Vikram                                                           Address Redacted
    Sunkara, Kali                                                               Address Redacted

    Sunrise Systems Electronics Co Inc.   JEFFERY FIEDLER                       720 Washington Street                                                      Pembroke       MA           02359

    Sunrise Systems Electronics Co Inc.   Joe LaGambina                         720 Washington Street                                                      Pembroke       MA           02359

    Sunrise Systems Electronics Co Inc.   Leah Donner                           720 Washington Street                                                      Pembroke       MA           02359

    Sunrise Systems Electronics Co Inc.                                         720 Washington Street                                                      Pembroke       MA           02359

    Sunsource Canada Consolidated Inc. DBA D J Industrial Sales & Mfg Inc       25 North Rivermede Road, Units 1-3                                         Concord        ON           L4K 5V4       Canada

    Sunsource Canada Consolidated Inc.    DBA D J Industrial Sales & Mfg Inc    C/O Lock Box # 919571                   PO Box 4090 Stn. A                 Toronto        ON           M5W 0E9       Canada
    Sunstone Engineering Research and
    Development Corp                                                            1693 American Way                       #5                                 Payson         UT           84651
    Superior Interior Systems             Glenda Bowman                         6724 Pine Ridge Court                                                      Jenison        MI           49428
    Superior Interior Systems             Kelly Conley                          6724 Pine Ridge Court                                                      Jenison        MI           49428
    Superior Interior Systems             Kyle Conley                           6724 Pine Ridge Court                                                      Jenison        MI           49428
    Superior Office Solutions LLC         Chris Coates                          9529 Belton Honea Path Hwy                                                 Belton         SC           29627
    Superior Office Solutions LLC                                               9529 Belton Honea Path Hwy                                                 Belton         SC           29627
    Supplier Link Services, Inc.          Emily Leutyzinger                     3527 Mt. Diablo Blvd #204                                                  Lafayette      CA           94549
    Suratt, Lauren                                                              Address Redacted
    SURATT, LAUREN                                                              Address Redacted
    Surratt, Lemuel                                                             Address Redacted
    SUSPA Inc                             CHADWICK BECK                         3970 Roger B Chaffee Mem Dr. SE                                            Grand Rapids   MI           49548
    SUSPA Inc                             PENNY - ORDERS DROUGLAS               3970 Roger B Chaffee Mem Dr. SE                                            Grand Rapids   MI           49548
    Sustained Quality                     EHD Tech                              431 East Colfax Ave                     Suite 100                          South Bend     IN           46617
    Sutherlea Ventures Inc                The Sign Pad                          103-2675 Wilfert Road                                                      Victoria       BC           V9B 6M3       Canada

    Sutrak Corporation                                                          6897 East 49th Ave.                                                        Commerce City CO            80022
    Suttles, David                                                              Address Redacted
    Suzhou Current Electric Limited                                             No. 89, Qinghua Road, High-tech
    Company                                                                     Zone                                                                       Suzhou City    Jiangsu      215151        China




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    Suzhou YongChuang Metal Science
    and Technology CO., LTD.            Eric Zhu                            3699 Puzhuang Road                      Xukou Town                       Suzhou          Jiangsu      215105        China
    Suzhou YongChuang Metal Science
    and Technology CO., LTD.            Jenny Xia                           3699 Puzhuang Road                      Xukou Town                       Suzhou          Jiangsu      215105        China
    Svenningsen, Sunnie                                                     Address Redacted
    Swafford, Jessica                                                       Address Redacted
    Swamp Fox Software and Analytics,
    LLC                                                                     602 Cunningham Rd                                                        Taylors         SC           29687
    Sweeney, Connor                                                         Address Redacted
    Swiftly, Inc.                                                           611 Mission Street                      7th Floor                        San Francisco   CA           94105
    Swinger, Julian                                                         Address Redacted
    SWRCB                                                                   PO Box 1977                                                              Sacramento      CA           95812-1977
    Sy Enterprises Corp                                                     1 Orient Way                            Suite F, #236                    Rutherford      NJ           07070
    SY, REINA                                                               Address Redacted
    Syed Hamza Bari                                                         Address Redacted
    Syncromatics Corporation            Alex Fay Syncromatics Corporation   523 W 6th Street                        Suite 444                        Los Angeles     CA           90014
    Syncromatics Corporation            Alvin Huang                         523 W 6th Street                        Suite 444                        Los Angeles     CA           90014
    Syncromatics Corporation            Brian Girvan                        523 W 6th Street                        Suite 444                        Los Angeles     CA           90014
    Syncromatics Corporation                                                523 W 6th Street                        Suite 444                        Los Angeles     CA           90014
    Synthesis Technology Assessment
    and Research                        STAR360feedback                     164 West 200 South                                                       Springville     UT           84663
                                                                                                                                                     West
    Sypek Electrical Service Inc.                                           302 Morgan Road                                                          Springfield     MA           01089
    Syscon Automation Group, LLC        Drew Schmidt                        9847 South 500 West                                                      Sandy           UT           84070
    Syscon Automation Group, LLC        Tom Wing                            9847 South 500 West                                                      Sandy           UT           84070
    Syscon Automation Group, LLC                                            PO Box 901466                                                            Sandy           UT           84090
    T. Reed Gary                                                            Address Redacted
    Taba, Alexis                                                            Address Redacted
    Tableau Software, LLC                                                   PO Box 204021                                                            Dallas          TX           75063
    Tableau Software, LLC                                                   1621 N 34th Street                                                       Seatle          WA           98103-9193
    Tafur, Joshua                                                           Address Redacted
    Tahoe Transportation District                                           PO Box 499                                                               Zephyr Cove     NV           89448
    Tai Nguyen                          DBA Consultant by Design            Address Redacted
    Takkt America Holding, Inc.         DBA Dallas Midwest LLC              4100 Alpha Rd                           Suite 111                        Dallas          TX           75244
    Takou Kuetche, Julien Nathan                                            Address Redacted
    Talasila, Meena                                                         Address Redacted
    Tallman, Matthew                                                        Address Redacted
    Tamara Llosa-Sandor                                                     Address Redacted
    Tamargo, Colleen                                                        Address Redacted
    Tamayo, German                                                          Address Redacted
    TAMCO Capital Corp                                                      PO Box 77077                                                             Minneapolis     MN           55480-7777
    Tan, Connor                                                             Address Redacted

    Tangela Ray and Lola Richey, Esquire                                    325 Rocky Slope Rd.                     Suite 201                        Greenville      SC           29607
    Tangent Computer Inc                                                    191 Airport Blvd                                                         Burlingame      CA           94010
    Tangerine Promotions, a division of
    BAMKO, LLC.                          Rachel Nelson                      PO Box 748024                                                            Cincinnati      OH           45274-8024
    Tangerine Promotions, a division of
    BAMKO, LLC.                          Rachel Nelson                      8800 Wilshire Blvd                      Suite 210                        Beverly Hills   CA           90211
    Tangerine Promotions, a division of
    BAMKO, LLC.                          Sharon Reiff                       PO Box 748024                                                            Cincinnati      OH           45274-8024




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    Tangerine Promotions, a division of
    BAMKO, LLC.                           Sharon Reiff                8800 Wilshire Blvd                     Suite 210                             Beverly Hills   CA           90211
    Tangerine Promotions, a division of
    BAMKO, LLC.                                                       900 Skokie Blvd                        Suite 275                             Northbrook      IL           60062
    Tank, Aloysius                                                    Address Redacted
    Tao Mechanical, Ltd.                                              136 Wright Brothers Avenue                                                   Livermore       CA           94551
    Tao Pro LLC                                                       1 Letterman Drive                      Suite C4-420                          San Francisco   CA           94129
    Taoglas USA                           Taoglas Limited             Unit 5 Kilcannon Business Park         Old Dublin Road                       Enniscorthy     Ireland      Y21 XW56      Ireland
    Taoglas USA                           Taoglas Limited             8525 Camino Santa Fe, Ste. A                                                 San Diego       CA           92121
    Taos Mountain, LLC                                                1307 S Eagle Flight Way                                                      Boise           ID           83709-1559
    Taos Mountain, LLC                                                Dept LA 24843                                                                Pasadena        CA           91185
    TAP Plastics, Inc.                    Shela Maher                 3011 Alvarado Street                   Suite A                               San Leandro     CA           94577
    Tapeswitch Corporation                                            100 Schmitt Blvd.                                                            Farmingdale     NY           11735

    Tata AutoComp Systems Ltd - Supply                                                                       Tal Mulshi, Hinjawadi
    Chain Solutions Division                                          Sr No 280, 281, Village Mann           Phase 2                               Pune                         411057        India
    Tata Consultancy Services Ltd                                     379 Thornwall St                                                             Edison          NJ           08837
    Tate, Gregory                                                     Address Redacted
    Tatyana Vovk                                                      Address Redacted
    Taylor Machine and Welding Inc.    Taylor Manufacturing           224 Adams Street                                                             Stevenson       AL           35772
    Taylor Manufacturing               Vickie Padgett                 224 Adams St                                                                 Stevenson       AL           35772
    Taylor Pump & Lift, Inc                                           4325 Motorsports Dr                                                          Concord         NC           28027
    Taylor, Brian                                                     Address Redacted
    Taylor, Carla                                                     Address Redacted
    Taylor, Damian                                                    Address Redacted
    Taylor, Joshua                                                    Address Redacted
    Taylor, Michael                                                   Address Redacted
    Taylor, Shamelle                                                  Address Redacted
                                                                                                             67-74 Saffron Hill,                                                              United
    TBD Media Group Limited                                           Second Floor                           Farringdon                            London                       EC1N 8QX      Kingdom
    TCF National Bank                     DBA TCF Equipment Finance   11100 Wayzata Blvd.                    Suite 801                             Minnetonka      MN           55305
    TCI Automotive                                                    15584 Collection Center Dr.                                                  Chicago         IL           60693
    TCI Tire Centers                                                  22303 I-76 Frontage Rd.                                                      Hudson          CO           80642
    TDI Power                             BUZZ REYNOLDS               36 Newburgh Rd                                                               Hackettstown    NJ           07840-3904
    TDI Power                             Cathleen Kicak              36 Newburgh Rd                                                               Hackettstown    NJ           07840-3904
    TDI Power                             ELONA BROWN                 36 Newburgh Rd                                                               Hackettstown    NJ           07840-3904
    TDI Power                                                         36 Newburgh Rd                                                               Hackettstown    NJ           07840-3904
    TE Connectivity Corporation           ANNIE SEIDEL                24627 Network Place                                                          Chicago         IL           60673
    TE Connectivity Corporation           BLAINE BOWER                24627 Network Place                                                          Chicago         IL           60673
    TE Connectivity Corporation           Chuck Cant                  24627 Network Place                                                          Chicago         IL           60673
    TE Connectivity Corporation                                       24627 Network Place                                                          Chicago         IL           60673
    Teachey Service Company, Inc.                                     PO Box 339                                                                   Simpsonville    SC           29681
    Teal, Benjamin                                                    Address Redacted
    Teaster, Andrew                                                   Address Redacted

    Tech Graphics Private Limited                                     13, Gokul Society                      Sindhwai mata Road                    Pratapnagar     Vadodara     390004        India
    Techdemocracy LLC                                                 499 Thornall Street                    3rd Floor                             Edison          NJ           08837
    Technical Marketing                                               500 Robb Street                        Bldg 3, Ste. A                        Wheat Ridge     CO           80033
    Technical Specialties, Inc.                                       30852 State Highway 181                                                      Spanish Fort    AL           36527
    Technolab SA                          DBA ASAM e.V.               Technolab SA                           Altlaufst. 40                         Hoehenkirchen                85635         Germany
    Technostore LLC                                                   3005 Greene St                                                               Hollywood       FL           33020
    Tech-Sonic Inc                        VICE PRESIDENT Hyun Ou      2710 Sawbury Blvd                                                            Columbus        OH           43235




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    Teco Pneumatic, Inc.                                                     6500 National Dr                                                          Livermore          CA           94550-8805
    Tecumseh Signals, LLC                                                    PO Box 583                                                                Tecumseh           MI           49286
    Tecumseh Signals, LLC                                                    805 S. Maumee Street                                                      Tecumseh           MI           49286
    Teknoware, Inc.                                                          673 Century Circle                                                        Conway             SC           29526
    Telepath Designs                                                         1416 Kehaulani Dr                                                         Kailua             HI           96734
    Teletrac Navman US Ltd                                                   7391 Lincoln Way                                                          Garden Grove       CA           92841
    Tell Steel Inc.                                                          2345 W. 17th Street                                                       Long Beach         CA           90813
    Temores, Felix                                                           Address Redacted
    Temprel, Inc.                        Amanda Baker                        206 Air Industrial Park Drive                                             Boyne City         MI           49712
    Temprel, Inc.                        Ken Cuatt                           206 Air Industrial Park Drive                                             Boyne City         MI           49712
    Temprel, Inc.                                                            206 Air Industrial Park Drive                                             Boyne City         MI           49712
    TEN-E Packaging Services, Inc.                                           1666 County Rd 74                                                         Newport            MN           55055-1765

    Tennant Sales and Service Company                                        PO Box 71414                                                              Chicago            IL           60694
    Tennessee Child Support                                                  P.O. Box 305200                                                           Nashville          TN           37229
    Tennessee Department of Revenue                                          500 Deaderick Street                                                      Nashville          TN           37242
                                         c/o Tennessee Attorney Generals
    Tennessee Dept of Revenue            Office                              Bankruptcy Division                      PO Box 20207                     Nashville          TN           37202-0207

    Tennessee Dept of Revenue                                                Andrew Jackson State Office Building 500 Deaderick St                     Nashville          TN           37242
    Tennessee Dept of Treasury           Unclaimed Property Division         PO Box 190693                                                             Nashville          TN           37219-0693
    Tennessee Public Transportation
    Association                          Jason Spain                         400 Charlotte Avenue                     Suite 100                        Nashville          TN           37219
    Tennessee Public Transportation
    Association                                                              PO Box 651                                                                Dunlap             TN           37327
    Tennessee Secretary of State         Attn Corp Filing                    312 Rosa L Parks Ave, 6th Floor                                           Nashville          TN           37243-1102
    Teodosio, Katharine                                                      Address Redacted
    Terrones, Phillip                                                        Address Redacted
    Terry Easley                                                             Address Redacted
    Terzo Power Systems                                                      2604 Whitwater Way                                                        Sacramento         CA           95826
    Tesla, Inc.                                                              3500 Deer Creek Road                                                      Palo Alto          CA           94304
    Tesolowski, Carly                                                        Address Redacted
    TESSCO Incorporated                                                      11126 McCormick Road                                                      Hunt Valley        MD           21031-1494
    Test                                                                     1 Whitlee Ct                                                              Greenville         SC           29607
    Test Chamber Solutions, Inc.         dba Thermaxx Mechanical             PO Box 32138                                                              Stockton           CA           95213
                                                                             41000 Woodward Avenue Ste 350
    Testamatic Systems Inc               Santhosh Patil                      East                                                                      Bloomfield Hills   MI           48304
    Testco Incorporated                  CHRISTINA ROMERO                    1290 Kifer Road, Suite 308                                                Sunnyvale          CA           94086
    Testco Incorporated                                                      1290 Kifer Road, Suite 308                                                Sunnyvale          CA           94086
    TestEquity LLC                       Martin Aguilar                      6100 Condor Drive                                                         Moorpark           CA           93021
    Testing Engineers, Inc.              Ben Ong                             2811 Teagarden Street                                                     San Leandro        CA           94577
    Testing Engineers, Inc.                                                  2811 Teagarden Street                                                     San Leandro        CA           94577
    Testo, Inc.                                                              40 White Lake Road                                                        Sparta             NJ           07871
    Tevlin Strategic Communication                                           4226 S.W. Corbett Ave.                                                    Portland           OR           97239
    Texas A & M University               Texas A&M Transportation Services   1376 TAMU                                                                 College Station    TX           77843-1376
    Texas A&M Transportation Institute                                       400 Harvey Mitchell Parkway              Suite 300                        College Station    TX           77845
    Texas Child Support                                                      P.O. Box 1495                                                             Austin             TX           78767
                                                                             Lyndon B Johnson State Office
    Texas Comptroller of Public Accounts Attn Bankruptcy Section             Building                                 111 East 17th St                 Austin             TX           78774

    Texas Comptroller of Public Accounts Unclaimed Property Claims Section   PO Box 12046                                                              Austin             TX           78711-2046




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    Texas Comptroller of Public Accounts                                      PO Box 13528, Capitol Station                                            Austin          TX           78711-3528

    Texas Comptroller of Public Accounts                                      PO Box 149348                                                            Austin          TX           78714

    Texas Department of Motor Vehicles                                        4000 Jackson Ave                                                         Austin          TX           78731
    Texas Department of Motor Vehicles
    (TxDMV)                                                                   4000 Jackson Avenue                                                      Austin          TX           78731
    Texas Secretary of State                                                  PO Box 13697                                                             Austin          TX           78711-3697
    Texas Short Order, LP                                                     12521 Amherst Drive                                                      Austin          TX           78727
    TForce Freight                         FKA UPS Freight                    28013 Network Place                                                      Chicago         IL           60673-1280
    TForce Freight                         FKA UPS Freight                    PO Box 650690                                                            Dallas          TX           75265
    Thai, Kathy                                                               Address Redacted
    The 5S Store, LLC                                                         16 Lomar Park                          Unit B                            Pepperell       MA           01463
                                                                                                                                                       West Des
    The Bus Coalition                                                         6919 Vista Drive                                                         Moines          IA           50266
    The Car Whisperer LLC                                                     7 Sirrine Drive                                                          Greenville      SC           29605
    The Comedian Company                                                      PO BOX 6427                                                              Saginaw         MI           48608
    The Commercial Collection Corp. of
    N.Y. Inc.                                                                 34 Seymour Street                                                        Tonawanda       NY           14150
    The Crane Guys, LLC                                                       14480 Alondra Blvd                                                       La Mirada       CA           90638

    The EI Group, Inc                      Colleen Christian                  2101 Gateway Centre Blvd., Sutie 200                                     Morrisville     NC           27560
    The Fire Consultants, Inc.                                                1981 N. Broadway                     Suite 400                           Walnut Creek    CA           94596
    The Flag Company, Inc.                                                    3600 Cantrell Inc. Ct.                                                   Acworth         GA           30101
    The Gas Company (SOCALGAS)                                                555 W 5TH St Ste 14H1                                                    Los Angeles     CA           90013-1010
    The Gas Company (SoCalGas)                                                PO Box C                                                                 Monterey Park   CA           91756
    The Goodyear Tire & Rubber
    Company                                                                   2453 S Hwy 14                                                            Greer           SC           29650
    The Goodyear Tire & Rubber
    Company                                                                   19118 S Reyes Ave                                                        COMPTON         CA           90220
    The Goodyear Tire and Rubber Co.                                          200 Innovation Way                                                       Akron           OH           44316
    The Greenville News                                                       PO Box 742521                                                            Cincinnati      OH           45274
    The Hiring Group, LLC                  AGR Advisors, Inc.                 DBA The Hiring Group, LLC              PO Box 52235                      Newark          NJ           07101
    The Hiring Group, LLC                                                     PO Box 603739                                                            Charlotte       NC           28260-3739
    The J.N. Phillips Co. Inc.                                                11 Wheeling Ave.                                                         Woburn          MA           01801
    The Lee Company                        TIMOTHY FAGAN                      1250 Bayhill Drive                     Suite 113                         San Bruno       CA           94066
    The Lee Company                                                           1250 Bayhill Drive                     Suite 113                         San Bruno       CA           94066
    The Miles Group, LLC                                                      685 Third Avenue                       22nd Floor                        New York        NY           10017
    The Mint House Design Co., LLC                                            5 Bucklick Creek Court                                                   Sumpsonville    SC           29680
    The Modal Shop                         Andy McGuire                       10310 Aerohub Blvd                                                       Cincinnati      OH           45215
    The Nasdaq Stock Market, LLC.                                             P.O. Box 780700                                                          Philadelphia    PA           19178
    The Print Machine Inc.                                                    1003 Laurens Rd                                                          Greenville      SC           29607
    The Producers, Inc.                    DBA Power Trade Media              4742 N. 24th St                        Suite 340                         Phoenix         AZ           85016
    The RCA Rubber Company                 FKA SRP Industries, LLC            PO Box 9240                                                              Akron           OH           44305
    The RCA Rubber Company                 FKA SRP Industries, LLC            1833 E Market Street                                                     Akron           OH           44305
                                                                                                                     Attn Andrew Suhar
    The RCA Rubber Company                 FKA SRP Industries, LLC            PO Box 1497                            Trustee                           Youngstown      OH           44501
    The Regents of the University of
    California                             University of California, Irvine   120 Theory, Suite 200                                                    Irvine          CA           92697-1050

    The RoviSys Company                    ACCTS RECEIVABLE Alyssa Balfour 1455 Danner Dr                                                              Aurora          OH           44202




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                                         DIRECTOR SUPPLY CHAIN John
    The RoviSys Company                  Vargo                        1455 Danner Dr                                                          Aurora           OH           44202
    The RoviSys Company                                               PO Box 73486                                                            Cleveland        OH           44193
    The Rutten Law Firm, APC                                          21860 Burbank Blvd.                   Suite 340                         Woodland Hills   CA           91367
    The Salt Group                                                    1845 Sidney Baker St                                                    Kerrville        TX           78028
    The Sourcing Group, LLC              Gentry Harrington            92 Argonaut                           Suite 215                         Aliso Viejo      CA           92656
    The Sourcing Group, LLC              Jennie Mollo                 92 Argonaut                           Suite 215                         Aliso Viejo      CA           92656
    The Sourcing Group, LLC                                           PO Box 6568                                                             Carol Stream     IL           60197
    The Sourcing Group, LLC                                           92 Argonaut                           Suite 215                         Aliso Viejo      CA           92656
    The StrataFusion Group, Inc.         Karyn Guarascio              464 Monterey Ave                      Suite E                           Los Gatos        CA           95030
    The StrataFusion Group, Inc.         Ken Crafford                 464 Monterey Ave                      Suite E                           Los Gatos        CA           95030
    The StrataFusion Group, Inc.                                      464 Monterey Ave                      Suite E                           Los Gatos        CA           95030
    The Technology House, Ltd                                         10036 Aurora Hudson Road                                                Streetsboro      OH           44241
    The Travelers Indemnity Company of
    CT                                                                385 Washington St                                                       Saint Paul       MN           55102
    The Ultimate Software Group, Inc.    Alicia Wilson                1485 North Park Drive                                                   Weston           FL           33326
    The Upholstery Depot                                              117 SE Main St.                                                         Simpsonville     SC           29681
    The Vanguard Group                                                100 Vanguard Blvd                                                       Malvern          PA           19355
    The Webstaurant Store, Inc.          Bryce Wendler                40 Citation Lane                                                        Lititz           PA           17543
    The Westin Poinsett Hotel            GLC LP                       120 S Main Street                                                       Greenville       SC           29601
    The Wick Group LLC                                                1919 Pullman Lane                     Unit A                            Reondo Beach     CA           90278
    The Yarder Manufacturing Company     CFO Amy conlan               722 Phillips Avenue                                                     Toledo           OH           43612
    The Yarder Manufacturing Company                                  722 Phillips Avenue                                                     Toledo           OH           43612
    The Zippertubing Co                                               7150 W Erie Street                                                      Chandler         AZ           85226
    thecademy GmbH                                                    Kurfurstendamm 11                                                       Berlin                        10719         Germany
    Thermal Flex (Tacna Intl Corp)                                    1401Air Wing Road                                                       San Diego        CA           92154
    Therma-Tech (A.R. Lintern)           DENNY LOWE                   24900 Capitol Road                                                      Redford          MI           48239
    Therma-Tech (A.R. Lintern)           Kalie Woods                  24900 Capitol Road                                                      Redford          MI           48239
    Therma-Tech (A.R. Lintern)           Karen Taylor                 24900 Capitol Road                                                      Redford          MI           48239
    Therma-Tech (A.R. Lintern)                                        24900 Capitol Road                                                      Redford          MI           48239
    Thermatron Engineering, Inc.                                      687 Lowell Street                                                       Methuen          MA           01844
    Thermo Heating Elements, LLC         JILL MCNAIR                  273 Langstan Road                                                       Piedmont         SC           29673
    Thermo Heating Elements, LLC         MARIANNE OLSON               273 Langstan Road                                                       Piedmont         SC           29673
    Thermo Heating Elements, LLC         Tammy Mills                  273 Langstan Road                                                       Piedmont         SC           29673
    Thermo Heating Elements, LLC                                      273 Langstan Road                                                       Piedmont         SC           29673
    Thermo King Corporation                                           314 W 90th St.                                                          Bloomington      MN           55420

    Thermo King of Denver                                             4990 Monaco St                                                          Commerce City CO              80022
    Thermo King of Greenville            CARL ZOLLNER                 161 Old Sulphur Springs Road                                            Greenville    SC              29607
    Thermo King of Greenville            TIM MELOY                    161 Old Sulphur Springs Road                                            Greenville    SC              29607
    Thermo King of Greenville                                         161 Old Sulphur Springs Road                                            Greenville    SC              29607
    Thermoelectric Cooling America
    Corporation AKA TECA Corp                                         4048 W. Schubert Ave.                                                   Chicago          IL           60639
    Thinkify LLC                         Peter Soule                  18450 Technology Dr.                  Suite E1                          Morgan Hill      CA           95037
    Thinkify LLC                                                      18450 Technology Dr.                  Suite E1                          Morgan Hill      CA           95037
    ThinkResults Marketing LLC                                        555 Bryant Street                     #803                              Palo Alto        CA           94301
    Third Born Entertainment Inc.                                     417-304 Ambleside Link SW                                               Edmonton         AB           T6W 0V2       Canada
    Third Shore Group                                                 333 W. 7th Street                     Suite 180                         Royal Oak        MI           48067
    THK Rhythm Automotive Michigan
    Corporation                          AR Portland                  28442 Network Place                                                     Chicago          IL           60673
    THK Rhythm Automotive Michigan
    Corporation                          KAELI HALL                   28442 Network Place                                                     Chicago          IL           60673




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    THK Rhythm Automotive Michigan
    Corporation                         KELLY SHAW                         28442 Network Place                                                     Chicago      IL           60673
    THK Rhythm Automotive Michigan
    Corporation                                                            28442 Network Place                                                     Chicago      IL           60673
    Thomas A. McCormick dba American
    Electrical, Inc.                                                       456 Southlake Blvd                                                      Richmond     VA           23236
    Thomas Built Buses, Inc.                                               1408 Courtesy Road                                                      High Point   NC           27260
                                        Thomas Bus Gulf Coast/Thomas Bus
    Thomas Bus Gulf Coast GP, Inc.      Texas                              PO Box 222038                                                           Dallas       TX           75222-2038
                                        Thomas Bus Gulf Coast/Thomas Bus
    Thomas Bus Gulf Coast GP, Inc.      Texas                              8806 Mississippi                                                        Houston      TX           77029
    Thomas J Caringella                 Sumo Mania - Party Rental CA       Address Redacted
    Thomas J Caringella                 Sumo Mania - Party Rental CA       Address Redacted
    Thomas P. Amicarelli                DBA Muscle Builders                Address Redacted
    Thomas Scott Belue                                                     Address Redacted
    Thomas, Marcus                                                         Address Redacted
    Thomas, Nathan                                                         Address Redacted
    Thomas, Ulrich                                                         Address Redacted
    Thomason, Catherine                                                    Address Redacted
    Thombare, Rahul Yatin                                                  Address Redacted
    Thompson Sr., William                                                  Address Redacted
    Thompson, Ashley                                                       Address Redacted
    Thompson, Heather                                                      Address Redacted
    Thompson, Hoyle                                                        Address Redacted
    Thompson, Joel                                                         Address Redacted
    Thompson, Jonnathan                                                    Address Redacted
    Thompson, Justin                                                       Address Redacted
    Thompson, Moses                                                        Address Redacted
    Thompson, Nicholas                                                     Address Redacted
    Thompson, Tracy                                                        Address Redacted
    Thompson, Trevor                                                       Address Redacted
    Thompson, Xavier                                                       Address Redacted
    Thomsen and Burke LLP               Paralegal Brenda Boyer             2 Hamil Road, Suite 415                                                 Baltimore    MD           21210
    Thomsen and Burke LLP               Partner Roszel C. Thomsen II       2 Hamil Road, Suite 415                                                 Baltimore    MD           21210
    Thorne, Michele                                                        Address Redacted
    Three Point Oh! Inc.                                                   306 Ridgeland Dr                                                        Greenville   SC           29601
    Thycotic Software LLC                                                  1101 17th St. NW                       Suite 1102                       Washington   DC           20036
    thyssenkrupp Supply Chain Services,
    NA Inc.                                                                19771 Brownstown Center, Suite 790                                      Brownstown   MI           48183
    Tiboni, Jonathon                                                       Address Redacted
    Tier Rack Corporation                                                  425 Sovereign Ct                                                        Ballwin      MO           63011
    Tier Rack Corporation                                                  PO Box 32127                                                            St Louis     MO           63132-2127
    Tikistudios LLC                                                        6461 Paramus Drive                                                      Clarkston    MI           48346
    Times Square Retail, LLC            DBA The Engine Room                713 8th Ave                                                             New York     NY           10036
    Timothy Brown                                                          Address Redacted
    Timothy D. Danyo                    DBA Imagination Media              Address Redacted
    Timothy D. Tafrow Electric, LLC.                                       44 Doe Drive                                                            Hamilton     NJ           08620
    Timothy J McCartney                 DBA TJA & Associates LLC           Address Redacted
    Timothy Jones                                                          Address Redacted
    Timothy Lamar Brown                                                    Address Redacted
    Tinsley, Richard                                                       Address Redacted
    TIP Industries                      DBA TIP Temperature Products       340 West Broad Street                                                   Burlington   NJ           08016




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    Titanium American Logistics Inc.                                   5950 Fairview Rd                     Suite 540                        Charlotte      NC           28210
    TK Systems Inc.                                                    6949 Buckeye St.                                                      Chino          CA           91710

    TM Rippey Consulting Engineers, Inc.                               7650 SW Beveland St. STE 100                                          Tigard         OR           97223
                                                                       135, rue Joseph-Armand Bombardier,
    TM4 Inc.                                                           #25                                                                   Boucherville   QC           J4B 8P1       Canada
    TN Department of Revenue                                           500 Deaderick Street                                                  Nashville      TN           37242
    TNTX, LLC                                                          2051 Hughes Rd                                                        Grapevine      TX           76051
    To, Phillip                                                        Address Redacted
    Toby, Adrian                                                       Address Redacted
    Todaro, Julie                                                      Address Redacted
    Tokay, Jonathan                                                    Address Redacted
    Tokmakjan Inc.                         TOK Performance             221 Caldari Rd                                                        Concord        ON           L4K 3Z9       Canada
    Tolls By Mail                                                      PO Box 15183                                                          Albany         NY           12212
    TOMA Fire Protection Equipment,
    LLC                                                                PO Box 2793                                                           Shelby         NC           28151-2793
    Tomey Electric, Inc                                                5430 Handley Road                                                     Cambridge      MD           21613
    Tomkiel, Paula                                                     Address Redacted
    Tomlin, James                                                      Address Redacted
    Tony Campos                                                        Address Redacted
    Tonya J Glaser                         Glaser and Sons Mooving     Address Redacted
    Tool Room, Inc, The                                                1966 Chapman Road                                                     Fountain Inn   SC           29644
    Top Tempo Technical                                                1010 E Union Street                  Suite 125                        Pasadena       CA           91106
    Topper Inc.                                                        1729 East Frontage Road                                               Sturtevant     WI           53177
    Tornblom Software AB                   dba Cargo Planner           Bedgatam 4                                                            Malmo                       21130         Sweden
    Toronto Transit Commission                                         1900 Yonge Street                                                     Toronto        ON           M2N 6L9       Canada
    Torres, Carlos                                                     Address Redacted
    Torres, Danny                                                      Address Redacted
    Toshiba International Company (TIC),
    Houston                                DAREL REED                  13131 West Little York Road                                           Houston        TX           77041
    Toshiba International Company (TIC),
    Houston                                                            13131 West Little York Road                                           Houston        TX           77041
    Total Maintenance Solutions South
    Inc                                    TMS South                   3540 Rutherford Road                                                  Taylors        SC           29687
    Total Maintenance Solutions South
    Inc                                    TMS South                   PO Box 68                                                             Taylors        SC           29687
    Total Quality Logistics, LLC                                       4289 Ivy Pointe Blvd.                                                 Cincinnati     OH           45245
    Tote Maritime                                                      32001 32nd AVE S                     Suite 200                        Federal Way    WA           98001
    Tote Maritime                                                      500 Alexander Avenue                                                  Tacoma         WA           98421
    Tovar Sr., Jacob                                                   Address Redacted
    Towery, Tadden                                                     Address Redacted
    Town Center Bank                                                   1938 E. Lincoln Hwy                                                   New Lenox      IL           60451
    Town of Arlington                                                  730 Massachusetts Avenue                                              Arlington      MA           02476
    Town of Banff                                                      PO Box 1260                          110 Bear Street                  Banff          AB           T1L 1A1       Canada
    Town of Breckenridge                                               PO Box 168                                                            Breckenridge   CO           80424
    Town of Jackson                                                    PO Box 1687                                                           Jackson        WY           83001
    Townsend, Stephen                                                  Address Redacted
    TPI Composites Services, LLC           Craig Millar                8501 N Scottsdale Road, Suite 100                                     Scottsdale     AZ           85253
    TPI Composites Services, LLC           Kyle Newell                 8501 N Scottsdale Road, Suite 100                                     Scottsdale     AZ           85253
    TPI Composites, INC                    AUSTIN BOYD                 373 Market St                        PO Box 367                       Warren         RI           02885
    TPI Composites, INC                    DEREK BUJAK                 373 Market St                        PO Box 367                       Warren         RI           02885
    TPI Composites, INC                    JOHN DEROCHER               373 Market St                        PO Box 367                       Warren         RI           02885




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    TPI Composites, INC                                                    373 Market St                          PO Box 367                     Warren            RI           02885
    TPI IAII, LLC                                                          927 N 19th Avenue East                                                Newton            IA           50208
    TPI Iowa LLC                           Craig Millar                    2300 N 33rd Ave E                                                     Newton            IA           50208
    TPI Iowa LLC                           STEVE BRENIZER                  2300 N 33rd Ave E                                                     Newton            IA           50208
    TPS, LLC                               DBA Thermal Product Solutions   PO Box 844730                                                         Boston            MA           02284
    TPS, LLC                               DBA Thermal Product Solutions   PO Box 6057                                                           Hermitage         PA           16148-1057
    TPS, LLC                               DBA Thermal Product Solutions   2821 Old Route 15                                                     New Columbia      PA           17856
    Traffic Control Corp                   Allen Eisinger                  10435 Argonne Woods Dr.                                               Woodridge         IL           60517
    Traffic Control Corp                                                   10435 Argonne Woods Dr.                                               Woodridge         IL           60517
    TRAIL-EZE, INC                                                         323 QUINCE ST                                                         MITCHELL          SD           57301-4833
    Trainerkart Americas, Inc                                              364 E Main Street                      Suite 1008                     Middletown        DE           19709
    Trammell Equipment Co., Inc.                                           PO Box 320155                                                         Binghamton        AL           35232
    Tran, Vu                                                               Address Redacted
    Trane U.S. Inc.                                                        PO Box 98167                                                          Chicago           IL           60693
                                                                                                                                                 North
    Transdev Services Inc                                                  3664 Leeds Ave.                                                       Charleston        SC           29405
    Transdev Services Inc                                                  5640 Peck Rd                                                          Arcadia           CA           91006

    TransID LLC                                                            1307 W. Main St.                       B131                           Gun Barrel City   TX           75156
    Transign LLC                                                           281 Collier Road                                                      Auburn Hills      MI           48326
    Transit Associates, Inc.                                               5333 Tall Tree Court                                                  Lisle             IL           60532
    Transit Authority of River City                                        133 W. Liberty                                                        Louisville        KY           40202
    Transit Authority of River City                                        1000 W Broadway                                                       Louisville        KY           40230
    TransIT Solutions, LLC                 TSI Video                       525 West New Castle Street                                            Zelienople        PA           16063
    Transit Technical LLC                  Phillip DeHaan                  655 Cliffwood Ave.                                                    Portage           MI           49002
    Translating Services, Inc. DBA Lazar
    Translating & Interpreting                                             1516 S. Bundy Drive #311                                              Los Angeles       CA           90025
    TransPak                               BILL DINSMORE                   520 N. Marburg Way                                                    San Jose          CA           95133
    TransPak                               Julie Ramirez                   520 N. Marburg Way                                                    San Jose          CA           95133
    TransPak                               Matthew Moquin                  520 N. Marburg Way                                                    San Jose          CA           95133
    TransPak                                                               PO Box 102762                                                         Pasadena          CA           91189-2762
    TRANSPAK, INC                                                          PO Box 102762                                                         Pasadena          CA           91189-2762
    TRANSPAK, INC                                                          520 NORTH MARBURG WAY                                                 SAN JOSE          CA           95133
    Transport Products Unlimited, Inc.                                     836 B Southampton Road #290                                           Benicia           CA           94510
    Transportation Association of         EXECUTIVE DIRECTOR John
    Maryland, Inc                         Duklewski                        939 Elkridge Landing Rd, Suite 195                                    Linthicum         MD           21090
                                          DBA Starline Luxury Coaches,
    Transportation Demand Management Wheatland Express and A & A
    LLC                                   Motorcoach                       9801 Martin Luther King Jr Way South                                  Seattle           WA           98118
    Transportation District Commission of
    Hampton Roads                                                          3400 Victoria Blvd                                                    Hampton           VA           23661
    Transportation Energy Partnership                                      1401 Technology Drive MSC 4115                                        Harrisonburg      VA           22807
    Transportation Engineering
    Northwest, LLC                        TENW                             11400 SE 8th Street                    Suite 200                      Bellevue          WA           98004
    Transportation Research Center Inc                                     10820 State Route 347                                                 East Liberty      OH           43319-0367
    Transportation Services Inc                                            5121 Hedge Ave                                                        Sacramento        CA           95826
    Transtech Innovations                 Marlene Belzile                  936 Boul. Lionel-Boulet                                               Varness           QC           J3X 1P7      Canada
    Transtech Innovations                 Stephane Surprenant              936 Boul. Lionel-Boulet                                               Varness           QC           J3X 1P7      Canada
    Transtech Innovations                                                  936 Boul. Lionel-Boulet                                               Varness           QC           J3X 1P7      Canada
    Transtech of SC, Inc.                                                  PO Box 751988                                                         Charlotte         NC           28275
    Trapeze Software Group, Inc           Debbie Hadley                    998 Old Eagle School Road              Suite 1215                     Wayne             PA           19087
    Trapeze Software Group, Inc           DOUG THOMAS                      998 Old Eagle School Road              Suite 1215                     Wayne             PA           19087




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    Trapeze Software Group, Inc          DOUG THOMAS                        5265 Rockwell Drive NE                                                  Cedar Rapids    IA           52402
    Trapeze Software Group, Inc                                             998 Old Eagle School Road              Suite 1215                       Wayne           PA           19087
    Trapeze Software Group, Inc                                             5265 Rockwell Drive NE                                                  Cedar Rapids    IA           52402
    Travel Plaza, LLC                                                       818 Pine Street                                                         Honolulu        HI           96817
    Travelers                                                               PO Box 660317                                                           Dallas          TX           75266-0317
    Travelers Indemnity Company          John Santos                        One Tower Square                                                        Hartford        CT           06183
    Travelers Indemnity Company of CT John Santos                           One Tower Square                                                        Hartford        CT           06183
    Travelers Ocean Marine               Jamison Walz                       One Tower Square                                                        Hartford        CT           06183
    Travelers Property Casualty Company
    of America                           John Santos                        One Tower Square                                                        Hartford        CT           06183
    Travelers-Deductible                                                    13607 Collections Center Drive                                          Chicago         IL           60693
                                         BUSINESS DEVELOPMENT Jim
    TravelStore                          Childress                          11601 Wilshire Blvd, Ste 1840                                           Los Angeles     CA           90025
    TravelStore                          CLIENT SERVICES Yvonne Fenton      11601 Wilshire Blvd, Ste 1840                                           Los Angeles     CA           90025
    TravelStore                                                             1750 Howe Avenue, Suite 320                                             Sacramento      CA           95825
    Travers Tool Co., Inc.                                                  118 Spartangreen Blvd                                                   Duncan          SC           29334
    Trebizo Jr., Gabriel                                                    Address Redacted
    Trees Greenville Inc                 DBA TreesGreenville                DBA TreesGreenville                    PO Box 9232                      Greenville      SC           29604
    Trella, Aaron                                                           Address Redacted
    Trella, Linda                                                           Address Redacted
                                         DBA Trelleborg Sealing Solutions
    Trelleborg Sealing Solutions US, Inc West                               Dept. CH 10999                                                          Chicago         IL           60055-0999
    Trewstar Corp Board Services, LLC                                       170 Dryden Rd                                                           Bernardsville   NJ           07924
    TRI STATE TRUCK CENTER LLC                                              411 Hartford Turnpike                                                   Shrewsbury      MA           01545
    Tri Tech USA, Inc.                                                      764 Cartee Road                                                         Liberty         SC           29657
    Tri-Arc, LLC                                                            390 Fountain Street                                                     Pittsburgh      PA           15238
    Trias, Rafael                                                           Address Redacted
    Tricor Direct, Inc.                  DBA Seton                          PO Box 95904                                                            Chicago         IL           60694
    TriCord Management, LLC              Jordan Navratil                    738 Neeson Road                                                         Marina          CA           93933
    TriCord Management, LLC                                                 738 Neeson Road                                                         Marina          CA           93933
    Trillo Mora, Alicia                                                     Address Redacted
    Trilogiq USA Corporation             Brendan Tilson                     31805 Glendale Street                                                   Livonia         MI           48150
    Trilogiq USA Corporation             Marie Davis                        31805 Glendale Street                                                   Livonia         MI           48150
    TriMech Services                                                        4461 Cox Road                          Suite 302                        Glen Allen      VA           23060
    TriMech Services, LLC                                                   4461 Cox Road, Suite 302                                                Glen Allen      VA           23060
    Trim-Lok, Inc.                       Franci Gray                        6855 Hermosa Circle                                                     Buena Park      CA           90622
    Trim-Lok, Inc.                                                          6855 Hermosa Circle                                                     Buena Park      CA           90622
    Trinamix Inc                         Sandeep Goyal                      75 E. Santa Clara St., Suite 600                                        San Jose        CA           95113
    Trinidad Galvan de Espinoza                                             Address Redacted
    Triniti Corporation                                                     2001 Gateway Place                     Suite 425E                       San Jose        CA           95110
    TripSpark USA                        JORDAN MARETZKI                    5265 Rockwell Drive NE                                                  Cedar Rapids    IA           52402
    TripSpark USA                                                           5265 Rockwell Drive NE                                                  Cedar Rapids    IA           52402
    Tri-State Equipment Company, Inc.    DBA Ergonomic Partners             4000 Fee Fee Road                                                       Bridgeton       MO           63044
    Tri-State Expedited Service, Inc                                        PO Box 307                                                              Perrysburg      OH           43552

    Tritium Pty LTD                    DENNIS PASCUAL                       Unit 1                                 31 Archimedes Pl                 Murarrie                     4172         Australia

    Tritium Pty LTD                    MARCELO SELGADO                      Unit 1                                 31 Archimedes Pl                 Murarrie                     4172         Australia

    Tritium Pty LTD                                                         Unit 1                                 31 Archimedes Pl                 Murarrie                     4172         Australia
    Tritium Technologies LLC                                                20000 South Vermont Avenue                                              Torrance        CA           90502
    Trivelli Jr., Gary                                                      Address Redacted




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    Trivieri, Skylar                                                      Address Redacted
    TRM Precision Manufactory(Suzhou)       Suzhou Speed Communication
    Ltd                                     Technology Ltd                No.133 Weixin Road                      Suzhou Industrial Park                  Suzhou                        215101        China
    TRM Precision Manufactory(Suzhou)       Suzhou Speed Communication
    Ltd                                     Technology Ltd                No. 388 Xin Ping Street                 Jiang Su                                Suzhou                        215123        China
    TRM Precision Manufactory(Suzhou)       Suzhou Speed Communication
    Ltd                                     Technology Ltd                No. 388 Xin Ping Street                 Jiang Su                 Abeni Zhang    Suzhou                        215123        China
    Trolley Support LLC                     Nicole Miele                  PO Box 9                                                                        Perry Hall       MD           21128
    Troutman Pepper Hamilton Sanders
    LLP                                     Goutam Patnaik                3000 Two Logan Square                   18th & Arch Streets                     Philadelphia     PA           19103
    Troutman Pepper Hamilton Sanders
    LLP                                     Regina Marroletti             3000 Two Logan Square                   18th & Arch Streets                     Philadelphia     PA           19103
    Troutman Pepper Hamilton Sanders
    LLP                                                                   274 W. 12300 S                                                                  Washington       DC           20005
    Troy Brown                              DBA Brown Electric Company    Address Redacted
    Troy Brown                              DBA Brown Electric Company    Address Redacted
    TRS International MFG., Inc.            Terry Lai                     27152 Burbank Ave                                                               Foothill Ranch   CA           92610
    Truck Centers, Inc.                                                   2280 Formosa Road                                                               Troy             IL           62294
    Truck World Repair, LLC                                               290 Morley Court                                                                Duncan           SC           29334
    Trucker Huss, APC                       Racquel Celestial             1 Embarcadero Ctr                       12th Floor                              San Francisco    CA           94111
    Trucker Huss, APC                                                     1 Embarcadero Ctr                       12th Floor                              San Francisco    CA           94111
    TrueBlue Services, Inc. formerly
    Seaton Acquisition Corp                 Maria Alexander               1015 A Street                                                                   Tacoma           WA           98402
    Truesdell, Charles                                                    Address Redacted
    TruGold, LLC                            TruColor                      2107 Laurens Road                                                               Greenville       SC           29607
    Truiem, Inc.                            dba Gulf Coast DevOps, Inc.   374 5th Avenue North                                                            Naples           FL           34102
    Trujillo De Jesus, Jorge                                              Address Redacted
    Trumpet Holdings Inc.                   DBA Trombetta Inc.            8111 North 87th Street                                                          Milwaukee        WI           53224
    TRUMPF, Inc.                                                          111 Hyde Road                                                                   Farmington       CT           06032
    TRUMPF, Inc.                                                          Dept 135, PO Box 150473                                                         Hartford         CT           06115-0473
    Trundl Inc                                                            2150 North First Street                                                         San Jose         CA           95131
    TRW Automotive U.S. LLC                 Gale White                    PO Box 77952                                                                    Detroit          MI           48277
    TRW Automotive U.S. LLC                 JOE VAN MATRE                 PO Box 77952                                                                    Detroit          MI           48277
    TRW Automotive U.S. LLC                 Melissa Smallwood             PO Box 77952                                                                    Detroit          MI           48277
    TRW Automotive U.S. LLC                                               PO Box 77952                                                                    Detroit          MI           48277
    Trzeciak, Wayne                                                       Address Redacted

    TSG Enterprises Inc                     DBA The Solis Group           TSG Enterprises Inc                     131 N El Molino Ave      Suite 100      Pasadena         CA           91101

    TTA - Texas Transit Association, Inc.                                 501 Congress Ave Ste 150                                                        Austin           TX           78701-3575
    TTI, Inc                                Floyd Enloe                   220 Horizon Dr                          Suite 203                               Raleigh          NC           27615
    TTI, Inc                                Julie Dominguez               220 Horizon Dr                          Suite 203                               Raleigh          NC           27615
    TTI, Inc                                KELLEY CORBITT                220 Horizon Dr                          Suite 203                               Raleigh          NC           27615
    TTI, Inc                                                              220 Horizon Dr                          Suite 203                               Raleigh          NC           27615
    TTI, Inc                                                              PO Drawer 99111                                                                 Ft Worth         TX           76199-0111
    Tube Specialties                        ADRIAN UBALDO                 1459 NW Sundial Rd                                                              Troutdale        OR           97060
    Tube Specialties                        Alex Walkey                   1459 NW Sundial Rd                                                              Troutdale        OR           97060
    Tube Specialties                        CHRIS BYRD                    1459 NW Sundial Rd                                                              Troutdale        OR           97060
    Tube Specialties                                                      1459 NW Sundial Rd                                                              Troutdale        OR           97060
    Tube Specialties                                                      PO Box 20608                                                                    Portland         OR           97060
    Tucker, Harrison                                                      Address Redacted
    Tufono, Fabian                                                        Address Redacted




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    Tulpule, Pranav                                                           Address Redacted
    Turner Sr., Kenyatta                                                      Address Redacted
    Turner, Bryan                                                             Address Redacted
    Turner, Craig                                                             Address Redacted
    Turner, Janeigh                                                           Address Redacted
    Turner, Karyn                                                             Address Redacted
    Turner, Katherine                                                         Address Redacted
    Turner, Matthew                                                           Address Redacted
    Turner, Victoria                                                          Address Redacted
    Tushar Mahajan                        Chiax LLC/Statusbrew                Address Redacted

    TUV Rheinland of North America Inc.                                       295 Foster Street                      Suite 100                           Littleton       MA            01460
    TWC Services, Inc                                                         1629 Poplar Drive Ext.                                                     Greer           SC            29651
    TWC Services, Inc                                                         PO Box 1612                                                                Des Moines      IA            50306
    TWD Technologies, Ltd                                                     905 Century Drive                                                          burlington      ON            L7L 5J8       Canada
    Twin Lakes Auto Body & RV Repair
    Inc.                                  Glenn Holbrook                      645 Twin Lakes Road                                                        Seneca          SC            29678
    Twin Vision                                                               25969 Network Place                                                        Chicago         IL            60673
    Tyco Valves & Controls, LP                                                Dept 0789                              PO Box 120001                       Dallas          TX            75312-0789
    Tyler M Housholder                    DBA TH Graphic Installations, LLC   Address Redacted
    Tyler, Patrick                                                            Address Redacted
    U.S. Bionics Inc                      dba suitX                           4512 Hollis Street                                                         Emeryville      CA            94608
    U.S. Chamber of Commerce                                                  1615 H Street NW                                                           Washington      DC            20062
    U.S. Chemical Storage, LLC                                                1806 River Street                                                          Wilkesboro      NC            28697
    U.S. Chemical Storage, LLC                                                PO Box 207003                                                              Dallas          TX            75320-7003
    U.S. Securities and Exchange
    Commission                                                                100 F St NE                                                                Washington      DC            20549
    U.S. TelePacific Corp.                DBA TPx Communications              515 S. Flower Street                   47th Floor                          Los Angeles     CA            90071
    U.S. Telepacific Corp.                                                    515 S Flower St Ste 4500                                                   Los Angeles     CA            90071-2237
    UAB Promvadas DBA Promwad
    GmbH                                                                      Meisenburgstr.39                                                           Essen                         45133         Germany
    UAB Promvadas DBA Promwad
    GmbH                                                                      Antakalnio g. 17, building 12                                              Vilnius                       10312         Lithuania

    u-blox America, Inc.                                                      1900 Campus Commons Dr Ste 401                                             Reston          VA            20191-1535
                                                                              900 Chelmsford St. Tower 2, 12th
    UKG Inc                               Attn Rhonda Harriman                Floor                                                                      Lowell          MA            01851

                                                                                                                     420 South Orange
    UKG Inc.                              Attn Catherine R. Choe, Esq.        Akerman LLP                            Avenue Suite 1200                   Orlando         FL            32801

                                                                                                                     900 Chelmsford St.
    UKG Inc.                              UKG Inc                             Attn Rhonda Harriman                   Tower 2, 12th Floor                 Lowell          MA            01851
    UKG Inc. Payroll                                                          900 Chelmsford St                                                          Lowell          MA            01851
    UL Associates LLC                     FKA Kvertex Associates, LLC         1708-C Augusta St                      Suite 3                             Greenville      SC            29605
    UL LLC                                Zivile Rackauskas                   333 Pfingsten Road                                                         Northbrook      IL            60062
    UL LLC                                                                    75 Remittance Dr                       Suite 1524                          Chicago         IL            60675-1524

    Uline                                                                     12575 Uline Drive                                                          Pleasant Prairie WI           53158
    ULine                                                                     PO Box 88741                                                               Chicago          IL           60680-1741
    Underwood, William                                                        Address Redacted
    Underwood, William                                                        Address Redacted




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    Unicorp                                                              291 Cleveland Street                                                      Orange         NJ           07050
    Unifirst Corporation                                                 322 Standing Springs Ct                                                   Simpsonville   SC           29680
    Union Metal                                                          1432 Maple Ave NE                                                         Canton         OH           44705
    United Chemical & Supply Co, Inc         Joe Malek                   201 Fairforest Way                                                        Greenville     SC           29607
    United Chemical & Supply Co, Inc         Sam Broyles                 201 Fairforest Way                                                        Greenville     SC           29607
    United Chemical & Supply Co, Inc         Stephanie Williamson        201 Fairforest Way                                                        Greenville     SC           29607
    United Chemical & Supply Co, Inc                                     PO Box 5066                                                               Greenville     SC           29606

    United Rentals (North America), Inc.                                 PO Box 100711                                                             Altanta        GA           30384-0711

    United Specialty Insurance Company                                   1900 L. Don Dodson Blvd                                                   Bedford        TX           76021

    United States Compliance Corporation                                 520 Third Street                         Suite 100                        Excelsior      MN           55331
    United States Seating Company        Drew Lewis                      101 Gordon Drive                                                          Exton          PA           19341
    United States Seating Company        MARCY MORRISON                  101 Gordon Drive                                                          Exton          PA           19341
    United States Seating Company                                        101 Gordon Drive                                                          Exton          PA           19341
    United States Seating Company                                        101 Gordon Drive                         4One                             Exton          PA           19341
    United States Seating Company                                        150 Gordon Drive                                                          Exton          PA           19341
    United Steelworkers                                                  PO Box 644485                                                             Pittsburgh     PA           15264

    United Way of Greenville County, Inc.                                105 Edinburgh Court                                                       Greenville     SC           29607
    Universal Air & Gas Products                                         1140 Kingwood Avenue                                                      Norfolk        VA           23502
    Universal City Development Partners,
    Ltd                                   Universal Orlando              1000 Universal Studios Plaza                                              Orlando        FL           32819

    Universal Dust Collector
    Manufacturing & Supply Corporation       DBA UDC Corporation         1041 Kraemer Place                                                        Anaheim        CA           92806
    Universal Packaging                                                  130 Fortis Drive                                                          Duncan         SC           29334
    Universal Packaging                                                  PO Box 297                                                                Reidville      SC           29375
    Universal Plant Services of Nashville,
    Inc.                                     Terri Jackson               PO Box 733468                                                             Dallas         TX           75373-3468
    Universal Plant Services of Nashville,
    Inc.                                     Tim Fackler                 PO Box 733468                                                             Dallas         TX           75373-3468
    Universal Plant Services of Nashville,
    Inc.                                                                 631 Old Hickory Blvd                                                      Old Hickory    TN           37138
    Universal Plant Services of Nashville,
    Inc.                                                                 806 Seaco Court                                                           Deer Park      TX           77536
    Universal Power Equipment Inc.                                       PO Box 362                                                                Solana Beach   CA           92075
    Universal Protection Service             DBA Allied Universal        PO Box 31001-2374                                                         Pasadena       CA           91110-2374
    Universal Protection Service LP          DBA Allied Universal        PO Box 31001-2374                                                         Pasadena       CA           91110-2374
    Universal Protection Service LP                                      PO Box 31001-2374                                                         Pasadena       CA           91110-2374
    Universal Protection Service LP                                      PO Box 101034                                                             Pasadena       CA           91189
    Universal Protection Service LP                                      1551 N Tustin Avenue                     Suite 650                        Santa Ana      CA           92705
    Universal Technical Services             JASON CZARNIEKI             1245 Woods Chapel Rd                     PO Box 765                       Duncan         SC           29334
    University of Colorado Boulder           Erin Lind                   1540 30th Street, Room 114                                                Boulder        CO           80309
    University of Colorado Boulder                                       1800 Grant Street, Suite 600                                              Denver         CO           80203
    University of Michigan                                               2050 Fleming Administration Bldg.        503 Thompson                     Ann Arbor      MI           48109
    Universum Communications, Inc                                        500 7th Avenue                           8th Floor                        New York       NY           10018
    Uni-Vue Inc                              Pamela Lee                  1107 Naughton Road                                                        Troy           MI           48083
    Unum Life Insurance Company of
    America                                                              PO Box 406946                                                             Atlanta        GA           30384-6946




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    Unum Life Insurance Company of
    America                                                                1 Fountain Square                                                            Chattanooga      TN           37402-1330
    Unwired Holdings, LLC                  DBA MPD Digital                 415 Flint Avenue                                                             Albany           GA           31701
    UpKeep Technologies Inc.                                               1100 Glendon Ave                      Suite 1715                             Los Angeles      CA           90024
    Uplogix, Inc.                          Jason McKenzie                  7600B N. Capital of Texas Hwy         Suite 220                              Austin           TX           78731
    Uplogix, Inc.                                                          PO Box 670691                                                                Dallas           TX           75267
    Uplogix, Inc.                                                          7600B N. Capital of Texas Hwy         Suite 220                              Austin           TX           78731
    UPS                                                                    PO Box 7247-0244                                                             Philadelphia     PA           19170-0001
    UPS Supply Chain Solutions, Inc                                        PO Box 650690                                                                Dallas           TX           75265-0690
    UpState Calibration & Controls, Inc.                                   1550 Pine Top Rd                                                             Belton           SC           29627
    UQM Technologies, Inc.                 ADRIAN SCHAFFER                 4120 Specialty Place                                                         Longmont         CO           80504
    UQM Technologies, Inc.                 CLIFF STOKES                    4120 Specialty Place                                                         Longmont         CO           80504
    UQM Technologies, Inc.                 JAKE DAWSON                     4120 Specialty Place                                                         Longmont         CO           80504
    UQM Technologies, Inc.                 ROXANNE SALAZAR                 4120 Specialty Place                                                         Longmont         CO           80504
    UQM Technologies, Inc.                                                 4120 Specialty Place                                                         Longmont         CO           80504
    Urban Transportation Associates        David Vanderputten              4240 Airport Rd.                      Suite 212                              Cincinnati       OH           45226
    Urban Transportation Associates        Debbie Scheetz                  4240 Airport Rd.                      Suite 212                              Cincinnati       OH           45226
    Urban Transportation Associates        Mark Vanderputten               4240 Airport Rd.                      Suite 212                              Cincinnati       OH           45226
    Urban Transportation Associates                                        4240 Airport Rd.                      Suite 212                              Cincinnati       OH           45226
    Urich, Linda                                                           Address Redacted
    Urquiza, Jesus                                                         Address Redacted
    US Attorney for District of Delaware   US Attorney for Delaware        1313 N Market Street                  Hercules Building                      Wilmington       DE           19801
    US Bank                                                                EP-MN-WN1A                                                                   St. Paul         MN           55101
    US Customs & Border Protection                                         P.O. Box 979126                                                              St Louis         MO           63197-9000
    US Hybrid                                                              445 Maple Ave                                                                Torrance         CA           90505
    US Prototype, Inc.                     DBA Rapid Cut                   PO Box 609                                                                   Hampstead        NC           28443
    USAT                                                                   PO Box 9334                                                                  Chapel Hill      NC           27515
    USAT Corp                              Joey Lalor                      104 S Estes Dr.                                                              Chapel Hill      NC           27514
    USAT Corp                              Shelieta Simms                  104 S Estes Dr.                                                              Chapel Hill      NC           27514
    USAT Corp                                                              104 S Estes Dr.                                                              Chapel Hill      NC           27514
    USCutter, Inc.                         AP/AR                           17945 NE 65th St, Suite 200                                                  Redmond          WA           98052
    USCutter, Inc.                         Peter Robinson                  17945 NE 65th St, Suite 200                                                  Redmond          WA           98052

    USDI                            Unique Systems Design, Inc             2550 S. Telegraph Road                Suite 240                              Bloomfield Hills MI           48302
    USE Supplier# 2036              Helind Electronics, Inc.               2636 N. First St.                     Suite 107                              San Jose         CA           95134
    USE Supplier# 2036              Sherry Johnson                         2636 N. First St.                     Suite 107                              San Jose         CA           95134
    USTC-UNITED STATES
    TECHNOLOGIES COMMUNICATION
    CORP                                                                   225 Raritan Center Parkway                                                   Edison           NJ           08837
    USW - Proterra Training and
    Apprenticeship Trust Fund       United States Steelworkers Local 675   1200 E. 220th St.                                                            Carson           CA           90745
    Utah Clean Air Partnership Inc. UCAIR                                  195 N 1950 W                                                                 Salt Lake City   UT           84116
    Utah Clean Cities                                                      451 So. State Street                  Suite 345                              Salt Lake City   UT           84111
    Utah Clean Energy               DBA Utah Clean Energy                  1014 2nd Avenue                                                              Salt Lake City   UT           84103
    Utah Dept of Taxation           Attn Bankruptcy Section                210 North 1950 West                                                          Salt Lake City   UT           84134
    Utah State Tax Commission                                              210 North 1950 West                                                          Salt Lake City   UT           84134-0180

    Utah State Treasurer                   Treasurers Office               Unclaimed Property Division           168 N 1950 W Suite 102                 Salt Lake City   UT           84116
    UTC Fire & Security Americas           Eric Mackie                     5624 Collections Center Dr                                                   Chicago          IL           60693
    UTC Fire & Security Americas           Mary Kay Bash                   5624 Collections Center Dr                                                   Chicago          IL           60693
    UTC Fire & Security Americas           Sarah Brower                    5624 Collections Center Dr                                                   Chicago          IL           60693
    UTC Fire & Security Americas                                           5624 Collections Center Dr                                                   Chicago          IL           60693




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    Uth, Alan                                                            Address Redacted

                                                                                                                 4021 Ambassador
    UV Logistics, LLC                      DBA United Vision Logistics   DBA United Vision Logistics             Caffery Parkway                        Lafayette          LA           70503
    Uvalle Balcazar, Kevyn                                               Address Redacted
    Uy, Kathlyn Jean                                                     Address Redacted
    Uy, Katrina                                                          Address Redacted
    V.L. Chapman Electric, Inc             Lad Chapman                   624 River Street                                                               Grand River        OH           44045-0087
    Vaco LLC                                                             5501 Virginia Way                       Suite 120                              Brentwood          TN           37027

                                                                         Work shop NOS.7-11 On 9 Floor,          NOS.491-501 Castle
    Vadas Buy Company Limited                                            Block B, Hi-Tech INDL CTR.              Peak Road            Tsuen Wan, N.T.   Hong Kong                       999077        China
    Vairo Village Limited Partnership                                    10 Vairo Boulevard                                                             State College      PA           16803
    Vairo Village Limited Partnership                                    PO Box 609                                                                     Southeastern       PA           19399
    Valame, Neelesh                                                      Address Redacted
    Valdivia, Marilyn                                                    Address Redacted

    Valeda Co LLC DBA QStraint USA         CHERYL Kerchner               5553 Ravenswood Blvd                    Suite 110                              Fort Lauderdale FL              33312

    Valeda Co LLC DBA QStraint USA                                       5553 Ravenswood Blvd                    Suite 110                              Fort Lauderdale FL              33312
    Valenzuela, Jose                                                     Address Redacted
    Valeo Thermal Commercial Vehicles
    North America, Inc.                    Jessica Tavernier             22150 Challenger Dr                                                            Elkhart            IN           46514
    Valeo Thermal Commercial Vehicles
    North America, Inc.                    Michael Zonca                 22150 Challenger Dr                                                            Elkhart            IN           46514
    Valeo Thermal Commercial Vehicles
    North America, Inc.                    Ryan Stephens                 22150 Challenger Dr                                                            Elkhart            IN           46514
    Valeo Thermal Commercial Vehicles
    North America, Inc.                                                  PO Box 2266                                                                    Carol Stream       IL           60132
    Valerie M Salinas-Davis dba Salinas-
    Davis, LLC                             DBA Salinas-Davis, LLC        Address Redacted
    Valid Manufacturing Ltd.                                             5320 48th Ave SE                                                               Salmon Arm         BC           V1E 1X2       Canada
    Valimail Inc.                                                        1942 Broadway St. Ste 314C                                                     Boulder            CO           80302
    Vallbracht, Jarred                                                   Address Redacted
    Valle Gardening and Landscaping        Franklin Valle                PO Box 5099                                                                    Redwood City       CA           94063
    Vallen Distribution, Inc.              ANDREA CRUZ                   PO Box 404753                                                                  Atlanta            GA           30384
    Vallen Distribution, Inc.              BRYAN LEWIS                   PO Box 404753                                                                  Atlanta            GA           30384
    Vallen Distribution, Inc.              CHRIS RAINES                  PO Box 404753                                                                  Atlanta            GA           30384
    Vallen Distribution, Inc.                                            PO Box 404753                                                                  Atlanta            GA           30384
    Valley Vista Services                                                17445 E Railroad Street                                                        Industry           CA           91748
    Valley Vista Services Inc.             City of Industry              17445 E Railroad Street                                                        City of Industry   CA           91748
    Valmont Industries Inc.                Kayla Miller                  One Valmont Plaza - 5th Floor                                                  Omaha              NE           68154
    Valmont Industries Inc.                Rahul Kulkarni                One Valmont Plaza - 5th Floor                                                  Omaha              NE           68154
    Valmont Industries Inc.                Theresa Stenger               One Valmont Plaza - 5th Floor                                                  Omaha              NE           68154
    Valmont Industries Inc.                                              One Valmont Plaza - 5th Floor                                                  Omaha              NE           68154
    Valverde, Nancy                                                      Address Redacted
    Van Hool NV                            Jan Ruyts                     Bernard Van Hoolstraat 58                                                      Koningshooikt      Lier         2500          Belgium
    Van Vleet Jr., Richard                                               Address Redacted
    Vander-Bend Manufacturing, LLC         Lori Murdock                  2701 Orchard Parkway                                                           San Jose           CA           95134
    Vander-Bend Manufacturing, LLC                                       2701 Orchard Parkway                                                           San Jose           CA           95134
    Vang, Nenglue                                                        Address Redacted
    VanHout III, Harold                                                  Address Redacted




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    Vanner, Inc.                          Doug adams                         4282 Reynolds Drive                                                       Hilliard        OH           43026
    Vanner, Inc.                                                             4282 Reynolds Drive                                                       Hilliard        OH           43026
    Vapor Bus International               KIM SHAW                           2259 Reliable Parkway                                                     Chicago         IL           60686
    Vapor Bus International               Sue Jones                          2259 Reliable Parkway                                                     Chicago         IL           60686
    Vapor Bus International                                                  2259 Reliable Parkway                                                     Chicago         IL           60686
    Vargas, Angelica                                                         Address Redacted
    VARI Sales Corporation                Kevin Graham                       PO Box 660050                                                             Dallas          TX           75266
    VARI Sales Corporation                                                   1221 S Belt Line Rd                   Suite 500                           Coppell         TX           75019
    VARI Sales Corporation                                                   PO Box 660050                                                             Dallas          TX           75266
    Variant Displays                                                         5007 Ontario Mills Parkway                                                Ontario         CA           91764
    Varidesk LLC                                                             PO Box 660050                                                             Dallas          TX           75266
    Varsity Restaurants, Inc.             Arguello Catering Co               1757 East Bayshore Rd #14                                                 Redwood City    CA           94063
    Vaughn Belting Co., Inc.                                                 PO Box 5505                                                               Spartanburg     SC           29304
    Vaughn, Jack                                                             Address Redacted
    VCA Europe S.R.L                                                         Via Pasubio, 5                                                            Dalmine (BG)                 24044         Italy
    VCA North America                     Tania Ganguly                      17484 N Laurel Park Drive             Suite 200E                          Livonia         MI           48152
    Vector North America Inc.             Casey OKeefe SALES ASSISTANT       39500 Orchard Hill Place, Suite 400                                       Novi            MI           48375
    Vector North America Inc.                                                39500 Orchard Hill Place, Suite 400                                       Novi            MI           48375
    Vedavathi Ramachandran, Neha                                             Address Redacted
    Vehicle Improvement Products, Inc.    CHARLENE SCHULMEISTER              18881 IMMI Way                                                            Westfield       IN           46074
    Vehicle Improvement Products, Inc.    TERESA KNOTH                       18881 IMMI Way                                                            Westfield       IN           46074
    Vehicle Improvement Products, Inc.    VIP SALES VIP SALES                18881 IMMI Way                                                            Westfield       IN           46074
    Vehicle Improvement Products, Inc.                                       18881 IMMI Way                                                            Westfield       IN           46074
    Veideman, Ethan                                                          Address Redacted
    Velazquez, Brandon                                                       Address Redacted
    Veloz                                 Brandy Ream                        500 Capitol Mall, Suite 2350                                              Sacramento      CA           95814
    Venable LLP                                                              750 East Pratt Street                 Suite 900                           Baltimore       MD           21202
    VenAir, Inc.                          CARLOS VAN ISSCHOT                 16713 Park Centre Blvd                                                    Miami Gardens   FL           33017
    VenAir, Inc.                          LAURA MONTER                       16713 Park Centre Blvd                                                    Miami Gardens   FL           33017
    VenAir, Inc.                          Nicole Cruz                        16713 Park Centre Blvd                                                    Miami Gardens   FL           33017
    VenAir, Inc.                                                             16713 Park Centre Blvd                                                    Miami Gardens   FL           33017
    Ventac & Company Limited                                                 Fitzwilliam House                     Blessington                         Wicklow         CO           W91 V972      Ireland
    Venti Printing                                                           216 S Citrus St                                                           West Covina     CA           91791-2144
    Ventura Inc                           ASHLEY HODGE                       160 Gibson Court                                                          Dallas          NC           28034
    Ventura Inc                           BETH MORGAN                        160 Gibson Court                                                          Dallas          NC           28034
    Ventura Inc                           BRYCE MARSHALL                     160 Gibson Court                                                          Dallas          NC           28034
    Ventura Inc                                                              160 Gibson Court                                                          Dallas          NC           28034
    Ventura Systems B.V.                  DAVID PARR                         De Marne 28                                                               Bolsward                     8701          Netherlands
    Ventura Systems B.V.                  SIETO YKEMA                        De Marne 28                                                               Bolsward                     8701          Netherlands

    Verband der Automobilindustrie e.V.   German Association of the                                                Ausstellerservice /
    (VDA)                                 Automotive Industry                Behrenstrasse 35                      Exhibitor Service                   Berlin                       D-10117       Germany
    Verdae Properties, LLC                Hollingsworth Funds, Inc.          124 Verdae Blvd                       Suite 502                           Greenville      SC           29607
    Verespey, David                                                          Address Redacted
    Vericom LLC                                                              14320 James Road                      Suite 200                           Rogers          MN           55374
    Verizon Wireless                      Bankruptcy Administration          500 Technology Drive                  Suite 550                           Weldon Spring   MO           63304
    Verizon Wireless                                                         PO Box 660108                                                             Dallas          TX           75266
    Vermeulen & Associates, LLC           dba Contractors Licensing Center   3457 Castle Creek Court                                                   Roseville       CA           95661
    Vermeulen & Associates, LLC           dba Contractors Licensing Center   4120 Douglas Blvd.                    #306-504                            Granite Bay     CA           95746
    Vermeulen & Associates, LLC           dba Contractors Licensing Center   2821 28th Street                                                          Sacramento      CA           95818
    Vermont Department of Taxes                                              133 State Street                                                          Montpelier      VT           05633
    Vermont Dept of Taxes                                                    133 State St                                                              Montpelier      VT           05633-1401




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    Vermont State Treasurers Office   Unclaimed Property Division       109 State Street                                                              Montpelier     VT            05609-6200
    Vernatter, Aaron                                                    Address Redacted
    Vernay Laboratories, Inc.         KIM DILLON                        PO Box 530105                                                                 Atlanta        GA            30353-0105
    Vernay Laboratories, Inc.         Sonja Alexander                   PO Box 530105                                                                 Atlanta        GA            30353-0105
    Vernay Laboratories, Inc.         VANESSA PARKS                     PO Box 530105                                                                 Atlanta        GA            30353-0105
    Vernay Laboratories, Inc.                                           PO Box 530105                                                                 Atlanta        GA            30353-0105
    Veronica Quick                                                      Address Redacted
    Versgrove Moving Systems, Inc.                                      1400 Nicora Avenue                                                            San Jose        CA           95133
    Vertex, Inc.                                                        2301 Renaissance Boulevard                                                    King of Prussia PA           19406-2772
    Vervair, Michael                                                    Address Redacted
    Vess, Timothy                                                       Address Redacted
    VIA Metropolitan Transit                                            800 West Myrtle                                                               San Antonio    TX            78212
    Vianova Technologies Inc.         Christopher Fender                43 Polk Ave                                                                   Hempstead      NY            11550
    Vianova Technologies Inc.                                           43 Polk Ave                                                                   Hempstead      NY            11550
    Viars, Chris                                                        Address Redacted
                                                                                                                                                      West
    Viavid Broadcasting Corp.                                           PO Box 93074                           Caulfeild Village                      Vancouver      BC            V7W 3G4      Canada
    Vicinity Motor (Bus) USA Corp.                                      2219 Rimland Dr                        #301                                   Bellingham     WA            98226
    Victor Gonzalez                                                     Address Redacted
    Vient, James                                                        Address Redacted
    Vigilant Technologies LLC                                           1050 Wilshire Drive, Suite 307                                                Troy           MI            48084
    Vij, Aashiv                                                         Address Redacted
    Viking Billing Service            CLAIMS                            PO Box 59207                                                                  Minneapolis    MN            55459
    Villacorta, Ernesto                                                 Address Redacted
    Villanueva, Jeremy                                                  Address Redacted
    Villarreal, Christian                                               Address Redacted
    Vinayak, Arun                                                       Address Redacted
    Vincent Communications Inc                                          5773 E. Shields Ave                                                           Fresno         CA            93727
    Vinculado, Joseph                                                   Address Redacted
    Viness, Samuel                                                      Address Redacted
    Virginia Department of Taxation   Virginia Tax                      PO Box 1115                                                                   Richmond       VA            23218-1115
    Virginia Department of Taxation   Virginia Tax                      1957 Westmoreland St                                                          Richmond       VA            23230
    Virginia Department of Taxation                                     PO Box 1115                                                                   Richmond       VA            23218-1115
    Virginia Panel Corporation                                          1400 New Hope Road                                                            Waynesboro     VA            22980
    Virginia Transit Association                                        1108 E. Main Street                    Suite 1108                             Richmond       VA            23219
    ViriCiti LLC                      VALERY KANG                       Willem de Zwijgerlaan 350                                                     Amsterdam                                 Netherlands
    ViriCiti LLC                      VALERY KANG                       112 W Stone Ave, Suite B                                                      Greenville     SC            29609
                                                                                                                                                                                                United
    Visarion Limited                  The Technology Academy            DBA The Technlogy Academy              37-39 Southgate Street                 Winchester                   SO23 9EH     Kingdom
    Vishay Measurements Group, Inc.   Mico-Measurements                 951 Wendell Blvd                                                              Wendell        NC            27591
    Vision Service Plan Insurance
    Company                                                             PO Box 742788                                                                 Los Angeles    CA            90074
    Visionary Union Holdings LLC      Think Branded Media               619 S Clinton Ave                                                             Dallas         TX            75208
    Visionary Union Holdings LLC      Think Branded Media               1300 S Polk Street                     Unit 282                               Dallas         TX            75224
    Visperas, Emil                                                      Address Redacted
    Vivas Onofre, Salvador                                              Address Redacted
    vMOX, LLC                                                           125 Mineola Ave.                       Suite 306                              Roslyn Heights NY            11577
                                      Skadden, Arps, Slate, Meagher &
    Volta Trucks                      Flom LLP                          One Rodney Square                      920 N. King Street                     Wilmington     DE            19801
    Voltaiq, Inc.                     Tzeng                             15 Metrotech Center                    19th Fl UFL                            Brooklyn       NY            11201
    Voltaiq, Inc.                                                       15 Metrotech Center                    19th Fl UFL                            Brooklyn       NY            11201
    Voltaiq, Inc.                                                       20660 Stevens Creek Blvd               #339                                   Cupertino      CA            95014-2120




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    Vomela Specialty Company, Inc.    DBA Fusion Imaging                  34 Ellwood Ct.                                                               Greenville      SC           29607
    Vomela Specialty Company, Inc.    DBA Fusion Imaging                  601 West Boro Street                                                         Kaysville       UT           84307
    Vora, Raaj                                                            Address Redacted
    Vortex Industries, Inc.                                               20 Odyssey                                                                   IRVINE          CA           92618
    VOSS Automotive, Inc.             Cathy Herzog                        4640 Hillegas Road                                                           Fort Wayne      IN           46818
    VOSS Automotive, Inc.             Frank-Michael Rebhan                4640 Hillegas Road                                                           Fort Wayne      IN           46818
    VOSS Automotive, Inc.             Jacob Mcdonald                      4640 Hillegas Road                                                           Fort Wayne      IN           46818
    VOSS Automotive, Inc.                                                 4640 Hillegas Road                                                           Fort Wayne      IN           46818
    V-Soft Consulting Group, Inc.                                         101 Bullitt Lane                       Suite 205                             Louisville      KY           40222
    Vulcan Safety Shoes, Inc.                                             4745 Hugh Howell Road                                                        Tucker          GA           30084
    Vuong, Kevin                                                          Address Redacted
    Vyrian Inc.                                                           PO Box 731152                                                                Dallas          TX           75373-1152
                                                                                                                                       45-51 CHATHAM   TSIM SHA
    W&B Technology Ltd.                                                   FLAT/RM 803                            CHEVALIER HOUSE       ROAD SOUTH      TSUI            KOWLOON                    Hong Kong

    W&B Technology Ltd.                                                   Rm. 9, 11F., No. 186                   Shizheng N. 7th Rd.   Xitun Dist.     Taichung City                407           Taiwan
    W.N. Kirkland, Inc.                                                   PO Box 5425                                                                  Spartanburg     SC           29304
    WAAV, Inc.                                                            151 Pearl St., 4th Floor                                                     Boston          MA           02110
    Wager, Richard                                                        Address Redacted
    Waghu, Yusuf                                                          Address Redacted
    Wagner, Amanda                                                        Address Redacted
    Wagner, Matthew                                                       Address Redacted
    Wainwright, Spencer                                                   Address Redacted
    Waitman, Wesley                                                       Address Redacted
    Walker & Whiteside, Inc                                               PO Box 5777                                                                  Greenville      SC           29606
    Walker, Joshua                                                        Address Redacted
    Walker, Micheal                                                       Address Redacted
    Waller, Brittney                                                      Address Redacted
    Walschon Fire Protection, Inc.                                        2178 Rheem Drive                       Suite A                               Pleasanton      CA           94588
    Walsh, John                                                           Address Redacted
    Walters, Brad                                                         Address Redacted
    Walton, Dakota                                                        Address Redacted
    Walton, Katie                                                         Address Redacted
    Walton, Noah                                                          Address Redacted
    Walts Waltz                                                           120 St. Augustine Dr.                                                        Greenville      SC           29615
    WAM GP LLC                                                            222 Berkeley St                        16th Floor                            Boston          MA           02116
    Wamsley, Christina                                                    Address Redacted
    Wang Garcia, Xinyu                                                    Address Redacted
    Wang, Aaron                                                           Address Redacted
    Wang, Fang                                                            Address Redacted
    Ward, Matthew                                                         Address Redacted
    WARDJet, LLC                      AXYZ USA, Inc                       WARDJet, LLC                           180 South Ave                         Tallmadge       OH           44278
    WARDJet, LLC                      AXYZ USA, Inc                       2844 Kemper Rd E                                                             Cincinnati      OH           45241
    Ware, Justin                                                          Address Redacted
    Warner, Dawn                                                          Address Redacted
    Warner, Justin                                                        Address Redacted
    Warrick Enterprises Fabrication   WEFAB                               9 Ewing Drive                                                                West Grove      PA           19390
    Wash Pro LLC                      Charles Daniels                     414 Hammett Bridge Road                                                      Greer           SC           29650
    Wash Pro LLC                                                          1018 South Batesville Road             Suite 3B                              Greer           SC           29650
    Washington DC Office of Tax and   Bankruptcy Unit, Stephanie Jeterm
    Revenue                           Supervisory Revenue Officer         1101 4th Street SW                                                           Washington      DC           20024




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    Washington Department of Labor and
    Industries                                                                PO Box 34974                                                               Seattle         WA           98124-1974
    Washington Dept of Revenue         Attn Bankruptcy Unit                   2101 4th Ave, Suite 1400                                                   Seattle         WA           98121
    Washington State Department of
    Enterprise Services                                                       Financial Office                       PO Box 41460                        Olympia         WA           98504-1460

    Washington State Transit Association                                      2629 12th ct. SW                                                           Olympia         WA           98502
    Washington, Dana                                                          Address Redacted

    Waste Management of South Carolina                                        13775 E Wade Hampton Blvd                                                  Greer           SC           29651
    Waste Management of South
    Carolina, Inc                                                             390 Innovation Way                                                         Wellford        SC           29385
    Waters, Shaniqua                                                          Address Redacted
    Watkins, Nikki                                                            Address Redacted
    Watlow                                                                    36785 Treasury Center                                                      Chicago         IL           60694-6700
    Watson Engineering                 CHRIS DEVLIN                           1350 Shiloh Church Rd.                                                     Piedmont        SC           29673
    Watson Engineering                 CHUCK HAMPSON                          1350 Shiloh Church Rd.                                                     Piedmont        SC           29673
    Watson Engineering                 CHUCK WATSON                           1350 Shiloh Church Rd.                                                     Piedmont        SC           29673
    Watson Engineering                                                        1350 Shiloh Church Rd.                                                     Piedmont        SC           29673
    Watson Engineering                                                        6867 Reliable Parkway                                                      Chicago         IL           60686
    Watterson, Matthew                                                        Address Redacted
    Watts, Sam                                                                Address Redacted

    Wayfair, LLC                                                              100 Huntington Ave                     4 Coplay Place FL 7                 Boston          MA           02116
    Wayne County Airport Authority                                            11050 Rogell Dr                        Bldg #602                           Detroit         MI           48242
    Waytek Inc                             Amy Reusse                         2440 Galpin Ct                         PO BOX 690                          Chanhassen      MN           55317
    Waytek Inc                             Clint Bowers                       2440 Galpin Ct                         PO BOX 690                          Chanhassen      MN           55317
    Waytek Inc                             Michelle Fricker                   2440 Galpin Ct                         PO BOX 690                          Chanhassen      MN           55317
    Waytek Inc                                                                2440 Galpin Ct                         PO BOX 690                          Chanhassen      MN           55317
    WC Cressey and Son Inc                                                    2 Commerce Drive                                                           Kennebunk       ME           04043
    Weaver, Jennifer                                                          Address Redacted
    Webasto Charging Systems, Inc.         Edgar Soto                         1333 S Mayflower Ave, Suite 100                                            Monrovia        CA           91016
    Webasto Thermo & Comfort North
    America, Inc.                          Jason Brown                        15083 North Road                                                           Fenton          MI           48430
    Webb & Associates, Inc.                DBA Transit Information Products   5052 Forni Drive                       Suite B                             Concord         CA           94520
    Webb, Charles                                                             Address Redacted
    Webb, Shyanne                                                             Address Redacted
    Webb, Vincent                                                             Address Redacted
    WeDriveU, Inc.                                                            700 Airport Blvd                                                           Burlingame      CA           94010
    Weeks, Estate of Nikki                                                    Address Redacted
    Weinberger, David                                                         Address Redacted
    Weiss Asset Management                                                    222 Berkeley St                        16th Floor                          Boston          MA           02116
    Weiss Envirotronics, Inc.                                                 3881 North Greenbrooke Drive SE                                            Grand Rapids    MI           49512
    Wellman, Caleb                                                            Address Redacted
    Wells, James                                                              Address Redacted
    Wen, Hengky                                                               Address Redacted
    Wendel Rosen LLP                                                          PO Box 39877                                                               San Francisco   CA           94139-8777
    Wendel Rosen LLP                                                          1111 Broadway 24th Floor                                                   Oakland         CA           94607
    Wente, David                                                              Address Redacted
    Werner, William                                                           Address Redacted
    Wesco Distribution Inc.                                                   PO Box 676780                                                              Dallas          TX           75267−6780




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    Wesco Distribution Inc.                                                   225 W Station Square Dr., Suite #700                                      Pittsburgh       PA           15219
                                                                              225 West Station Square Dr, Suite
    WESCO Distribution, Inc.             FINANCE Ray Moore                    #700                                                                      Pittsburgh       PA           15219
                                                                              225 West Station Square Dr, Suite
    WESCO Distribution, Inc.             Nikki Robertson                      #700                                                                      Pittsburgh       PA           15219

    Wes-Garde Components Group, Inc.     Catherine Adamson                    2820 Drane Field Road                                                     Lakeland         FL           33811

    Wes-Garde Components Group, Inc.     FRANCES ADAMS                        2820 Drane Field Road                                                     Lakeland         FL           33811

    Wes-Garde Components Group, Inc.                                          2820 Drane Field Road                                                     Lakeland         FL           33811
    Wesley, Durrell                                                           Address Redacted

    West Chatham Warning Devices, Inc.                                        2208 Gamble Rd                                                            Savannah         GA           31405
                                                                                                                                                        South San
    West Coast Powder Coating, Inc       A.J. Costa                           165 Mitchell Avenue                                                       Francisco        CA           94080
    West Coast Telecom Products, Inc.                                         13309 Beach Avenue                                                        Marina del Rey   CA           90292
    West Marine Products                 DWAYNE SCHALLES                      PO Box 50060                                                              Watsonville      CA           95077-5060
    West Marine Products                 KATE BOHANNON                        PO Box 50060                                                              Watsonville      CA           95077-5060
    West Marine Products                                                      PO Box 50060                                                              Watsonville      CA           95077-5060
                                                                                                                                                        Fort
    West Marine Products, Inc           Donald Bollenbacher                   1 East Broward Blvd Ste 200                                               Lauderdale,      FL           33301
    West Penn Power                                                           PO Box 3687                                                               Akron            OH           44309-3687
    West Publishing Corporation                                               PO Box 6292                                                               Carol Stream     IL           60197
    West Virginia Office of the State                                                                                1900 Kanawha
    Treasurer                           Unclaimed Property Division           State Capitol Room E-145               Boulevard, East                    Charleston       WV           25305
    West Virginia State Tax Dept        Attn Legal Division Bankruptcy Unit   PO Box 766                                                                Charleston       WV           25323-0766
    West Virginia State Tax Dept        The Revenue Center                    1001 Lee St. E.                                                           Charleston       WV           25301
    West, Matthew                                                             Address Redacted
    West, Matthew                                                             Address Redacted
    Westchester Surplus Lines Insurance
    Company                                                                   33 Arch Street                                                            Boston           MA           02110
    Westenskow, Alan                                                          Address Redacted
    Western Audio Visual                                                      1592 N. Batavia Street                 Suite 2                            Orange           CA           92867
    Western Cascade Truck Inc                                                 12065 44th Place South                                                    Tukwila          WA           98178-3475
    Western Steel & Boiler Co.                                                4751 Fox Street                                                           Denver           CO           80216
    Westfire Inc.                                                             5350 Vivian Street                                                        Arvada           CO           80002
    Westinghouse Air Brake Technologies                                       d/b/a Vapor Bus International, a
    Corp.                               Vapor Bus International               division of Wabtec                     1010 Johnon Drive                  Buffalo Grove    IL           60089
                                        Gerard Weston Weston and
    Weston and Company, Inc.            Company, Inc.                         1988 Northlawn Blvd.                                                      Binghamton       MI           48009
    Weston Ryder                                                              Address Redacted

    Westwood Professional Services, Inc                                       12701 Whitewater Drive                 Suite 300                          Minnetonka       MN           55343
    WEX Worldwide                                                             1 Hancock Street                                                          Portland         ME           04101
    WGM Group, Inc.                                                           1111 E. Broadway                                                          Missoula         MT           59802
    Whalen, Ryan                                                              Address Redacted
    Whaley, Spencer                                                           Address Redacted
    Wharton, Eureka                                                           Address Redacted
    Wharton, Ralik                                                            Address Redacted
    Whatcom Transportation Authority    Ron Mountain                          4011 Bakerview Spur                                                       Bellingham       WA           98226




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    WHEEL-CHECK                         Stefni Cox WHEEL-CHECK              161 Bayview Heights Dr                                                  Toronto        ON           M4G 2Y7      Canada
    WHEEL-CHECK                                                             1601 Bayview Ave                       PO Box 43519                     Toronto        ON           M4G 3B5      Canada
    Wheeler, Laura                                                          Address Redacted
    Whisler, Luke                                                           Address Redacted
                                        See Latitude Applied Technologies
    White Horse Packaging Co.           White Horse Packaging Co.           PO Box 1269                                                             Fountain Inn   SC           29644
    White Horse Packaging Co.           Susan Williams                      PO Box 1269                                                             Fountain Inn   SC           29644
    White, Shawn                                                            Address Redacted
    White, Stephanie                                                        Address Redacted
    Whiteside, Yolanda                                                      Address Redacted
    Whittier, Paola                                                         Address Redacted
    Wichita State University                                                1845 Fairmount                                                          Wichita        KS           67260

    Wieland & Munich Electrication GmbH Qulectra                            Landaubogen 1                                                           Munich                      81373        Germany
    Wiemer Lillelund, Lisa                                                  Address Redacted
    Wieslaw Szymanski                                                       Address Redacted
    Wiggs, Rhys                                                             Address Redacted
    Wiivv Wearables Co                                                      402-134 Abbott St                                                       Vancouver      BC           V6B 2K4      Canada
    Wilbert, Inc                                                            2001 Oaks Parkway                                                       Belmont        NC           28012
    Wilcher, John                                                           Address Redacted
    Wilcox Electric                                                         1833 W. Hovey Ave.                                                      Normal         IL           61761
    Wilcox, Michael                                                         Address Redacted
    Wilder, Jonathan                                                        Address Redacted

    William E Paul Inc                  STN Media Inc                       PO Box 789                                                              Redondo Beach CA            90277
    William J McColl                    Waveform Design LLC                 Address Redacted
    William McMurrer                                                        Address Redacted
    William P Rumsey                    Southern Lawn and Landscape LLC     Address Redacted
    William W. Keown II                 DBA Keown Films, LLC                Address Redacted
    Williams Engineering Canada Inc.                                        10185-101 Street NW                                                     Edmonton       AB           T5J 3B1      Canada
    Williams Scotsman Inc.              Willscot, Mobile Mini Solutions     901 S Bond St                          Suite 600                        Baltimore      MD           21231-3348
    Williams TBA Supply Co., Inc.                                           934 W. 15th St                                                          Merced         CA           95340
    Williams, Antonio                                                       Address Redacted
    Williams, Benjamin                                                      Address Redacted
    Williams, Brandon                                                       Address Redacted
    Williams, Cedric                                                        Address Redacted
    Williams, Darnetta                                                      Address Redacted
    Williams, DeJoun                                                        Address Redacted
    Williams, Garreth                                                       Address Redacted
    Williams, James                                                         Address Redacted
    Williams, Kendra                                                        Address Redacted
    Williams, Portia                                                        Address Redacted
    Williams, Renarldo                                                      Address Redacted
    Williams, Tavorace                                                      Address Redacted
    Williams, Thomas                                                        Address Redacted
    Williams, Tillman                                                       Address Redacted
    Williams, Vernica                                                       Address Redacted
    Williams, William                                                       Address Redacted
    Willis (Bermuda) Limited                                                PO Box HM 1995                                                          Hamilton                    HM HX        Bermuda
    Willis Canada Inc                                                       PO Box 57008. STN A                                                     Toronto        ON           M5W 5M5      Canada
    Willis North America, Inc.                                              2698 Solution Center                                                    Chicago        IL           60677-2006
    Willis of Oregon, Inc                                                   Files 50781                                                             Los Angeles    CA           90074




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                                           Willis Towers Watson Insurance   2710 Media Center Dr. Building #6
    Willis Tower Watson                    Services West Inc #101162        Ste #120                                                                   Los Angeles        CA           90065
    Willis Towers Watson Insurance
    Services West, Inc.                                                     PO Box 101162                                                              Pasadena           CA           91189-1162
                                                                            JP Morgan Chase-Lockbox
    Willis Towers Watson Northeast, Inc.                                    Processing                                PO Box 29207                     New York           NY           10087-9207
    Willkie Farr & Gallagher LLP                                            787 Seventh Ave                                                            New York           NY           10019
    Wilson Composites, LLC                 James Bennington                 101 West Augusta Place                                                     Greenville         SC           29605
    Wilson Composites, LLC                 TIM WILSON                       101 West Augusta Place                                                     Greenville         SC           29605
    Wilson Composites, LLC                                                  101 West Augusta Place                                                     Greenville         SC           29605
    Wilson Composites, LLC                                                  4110 Old Greenville Highway                                                Central            SC           29630
    Wilson Composites, LLC                                                  PO Box 845                                                                 Central            SC           29630
    Wilson Sonsini Goodrich & Rosati                                        PO Box 742866                                                              Los Angeles        CA           90074
    Wilson Sonsini Goodrich & Rosati                                        650 Page Mill Road                                                         Palo Alto          CA           94304-1050
    Wilson Sr., Corian                                                      Address Redacted
    Wilson, Brett                                                           Address Redacted
    Wilson, Eric                                                            Address Redacted
    Wilson, Justin                                                          Address Redacted
    Wilson, Robert                                                          Address Redacted
    WIN.IT America, Inc                    Alan Liu                         18501 Arenth Ave                                                           City of Industry   CA           91748
    WIN.IT America, Inc.                                                    18501 Arenth Ave                                                           City of Industry   CA           91748
    Wind River Sales Co., Inc.             Ricardo Fiallos                  500 Wind River Way                                                         Alameda            CA           94501
    Wind River Sales Co., Inc.             Todd Degnan                      500 Wind River Way                                                         Alameda            CA           94501
    Winder, Nathan                                                          Address Redacted
                                           B. Hepworth and Co., Ltd. of
    Window Wiper Technologies, Inc         Connecticut, Inc.                800 Flanders Rd.                                                           Mystic             CT           06355
    WINDRUNNER INC. DBA
    AXSOMART                               DON AXSOM                        44 South Fairfield Rd                                                      Greenville         SC           29605
    Wipf, Austin                                                            Address Redacted
    Wiring Harness Assembly
    Manufacturing, LLC                                                      PO Box 352                                                                 Roebuck            SC           29367
    Wiring Harness Assembly
    Manufacturing, LLC                                                      336 West Rd                                                                Roebuck            SC           29376
    Wisconsin Clean Cities, Inc.           Lorrie Lisek                     231 W. Michigan, P321                                                      Milwaukee          WI           53203
    Wisconsin Department of Revenue        Special Procedures Unit          PO Box 8901                                                                Madison            WI           53708-8901
    Wisconsin Department of Revenue        Unclaimed Property Unit          PO Box 8982                                                                Madison            WI           53708-8982
    Wisconsin Department of Revenue                                         PO Box 8906                                                                Madison            WI           53708-8906
    Wisconsin Department of Revenue                                         PO BOX 8908                                                                Madison            WI           53708-8908
    Wisconsin Dept of Revenue                                               2135 Rimrock Rd                                                            Madison            WI           53713
    Wisconsin Public Transportation
    Association                                                             1502 W. Broadway, Suite 102                                                Madison            WI           53713
                                           BUSINESS DEVELOPMENT Sandy
    Wise Consulting Associates, Inc.       Carroll                          54 Scott Adam Road, Suite 206                                              Hunt Valley        MD           21030
                                           OFFICE ADMINISTRATOR Kim
    Wise Consulting Associates, Inc.       Gibbs                            54 Scott Adam Road, Suite 206                                              Hunt Valley        MD           21030

    Wisesorbent Technology LLC             BACKUP/ PO QS BACKUP/ PO QS      11 E. Stow Rd                                                              Marlton            NJ           09053
    Wisesorbent Technology LLC             Mei Ye                           11 E. Stow Rd                                                              Marlton            NJ           09053
    Witcher, Nathan                                                         Address Redacted
    Witt, Kendall                                                           Address Redacted
    Witten Company, Inc.                                                    PO Box 269                                                                 Owasso             OK           74055
    Wixom, Lee                                                              Address Redacted




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    Wolf Industrial Services           Coordinated Services                 PO Box 1189                                                                       Pacifica        CA           94044-6189
    Wolfe, Michael                                                          Address Redacted
    Wolfe, Samuel                                                           Address Redacted
    Wolfsdorf Rosenthal LLP                                                 1416 2nd Street                                                                   Santa Monica    CA           90401
    Womble Bond Dickinson (US) LLP     C/O Corp. Tax Dept.                  671 N. Glebe Road                                                                 Miami           FL           33131
    Womble Bond Dickinson (US) LLP                                          PO Box 601879                                                                     Charlotte       NC           28260
    Wood, Russell                                                           Address Redacted
    Woodruff Sawyer Oregon             Sandra Suter                         1050 SW Sixth Avenue, Suite 1000                                                  Portland        OR           97204
    Woodruff-Sawyer & Co.                                                   50 California Street, Floor 12                                                    San Francisco   CA           94111
    Woodruff-Sawyer Oregon, Inc                                             1001 SW 5th Avenue                    Suite 1000                                  Portland        OR           97204
    Woods, Brandon                                                          Address Redacted
    Woody, John                                                             Address Redacted
    Workday, Inc.                                                           6110 Stoneridge Mall Road                                                         Pleasanton      CA           94588

    Workers Compensation Board-Alberta                                      PO Box 2323                                                                       Edmonton        AB           T5J 3V3      Canada
    Workforce Fusion LLC                                                    208 N Columbus Ave                                                                Mount Vernon    NY           10552
    Workiva Inc.                                                            2900 University Blvd                                                              Ames            IA           50010
    Workman Electrical Services Inc    Ryan Workman                         4279 Highway 101                                                                  Woodruff        SC           29388
    Workman Electrical Services Inc                                         PO Box 821                                                                        Woodruff        SC           29388
    Workwell Occupational Health                                            135 Commonwealth Dr                   Suite 120                                   Greenville      SC           29615
    Worsham, Gregory                                                        Address Redacted
    WPZ Distribution LLC               Printingblue.com                     PO Box 690325                                                                     San Antonio     TX           78269
                                       DBA Precision Metal Manufacturing,   DBA Precision Metal Manufacturing,
    WR Rocky I, LLC                    LLC                                  LLC                                   11060 Irma Drive.                           Northglenn      CO           80233
    Wright II, James                                                        Address Redacted
    Wright Jr., Klinton                                                     Address Redacted
    Wright, Aaron                                                           Address Redacted
    Wright, Owen                                                            Address Redacted
    Wu, William                                                             Address Redacted

    Wujin Kun Hao Machine Inc.                                              Jianban West Road #10                 Lijia Town                 Wujin District   Changzhou City Jiangsu       213000       China
    Wurth Electronics ICS Inc.         FINANCE MANAGER Jason Severit        1982 Byers Rd                                                                     Miamisburg     OH            45342
    Wurth Electronics ICS Inc.                                              1982 Byers Rd                                                                     Miamisburg     OH            45342
    Wurth Electronics ICS Inc.                                              7496 Webster Street                                                               Dayton         OH            45414
    WW Williams                                                             Address Redacted
    www.rammount.com                                                        8410 Dallas Avenue South                                                          Seattle         WA           98018
    Wyche, P.A.                        Adrea Constance                      44 East Camperdown Way                PO Box 728                                  Greenville      SC           29602
    Wyche, P.A.                        Diann Coffey                         44 East Camperdown Way                PO Box 728                                  Greenville      SC           29602
    Wyche, P.A.                                                             44 East Camperdown Way                PO Box 728                                  Greenville      SC           29602
    Wynnik, Michael                                                         Address Redacted

    Wyoming Dept of Revenue                                                 122 West 25th Street, Suite E301      Herschler Building East                     Cheyenne        WY           82002
                                                                                                                  122 West 25th St., Suite
    Wyoming Treasurers Office          Wyoming Unclaimed Property           Herschler Building East               E300                                        Cheyenne        WY           82002
    XD Innovation Services, LLC        Elayna Nagy                          9800 Mount Pyramid Ct. Suite 400                                                  Englewood       CO           80112
    XD Innovation Services, LLC                                             9800 Mount Pyramid Ct                 Suite 400                                   Englewood       CO           80112
    Xerox Transport Solutions Inc.                                          PO Box 201322                                                                     Dallas          TX           75320-1322
    Xi Yan                                                                  Address Redacted
    Xiangyang Dai                                                           Address Redacted
    Xie, Wencan                                                             Address Redacted
    XL Specialty Insurance Company                                          Seaview House, 70 Seaview Avenue                                                  Stamford        CT           06902
    Xometry, Inc.                      DEREK FERRAMOSCA                     7951 Cessna Avenue                                                                Gaithersburg    MD           20879




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    Xometry, Inc.                         Laurel Johnson               7951 Cessna Avenue                                                      Gaithersburg   MD           20879
    Xometry, Inc.                         Polly Calhoun                7951 Cessna Avenue                                                      Gaithersburg   MD           20879
    Xometry, Inc.                                                      7951 Cessna Avenue                                                      Gaithersburg   MD           20879
    XPO Logistics                                                      PO Box 5160                                                             Portland       OR           97208
    Xpressmyself.com LLC                  SmartSign                    300 Cadman Plaza West                  Suite 1303                       Brooklyn       NY           11201
    XT-Shenzhen Zhenrong Era Supply                                    Room 1501, Guowei E-Commerce
    Chain Management Co. Ltd                                           Building                               Luo Hu District                  Shenzhen                    518004        China
    Xu, Preston                                                        Address Redacted
    Yan, Xi                                                            Address Redacted
    Yanez, Gustavo                                                     Address Redacted
    Yang, Liwen                                                        Address Redacted
    YELLALA MUDDU, ANITHA RAJU                                         Address Redacted
    Yen, Stephanie                                                     Address Redacted
    Yerman, Elyse                                                      Address Redacted
    Yes on the Los Angeles County Traffic
    Improvement                                                        777 S. Figueroa St., Suite 4050                                         Los Angeles    CA           90017
    Yi, Young                                                          Address Redacted
    Yila Properties                                                    2832 Sargent Ave.                                                       San Pablo      CA           94806
    Yildiz, Cagkan                                                     Address Redacted
    Yildiz, Emrah                                                      Address Redacted
    Yinlun TDI, LLC                       Thermal Dynamics             344 Rolling Hill Rd                    Suite 201                        Mooresville    NC           28117
    Yinlun TDI, LLC                       Thermal Dynamics             4850 E Airport Dr.                                                      Ontario        CA           91761
    Yokohama Industries Americas          Alicia Gehefer               474 NEWELL STREET                                                       PIANESVILLE    OH           44077
    Yokohama Industries Americas          DEBI COLOMBO                 474 NEWELL STREET                                                       PIANESVILLE    OH           44077
    Yokohama Industries Americas          JOSE CAMARILLO               474 NEWELL STREET                                                       PIANESVILLE    OH           44077
    Yokohama Industries Americas                                       103 Industry Drive                                                      Versailles     KY           40383
    Yokohama Industries Americas                                       474 NEWELL STREET                                                       PIANESVILLE    OH           44077
    Yokohama Industries Americas                                       7861 Solution Center                   #777861                          Chicago        IL           60677-7008
    York Graphic Services Co. dba The
    YGS Group                             DBA The YGS Group            3650 West Market Street                                                 York           PA           17404
    York Saw and Knife Co,. Inc.                                       295 Emig Rd                                                             York           PA           17406
    York, Matthew                                                      Address Redacted
                                                                                                                                               San Juan
    Yorke Engineering LLC               Judith Yorke                   31726 Rancho Viejo Rd, Ste 218                                          Capistrano     CA           92675
    Young Office Environments, Inc.                                    1280 Ridge Road                                                         Greenville     SC           29607-4626
    Young, Amy                                                         Address Redacted
    Young, Brandon                                                     Address Redacted
    Young, Devon                                                       Address Redacted
    Young, Steve                                                       Address Redacted
                                                                                                                                               South San
    Your Party Rental Company                                          360 Shaw Road, Suite D                                                  Francisco      CA           94080

    YPoint Capital DBA Loadstar Sensors                                48521 Warm Springs Blvd                                                 Fremont        CA           94539
    YRC Freight                                                        PO Box 905587                                                           Charlotte      NC           28290
    YRC Freight                                                        PO Box 93151                                                            Chicago        IL           60673-3151
    Yu Byun                             DBA Paul Byun / Videographer   Address Redacted
    Yuen, Anthony                                                      Address Redacted
    Yumang, Melvin                                                     Address Redacted
    Z Tech                                                             PO Box 1609                                                             Kihei          HI           96753
    Zafra, Hannah                                                      Address Redacted
    Zamiri, Morteza                                                    Address Redacted




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    ZAPI Inc                          In Motion US LLC             DBA In Motion US LLC                     3157 State Street                   Blacksburg      VA           24060
    ZAPI Inc                          In Motion US LLC             3157 State Street                                                            Blacksburg      VA           24060
    Zaragoza Rodriguez, Salvador                                   Address Redacted
    Zarate Osorio, Andorich                                        Address Redacted
    Zarazua, Ivan                                                  Address Redacted
    Zavala, Everth                                                 Address Redacted
    Zefco Industrial Flooring, Inc.                                112 Murdock Rd                                                               Belton          SC           29627
    Zelezny, Noah                                                  Address Redacted
    Zellmer, Tyler                                                 Address Redacted
    Zellmer, Tyler                                                 Address Redacted
    Zemarc Corporation                                             6431 Flotilla St.                                                            Los Angeles     CA           90040
    Zen II, LLC                                                    924 South Main Street                                                        Greenville      SC           29601
    Zen II, LLC                                                    1708C Augusta St. #190                                                       Greenville      SC           29605
    ZeroCater, Inc.                   Sarah Little                 115 Stillman Street                                                          San Francisco   CA           94107
    Zetley, Aaron                                                  Address Redacted

    ZF Friedrichshafen AG             DANIEL DUDEK                 CV Axle Systems                          Donaustrasse 25-71                  Passau                       94030         Germany

    ZF Friedrichshafen AG             EDDIE STRICKLAND             CV Axle Systems                          Donaustrasse 25-71                  Passau                       94030         Germany

    ZF Friedrichshafen AG             ELISABETH WOELFL             CV Axle Systems                          Donaustrasse 25-71                  Passau                       94030         Germany

    ZF Friedrichshafen AG                                          CV Axle Systems                          Donaustrasse 25-71                  Passau                       94030         Germany
    ZF Industries -Gainesville LLC    GREG HENDERSON               PO Box 5826                                                                  Carol Stream    IL           60197-5826
    ZF Industries -Gainesville LLC    KATHY CASH                   PO Box 5826                                                                  Carol Stream    IL           60197-5826
    ZF Industries -Gainesville LLC    LISA MILLER                  PO Box 5826                                                                  Carol Stream    IL           60197-5826
    ZF Industries -Gainesville LLC                                 PO Box 5826                                                                  Carol Stream    IL           60197-5826
    ZF Services North America LLC     Carlos Aguinaga              777 Hickory Hill Drive                                                       Vernon Hills    IL           60061
    ZF Services North America LLC     NANCY VHL BIN13 ANDERSEN     777 Hickory Hill Drive                                                       Vernon Hills    IL           60061
    ZF Services North America LLC     Peter Sailer                 777 Hickory Hill Drive                                                       Vernon Hills    IL           60061
    ZF Services North America LLC                                  777 Hickory Hill Drive                                                       Vernon Hills    IL           60061
    ZF SERVICES NORTH AMERICA,
    LLC                               NANCY VHL BIN13 ANDERSEN     PO Box 5820                                                                  Carol Stream    IL           60197
    ZF SERVICES NORTH AMERICA,
    LLC                                                            PO Box 5820                                                                  Carol Stream    IL           60197
    ZF Services, LLC                                               777 Hickory Hill Drive                                                       Vernon Hills    IL           60061
    ZF Suspension Technology
    Guadalajara S.A de C.V.           Peter Sailer                 Km 3.5 Carretera el salto a la capilla                                       El Salto                     45680         Mexico
    ZF Suspension Technology
    Guadalajara S.A de C.V.                                        Km 3.5 Carretera el salto a la capilla                                       El Salto                     45680         Mexico
    Zhang, Jing                                                    Address Redacted
    Zhao, Xiaofeng                                                 Address Redacted

                                                                                                            West conjunction of
                                                                                                            Zhongxing road and BAK
    Zhengzhou BAK Battery Co., Ltd                                 300 meters of North road                 road                                Zhengzhou                    451450        China
    Zielinski, John                                                Address Redacted
    Zing                                                           431 East Colfax Avenue Ste 200                                               South Bend      IN           46617-4707
    Zion National Park                                             PO Box 384                                                                   Springdale      UT           84767
    Zoho Corporation                                               PO Box 894926                                                                Los Angeles     CA           90189
    Zoho Corporation                                               4141 Hacienda Drive                                                          Pleasanton      CA           94588




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    Zonar Systems, Inc.               Scott Kawa                   18200 Cascade Ave. S                                                 Seattle      WA         98188
    Zonar Systems, Inc.                                            PO Box 207038                                                        Dallas       TX         75320-7038
    Zonar Systems, Inc.                                            18200 Cascade Ave. S                                                 Seattle      WA         98188
    Zoom Video Communications, Inc.                                55 Almaden Blvd.                    Suite 600                        San Jose     CA         95113
    Zubin Maharaj                                                  Address Redacted
    Zuckerman Spaeder LLP                                          1800 M Street NW                    STE 1000                         Washington   DC         20036-5802
    Zug, Corinne                                                   Address Redacted
    Zybek Advanced Products                                        2845 29th Street                                                     Boulder      CO         80301




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 15Five                                 Dalton Taylor                Dept LA 25012                                            Pasadena           CA           91185-5012
                                                                     235 Montgomery Street,
 3Degrees Group, Inc.                                                Suite 320                                                San Francisco      CA           94104
                                                                     601 West 26th Street,
 601 W Companies LLC                                                 Suite 1275                                               New York           NY           10001
                                                                     303 Twin Dolphin Dr,
 A2Q2                                   Kim Le, CEO                  Ste. 600                                                 Redwood City       CA           94065
                                                                     Department of
 AAMJ                                   Marshall Chimwedzi, Director Transportation         315 Patton Hall                   Normal             AL           35762
 AAMU                                   Attn Marshall Chimwedzi      453 Buchanan Way                                         Normal             AL           35762
                                                                     Department of
 AAMU                                   Marshall Chimwedzi, Director Transportation         315 Patton Hall                   Normal             AL           35762
 AAMU Central Receiving                 Attn Marshall Chimwedzi      453 Buchanan Way                                         Normal             AL           35762
 ABB Inc.                                                            305 Gregson Dr.                                          Cary               NC           27511
 ABB Transport SCS                                                   Barbierstrat 92 78                                       IMDE                            BE-1861      Belgium

 ABB, Inc.                              Dr. David Coats            1021 Main Campus Drive                                     Raleigh            NC           27606

 ABB, Inc.                              Dr. V.R. Ramanan           1021 Main Campus Drive                                     Raleigh            NC           27606

 ABC Bus, Inc.                                                     17649 W. Colonial Drive                                    Winter Garden      FL           34787
                                                                   17469 West Colonial
 ABC Companies                                                     Drive                                                      West Garden        FL           34787
 ABC Companies                                                     7890 Enterprise Dr.                                        Newark             CA           94560

 Accounting Division, City of Everett                              PO Box 12130                                               Everett            WA           98206-2130

 Ace Doran Hauling & Rigging Co.                                   10765 Medallion Drive                                      Cincinnati         OH           45241
 Acronics                                                          2102 Commerce Dr                                           San Jose           CA           95131
 ADA Trans                                                         Erasmuslaan 10                                             Zemst                           1804         Belgium
 ADB Transport SCS                                                 Barbierstrat 92 78                                         Meise                           BE-1861      Belgium
 Adduxi Inc.                                                       1857 Enterprise Drive                                      Rochester Hills    MI           48309
 Adduxi, Inc.                           Chief Legal Officer        2791 Research Drive                                        Rochester Hills    MI           48309
                                                                   200 Constitution Avenue,
 Administrative Review Board            U.S. Department of Labor   N.W.                                                       Washington         DC           20210
 Ado Professional Solutions, Inc.       Linda Bowman, Manager      4830 W Kennedy Blvd                                        Tampa              FL           33609
 Advanced Door Systems, Inc                                        118A Production Drive                                      Yorktown           VA           23693

 Advanced Technology International
 dba SCRA Applied R&D                                              5300 International Blvd                                    North Charleston   SC           29418

 Aerotek, Inc.                          Attn West Region           2625 S Plaza Dr, Ste 200                                   Tempe              AZ           85251
 Aerotek, Inc.                          Contracts Department       7301 Parkway Dr.                                           Hanover            MD           21076
                                                                   Suite 950-Box 91, 505
 AES Engineering Ltd.                                              Burrard                                                    Vancouver          BC           V7X 1M4      Canada




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 AGT Global Logistics                                                800 Roosevelt Rd. C300                                        Glen Ellyn            IL           60137
 AIA - Studio Anand Sheth              Anand Sheth                   3371 21st Street #1                                           San Francisco         CA           94110
                                                                     ATL 1600 M H Jackson
 Air France Atlanta                                                  Service Room                                                  Atlanta               GA           30320
                                                                     5352 W. Imperial
 Air menzies international                                           Highway, Suite 700                                            Los Angeles           CA           90045
                                                                     5353 W. Imperial
 Air Menzies International                                           Highway Suite 700                                             Los Angeles           CA           90045
                                                                     5353 West Imperial Hwy
 Air Menzies International (USA) Inc                                 Suite 100                                                     Los Angeles           CA           90045
 Air Systems Components Inc.                                         605 Shiloh Rd                                                 Plano                 TX           75074
                                                                     7207 Earhart Drive, Floor
 Airports Design & Development         Attn FC40645                  323                                                           Sacramento            CA           95837
 AJ Cederoth                                                         Address Redacted
 Alabama A & M University              Accounts Payable              Rm. 105 Patton Hall                                           Normal                AL           35762
 Alabama A & M University                                            4900 Meridian Street      Patton Hall, Rm 315                 Normal                AL           35762
 Alabama A&M                           Accounts Payable              Rm. 105 Patton Hall                                           Normal                AL           35762
 Alabama A&M                                                         315 Patton Hall                                               Normal                AL           35764
 Alabama A&M                                                         4900 Meridian Street      Patton Hall, Rm 315                 Normal                AL           35762
 Alabama A&M University                                              315 Patton Hall                                               Normal                AL           35764
 Alabama Agricultural and              Dr. Andrew Hugine, Jr,        4900 Meridian Street
 Mechanical University                 President                     North                                                         Normal                AL           35762
 Alabama Agricultural and
 Mechanical University                                               315 Patton Hall                                               Normal                AL           35762

 Albemarle County Public Schools                                     401 Mcintire Road                                             Charlottesville       VA           22902

 Aldridge Electric, Inc.               Chris Baker, Project Manager 844 E Rockland Rd                                              Libertyville          IL           60048
 Aldridge Electric, Inc.               Ms. Kris Hamelink            844 E Rockland Rd                                              Libertyville          IL           60048
                                       c/o Champion Benefits, an                                1455 Lincoln Parkway,
 Alera Group, Inc.                     Alera Group Agency, LLC      Attention Neil Phillips     Ste 100                            Atlanta               GA           30346
                                                                                                                                   Slyfield Industrial
 Alex Dennis                                                         Dennis Way                                                    Estate                             GU1 1     United Kingdom
 Alexander Denis                                                     2-3 Dennis Way             Guildford                          Surrey                             GU1 1AF   United Kingdom
 Alexander Denis Ltd                                                 Dennis Way                 Guildford                          Surrey                             GU1 1AF   United Kingdom
 Alexander Dennis                                                    16 Charlotte Square        Edinburgh                          Scotland                           EH2 4DF   United Kingdom
 Alexander Dennis                                                    PO BOX 401                                                    Skelmersdale                       WN8 9QB   United Kingdom
 Alexander Dennis Limited              Attn Ian Grindlay             16 Charlotte Square                                           Edinburgh                          EH2 4DF   United Kingdom
                                       Robert Davey, Group
                                       Commercial & Business
 Alexander Dennis Limited              Development Director          9 Central Boulevard                                           Larbert                            FK5 4RU   United Kingdom
 Alexander Dennis Limited                                            16 Charlotte Square                                           Edinburg                           EH2 4DF   United Kingdom
 Alexander Dennis Ltd                  Chassis Group                 Dennis Way                 Guildford                          Surrey                             GU1 1AF   United Kingdom
 Alexander Dennis LTD                                                2-3 Dennis Way                                                Guildford                          GU11AF    United Kingdom




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                                                                      1340 Braddock Place,
 Alexandria City Public Schools                                       Suite 620                                                    Alexandria         VA           22314
 Alexandria Transit Company           Raymond Mui, Assistant          3000 Business Center
 (DASH)                               General Manager                 Drive                                                        Alexandria         VA           22314
                                      Chief Executive Officer A-      400 N. Ashley Drive,
 A-LIGN                               LIGN Manager                    Suite 1325                                                   Tampa              FL           33602
                                      Chief Executive Officer A-      400 N. Ashley Drive,
 A-Lign Assurance                     LIGN Manager                    Suite 1325                                                   Tampa              FL           33602

 All Girls Transportation & Logistics, Attention Angela Eliacostas,   800 Roosevelt Road,
 Inc. dba AGT Global Logistics         President                      Suite 300                                                    Glen Ellyn         IL           60137
 Alliance Bus Group, Inc.                                             1928 Hyannis Ct.                                             College Park       GA           30337
                                                                      1 Independence Pointe,
 Allied Universal                                                     Suite 115                                                    Greenville         SC           29615
 Allison Transmission                                                 One Allison Way                                              Indianapolis       IN           46222
 ALT Solutions, Inc.                                                  P.O. Box 390889                                              Moutnain View      CA           94039
 ALT Solutions, Inc.                                                  PO Box 390889                                                Mt. View           CA           94039
 Altius                                                               671 W 18th St                                                Hialeah            FL           33010
 Altius USA Corp                                                      671 W 18th St                                                Hialeah            FL           33010
 American Airlines Cargo (IAD)                                        23703 Air Freight Ln                                         Sterling           VA           20166

 American Cable & Rigging Supply      Greg Baker                      34 Sterling Place                                            Mills River        NC           28759
 American Coolair                                                     PO Box 2300                                                  Jacksonville       FL           32203

 American Gypsum                                                      5960 Berkshire Ln., #800                                     Dallas             TX           75225
                                                                      401 American Seating
 American Seating Company                                             Center                                                       Grand Rapids       MI           49504
 American Society for Engineering                                     1818 North Street NW,
 Education                            Melanie Suydam                  Suite 600                                                    Washington         DC           20036
 American Society for Engineering                                     1818 North Street NW,
 Education                            Tengiz Sydykov                  Suite 600                                                    Washington         DC           20036

 American Special Ties, Inc.                                          441 Saw Mill River Road                                      Yonkers            NY           10701
 American Surveying &                                                 150 N. Wacker Dr. Suite
 Engineering, P.C.                                                    2650                                                         Chicago            IL           60606
 American Truck & Bus                                                 195 Defense Highway                                          Annapolis          MD           21401
 Americas Custom Brokers, Inc.                                        2150 NW 70th Ave                                             Miami              FL           33122
 Ameripolish, Inc.                                                    120 Commercial Ave                                           Lowell             AR           72745
 AMP                                                                  6444 S Old 3C Hwy                                            Westerville        OH           43082
 AMP                                                                  PO Box 37979                                                 Charlotte          NC           28237-7979
 AMPLY Power                                                          335 E Middlefield Road                                       Mountain View      CA           95032
 AMPS Traction, LLC                                                   6444 S Old 3C Hwy                                            Westerville        OH           43082
 Amramp of The Carolinas                                              7022 Copeland Court                                          Matthews           NC           28104
                                      Alican Onder Project
 Anadolu Isuzu                        Purchasing Supervisor           Sekerpinar Mahallesi       Otomotiv Cad. No 2                Cayirova-Kocaeli                41420        Turkey




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                                  Yusuf Tugrul Arikan Kemal
 Anadolu Isuzu Otomotiv           Ozer/ Arif Ozer             Sekerpinar Mahallesi       Otomotiv Cad. No 2               Cayirova-Kocaeli                41435        Turkey
 Andew Hinz, Senior Operations
 Manager                                                      302 Science Drive                                           Durham             NC           27708
 Angela Davis                     Attn Brenda McGill          FCCC EVC                   201 Woodland Rd                  Gaffney            SC           29341
 Anixter Inc.                     Casper Branch, 3321         836 N. Glenn Road                                           Casper             WY           82601
 Anixter Inc.                                                 PO Box 842584                                               Dallas             TX           75284-2584
 Ann Arbor Public Schools                                     2555 South State St                                         Ann Arbor          MI           48104
 Antwerp Express CVBA                                         Zoutestraat 101                                             Antwerpen                       B-2040     Belgium
 APFS, LLC dba CVPartners                                     125 S Wacker Drive                                          Chicago            IL           60606
 APFS, LLC dba CVPartners                                     2131 Landings Drive                                         Mountain View      CA           94043
 APFS, LLC dba CVPartners                                     505 Sansome Street                                          San Francisco      CA           94111
 APFS, LLC dba CVPartners
 (Addison Group)                                              125 S Wacker Drive                                          Chicago            IL           60606
                                                              305 NC HWY 105
 AppalCART                                                    Bypass                                                      Boone              NC           28607
 aPriori                                                      300 Baker Ave                                               Concord            MA           01742
                                                              6219 West Eastwood
 APS Resource                                                 Court                                                       Mequon             WI           53092
 AR Lintem/Therma-Tech
 Engineerings (Therma-Tech)                                   24900 Capitol                                               Redford            MI           48239
 Aranda Tooling                   Gerrard Connolly            13950 Yorba Ave                                             Chino              CA           91710
                                                              Highlands Ranch Arcadis
                                                              630, Plaza Drive, Suite
 Arcadis U.S. Inc.                                            100                                                         Highlands Ranch    CO           80129-2379
                                                              121 Seaport Boulevard,
 Arena, a PTC Business                                        13th Floor                                                  Boston             MA           02210
 Argonne National Laboratory                                  9700 S. Cass Avenue                                         Lemont             IL           60439
 Ariba, Inc.                                                  3420 Hillview Ave                                           Palo Alto          CA           94304-1355
 ARLINGTON COUNTY PUBLIC
 SCHOOLS                                                      2701 South Taylor Street                                    Arlington          VA           22206
                                  Accounts Payable Business
 Arlington Public Schools         Office                      PO Box 167                                                  Arlington          MA           02476
                                                              Business Office-6th
 Arlington Public Schools                                     Floor, 869 Mass Ave                                         Arlington          MA           02476
 Arlington Public Schools                                     Business Office            PO Box 167                       Arlington          MA           02476-0002
 Arlington Public Schools Business
 Office-6th Floor                  Ship To                    898 Mass Avenue                                             Arlington          MA           02476
                                                              Ellen M. Bozman
 Arlington, Virginia                                          Government Center          2100 Clarendon Blvd              Arlington          VA           22201
                                                              12657 Alcosta Blvd,
 Armanino                                                     Suite 500                                                   San Ramon          CA           94583
                                                              999 18th Street, Suite S
 Armanino LLP                                                 3300                                                        Denver             CO           80202-2499
 Arvin Transportation             Attn Accounts Payable       165 Plumtree Drive                                          Arvin              CA           93203
 Aryaka Networks, Inc.            Attn Legal                  1800 Gateway Drive                                          San Mateo          CA           94404




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                                                               1550 Bryant Street, Suite
 Asana                                                         200                                                        San Francisco    CA           94103
                                                               1550 Bryant Street, 9th
 Asana, Inc.                       Scott Dimond                Floor                                                      San Francisco    CA           94103
                                                               1550 Bryant Street, 8th
 Asana, Inc.                                                   Floor                                                      San Francisco    CA           94103
                                                               633 Folsom Street, Suite
 Asana, Inc.                                                   100                                                        San Francisco    CA           94107
                                                               11040 Main Street, Suite
 Ascentis Corporation                                          101                                                        Bellevue         WA           98004
 Associated Coffee                 Nadia Cassian               600 A McCormick St.                                        San Leandro      CA           94577

 Associated Services Company                                   600 A McCormick Street                                     San Leandro      CA           94577
 Associated Services Company,
 San Leandro                                                   600 A McCormick Street                                     San Leandro      CA           94577
 Associated Students of the                                    University Center, Suite
 University of Montana                                         105                                                        Missoula         MT           59812
 Associated Students of the
 University of Montana Office of                               University Center, Suite
 Transportation                                                104                                                        Missoula         MT           59812-0072

                                   Jordan Hess, ASUM Director University Center 105 32
 ASUM Office of Transportation     of the Office of Transportation Campus Drive                                           Missoula         MT           59812
                                   Jordan Hess, Director of
 ASUM Office of Transportation     Transportation                  University Center 105 32 Campus Drive                  Missoula         MT           59812
 AT&T                              Dennis Gurion                   870 McCarthy Blvd                                      Milpitas         CA           95035
                                                                   2180 Lake Blvd NE
 AT&T                              Internet of Things              10B85                                                  Atlanta          GA           30319
                                                                   23500 Northwestern
 AT&T                              Lirim Jusufi                    Hwy, Bldg. W                                           Southfield       MI           48336
                                   Attn Master Agreement
 AT&T Corp.                        Support Team                    One AT&T Way                                           Bedminster       NJ           07921-0752
 AT&T Corp.                        Jon Schafer                     7670 S. Chester St                                     Englewood        CO           80112
                                   Master Agreement Support
 AT&T Corp.                        Team                            One AT&T Way                                           Bedminster       NJ           07921-0752
 AT&T Mobility                     Dennis Gurion                   870 McCarthy Blvd                                      Milpitas         CA           95035
                                                                   2180 Lake Blvd NE
 AT&T Mobility                     Internet of Things              10B85                                                  Atlanta          GA           30319
                                   Legal Department / Internet of 1025 Lenox Park Blvd.,
 AT&T Mobility                     Things (IoT)                    5th Floor                                              Atlanta          GA           30319
                                                                   23500 Northwestern
 AT&T Mobility                     Lirim Jusufi                    Hwy, Bldg. W                                           Southfield       MI           48336
 AT&T Mobility II, LLC             Dennis Gurion                   870 McCarthy Blvd                                      Milpitas         CA           95035
                                                                   2180 Lake Blvd NE
 AT&T Mobility II, LLC             Internet of Things              10B85                                                  Atlanta          GA           30319




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                                     Legal Department / Internet of 1025 Lenox Park Blvd.,
 AT&T Mobility II, LLC               Things (IoT)                   5th Floor                                                  Atlanta           GA            30319
                                                                    23500 Northwestern
 AT&T Mobility II, LLC               Lirim Jusufi                   Hwy, Bldg. W                                               Southfield        MI            48336
                                     Legal Department / Internet of 1025 Lenox Park Blvd.,
 AT&T Mobility LLC                   Things (IoT)                   5th Floor                                                  Atlanta           GA            30319
                                                                    London Gateway            South 3, Pacific
 ATL Haulage Contractors Limited                                    Logistics Park 1          Avenue                           Essex                           SS17 9FA     United Kingdom
                                                                    ATL House, South 3,
 ATL Haulage Contractors Ltd                                        Pacific Avenue            Stanford-le-Hope                 Essex                           SS17 9FA     United Kingdom
 Atsuko Takenada Komatsu                                            3-1-1 Ueno                Osaka                            Hirakata-Shi                    5731011      Japan
                                                                    18 Government Center
 Augusta County Public Schools                                      Lane                                                       Verona            VA            24482
 Aurora Public Schools                                              90 Airport Blvd                                            Aurora            CO            80011
 Auto Motive Power, Inc                                             15237 Texaco Avenue                                        Paramount         CA            90723
                                                                    Bernard Van Hoolstraat
 Autobut-en Bedrijfswagenfabriek                                    58                                                         Koningshooikt-Lier              2500         Belgium
 Automatak LLC                                                      55 SW Wall St #15                                          Bend               OR           97702
 Automotive Media, LLC, dba I.M.
 Branded                             iMBranded                     iMBranded                  2791 Research Drive              Rochester Hills   MI            48309
                                                                   120 E. Corporate Place
 Avail Recovery Solutions                                          Suite 2                                                     Chandler          AZ            85225
 Avail Recovery Solutions                                          1901 Gateway Dr                                             Irving            TX            75038
 Avant Communications                                              2 N. Riverside Plaza       Suite 2450                       Chicago           IL            60606
                                                                   2 Riverside Plaza Suite
 Avant/Colopeople                    Leah Lovlace                  2450                                                        Chicago           IL            60606
                                                                   25111 Arctic Ocean
 AVL - California Technical Center                                 Drive                                                       Lake Forest       CA            92630
 AVL Mobility Technologies, Inc.                                   47603 Halyard Drive                                         Plymouth          MI            48170
                                                                   25111 Arctic Ocean
 AVL Phillip Schnell                                               Drive                                                       Lake Forest       CA            92630
 Axispoint Technology Solutions
 Group, Inc.                                                       1 Penn Plaza, Suite 3308                                    New York          NY            10119
 AxleTech International, LLC         Jay DeVeny                    1400 Rochester Road                                         Troy              MI            48083
                                     William J. Calore General
 Axletech International, LLC         Counsel                       1400 Rochester Rd.                                          Troy              MI            48083
                                     William J. Calore Senior
 AxleTech International, LLC         Director, Contracts           1400 Rochester Road                                         Troy              MI            48083
                                                                   330 Madison Ave., 39th
 Axonius, Inc.                                                     Floor                                                       New York          NY            10017
 B2B Media                                                         34 Ellwood Ct                                               Greenville        SC            29607-5340
                                     James R. Benjamin Jr.,                                400 Washington
 Baltimore County                    County Attorney               The Historic Courthouse Avenue                              Towson            MD            21204
 Baltimore Gas & Electric            Gary Davis                    7210 Winsor Blvd                                            Baltimore         MD            21244
                                     Joe Picarelli, Sr. Engineer
 Baltimore Gas and Electric          Utility of the Futur          PO Box 1475                                                 Baltimore         MD            21203




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 Banff                                                        111 Hawk Ave                                                  Banff              AB           T1L 1A1      Canada
 Banff Roam Transit                                           111 Hawk Ave                                                  Banff              AB           T1L 1A1      Canada
                                                              475 Sansome Street,
 Bank of the West                                             19th Floor                                                    Sab Francisco      CA           94111
 Bank of the West Equipment                                   475 Sansome St, 19th
 Finance                                                      Floor                                                         San Francisco      CA           94111
 Barack Ferrazzano Kirschbaum &                               200 West Madison
 Nagelberg LLP                    Suzanne Bessette-Smith      Street, Suite 3900                                            Chicago            IL           60606
 Bay Electric                     Dudley Harris               627 36th Street                                               New Port News      VA           23607
 Bay Electric                                                 627 36th St.                                                  Newport News       VA           23608
 Bay Electric                                                 627 36th Street                                               Newport News       VA           23609

 BayShore                                                     1336 Old Bayshore Hwy                                         San Jose           CA           95112
                                                              5790 Casper Padgett
 BCD Council of Governments       Jason McGarry               Way                                                           North Charleston   SC           29406
                                  Victoria Transit Centre -
                                  Battery Electric Bus Turn Key
 BCT                              Charging Infrastructure       520 Gorge Road East                                         Victoria           BC           V8W 9T5      Canada
                                  Warranty Department Fleet
 BCT                              Maintenance Planning          520 Gorge Rd East       PO Box 9861                         Victoria           BC           V8W 9T5      Canada
 BCT                                                            520 Gorge Road East                                         Victoria           BC           V8T 2W6      Canada
 BDL ETS                                                        De Vest 11                                                  Valkenswaard                    5555 XL      Netherlands
 Becker Electric, Inc                                           674 West Field Road                                         San Francisco      CA           94128
 Belcan Services Group, Ltd.
 Partnership                                                  10200 Anderson Way                                            Cincinnati         OH           45242
 Belle Urban System                Bill To/Ship To            1900 Kentucky Street                                          Racine             WI           53405
 BenchDepot                                                   PO Box G Tecate                                               Tecate             CA           91980
 Benchmark Mineral Intelligence
 Limited                                                      28 St Johns Road                                              London                          SE20 7ED     United Kingdom
 Berkeley-Charleston-Dorchester                               5790 Casper Padgett
 Council of Governments                                       Way                                                           N. Charleston      SC           29406
 Berkeley-Charleston-Dorchester                               5790 Casper Padgett
 Council of Governments                                       Way                                                           North Charleston   SC           29406
 Best Bay Logistics                                           PO Box 511423                                                 Los Angeles        CA           90051-7978
 Beverly School Bus Depot (c/o
 Dana Cruikshank)                  Duncan McIntyre            502 Cabot Street                                              Beverly            MA           01915
 BIDDEFORD SACO                    TRANSIT COMMITTEE          13 Pomerlau Street                                            Biddeford          ME           04005
 Biddeford Saco Old Orchard Beach
 Transit (BSOOB)                   H. Rodney Carpenter        13 Pomerleau Street                                           Biddeford          ME           04005
 Bill Howerton Deputy City Manager
 City of Lubbock                                              PO Box 2000               1625 13th Street                    Lubbock            TX           79457
                                                                                        Infotech Park, Phase -
 Birlasoft Solutions Inc.                                     35 & 36, Rajiv Gandhi     I, MIDC                             Hinjawadi          Pune (MH)    411057       India
                                                              Plot No. 35 & 36, Rajiv   Infotech Park, Phase -
 Birlasoft Solutions Inc.                                     Gandhi                    I, MIDC                             Hinjawadi          Pune         411057       India




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                                                                  399 Thornhall St., 8th
 Birlasoft Solutions Inc.                                         Floor                                                      Edison          NJ           08837
 Birlasoft Solutions Inc.                                         399 Thornhall St.                                          Edison          NJ           08837
                                                                                          211 North Broadway,
 Bi-State Development                                             One Metropolitan Square Suite 700                          St. Louis       MO           63102-2759
 Blanchard Energy                                                 153 Farmington Rd.                                         Summerville     SC           29483
 Blanchard Energy                                                 3151 Charleston Hwy                                        West Columbia   SC           29172
                                                                  6755
 Blanchard Energy                                                 Frontage/Whitehorse                                        Greenville      SC           29605
 Blanchard Power Systems            Paul Johnson                  6755 Frontage Rd                                           Greenville      SC           29605
 Bloomington-Normal Public Transit
 System                                                           351 Wylie Drive                                            Normal          IL           61761
 Blue Water Area Transit                                          2021 Lapeer Avenue                                         Port Huron      MI           48060
 Blue Water Area Transit
 Commission                                                       724 McMorran Blvd.,                                        Port Huron      MI           48060
 Blue Water Area Transport                                        2021 Lapeer Avenue                                         Port Huron      MI           48060
                                    c/o Bluewater Civil Design,
 Bluewater 1-1                      LLC                           718 Lowndes Hill Road                                      Greenville      SC           29607
                                    c/o Bluewater Civil Design,
 Bluewater 1-2                      LLC                           718 Lowndes Hill Road                                      Greenville      SC           29607
 BMC Software, Inc.                 Attn Order Services           2103 CityWest Blvd.                                        Houston         TX           77042
 Bond Civil & Utility Construction,                               10 Cabot Road, Suite
 Inc.                               Attn Accounting               300                                                        Medford         MA           02155
                                                                  10 Cabot Road, Suite
 Bond Civil and Utility             Attn Accounting               300                                                        Medford         MA           02155

 Bonitz, Inc.                       Merovan Business Center       1200 Woodruff Road D-1                                     Greenville      SC           29607
 Bossard North America                                            6521 Production Drive                                      Cedar Falls     IA           50613
 Bossard North America Inc          Joan Klein                    6521 Production Drive                                      Cedar Falls     IA           50613
 Boulder City Attorneys Office      Brenda Dageforde              1300 Canyon Boulevard                                      Boulder         CO           80203
 Boulder City Attorneys Office                                    P.O. Box 791                                               Boulder         CO           80306
 Boulder VIA Mobility Services                                    2855 North 63rd Rd                                         Boulder         CO           80301
 BOULDER, CITY OF                                                 5064 PEARL STREET                                          BOULDER         CO           80301
 Bow Valley Regional Transit
 Services Commission                Martin Bean                   111 Hawk Avenue                                            Banff           AB           T1L 1A1      Canada
 Bow Valley Regional Transit
 Services Commission                Martin Bean                   136 Hawk Avenue                                            Banff           AB           T1L 1A1      Canada
 Branch of Construction Wage                                      U.S. Department of       200 Constitution
 Determinations                     Wage and Hour Division        Labor                    Avenue, N.W.                      Washington      DC           20210
 Brandon Neperud                    Attn Brenda McGill            FCCC EVC                 201 Woodland Rd                   Gaffney         SC           29341

 Brazos Transit District            Attn Procurement              1759 N Earl Rudder Fwy                                     Bryan           TX           77803

 Brazos Transit District            Bryan Office                  1759 N Earl Rudder Fwy                                     Bryan           TX           77803
 Brazos Transit District                                          2117 Nuches Lane                                           Bryan           TX           77803
 Breck Free Ride e Bus                                            1095 Airport Road                                          Breckenridge    CO           80424




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 Breckenridge Colorado                                            1105 Airport Road                                               Breckenridge      CO           80424
                                                                  601 West 26th Street,
 Brickell 13 Chicago LLC                                          Suite 1275                                                      New York          NY           10001
 British Columbia Transit                                         520 Gorge Road East       PO Box 9861                           Victoria          BC           V8W 9T5      Canada
                                                                  223 West Meadowview
 Britt, Peters & Associates, Inc.    Vice President               Rd.                                                             Greensboro        NC           27406
                                                                  101 Falls Park Dr., Suite
 Britt, Peters and Associates Inc.   Vice President               601                                                             Greenville        SC           29601
                                     Chris Walton, Director,      One North University
 Broward County                      Transportation Department    Drive, Suite 3400A                                              Plantation        FL           33324
                                     Ms. Arethia Douglas, P.E.,
                                     Assistant General Manager of Transportation         1 N. University Drive,
 Broward County                      Capital Programs             Department             Suite 3100A                              Plantation        FL           33301
                                                                  115 S. Andrews Avenue,
 Broward County                      Risk Management Division     Room 210                                                        Fort Lauderdale   FL           33301
                                                                  1 N. University Drive,
 Broward County                      Transportation Department    Suite 3100A                                                     Plantation        FL           33301
 Broward County                                                   2326 Thomas Street                                              Hollywood         FL           33020
                                     Thomas Street Warehouse
                                     Shiau Ching Low Irene
 Broward County 2                    Belgrave                     2326 Thomas Street                                              Hollywood         FL           33020
 Broward County Commission           Accounts Payable             PO Box 14740                                                    Fort Lauderdale   FL           33302-4740
 Broward County Commission           Attn Accounts Payable        P.O. Box 14740                                                  Fort Lauderdale   FL           33302-4740
 Broward County Facility                                          2326 Thomas Street                                              Hollywood         FL           33020
                                     Regional Transit Center
                                     Robert (Bob) Caminiti Shiau
 Broward County Ravenswood           Ching Low                    5440 Ravenswood Rd.                                             Dania             FL           33312

                                                                  1 N University Drive, 3rd
 Broward County Transit              Arethia Douglas              Floor Administration                                            Plantation        FL           33324
                                                                  1 N University Drive, 3rd
                                                                  Floor Service & Capital
 Broward County Transit              Attn Accounts Payable        Planning                                                        Plantation        FL           33324
 Broward County Transit              Attn Accounts Payable        PO Box 14740                                                    Fort Lauderdale   FL           33302-4740
 Broward County Transit              Shiau Chiung Low             5440 Ravenswood Rd                                              Dania Beach       FL           33312
                                     Andrew J. Meyers, Broward    Governmental Center,        115 South Andrews
 Broward County, Florida             County Attorney              Room 423                    Avenue                              Fort Lauderdale   FL           33301
                                                                  1 N. University Drive,
 Broward County, Florida             Transportation Department    Suite 3100A                                                     Plantation        FL           33301
                                                                  Transit Division -          1 N. University Drive,
 Broward County, Florida             Transportation Department    Administration              Suite 3100A                         Plantation        FL           33301

 Broward County, Florida                                          115 S. Andrews Avenue                                           Fort Lauderdale   FL           33301
 Brown & Brown Insurance Services                                 3697 Mt. Diablo Blvd, Ste
 of California, Inc.                                              100                                                             Lafayette         CA           94549
 BSOOB                            H. Rodney Carpenter             13 Pomerleau Street                                             Biddeford         ME           04005




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                                                               2027 W. Avalon Rd.,
 Budget Truck and Auto, Inc                                    Janesville                                                   Madison          WI           53546
                                                               Plant 6 - 1065 Mikesell
 Builtmore Modification Center                                 St.                                                          Charlotte        MI           48831
 Burns and McDonnell Engineering
 Company, Inc.                   Bill To                       PO Box 219308                                                Kansas City      MO           64121
 Burns and McDonnell Engineering
 Company, Inc.                   Ship To                       1319 South 1st Avenue                                        Maywood          IL           60153
                                                               2237 Old Route 220
 Bus Testing and Research Center                               North                                                        Ducansville      PA           16635

 Bus Testing and Research Center                               2237 Plank Road                                              Duncansville     PA           16635
 Bustech                                                       10 Calabro Way                                               Burleigh Heads   QLD          4220         Australia
 BusTech (SA) Pty Ltd              Alan Kerrison               35 Woomera Ave                                               Edinburgh        SA           5111         Australia
 Bustech Pty LTD                   Thinus Steyn                Lot 10 Calabro Way                                           Burleigh Heads   QLD          4220         Australia
                                   Christian Reynolds Gregg
 BusTech QLD                       Dinning                     Lot 10 Calabro Way                                           Burleigh Heads   QLD          4220         Australia
 Buswest North                                                 210 North East Street                                        Woodland         CA           95776
 BVCI                              Andrew Woods                11401 Lamar Avenue                                           Overland Park    KS           66211
 BVCI                              General Counsel             11401 Lamar Avenue                                           Overland Park    KS           66211
 BVRTSC                                                        221 Beaver Street                                            Banff            AB           T1L 1A1      Canada
 BVRTSC                                                        221 Beaver Street                                            Banff            AB           T1L 1A5      Canada
                                                               1800 South Figueroa
 BYD Motors, Inc.                                              Street                                                       Los Angeles      CA           90015
 Bynder LLC                                                    24 Farnsworth Street                                         Boston           MA           02210
 C.H Robinson Worldwide, Inc       Billing                     P.O. Box 3470                                                Chicago          IL           60654
                                                               111 Union Cemetery
 Cabarrus County School Bus                                    Road SW Garage                                               Concord          NC           28027
 Cabarrus County School Bus                                    111 Union Cemetery
 Garage                                                        Road SW                                                      Concord          NC           28207
 Cabus Clemson Area Transit                                    200 West Lane                                                Clemson          SC           29631
 Calendly, LLC                                                 PO Box 313                                                   Alpharetta       GA           30009
                                                               Mobile Source Control      9840 Telstar Avenue,
 California Air Resources Board    Patrick Chen                Division                   Ste #4                 Annex 5    El Monte         CA           91731
                                                               Mobile Source Control      9480 Telstar Avenue,
 California Air Resources Board    Patrick Chen                Division                   Ste #4, Annex 5                   El Monte         CA           91731
 California Energy Commission      Accounting Office           715 P Street                                                 Sacramento       CA           95814
                                   Contracts, Grants and Loans
 California Energy Commission      Office                      1516 Ninth Street, MS-18                                     Sacramento       CA           95814-5512
                                   Contracts, Grants and Loans
 California Energy Commission      Office                      715 P Street                                                 Sacramento       CA           95814
 California Energy Commission      Jonathan Bobadilla          715 P Street, MS-44                                          Sacramento       CA           95814

 California Energy Commission      Kathy Jones                 1516 Ninth Street, MS-2                                      Sacramento       CA           95814-5512

 California Energy Commission      Larry Rillera               1516 Ninth Street, MS-27                                     Sacramento       CA           95814-5512




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                                      Tatyana Yakshina/ Grants
 California Energy Commission         Manager                       715 P Street, MS-18                                             Sacramento       CA           95814
                                                                                               980 Ninth Street, Suite
 California Strategies, LLC          James E. Burton                US Bank Plaza              2000                                 Sacramento       CA           95814
 California Workforce Development                                   800 Capitol Mall, Suite
 Board                               Mayra Fernandez                1022, MIC 45                                                    Sacremento       CA           95814
 Camore                                                             115 Boulder Crescent                                            Canmore          AB           T1W 1L4      Canada
 CAMPUS TRANSIT                      Michael Cosby                  2505 RIVERBEND R D                                              ATHENS           GA           30602
 Canadian Construction Documents
 Committee                                                          1900-275 Slater Street                                          Ottawa           ON           K1P 5H9      Canada
 Canadian Construction Documents
 Committee                                                          520 Gorge Road East                                             Ottawa           ON           K1P 5H9      Canada
 Cap Metro Warehouse                                                9715a Burnet Road                                               Austin           TX           78758
 Capital Metro South Operations
 and Maintenance Facility (2910)                                    9715-A Burnet Road                                              Austin           TX           78758
 Capital Metropolitan                Bill To                        PO Box 6308                                                     Austin           TX           78702
 Capital Metropolitan                                               9315 McNeil Rd.                                                 Austin           TX           78758
 Capital Metropolitan T                                             9315 McNeil Rd.                                                 Austin           TX           78758
 Capital Metropolitan Transportation
 Authority                           Bill To                        PO Box 6308                                                     Austin           TX           78702
 Capital Metropolitan Transportation
 Authority                           Phillip Chapa                  8506 Hillrock Dr.                                               Round Rock       TX           78681
 Capital Metropolitan Transportation
 Authority                                                          9315 McNeil Rd.                                                 Austin           TX           78758
 Capital Metropolitan Transportation
 Authority                                                          PO Box 6308                                                     Austin           TX           78762-6308

 Capital Power Products                                             11358 Monier Park Place                                         Rancho Cordova   CA           95742
 Capital Transit - City and Borough
 of Juneau, Alaska                                                  10099 Bentwood Place                                            Juneau           AK           99801
 Capitalmetro South OPE                                             2910 E 5th St                                                   Austin           TX           78702
 Capitalmetro South OPE                                             9715-A Burnet Road                                              Austin           TX           78758
 CapMetro                                                           2910 East Fifth Street                                          Austin           TX           78702
 Capmetro                                                           9715A Burnet Road                                               Austin           TX           78758
 Capmetro WHSE                                                      9715A Burnet Road                                               Austin           TX           78758
 Captial Transit                      Ed Foster                     10099 Bentwood PL                                               Juneau           AK           99801
                                      Manufacturing & Fabrication   2000 S. Yellow Springs
 Cardinal Acoustics                   Plant                         St.                                                             Springfield      OH           45506
 Cardinal Acoustics                   Office Headquarters           2941 Donnylane Blvd.                                            Columbus,        OH           43235
 Carl Guardino                                                      Address Redacted
                                 c/o McDonald Development
                                 Company Attn J. Austin             3715 Northside Parkway,
 Carolina CC Venture XXXVII, LLC McDonald                           Bldg. 200, Ste 700                                              Atlanta          GA           30327
 CAROLINA ENGINEERING                                               8 W. McBEE AVE,
 SOLUTIONS                       MR. GREG CRUSCO, P.E.              SUITE 203                                                       GREENVILLE       SC           29601
 Carolina Handling, LLC                                             3101 Piper Lane                                                 Charlotte        NC           28208




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                                                                6340A Burnt Poplar
 Carolina Thomas                                                Road                                                       Greensboro         NC           27409
                                                                6340A Burnt Poplar
 Carolina Thomas LLC                                            Road                                                       Greensboro         NC           27409
                                                                6340A Burnt Poplar
 Carolina Thomas, LCC                                           Road                                                       Greensboro         NC           27409
 Carolina Water Specialties, LLC                                PO Box 2820                                                Greenville         SC           29602
 Carolina Water Specialties, LLC
 dba Culligan of the Piedmont,
 Easley, SC                                                     PO Box 2820                                                Greenville         SC           29602
                                                                Ronda del Campo de
 Carrases Industrial Park          David Salvo Lillo            Aviacion                                                   Lliria             Valencia     46160    Spain
 CARTA                             Andrea Kozloski              3664 Leeds Ave.                                            North Charleston   SC           29405
                                   Attn Robin Mtchum, Finance   5790 Casper Padgett
 CARTA                             Manager                      Way                                                        North Charleston   SC           29406
 CARTA                             Jason McGarry                3664 Leeds Ave.                                            North Charleston   SC           29405
                                                                5790 Casper Padgett
 CARTA                             Robin Mitchum                Way                                                        North Charleston   SC           29406
                                   Robin Mitchum, Finance       5790 Casper Padgett
 CARTA                             Manager                      Way                                                        North Charleston   SC           29406
                                                                3101 Yorkmont Road,
 Cat                               Deliver To                   Suite 2400                                                 Charlotte          NC           28208

 Cat                                                            1600 E. Wyatt Earp Blvd.                                   Dodge City         KS           67801
 Cat                                                            1637 SW 42nd                                               Topeka             KS           66609
 Cat                                                            3305 S. West Street                                        Wichita            KS           67213
 Cat                                                            5701 E 87th Street                                         Kansas City        MO           64132
                                                                900 Ken-Mar industrial
 Cat                                                            Parkway                                                    Broadview Heights OH            44147
 Catalyst Extendend District                                    55 M Street SE, 5th floor,
 Department of Transportation                                   SE, 5th floor                                              Washington         DC           20003

 CBJ ACCOUNTS PAYABLE                                           155 South Seward Street                                    Juneau             AK           99801
 CBJ Finance Department,
 Purchasing Division                                            155 Municipal Way                                          Juneau             AK           99801
 CBJ Finance Department,
 Purchasing Division                                            155 South Seward Street                                    Juneau             AK           99801
 CBJ Purchasing Division of                                     105 Municipal Way,
 Finance                                                        Room 100                                                   Juneau             AK           99801
 CBJ Purchasing Division of
 Finance                                                        155 South Seward Street                                    Juneau             AK           99801
                                   Attn Carolina CC Venture
 CBRE Investment Management        XXXVII, LLC                  200 Park Ave, 20th FLR                                     New York           NY           10166
 CBRE- Property Management         Jim Roman- Director          355 S Main St, Ste 701                                     Greenville         SC           29601
 CBRE The Furman Co.                                            P.O. Box 24S7                                              Greenvile          SC           29602




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 CCO - Cornerstone Consulting
 Organization                        ATTN Audrey Collins           1015 Eagle Ridge Drive                                      Huron            OH           44839
 CCTA                                Mark Stromberg                700 N. Sangamon St.                                         Chicago          IL           60642

 CCTA dba Green Mountain Transit Attn General Manager           15 Industrial Parkway                                          Burlington       VT           05403
                                 Matt Kimball, Capital Projects
 CCTA dba Green Mountain Transit Manager                        15 Industrial Parkway                                          Burlington       VT           05401

 CCTA dba Green Mountain Transit Ms. Cheryl Whitaker               15 Industrial Parkway                                       Burlington       VT           05403
                                                                   500 Fifth Avenue, Suite
 CDI LLC                                                           1500                                                        New York         NY           10110
 Center for Transportation and the
 Environment                         Steve Clermont                Suite 1440                                                  Atlanta          GA           30309
 Central Florida Regional            William John Slot, Chief      455 North Garland
 Transportation Authority            Innovation Officer            Avenue, Suite 500                                           Orlando          FL           32801
                                     Elvix Dovales, Director of
 Central Florida Regional            Maintenance, Projecdt         455 North Garland
 Transportation Authority (LYNX)     Manager                       Avenue                                                      Orlando          FL           32801
                                     John Slot, Chief Innovation
 Central Florida Regional            Officer / Chief Operating
 Transportation Authority (LYNX)     Officer                       455 N. Garland Ave                                          Orlando          FL           32801
 Central Midlands Regional Transit
 Authority                                                         3613 Lucius Road                                            Columbia         SC           29201
                                                                   28450 Highland Rd Bldg.
 Central States Trucking                                           4                                                           Romulus          MI           48174
 Century Fire Protection 360                                       2450 Satellite Blvd.                                        Duluth           GA           30096
 Century Fire Protection, LLC                                      2450 Satellite Blvd.                                        Duluth           GA           30096
 Century Fire Protection, LLC                                      Atlanta Office          2450 Satellite Blvd                 Duluth           GA           30096

 CenturyLink Communications, LLC
 d/b/a Lumen Technologies Group Sachi Petz                         200 S 5th Street                                            Minneapolis      MN           55402

 CenturyLink Communications, LLC
 d/b/a Lumen Technologies Group                                    PO Box 52187                                                Phoenix          AZ           85072

 CenturyLink Sales Solutions, Inc.   Sachi Petz                    200 S 5th Street                                            Minneapolis      MN           55402

 CenturyLink Sales Solutions, Inc.                                 PO Box 52187                                                Phoenix          AZ           85072
 CEO Doug Holcomb and
 Bridgeport Leadership Team
 Greater Bridgeport Transit                                        One Cross Street                                            Bridgeport       CT           06610
 Chairman of the Board Greenville
 Transit Authority                   Chair of Board                100 W. McBee Avenue                                         Greenville       SC           29601
 Champion Benefits, an Alera                                       1455 Lincoln Parkway,
 Group Agency, LLC                   Managing Partner              Ste 100                                                     Atlanta          GA           30346




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                                                                                                                                Palos Verdes
 Chappell Creek Consulting            William Pack, Principal      2018 Thorley Road                                            Estates            CA           90274
 Chargeknowledgy                                                   3566 Windspun Dr                                             Huntington Beach   CA           92649
 ChargePoint                          Kevin Christopher            254 E Hacienda Ave                                           Campbell           CA           95008
 ChargePoint                          Rex S Jackson                254 E Hacienda Ave                                           Campbell           CA           95008
 ChargePoint Inc                      David Peterson               254 E Hacienda Ave                                           Campbell           CA           95008
 ChargePoint Inc                      Jonathan Kaplan              254 E Hacienda Ave                                           Campbell           CA           95008
                                                                   240 East Hacienda
 ChargePoint Inc.                                                  Avenue                                                       Campbell           CA           95008

 Charles City County Public Schools                                10035 Courthouse Rd                                          Charles City       VA           23030
 Charles River Associates                                          1201 F St., NW 8th Fl                                        Washington         DC           20004
                                      Attn Jason McGarry,
 Charleston Area Regional             Procurement/Contracts        5790 Casper Padgett
 Transportation Authority (CARTA)     Administrator                Way                                                          North Charleston   SC           29406
                                                                   250 LeGrande Ave.,                                           Charlotte Court
 Charlotte County Public Schools                                   Suite E                   Post Office Box 790                House              VA           23923
 Charlotte Douglas International                                   5601 Wilkinson
 Airport                              Attn Elizabeth Smithers      Boulevard                                                    Charlotte          NC           28208
 Charlotte Douglas International                                   5601 Wilkinson
 Airport                              Attn Scott Kincaid           Boulevard                                                    Charlotte          NC           28208
                                      Commerical Contracts
 Charter Communications               Management Corporate -
 Operating, LLC                       Legal Operations             12405 Powerscourt Drive                                      St. Louis          MO           63131
 ChemTel                                                           2316 Steppingstone Sq                                        Chesapeake         VA           23320
                                                                   127 CHEROKEE BOYS
 CHEROKEE BOYS CLUB                   C/O DONNIE OWLE              CLUB LOOP                                                    CHEROKEE           NC           28719
                                                                   127 CHEROKEE BOYS
 Cherokee Boys Club                   DONNIE OWLE                  CLUB LOOP                                                    CHEROKEE           NC           28719
 Cherokee Boys Club                                                127 Boys Club Loop                                           Cherokee           NC           28719
 Cherokee Boys Club, Inc.             Attn Administration          52 Boys Club Loop                                            Cherokee           NC           28719

 Cherokee Nation Main Warehouse                                    22361 Bald Hill Road                                         Tahlequah          OK           74464
 Cherokee Nation Tribe          ATTN Accounts Payable              PO Box 948                                                   Tahlwquah          OK           74465
 Cherokee Nation Tribe          Julie Justice                      1307 Missionary Cir                                          Tahlequah          OK           75564
 Chesapeake City Public Schools                                    312 Cedar Road                                               Chesapeake         VA           23322

 Chesterfield County Public Schools                                10201 Courthouse Road                                        Chesterfield       VA           23832

 Chesterfield County Schools                                       10201 Courthouse Road                                        Chesterfield       VA           23832
                                      Attn Ellen McCormack, Vice
                                      President, Purchasing and    567 West Lake Street,
 Chicago Transit Authority            Supply Chain                 2nd Floor Bid Office                                         Chicago            IL           60661
                                                                   Signage & Wayfinding      567 West Lake Street,
 Chicago Transit Authority            Attn Victor A. Ramirez       Section                   8th Floor                          Chicago            IL           60661




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                                                                     Diversity Programs
 Chicago Transit Authority          CTA Director of Diversity        Department                567 W. Lake Street                Chicago         IL           60661-1465
                                                                                               Headhouse Dr. Navy
 Chicago Transit Authority          Engineering Department      600 E Grand St                 Pier                              Chicago         IL           60611
                                    Jason House, Asst Chief Bus
 Chicago Transit Authority          Equipment Engineer          7801 S. Vincennes Ave                                            Chicago         IL           60620
 Chicago Transit Authority          Project Information         Purchasing Department          567 W. Lake Street                Chicago         IL           60661-1465
                                                                                               Headhouse Dr. Navy
 Chicago Transit Authority                                           600 E. Grand Ave.         Pier                              Chicago         IL           60611
 Chicago Transit Authority                                           Bid Office - 2nd Floor    567 West Lake Street              Chicago         IL           60661-1498

 Chicago Transit Authority                                           Chicago Bus Garage        4301 W. Chicago Ave.              Chicago         IL           60651
                                                                                               7801 South Vincennes
 Chicago Transit Authority                                           South Shops               Avenue                            Chicago         IL           60620
 Chicago Transit Authority (CTA)    Mark Stromberg                   700 N. Sangamon St.                                         Chicago         IL           60642

                                                                     No. 259, Haifeng road,
                                                                     Cidong Binhai Economic
 China Yexing Auto Part Limited                                      Development Area                                            Cixi            Zhejiang                  China
 Chittenden County Transit
 Authority d.b.a Green Mountain     Mark A, Sousa, General
 Transit                            Manager                          15 Industrial Parkway                                       Burlington      VT           05403
 Chittenden County Transportation
 Authority dba Green Mountain
 Transit                                                             15 Industrial Parkway                                       Burlington      VT           05403
 Chris Mandrell General Manager
 Citibus                                                             801 Texas Avenue                                            Lubbock         TX           79401
 Cintas Corporation                                                  LOC 216                 PO Box 630803                       Cincinnati      OH           45263
 Cintas Corporation                                                  PO Box 29059                                                Phoenix         AZ           85038
                                                                     3665 Cherry Creek North
 CIRSA                                                               Drive                                                       Denver          CO           80209
 City & County of San Francisco                                      1 S Van Ness Ave, 8th
 Municipal Railway                  Attn Accounts Payable            Floor                                                       San Francisco   CA           94103
 City & County of San Francisco
 Municipal Railway                                                   1098 23rd St                                                San Francisco   CA           94107
                                    Ed Foster, Operations
 City and Borough of Juneau         Superintendent                   10099 Bentwood Place                                        Juneau          AK           99801
                                                                     10, 100 South Main
 City and Borough of Juneau                                          Street                                                      Los Angeles     CA           90012

 City and Borough of Juneau                                          155 South Seward Street                                     Juneau          AK           99801
 City and Borough of Juneau                                          155 S South Seward                                          Juneau          AK           99801
 City and Borough of Juneau,        Ed Foster, Operations
 Alaska                             Superintendent                   10099 Bentwood Place                                        Juneau          AK           99801
                                    Director of Office of Contract                             1 Dr. Carlton B.
 City and County of San Francisco   Administration                   City Hall                 Goodlett Place                    San Francisco   CA           94102-4685




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                                                                                                                      3nd Floor
                                                                                                                      Aviation
                                   San Francisco International                                                        Conference
 City and County of San Francisco Airport                            SFO Business Center       575 McDonnell Road     Room       San Francisco   CA           94128
 City and County of San Francisco, Director of Office of Contract                              1 Dr. Carlton B.
 State of California               Administration                    City Hall                 Goodlett Place                    San Francisco   CA           94102-4685
                                                                                                                      3nd Floor
                                                                                                                      Aviation
 City and County of San Francisco,   San Francisco International                                                      Conference
 State of California                 Airport                         SFO Business Center       575 McDonnell Road     Room       San Francisco   CA           94128
 City and County of San Francisco,
 State of California                                                 1098 23rd St                                                San Francisco   CA           94107
 City and County of San Francisco,                                   1 Dr. Carlton B. Goodlett
 State of California                                                 Place                     City Hall, Room 430               San Francisco   CA           94102
 City and County of San Francisco,                                   One South Van Ness
 State of California                                                 Ave 8th FL                                                  San Francisco   CA           94103
 City Ethics Commission                                              200 North Spring Street                                     Los Angeles     CA           90012
 City of Albuquerque                 Accounting Division             PO Box 1985                                                 Albuquerque     NM           87103
 City of Albuquerque                 Purchasing Division             PO Box 1293                                                 Albuquerque     NM           87103
 City of Albuquerque                 TR-Transit Center               100 First Street SW                                         Albuquerque     NM           87102
 City of Artesia                     Karen Lee                       18747 Clarkdale Ave                                         Artesia         CA           90701
                                     Attn Jerry Breckinridge, City
 City of Arvin                       Manager                         200 Campus Drive          PO Box 548                        Arvin           CA           93203
 City of Arvin                       Hesham Elshazly                 200 Campus Dr.            PO Box 548                        Arvin           CA           93203
 City of Arvin                                                       200 Campus Drive                                            Arvin           CA           93203
 City of Asheville                   Accounts Payable                PO Box 7148                                                 Asheville       NC           28802
 City of Asheville                   Attn Transportation Dept.       PO Box 7148                                                 Asheville       NC           28802
                                     Jessica Morriss, Assistant
                                     Director, Transportation
 City of Asheville                   Department                      70 Court Plaza                                              Asheville       NC           28801
                                                                     360 West Haywood
 City of Asheville                   Transit Operations              Street                                                      Asheville       NC           28801
 City Of Boulder                                                     1101 Arapahoe Avenue                                        Boulder         CO           80302
 CITY OF BOULDER                                                     1777 BROADWAY                                               BOULDER         CO           80302
 City of Boulder Transportation &
 Mobility                                                            1101 Arapahoe                                               Boulder         CO           80302

 City of Burbank                     Margarita Campos (city clerk) 275 E. Olive Ave.                                             Burbank         CA           91502

                                     Park, Recreation and
                                     Community Services
 City of Burbank                     Department Linda Oseransky 1301 W. Olive Avenue                                             Burbank         CA           91506
 City of Burbank, a Municipal
 Corporation                                                         150 N. Third Street                                         Burbank         CA           91510
 City of Burlingame                                                  201 Primrose Road                                           Burlingame      CA           94010




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 City of Charlotte                     Scott Hahn and Scott Nabers City of Charlotte          5550-B Wilkinson Blvd.              Charlotte        NC           28208
 City of Charlotte Ap                                              PO Box 37979                                                   Charlotte        NC           28237-7979
 City of Clemson Clemson Area
 Transit                                                            200 West Lane                                                 Clemson          SC           29631-1241
                                       Bill To, Office of the
                                       Controllers - Accounts       2 Woodward Avenue,
 City of Detroit                       Payable                      Site 644                                                      Detroit          MI           48226
                                       C.Mikel Oglesby, Executive
 City of Detroit                       Director of Transit          100 Mack Ave                                                  Detroit          MI           48201
                                                                    2 Woodward Avenue.
 City of Detroit                       Jennie Whitfield             Site 1200                                                     Detroit          MI           48226
                                                                    2 Woodward Ave, Ste
 City of Detroit                       Jennie Whitfield             1100                                                          Detroit          MI           48226
                                                                    2 Woodward Avenue.
 City of Detroit                       Pamela Crump                 Site 1200                                                     Detroit          MI           48226
                                       Ship To, DOT - Shoemaker
 City of Detroit                       Terminal                   5149 Jean Street                                                Detroit          MI           48213
                                       Ship To, DOT 1301 E Warren
 City of Detroit                       Avenue                     1301 E Warren Avenue                                            Detroit          MI           48207
 City of Detroit Department of                                    1245 E. Washington
 Transportation(DDOT)                                             Ave., Suite 201                                                 Madison          WI           53703
 City of Edmonton                      Corporate Services         FS - Westwood               12404 107 Street NW                 Edmonton         AB           T5G 2S7      Canada
                                                                  4th Floor Century Place
 City of Edmonton                      Transportation -Admin      9803-102                                                        Edmonton         AB           T5J 3A3      Canada
                                                                  4th Floor Century Place
 City of Edmonton                      Transportation -Services   9803-102                                                        Edmonton         AB           T5J 3A3      Canada

 City of Edmonton                                                   4th Floor, Century Place 9803 102A Avenue NW                  Edmonton         AB           T5J 3A3      Canada
                                                                    Westwood Municipal
 City of Edmonton                                                   Facility                 12404-107 St NW                      Edmonton         AB           T5G 2S7      Canada
 City of Edmonton - ETS                                             12403 Fort Road                                               Edmonton         AB           T5B 2B7      Canada
                                     Derek Hanson, Director
 City of Edmonton Alberta, Canada Transit Fleet Maintenance         2415-101 Street SW                                            Edmonton         AB           T6X 1A1      Canada
 City of Edmonton Fleet and Facility
 Services                            Anthony Lam                    12404-107 Street                                              Edmonton         AB           T5J 2R7      Canada
 City of Everett                     Theresa Bauccio- Teschlog      PO Box 12130                                                  Everett          WA           98206

 City of Everett Purchasing Division                                3200 Cedar Street                                             Everett          WA           98201
 City of Everett Washington                                         PO Box 12130                                                  Everett          WA           98206
                                       Attn Rudy Castro, Fleet
 City of Fresno                        Manager                      2223 G Street                                                 Fresno           CA           93706-1675
                                       Department of
 City of Fresno                        Transportation/FAX           2223 G St.                                                    Fresno           CA           93706
 City of Fresno                        Gregory Barfield, Director   2223 G Street                                                 Fresno           CA           93706




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                                      Linda Taylor, Senior
                                      Management Analyst / Grants Brus Rudd
 City of Fresno                       Administrator               Administration Building    2223 G Street                   Fresno             CA           93706
                                                                  300 West Washington
 City of Greensboro                                               Street                                                     Greensboro         NC           27401
 City of Greensboro/Greensboro        Bruce Adams, Public         223 W. Meadowview
 Transit Authority                    Transportation Manager      Road                                                       Greensboro         NC           27402
 City of Greenville, South Carolina   c/o SCTAC                   Attn Danny Moyd            2 Exchange Street               Greenville         SC           29605
 City of Greenville, South Carolina   James Keel/Karen Crawford 100 W. McBee Ave                                             Greenville         SC           29601
 City of Greer                                                    301 McCall Street                                          Greer              SC           29650
 City of Greer                                                    PO Box 216                                                 Greer              SC           29652-0216
 City of Guadalupe                    Rudy                        303 Obispo Street                                          Guadalupe          CA           93434
 City of Guadalupe                                                918 Obispo Street                                          Guadalupe          CA           93434
 City of Industry                                                 15625 E Stafford Street                                    City of Industry   CA           91744
 City of Industry                                                 15625 Stafford St                                          City of Indusry    CA           91744
 City of Iowa City Transportation     Mark Rummel Theresa
 Services Department                  Vanatter                    410 E Washington ST                                        Iowa City          IA           52240
 City of Iowa City Transportation                                 1200 South Riverside
 Services Department                                              Drive                                                      Iowa City          IA           52240
 City of La Crosse                    Attn City Clerk             400 La Crosse St.                                          La Crosse          WI           54601
 City of La Crosse                    Transit Utility             2000 Marco Dr                                              La Crosse          WI           54601-3396
 City of La Crosse                                                2000 Macro Drive                                           La Crosse          WI           54601

 City of Los Angeles and its                                      200 North Main Street
 Agencies, Boards and Depts.                                      City Hall East - Rm 1240                                   Los Angeles        CA           90012
 City of Lubbock                                                  PO Box 2000                                                Lubbock            TX           79457

 City of Madison                                                  1101 E. Washington Ave.                                    Madison            WI           53703
                                                                  210 Martin Luther King,
 City of Madison                                                  Jr. Boulevard                                              Madison            WI           53703
                                                                  1245 E. Washington
 City of Madison - Metro Transit                                  Ave., Suite 201                                            Madison            WI           53703
 City of Missoula                                                 435 Ryman St                                               Missoula           MT           59802
 City of Ontario                      Attn City Clerk             Office of the City Clerk 303 East B Street                 Ontario            CA           91764
 City of Port Arthur                  Accounts Payable            PO Box 1089                                                Port Arthur        TX           77641
 City of Port Arthur                                              320 Dallas Ave                                             Port Arthur        TX           77640
                                                                  730 Washington Avenue,
 City of Racine                       City Attorney               Room 201                                                   Racine             WI           53403
                                                                  730 Washington Ave
 City of Racine                       Finance Director            Room 103                                                   Racine             WI           53405
 City of Racine                                                   1900 Kentucky St.                                          Racine             WI           53405
 City of Racine - Belle Urban                                                              730 Washington
 System (RYDE)                        Attn City Attorney          City of Racyine          Avenue, Room 201                  Racine             WI           53403
 City of Racine - Belle Urban         Attn Transit and Parking                             730 Washington
 System (RYDE)                        System Manager              City of Racyine          Avenue                            Racine             WI           53403




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 City of Racine - Belle Urban       Transit and Parking System
 System (RYDE)                      Manager                      730 Washington Avenue                                         Racine            WI           53403
 City of Racine, Wisconsin
 Purchasing Department                                           730 Washington Avenue                                         Racine            WI           53403
                                    Attn David Walker,
 City of Raleigh                    Transportation Supervisor    222 W. Hargett Street                                         Raleigh           NC           27601
                                    PW Transit Maint & Op
 City of Raleigh                    Facility                     4104 Poole Road                                               Raleigh           NC           27610-2927
 City of Raleigh                                                 PO Box 590                                                    Raleigh           NC           27602-0590
 City of Raleigh Procurement        Eric, Johnson Concetta,
 Division                           Gerald                       PO Box 590                                                    Raleigh           NC           27602-0590
 City of Redding                    Maggiore A                   3333 S. Market St                                             Redding           CA           96001-3500
 City of Redding                                                 777 Cypress Avenue                                            Redding           CA           96049
 City of Redding (RABA)             Finance Division             PO Box 496071                                                 Redding           CA           96049-6071
                                    Clifton Goolsby,
 City of Rock Hill                  Transportation Manager       757 S. Anderson Rd.                                           Rock Hill         SC           29730
                                    Tracy Smith Procurement,
                                    Warehouse & Fleet            757 South Anderson
 City of Rock Hill                  Maintenance Manager          Road                        PO Box 11706                      Rock Hill         SC           29731
 City of Rock Hill                                               155 Johnston Street         P.O. Box 11706                    Rock Hill         SC           29731-1706
 City of Rock Hill                                               155 Johnston Street                                           Rock Hill         SC           29730
 City of Rock Hill                                               PO Box 11706                155 Johnston Street               Rock Hill         SC           29731-1706
                                    Kimberly Byrd, Procurement   757 S. Anderson Rd.,
 City of Rockhill, South Carolina   Manager                      Bldg. 103                                                     Rock Hill         SC           29730
 City of Rockhill, South Carolina                                155 Johnston Street         P.O. Box 11706                    Rock Hill         SC           29731-1706
 City of Rockhill, South Carolina                                PO Box 11706                155 Johnston Street               Rock Hill         SC           29731-1706
 City of Roseville                  Ed Scofield                  311 Vernon St                                                 Roseville         CA           95678
                                                                 2055 Hilltop Cir Corp
 City of Roseville                                               Yard - Fleet Services                                         ROSEVILLE         CA           95747
                                                                 200 E. Santa Clara St.,
 City of San Jose                   Kim Nguyen                   14th Floor                                                    San Jose          CA           95113
 City of San Luis Obispo            Austin ODell                 919 Palm Street                                               San Luis Obispo   CA           93401-3218
                                    Megan Weeks, Transit
 City of San Luis Obispo            Coordinator                  919 Palm Street                                               San Luis Obispo   CA           93401
 City of San Luis Obispo                                         990 Palm Street                                               San Luis Obispo   CA           93401
 City of Sandy                                                   16610 Champion Way                                            Sandy             OR           97055
 City of Sandy                                                   39250 Pioneer Blvd                                            Sandy             OR           97055

 City of Sandy, Transit             Andi Howell & Muna Rustam    Sandy Operations Center 16610 Champion Way                    Sandy             OR           97055
 City of Santa Maria                Cindy Morrison               Transit Coordinator     110 E. Cook St                        Santa Maria       CA           93454
                                                                 110 E. Cook St., Room
 City of Santa Maria California                                  #6                                                            Santa Maria       CA           93454
 City of Santa Maria Public Works
 Department                                                      110 S. Pine Street                                            Santa Maria       CA           93458

 City of Santa Rosa                 Purchasing Section           635 1st Street, 2nd Floor                                     Santa Rosa        CA           95404




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                                                                Transit Division -
                                 Shawn Sosa, Administrative     Transportation and
 City of Santa Rosa              Analyst                        Public Works             45 Stony Point Road               Santa Rosa       CA           95404
                                 Treasury Dept Accts
 City of Seattle                 Receivable                     PO Box 94626                                               Seattle          WA           98124-6926
                                                                                         221 East North First
 City of Seneca                  Ed Halbig                      PO Box 4773              Street                            Seneca           SC           29679
 City of Seneca                  Edward Halbig                  PO Box 4773                                                Seneca           SC           29679
 City of Shreveport              Accounts Payable               PO Box 31109                                               Shreveport       LA           71130
 City of Shreveport Accounts
 Payable                         Bill To                        PO Box 31109                                               Shreveport       LA           71130
 City of Spokane                                                1230 W Boone Avenue                                        Spokane          WA           99201-2686

 City of Tallahassee             Accounts Payable - City Hall   300 S. Adams Street      Box A-28                          Tallahassee      FL           32301-1731
                                 Fleet Management
 City of Tallahassee             Administration                 400 Dupree Street                                          Tallahassee      FL           32304
 City of Tallahassee                                            555 Appleyard Drive                                        Tallahassee      FL           32304
 City of Tallahassee/StarMetro   Angela Baldwin                 555 Appleyard Drive                                        Tallahassee      FL           32304
 City of Tallahassee/StarMetro   Walter Kirkland Jr.            555 Appleyard Drive                                        Tallahassee      FL           32304
                                                                315 East Acequia
 City of Visalia                                                Avenue                                                     Visalia          CA           93291
                                 Caleb Bowman, Transit          425 E. Oak Ave., Ste
 City of Visalia - Transit       Management Analyst             301                                                        Visalia          CA           93291
                                                                425 E. Oak Ave., Ste.
 City of Visalia - Transit       Carmen Quevedo                 301                                                        Visalia          CA           93291
 City of Wichita                                                455 N Main                                                 Wichita          KS           67202
                                 Ken Dimick, Program
                                 Specialist Procurement Tonja
 City of Wichita Kansas          Howard                       777 E Waterman                                               Wichita          KS           67202
 City of Wichita Kansas                                       455 N Main                                                   Wichita          KS           67202
                                                              29799 SW Town Center
 City of Wilsonville             Scott Simonton               Loop East                                                    Wilsonville      OR           97070-9454
                                                              29800 SW Town Center
 City of Wilsonville             Scott Simonton               Loop East                                                    Wilsonville      OR           97070-9455
 City of Wilsonville SMART                                    28879 SW Boberg Rd.                                          Wilsonville      OR           97070
 CityLink                                                     2105 N.E. Jefferson                                          Peoria           IL           61603
 CityLink                                                     2105 NE Jefferson St.                                        Peoria           IL           61603
                                                              14200 Midway Rd., Suite
 Claim-X-Change, LLC             Shiva Shenoy                 106                                                          Dallas           TX           75244
 Claim-X-Change, LLC d/b/a CXC                                                           14200 Midway Road,
 Solutions                       Attn CEO                       CXC Plaza                Suite 106                         Dallas           TX           75244
 Clearwater Analytics                                           777 W Main St            Suite 900                         Boise            ID           83702
 Cliff Young Sciortino dba CYS
 Drafting Services               CYS Drafting Services          1704 East Broadmor Dr.                                     Tempe            AZ           85282
 CMTM                                                           287 Grove St                                               Worcester        MA           01605
 CNP Technologies                                               806 Tyvola Rd          Ste 102                             Charlotte        NC           28217




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 Coffman Engineers, Inc                                             1101 2ND Ave Ste 400                                            Seattle            WA           98101-1620
 COI to Chesapeake                                                  2316 Steppingstone Sq                                           Chesapeake         VA           23320
 Collins Bus                            Jeff Eriksen                415 W6th                                                        South Hutchinson   KS           67505
                                                                    2 Riverside Plaza Suite
 ColoPeople                             Leah Lovlace                2450                                                            Chicago            IL           60606
                                        Transit Fleet and Transit
 Colorado Springs                       Finance                     1015 Transit Dr                                                 Colorado Springs   CO           80903

 Commission Energy Commission           Jonathan Bobadilla          715 P Street, MS-44                                             Sacramento         CA           95814
                                        Department of General
 Commonwealth of Virgina                Services                    PO Box 1199                                                     Richmond           VA           23218-1199
                                        Division of Purchases &
 Commonwealth of Virgina                Supply                      1111 East Broad Street                                          Richmond           VA           23219
                                        Division of Purchases &
 Commonwealth of Virgina                Supply (DPS)                1111 East Broad Street                                          Richmond           VA           23219
                                                                                               Patrick Henry Bldg. 6th
 Commonwealth of Virgina                Pamela Copeland            1111 East Broad Street      Floor                                Richmond           VA           23219
                                        Pamela Copeland, Statewide
                                        Sourcing and Contracting                               1111 East Broad
 Commonwealth of Virgina                Officer                    Patrick Henry Bldg.         Street, 6th Floor                    Richmond           VA           23219
 Commonwealth of Virginia                                          PO Boox 1199                                                     Richmond           VA           23218-1199
 Compass Group USA, Inc                                            4801 Hannover Place                                              Fremont            CA           94538
 Computer Design & Integration                                     11921 Freedom Drive
 LLC                                                               Suite 550                                                        Reston             VA           20190
 Computer Design & Integration                                     185 Admiral Cochrane
 LLC                                                               Drive Suite 150                                                  Annapolis          MD           21401
 Computer Design & Integration                                     585 Colonial Park Dr
 LLC                                                               Suite 201                                                        Roswell            GA           30075
 Computer Design & Integration
 LLC                                                                696 US Highway 46                                               Teterboro          NJ           07608
                                                                    601 108th Avenue NE
 Concur Technologies                    Attn Legal Department       Suite 1000                                                      Bellevue           WA           98004
                                                                    601 10th Avenue NE,
 Concur Technologies, Inc               SVP Legal                   Suite 100                                                       Bellevue           WA           98004
 Connect Transit Corporation            General Manager             351 Wylie Drive                                                 Normal             IL           61761

                                        Maintenance
 Connect Transit Corporation            Manager/Procurement Officer 351 Wylie Drive                                                 Normal             IL           61761
                                                                    75 Charter Oak Ave.,
 Connecticut Green Bank                                             Suite 1 - 103                                                   Hartford           CT           06106

 Connelly Electric                      Consignee                   14539 South Depot Drive                                         Plainfield         IL           60544

 Connelly Electric Co                   Nick Pupich                 40 S Addison Rd ste 100                                         Addison            IL           60101
                                                                    1915 Paris Road, Suite
 Consolidated Electrical Distributors                               100                                                             Columbia           MO           65201




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                                                              No.2 Xingang Road,
 Contemporary Amperex                                         Zhangwan Town,
 Technology Co., Limited             Lin Xiulan               Jiaocheng District                                             Ningde            Fujian       352100   China
                                                              No.2 Xingang Road,
 Contemporary Amperex                                         Zhangwan Town,
 Technology Co., Limited             Qin Xiaohong             Jiaocheng District                                             Ningde            Fujian       352100   China
                                                              2 Xingang Road,
 Contemporary Amperex                                         Zhangwan Town,
 Technology Co., Limited                                      Jiaocheng District                                             Ningde City       Fujian       352100   China
 Contracts, Grants, and Loans
 Office, MS-18 California Energy                              1516 Ninth Street, 1st
 Commission                                                   Floor                                                          Sacramento        CA           95814
                                                              1333 2nd Street, Suite
 Cooley LLP                         Ray LaSoya                400                                                            Santa Monica      CA           90401
 Coolidge                                                     680 E. Houser Rd.                                              Coolidge          AZ           85131
 Cooper Elliot                                                305 West Boulevard                                             Columbus          OH           43215
 Coordinating Council for Economic
 Development for the State of South Senior Program Manager,   1201 Main Street Suite
 Carolina                           Enterprise Program        1600                                                           Columbia          SC           29201
 Core States                                                  757 S. Anderson Rd.                                            Rock Hill         SC           29730
                                                              1001 17th Street, Suite
 CoreSite, LLC                                                500                                                            Denver            CO           80202
 CoreSite, LLC                                                3032 Coronado                                                  Santa Clara       CA           95054
 Cornerstone Consulting
 Organization, LLC                   Attn Audrey Collins      1015 Eagle Ridge Drive                                         Huron             OH           44839
                                                              221 East North First
 Corporation of the City of Seneca                            Street                                                         Seneca            SC           29679
 County of Greenville, South
 Carolina                            c/o SCTAC                Attn Danny Moyd            2 Exchange Street                   Greenville        SC           29605
 County of Los Angeles Fire
 Department                                                   15660 Stafford St                                              City of Indusry   CA           91744
 County of Los Angeles Workforce
 Development, Aging and
 Community Services                  Caroline Torosis         3175 West Sixth Street                                         Los Angeles       CA           90020
 County of Los Angeles Workforce
 Development, Aging and
 Community Services                  Caroline Torosis         3176 West Sixth Street                                         Los Angeles       CA           90020
                                                              OCPW/Transportation        445 Civic Center Drive
 County of Orange                   Attn Daniel Martinez      Fleet Management           West                                Santa Ana         CA           92701
 County of Orange, a Political
 Subdivision of the State of
 California, Through its Department
 John Wayne                         Accounts Payable          3160 Airway Avenue                                             Costa Mesa        CA           92626




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 County of Orange, a Political
 Subdivision of the State of
 California, Through its Department
 John Wayne                           JWA/Facilities               Attn Melina McCoy          3160 Airway Avenue               Costa Mesa       CA            92626
 County of Orange, a Political
 Subdivision of the State of
 California, Through its Department                                Attn Monica Rodriguez or
 John Wayne                           JWA/Procurement              Thang Bernard            3160 Airway Avenue                 Costa Mesa       CA            92626
 County of Orange, John Wayne                                      Attn Gene Duenas or
 Airport                              JWA/Procurement              Maria Albelo             3160 Airway Avenue                 Costa Mesa       CA            92626
 County of Orange, John Wayne                                      Eddie Martin
 Airport                              Purchasing Division          Administration Building 3160 Airway Avenue                  Costa Mesa       CA            92626
                                      Contract and Purchasing
 County of Sacramento                 Division                     9660 Ecology Ln.                                            Sacramento       CA            95827
 County of Sacramento, Dept of
 Airports                                                          6741 Lindbergh Drive                                        Sacramento       CA            95837
                                      Attn Clerk of the Board of   385 North Arrowhead
 County of San Bernardino             Supervisors                  Avenue, 2nd Dloor                                           San Bernardino   CA            92415-0130
                                                                   2300 County Center
 County of Sonoma                     Bill To, TPW Main            Drive, Site B100                                            Santa Rosa       CA            95403

 County of Sonoma                     Ship To, TPW125 Transit      355 West Robles Avenue                                      Santa Rosa       CA            95407
 CRA International, Inc. (d/b/a
 Charles River Associates)                                         200 Clarendon St                                            Boston           MA            02116
 Creative Bus Sales, Inc.                                          1525 Willingham Drive                                       Atlanta          GA            30344
                                      Accounts Payable
 Crown Credit Company                 Department                   PO Box 640352                                               Cincinnati       OH            45264-0352
 Crown Credit Company                                              44 S Washington St                                          New Bremen       OH            45869
 Crown Lift Trucks                                                 1605 Poplar Drive                                           Greer            SC            29651
 Crown Lift Trucks                                                 929 Berry Shoals Road                                       Duncan           SC            29334
 CTA                                  Mark Stromberg               700 N. Sangamon St.                                         Chicago          IL            60642

 CTA                                                               1600 E. Wyatt Earp Blvd.                                    Dodge City       KS            67801
 CTA                                                               1637 SW 42nd                                                Topeka           KS            66609
 CTA                                                               3305 S. West Street                                         Wichita          KS            67213
 CTA                                                               5701 E 87th Street                                          Kansas City      MO            64132
                                                                   900 Ken-Mar industrial
 CTA                                                               Parkway                                                     Broadview Heights OH           44147
 Cushman & Wakefield of                                            161 Bay Street, Suite
 California, Inc.                     Amy Ward                     1500                                                        Toronto          ON            M5J 2S1      Canada

 Daeyong Industry Co.                                              115 Gongdan 3-daero        Siheung-si                       Gyeonggi-do                                 Republic of Korea
 Daimler AG FCCC EVC                  Ship To                      201 Woodland Road                                           Gaffney          SC            29341
 Daimler Purchasing Coordination
 Corp.                                                             1 Mercedes Drive                                            Tuscaloosa       AL            35403-0100




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           CreditorName                 CreditorNoticeName            Address1                  Address2        Address3             City        State      Zip       Country
 Daimler Purchasing Coordination
 Corp.                                                         1 Mercedes Drive                                            Vance            AL           35490
 Daimler Purchasing Coordination
 Corporation                        Stephanie Chu              1 Mercedes-Benz Drive                                       Vance            AL           35490

 Daimler Truck North America LLC                               4556 N. Channel Avenue                                      Portland         OR           97217
 Daimler Trucks North America       Attn Accounts Payable      PO Box 5800                                                 Troy             MI           48007
 Daimler Trucks North America       Jake Brulc                 4555 N Channel Ave                                          Portland         OR           97217

 Daimler Trucks North America LLC Alexander Cobham             PO Box 3849                                                 Portland         OR           97217

 Daimler Trucks North America LLC Carol Smith                  PO Box 3849                                                 Portland         OR           97208

 Daimler Trucks North America LLC Daimler-Gaffney              301 Hyatt Street                                            Gaffney          SC           29341

 Daimler Trucks North America LLC Garrett Butler               4555 N. Channel Avenue                                      Portland         OR           97217
                                  General Manager of
 Daimler Trucks North America LLC Procurement                  4555 N Channel Ave.                                         Portland         OR           97217

 Daimler Trucks North America LLC                              148 Courtesy Road                                           Highpoint        NC           27260
                                                               4747 N Channel Avenue,
 Daimler Trucks North America LLC                              C5-SUV                                                      Portland         OR           97217

 Daimler Trucks North America LLC                              4747 N. Channel Ave.                                        Portland         OR           97217
 Daimler Trucks North Americas
 LLC                              Daimler-Gaffney              301 Hyatt Street                                            Gaffney          SC           29341
 Daimler-Gaffney                                               301 Hyatt Street                                            Gaffney          SC           29341
 Dakota Software Corporation                                   175, Wyman Street                                           Waltham          MA           02451-1223
 Dallas Area Rapid Transit        AP C-2021268-01              PO Box 223805                                               Dallas           TX           75222

 Dallas Area Rapid Transit          Dart Pioneer Warehouse     2212 East Pioneer Drive                                     Irving           TX           75061
 Dallas Area Rapid Transit          Mr. Barry Pierce           1401 Pacific Avenue                                         Dallas           TX           75202
                                                               1401 Pacific Ave, Room
 Dallas Area Rapid Transit                                     1523                                                        Dallas           TX           75202-7235
 Dallas Area Rapid Transit                                     P.O. Box 660163                                             Dallas           TX           75266
 Dallas Area Rapid Transit                                     P.O. Box 660163                                             Dallas           TX           76266

 Dallas Area Rapid Transit                                     Procurement Department 1401 Pacific Avenue                  Dallas           TX           75202-2732
 DART                               Gregory Oliver             4209 Main Street                                            Dallas           TX           75226
 DART                               Jamie Schug                620 Cherry Street                                           Des Moines       IA           50309
 DART                                                          P.O. Box 660163                                             Dallas           TX           75202-7235
 DART - Delaware Transit            Courtney DeVane, Project   900 Public Safety
 Corporation                        Representative             Boulevard                                                   Dover            DE           19901-4503
 DART - Delaware Transit            Rick Walters, Project      900 Public Safety
 Corporation                        Representative             Boulevard                                                   Dover            DE           19901-4503




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 DART - Delaware Transit                                           119 LowerBeech Street,
 Corporation                                                       Suite 100                                                 Wilmington      DE           19805-4440

 Dassault Systems Americas Corp      TWYMAN,Shaun                  175 Wyman Street                                          Waltham         MA           02451-1223
 Data Center Solutions                                             588 Bellerive Rd.                                         Annapolis       MD           21409
 Data Center Solutions                                             888 Bellerive Rd.                                         Annapolis       MD           21409
 Data Center Solutions, Inc.                                       1150 River Bay Road                                       Annapolis       MD           21409
 Data Center Solutions, Inc.                                       888 Bellerive Road                                        Annapolis       MD           21409
 Data2Logistics                      c/o Navistar                  PO Box 61050                                              Fort Myers      FL           33906-1050
 David Harbour, MBA Deputy
 Director, Bus Maintenance                                                                                                   South San
 SamTrans Bus Maintenance                                          301 North Access Road                                     Francisco       CA           94083
 David Harbour, MBA Deputy
 Director, Bus Maintenance                                                                                                   South San
 SamTrans Bus Maintenance                                          301 North Access Road                                     Francisco       CA           94803
 David Olmeda Chief Operating
 Officer Bus San Mateo County
 Transit District                                                  1250 San Carlos Avenue                                    San Carlos      CA           94070
 DC BLOX Inc.                                                      6 West Druid Drive NE                                     Atlanta         GA           30329

 DDOT South Capitol                                                2880 S Capitol Street SE                                  Washington      DC           20032
 DDOT South Capitol Facility                                       2860 S Capitol St SE                                      Washington      DC           20032
 De Lage Financial Services, Inc.                                  1111 Old Eagle Road                                       Wayne           PA           19087

 De Winter Group                                                   1919 S. Bascom Avenue                                     Campbell        CA           95008
 Decker Electric                     Brian Fair                    4500 West Harry Street                                    Wichita         KS           67209
 Decker Electric                     Jarret Bergkamp               4500 West Harry Street                                    Wichita         KS           67209
 Decker Electric, Inc.               Brandon Horsch                4500 West Harry Street                                    Wichita         KS           67209
 Decker Electric, Inc.               Jarret Bergkamp               4500 West Harry Street                                    Wichita         KS           67209
                                     Daniel H. Dougherty, Sales
                                     and Marketing Leader -
 Deere & Co. Inc.                    Electronic Systems            1141 44th Street North                                    Fargo           ND           58102
 Deere & Company                     Intelligent Solutions Group   1141 44th Street North                                    Fargo           ND           58102
 Deere & Company                                                   One John Deere Place                                      Moline          IL           61265
 Deere & Company, Inc.               Kerry Koisti                  1441 44th Street N                                        Fargo           ND           58102
 Defense Innovation Unit                                           230 RT Jones Rd                                           Mountain View   CA           94043
                                                                   301 West Washington
 Del Norte Unified School District                                 Blvd.                                                     Crescent City   CA           95531

 Del Norte Unified School District                                 310 W Washington Blvd                                     Crescent City   CA           95531
 Delaware Corporation                                              900 Public Safety Blvd                                    Dover           DE           19901
 Delaware Transit Company                                          2 N Monroe Street                                         Wilmington      DE           19801
                                                                   119 Lower Beech Street,
 Delaware Transit Corporation        Courtney B. DeVane            Suite 100                                                 Wilmington      DE           19805
                                                                   119 Lower Beech Street,
 Delaware Transit Corporation        Mary Wahl, Fiscal Manager     Suite 100                                                 Wilmington      DE           19805




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                                                                119 Lower Beech St
 Delaware Transit Corporation       Michael Neal                #100                                                       Wilmington        DE           19805

                                    Richard Walters, Fleet &     119 Lower Beech Street,
 Delaware Transit Corporation       Contract Operations Director Suite 100                                                 Wilmington        DE           19805
 Dell Marketing, LP                                              One Dell Way                                              Round Rock        TX           78682

                                                                1600 Mh Jackson
 Delta Cargo                                                    Service Road Building B                                    Atlanta           GA           30320
 Delta Electronics(Americas)LTD                                 39209 6 Mile Road                                          Livonia           MI           48152
 Department of Administrative                                   201 Piedmont Avenue
 Services (DOAS)                                                S.E., Suite 1308        West Tower                         Atlanta           GA           30334-9010
 Department of Administrative                                   202 Piedmont Avenue
 Services (DOAS)                                                S.E., Suite 1308        West Tower                         Atlanta           GA           30334-9010
 Department of Administrative
 Services, State Purchasing                                     200 Piedmont Avenue,
 Division                                                       S.E., Suite 1308           West Tower                      Atlanta           GA           30334
 Department of Administrative,      Lisa Eason, Deputy          200 Piedmont Ave, Ste
 State Purchasing Division          Commissioner, Purchasing    1308                                                       Atlanta           GA           30334

 Department of Enterprise Services
 Master Contracts and Consulting                                1500 Jefferson Building                                    Olympia           WA           98501
 Department of General Services
 Division of Fleet Management                                   16700 Crabbs Branch
 Services                          Asset Manager                Way                                                        Rockville         MD           20855
 Department of General Services                                 707 Third Street, 2nd
 Procurement Division                                           Floor                                                      West Sacramento   CA           95605-2811
                                   Christina Nunez, Manager,
 Department of General Services,   Contracts Management
 Procurement Division              Section                      707 3rd Street                                             West Sacramento   CA           95605

 Department of Labor and Industries
 Contractor Registration                                        PO Box 44450                                               Olympia           WA           98504-4450
 Department of Transportation and Malka Rodriguez,              701 NW 1st Court, 15th
 Public Works                       Construction Manager III    Floor                                                      Miami             FL           33136
 Department of Transportation and
 Public Works/Infrastructure &                                  1245 E. Washington
 Engineering                                                    Ave., Suite 201                                            Madison           WI           53703

                                    George Stites,
 Department of Transportation       Superintendent Fleet         11911 East Marginal
 Transit Division                   Engineering, Project Manager Way S. Bldg. A                                            Tukwila           WA           98168
 Department of Transportation                                    11911 East Marginal
 Transit Division                                                Way S.                    SAT-TR-0100                     Tukwila           WA           98168
 Department of Transportation                                    1245 E. Washington
 Transit Division                                                Ave., Suite 201                                           Madison           WI           53703




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 Department of Transportation                                   201 South Jackson
 Transit Division                                               Street                                                       Seattle           WA           98104
 Department of Transportation
 Transit Division, Vehicle
 Maintenance Section Fleet                                      11911 East Marginal
 Engineering                                                    Way S.                      SAT-TR-0100                      Tukwila           WA           98168
                                                                1245 E. Washington
 Depertment of Transportation                                   Ave., Suite 201                                              Madison           WI           53703
 Derek Hanson, Director Transit
 Fleet Maintenance                                              2415 101 St SW                                               Edmonton          AB           T6X 1A1      Canada
 Des Moines Area Regional Transit                               Operations Manager -
 Authority                          Keith Welch                 Maintenance                                                  Des Moines        IA           50309
 Des Moines Area Regional Transit
 Authority                          Mike Tiedens                Procurement Manager                                          Des Moines        IA           50309
 Des Moines Regional Transit        Mr. Mike Tiedens,
 Authority DART                     Procurement Manager         620 Cherry Street                                            Des Moines        IA           50309
 Detroit Department of
 Transportation                     Lois Pittman, Deputy Director 100 Mack Ave                                               Detroit           MI           48201
 Detroit Department of              Mike Oglesby, Executive
 Transportation                     Director of Transit           100 Mack Avenue                                            Detroit           MI           48201
 Detroit Department of
 Transportation                                                 5149 Jean St.                                                Detroit           MI           48213
 DGS- California Department of
 General Services                   Erica Seghesio Groves       707 3rd St, 2nd FL                                           West Sacramento   CA           95605
 DGS/Procurement Division           Erica Seghesio-Groves       707 3rd St, 2nd FL                                           West Sacramento   CA           95605

 Diamler Trucks North America LLC Angela Timmen                 4555 N. Channel Avenue                                       Portland          OR           97217

 Diamler Trucks North America LLC Garrett Butler                4555 N. Channel Avenue                                       Portland          OR           97217
 Director of Transportation City of
 Greenville, SC                                                 PO Box 2207                                                  Greenville        SC           29602
 Director, Contracts and
 Procurement San Mateo County
 Transit District                                               1250 San Carlos Avenue                                       San Carlos        CA           94070-1306
                                                                200 HARBORSIDE
 Distributed Solar Projects, LLC                                DRIVE, STE 200                                               SCHENECTADY       NY           12305
 Distribution By Air                                            5404 North 99th Street                                       Omaha             NE           68134
 District Department of
 Transportation                     Transit Delivery Division   55 M Street SE, 5th Floor                                    Washington        DC           20003
 District Department of
 Transportation                                                 3600 Pennys Drive                                            Hyattsville       MD           20785
 District of Columbia Department of
 Transportation                                                 250 M St SE 7th Floor                                        Washington        DC           20002
 District of Columbia OFFICE OF
 THE DIRECTOR                                                   55 M Street SE, 7th Floor                                    Washington        DC           20003




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 District of Columbia, Office of the
 Chief Financial Officer, Office of
 Tax and Revenue                                                 PO Box 37559                                               Washington       DC           20003
 District Secretary San Mateo
 County Transit District                                         1250 San Carlos Avenue                                     San Carlos       CA           94070-1306
 Documoto                                                        800 Englewood Pkwy                                         Englewood        CO           80110
                                                                 221 Main Street, Suite
 DocuSign, Inc.                                                  1000                                                       San Francisco    CA           94105
                                                                 221 Main Street, Suite
 DocuSign, Inc.                                                  1550                                                       San Francisco    CA           94105
                                                                 1100 Old Santa Fe Trail
 DOI, NPS, IMR-Santa Fe MABO                                     Building                                                   Santa Fe         NM           87505
                                       Adam Thompson, Business   600 East Canal Street,
 Dominion Energy                       Development Manager       19th Floor                                                 Richmond         VA           23219
 Dominion Energy Virginia              Adam Birdsong             120 Tredegar Street                                        Richmond         VA           23219
                                                                 10 State House Square,
 Donna M. Pianeta                                                Plaza 11                                                   Hartford         CT           06103
 Doug Holcomb Chief Executive
 Officer Greater Bridgeport Transit                              One Cross Street                                           Bridgeport       CT           06610
 DP World KAAI                                                   1700 St Antoniusweg                                        beveren                       B-9130       Belgium
                                                                 Dockgate 20 204-207
 DP World Southampton                                            Berth Western Docks                                        Hampshire                     SO15 1DA     United Kingdom
                                                                 Dockgate 20 204-207                                        Southampton
 DP World Southampton                                            Berth Western Docks                                        Hampshire                     SO15 1DA     United Kingdom
                                       James Turner Special      8401 DArcy Road Suite
 DPW&T, Office of Transportation       Projects Coordinator      100                                                        Forestville      MD           20747
 DPWT, PGC Bus Depot Station                                     8401 DArcy Road                                            Forestville      MD           20747
                                                                 Muysbroeklaan 43A -
 Dr Depots (Van Doorn)                                           KAAI 494                                                   Antwerpen 3                   B-2030       Belgium
                                       David Thorpe, Corporate   2051 Mission College
 Druva                                 Account Manager           Blvd.                                                      Santa Clara      CA           95054
                                       Michael Lomas, Renewals   2051 Mission College
 Druva                                 Account Manager           Blvd.                                                      Santa Clara      CA           95054
 DS Transport                                                    Keizer Karelstraat 584                                     Bercham ST                    BE 1082      Belgium
 DSV                                   Moises Contreras          100 Walnut Ave                                             Clark            NJ           07066
 DSV - Ex Works                        Danny Lee                 100 Walnut Ave                                             Clark            NJ           07066
                                                                 1005 W Middlesex Ave,
 DSV Air & Sea                                                   Suite 200                                                  Port Reading     NJ           07084-1518
 DSV Air & Sea (UK) LTD                                          1300 Stonehouse Lane                                       Purfleet                      RM19 1NX United Kingdom
                                                                 3F Ixinal Monzen-
 DSV Air & Sea Co. Ltd                                           Nakacho Bldg.                                              Koto-ku          Tokyo        135-0032     Japan
                                                                 I736 3F Ixinal Monzen-
                                                                 Nakacho Bldg. 2-5-4
 DSV Air & Sea Co. Ltd                                           Fukuzumi                                                   Koto-ku                       135-0032     Japan
                                                                 3F IXINAL Monzen-
 DSV Air & Sea Co. Ltd. - I736                                   Nakacho Bldg.                                              Tokyo                         135-0032     Japan




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 DSV Air & Sea Defense Door 141                             1005 W MiddleSex Ave                                         Port Reading        NJ           07064-1518
 DSV Air & Sea Inc                                          2100 W 195th St                                              Torrance            CA           90501
                                                            200 Wood Avenue South
 DSV Air & Sea Inc.               dba DSV Ocean Transport   Suite 300                                                    Iselin              NJ           08830
 DSV Air & Sea Inc.                                         10701 Seymour Ave                                            Franklin Park       IL           60131
 DSV Air & Sea Inc.                                         PO Box 200876                                                Pittsburgh          PA           15251-0876
                                                            3717 Wilson Rd., Ste
 DSV Air & Sea Inc. - 1902                                  100                                                          Atlanta             GA           30354

 DSV AIR & SEA INC. - I902        Ocean Export              2100 West 195th Street                                       Torrance            CA           90501
 DSV Air & Sea NV                                           Bid 829 A                                                    Machelen                         1830         Belgium

 DSV Air & Sea NV                                           IZ Puurs 533                                                 Puurs-Sint-Amands                2870         Belgium

                                                            Bedrijvenzone Machelen
 DSV Air & Sea NV - I441          Claudine Goosens          Cargo Bld. 829 A                                             Machelen                         1830         Belgium
                                                            IZ Puurs 533
 DSV AIR & SEA NV - I441                                    Schoonmansveld 40                                            Puurs-sint-Amands                2870         Belgium

 DSV Air & Sea NV - I441                                    IZ Puurs 533                                                 Puurs-Sint-Amands                2870         Denmark

                                                            Bedrijvenzone Machelen
 DSV Air & Sea NV I441            Sandra Nagels             Cargo Bld. 829 A                                             Machelen                         1830         Belgium

                                                            Bedrijvenzone Machelen
 DSV Air & Sea NV-1441                                      Cargo Bld. 829 A                                             Machelen                         1830         Belgium
 DSV ATL (FIRMS O293)                                       3705 Wilson Road SE                                          Atlanta             GA           30354
 DSV Ex Works                     Bill To                   100 Walnut Avenue                                            Clark               NJ           07066
 DSV Ocean Transport A/S                                    Hovedgaden 630                                               Hedehusene                       DK-2640      Denmark
 DSV Ocean Transport A/S                                    Howedgaen 630                                                Hedehusene                       DK-2640      Denmark
                                                            200 Wood Avenue
 DSV Ocean Transport Inc.         Carrier                   South, Suite 300                                             Iselin              NJ           08830
 DSV Ocean Transport Inc.                                   Hovedgaden 630                                               Hedehusene                       DK-2640      Denmark
                                                            1005 W Middlesex Ave
 DSV Playmobil                                              Ste 200                                                      Port Reading        NJ           07064-1518
                                                            1100 Laval Boulevard,
 DSV Solutions, LLC                                         Suite 100                                                    Lawrenceville       GA           30043
 DTA                                                        588 Bellerive Rd.                                            Annapolis           MD           21409
                                                            588 Bellerive Road, Suite
 DTA                                                        1B                                                           Annapolis           MD           21409
 DTA                                                        888 Bellerive Rd.                                            Annapolis           MD           21409
 DTPW                             Field Engineering         3300 N.W. 32 Avenue                                          Miami               FL           33142
                                  Andrew Hinz, Senior
 Duke                             Operations Manager        302 Science Drive                                            Durham              NC           27708




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                                                               Science Drive Parking
 Duke                             Attn 105, Front Desk         Garage                                                      Durham         NC           27705
                                                               Parking and
 Duke                             Edith Mooney                 Transportation                                              Durham         NC           27708
 Duke                             Jaime G Palmer               Transportation                                              Durham         NC           27708
 Duke                             Jaime G Palmer               Transportation Services                                     Durham         NC           27708
                                                               Parking and
 Duke                             Jeffrey Fisher               Transportation                                              Durham         NC           27708

                                  Wholesale Renewable
 Duke Energy Carolinas, LLC       Manager - Mail code ST-2620 400 S. Tyron Street                                          Charlotte      NC           28202
 Duke Parking Services            Attn Chuck Landis           Campus Box 90644                                             Durham         NC           27708
 Duke Parking Services            Attn Jamie Palmer           Campus Box 90644                                             Durham         NC           27708
 Duke Performances                Attn 105, Front Desk        2010 Campus Dr                                               Durham         NC           27708
 Duke Transportation Services     Attn Jamie Palmer           712 Wilkerson Avenue                                         Durham         NC           27708
 Duke Transportation Services     Attn Joseph Honeycutt       712 Wilkerson Avenue                                         Durham         NC           27708

 Duke University                  Andrew Hinz                  Parking & Transportation P.O. Box 90644                     Durham         NC           27708
 Duke University                  Attn Andrew Hinz             302 Science Drive                                           Durham         NC           27708
 Duke University                  Parking & Transportation     302 Science Dr                                              Durham         NC           27708
 Duke University                  POC Joe Hodges               114 S. Buchanan Blvd                                        Durham         NC           22708
 Duke University                                               114 S Buchanan Blvd                                         Durham         NC           27701
 Duke University                                               14 S Buchanan Blvd                                          Durham         NC           27708
 Duke University 2                                             114 S. Buchanan Blvd                                        Durham         NC           22708
 Duke University Health System,
 Inc.                             Accounts Payable             Washington Bldg.           Box 104131                       Durham         NC           27708
 Duke University Health System,
 Inc.                             Corporate Accounts Payable   Campus Box 104131                                           Durham         NC           27708
 Duke University Parking and
 Transportation Services          Carl Depinto                 712 Wilkerson Ave                                           Durham         NC           27708
 DVS                                                           100 Walnut Ave                                              Clark          NJ           07066

 DVS AIR & SEA INC                                             2100 W 195TH STREET                                         TORRANCE       CA           90501
                                                               27200 SW Parkway
 DWFritz Automation, Inc.                                      Avenue                                                      Wilsonville    OR           97070

 DWFritz Automation, Inc.                                      9600 SW Boeckman Rd.                                        Wilsonville    OR           97070

 DWFritz Automation, Inc.                                      9601 SW Boeckman Rd.                                        Wilsonville    OR           97070
                                                               9600 SW Boeckman
 DWFritz Automation, LLC                                       Road                                                        Wilsonville    OR           97070
 E*TRADE Financial Corporate                                   4005 Windward Plaza
 Services, Inc                    Managing Attorney            Drive                                                       Alpharetta     GA           30005
 E*TRADE Financial Corporate                                   4005 Windward Plaza
 Services, Inc                    President                    Drive                                                       Alpharatta     GA           30005




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 E*TRADE Financial Corporate
 Services, Inc.                                                    3 Edison Drive                                             Alpharatta       GA           30005
 E*TRADE Securities LLC                                            3 Edison Drive                                             Alpharatta       GA           30005
 Eagle County Attorneys Office                                     PO Box 850                                                 Eagle            CO           81631
 Eagle County Regional
 Transportation Authority                                          3289 Cooley Mesa Road                                      Gypsum           CO           81637

 Eagle County Transit                 Jared Barnes                 3289 Cooley Mesa Road                                      Gypsum           CO           81637
                                                                   600 Corporate Park
 EAN Services, LLC                                                 Drive                                                      Saint Louis      MO           63105
 Earlsboro Public Schools                                          101 Stargell Avenue                                        Earlsboro        OK           74840
 Easter Cost Transit Authority
 (ECCTA)                                                           801 Wilbur Avenue                                          Antioch          CA           94509
 Easter Cost Transit Authority (Tri
 Delta Transit)                                                    801 Wilbur Avenue                                          Antioch          CA           94509
 Eastern Crane & Hoist                                             311 Dale Dr.                                               Fountain Inn     SC           29644
 Eastern Crane & Hoist, LLC                                        311 Dale Dr.                                               Fountain Inn     SC           29644
 Eastern Industrial Supplies, Inc.                                 6250 Joyce Dr.                                             Arvada           CO           80403
 Eaton Corporate Research and
 Technology                                                        W 126N7250 Flint Drive                                     Menomonee        WI           53051
                                      Attn Vice President and
 Eaton Corporation                    Secretary                    1000 Eaton Blvd                                            Cleveland        OH           44122
 Eaton Corporation                    Peter Filsinger              1000 Eaton Blvd                                            Cleveland        OH           44122
 Eaton Corporation                    Sara J. Hazen                1000 Eaton Blvd                                            Cleveland        OH           44122

 Eaton Corporation                                                 26201 Northwestern Hwy                                     Southfield       MI           48076
                                  Attn Pawel Wolski - Plant
 Eaton Truck Components Sp. Zo.o. Manager                          ul.30 Stycznia No.55                                       Tczew                         83-110    Poland
 Eberspaecher Climate Control
 Systems U.S.A. Inc.                                               43700 Gen Mar                                              Novi             MI           48375
                                                                   800 W. Chicago, Suite
 Echo Global Logistics                                             725                                                        Chicago          IL           60554
                                                                   800 W. Chicago, Suite
 Echo Global Logistics                                             725                                                        Chicago          IL           60654
                                                                   600 W. Chicago, Suite
 Echo Global Logistiscs                                            725                                                        Chicago          IL           60654
                                      Jessie Cooper, Fleet Asset
 ECO Transit                          Supervisor                   3289 Cooley Mesa Road                                      Avon             CO           81637
                                      Jessie Cooper, Fleet Asset
 ECO Transit                          Supervisor                   500 Swift Cluch Rd                                         Avon             CO           81637
                                      Jessie Cooper, Fleet Asset
 ECO Transit                          Supervisor                   PO Box 1070                                                Eagle            CO           81637

                                                                   3289 Cooley Mesa Road/
 ECO Transit                                                       500 Swift Gulch Rd                                         Eagle            CO           81637




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                                                                  Argonne National
 EcoCar                              Kristen De La Rosa, Director Laboratory                  Bldg. 362                      Argonne          IL           60439
 EDF Renewables, Inc.                                             15445 Innovation Drive                                     San Diego        CA           92128-3432

 Edinburgh Precision Buses Pty Ltd                                25 Woomera Ave                                             Edinburgh        SA           5111         Australia
 Edinburgh Precision Buses PTY
 LTD                                                              35 Woomera Ave                                             Edinburgh        SA           5111         Australia
                                                                  53 State Street, Suite
 Edison Energy, LLC                                               3802                                                       Boston           MA           02109

 Edmonton                                                         4th Floor, Century Place                                   Edmonton         AB           T5J 3A3      Canada
                                                                  Westwood Integrated
 Edmonton                                                         Site                                                       Edmonton         AB           T5G 2S7      Canada
 Edmonton Transit Service            City of Edmonton             10111-104 Avenue NW                                        Edmonton         AB           T5J 0J4      Canada
 Edmonton Transit Service                                         2415-101 Street SW                                         Edmonton         AB           T6X 1A1      Canada
 Edmonton Transit Service, City of   Derek Hanson, Director
 Edmonton, Alberta, Canada           Transit Fleet Maintenance    2415-101 Street SW                                         Edmonton         AB           T6X 1A1      Canada
 Eldapoint Ltd                                                    Eling Wharf, High St                                       Totton           S Hampton    SO40 4JN     United Kingdom

 Eldorado National (California), Inc. Attn General Manager        9670 Galena St.                                            Riverside        CA           92509
 Eldorado National (California), Inc.
 (ENC)                                Ben Winkel and Alan Haro    9670 Galena St.                                            Riverside        CA           92509
 Eldorado National (California), Inc.
 (ENC)                                Cris Lein and Ben Winkel    9670 Galena St.                                            Riverside        CA           92509
 Electric Vehicle Sales Inc., A
 Division of Kamin Motor Group                                    2150 5th Avenue                                            Ronkonkoma       NY           11779
 Electriphi inc.                                                  1155 Indiana St                                            San Francisco    CA           94107
 Element                                                          940 Ridgebrook Road                                        Sparks           MD           21152
                                                                  1000 Bishop Street,
 Elemental Excelerator, Inc.         Danielle J. Harris           Suite 505                                                  Honolulu         HI           96813
                                                                  1001 Bishop Street,
 Elemental Excelerator, Inc.         Elena Farden                 Suite 505                                                  Honolulu         HI           96813
                                                                  9510 Elk Grove-Florin
 Elk Grove Unified School District   Accounts Payable             Road                                                       Elk Grove        CA           95624
 Elk Grove Unified School
 District/Transportation             Anthony Willis & Kert Berdon 8421 Gerber Rd                                             Sacramento       CA           95828
 Ellis Performance Solutions, LLC                                 3316 Pacific Drive                                         Naples           FL           34119
 Elma School District 68             Kendis Goldsmith             1235 Monte Elma RD                                         Elma             WA           98541
 EMC Insurance                                                    PO Box 712                                                 Des Moines       IA           50306-0712
 Employers Mutual Casualty
 Company                                                          PO Box 1739                                                Wichita          KS           67201-1739
                                                                  7125 W Jefferson Ave
 Encore Electric Inc                 Randy Sewald                 Ste 400                                                    Lakewood         CO           80235
 Encore Technology Group                                          141 Grace Drive                                            Easley           SC           29640
 Ennis Electric                                                   509 East 18th Street                                       Norfolk          VA           23504
 Ennis Electric, Co., Inc.                                        7851 Wellingford Dr.                                       Manassas         VA           20109




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 ENVIRONMENTAL                       Detroit Metropolitan Airport   11050 Rogell Drive #602                                        Detroit          MI           48242
 Envoy                                                              488 Bryant Street                                              San Francisco    CA           94107
 Envoy, Inc                                                         410 Townsend St                                                San Francisco    CA           94107
 EquiCharge Solutions                                               114 Gleneagles Terrace                                         Cochrane         AB           T4C 1W6    Canada

 Essex County Public Schools                                        PO Box 756                 109 North Cross Street              Tappahannock     VA           22560
 ESTES                                                              PO Box 25612                                                   Richmond         VA           23260
 Euromoney Global LTD.                                              8 Bouverie Street                                              London                        EC4Y 8AX   United Kingdom
 EV Infrastructure, LLC                                             1690 Scenic Ave.                                               Costa Mesa       CA           92626
 Everett Transit                     Theresa Bauccio- Teschlog      PO Box 12130                                                   Everett          WA           98206
                                                                    3201 Smith Ave, STE
 Everett Transit                                                    215                                                            Everett          WA           98201
 Everett Transit                                                    3255 Cedar St.                                                 Everett          WA           98201
 Everett Transit and City of Everett,
 MVD                                                                3200 Cedar St.                                                 Everett          WA           98201
 Everett Transit City of Everett
 Purchasing Division                                                PO Box 12130                                                   Everett          WA           98206
 Everett Transit Transit Operations
 Center                                                             3225 Cedar St                                                  Everett          WA           98201
 Everett Transit, Purchasing          Trevor Kyllingmark            3225 Cedar St Door 5                                           Everett          WA           98201
                                                                    5251 California Avenue,
 EvGateway, Inc.                                                    Suite 150                                                      Irvine           CA           94010
 Excelfore Corporation                                              39650 Liberty Street                                           Fremont          CA           94538
 Exelon Accounts Payable                                            PO Box 696002                                                  San Antonio      TX           78269
 Exelon Business Services            Jefrey Simcox                  2301 Market Street                                             Philadelphia     PA           19103
                                     Attn Legal Department
 Exelon Business Services            (Corporate & Commercial and
 Company, LLC                        Litigation)                 2301 Market Street                                                Philadelphia     PA           19103
 Exova Defiance                                                  1150 W. Maple Road                                                Troy             MI           40084
 Expeditors                                                      425 Valley Drive                                                  Brisbane         CA           94005
                                                                 3101 Yorkmont Road,
 Expeditors - ClT                    Deliver To                  Suite 2400                                                        Charlotte        NC           28208
                                                                 Bernard Van Hoolstraat
 Expeditors - SEA                                                58                                                                Kent             WA           98035-1127
 Expeditors Brussels                                             Machelen-Cargo 834                                                Machelen                      1830       Belgium
                                                                 3101 YORKMONT
 EXPEDITORS CHARLOTTE                                            ROAD STE. 2400                                                    Charlotte        NC           28208
                                                                 30101 Yorkmont Road
 Expeditors- CLT                                                 Suite 2400                                                        Charlotte        NC           28208
 Expeditors Int                                                  Building 752                                                      Brucargo                      1931       Belgium
 Expeditors Int                                                  Building 834                                                      Brucargo                      1931       Belgium
 Expeditors Int                                                  Building 834                                                      Brucargo                      B-1931     Belgium
 Expeditors Intern. NV                                           Vliegveld 752                                                     Steenokkerzeel                BE 1820    Belgium
 Expeditors International                                        Brucrgo Building 834                                              Machelen                      B-1830     Belgium




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                                                                  Unit 1, Block B, Air Carco
 Expeditors International (UK) Ltd                                Ctre                                                       Renfrewshire                  PA3 2AY   United Kingdom

                                                                  Bedrijvenzone Machelen
 expeditors International Inv                                     Cargo Bld. 829 A                                           Machelen                      1830      Belgium
                                                                  2 Kisim B Blok, Kat 2,
 Expeditors International IST                                     No. 18                                                     Istanbul                      34306     Turkey
 Expeditors International N.V.                                    Vliegveld 752                                              Steenokkerzeel                B-1820    Belgium
                                                                  Bedrijvenzone Machelen-
 Expeditors International nv                                      Cargo 834                                                  Machelen                      B-1830    Belgium
 Expeditors International NV                                      Brucargo Building 834                                      Machelen                      BE-1830   Belgium

 Expeditors International UK Limited Declarant Representative     Canton Lane                                                Birmingham                    B46 1GA   United Kingdom
 Expeditors International UK LTD                                  Canton Lane                                                Birmingham                    B46 1GA   United Kingdom
 Expeditors Intl of WA Inc.                                       425 Valley Drive                                           Brisbane         CA           94005
 Expeditors Intl UK LTD                                           1 Ascot Road                                               Middlesex                               United Kingdom
 Expeditors -SFO                                                  425 Valley Drive                                           Brisbane         CA           94005
                                                                  12200 S Wilkie Avenue
 Expeditors-LAX                                                   Suite 100                                                  Hawthorne        CA           90250
                                                                  1700 Boulter Industrial
 EZ Concept                                                       Parkway                                                    Webster          NY           14580
 F&E Technology                                                   1981 W Snell Rd                                            Oshkosh          WI           54904
 F&E Technology Center                                            1981 W Snell Rd                                            Oshkosh          WI           54904
 F&P Development LLC                 Floyd W Merryman III         5120 Ward Rd                                               Evington         VA           24550
 F&P Development, LLC                                             1520 Wards Road                                            Evington         VA           24550
                                     Oren Skidelsky Sunish        4316 North Elston
 Facet Engineering                   Mathew                       Avenue                                                     Chicago          IL           60641
 Facet Engineering                   Sunish Mathew                4316 N Elston Ave                                          Chicago          IL           60641
 Facet Engineering LLC               Oren Skidelsky               4316 N Elston Ave                                          Chicago          IL           60641
                                                                  12304 107st Westwood
 Facility Maintenance Services                                    Central                                                    Edmonton         AB           T5G 2S7   Canada
 Facility Maintenance Services                                    9803 102a Avenue NW                                        Edmonton         AB           T5G 2S7   Canada
                                                                  8115 Gatehouse Road,
 Fairfax County Public Schools                                    Suite 5400                                                 Falls Church     VA           22042
                                                                  150 S. Washington St.
 Falls Church City Public Schools                                 Ste 400                                                    Falls Church     VA           22046
                                                                  201 S. Lake Avenue
 Farient Advisors                                                 Suite 804                                                  Pasadena         CA           91101
 FB Logistics                                                     Brucargo Building 720                                      Machelen                      B-1830    Belgium
 FCAHS Foundation, Inc                                            215 Old Hwy 40 East                                        Brooklyn         MS           39425
 FCC EVC                             Brenda Mcgill                201 Woodland Rd                                            Gaffney          SC           29341
                                     Attn Brenda McGill, Daniel
 FCCC EVC                            Henry                        201 Woodland Rd                                            Gaffney          SC           29341
 FCCC EVC                                                         201 Woodland Rd                                            Gaffney          NC           29341

 FCPS-Transportation Office 480V                                  7446 Hayward Rd                                            Frederick        MD           21702




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 Federal Express Canada
 Corporation                                                    5985 Explorer Drive                                         Mississauga          ON           L4W 5K6      Canada

 Federal Insurance Company                                      202B Halls Mill Road                                        Whitehouse Station NJ             08889
                                                                1200 New Jersey
 Federal Transit Administration                                 Avenue                                                      SE Washington        DC           20590
                                                                1200 New Jersey
 Federal Transit Administration                                 Avenue                                                      Washington           DC           20590
 Federal Transit Administration,                                1200 Neew Jersey
 U.S. DOT                                                       Avenue, SE                                                  Washington           DC           20590
 FedEx                                                          PO Box 223125                                               Pittsburgh           PA           15251-2125
 FedEx Trade Networks Transport &                               3600 Pammel Creek
 Brokerage, Inc.                                                Road                                                        La Crosse            WI           54601-7599
 FedEx Transportation Services
 Agreement                                                      PO Box 371461                                               Pittsburgh           PA           15250
 FedEx Transportation Services
 Agreement                                                      PO Box 94515                                                Palatine             IL           60094-4515
 Fee Insurance Group Inc.         Regina Jackson                2920 N Plum Street                                          Hutchinson           KS           67502
 Feltman Brothers                                               150 Airport Rd Ste 700                                      Lakewood             NJ           08701
                                                                10 South LaSalle Street,
 Figliulo & Silverman P.C.             Attn Marc S. Porter      Suite 3600                                                  Chicago              IL           60603
 Fike                                                           704 SW 10th Street                                          Blue Springs         MO           64013-0610
                                                                730 Washington
 Finance Director City of Racine                                Avenue., Room 103                                           Racine               WI           53403
 First Amendment To Bus Purchase
 Contract                                                       55 Karns Meadow Drive                                       Jackson              WY           83001
                                                                600 Vine Street, Suite
 First Group America                                            14000                                                       Cincinnati           OH           45202
                                                                30300 Telegraph Road,
 First Industrial Realty Trust, Inc                             Suite 123                                                   Bingham              MI           48025
                                                                30300 Telegraph Road,
 First Industrial Realty Trust, Inc.                            Suite 123                                                   Bingham Farms        MI           48025
                                                                First Industrial Realty
 First Industrial, L.P.                Operations Department    Trust, Inc.                                                 Chicago              IL           60606
                                                                1207 Greenwood
 First Student                         First Student, Inc.      Avenue                                                      Maywood              IL           60153
 First Transit                         David Larsen             600 Vine St.                                                Cincinnati           OH           45202
 FiVH Management BVBA                                           Bernard Van Hoolstraat
 represented by Filip Van Hool         CEO                      58                                                          Koningshooikt-Lier                2500         Belgium
 Fleet program Manager
 Transportation Services               Tony Cademarti           3200 Cedar St                                               Everett              WA           98201
 FLLC Custom Chassis Corp                                       552 Hyatt St                                                Gaffney              NC           29341-2525

 FLLC Custom Chassis Corporation                                552 Hyatt Street                                            Gaffney              SC           29341




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                                      Bureau of Contracts, Grants
                                      and Procurement
 Florida Department of Education      Management Services           325 West Gaines Street                                        Tallahassee      FL           32399-0400
                                                                    325 West Gaines Street,
 Florida Department of Education                                    Suite 834                                                     Tallahassee      FL           32399-0400

 Foley Power Solutions CAT                                          1600 E. Wyatt Earp Blvd.                                      Dodge City       KS           67801
 Foley Power Solutions CAT                                          1637 SW 42nd                                                  Topeka           KS           66609
 Foley Power Solutions CAT                                          3305 S. West Street                                           Wichita          KS           67213
 Foley Power Solutions CAT                                          5701 E 87th Street                                            Kansas City      MO           64132
                                                                    100 S Vincent Ave Ste
 Foothill Transit                     Doran J Barnes                200                                                           West Covina      CA           94010
 Foothill Transit                                                   5640 Peck Road                                                Arcadia          CA           91006
 Forbes Bros. LTD                                                   1290 91st SW                                                  Edmonton         AB           T6X OP2      Canada
 Forbes Bros. LTD (FBL)                                             1290 91st SW                                                  Edmonton         AB           T6X OP2      Canada
 Forensic Analytical Consulting
 Services                             Steve Parpan                  21228 Cabot Blvd                                              Hayward          CA           94545
 Forma Structural Consulting                                        225 Buist Ave                                                 Greenville       SC           29609
 Frame.io                                                           345 Park Ave.                                                 San Jose         CA           95110
 Francis Energy                       Jordan Howard                 1924 E. 6th Street                                            Tulsa            OK           74104
 Francis Energy, LLC                                                1924 E 6th St                                                 Tulsa            OK           74104
 Frank Annicaro Chief Officer,
 Central Maintenance Facilities &
 Acting Chief Maintenance Officer
 NYCT DOB and MTA Bus Co.                                           750 Zerega Avenue                                             Bronx            NY           10473

 Fredericksburg City Public Schools                                 210 Ferdinand Street                                          Fredericksburg   VA           22401
 Freedom Interiors Group                                            28 Cherrydale Drive                                           Greenville       SC           29609
 Freight Partners International Inc                                 7485 Bath Road                                                Mississauga      ON           L4T 4C1      Canada
 Freightliner Custom Chassis                                        110 Midway Rd                                                 Gaffney          SC           29341
 Freightliner Custom Chassis
 Corporation                                                        4555 N Channel Ave.                                           Portland         OR           97217
 Freightliner Custom Chassis
 Corporation LLC                                                    4555 N. Channel Avenue                                        Portland         OR           97217

 Freightliner Custom Chassis-DTNA                                   301 Hyatt Street                                              Gaffney          SC           29341
 Freightliner Ltd/Pentalver
 Transport Ltd/Pentalver Cannock G&W UK/Europe Region               6th Floor, The Lewis
 Ltd                               Companies                        Building, 35 Bull Street                                      Birmingham                    B4 6EQ       United Kingdom
 Freightliner Spec. Veh. eMobility
 Group                             Nicholas Rini                    552 Hyatt Street                                              Gaffney          SC           29341
                                                                    Freightliner Terminal,
 Freightliner, Birmingham                                           Landor St, Birmingham                                         Warwickshire                  B8 1BT       United Kingdom
                                                                    350 Hudson Street, 4th
 Frenkel & Company                                                  Floor                                                         New York         NY           10014
 Fresh Water Systems                                                2299 Ridge Road                                               Greenville       SC           29607




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                                    Rodolfo Castro, Maintenance
 Fresno Area Express                Manager                     2223 G Street                                               Fresno           CA           93706
                                    Caleb Bowman Williams,
 Fresno Area Express - Fleet        Fleet Operations Specialist Dept. of Transportation                                     Fresno           CA           93706

 Fresno Area Express Maintenance                                 2223 G Street                                              Fresno           CA           93706
                                    Moses Stites, General        2035 Tulare Street, Suite
 Fresno County Rural                Manager                      201                                                        Fresno           CA           93721
                                    Moses Stites, General        2035 Tulare Street, Suite
 Fresno County Rural Transit        Manager                      201                                                        Fresno           CA           93721
                                    Sales Department Asuka       1-7-41, Irifune, Minato-
 Fujitrans Corporation.             Fukaya                       Ku,                                                        Nagoya, Aichi                              Japan
                                    Narayanan Srinivasan,        2201 Long Prairie Road,
 Fulfeelment, LLC                   Founder and Principal        Suite 107-325                                              Flower Mound     TX           75022
                                                                 71787 Jonesboro Road,
 Fulton & Kozak, LLC                                             Suite 100A                                                 Morrow           GA           30260
                                                                 7187 Jonesboro Road,
 Fulton & Kozak, LLC                                             Suite 100A                                                 Morrow           GA           30260
 General Heating & AC                                            224 Hicks Road                                             Greenville       SC           29605
 General Heating & AC Cond                                       224 Hicks Road                                             Greenville       SC           29605
 General Heating and Air
 Conditioning of Greenville, Inc.                                224 Hicks Road                                             Greenville       SC           29605
                                    Eric Thomas, Senior
 General Motors                     Innovation Buyer             300 Renaissance Center                                     Detroit          MI           48265
 General Service Administration     Accounts Payable (BCEB)      1500 Bannister Rd.                                         Kansas City      MO           64131
                                    Brandon J. Posey, CS and
 General Services Administration    Russ Miller, COR             GSA/FAS/QMAAA                                              Washington       DC           20405

                                    Financial Operations &
 General Services Administration    Disbursement Branch (BCEB) PO Box 419018                                                Kansas           MO           64141
                                                               805 Amherst Court, Suite
 Geo Services, Inc                                             204                                                          Naperville       IL           60565
                                                               1290 Avenue of the
 Georgeson LLC                                                 Americas, 9th Floor                                          New York         NY           10104
 Georgia Department of              Lisa Eason, Deputy         200 Piedmont Ave, Ste
 Administrative Services            Commissioner, Purchasing   1308                                                         Atlanta          GA           30334
 Georgia Department of                                         200 Piedmont Avenue,
 Administrative Services                                       S.E, Suite 1308                                              Atlanta          GA           30334-9010
 Georgia Department of                                         200 Piedmont Avenue
 Administrative Services                                       SE, Suite 1804                                               Atlanta          GA           30334-9010
                                                               2180 Meadowvale
 Georgia-Pacific Canada                                        Boulevard, Suite 200                                         Mississauga      ON           L5N 5S3      Canada
 Georgia-Pacific Gypsum LLC                                    133 Peachtree Street                                         Atlanta          GA           30303
                                                               Bedrijvenzone Brucargo
 Geotrans BVBA                                                 Building 720B                                                Machelen                      1830         Belgium




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 Gilbert & Sackman, a Law                                       3699 Wilshire Boulevard,
 Corporation                                                    Suite 1200                                                 Los Angeles       CA           90010
 Girls Athletic Leadership School
 Los Angeles                                                    8015 Van Nuys Blvd.                                        Panorama City     CA           91402-6009
 Givens Inc                                                     2316 Steppingstone Sq                                      Chesapeake        VA           23320
                                                                2316 Steppingstone
 Givens Warehouse                                               Square                                                     Chesapeake        VA           23320
                                                                990 Norcross Industrial
 GLB Solutions                                                  Court                                                      Norcross          GA           30071
 Global Innovations, U.S.A                                      3901 N Via De Cordoba                                      Tucson            AZ           85749
                                                                175 Federal St., 17th
 Globalization Partners, LLC                                    floor                                                      Boston            MA           02110
 GlobalTranz                                                    PO Box 6348                                                Scottsdale        AZ           85261
                                                                1165 Northchase PKWY
 GOH America Corporation                                        SE Suite 230                                               Marietta          GA           30067
                                                                                           Okano Souko
 Goh Shoji                          c/o Marudai Shokai          Kasumigaura Soko           Kasumigaura 2souko              Ibaragi           Ibaragi      315-0056     Japan
                                                                1838 Kamiinayoshi
                                                                Okano souko
 Goh Shoji                          Marudai shokai              kasumigaura 2souko                                         Chiba             Ibaragi      315-0056     Japan
 GOH Shoji Co Inc                                               2-11-2 Hatchobori                                          Tokyo                          104-0032     Japan

 Goh Shoji Co., Inc Marudai shokai
 kasumigaura soko, Okano souko
 kasumigaura 2souko                Attn Mr. Hagiwara            1838, Kamiinayoshi                                         Kasumigaura-shi   Ibaraki      315-0056     Japan
 GOH Shoji Co., Inc.               Attn Mr. Hagiwara            1838, Kamiinayoshi                                         Kasumigaura-Shi   Ibara-Shi    3150056      Japan
                                                                Marudai Shokai
                                                                Kasumigaura Soko
                                                                Okano Souko
 Goh Shoji Co., Inc.                Attn Mr. Hagiwara           Kasumigaura 2souko        Kasumigaura-shi                  Ibaraki                        315-0056     Japan
 GOH Shoji Co., Inc.                Mr. Hagiwara                Marudai Shokai                                             Kasumigaruashi                 3150056      Japan
 GOH Shoji Co., Inc.                Mr. Hagiwara                Marudai Shokai                                             Kasumigaurashi                 3150056      Japan
                                                                Okano souko
                                                                kasumigaura 2souko
 Goh Shoji Co., Inc.                Mr. Hagiwara                1838 Kamiinayoshi                                          Kasumigaura-shi   Ibaraki      315-0056     Japan
                                                                2-11-2, Hatchobori, Chuo-
 GOH Shoji Co., Inc.                                            ku                                                         Tokyo                          104-0032     Japan
 Gold Bond Building Products                                    2001 Rexford Road                                          Charlotte         NC           28211
                                                                Colndale Road,
 Goldstar Heathrow Ltd              Ashley Beasley              Colnbrook                                                  Berkshire                      SL3 0HQ      United Kingdom
                                    Ashley Beasley, Transport
 Goldstar Heathrow Ltd              Controller                  Colndale Road                                              Colnbrook         Berkshire    SL3 0HQ      United Kingdom
 Google Bus Chargers                                            Macon Road                                                 Mountain View     CA           94035
 Gordon Ericksen Facilities
 Services                                                       17810 8th Ave S                                            Burien            WA           98148




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                                     Shelly Blake, General
 GoTriangle                          Counsel                   4600 Emperor Blvd                                           Durham           NC           27703
 Gould &Ratner, LLP                  David Arnburg             222 N. LaSa11e Street                                       Chicago          IL           60601
 GOVERNMENT OF THE
 DISTRICT OF COLUMBIA DC
 Office of Contracting and                                     441 4th street, NW, Suite
 Procurement                                                   700                                                         Washington       DC           20001
 Govt. of the District of Columbia                             55 M Street SE, 5th floor,
 Department of Transportation                                  SE, 5th floor                                               Washington       DC           20003
 Grainger                                                      730 Congaree Rd.                                            Greenville       SC           29607-3598
 Grant Elementary School District    Business                  8835 Swasey Dr.                                             Redding          CA           96001
 Grant School                                                  8835 Swasey Dr.                                             Redding          CA           96001
 Grayson Automotive                                            1 Wharf Rd                                                  Birmingham                    B11 2DX    United Kingdom

 Grayson automotive services (257)                             257 Wharfdale Road                                          Tyseley          Birmingham B11 2DP        United Kingdom

 Grayson Automotive Services Ltd                               1 Wharf Rd                                                  Birmingham                    B11 2DX      United Kingdom
 Grayson Thermal Systems             Consignor                 1 Wharf Rd                                                  Birmingham                    B11 2DX      United Kingdom
                                                               Unit 4 Kingpin Industrial
 Grayson Thermal Systems             Michael Donovan           Park                         Tyseley Wharf                  Birmingham                  B11 2FE        United Kingdom
 Grayson Thermal Systems                                       257 Wharfdale Road                                          Tyseley          Birmingham B11 20P        United Kingdom
                                                                                                                           Tyseley -
 Grayson Thermal Systems                                       257 Wharfdale Road                                          Birminngham                   B-1120P      United Kingdom
 Grayson Thermal Systems                                       Wharfdale House                                             Birmingham                    B112DP       United Kingdom
 Grayson Thermal Systems                                       980 Hurricane Road                                          Franklin         IN           46131
 Great America Financial Services
 Corporation                                                   PO Box 609                                                  Cedar Rapids     IA           52406-0609
 GreatAmerica Financial Services
 Corporation                                                   625 First Street SE                                         Cedar Rapids     IA           52401
 Greater Bridgeport Transit                                    One Cross Street                                            Bridgeport       CT           06610
 Greater Bridgeport Transit
 Authority                                                     One Cross Street                                            Bridgeport       CT           06610
 Greater Peoria Mass Transit
 District (CityLink)                                           2105 NE Jefferson Ave                                       Peoria           IL           61603
                                                               21 Northeast Jefferson
 Greater Peoria Transit              Accounts Payable          St                                                          Peoria           IL           61603
 Greater Portland Metro              Glenn Fenton              114 Valley St.                                              Portland         ME           04102
 Greater Portland Metro Transit      Glenn Fenton              114 Valley St.                                              Portland         ME           04102
                                     Mark A, Sousa, General
 Green Mountain Transit              Manager                   15 Industrial Parkway                                       Burlington       VT           05403
 Green Mountain Transit                                        15 Industrial Parkway                                       Burlington       VT           05401
 Green Mountain Transit                                        375 Lake Road, Suite 5                                      St. Albans       VT           05478
 Green Mountain Transit                                        6088 VT Route 12                                            Berlin           VT           05478
 Green Mountain Transit                                        6088 VT Route 12                                            Berlin           VT           05602
 Greenlink Transit Authority         Transportation Director   100 W. McBee Avenue                                         Greenville       SC           29601




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                                   Bruce Adams, Public          223 W. Meadowview
 Greensboro Transit                Transportation Manager       Road                                                      Greensboro       NC           27402

 Greensboro Transit                                             236 E Washington Street                                   Greensboro       NC           27401
 Greensboro Transit                                             320 East Friendly Ave                                     Greensboro       NC           27401
                                   Greensboro Transit Agency
 Greensboro Transit Agency         Administrative Offices       223 W. Meadowview Rd.                                     Greensboro       NC           27406
 Greensboro Transit Authority                                   320 East Friendly Ave                                     Greensboro       NC           27401
 Greensboro Transit Authority
 (GTA)                                                          236 E Washington Street                                   Greensboro       NC           27401
 Greenville Area Development                                    233 North Main, Suite
 Corporation                                                    250                                                       Greenville       SC           29601
                                                                4 McDougall Court, Suite
 Greenville Awning Company                                      107-B                                                     Greenville       SC           29607
                                                                1201 Main Street, Suite
 Greenville County                                              1600                                                      Columbia         SC           29201
                                                                301 University Ridge
 Greenville County                                              #4100                                                     Greenville       SC           29601
                                                                301 University Ridge,
 Greenville County, South Carolina Attn County Administrator    Suite 2400                                                Greenville       SC           29601
                                   Board Chair Transportation
 Greenville Transit Authority      Director                     100 W. McBee Avenue                                       Greenville       SC           29601
 Grid Subject Matter Experts, LLC                               145 Parkshore Drive,
 (GridSME)                                                      Suite 140                                                 Folsom           CA           95630
 Griffiths Corporation DBA K-TEK
 Carolina                          Bob Flower                   10240 Industrial Dr                                       Pineville        NC           28134
 GS Operating LLC dba Gexpro                                    9500 N. Royal Lane,
 Services                                                       Suite 130                                                 Irving           TX           75063
                                                                450 Golden Gate Ave 5th
 GSA/FAS/QVOCFA                    Helen Shekter                FL East                                                   San Francisco    CA           94102
 GSA/FAS/QVOCFA Supplier                                        450 Golden Gate Ave 5th
 Management Division               Helen Shekter                FL East                                                   San Francisco    CA           94102
                                                                450 Golden Gate
 GSF/FAS/QVOCFA                                                 Avenue, 5th Floor East                                    San Francisco    CA           94102
                                                                223 West Meadowview
 GTA Maintenance/ Operations                                    Rd                                                        Greensboro       NC           27406
 Guittard Chocolate Co.                                         10 Guittard Road                                          Burlingame       CA           94010
 H&W Electrical                                                 PO Box 3662                                               Greenville       SC           29608
 H.A. DeHart & Son                                              311 Crown Point Road                                      Thorofare        NJ           08086
 Haltec Corporation                Janet Hendershot             PO Box 1180                                               Salem            OH           44460-8180
 Haltec Corporation                Jason Crank                  PO Box 1180                                               Salem            OH           44460-8180

 Hamilton Southeastern Schools                                  13485 Cumberland Road                                     Fishers          IN           46038
 Hampton City School Board                                      1819 Nickerson Blvd                                       Hampton          VA           23663
                                                                509 East 18th Street -
 Hampton Roads Transit             Attn Sonya Luther            Building 4                                                Norfolk          VA           23504




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                                                              509 E. 18th Street,
 Hampton Roads Transit             Director of Procurement    Building 4                                                  Norfolk          VA           23504
 Hampton Roads Transit             Latoya L Elliott           3400 Victoria Blvd.                                         Hampton          VA           23661
 Hampton Roads Transit             President & CEO            3400 Victoria Blvd.                                         Hampton          VA           23661
 Hampton Roads Transit             Sonya R Luther             3400 Victoria Blvd.                                         Hampton          VA           23661
 Hampton Roads Transit                                        509 E. 18th Street                                          Norfolk          VA           23504
                                                              11423 Sunrise Gold
 Hangtown Electric Inc.            Attn Legal Department      Circle, Suite 10                                            Rancho Cordova   CA           95742
                                                              11423 Sunrise Gold
 Hangtown Electric Inc.                                       Circle, # 10                                                Rancho Cordova   CA           95742
                                                              425 Market Street, 26th
 Hanson Bridgett                   Joan L. Cassman            Floor                                                       San Francisco    CA           94105
                                                              320 East Main Street
 Haper General Contractors                                    Suite 400                                                   Spartanburg      SC           29302

 Haper General Contractors                                    35 W Court St, Suite 400                                    Greenville       SC           29601
                                                              35 West Court Street,
 Harper                            Tyler Dawson               Suite 400                                                   Greenville       SC           29601
 Harper General Contractors                                   312 East Coffee Street                                      Greenville       SC           29601

 Harry Fields Consulting Agreement                            8 Cottontail Ct.                                            Simpsonville     SC           29680
 Harvard Campus Services           Robert Kulch               46 Blackstone Street                                        Cambridge        MA           02139
 Harvard University                Attn David Harris          28 Travis Street                                            Allston          MA           02134

                                   John Nolan Managing
                                   Director of Transportation and
 Harvard University                The Campus Service Center 28 Travis Street                                             Allston          MA           02134
 Harvard University Campus
 Services                                                     156 Western Ave                                             Allston          MA           01234
                                                              101 Second Street, Suite
 HashiCorp, Inc.,                                             700                                                         San Francisco    CA           94105
 Hawaiin Electric Company                                     PO BOX 2750                                                 Honolulu         HI           96840-0001
                                                              1715 South Reserve St
 HDR                                                          Suite C                                                     Missoula         MT           59801
                                                              700 SW Higgins Avenue,
 HDR                                                          Suite 200                                                   Missoula         MT           59803-1489
                                                              700 SW Higgins Avenue,
 HDR Engineering, Inc.                                        Suite 200                                                   Missoula         MT           59803-1489
 HDR Engineering, Inc.                                        970 S 29th St W                                             Billings         MT           59102
 HDR, Inc.                                                    PO Box 74008202                                             Chicago          IL           60674-8202
                                    Attn Mike Clark
 Heavy Duty Public Transit Vehicles Superintendent            3500 Peensy Dr.                                             Landover         MD           20785
                                    C/O SHULMAN ROGERS        #600, 12505 PARK
 HEF-P Baltimore County, LLC        NPR                       POTOMAC AVE                                                 POTOMAC          MD           20854
 Heirloom State and Iron
 Companies                                                    13728 Highway 11                                            Campobello       SC           29322




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 Heliox Automotive B.V.                                         De Waal 24                                                Best                          5684         Netherlands

 Hellman Worldwide Logistics Inc.     Attn Amr Elio             2270 East 220th Street                                    Carson           CA           90810

 Hellmann Worldwide Logistics Inc. Attn AMR Elio, Jose Romero 2270 East 220th Street                                      Carson           CA           90810
 Henry Yiu                                                    Address Redacted
                                                              200 Cummings Center,
 HET MCPS, LLC                                                Suite 273D                                                  Beverly          MA           01915

 High Road Strategies, LLC            Joel S. Yudken, Ph.D.     104 N. Columbus Street                                    Arlington        VA           22203
 HighByte Intelligence Hub                                      PO Box 17854                                              Portland         ME           04112

 Highland Electric Flee                                         8500 Public Works Drive                                   Manassas         VA           20110
 Highland Electric Transportation     Attn Richard DiMatteo     10901 Westlake Drive                                      Rockville        MD           20852
 Highland Electric Transportation     HET MCPS, LLC             195 Defense Highway                                       Annapolis        MD           21401
 Highland Electric Transportation -
 Montgomery County Public
 Schools                              Attn Richard DiMatteo     10901 Westlake Drive                                      Rockville        MD           20852
 Highland Electric Transportation -
 Montgomery County Public
 Schools                              HET MCPS, LLC             195 Defense Highway                                       Annapolis        MD           21401
 Highland Electric Transportation -
 Montgomery County Public                                       200 Cummings Center,
 Schools                                                        Suite 273D                                                Beverly          MA           01915
 Highland Electric Transportation -
 Montgomery County Public
 Schools                                                        589 Bay Road, No 516                                      Hamilton         MA           01982
 Highland Electric Transportation,
 Inc.                                 Attn Richard DiMatteo     10901 Westlake Drive                                      Rockville        MD           20852
 Highland Electric Transportation,
 Inc.                                 HET MCPS, LLC             195 Defense Highway                                       Annapolis        MD           21401
 Highland Electric Transportation,
 Inc.                                                           589 Bay Road, No 516                                      Hamilton         MA           01982

 Highline School District                                       15675 Ambaum Blvd SW                                      Burien           WA           98166
 HMS Insurance Associates, Inc.                                 20 Wight Ave Suite 300                                    Hunt Valley      MD           21030
 Houston Galveston Area Council                                 3555 Timmons                                              Houston          TX           77227-2777
                                                                3555 Timmons Lane,
 Houston-Galveston Area Council    Executive Director           Suite 120                                                 Houston          TX           77027
 Houston-Galveston Area Council                                 P.O. Box 22777                                            Houston          TX           77227-2777
 Houston-Galveston Area Council of                              3555 Timmons, Suite
 Governments                       Jasmine Wilson               120                                                       Houston          TX           77027
                                   Global Trade & Receivables
                                   Finance, Transaction
 HSBC Bank USA, N.A.               Services                     452 5th Ave                                               New York         NY           10018




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                                                               105 North Spring Steet,
 Human Technologies, Inc.                                      Suite 200                                                 Greenville       SC           29601
 Hungarian Investment Promotion                                H-1055 Budapest,
 Agency                                Emrah Arslanturk        Honved utca 20.                                           Budapest                                   Hungary
 Hungarian Investment Promotion        Nemzeti Befektetesi     Zartkoruen Mukodo
 Agency                                Ugynokseg Nonprofit     Reszvenytarsasag                                          Budapest                      1055         Hungary
                                                               180 Threet Industrial
 Hunter Fan Company                                            Road, Suite 120                                           Smyrna           TN           37167
                                                               180 Threet Industrial
 Hunter Fan Company                                            Street                                                    Smyrna           TN           37617
 Huron Consulting Services LLC                                 550 W. Van Buren St                                       Chicago          IL           60607

 IB Abel Inc                                                   2745 Black Bridge Road                                    York             PA           17406
 IDK Co., Ltd                                                  588 JinShan Rd                                            Ningbo                                     China
                                                               965 E Yosemite Ave.,
 Immortal Trucking Inc.                                        Suite 1-A                                                 Manteca          CA           95336
                                                               1900 N. Commerce
 Inceptra                                                      Pkway                                                     Weston           FL           33326
                                                               1900 N Commerce
 Inceptra LLC                          BRISBIN, Vicky          PKWY                                                      Weston           FL           33326-3236
                                                               1900 N Commerce
 Inceptra LLC                          RASTENIS,Mike           PKWY                                                      Weston           FL           33326-3236
 Inductive Automation                                          90 Blue Ravine Road                                       Folsom           CA           95630
                                                               Infinite Electronics
 Infinite Electronics International Inc formerly L-COM         International, Inc.                                       Pasadena         CA           91185-4787

 Infosys                                                       2400 N Glenville Dr c150                                  Richardson       TX           75082

 INikola Iveco Europe GmbH                                     Nicolaus-Otto-Strasse 27                                  Ulm                           89079        Germany
                                                               2055, Junction Ave,
 Innominds Software Inc                                        Suite# 122                                                San Jose         CA           95131
 Innominds Software Inc.                                       2055 Junction Avenue                                      San Jose         CA           95131
 Insight Financial Staffing & Search
 Group, LLC                                                    3527 Pelham Road                                          Greenville       SC           29615

                                                               4170 Ashford Dunwoody
 Insight Global, LLC                   Garrett Wahler          Road, Suite250                                            Atlanta          GA           30319
                                                               2222 Sedwick Rd Ste
 insightsoftware, LLC                                          101                                                       Durham           NC           27713-2658
 Instaclustr Pty Limited                                       Level A, Building 23                                      Bruce            ACT          2617       Australia
 Integra Technologies, Inc             VP- Test Operations     3450 N Rock Rd #111                                       Wichita          KS           67226
 Integrity Blinds & Shutters
 Incorporated                                                  3089 Hwy SC-14                                            Greer            SC           29650
 Intellic Integration LLC                                      2081 Hutton Drive                                         Carrollton       TX           75006
                                                               2081 Hutton Drive, Suite
 Intellic Integration LLC                                      103                                                       Carrollton       TX           75006




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                                      Dan Dougherty, Sales and
 Intelligize                          Marketing Leader           1141 44th Street North                                       Fargo           ND           58102
 Intelligize                                                     28 St Johns Road                                             London                       SE20 7ED     United Kingdom
 Intelligize                                                     230 Park Ave, 7th floor                                      New York        NY           10169
 Intelligize, Inc.                                               230 Park Ave, 7th floor                                      New York        NY           10169
 International Transportation
 Innovation Center                                               5 Hercules Way                                               Greenville      SC           29605
 International Transportation
 Innovation Center                                               PO Box 486                                                   Conestee        SC           29636
 Interphase Electrical Corp.          Main Office                79 Rocklyn Ave                                               Lynbrook        NY           11563
                                                                 230 Park Avenue, 3rd
 Interphases Electric Corp.           NYC Office                 Floor                                                        New York        NY           11563
 Interstate Transportation
 Equipment                                                       2511 Trotter Road                                            Hopkins         SC           29061
                                      Casey Trimble, Account
                                      Manager - Field Labeling   22887 NE Townsend
 Intertek                             /HVAC                      Way                                                          Fairview        OR           97024
 Intertek                                                        1365 Adams Court                                             Menlo Park      CA           94025

 Intertek Testing Services NA, Inc.                              3933 US Route 11                                             Cortland        NY           13045
                                                                 300 Santana Row, Suite
 InterVision                          Mark McEnroe               450                                                          San Jose        CA           95128
 InterVision                                                     2270 Martin Avenue                                           Santa Clara     CA           95050
                                                                 16401 Swingley Ridge
 InterVision Systems, LLC             Jim Zaloudek               Rd, Suite 500                                                St. Louis       MO           63017
                                                                 300 Santana Row, Suite
 InterVision Systems, LLC             Mark McEnroe               450                                                          San Jose        CA           95128
 InterVision Systems, LLC - Central                              16401 Swingley Ridge
 HQ                                   Jim Zaloudek               Rd, Suite 500                                                St. Louis       MO           63017
 Intralinks, Inc.                                                150 East 42nd Street                                         New York        NY           10017
 Intuiface                            Mark Amatuzzo              7401 E Butherus Drive                                        Scottsdale      AZ           85260
 Intuiface                            Melissa Cowan              7401 E Butherus Drive                                        Scottsdale      AZ           85260

 IOActive, Inc.                                                  1426 Elliott Avenue West                                     Seattle         WA           98119
 Iowa City Transit                                               1200 S Riverside Dr                                          Iowa City       IA           52246-5717
 Iowa City Transit (ICT)                                         1200 S. Riverside Drive                                      Iowa City       IA           52240
                                                                 669 Marina Drive, Ste.
 Iron Auction Group LLC                                          B2                                                           Charleston      SC           29492
 ITIC                                                            2 Exchange Street                                            Greenvile       SC           29605

 Iveco Europe GmbH                                               Nicolaus-Otto-Strasse 27                                     Ulm                          89079        Germany
 Iveco Group N.V.                                                Via Puglia, 35                                               Torino                       10156        Italy
 IVECO S.p.a.                                                    Via Puglia 35                                                Torino                       10135        Italy
 Iveco S.p.A.                                                    Via Puglia, 35                                               Torino                       10156        Italy
                                      Mr. Kurihara, Manager of
 J Logistics Co., Ltd. Shesha         Logistics Material Team    400 Shinden Yokokura                                         Oyama City                   323-8558     Japan




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 J&D Developers LLC                                            4 E Maitland Ln                                            New Castle           PA           16105
                                    J B Hunt Load Number
 J.B. Hunt Transport Inc            4F69824                    PO Box 682                                                 Lowell               AR           72745
 J.B. Hunt Transportation, Inc.                                PO Box 682                                                 Lowell               AR           72745
 Jade Global, Inc                   Craig Vidal                1731 Technology Drive                                      San Jose             CA           95110
                                                               135 SW Taylor Street,
 Jama Software, Inc.                                           Suite 200                                                  Portland             OR           97204
 James G. Murphy Co., Inc.                                     PO Box 568                                                 Greenville           SC           29602
 James M. Pleasants Company                                    PO Box 16706                                               Greensboro           NC           27416
 Janicki Industries                                            1476 Moore Street                                          Sedro-Woolley        WA           98284
 Janicki Industries, Inc.                                      719 Metcalf Street                                         Sedro Woolley        WA           98284
 JAS Forwwarding (USA) Inc.                                    6165 Barfield Road                                         Atlanta              GA           30328
 JD Bird                                                       17876 Peru Rd. STE 3                                       DUBUQUE              IA           52001
                                                               3500 PIEDMONT ROAD
 JENSEN HUGHES, INC                 MR. MIKE BANHAM, P.E.      NE SUITE 750                                               ATLANTA              GA           30305
                                                               Bernard Van Hoolstraat
 Jeroen Huysmans, Van Hool                                     58                                                         Koningshooikt-Lier                2500         Belgium
 JLL Industrial Property                                       650 S Tyron Street Suite
 Management Team                                               600                                                        Charlotte            NC           29202
 Jobs to Move America               California Director        525 S. Hewitt St.                                          Los Angeles          CA           90013
                                                               622 Third Avenue, 36th
 Joelle Frank                                                  Floor                                                      New York             NY           10017
                                                               18600 South John Deere
 John Deere C&F Dubuque Works                                  Road                                                       DUBUQUE              IA           52001-9746
 John Deere Construction &                                     18600 South John Deere
 Forestry Co                                                   Road                                                       DUBUQUE              IA           52001-9746
 John Deere Construction &          Accounts Payable Shared
 Forestry Company                   Services                   PO Box 8808                                                Moline               IL           61266-8808
 John Deere Electronic Solutions,                              1750 NDSU Research
 Inc.                               Kerry Koisti               Park Drive                                                 Fargo                ND           58102
 John Deere Intelligent Solutions   Dan Dougherty, Sales and
 Group                              Marketing Leader           1141 44th Street North                                     Fargo                ND           58102
 John Wayne Airport                 Accounts Payable           3160 Airway Avenue                                         Costa Mesa           CA           92626
 John Wayne Airport, Orange
 County                                                        3160 Airway Avenue                                         Costa Mesa           CA           92626
 Johnson & Johnson Cleaning Inc                                8564 LOVE RD                                               TALLAHASSEE          FL           32305
 Johnson Controls Security                                     2788 Fairforest
 Solutions LLC                                                 Clevedale Road                                             Spartanburg          SC           29301-5000
 Jones Lang Lasalle                 Matthew Amato              Aon Center                                                 Chicago              IL           60601
 Jones Lang LaSalle Brokderage,
 Inc.                               Matthew Amato              Aon Center                                                 Chicago              IL           60601
                                                               6 Dickinson Drive, Suite
 Joseph Barbato Associates, LLC                                103                                                        Chadds Ford          PA           19317
 Joy Global                         Barb Caskenette            25 Fielding Rd                                             Lively               ON           P3Y 1L7      Canada
 Joy Global                         Brandi Temmerman           25 Fielding Rd                                             Lively               ON           P3Y 1L7      Canada
 Joy Global                         Troy Allen                 101 Elk Street, Door E                                     Franklin             PA           16323




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 Joy Global (Canada) Ltd            Accounts Payable             145 Magill Street                                            Lively           ON           P3Y 1K6      Canada
 Joy Global (Canada) Ltd                                         Sudbury                                                      Lively           ON           P3Y 1L7      Canada

                                                                 Joy Global Underground
 Joy Global (Canada) Ltd.           Attn Jim Krellner            Mining LLC                                                   Franklin         PA           16323
 Joy Global (Canada) Ltd., a Wholly
 Owned Subsidiary of Komatsu
 Mining Corp.                                                    145 Magill Street                                            Lively           ON           P3Y 1K6      Canada
                                                                 4400 W. National
 Joy Global Surface Mining Inc      Attn General Counsel         Avenue                                                       Milwaukee        WI           53202
 Joy Global Underground Mining      Accounts Payable             PO Box 1151                                                  Milwaukee        WI           53201-1151
 Joy Global Underground Mining                                   40 Pennwood Place,
 LLC                                Attn General Counsel         Suite 100                                                    Warrendale       PA           15086
 Joy Global Underground Mining
 LLC                                Attn Jim Krellner             120 Liberty Street                                          Franklin         PA           16323
                                    Hawley Troxell, Attorneys and 877 W Main Street,
 Justin Cranney                     Counselors                    #1000                                                       Boise            ID           83702
 K-868                                                            Scholdeloan 495                                             Antwerpen                     B-2040       Belgium
 KAAI                                                             869 Scheldecaan                                             Antwerpen                     B-2040       Belgium
 KAAI 1742                                                        Sint Antoniusweg                                            Doel                          B-9130       Belgium
 KAAI 1742                                                        Sint Antoniusweg                                            Kallo                         B-9130       Belgium
 KAAI 869                                                         Scheldelaan                                                 Antwerpen                     B-2040       Belgium
 Kaal 1700                                                        Sint Antoniusweg                                            Doel                          B-9130       Belgium
 Kaal 1700                                                        Sint Antoniusweg                                            Kallo                         B-9130       Belgium
 Kamin Motor Group Inc, dba
 Electric Vehicle Sales Inc.                                     2150 5th Ave                                                 Ronkonkoma       NY           11779
 KazTia Design LLC                                               439 12th Ave                                                 Union Grove      WI           53182
                                                                 1612 Hutton Drive, Suite
 Kelley                                                          140                                                          Carrollton       TX           75006
                                                                 9294 South State Road
 Kerlin Bus Sales & Leasing                                      15                                                           Silver Lake      IN           46982
                                                                 9294 South State Road
 Kerlin Bus Sales & Leasing Inc.                                 15                                                           Silver Lake      IN           46982
 Keysight technologies Singapore
 Pte, Ltd.                                                       No 1 Yishun Avenue 7                                         Singapore                     768923       Singapore
                                                                 5000 Executive Parkway,
 Keystone National Group, LLC                                    Suite 445                                                    San Ramon        CA           94583
                                                                 8405 Benjamin Road,
 Kforce Inc.                        Scott Wallin                 Suite G                                                      Tampa            FL           33634
                                                                 4525 Main St., Suite
 Kimley-Horn & Associates, Inc.                                  1000                                                         Virginia Beach   VA           23462
                                                                 509 East 18th Street,
 Kimley-Horn and Associates                                      Building #3                                                  Norfolk          VA           23504

 Kimley-Horn and Associates, Inc.                                PO Box 75557                                                 Baltmore         MD           21275-5557
 King County                        Carrie Lee                   Metro Transit                                                Seattle          WA           98104




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                                   Gary Prince, Special        201 South King Street,
 King County                       Projects/Economist          4th Floor                                                 Seattle          WA           98104
 King County Department of         Leo Hrechanyk, Vehicle      Transit Fleet Contract    Mail Stop KSC-TR-
 Transportation                    Procurment Administrator    Management Group          0342                            Seattle          WA           98104-3856
 King County Department of                                     201 South Jackson
 Transportation                    Transit Division            Street                                                    Seattle          WA           98104-3856
 King County Department of
 Transportation                                                Mail Stop KSC-TR-0342                                     Seattle          WA           98104-3856

                                   George Stites,
 King County Department of         Superintendent Fleet         11911 East Marginal
 Transportation Transit Division   Engineering, Project Manager Way S. Bldg. A                                           Tukwila          WA           98168

 King County DOT Metro Transit                                 Mail Stop KSC-TR-0342                                     Seattle          WA           98104-3856
                                                               Capital Project Delivery
 King County Metro                 Capital Division            Section                  KSC-TR-0435                      Seattle          WA           98104-3856
                                   Gary Prince, Special        201 South King Street,
 King County Metro                 Projects/Economist          4th Floor                                                 Seattle          WA           98104
 King County Metro                                             KSC-TR-0342                                               Seattle          WA           98104-3856
 King County Metro Transit                                     KSC-TR-0342                                               Seattle          WA           98104-3856
 King County Metro Transit                                     Capital Project Delivery
 Department                        Capital Division            Section                  KSC-TR-0435                      Seattle          WA           98104-3856

                                   George Stites,               Transit Division, Vehicle
 King County, Department of        Superintendent Fleet         Maintenance Section,
 Transportation                    Engineering, Project Manager Fleet Engineering         SAT-TR-0100                    Tukwila          WA           98168
 Kitsap Transit                                                 200 Charleston Blvd.                                     Bremerton        WA           98312
                                                                60 Washington Ave. Ste.
 Kitsap Transit                                                 200                                                      Bremerton        WA           98337
 Knappet Industries 2006           Billy Snaychuk               7025 Doumont Rd                                          Nanaimo          BC           V9T 6G9      Canada
 Knappet Industries LTD            Billy Snaychuk               7025 Doumont Rd                                          Nanaimo          BC           V9T 6G9      Canada
 Knappet Industries(2006) LTD      Billy Snaychuk Josh Hubick   7025 Doumont Rd                                          Nanaimo          BC           V9T 6G9      Canada
 Knauf Insulation, Inc.                                         One Knauf Drive                                          Shelbyville      IN           46176
                                                                33 N Garden Avenue.
 KnowBe4                                                        Suite 1200                                               Clearwater       FL           33755
 Komatsu                           Mr. Hagiwara                 Marudai Shokai                                           Kasumigaura                   3150056      Japan
                                                                8770 W Bryn Mawr Ave
 Komatsu America Corp                                           Ste 100                                                  Chicago          IL           60631-3782
 Komatsu Joy                                                    145 Magill Street                                        Lively           ON           P3Y 1K6    Canada
                                   Eastern Japan Logistics
 Komatsu Logistics Corp            Division                     400 Shinden Yokokura                                     Oyama City                    323-8558     Japan
 Komatsu Logistics Corp            Oyama Plant                  400 Yokokura Shinden                                     Oyama-shi        Tochigi      323-8558     Japan
                                                                8F, Concurred
                                                                Yokohama, 3-1, Kinko-
 Komatsu Logistics Corp                                         Cho, Kanagawa-Ku                                         Yokohama City                 221-8540     Japan




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 Komatsu Logistics Corp Oyama
 Plant                               Attn S. Endo                 400 Shinden Yokokura                                       Oyama City                    323-8558     Japan

 Komatsu Logistics Corp.                                          470-3 Yokokura Shinden                                     Omaya-Shi                                  Japan
                                                                  8F, CONCURRED
 KOMATSU LOGISTICS CORP.                                          YOKOHAMA, 3-1                                              YOKOHAMA-CITY                 221-8540     JAPAN
                                     Environmental Innovation
                                     Group, Vehicle Development
 Komatsu Ltd                         Center 2                      3-1-1 Ueno                                                Hirakata-Shi                  5731011      Japan
 Komatsu Ltd                         Jin Yogita                    2-3-6, Akasaka                                            Tokyo                         107-8414     Japan
 Komatsu Ltd                         Mr Tomoya Kawaraguchi         3-1-1 Ueno                                                Hirakata-Shi                  5731011      Japan
 Komatsu Ltd, Procurement Dept                                     Tsu 23 Futsu-machi                                        Komatsu-shi                   923-0392     Japan
 Komatsu Ltd.                        Nobuaki Murakami              2-3-6, Akasaka                                            Tokyo                         107-8414     Japan
 Komatsu Ltd.                        Procurement Dept.             400 Yokokura Shinden                                      Oyama City                    323-0819     Japan
 Komatsu Ltd.                        Shuu Komatsu                  Tsu 23 Futsu-machi                                        Komatsu-shi                   923-0392     Japan
                                     Tatsunori Mori Yoshinori Hata
                                     Product Division, Production
 Komatsu Ltd.                        Dept.                         Tsu 23 Futsu-machi                                        Komatsu-shi                   923-0392     Japan
 Komatsu Ltd.                        Tetsuya Matsushita            3-25-1, Shinomiya                                         Hiratsuka                     254-8555     Japan
 Komatsu Shonan Plant                Mr. Kobayashi                 3-25-1, Shinomiya                                         Hiratsuka                     254-8555     Japan
 KORE1, LLC                                                        3651 Lindell Road                                         Las Vegas        NV           89103
                                                                   530 Technology Drive,
 KORE1, LLC                                                        Suite 150                                                 Irvine           CA           92618

                                                                  Bedrijvenzone Machelen
 Kuehne+Nagel                                                     Cargo Bld. 829 A                                           Machelen                      1830         Belgium
                                                                  7478 Fairfield Lakes
 L&R Technologies LLC                                             Drive                                                      Powell           OH           43065-7878
 La Crosse MTU                                                    2000 Macro Drive                                           La Crosse        WI           54601
                                                                  391 San Antonio Rd
 Lacework, Inc.                                                   Suite 300                                                  Mountain View    CA           94040
 Lafayette County School Board                                    363 NE Crawford Street                                     Mayo             FL           32066

 LAKETRAN and Hocking Athens
 Perry Community Action Program      Mailing Address              P.O. Box 158                                               Grand River      OH           44045-0158

 LAKETRAN and Hocking Athens                                      555 Lake Shore
 Perry Community Action Program                                   Boulevard                                                  Painesville      OH           44077

 Landstar Transportation Logistics   Attn Imaging Dept.           PO Box 19139                                               Jacksonville     FL           32245-9139
 Larsens Cabinets for Fire                                        7421 Commerce Lane
 Protection Equipment                                             N.E.                                                       Minneapolis      MN           55432
 Larsens Manufacturing Company                                    3130 N.W. 17th St.                                         Ft. Lauderdale   FL           33311
 LAZ Parking                                                      5621 Alan Boyd Dr                                          Sacramento       CA           95837
                                                                  Suite 303, 192 Spadina
 Leading Mobility Consulting Ltd.    David Cooper, Principal      Avenue                                                     Toronto          ON           M5T 2C2      Canada




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                                                               6 Parklane Blvd, Suite
 Lean Coaching Inc                  Gert Haar-Jorgensen, CEO   No. 6                                                      Dearborn         MI           48126
                                                               6 Parklane Blvd, Suite
 Lean Coaching, Inc                                            No. 667                                                    Dearborn         MI           48126
 LEB Services, LLC, dba JAN-PRO DBA Jan-Pro of the Western
 of the Western Carolinas       Carolina                     LEB Services LLC                                             Greenville       SC           29615
                                                             870 CLEVELAND ST,
 LEBLANC WELCH                      MR. MICHAEL DENNIS, P.E. STE 1D                                                       GREENVILLE       SC           29601
 LegalDesk, Inc.                    Attn CEO                 254 Barclay Ave.                                             Millbrae         CA           94030

 Lehigh University                                               27 Memorial Drive West                                   Bethlehem        PA           18015
                                    LEM Electronics (China) Co.,                        Linhe Industrial
 LEM China                          Ltd. (Beijing)               No. 28 Linhe Street    Development Zone       Shunyi     Beijing                       101300    China
 LER TechForce                                                   1888 Poshard Drive                                       Columbus         IN           47203
 Lethbridge Transit                                              619 4 Ave N.                                             Lethbridge       AB           T1H 0K4   Canada
                                                                 200 West Loudon
 Lextran                            Attn Glenda Shoopman         Avenue                                                   Lexington        KY           40508
                                    Keith Srutowski, Director of
 Lextran                            Purchasing                   109 W. Loudon Ave                                        Lexington        KY           40508
                                                                 LG Twin Towers, 128,
 LG Chem, Ltd.                                                   Yeoui-daero                                              Seoul                                   South Korea
                                                                 Tower 1, 108, Yeoui-
 LG Energy Solution                 David Lee                    daero                                                    Seoul                                   South Korea
 LG Energy Solution                 Richard S. Ko and SJ Kim     2540 N. First St. #400                                   San Jose         CA           95131
 LG Energy Solution                                              108, Yeoui-daero       Yeongdeungpo-gu                   Seoul                                   South Korea
 LG Energy Solution Michigan, Inc.
 (San Jose Office)                 Richard S. Ko and SJ Kim    2540 N. First St. #400                                     San Jose         CA           95131
 LG Energy Solution, Ltd                                       108, Yeoui-daero        Yeongdeungpo-gu                    Seoul                                   South Korea
                                                               Tower 1, 108, Yeoui-
 LG Energy Solution, Ltd.           David Lee                  daero                                                      Seoul                                   South Korea
                                                               181 Bay Street, Suite
 Liberty Mutual Insurance                                      1000                                                       Toronto          ON           M5J 2T3   Canada
                                                               181 Bay Street, Suite
 Liberty Mutual Insurance Company                              100                                                        Toronto          ON           M5J 2T3   Canada
                                                               440 E Westinghouse
 Liftone LLC                                                   Blvd                                                       Charlotte        NC           28273
                                                               1800 F. Street NW, Hub
 Light Vehicles Acquisition         Craig D. Yokum             3400                                                       Washington       DC           20405
                                                               1800 F Street NW Hub
 Light Vehicles Acquisition         GSA/FSA/QMAAA              3400                                                       Washington       DC           20405
                                                               1800 F Street NW, Wing
 Light Vehicles Acquisition         GSA/FSA/QMAAA              3200                                                       Washington       DC           20405
                                                               815 14th Street SW, Ste
 Lightning eMotors                  Dan Young                  A100                                                       Loveland         CO           80537
                                                               815 14th Street SW, Ste
 Lightning eMotors                  Shane McCartney            A100                                                       Loveland         CO           80537




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                                                              815 14th Street SW, Ste
 Lightning eMotors, Inc         LEGAL                         A100                                                       Loveland              CO           80537

 Lightship                      Ship To, Nick Herron          1231 Connecticut Street                                    San Francisco         CA           94107
 Lightship                      Ship To, Nick Herron          577 Shotwell Street                                        San Francisco         CA           94110
 Lightship                                                    2101 Pearl Street                                          Boulder               CO           80302

 Lightship Energy Inc                                         1231 Connecticut Street                                    San Francisco         CA           94107
 Lightship Energy Inc.                                        577 Shotwell St.                                           San Francisco         CA           94110
 Lightship Energy, Inc.         Toby Kraus                    2101 Pearl Street                                          Boulder               CO           80302

                                Attn Director of Sustainability
 Lincar, LLC                    & Development                   5 Research Drive                                         Greenville            SC           29607
 Line X Edmonton North                                          17395 - 108th Ave                                        Edmonton              AB           T5S 1G2   Canada
                                                                1000 West Maude
 LinkedIn                       Erin Reynolds                   Avenue                                                   Sunnyvale             CA           94085
                                                                1000 West Maude
 LinkedIn                       Joseph Durias                   Avenue                                                   Sunnyvale             CA           94085
 Lisa Curtis, Director of
 Development                                                  2855 N. 63rd Street                                        Boulder               CO           80301
                                                              225 West Washington
 LOCHNER                                                      Street, 12th Floor                                         Chicago               IL           60606
 Lock-Ridge Tool Co., Inc.      Dan Klamut                    2000 Pomona Blvd #A3                                       Pomona                CA           91768
                                                              444 W. 47th Street, Suite
 Lockton Companies                                            900                                                        Kansas City           MO           64112-1906
 London Gateway Port LTD                                      The Manorway                                               Essex                              SS17 9PD United Kingdom

 Long Beach Transit                                           1963 E. Anaheim Street                                     Long Beach            CA           90813
 Lopez Island School District   Teri Linneman                 86 School Rd                                               Lopez Island          WA           98261
 Los Angeles Department of      Corinne Ralph, Chief of
 Transportation                 Transit Programs              100 South Main Street                                      Los Angeles           CA           90012
 Los Angeles Department of
 Transportation                 Kari Derderian                100 South Main Street                                      Los Angeles           CA           90012

 Lothar Thiedmann                                             Auf der Heid 8                                             Leutkirch im Allgau                D-88299   Germany
                                                              42000 Loudoun Center
 Loudoun County School Board                                  Place                                                      Leesburg              VA           20175
 Louisa County Public Schools                                 953 Davis Hwy                                              Mineral               VA           23117
 Louisa County School Board                                   953 Davis Hwy                                              Mineral               VA           23117
 Lpx                                                          Bedrijvenzone 720B                                         Machelen                           1830      Belgium
                                                              10355 South Jordan
 Lucid Software, Inc.           Legal Notices                 Gateway, Suite 150                                         South Jordan          UT           84095
 Lumen Technologies Group                                     100 CenturyLink Drive                                      Monroe                LA           71203
                                Central Florida Regional
 LYNX                           Transportation Authority      455 N. Garland Ave                                         Orlando               FL           32801
 LYNX - Central Station                                       455 N. Garland Ave.                                        Orlando               FL           32801




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 LYNX - Operations Base                                           2500 LYNX Lane                                               Orlando           FL           32804
 LYNX OPERATIONS CENTER                                           2500 LYNX Lane                                               Orlando           FL           32804
                                     Energy Storage & Solutions
 M. A. Mortenson Company             Operations                   567 W. Lake St                                               Chicago           IL           60661
                                     Energy Storage & Solutions
 M.A. Mortensen Company              Operations                   567 W. Lake St                                               Chicago           IL           60661

 M.A. Mortensen Company                                           700 Meadow Lane North                                        Minneapolis       MN           55422
 Macquarie Corporate & Asset                                      3100 West End Avenue,
 Funding Inc.                                                     Suite 325                                                    Nashville         TN           37203

 MaintainX                                                        244 Biscayne Blvd #2902                                      Miami             FL           33132
 Major, Lindsey, & Africa - In House,                             7320 Parkway Drive
 LLC                                  MLA Legal                   South                                                        Hanover           MD           21076
 Major, Lindsey, & Africa - In House,                             555 12th Street, NW
 LLC                                                              Suite 1220                                                   Washington        DC           20004

 Mammoth Unified School District     Gary Taylor, Director of MOT 265 Commerce Way                                             Mammoth Lakes     CA           93546
 Mammoth Unified School District                                  PO Box 3509                                                  Mammoth Lakes     CA           93546
 Manasaveena Chennuri                                             4915 Boulder Run Road                                        Hillsborough      NC           27278
 Manasaveena Chennuri P.E.                                        4915 Boulder Run Road                                        Hillsborough      NC           27278
 Manz AG                                                          Steigackerstrabe 5                                           Reutlingen                     72768        Germany
 Manz USA, Inc.                      Lori Fahey                   376 Dry Bridge Rd                                            North Kingstown   RI           02852
 Marble Valley Regional Transit
 District                                                         158 Spruce Street                                            Rutland           VT           05701

                                                                  One Civic Plaza NWNM
 Margaret Lucero                                                  Adm C/C Rm7057                                               Albuquerque       NM           87102
 Marietta Wrecker                    Attn Jean Amma               950 Allgood Rd NE                                            Marietta          GA           30062
 Marino WARE                         New Jersey Plan              400 Metuchen Rd.                                             S. Plainfield     NJ           07080
 Marino WARE                         New York Sales Office        51 John St, Ste 1                                            Babylon           NY           11702
 Marino WARE                                                      777 Greenbelt Pkwy                                           Griffin           GA           30223

 Marino WARE Engineering Office                                   100 Hendrick Dr, Ste 200                                     McDonough         GA           30253
 Marino WARE Indiana Plant                                        4245 Railroad Ave                                            East Chicago      IN           46312
                                                                  Ansley Hall Drive Birch
 MARITIME TRANSPORT LTD                                           Coppice Business Park                                        Warwickshire                   B78 1SQ      United Kingdom
 Maritime Transport Ltd                                           Maritime House                                               Felixstowe        Suffolk      IP11 4AX     United Kingdom
 Marketing Genome                    Jeff Pascarella              20 Foulkes Terrace                                           Lincroft          NJ           07738

 Marketplace Professional Staffing   Attn Ray A. Lattimore        200 Adley Way                                                Greenville        SC           29607
                                                                  1166 Avenue of the
 Marsh USA, Inc.                                                  Americas                                                     New York          NY           10036
                                                                  1800 Washington Blvd.,
 Maryland Energy Administration                                   Suite 755                                                    Baltimore         MD           21230
 Mathews Bus Alliance Inc                                         4802 W. Colonial Drive                                       Orlando           FL           32808-7702




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 Matrix Composites, an ITT
 Company                                                  275 Barnes Boulevard                                       Rockledge        FL           91355
 Matthew Buses, Inc                                       2900 Route 9                                               Ballston SPA     NY           12020
 Matthew Shafer                                           Address Redacted
 Matthews Bus Alliance                                    4802 W. Colonial Drive                                     Orlando          FL           32808-7702
 Matthews Bus Alliance Inc for
 Pinellas County Schools                                  4802 W. Colonial Drive                                     Orlando          FL           32808
                                                          6340A Burnt Poplar
 Maureen Joy Charter School                               Road                                                       Greensboro       NC           27409
 Maven Transport Ltd                                      8558 Fennell Street                                        Mission          BC           V4S 1M2    Canada
 MaxGen Energy Services          Legal Department         1690 Scenic Ave.                                           Costa Mesa       CA           92626
 Maxson and Associates, Inc                               11009 Downs Road                                           Pineville        NC           28134
 Maxson and Associates, Inc                               PO Box 240257                                              Charlotte        NC           28224
 MBIPRODUCTS                                              801 BOND ST.                                               Elyria           OH           44035-3318

                                                          3715 Northside Parkway
 McDonald development company                             NW Building 200                                            Atlanta          GA           30327
                                                          c/o McDonald
 McDonald Ventures XXXVII        Mr. Gill Shaw            Development Company                                        Atlanta          GA           30327
                                                          3715 Northside Parkway
 McDonald Ventures XXXVII                                 NW                                                         Atlanta          GA           30327
                                                          3715 northside parkway
 MCDONALDS Industrial XXXVII,                             NW Building 200, Suite
 LLC                                                      700                                                        Atlanta          GA           30327

                                 MR. BILL JOSLIN, AIA
                                 (ARCHITECT OF RECORD)
 McMILLAN PAZDAN SMITH           & MR. JP WERSINGER, AIA
 ARCHITECTS                      (PROJECT ARCHITECT)     127 DUNBAR STREET                                           SPARTANBURG      SC           29306
 McMillan Pazdan Smith
 Architecture                                             400 Augusta St, Ste 200                                    Greenville       SC           29601

                                 MR. BILL JOSLIN, AIA
                                 (ARCHITECT OF RECORD)
                                 & MR. JP WERSINGER, AIA
 McMillan Pazdan Smith, LLC      (PROJECT ARCHITECT)     127 DUNBAR STREET                                           SPARTANBURG      SC           29306

 McMillan Pazdan Smith, LLC                               400 Augusta St, Ste 200                                    Greenville       SC           29601
 MCPS Bethesda Depot                                      10901 Westlake Drive                                       Rockville        MD           20852
 MCPS Clarksburg Bus Depot                                13100 Shawnee Ln                                           Clarksburg       MD           20871
 MCPS Randolph Bus Depot                                  1800 Randolph Rd                                           Silver Spring    MD           20902
                                                          16651 Crabbs Branch
 MCPS Shady Grove Bus Depot                               Way                                                        Derwood          MD           20855
 McSpirit Search                                          1516 N. 5th Street                                         Philadelphia     PA           19122
                                                          3715 Northside Parkway
 MDH F1 Greenville AG14 LLC      Attn President           NW                                                         Atlanta          GA           30327




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 MDH F1 Greenville AG14 LLC        Attn President                MDH Partners                 Building 400, Suite 240              Atlanta         GA           30327
 MDH F1 HOLDCO 2 LLC                                             P.O. Box 117469                                                   Atlanta         GA           30369-7469
 MDH Partners LLC                  Attn 117469                   100 South Crest Drive                                             Stockbridge     GA           30281
 MDT Bus Maintenance Control                                     3311 N.W. 31 Street                                               Miami           FL           33142

 MDT OTV                                                         701 MW 1st CT, 15th FL                                            Miami           FL           33136
                                                                 701 NW 1st CT, 15th
 MDT PTV                                                         Floor                                                             Miami           FL           33136
 Mercedes-Benz Special Trucks                                    148 Courtesy Road                                                 Highpoint       NC           27260
                                                                 1141 Industrial Park
 Metal Solutions                   Melissa Monarko               Road                                                              Vandergrift     PA           15690
                                                                 Ave. Miguel Aleman km
                                                                 16.5 #100, Centro de
 Metalsa, S.A. de C.V.                                           Apodaca                                                           Apodaca         Nuevo Leon                Mexico

 MetroLINK                         Attn RFP 2016 EBUS-02      1515 River Drive, Floor 2                                            Moline          IL           61265
                                   Chelsey Hohensee & Heather
 MetroLINK                         Allen                      Attn RFP 2016 EBUS-02                                                Moline          IL           61265
 Metropolitan Council                                         390 Robert Street North                                              Saint Paul      MN           55101-1805

 Metropolitan Council, Metro Transit Jody Jacoby                 390 Robert Street North                                           Saint Paul      MN           55101-1805
 Metropolitan Transportation
 Authority                                                       750 Zerega Avenue                                                 Bronx           NY           10473
 Metropolitan Tulsa Transit          Randy Cloud Director of
 Authority                           Maintenance                 510 S. Rockford Ave                                               Tulsa           OK           74120
 METROPOLITAN TULSA
 TRANSIT AUTHORITY (MTTA)            Attn Randy Clound           510 S Rockford Ave                                                Tulsa           OK           74120
 Metropolitan Tulsa Transit          Randy Cloud, Director of
 Authority (MTTA)                    Maitenance                  510 S Rockford Ave                                                Tulsa           OK           74120
 Metropolitan Washington Airports
 Authority                           Accounts Payable            1 Aviation Circle                                                 Washington      DC           20001-6000
 Metropolitan Washington Airports
 Authority                           Felipe Dominguez            1 Aviation Circle                                                 Washington      DC           20001-6000
 Metropolitan Washington Airports
 Authority                           Felipe Dominguez            2733 Crystal Drive                                                Arlington       VA           20166
 Metropolitan Washington Airports
 Authority                           Lizbeth Bryan               1 Aviation Circle                                                 Washington      DC           20001-6000
 Metropolitan Washington Airports                                2733 Crystal City Dr, 6th
 Authority                           PO-22-10672 - 0             Flr                                                               Arlington       VA           22202
                                     Procurement and Contracts
 Metropolitan Washington Airports Department ATTN Contract
 Authority                           Number 21-27713             1 Aviation Circle                                                 Washington      DC           20001-6000
                                                                 100 W Big Beaver Rd
 MI, Troy- Troy Liberty Center                                   Ste 200                                                           Troy            MI           48084




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 Miami Dade Department of
 Transportation and Public Works     James Phelps, Director       1095 Airport Road                                          Breckenridge     CO           80424
 Miami Dade Department of            Malka Rodriguez,             701 NW 1st Court, 15th
 Transportation and Public Works     Construction Manager III     Floor                                                      Miami            FL           33136
 Miami Dade Department of
 Transportation and Public Works                                  1105 Airport Rd.                                           Breckenridge     CO           80424
 Miami Dade Department of                                         1245 E. Washington
 Transportation and Public Works                                  Ave., Suite 201                                            Madison          WI           53703
                                     Carlos Delgado, Field Test
 Miami Dade Transit                  Engineer                     3300 NW 32nd Ave                                           Miami            FL           33142
 Miami Dade Transit                  Materials                    3401 N.W. 31st Street                                      Miami            FL           33142
                                                                  111 N.W. 1st Street,
 Miami-Dade County                   Attn Assistant Director      Suite 1375                                                 Miami            FL           33128-1974
 Miami-Dade County                   Daniella Levine Cava, Mayor Transit Procurement                                         Miami            FL           33136
                                                                  Small Business
 Miami-Dade County                   Internal Services Department Development Division                                       Miami            FL           33128-1975
                                                                  701 MW 1st Court, 15th
 Miami-Dade County                                                Floor                                                      Miami            FL           33136
                                                                  701 NW 1st Court, 15th
 Miami-Dade County Transit           Ana M Rioseco                FL                                                         Miami            FL           33136
 Miami-Dade County Transit /
 Materials                                                        3401 N.W. 31st Street                                      Miami            FL           33142
 Miami-Dade County, Finance                                       111 NW 1st St, 26th
 Department                          Shared Services Payable Unit Floor                                                      Miami            FL           33128

 Miami-Dade County, Internal         Mr. Jesus Lee, Procurement   111 NW 1st Street, Suite
 Services Division                   Contracting Officer 3        1300                                                       Miami            FL           33128
 Miami-Dade County,                                               111 NW 1st Street, 26th
 Transportation & Public Works                                    Floor                                                      Miami            FL           33128
                                     German Arenes Chief of
 Miami-Dade Department of            Construction, Structural     1245 E. Washington
 Transporation and Public Works      Inspection and Analysis      Ave., Suite 201                                            Madison          WI           53703
 Miami-Dade Transit (DTPW)           Field Engineering            3300 N.W. 32 Avenue                                        Miami            FL           33142

 Michael Burrows, San Bernardino
 International Airport Authority                                  1601 E 3rd St                                              San Bernardino   CA           92408
 Michelin North Americas Inc.        James Tillman                2440 Hwy 39                                                Mountville       SC           29370
 Microgrid Labs Inc                                               2 Davis drive                                              Durham           NC           27709
 Microsoft Corporation                                            One Microsoft Way                                          Redmond          WA           98052-6399

 Mid-Atlantic Electrical Services Inc. Dart Bus Chargers          150 N Monroe St                                            Wilmington       DE           19801
                                                                  2911 General Puller
 Middlesex County Public Schools                                  Highway                                                    Saluda           VA           23149
 Midwest Bus Sales Inc                                            2150 SW 27th                                               El Reno          OK           73036
                                                                  2130 W James M Wood
 Miguel Contreras Foundation         Margarita Chavez             Blvd                                                       Los Angeles      CA           90006




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 Mill Steel Framing                                                  2905 Lucerne Dr.SE                                         Grand Rapids   MI           49546
 Miller-Hartwig Insurance               Dewey Reinholdt              P.O. Box 1177                                              Lakeville      MN           55044
 Mimecast North America, Inc.                                        480 Pleasant Street                                        Watertown      MA           02472
 MINWAX                                                              101 W. Prospect Ave                                        Cleveland      OH           44115
 MINWAX Company                                                      101 W. Prospect Ave                                        Cleveland      OH           44115
 Mishimoto                              Mishimoto Automotive         7 Boulden Circle                                           New Castle     DE           19720
 Missoula Urban Transportation
 District                               Sheila Wangler               1221 Shakespeare                                           Missoula       MT           59802
                                        Hiromu Kayamori, General
                                        Manager, First Department,
                                        New Business Development     1-3 Marunouchi 1-
 Mitsui                                 Division                     Chome Chiyoda-ku                                           Tokyo                       100-8631     Japan
                                                                     1-3, Marunouchi 1-
 Mitsui & Co                            Hiromu Kayamori              Chome                                                      Chiyouda-ku    Tokyo        100-8631     Japan
                                        Hiromu Kayamori, General
                                        Manager, First Department,
                                        New Business Development     1-3 Marunouchi 1-
 Mitsui & Co                            Division                     Chome Chiyoda-ku                                           Tokyo                       100-8631     Japan

 Mitsui & Co                                                         2-1, Otemachi 1-Chome                                      Chiyouda-ku    Tokyo        100-8631     Japan
 Mitsui & Co. (U.S.A.), Inc., Silicon                                535 Middlefield Road,
 Valley Office                          Eiji Kurihara                Suite 100                                                  Menlo Park     CA           94025
                                                                     1-3, Marunouchi 1-
 Mitsui & Co., Ltd.                     Hiromu Kayamori              Chome                                                      Chiyouda-ku    Tokyo        100-8631     Japan

 Mitsui & Co., LTD.                                                  2-1, Otemachi 1-Chome                                      Chiyouda-ku    Tokyo        100-8631     Japan
 Mobile Climate Control                 Benjamin Hodges              3189 Farmtrail Rd                                          YORK           PA           17406
 Mobile Climate Control Inc.            Paul Mauceri                 7540 Jane Street                                           Vaughan        ON           L4K 0A6      Canada
                                                                     16360 Table Mountain
 Mobile Energy Solutions, LLC           Dale Hill                    Parkway                                                    Golden         CO           80403
                                                                     535 Middlefield Road.
 Mobility Forefront LLC                 Attn Accounts Payable        Suite 100                                                  Menlo Park     CA           94025
 Modernfold Inc.                                                     215 West New Road                                          Greenfield     IN           46140
 Molded Fiber Glass Companies -
 West                                                                9400 Holly Road                                            Adelanta       CA           92301-0370
 Molded Fiber Glass Companies -
 West                                                           9400 Holly Road                                                 Adelanto       CA           92301
                                                                Paseo Tollocan No 128
 Moldes y Exhibidores S.A. de C.V. Jesus Maria Aguilar Sandoval Local K                                                         Lerma                                    Mexico
 MoLo Solutions LLC                Attn Purch Trans A/P         PO Box 10048                                                    Fort Smith     AR           72917-0048
 Monroe County Community
 Schools Corporation                                            315 E. North Drive                                              Bloomington    IN           47401
 Montgomery County Maryland                                     255 Rockville Pike, Suite
 Office of Procurement                                          180                                                             Rockville,     MD           20850-4186
                                                                16700 Crabbs Branch
 Montgomery County, Maryland                                    Way                                                             Rockville      MD           20855




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 Montgomery County, Maryland
 Department of General Services
 Division Of Fleet Management                                    16700 Crabbs Branch
 Services                                                        Way                                                        Derwood            MD           20855

 Mortenson                                                       700 Meadow Lane North                                      Minneapolis        MN           55422
 Motor Coach Industries (MCI)                                    200 East Oakton Street                                     Des Plaines        IL           60018
 Mountain Line                                                   1221 Shakespeare St.                                       Missoula           MT           59802
 Mountain Metro Transit (Colorado
 Springs)                            Maintenance Shop            1145 Transit Drive                                         Colorado Springs   CO           80903
                                     Mark A, Sousa, General
 Mountain Transit                    Manager                     15 Industrial Parkway                                      Burlington         VT           05403
                                                                 101 Queen City Park
 Mountain Transit                                                Road                                                       Burlington         VT           05401
 Mountain Transit                                                15 Industrial Parkway                                      Burlington         VT           05401
                                                                 13197 S Frontrunner
 Mozy by Carbonite                                               Blvd                                                       Drapper            UT           84052
 Mr. Joe Kernell Administrator                                   301 University Ridge,
 Greenville County                                               Suite 2400                                                 Greenville         SC           29601
 Mr. William Mooney Chief Transit
 Authority                                                       567 West Lake Street                                       Chicago            IL           60661-1498

 Ms. Jackie Calvi Senior Program
 manager, CCED Programs South
 Carolina Coordinating Council for                               1201 Main Street, Suite
 Economic Development                                            1600                                                       Columbia           SC           29201

 MSS Fire & Security, LLC                                        317-B West Phillips Rd.                                    Greer              SC           29650
 MTA New York City Transit           Grand Ave Bus Depot/CMF     4805 Grand Ave                                             Maspeth            NY           11378-3925
 MTA New York City Transit           Gregory Beck                2 Broadway, B19, 140                                       New York           NY           10004

 MTA New York City Transit           MTA Business Service Center 333 W. 34th St.                                            New York           NY           10001
 MTA New York City Transit                                       2 Broadway, 19th Floor                                     New York           NY           10004
 MTB Transit Solutions                                           8170 Lawson Road                                           Milton             ON           L9T 5C4      Canada
 Mubea                                                           8252 Dixie Highway                                         Florence           KY           41030
 Munaco Sealing Solutions                                        5 Ketron Court                                             Greenville         SC           29607
 Munich Electrification Systems      Uwe Wiedemann               Landaubogen 1                                              Munich                          81373        Germany
 Munich Electrification Systems
 GmbH                                Michael Daisenberger        Landaubogen 1                                              Munich                          81373        Germany
 Munich Electrification Systems
 GmbH                                Michael Daisenberger        Lindwumstr. 95                                             Muenchen                        80377        Germany
                                                                 222 WEST HARGETT
 MUNICIPAL BUILDING                                              STREET                                                     Raleigh            NC           27601
 Municipal Service Center North
 MSCN Garage                                                     55 Stony Point Road                                        Santa Rosa         CA           95401




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                                                                 632 W. 6th Street, Suite
 Municipality of Anchorage           Abul Hassan                 520                                                          Anchorage         AK           99519-6650
                                                                 3600 Dr. Martin Luther
 Municipality of Anchorage, Alaska                               King Jr. Ave                                                 Anchorage         AK           99507
 MWS Auto Services Inc. d/b/a
 Marietta Wrecker Service            Attn Jean Amma              950 Allgood Rd NE                                            Marietta          GA           30062

 MWS Auto Services, Inc.             dba Marietta Wrecker Service 950 Allgood Road                                            Marietta          GA           30062
 My Workforce Solutions                                           P.O. Box 4022                                               Whittier          CA           90607-4022

 NA Financial Services Center 0011                             PO Box 818031                                                  Cleveland         OH           44181-8031
 Napa Valley Transportation
 Authority                         Antonio Onorato             625 Burnell Street                                             Napa              CA           94559
 Napa Valley Transportation
 Authority                         Attn Accounts Payable       625 Burnell Street                                             Napa              CA           94559
 Nashville MTA                     Debbie Tunnell              430 Myatt Dr                                                   Nashville         TN           37115
 Nashville MTA                     Greta Beard                 430 Myatt Dr                                                   Nashville         TN           37115
 Nashville Valley Transportation
 Authority                         Attn Procurement Department 430 Myatt Drive                                                Nashville         TN           37115
 National Gypsum Company                                       2001 Rexford Road                                              Charlotte         NC           28211
 Navistar                          c/o Data2Logistics          PO Box 61050                                                   Fort Myers        FL           33906-1050
 Navistar                          Glen Mackie                 1885 Enterprise Dr.                                            Rochester Hills   MI           48309
 Navistar Engineering              c/o Data2Logistics          PO Box 61050                                                   Fort Myers        FL           33906-1050
                                                               4375 South Loop, 1604
 Navistar Engineering              Roland Medel                East                                                           Elmendorf         TX           78112
                                                               4375 South Loop, 1604
 Navistar Engineering              Steve Sopo                  East                                                           Elmendorf         TX           78112
 Navistar Inc/eMobiliy                                         1885 Enterprise Drive                                          Rochester Hills   MI           48309
                                                               10400 West North
 Navistar, Inc.                    BX1 Thomas Egdor            Avenue                                                         Melrose Park      IL           60160
                                   BX1 Vasant Rao, Vasant      10400 West North
 Navistar, Inc.                    Rao, Akash                  Avenue                                                         Melrose Park      IL           60160
                                   R&D Warehouse Vasant Rao,
 Navistar, Inc.                    Akash                       4375 South Loop                                                Elmendorf         TX           78112
 Navistar, Inc.                    Vasant Rao, Akash           2961 Mound Road                                                Joliet            IL           60436
 Navistar, Inc.                    Williamson, Kandora         2961 Mound Road                                                Joliet            IL           60436
 NAVISTAR, INC.                                                PO BOX 59007                                                   Knoxville         TN           37950-9007
                                                               4375 South Loop 1604
 Navitar Engineering                                           East                                                           Elmendorf         TX           78112
 ND Testing, Inc                                               1236 W Brooks Street                                           Ontario           CA           91762
                                                               Building 141 JFK Airport
 NEBR                              Global Bus Parts Dept       (347-517-1113)                                                 Jamaica           NY           11430
 Nelson Mullins Riley &
 Scarborough, LLP                  Attn George Wolfe, Esq.     1320 Main Street                                               Columbia          SC           29201

 Network Controls & Electronic, Inc. Edward Niles, CEO           136 Johns Road                                               Greer             SC           29650




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 New England Transit Sales, Inc                                  30 Progress Ave                                            Tyngsboro       MA           01879
 New South Specialties                                           3510A Bush River Rd                                        Columbia        SC           29210
 New York City Transit               Elinore Pedro-Galindo       2 Broadway                                                 New York        NY           10004
 New York City Transit               Mr. Gregory Beck            2 Broadway                                                 New York        NY           10004
 New York City Transit                                           31 Grand Ave                                               Queens          NY           11378
 New York City Transit(NYCT)                                     48-05 Grand Ave                                            Maspeth         NY           11378
 New York City Transit(NYCT)                                     750 Zerega Avenue                                          Bronx           NY           10473
                                                                 101 Bullitt Lane, Suite
 Nexen Pruet LLC                                                 205                                                        Toledo          OH           43604
 Nexen Pruet LLC                                                 PO Drawer 2426                                             Columbia        SC           29202
 NG Trans SP z.o.o                                               Opatkowice 147 32-100                                      Proszowice                              Poland
 Nick Standefer Assistant General
 Manager Greater Peoria Mass
 Transit District                                                2105 NE Jefferson Ave                                      Peoria          IL           61603
                                     Juergen Maigler / Gerhard
 Nikola Iveco Europe GmbH            Hoehe                       Nicolaus-Otto-Strasse 27                                   Ulm             DE           89079      Germany
 Nikola Motors                       Mike Evans                  680 E Houser Rd                                            Coolidge        AZ           85128-0100

 Niokla Iveco Europe GmbH                                        Nicolaus-Otto-Strabe 27                                    Ulm                          89079      Germany
 NIT - Norfolk Internation                                       7737 Hampton Blvd.                                         Norfolk         VA           23505
 Noahs Ark Enterprise LLC                                        7339 Unity Lane North                                      Brooklyn Park   MN           55443
 NoMuda, LLC                                                     2500 Regency Parkway                                       Cary            NC           27518
 Normal Connect Transit              Connect Transit             351 Wylie Drive                                            Normal          IL           61761
 North American Flags and                                        1624 Woodruff Rd, Suite
 Flagpoles                                                       1                                                          Greenville      SC           29607
 North Central Regional Transit                                  1327 North Riverside
 District                            Anthony J. Mortillaro       Drive                                                      Espanola        NM           87532
 Northvolt AB.                                                   Alstromergatan 20                                          Stockholm                    112 47     Sweden

 Northvolt America Inc                                           2020 Williams St, Unit E                                   San Leandro     CA           94577
                                                                 12795 W Alameda
 NPS                                                             Parkway                                                    Lakewood        CO           80228
                                                                 12795 W Alameda
 NPS, IMR- Lakewood MABO                                         Parkway                                                    Lakewood        CO           80228
                                                                 1100 Old Santa Fe Trail
 NPS, IMR- Santa Fe MABO                                         Building                                                   Santa Fe        NM           87505
 NPS, Yosemite NP                                                5083 Foresta Road                                          El Portal       CA           95318
 NPS, Zion NP                                                    HWY 9                                                      Springdale      UT           84757
 NVTA-Vine Transit Yard              Antonio Onorato, CCFM       720 Jackson Street                                         Napa            CA           94559
                                                                 7915 S. Claremont
 Oakley Construction Company, Inc.                               Avenue                                                     Chicago         IL           60620
                                     Kevin Wilson Melinda McCoy
 OC Fleet Services                   Monica Rodriguez           1102 E. Fruit Street                                        Santa Ana       CA           92701
 Odgers Interim                                                 20 Cannon Street                                            London                       EC4M 6XD   United Kingdom
                                                                1400 McCormick Drive,
 Office of Central Services                                     Suite 4100                                                  Largo           MD           20774




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 Office of Government Affairs - City                              757 S. Anderson Rd
 of Rock Hill                        Mr. Clifton Goolsby          (29730)                                                   Rock Hill            SC           29731
                                                                  55 M Street, SE, 7th
 Office of the Director                                           Floor                                                     Washington           DC           20003
                                                                  617 West 7th Street, Ste
 Office1                                                          504                                                       Los Angeles          CA           90017
 OfficePro Upstate                                                1200 Woodruff Road                                        Greenville           SC           29607
                                                                  1200 Woodruff Road,
 OfficePro Upstate                                                Suite G-3                                                 Greenville           SC           29607
                                                                  900 Ken-Mar industrial
 Ohio Cat                                                         Parkway                                                   Broadview Heights OH              44147
 Okta                                                             100 1st Street                                            San Francisco     CA              94105
 Old Dominion Right Line, Inc                                     PO Box 742296                                             Los Angeles       CA              90074-2296
                                                                  2000 Cliff Mine Road,
 Old Republic Surety Company                                      Suite 450                                                 Pittsburgh           PA           15275
 Old Republic Surety Company                                      PO Box 1636                                               Milwaukee            WI           53201-1635
 One Albuquerque Transit            City of Albuquerque           1 Civic Plaza NW                                          Albuquerque          NM           87102
                                                                  1 EXCHANGE PLAZA,
 ONE EXCHANGE PLAZA                                               SUITE 1020                                                RALEIGH              NC           27601

 One Georgia Center                 Russell R. McMurry            600 West Peachtree NW                                     Atlanta              GA           30308
                                                                  10813 S. River Front
 Onset Financial Inc.                                             Parkway, Suite 450                                        South Jordan         UT           84095
 Ontario Airport Maintenance
 Division                           Rick Martorana                2132 East Avion                                           Ontario              CA           91741
 Ontario Power Generation                                         800 Kipling Avenue                                        Toronto              ON           M8Z 5G5      Canada
                                                                  Bernard Van Hoolstraat
 Ontvanger/Van Hool                                               58                                                        Koningshooikt-Lier                2500         Belgium
                                                                  47802 West Anchor
 Optimal Electric Vehicles, LLC.    Dan Daniels                   Court                                                     Plymouth             MI           48170
 Optimal EV                         Toni K Nayback                29449 Old US Hwy 33                                       Elkhart              IN           46516
                                                                  47802 West Anchor
 Optimal, Inc                       Song L. Young                 Court                                                     Plymouth             MI           48170
 Optimal-EV                         Toni Nayback                  47802 W Anchor Ct.                                        Plymouth             MI           48170
                                                                  1500 Ardmore Blvd,
 Optimum Water Solutions, Inc.                                    Suite #104                                                Pittsburgh           PA           15221
                                                                  1144 15th Street, Suite
 Optiv Security Inc.                                              2900                                                      Denver               CO           80202
 ORACLE                                                           500 Oracle Parkway                                        Redwood Shores       CA           94065
 Oracle America, Inc                Attn General Counsel          500 Oracle Parkway                                        Redwood Shores       CA           94065
                                    Attn General Counsel, Legal
 Oracle America, Inc.               Department                    500 Oracle Parkway                                        Redwood Shores       CA           94065
 Orcas Island HS/MS                                               715 School Rd                                             East Sound           WA           98245
 Orcas Island School District 137                                 557 School Road                                           Eastsound            WA           98245
                                                                  400 Regency Forest
 Orion ICS, LLC                                                   Drive, Suite 310                                          Cary                 NC           27518




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 Orlando Utilities Commision                                    100 W. Anderson St                                         Orlando             FL           32801
 Orlando Utilities Commission        Tim Reno Justin Kramer     100 West Anderson St.                                      Orlando             FL           32802-3193

 Orlando Utilities Commission                                   Gardenia Office Building                                   Orlando             FL           32839
 Orlando Utilities Commission -
 Lynx                                                           2500 Lynx Ln.                                              Orlando             FL           32804
 Oshkosh Door Company                                           2501 Universal Street                                      Oshkosh             WI           54904
                                                                1010 Wilshire Boulevard
 Otoy, Inc.                                                     #1604                                                      Los Angeles         CA           90017
 OUC                                 Accounts Payable           PO Box 3193                                                Orlando             FL           32802-3193
 Our Next Energy, Inc                                           45145 W 12 Mile Road                                       Novi                MI           48377
                                                                100 Cummings Center,
 Oxford Global Resources, LLC                                   Suite 206L                                                 Beverly             MA           01915

 PAC Operating Limited Partnership General Counsel              4545 Airport Way                                           Denver              CO           80239
                                                                381 S. Brea Canyon
 PAC Operating Limited Partnership                              Road                                                       Industry City       CA           91789
                                                                383-393 South Cherly
 PAC Operating Limited Partnership                              Lane                                                       City of Industry    CA           91789

 Pac Operating Limited Partnership                              17777 Center Court
 a Delaware limited partnership    Analise Guttmann, Director   Drive North, Suite 100                                     Cerritos            CA           90703

 Pac Operating Limited Partnership                              17777 Center Court
 a Delaware limited partnership    Market Officer               Drive North, Suite 100                                     Cerritos            CA           90703

 Pac Operating Limited Partnership                              381 S. Brea Canyon
 a Delaware limited partnership                                 Road                                                       Industry City       CA           91789

 Pac Operating Limited Partnership                              383-393 South Cherly
 a Delaware limited partnership                                 Lane                                                       City of Industry    CA           91789
 PACE                                                           550 W Algonquin Rd                                         Arlington Heights   IL           60005
 Pace, Suburban Bus Company Site
 South Holland Division              Chris Rausch/Dave Raila    405 Taft Drive                                             South Holland       IL           60473
 Pace, the Suburban Bus Division
 of the Regional Transportation
 Authority                                                      550 W. Algonquin Road                                      Arlington Heights   IL           60005
 Pacific Dynasty International Group                            1140 Empire Central
 Inc                                                            Drive, Suite 420                                           Dallas              TX           75247
 PACWEST Security Services                                      3303 Harbor Blvd                                           Costa Mesa          CA           92626
 Palmetto Air and Water Balance,
 Inc.                                                           165 S Hammett Rd                                           Greer               SC           29651
                                                                OVAL TOWER, DE
 PALO ALTO NETWORKS                                             ENTREE 99-197, 5TH                                         AMSTERDAM-
 (NETHERLANDS) B.V.                                             FLOOR                                                      ZUIDOOST                         1101 HE      NETHERLANDS




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                                                                    4401 GREAT AMERICA
 PALO ALTO NETWORKS, INC.                                           PARKWAY                                                    SANTA CLARA         CA           95054
 Panasonic Industrial Devices Sales
 Company of America                 Rechargeable Battery Group      3461 Plano Parkway                                         The Colony          TX           75056
 Panasonic Industrial Devices Sales
 Company of America, Division of
 Panasonic Corporation of North                                     Two Riverfront Plaza, 7th
 America                                                            floor                                                      Newark              NJ           07102-5490
                                                                    245 Paseo Del Canon
 Paradise Power Company, Inc.                                       East                                                       Taos                NM           87571
 Park City Municipal Corporation                                    1053 Iron Horse Dr                                         Park City           UT           84060
 Park City Municipal Corporation                                    445 Marsac Ave                                             Park City           UT           84060
                                      Park City Municipal
                                      Corporation, Transit
 Park City Transit                    Department                    1053 Ironhorse Drive                                       Park City           UT           84060-1480
                                                                    5500 Business Park
 Parker Hannifin Corp                                               Drive                                                      Rohnert Park        CA           94928
                                      Electromechanical & Drives
                                      Division and its Pneumatics
 Parker Hannifin Corporation          North America Division        9225 Forsyth Park Drive                                    Charlotte           NC           28273
 Partition Systems International                                    825 Garland Street                                         Columbia            SC           29201
 Partition Systems International of
 South Carolina                                                     825 Garland Street                                         Columbia            SC           29201
 Partition Systems International of
 South Carolina                                                     PO Box 181                                                 Columbia            SC           29202
 Party City Municipal Corporation     City Hall, Park City          445 Marsac Avenue                                          Park City           UT           84060
                                                                    6526 Greatwood
                                                                    Parkway Building 6 - Unit
 Paul Bridges Group                                                 A                                                          Sugar Land          TX           77479
                                                                    240 Constitution
 Paulding County                                                    Boulevard                                                  Dallas              GA           30132
 PC Connection, Inc.                                                730 Milford Rd.                                            Merrimack           NH           03054
                                                                    10330 Old Columbia
 Peak Technologies, Inc.              Senior Contract Manager       Road                                                       Columbia            MD           21046
 Peak Technologies, Inc.              VP, Cybersecurity             Cut off, Suite 300                                         Linthicum Heights   MD           21090
 Pearce Services, LLC dba Pearce                                    1222 Vine Street, Suite
 Renewables                                                         301                                                        Paso Robles         CA           93446

 Peco InspX                           Allan Anderson                1050 Commercial Street                                     San Carlos          CA           94070
 PECO INSPX                           Andre Lalljie                 1835 Rollins Road                                          Burlingame          CA           94010
 PennBarry                                                          1401 North Plano Road                                      Richardson          TX           75081
 PennBarry                                                          605 Shiloh Rd                                              Plano               TX           75054
 Penske Truck Leasing Co. L.P.                                      PO Box 563                                                 Reading             PA           19603-0563
                                                                    PENTALVER WAY,
 PENTALVER                                                          CANNOCK                                                    STAFFORDSHIRE                    WS11 8XY     United Kingdom




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                                                                Dockgate 10, West Bay                                      Southampton
 Pentalver Transport Ltd                                        Road Western Docks                                         Hampshire                     SO15 1DA     United Kingdom
 Petersburg City Public Schools                                 255 South Blvd. East                                       Petersburg       VA           28305
 Petersburg Warehouse                                           920 E Wythe St                                             Petersburg       VA           23803
                                                                622 3rd Avenue, 8th
 Phaidon International (US) Inc.                                Floor                                                      New York         NY           10017
                                                                100 Princeton South
 Philadelphia Indemnity Insurance                               Corporate Center 4th
 Company                               Attn Surety Department   Floor                                                      Ewing            NJ           08628

 Philadelphia Indemnity Insurance Victoria M. Campbell, Bradley
 Company                          N Wright Christina Johnson    One Bala Plaza Ste 100                                     Bala Cynwyd      PA           19004
 Philadelphia Indemnity Insurance
 Company                                                        1234 Market Street                                         Philadelphia     PA           19107-3780
 Philadelphia Indemnity Insurance                               1420 5th Avenue, Ste
 Company                                                        3510                                                       Seattle          WA           98101
 Philadelphia Indemnity Insurance
 Company                                                        1 Bala Plaza, Suite 100                                    Bala Cynwyd      PA           19004-0950
 Philadelphia Indemnity Insurance                               222 SW Columbia St,
 Company                                                        #600                                                       Portland         OR           97201
 Philadelphia Insurance Companies
 A Member of the Tokio Marine
 Group                            Surety Claims Department      P.O. Box 3636                                              Bala Cynwyd      PA           19004
 PIDSA Industrial Devices Sales
 Company of America, Division of
 Panasonic Corporation of North
 America                          Attn Contracts                PIDSA-RBBD                                                 The Colony       TX           75056
 PIDSA Industrial Devices Sales
 Company of America, Division of
 Panasonic Corporation of North
 America                          Attn Legal Department         PIDSA                                                      Newark           NJ           07102-5490
 Piece Manufacturing                                            1981 Snell Rd                                              Oshkosh          WI           54904
 Piece Manufacturing                                            2600 American Drive                                        Appleton         WI           54914
 Pierce Assembly Plant                                          2600 American Drive                                        Appleton         WI           54914-9010
 Pierce County Public
 Transportation Benefit Area
 Corporation                                                    3707 96th Street SW                                        Lakewood         WA           98496-0070
 Pierce Manufacturing                                           1981 Snell RD                                              Oshkosh          WI           54904
 Pierce Manufacturing Inc                                       Pierce Assembly Plant   PO Box 2017                        Appleton         WI           54914-9010
                                  Derek Kritzer, Segment        1917 Four Wheel Drive,
 Pierce Manufacturing, Inc.       General Counsel               PO Box 2566                                                Oshkosh          WI           54903-2566
 Pierce Transit                                                 3710 96th Street                                           SW Lakewood      WA           98499

 Pinellas suncoast transit authority                            3201 Scherer Drive                                         St. Petersburg   FL           33716




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 Pinellas Suncoast Transit Authority
 (PSTA)                                                               3201 Scherer Drive                                            St. Petersburg   FL           33716
                                                                      Suite 300 - 911 Homer
 Pinnacle International                                               Street                                                        Vancouver        BC           V6B 2W6      Canada
 Pinnacle International Realty                                        Suite 300 - 911 Homer
 Group II Inc.                                                        Street                                                        Vancouver        BC           V6B 2W6      Canada
 Pioneer Valley Transit Authority      Joshua Rickman                 2808 Main Street                                              Springfield      MA           01107
                                       Joshua Rickman, Manager of
 Pioneer Valley Transit Authority      Operations and Planning    2808 Main St                                                      Springfield      MA           01107
 Pioneer Valley Transit Authority      Zoraida Valentin           2808 Main Street                                                  Springfield      MA           01107

 Pittsylvania County Schools                                          1001 Tightsqueeze Road                                        Chatham          VA           24531
 Pittsylvania County Schools                                          39 Bank St SE                                                 Chatham          VA           24531
                                                                      1555 Blake Street, Suite
 Planatir Technologies, Inc.                                          250                                                           Denver           CO           80202
 Plaxton Ltd                           Main Stores                    Plaxton Park             Eastfield                            Scarborough                   YO11 3BY     United Kingdom
 PLM Advisors LLC                      Managing Partner               27452 Avanti Drive                                            Mission Viejo    CA           92692

                                       Customer Success &             100 Illinois Street, Suite
 Pocessia Solutions Corp.              Strategic Accounts Executive   200                                                           St. Charles      IL           60174
                                       VP Finances and Corp           100 Illinois Street, Suite
 Pocessia Solutions Corp.              Services                       200                                                           St. Charles      IL           60174

 Pole Green Services                                                  70303 Pole Green Road                                         Mechanicsville   VA           23113
 Pole Green Services                                                  7030 Pole Green Road                                          Mechanicsville   VA           23113
 Pole Green Services                                                  7030 Pole Green Road                                          Mechanicsville   VA           23116
 Pole Green Services Inc.              Sonnys Services Inc.           10988 Richardson Rd                                           Ashland          VA           23005
 Port Arthur Transit                                                  344 Procter Street                                            Port Arthur      TX           77640
 Port Arthur Transit (PAT)             Accounts Payable               PO Box 1089                                                   Port Arthur      TX           77641-1089
 Port Arthur Transit(PAT)                                             344 Procter Street                                            Port Arthur      TX           77640
 Port Authority of New York and
 New Jersey Operation Services
 Department Central Automotive                                        241 Erie Street, Room
 Division                                                             307                                                           Jersey City      NJ           07310-1397

 Port X Logistics                                                     3090 E. Via Mondo                                             Rancho Dominguez CA           90221
                                                                      3150 Hilltop Mall Road,
 Port X Logistics                                                     Suite 1                                                       Richmond         CA           94806
 Portsmouth City Schools                                              724 Findlay St                                                Portsmouth       OH           45662
 Portx Logistics                       C/O Port Xlogistics            95 Perry St Suite 104                                         Buffalo          NY           14203
 Pottorff                                                             5101 Blue Mound Road                                          Ft. Worth        TX           76106
 Power Electronics                     Attn Jacob Marshall            1510 N. Hobson Ave                                            Gilbert          AZ           85233
 Power Electronics                                                    400 Danforth Rd Unit                                          Scarborough      ON           M1L 3X6      Canada
 POWER ELECTRONICS                                                    9700 solar Dr #8003                                           Tampa            FL           33619
                                                                      Poligono Industrial
 Power Electronics Espana S.L.         Poligono Industrial Carrases   Carrases                      Lliria                          Valencia                      46160        Spain




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                                                                 Poligono Industrial
                                                                 Carrases Ronda del
 Power Electronics Espana S.L.                                   Camp d Aviacio No. 4                                        Lliria-Valencia                46160     Spain
                                                                 Ronda del Camp
 Power Electronics Espana S.L.                                   dAciacion No 4                                              Lliria            Valencia     46160     Spain
 Power Electronics Espana, S.L.     Schetky - Pasco              3412 Stearman Ave                                           Pasco             WA           99301
 Power Electronics USA                                           1511 N Hobson St.                                           Gilbert           AZ           85234
 Power Electronics USA, Inc.                                     11920 Bournefield Way                                       Silver Spring     MD           20904
 Power Electronics USA, Inc.                                     1800 Randolph Road                                          Silver Spring     MD           20902
 PowerON Energy Solutions                                        700 University Avenue                                       Toronto           ON           M5G 1X6   Canada
                                    Toronto Transit Commission
 PowerON Energy Solutions L.P.      Birchmount Garage            400 Danforth Rd.                                            Scarborough       ON           M1L 3X6   Canada
                                                                 700 University Avenue,
 PowerOn Energy Solutions LP                                     19th Floor                                                  Toronto           ON           M5G 1X6   Canada
                                                                 Suite 2801 - 2300 Yonge
 PowerON Energy Solutions LP                                     Street                                                      Toronto           ON           M4P 1E4   Canada
 Powers Electronics                 Flor Loredo                  1510 N Hobson St                                            Gilbert           AZ           85233
 Powertrain & Technology Sales      Mark Childers                1408 Courtesy Road                                          High Point        NC           27260

 Powhatan County Public Schools                                  4290 Anderson Highway                                       Powhatan          VA           23139
 Precept Advisory Group LLC                                      130 Theory, Suite 200                                       Irvine            CA           92617
 Precision Buses PTY LTD                                         35 Woomera Ave                                              Edinburgh         SA           5111      Australia
 Precision Buses PTY Ltd                                         35 Woomera Ave                                              Edinburgh         SA           SA 5111   Australia
 Premier Builders                                                2731 Jason Rd.                                              Ashland           KY           41102
                                                                 15 N. Saint Clair St.,
 Premier Staffing Solution, LLC                                  Third Floor                                                 Toledo            OH           43604
 President and Fellows of Harvard
 College                            Harvard Corporation          Harvard University          Massachusetts Hall              Cambridge         MA           02138
                                                                 7900 National Service
 Prevost Cars US, Inc.                                           Road                                                        Greensboro        NC           27409
 Prime Electric                                                  13301 SE 26th Street                                        Bellevue          WA           98005
 Prime Electric                                                  2023 OToole Ave                                             San Jose          CA           95131
 Prince George County                                            8401 D-Arcy Rd.                                             Forestville       MD           20747
 Prince Georges County              Department of Public Works   Office of Administrative
 Government                         and Transportantion          Services                                                    Largo             MD           20774
 Prince Georges County              Department of Public Works
 Government                         and Transportantion          Office of Transportation                                    Largo             MD           20774
 Prince Georges County                                           1400 McCormick Drive,
 Government                         Office of Central Services   Suite 336                                                   Largo             MD           20774

 Prince Georges County
 Government Department of Public                                 9400 Peppercorn Place,
 Works and Transportantion       Director                        Suite 320                                                   Largo             MD           20774
 Prince Georges County Office of                                 1301 McComirk Drive,
 Law                             County Attorney                 Suite 4100                                                  Largo             MD           20774
 Prince William County Schools                                   12153 Hooe Road                                             Bristow           VA           20136




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 Princes Georges County MD          Chaleta Lowery Kristy Cluster 9400 Peppercorn Place                                     Largo                MD           20774

 Princes Georges County MD          Chaleta Lowery Sharon Ware 9400 Peppercorn Place                                        Largo                MD           20774

 Procore                                                        6309 Carpinteria Avenue                                     Carpinteria          CA           93013

 Procore Technologies                                           6309 Carpinteria Avenue                                     Carpinteria          CA           93013
                                    Terry Dudley, Manager
 Procurement Department             Procurement Department      1720 N. Flores                                              San Antonio          TX           78212
 Productive Design Services Corp                                6 Parklane Blvd                                             Dearborn             MI           48126
 Professional Fleet Maintenance                                 350 SE 24 St                                                Ft Lauderdale        FL           33316
 ProForm Brand Interior Finishing
 Products                           National Gypsum             2001 Rexford Road                                           Charlotte            NC           28211
 Program Director                   Low Carbon Fleet            520 Gorge Road East                                         Victoria             BC           V8W 9T5   Canada
                                                                1800 Wazee Street,
 Prologies, L.P.                                                Suite 500                                                   Denver               CO           80202
                                    Elizabeth Summerer,         17777 Center Court
 Prologis                           Property Manager            Drive North, Suite 100                                      Cerritos             CA           90703
                                                                1800 Wazee Street,
 Prologis                           General Counsel             Suite 500                                                   Denver               CO           80202
                                    Orlando Garcia, Admin.      1800 Wazee Street,
 Prologis                           Assistant                   Suite 500                                                   Denver               CO           80202
 Prologis Industry Dis. Center 4                                383-393 S. Cheryl Lane                                      City of Industry     CA           91789
 Prologis Logistics Services
 Incorporated                                                   Pier 1, Bay 1                                               San Francisco        CA           94111
 PROMWAD GmbH                                                   Meisenburgstr. 39                                           Essen                             45133     Germany
 Proterra                                                       393 Cheryl LN                                               City of Industry     CA           91789
                                                                Bernard Van Hoolstraat
 Proterra GVL/ Van Hool             Alex Herbst                 58                                                          Koningshooikt-Lier                2500      Belgium
                                                                Bernard Van Hool Straar
 Proterra GVL/Van Hool              Ship To                     58                                                          Koningshooikt        BE           02500     Belgium

 Proterra Operating Company, Inc &
 Harry Fields Consulting Agreement                              8 Cottontail Ct.                                            Simpsonville         SC           29680
 Public Transportation Department                               3600 Dr. Martin Luther
 Administration                                                 King Jr. Ave                                                Anchorage            AK           99507
 Public Works                      James Phelps, Director       1095 Airport Road                                           Breckenridge         CO           80424
 Public Works                                                   1105 Airport Rd.                                            Breckenridge         CO           80424
                                                                777 S Aviation Blvd.
 Quest Nutrition                    Quest Nutrition, LLC        Ste.100                                                     El Segundo           CA           90245
 R.S. Hughes Company, Inc.          Adam Guynes                 10639 Glenoaks Blvd                                         Pacoima              CA           91331
 R.S. Hughes Company, Inc.          AJ ADDIS                    10639 Glenoaks Blvd                                         Pacoima              CA           91331
 R+L Carriers                                                   PO Box 271                                                  Wilmington           OH           45177

 Rainbow Sign and Banner                                        181 East Riverside Drive                                    St. George           UT           84790




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 Raleigh-Durham Airport Authority                              1000 Trade Drive                                           RDU Airport         NC           27623
 RAMCO Electric Ltd                  c/o Durham Transit        710 Raleigh Ave.                                           Oshawa              ON           L1H 3T2   Canada
                                                               300 Throckmorton
 RATP Dev USA, Inc.                  Attn Andy Manthei         Street, Suite 670                                          Fort Worth          TX           76102
 Raymond Carolina Handling                                     1955 Montreal Road                                         Tucker              GA           30084

 Razorleaf                           CEO                       3732 Fishcreek Rd #291                                     Stow                OH           44224
                                                               3766 Fishcreek Rd., Ste.
 Razorleaf Corporation                                         291                                                        Stow                OH           44224
 RDU Accounts Payable                                          PO Box 80001                                               Raleigh             NC           27623
 RDU Legal                                                     1000 Trade Drive                                           Morrisville         NC           27560
                                                               200 Haleys Branch 1000
 RDU Maintenance                     Summerville, William Jr   Trade Drive                                                Morrisville         NC           27560
                                                               200 Haleys Branch 1000
 RDU Maintenance                                               Trade Drive                                                Rdu Airport         NC           27623
 RED CANYON TRANSIT, LLC                                       3575 LARIAT RD.                                            PARK CITY           UT           84098
 Redding Area Bus Authority                                    777 Cypress Ave                                            Redding             CA           96001
                                                               1445 Market Street,
 Regional Air Quality Council                                  Suite 260                                                  Denver              CO           80202
 Regional Transportation
 Commission                                                    P.O. Box 30002                                             Reno                NV           89502
 Regional Transportation
 Commission                                                    PO Box 30002                                               Reno                NV           89520
 Regional Transportation                                       1105 Terminal Way,
 Commission of Washoe County         Karen Heddy               Suite 300                                                  Reno                NV           89502
 Regional Transportation
 Commission of Washoe County                                   1105 Terminal Way                                          Reno                NV           89502
 Regional Transportation
 Commission of Washoe County                                   2050 Villanova Drive                                       Reno                NV           89502
 Regional Transportation
 Commission of Washoe County         Lee G. Gibson AICP
 (RTC)                               Executive Director        1105 Terminal Way                                          Reno                NV           89502
 Regional Transportation
 Commission of Washoe County
 (RTC)                                                         2050 Villanova Drive                                       Reno                NV           89502
 Renewable Design Associates,                                  223 West Meadowview
 LLC                                 President                 Rd.                                                        Greensboro          NC           27406
 Renewable Design Associates.
 LLC                                                           310 Shiloh Rd.                                             Seneca              SC           29679
 Research Triangle Regional Public
 Transportation Authority            Attn Jeffrey G. Mann,     4600 Emperor
 (GoTriangle)                        President & CEO           Boulevard, Suite 101                                       Durham              NC           27703
 Research Triangle Regional Public
 Transportation Authority            Attn Jeffrey G. Mann,                                                                Research Triangle
 (GoTriangle)                        President & CEO           PO Box 13787                                               Park                NC           27709




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 Research Triangle Regional Public
 Transportation Authority            Attn Shelley Blake, General   4600 Emperor
 (GoTriangle)                        Counsel                       Boulevard, Suite 101                                        Durham              NC           27703
 Research Triangle Regional Public
 Transportation Authority            Attn Shelley Blake, General                                                               Research Triangle
 (GoTriangle)                        Counsel                       PO Box 13787                                                Park                NC           27709
                                                                   245 S. Executive Dr.
 REV Group, Inc.                                                   Suite 100                                                   Brookfield          WI           53005
                                                                   5057 Keller Springs
 Rexan USA LLC                       Chief Executive Officer       Road, Suite #300                                            Addison             TX           75001
                                                                   15201 Century Drive,
 Rhombus Energy Solutions                                          Suite 608                                                   Dearborn            MI           48120
                                                                   12245 World Trade
 Rhombus Energy Solutions Inc.       Richard Sander                Drive, Suite G                                              San Diego           CA           92128

 Rhombus Energy Solutions, Inc.      Rick Sander                   10915 Technology Place                                      San Diego           CA           92127
                                                                   15301 Century Dr., Suite
 Rhombus Energy Solutions, Inc.      Russ Pulter                   202                                                         Dearborn            MI           48120
 Right Freight Solutions                                           PO Box 35783                                                Greenboro           NC           27425
 Rivian Automotive, LLC              Accounts Payable              13250 N Haggerty Rd                                         Plymouth            MI           48170
 Rivian Automotive, LLC              Delivery Location             100 Rivian Motorway                                         East Lot Normal     IL           61761
 Rivian Automotive, LLC              Tim Waldrop                   100 N. Rivian Motorway                                      Normal              IL           61761
 Rivian Automotive, LLC                                            14600 Myford Rd.                                            Irvine              CA           92606
 RL Carriers                                                       PO Box 271                                                  Wilmington          OH           45177
 RL Carriers                                                       PO BOX 271                                                  Wilmington          OH           46177-0271
 RLJ SERVICE LLC                     DBA Capitol Coachworks        201 Ritchie Rd, Bldg A                                      Capitol Heights     MD           20743
 RMAX                                                              13524 Welch Road                                            Dallas              TX           75244
                                                                   1649 South Batesville
 RMAX                                                              Road                                                        Greer               SC           29650
 RMAX                                                              210 Lyon Drive                                              Fernley             NV           89408

 Robert Davey Group Commercial &
 Business Development Director                                     9 Central Boulevard                                         Larbert                          FK5 4RU      United Kingdom
                                                                   1850 Gateway Dr STE
 Robert Half International Inc       District President            200                                                         San Mateo           CA           94404
 Robert Half International Inc       District President            75 Beattie Pl Ste 930                                       Greenville          SC           29601
                                                                   13181 Crossroads Pkwy
 Robert Half International Inc                                     N STE 110                                                   City of Industry    CA           91746

 Roberts Hawaii, Inc.                                              680 Iwilei Rd., Suite 700                                   Honolulu            HI           96817
                                                                   5790 Casper Padgett
 Robin Mitchum                                                     Way                                                         North Charleston    SC           29406
 Rock Hill South Carolina                                          757 S. Anderson Rd.                                         Rock Hill           SC           29730
 Rock Island County Metropolitan
 Mass Transit District               MetroLINK                     1515 River Drive                                            Moline              IL           61265




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 Rock Island County Metropolitan
 Mass Transit District              Mr. Jeffrey Nelson             1515 River Drive, Floor 2                                   Moline              IL           61265
 Rock Island Metropolitan Mass
 Transit District                   MetroLINK                      1515 River Drive                                            Moline              IL           61265
                                    Attn Tim Bisbee, Director of
 Rock Region Metro                  Maintenance                    901 Maple Street                                            North Little Rock   AR           72114
                                    Justin Avery Chief Financial
 Rock Region Metro                  Officer/ Interim CEO           901 Maple Street                                            North Little Rock   AR           72114
                                    Attn Tim Bisbee, Director of
 Rock Region Metro (RRM)            Maintenance                    901 Maple Street                                            North Little Rock   AR           72114
                                    Justin Avery Chief Financial
 Rock Region Metro (RRM)            Officer/ Interim CEO           901 Maple Street                                            North Little Rock   AR           72114
                                                                   5790 Casper Padgett
 Ronald E. Mitchum                                                 Way                                                         North Charleston    SC           29406
 Roofing Southwest Inc                                             680 E Houser Rd                                             Coolidge            AZ           85128

 Roppe Corporation                  Attn Kim Jenkins               1602 North Union Street                                     Fostoria            OH           44830
 Rose Tse, of RTse Consulting                                      10 Hobby Farm Dr                                            Bedford             NY           10506
                                    Jon C. Steenland,
 Roseville Community Schools        Director/Bond Coordinator      18975 Church Street                                         Roseville           MI           48066
 Roush Clean Tech                                                  28330 Plymouth Rd                                           Livonia             MI           48150
 Roush CleanTech, LLC               Ian Black                      12170 Globe Street                                          Livonia             MI           48150
 Roush Dock #81                     John Brockman                  28330 Plymouth RD                                           Livonia             MI           48150
 ROUSH INDUSTRIES, INC.             Christina C. Harris            28330 Plymouth Rd.                                          Livonia             MI           48150
                                    Christina C. Harris and Aaron
 ROUSH INDUSTRIES, INC.             Matthias                      333 Republic Drive                                           Allen Park          MI           48101
                                    Christina C. Harris and Aaron
 ROUSH INDUSTRIES, INC.             Matthias                      B502-S&R                                                     Livonia             MI           48150
 RoviSys                            Director                      1455 Danner Dr                                               Aurora              OH           44202
 RST Electrical & Mechanical
 Contractors, Inc.                                                 6035 Dix Street NE                                          Washington          DC           20019
 RTC Board                                                         PO BOX 30002                                                Reno                NV           89502
 RUCO Southern Wall Produtcs
 Icorporated                                                       P.O. Box 1109                                               Tucker              GA           30085-1109
 Ruttensteiner Consulting Gmbh                                     7 Zenndorf Ried im                                          Traunkreis                       4551       Austria
 RYDE-Racine Transit                Belle Urban                    1900 Kentucky St.                                           Racine              WI           53405
 RYDE-Racine Transit                Willie McDonald                1900 Kentucky St.                                           Racine              WI           53405
                                                                   34 Ravenswood Lane,
 S&J Electrical Contractors                                        Scotch Plains                                               Scotch Plains       NJ           07076
 S&J Electrical Contractors, Inc.                                  34 Ravenswood Lane                                          Scotch              NJ           07076
 S&R Trucking Inc.                                                 45 Simpson Rd                                               Bolton              ON           L7E 2R6    Canada
 Sacramento County                                                 Central Warehouse                                           Sacramento          CA           95837

 Sacramento County Airport System Attn FC40645                     Central Warehouse                                           Sacramento          CA           95837
 Sacramento County Airport System
 Central Warehouse                                                 6741 Lindbergh Drive                                        Sacramento          CA           95837




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 Sacramento International Airport      Attn Accounts Payable    7207 Earhart Drive                                          Sacramento      CA           95837

 Sacramento Reginal Transit District                            PO Box 2110                                                 Sacramento      CA           95812-2110
 Sacramento Regional Transit
 District                                                       1323 28th Street                                            Sacramento      CA           95816
 Salem Carriers, Inc                                            4810 Justin Court                                           Charlotte       NC           28216
                                                                415 Mission Street, 3rd
 Sales Force                                                    Floor                                                       San Francisco   CA           94105
 Salesforce Tower                      415 Mission Street       3rd Floor                                                   San Francisco   CA           94105
                                                                                                                            South San
 SamsTrans Bus Maintenance             David harbor             301 North Access Road                                       Francisco       CA           94083
                                                                                                                            South San
 SamsTrans Bus Maintenance                                      301 North Access Road                                       Francisco       CA           94803
                                                                                                                            South San
 SamTrans Bus Maintenance          David harbor                 301 North Access Road                                       Francisco       CA           94083
 San Diego County Regional Airport
 Authority                         Bill To                      PO Box 82776                                                San Diego       CA           92138
 San Diego County Regional Airport
 Authority                         Ship To                      2417 Winship Lane                                           San Diego       CA           92101
 San Diego County Regional Airport                              3270 Admiral Boland
 Authority                         Ship To                      Way                                                         San diego       CA           92101
 San Diego International Airport                                PO Box 536036                                               Pittsburgh      PA           15253-5902
 San Diego International Airport                                PO Box 79572                                                Baltimore       MD           21279
 San Francisco Airport (SFO)       Annie Chung                  14325 W 95th Street                                         Lenexa          KS           66215
 San Francisco Airport (SFO)                                    790 N McDonnell Road                                        San Francisco   CA           94128
 San Francisco City County         Cheung, Jenny                P.O. Box 8097                                               San Francisco   CA           94128
 San Francisco City County                                      1098 23rd St                                                San Francisco   CA           94107
                                                                1 Dr. Carlton B. Goodlett
                                                                Place City Hall, Room
 SAN FRANCISCO CITY COUNTY                                      430                                                         San Francisco   CA           94102
                                                                1 Dr. Carlton B. Goodlett
 San Francisco City County                                      Place                                                       San Francisco   CA           94102
                                                                One South Van Ness
 San Francisco City County                                      Ave 8th FL                                                  San Francisco   CA           94103

 San Francisco International Airport Annie Chung                606 North McDonnell Rd                                      San Francisco   CA           94128
 San Francisco Municipal                                        1 South Van Ness
 Transportation Agency                                          Avenue, 7th Floor                                           San Francisco   CA           94103
 San Francisco Municipal                                        700 Pennsylvania
 Transportation Agency                                          Avenue                                                      San Francisco   CA           94107
 San Joaquin Regional Transit
 District                            Attn Procurement Dept      2849 E Myrtle St                                            Stockton        CA           95201
 San Joaquin Regional Transit
 District                            Brad Menil                 421 East Weber Ave                                          Stockton        CA           95202
 San Joaquin Regional Transit
 District                            Wendell Krell              421 East Weber Ave                                          Stockton        CA           95202




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 San Joaquin Regional Transit                                    221 East North First
 District                                                        Street                                                     Stockton          CA           95201
 San Joaquin Regional Transit        Donna DeMartino, General
 District (RTD)                      Manager/CEO                 PO Box 201010                                              San Francisco     CA           95201
 San Joaquin Regional Transit        George Lorente, Grants
 District (RTD)                      Manager                     PO Box 201010                                              Stockton          CA           95201

 San Joaquin RTD                  Attn Procurement Dept          2849 East Myrtle Street                                    Stockton          CA           95205
 San Luis Coastal School District                                1500 Lizzie Street                                         San Luis Obispo   CA           93401
 San Luis Coastal Unified                                        1500 Lizzie Street                                         San Luis Obispo   CA           93401-3062
 San Luis Coastal USD                                            1500 Lizzie St                                             San Luis Obispo   CA           93401
 San Luis Coastal USD Corporation
 Yard                                                            937 Southwood Drive                                        San Luis Obispo   CA           93401

 San Mateo County Transit District   Accounts Payable            PO Box 3006                                                San Carlos        CA           94070
                                     Clerk, Secretary, and/or
 San Mateo County Transit District   Auditor                     1250 San Carlos Avenue                                     San Carlos        CA           94070-1306

 San Mateo County Transit District David Olmeda                 1250 San Carlos Ave.                                        San Carlos        CA           94070
                                   Insurance Tracking Services,
 San Mateo County Transit District Inc. (ITS)                   PO Box 198                                                  Long Beach        CA           90801
                                   San Mateo County
 San Mateo Transportation Agency Transportation Authority       1250 San Carlos Ave.        P.O. Box 3006                   San Carlos        CA           94070-1306
 San Patricio Group, Inc. dba
 Aransas Autoplex                                               2352 W. Wheeler                                             Aransas Pass      TX           78336-4922
 San Patricio Group, Inc., dba
 Aransas Autoplex                                               2352 W. Wheeler                                             Aransas           TX           78336-4922
 Sandy Transit                                                  16610 Champion Way                                          Sandy             OR           97055
 Santa Clara Valley Transportation
 Authority                         Keisha Carnahan              3990 Zanker Rd.                                             San Jose          CA           95134
 Santa Clara Valley Transportation Keisha Carnahan, Sr.         3331 N. First Street,
 Authority                         Contracts Administrator      Building A                                                  San Jose          CA           95134-1927
                                   Thor Vue - Procurement,
 Santa Clara Valley Transportation Contracts & Materials        3331 North First Street,
 Authority                         Manager                      Building A                                                  San Jose          CA           95134-1906
 Santa Cruz Metro                  Adrienne Jenkins             Attn Parts Department                                       Santa Cruz        CA           95060
 Santa Cruz METRO                  Dawn Martin                  Attn Parts Department                                       Santa Cruz        CA           95060
                                   Eddie Benson, Fleet
 Santa Cruz Metro                  Maintenance Manager          11o Vernon Street                                           Santa Cruz        CA           95060
                                   Erron Alvey, Purchasing &
 Santa Cruz Metro                  Special Projects Director    110 Vernon Street                                           Santa Cruz        CA           95060
 Santa Cruz METRO                  Ship To                      138 Golf Club Dr.                                           Santa Cruz        CA           95060
 Santa Cruz Metro                                               1200 River St                                               Santa Cruz        CA           95060
 Santa Cruz Metro - Santa Cruz
 Metroplitan Transit District      Alex Clifford, CEO           110 Vernon Street                                           Santa Cruz        CA           95060




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 Santa Cruz Metropolitan Transit   Ciro Aguirre, Chiel Operating
 District                          Officer                        138 Golf Club Drive                                        Santa Cruz        CA           95060
 Santa Cruz Metropolitan Transit   Erron Alvery, Purchasing
 District                          Manager                        138 Golf Club Drive                                        Santa Cruz        CA           95060
 Santa Cruz Metropolitan Transit   Michael Tree, CEO/General
 District                          Manager                        110 Vernon Street                                          Santa Cruz        CA           95060
 Santa Maria Area Transit                                         1303 Fairway Dr                                            Santa Maria       CA           93455
                                                                  Transit Division -
                                   Shawn Sosa, Administrative Transportation and
 Santa Rosa City Bus               Analyst                        Public Works                                               Santa Rosa        CA           95404
                                                                  Transit Division -
                                   Suzie Trinkler, Administrative Transportation and
 Santa Rosa City Bus               Secretary                      Public Works                                               Santa Rosa        CA           95404
 Sanyo Electric Co., Ltd.                                         1-1 Matsushita-cho                                         Moriguchi City                 570-8511   Japan
 Satterfield Woodworking Inc                                      1727 Poplar Drive Ext                                      Greer             SC           29651

                                  San Bernardino International   1601 East Third Street,
 SBIAA                            Airport Authority              Suite 100                                                   San Bernardino    CA           92408
 SC Department of Revenue         If to the Department           PO Box 12265                                                Columbia          SC           29211
 SC Department of Revenue, Field Job Development Credit
 Operations Division              Manager                        P.O. Box 12265                                              Columbia          SC           29211
 SC Department of Revenue, Fields ATTN Job Development
 Operations Division              Credit Manager                 PO Box 12265                                                Columbia          SC           29211
 SC Works Greater Upstate         SC Works                       220 E Kennedy St                                            Spartanburg       SC           29302

 SC-Coordinating Council for       ATTN Senior Program
 Economic Development              Manager, Enterprise Program 1201 Main St, STE 1600                                        Columbia          SC           29201
 SC-Coordinating Council for                                   1201 Main Street, suite
 Economic Development              If to the council           1600                                                          Columbia          SC           29201
 Scheers de Cock BVBA                                          Steenstraat 2                                                 Beerzel                        2580       Belgium
 Scheldelaan                                                   K869 - Hessenatie M/S                                         Antwerpen 4                    B-2040     Belgium
 Schetky - Pasco                                               3412 Stearman Ave                                             Pasco             WA           99301
 Schetky Bus and Van Sales                                     4111 E B Circle                                               Pasco             WA           99301
 Schetky Northwest Sales, Inc. DBA
 Schetky Bus & Van Sales                                       8430 NE Killingsworth St.                                     Portland          OR           97220
 Schindler                                                     20 Whippany Road                                              Morristown        NJ           07960
 Schindler Elevator Corp                                       20 Whippany Road                                              Morristown        NJ           07960
 Schindler Elevator Corporation                                20 Whippany Road                                              Morristown        NJ           07960
 Schmidhauser AG                   Jonas Schuster              Obere Neustrasse I                                            Romanshom                      CH-8590    Switzerland
 Schmidhauser AG                   Sascha Nitschke             Obere Neustrasse I                                            Romanshom                      CH-8590    Switzerland
 Schmitty and Sons                                             22750 Pillsbury Avenue                                        Lakeville         MN           55044
 Schunk Carbon Technology                                      W 146N 9300 Held Dr                                           Menomonee Falls   WI           53051
 Schunk Transit Systems GmbH                                   Hauptstrasse 97                                               Wettenberg                     35435      Germany
                                                               One Concourse
 SecureWorks, Inc                  Contracts Senior Supervisor Parkway, Suite 500                                            Atlanta           GA           30328




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                                                                  One Concourse
 SecureWorks, Inc                    Director NA Contracts        Parkway, Suite 500                                         Atlanta          GA           30328
 SEDICO INTERNATIONAL SP
 ZOO                                                              UL. Syta 102B/3 02-987                                     Warszawa                                 Poland
 Sedico International Sp. Z o.o. Sp.
 K.                                                               Ul, Syta 102B/3                                            Warsaw                        02-987     Poland
 Seifert Graphics                                                 6133 Judd Rd                                               Orfskany         NY           13424
                                                                  6725 Germantown
 SEPTA                                Germantown Brake Center     Avenue                                                     Philadelphia     PA           19119
 Septa Headquarters                   c/o Requesting Department   1234 Market Street                                         Philadelphia     PA           19107
                                                                  1612 Hutton Drive, Suite
 Serco                                                            140                                                        Carrollton       TX           75006
                                                                  2700 Camino Ramon,
 ServiceMax                                                       Suite 450                                                  San Ramon        CA           94583
 ServiceNo, Inc.                                                  2225 Lawson Lane                                           Santa Clara      CA           95054
 SFMTA Municipal Transportation                                   700 Pennsylvania
 Agency                                                           Avenue, Bldg. B                                            San Francisco    CA           94107
                                      San Francisco Municipal     11 South Van Ness
 SFMTA Transit Division               Transportation Agency       Avenue                                                     San Francisco    CA           94103
 Shareworks by Morgan Stanley         Madeline Zsuffka,           221 Main Street, Suite
 (Formerly Solium)                    Relationship Manager        1340                                                       San Francisco    CA           94105

 Shasta Union High School District                                2200 Eureka Way, Ste B                                     Redding          CA           96001

 Shaw Industries Financial Services                               PO Box 2128                                                Dalton           GA           30722
 ShawContract                                                     230 Douthit Ferry Road                                     Cartersville     GA           30120
 ShelCon Construction Co. LLC                                     11876 Capital Way                                          Louisville       KY           40299

 Sheriff                              Attn McDonalds              4221 N Freeway, Suite B                                    Sacramento       CA           95834
                                                                  8F, MINAMI-
                                                                  SHINAGAWA J BLDG., 2-
 Shin el Gumi Co., Ltd. Tokyo                                     2-7, MINAMI-                                               SHINAGAWA-KU,
 branch                               Yuan Cheng                  SHINAGAWA                                                  TOKYO                         140-0004   Japan
                                                                  8F, MINAMI-
                                                                  SHINAGAWA J BLDG., 2-
                                                                  2-7, MINAMI-                                               SHINAGAWA-KU,
 SHIN-EI GUMI CO.,LTD                                             SHINAGAWA                                                  TOKYO                         140-0004   Japan
 SHJ Electric Co Inc                                              18920 13th PI S                                            SeaTac           WA           98148
 Shreveport area transit system                                   1115 Jack Wells Blvd                                       Shreveport       LA           71130
 Shreveport Transit Management
 Inc.                                 Alan Bright, CFO            1115 Jack Wells Blvd.                                      Shreveport       LA           71107
 SHYFT                                Ken Smith                   47632 Halyard Dr.                                          Plymouth         MI           48107
 Shyft                                                            47632 Halyard Dr                                           Plymouth         MI           48170
 Shyft - Ted Jacquay                                              47632 Halyard Dr                                           Plymouth         MI           48107
                                                                  2580 North First Street,
 Sibros Technologies, Inc.                                        Suite 290                                                  San Jose         CA           95131




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 Siemens Industry Software inc.   Brian Pollock                7000 Siemens Road                                          Wendell           NC           27591
 Siemens Industry Software inc.                                100 Technology Drive                                       Alpharetta        GA           30005

 Sigma Machine                                                 3358 Center Park Plaza                                     Kalamazoo         MI           49048
 Silex R-I School                                              64 HWY UU                                                  Silex             MO           63377-0046
 Silex R-I School District                                     64 HWY UU                                                  Silex             MO           63377
 Silk Worldwide Inc. dba Wilson
 Amplifiers                                                    5010 Wright Rd, Ste 100                                    Stafford          TX           77477
                                                               491 Bloomfield Avenue,
 SiteTracker                                                   Suite 301                                                  Montclair         NJ           07042
                                                               548 Market Street,
 Sixgill, LLC d/b/a Plainsight    Carlos Anchia                #22409                                                     San Francisco     CA           94104
 Sixgill, LLC d/b/a Plainsight                                 548 Market Street,
 Software                         Legal                        #22409                                                     San Francisco     CA           94104
                                  Jones Lang Lasalle, LP Bryan 180 North Stetson Street,
 SL PRU LLC                       Oyster                       Suite 2175                                                 Chicago           IL           60601
                                                               601 West 26th Street,
 SL PRU LLC                                                    Suite 1275                                                 New York          NY           10001
 SlideRabbit                                                   3320 W Clyde Place                                         Denver            CO           80211
 SLO Transit                                                   919 Palm Street                                            San Luis Obispo   CA           93401-3218
 Sloan                                                         10500 Seymour Ave                                          Franklin Park     IL           60131
 SMART Procurement Office         Michele Pollock              535 Griswold Ste 600                                       Detroit           MI           48226
                                  SMART Central Office -
                                  Procurment Department
 SMART Transportation             Darren Beach                 Buhl Building             Suite 600                        Detroit           MI           48226
                                  SMART Central Office -
                                  Procurment Department
 SMART Transportation             Nicoe Peters                 Buhl Building             Suite 600                        Detroit           MI           48226
                                                               10500 NE 8th Street,
 Smartsheet                       Legal                        Suite 1300                                                 Bellevue          WA           98004
                                                               300 Cadman Plaza
 SmartSign                                                     West, Ste. 1303                                            Brooklyn          NY           11201
                                  Gamaliel Anguiano, Transit
 SMAT                             Manager                      City of Santa Maria                                        Santa Maria       CA           93454
 SMAT Transit Center                                           630 E. Boone St.                                           Santa Maria       CA           93454
                                                               Alpha Tower, 22nd Floor,
 Smith & Associates Europe BV                                  De Entree 45                                               Amsterdam                      1101 BH      Netherlands
 Smith Development Company                                     PO Box 17189                                               Greenville        SC           29606
 Softchoice                                                    20 Mowat Avenue                                            Toronto           ON           M6K 3E8      Canada
                                                               129 W Trade St, Ste
 Softchoice Corporation           Aryn Dewar                   1610                                                       Charlotte         NC           28202
                                                               129 W Trade St, Ste
 Softchoice Corporation           Kevin Tidball                1610                                                       Charlotte         NC           28202
                                                               314 W. Superior St.,
 Softchoice Corporation                                        Suite 400                                                  Chicago           IL           60654
 Softchoice LP                    General Counsel              173 Dufferin Street                                        Toronto           ON           M6K 3H7      Canada




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           CreditorName               CreditorNoticeName             Address1                 Address2        Address3          City             State      Zip          Country
                                                              1175 North Service Road
 Softchoice LP                                                West, Suite 105                                            Oakville           ON           L6M 2W1      Canada
                                                              Part Berth 7 London
 Solent - Gateway                                             Gateway Port                                               Essex                           SS17 9PA United Kingdom
 Solid Waste Refuse                                           PO Box 196650                                              Anchorage          AK           99519-6650
 Sonny Merryman                                               11228 Hopson Rd                                            Ashland            VA           23005
 Sonny Merryman                                               920 East Wythe St.                                         Petersburg         VA           23803
 Sonny Merryman                                               P.O. BOX 495                                               RUSTBURG           VA           24588
 Sonny Merryman Inc                                           10149 Piper Lane                                           Bristow            VA           20136
 Sonny Merryman Inc.                                          14716 Industry Court                                       Woodbridge         VA           22191
 Sonny Merryman Inc.                                          US Route 29 South                                          Rustburg           VA           24588
 Sonny Merryman Virginias Bus
 Company                                                      5120 Wards Road                                            Evington           VA           24550
 Sonny Merryman Virginias Bus
 Company                                                      PO Box 495                                                 Rustburg           VA           24588
 sonny Merryman Virginias Bus
 County                                                       P.O. BOX 495                                               RUSTBURG           VA           24588
                                                              2300 County Center
 Sonoma County                     Bill To, TPW Main          Drive, Site B100                                           Santa Rosa         CA           95403

 Sonoma County                     Ship To, TPW125 Transit     355 West Robles Avenue                                    Santa Rosa         CA           95407
 Sonoma County Transit                                         355 W Robles Avenue                                       Santa Rosa         CA           95407
 Sourcing Fuel LLC, fba Sourcing                               318 Daughtery Drive,
 Insights                                                      Suite 150                                                 Lafayette          IN           47909
 South Burlington Bus Depot       Gary Marckres                87 Landfill Rd                                            South Burlington   VT           05403
                                                               South Carolina
 South Carolina Coordinating      Marcella S. Forrest, Program Department of
 Council for Economic Development Manager - CCED Programs Commerce                                                       Columbia           SC           29201
 South Carolina Department of                                  1201 Main Street, suite
 Commerece                                                     1600                                                      Columbia           SC           29201
 South Carolina Department of
 Revenue                                                       PO Box 125                                                Columbia           SC           29214
 South Carolina Technology &
 Aviation Center                  Jody Bryson, President/CEO 2 Exchange Street                                           Greenville         SC           29605
 South Carolina Technology and
 Aviation Center                                               po box 602718                                             charlotte          NC           28260-2718
 South Holland Division                                        405 Taft Drive                                            South Holland      IL           60473
 South Paw Electric Corp          Robert Rankin                4433 E County Line Rd                                     Erie               CO           80516
 Southampton County Public
 Schools                                                       PO Box 96                                                 Courtland          VA           23837
 Southeastern Pennsylvania
 Transportation Authority         Jerry Guaracino              1234 Market Street                                        Philadelphia       PA           19107
                                  Michael P. Civera and SEPTA
 Southeastern Pennsylvania        leadership team, Assistant
 Transportation Authority         Chief Officer                1940 Johnston St.                                         Philadelphia       PA           19145




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                                     Mr. Jerry Guaracino, SEPTA-
 Southeastern Pennsylvania           Deputy Chief Engineering
 Transportation Authority            Office                      1234 Market Street                                        Philadelphia     PA           19107
 Southeastern Pennsylvania                                       1234 Market Street, 11th
 Transportation Authority            Patrick Carrington          Floor                                                     Philadelphia     PA           19107-3780

 Southeastern Pennsylvania           James Coombs - Director,
 Transportation Authority (SEPTA)    Contract Administration     1234 Market Street                                        Philadelphia     PA           19107

 Southern Teton Area Rapid Transit                               PO Box 1687                                               Jackson          WY           83001
                                                                 4433 E County Line
 Southpaw Electric Co.                                           Road                                                      Erie             CO           80516
                                                                 103-1647 Broadway
 Sov Construction, Inc                                           Street                                                    Port Coquitlam   BC           V3B 5X9      Canada
 SP Plus                             Mr. Donald Jones            911 N Rush                                                Chicago          IL           60611
                                                                 200 East Randolph
 SP Plus Corporation                 James F. Buczek             Street                                                    Chicago          IL           60601
                                                                 200 East Randolph
 SP Plus Corporation                                             Street, Suite 7700                                        Chicago          IL           60601
 Sparks                                                          2828 Charter Road                                         Philadelphia     PA           19154
 Spartanburg County                  County Administrator        PO Box 5666                                               Spartanburg      SC           29304-5666
 Spartanburg County                  Mr. Cole Alverson           Post Office Box 5666                                      Spartanburg      SC           29304
                                                                 1201 Main Street, Suite
 Spartanburg County                                              1600                                                      Columbia         SC           29201
                                                                 366 N. Church Street,
 Spartanburg County Administrator                                Main Level, Suite 1000                                    Spartanburg      SC           29303
                                                                 366 N. Church Street,
 Spartanburg County Assessor                                     Main Level, Suite 800                                     Spartanburg      SC           29303
                                                                 366 N. Church Street,
 Spartanburg County Auditor                                      Main Level, Suite 200                                     Spartanburg      SC           29303
                                                                 366 N. Church Street,
 Spartanburg County Treasurer                                    Main Level, Suite 300                                     Spartanburg      SC           29303
                                                                 1201 Main Street, suite
 Spartang County                                                 1600                                                      Columbia         SC           29201
 Spartang County                                                 PO Box 5666                                               Spartanburg      SC           29304
 SpecFab Services, Inc.              Mike Williams               One Ramseur Ct.                                           Greenville       SC           29607
                                                                 600 Pegg Road, Suite
 Special Service Freight                                         111/113                                                   Greensboro       NC           27409
 Specified Technologies Inc.                                     210 Evans Way                                             Somerville       NJ           08876
 Spokane Transit                                                 1230 W Boone Avenue                                       Spokane          WA           99201
 Spokane Transit Authority           Accounts Payable            1229 W Boone Avenue                                       Spokane          WA           99201
 Sportran                            Ship To                     1115 Jack Wells Blvd.                                     Shreveport       LA           71107
                                                                 15540 Wood-Red Rd,
 Sports Northwest, Inc.                                          Bldg. A-200                                               Woodville        WA           98072
 SportTran-City of Shreveport        Accounts Payable            PO Box 31109                                              Shreveport       LA           71130
 SportTran-City of Shreveport        Ship To                     1115 Jack Wells Blvd.                                     Shreveport       LA           71107




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                                                                   333 South Seventh
 SPS Commerce Inc.                                                 Street, Suite 1000                                          Minneapolis       MN           55402
                                                                   333 South Seventh
 SPS Commerce, Inc                                                 Street Suite 100                                            Minneapolis       MN           55402
 Squie Paton Boggs (US) LLP          Chris Carmichael              1801 California Street                                      Denver            CO           80202
 Squie Paton Boggs (US) LLP                                        4900 Key Tower                                              Cleveland         OH           44114
 Squie Paton Boggs (US) LLP                                        PO Box 643051                                               Cincinnati        OH           45264
                                                                   5550 Wilkinson Blvd,
 SS Commission/De-Commission                                       Building B                                                  Charlotte         NC           28208

                                                                   1224 N. Cedar/1810 N.
 STA Bus Charging Infrastructure                                   Greene/5625 S. Palouse                                      Spokane           WA           99201-0223
 Staples Contract & Commercial
 LLC                                                               500 Staples Drive                                           Framingham        MA           01702
 Star Metro                         Angela Baldwin                 555 Appleyard Drive                                         Tallahassee       FL           32304
 STARMADM StarMetro-
 Administration                                                    555 Appleyard Dr                                            Tallahassee       FL           32304
 StarMetro                          Raoul Lavin                    300 S. Adams St                                             Tallahassee       FL           32301
 StarMetro                          Walter Kirkland Jr.            555 Appleyard Dr                                            Tallahassee       FL           32304
 State Energy Resources
 Conservation and Development
 Commission                         Adrienne Winuk                 1516 Ninth Street, MS-18                                    Sacramento        CA           95814-5512
 State Energy Resources
 Conservation and Devlopment
 Commission                                                        1516 Ninth Street, MS-18                                    Sacramento        CA           95814-5512
 State of California                                               4301 W MacArthur Blvd                                       Santa Ana         CA           92704
 State of California Procurement
 Division                           Erica Seghesio-Groves          707 3rd St, 2nd FL                                          West Sacramento   CA           95605
 State of Connecticut                                              2800 Berlin Turnpike                                        Newington         CT           06111
 State of Connecticut Department of
 Transportation                                                    2800 Berlin Turnpike                                        Newington         CT           06111
                                    Department of Administrative   200 Piedmont Avenue,
 State of Georgia                   Services                       Suite 1308                                                  Atlanta           GA           30334

 State of Iowa                       David Kundid                  1305 East Walnut Street                                     Des Moines        IA           50319
 State of South Carolina
 Department of Revenue                                             Manufacturing Section                                       Columbia          SC           29214-0302
                                     Contracts, Procurement, &     Department of Enterprise
 State of Washington                 Risk Management Divisions     Services                                                    Olympia           WA           98504-1411
                                     Keith Farley, DES Contracts
 State of Washington                 and Procurement               PO Box 41411                                                Olympia           WA           98504-1411

 State of Washington Contracts,
 Procurement, & Risk Management
 Division Department of Enterprise
 Services                                                          PO Box 41411                                                Olympia           WA           98504-1411




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                                    Department of Administrative 200 Piedmont Avenue,
 State Purchasing Division, Georgia Services                     Suite 1308                                                    Atlanta            GA           30334

 Steamboat Springs Transit                                        124 10th Street         PO Box 775088                        Steamboat Springs CO            80477-5088
                                                                  5900 Core Ave, Suite
 Steel Fab                                                        401                                                          N. Charleston      SC           29406
                                                                  5955 Core Avenue, Suite
 Steel Fab                                                        500-A                                                        North Charleston   SC           29406
 Steel Fab                                                        PO Drawer 6076                                               Florence           SC           29502

 Steelcase Financial Services Inc.                                PO Box 91200                                                 Chicago            IL           60693
                                                                  5900 Core Ave, Suite
 SteelFab of S.C.                                                 401                                                          N. Charleston      SC           29406
                                                                  5900 Core Ave, Suite
 SteelFab of South Carolina                                       401                                                          N Charleston       SC           29406
                                                                  5955 Core Avenue, Suite
 SteelFab of South Carolina                                       500-A                                                        North Charleston   SC           29406
 SteelFab of South Carolina                                       PO Drawer 6076                                               Florence           SC           29502

 Stewart Cooper Newell Architects                                 719 East Second Avenue                                       Gastonia           NC           28054
 Steyr Automotive                                                 Schonauerstrasse 5                                           Steyr                           4400         Austria
 Steyr Automotive GmbH                                            Schonauerstrasse 5                                           Steyr                           4400         Austria

 Strata Fusion Group, Inc.                                        464 Monterey Ave, Ste E                                      Los Gatos          CA           95030
 STRUCTURAL SYSTEMS
 ENGINEERING, LLC                    MR. BRIAN NORTON, P.E.       613 HERITAGE ROAD                                            EASLEY             SC           29640
 Suburban Mobility Authority for
 Regional Transportation             Avery Gordon                 535 Griswold                                                 Detroit            MI           48226
 Suburban Mobility Authority for     Darren Beach, Director of
 Regional Transportation             Maintenance                  2021 Barrett Drive                                           Troy               MI           48084
 Suburban Mobility Authority for                                  Buhl Building, 535
 Regional Transportation             Procurement Department       Griswold, Suite 600                                          Detroit            MI           48226
 Summit County                       Chris Lubbers                208 E Lincoln Ave                                            Breckenridge       CO           80424
                                     Chris Lubbers- Transit
 Summit County                       Director                     222 County Shops Rd                                          Frisco             CO           80443
                                     Curtis Garner- Transit
 Summit County                       Director                     0222 County Shops Rd                                         Frisco             CO           80443
                                     Scott Vargo- Summit County
 Summit County                       Manager                      208 E Lincoln Ave                                            Breckenridge       CO           80424
 Summit County Colorado              Marty Ferris                 PO Box 68                                                    Breckenridge       CO           80424
                                     Scott Vargo- Summit County
 Summit County Colorado              Manager                      208 E Lincoln Ave                                            Breckenridge       CO           80424
 Summit Stage                                                     222 County Shops Rd                                          Fisco              CO           80443

 Summit Stage Connelly Electric                                   14539 South Depot Drive                                      Plainfield         IL           60544
 Summit Stage/ County                Chris Lubbers                222 County Shops Rd                                          Frisco             CO           80443




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                                                                 6101 Carnegie Blvd.,
 SunCap Property Group, LLC                                      Suite 180                                                  Charlotte          NC           28209
 Sunnyside School District                                       321 Rarnard Blvd                                           Sunnyside          WA           98944
 Superior Interior Systems, Inc.                                 6724 Pine Ridge Court                                      Jenison            MI           49428
 Supporting department of
 transportation government of the
 district of columbia                                            55 M Street SE, 7th Floor                                  Washington         DC           20003
                                                                 3133 W. Frye Road,
 Sustainability Partners LLC                                     Suite 101                                                  Chandler           AZ           85226
 Sutrak USA Corporation                                          6897 East 49th Ave.                                        Commerce City      CO           80022
 Sutrak USA Corporation                                          PO Box 9334                                                Chapel Hill        NC           27515
 Suzhou Industrial Park Deyanfu
 Mach                                                            No. 28-3, Xinchang Road                                    Suzhou             Jiangsu      215144       China
 Suzhou Industrial Park Deyanfu
 Machinery Equipment Co., Ltd                                    No. 28 Xinchang Road                                       Jiangsu Province                215000       China
 Suzhou Industrial Park Deyanfu                                  No. 28 Xinchang Road,
 Machinery Equipment Co., Ltd                                    Suzhou Industrial Park                                     Jiangsu Province                215000       China

 Suzhou Opply Machinery Co., Ltd                                 1 Chaoyang Rd                                              Changzhou                                    China
 Suzhou Shigao New Material Co.,
 Ltd.                                                            169 Litanghe Rd.                                           Suzhou                                       China
                                                                 555 Mission Street, 9th
 SVB Analytics, Inc                                              Floor                                                      San Francisco      CA           94105
                                                                 47802 West Anchor
 SVP Manufacturing, Optimal-EV      Mr. Jeff Hiatt               Court                                                      Plymouth           MI           48170
 Swift                                                           47632 Halyard Dr                                           Plymouth           MI           48170

 Swiftly, Inc.                                                   1 Sutter Street, Suite 500                                 San Francisco      CA           94104
                                                                 2261 Market Street
 Swiftly, Inc.                                                   #4151                                                      San Francisco      CA           94114
                                                                 611 Mission Street, Floor
 Swiftly, Inc.                                                   7                                                          San Francisco      CA           94015
 Sycomp A Technology Company,
 Inc.                                                            950 Tower Lane #1785                                       Foster City        CA           94404

 Synop Inc.                                                      222 Broadway, 19th floor                                   New York           NY           10038
 Tahoe Transportation               Judi Allen                   PO Box 499                                                 Zephyr Cove        NV           89448
                                                                 128 Market Street, Suite
 Tahoe Transportation District      Carl Hasty                   3F                                                         Stateline          NV           89449
                                                                 4830 W. Kennedy Blvd.,
 TAMCO Capital Corporation                                       Suite 250                                                  Tampa              FL           33609
                                    J. Barry Barker, Executive
 TARC                               Director                     1000 West Broadway                                         Louisville         KY           40203-2301
                                                                 101 Park Avenue 26th
 Tata Consultancy Services Limited Attn Legal Department         Floor                                                      New York           NY           10178




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 Tata Consultancy Services Limited                               TCS House                                                    Fort              Mumbai       400 001    India
 Taylor Logistics                  Brenda Fulcher                912 S Church Ave                                             Louisville        MS           39339
 Taylor Logistics                                                1475 S Church Ave                                            Louisville        MS           39339
 Taylor Machine Works              Accounting Department         3690 North Church Ave.                                       Louisville        MS           39339-2033
                                                                 912 SOUTH CHURCH
 TAYLOR MACHINE WORKS                 DAVIS KELLEY               AVE                                                          LOUISVILLE        MS           39339-2070
 Taylor Machine Works                                            PO Box 906                                                   Louisville        MS           39339
 Taylor Machine Works Inc                                        PO Box 906                                                   Louisville        MS           39339
                                                                 3690 North Church
 Taylor Machine Works, Inc            Legal Department           Avenue                                                       Louisville        MS           39339
                                                                 3690 North Church
 Taylor Machine Works, Inc          Matt Hillyer                 Avenue                                                       Louisville        MS           39339
 Taylor Sudden Service              Accounting Department        3637 North Church Ave.                                       Louisville        MS           39339-2070
 TAYLOR SUDDEN SERVICE, INC                                      103 INDUSTRIAL PARK
 EXP                                BRENDA POWELL                ROAD                                                         PHILADELPHIA      MS           39350-8973
 TBB Corporate US                   Donna Sullivan               1408 Courtesy Road                                           High Point        NC           27260
 TBB Corporate US                   Stephen Riley                715 W. Fairfield Road                                        High Point        NC           27263
 TCAT - Tompkins Consolidated
 Area Transit, Inc.                                              737 Willow Avenue                                            Ithaca            NY           14850
 TCAT, INC                                                       737 Willow Ave.                                              Ithaca            NY           14850
                                    DBA Thermal Product
 TCS                                Solutions                    2821 Old Route 15                                            New Columbia      PA           17856
                                    DBA Thermal Product
 TCS                                Solutions                    PO Box 6057                                                  Hermitage         PA           16148-1057
                                    DBA Thermal Product
 TCS                                Solutions                    PO Box 844730                                                Boston            MA           02284
 Teletrac                                                        7391 Lincoln Way                                             Garden Grove      CA           92841
 Tellin Transportation Group LLC                                 5121 212th St. W.                                            Farmington        MN           55024
 Terminal Way-Public
 Transportation Commission
 Regional Transportation
 Commission                                                      1105 Terminal Way                                            Reno              NV           89520
 Testco                                                          6401 Seaman Road                                             Oregon            OH           43616-7230
 Testco                                                          National Fleet Sales                                         Norcross          GA           30518
                                    Attn Tanya Alabsawi, J.D.,   Office of Sponsored
 Texas A&M Transportation Institute CRA                          Research Institute                                           College Station   TX           77845-4375
                                                                 400 Harvey Mitchell
                                                                 Parkway, South, Suite
 Texas A&M Transportation Institute                              300                                                          College Station   TX           77845
                                                                 Office of Sponsored
 Texas A&M Transportation Institute                              Research Services                                            College Station   TX           77845-4375
 The American Society for                                        1818 North Street NW,
 Engineering Education              Melanie Suydam               Suite 600                                                    Washington        DC           20036
 The American Society for                                        1818 North Street NW,
 Engineering Education              Tengiz Sydykov               Suite 600                                                    Washington        DC           20036




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                                                                   6838 Oak Ridge
 The Bus Center Atlanta                                            Commerce Way                                               Austell           GA           30618
 The City of Asheville                                             70 Court Plaza                                             Asheville         NC           28801
                                                                   City of Edmonton Fleet
 The City of Edmonton                Anthony Lam                   and Facility Services                                      Edmonton          AB           T5J 2R7      Canada
 The City of Edmonton                                              12404 107 Street                                           Edmonton          AB           T5G 2S7      Canada
 The City Of Edmonton                                              PO Box 2359                                                Edmonton          AB           T5J 2R7      Canada
                                     Public Transportation Division
 The City of Greensboro, NC          Manager                        PO Box 3136                                               Greensboro        NC           27402-3136
                                                                    1010 Tenth Street, Suite
 The City of Modesto                 Adam Barth, Transit Manager 4500                                                         Modesto           CA           95353
                                     Maria Garnica, Finance         1010 Tenth Street, Suite
 The City of Modesto                 Analyst III                    4500                                                      Modesto           CA           95353
 The City of ODonnell                                               615 8th Street                                            ODonnell          TX           79351
 The City of Santa Rosa                                             45 Stony Point Road                                       Santa Rosa        CA           95401
 The District of Columbia District                                  1245 E. Washington
 Department of Transporation                                        Ave., Suite 201                                           Madison           WI           53703
 The District of Columbia District
 Department of Transporation                                       250 M St SE 7th Floor                                      Washington        DC           20002
 The District of Columbia District                                 55 M Street SE, 5th floor,
 Department of Transporation                                       SE, 5th floor                                              Washington        DC           20003
 The District of Columbia District
 Department of Transporation                                       55 M Street SE, 7th Floor                                  Washington        DC           20003
 The Greater Cleveland Regional
 Transit Authority                                                 1240 West 6th Street                                       Cleveland         OH           44113-1302
 The Harper Corp General                                           35 West Court Street
 Contractors                         Tyler Dawson                  Suite 400                                                  Greenville        SC           29601
 The Harper Corporation              Tyler Dawson                  1605 Poplar Drive                                          Greer             SC           29651
                                                                   35 West Court Street,
 The Harper Corporation              Tyler Dawson                  Suite 400                                                  Greenville        SC           29601
                                                                   1 Glenlake Parkway,
 The Intersect Group LLC                                           Suite 800                                                  Atlanta           GA           30328
 The Mobility House LLC                                            545 Harbor Boulevard                                       Belmont           CA           94002
 The Modal Shop, Inc.                                              10310 Aerohub Blvd                                         Cincinnati        OH           45215
 The New York Transit Authority      Elinore Pedro-Galindo         2 Broadway                                                 New York          NY           10004
 The New York Transit Authority      Mr. Gregory Beck              2 Broadway                                                 New York          NY           10004
                                                                   241 Erie Street, Room
 The New York Transit Authority                                    307                                                        Jersey City       NJ           07310-1397
 The New York Transit Authority                                    4 WTC                                                      New York          NY           10007
                                                                   Rider Building - Suite
 The Pennsylvania State University c/o Risk Management Office      103                                                        State College     PA           16801
                                   The Thomas D. Larson
                                   Pennsylvania Transportation     201 Transportation
 The Pennsylvania State University Institute                       Research Building                                          University Park   PA           16802
 The Port Authority NY & NJ                                        150 Greenwich Street                                       New York          NY           10007




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 The Port Authority of New York and
 New Jersey                                                      4 WTC                                                       New York          NY           10007
                                                                 150 Greenwich Street,
 The Port Authority of NY & NJ                                   21st Floor                                                  New York          NY           10007
 The Port Authority of NY & NJ                                   4 World Trade Center       21st Floor                       New York          NY           10007
 The Port Authority of NY & NJ                                   4 World Trade Center                                        New York          NY           10007

 The Port Authority of NY & NJ                                   PA Auto Marine Terminal                                     Bayonne           NJ           00001

 The Port Authority Of NY And NJ      Lilian Valenti             241 Erie Street Rm, 307                                     Jersey            NJ           07310

 The Port Authority Of NY And NJ      Steven Resch               241 Erie Street Rm, 307                                     Jersey            NJ           07310

 The Public Transportation Services
 of the Transit Joint Powers
 Authority for Merced County                                   369 W. 18th Street                                            Merced            CA           95340
 The Regents of the University of   Stephanie N. Van Ginkel on University of California,
 California                         behalf of Anteater Express Irvine                                                        Irvine            CA           92697
 The Rock Island County
 Metropolitan Mass Transit District Chelsey Hohensee & Heather
 (MetroLINK)                        Allen                      1515 River Drive                                              Moline            IL           61265
 The Shyft Group                    J Stewart                  47632 Halyard Drive                                           Plymouth          MI           48107

 The Shyft Group EV Solutions, LLC Chief Legal Officer           42180 Bridge St.                                            Novi              MI           48375

 The Shyft Group EV Solutions, LLC John Lah                      41280 Bridge Street                                         Novi              MI           48375
 The Shyft Group Inc               Utilimaster R & D             47632 Halyard Dr.                                           Plymouth          MI           48107
 The Shyft Group USA, Inc.         Chief Legal Officer           41280 Bridge Street                                         Novi              MI           48375

 The Shyft Group USA, INC.            Utilimaster Division       603 Earthway Boulevard                                      Bristol           IN           46507
 The Thomas D. Larson
 Pennsylvania Transportation          The Pennsylvania State     201 Transportation
 Institute                            University                 Research Building                                           University Park   PA           16802
 The Thomas D. Larson
 Pennsylvania Transportation                                     The Pennsylvania State
 Institute                                                       University                                                  University Park   PA           16802
 The Thomas D. Larson
 Pennsylvannia Transportation                                    201 Transportation
 Institute                                                       Research Building                                           University Park   PA           16802
 The Town of Breckenridge                                        1095 Airport Road                                           Breckenridge      CO           80424
 The Town of Breckenridge                                        1096 Airport Road                                           Breckenridge      CO           80425

 The Transit Authority of Lexington-                             200 West Loudon
 Fayette Urban County Government                                 Avenue                                                      Lexington         KY           40508
 The Ultimate Software Group Inc. Attn General Counsel           2000 Ultimate Way                                           Weston            FL           33326
 The Vomela Companies                                            300 Old Thomasville Rd                                      High Point        NC           27260




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 Therma-Tech Engineering                                        24900 Capitol                                               Redford       MI           48239
 Thomas Built Buses, Inc.                                       148 Courtesy Road                                           Highpoint     NC           27260
 Thomas Built Buses, Inc.                                       PO BOX 7064                                                 Troy          MI           48007-7064
 Thomas Street Warehouse                                        2326 Thomas Street                                          Hollywood     FL           33020
 Thompkins Consolidated Area
 Transit, Inc.                                                  737 Willow Avenue                                           Ithaca        NY           14850
 Thompson Consildated Area
 Transit                           Raymond Lalley               737 Willow Ave.                                             Ithaca        NY           14850
 Thompson Consolidated Area
 Transit, Inc.                     TCAT Main office             737 Willow Ave.                                             Ithaca        NY           14850
 Thomson Reuters                                                610 Opperman Drive                                          Eagan         MN           55123-1803
 Timothy Alcorn FCCC EVC           Brenda McGill                201 Woodland Road                                           Gaffney       SC           29341
 Timothy D Tafrow Electric LLC                                  44 Doe Drive                                                Hamilton      NJ           08609
 Tina Hu Prospect Silicon Valley                                Address Redacted
 Titus                                                          605 Shiloh Rd                                               Plano         TX           75074
                                                                7650 SW Beveland
 TM Rippey Consulting Engineers    Josh Wetterlin               Street, Suite 100                                           Tigard        OR           97223
 Toei Logistics                                                 242-1 Oniyanagi                                             Kanagawa                   140-0005     Japan
 Toei Logistics Honjo BC                                        2-63, Imaidai, Honjo-shi                                    Saitama                    367-0038     Japan
 Toei Logistics Honjo BC                                        2-63, Imaidai                                               Saitama                    367-0038     Japan
 Toei Logistics Honjo BC                                        Oniyanagi                                                   Kanagawa                   250-0211     Japan
 Toei Logistics Honjo BC                                        Oniyanagi                                                   Odawara       Kanagawa     250-0211     Japan
 Toei Logistics Odawara BC         GOH Shoji                    242-1 Oniyanagi                                             Kanagawa                   250-0211     Japan
 TOEI-ODAWARA                                                   242-1, Oniyanagi                                            Odawara       Kanagawa     250-0211     Japan
 Tompkins Consolidated Area
 Transit, Inc.                                                  737 Willow Avenue                                           Ithaca        NY           14850
                                                                17800 Castleton St.,
 Tony Phu                                                       Suite 495                                                   Industry      CA           91748
 TOP TEMPO TECHNICAL                                            1010 E Union St. #125                                       Pasadena      CA           91106
 Topeka Metro                                                   200 NW Crane                                                Topeka        KS           66603
 Topeka Metro                                                   201 N Kansas Avenue                                         Topeka        KS           66603
 Topeka Metro Transit Authority    Alan Parrish                 210 North Crane                                             Topeka        KS           66603
                                   Office of the General
 Topeka Metro Transit Authority    Manager                      201 N. Kansas Ave                                           Topeka        KS           66603
 Topeka Metropolitan Transit
 Authority                                                      201 N. Kansas Ave.                                          Topeka        KS           66603

                                   Attn Michelle Jones, Program Vehicle Programs
 Toronto Transit Commission        Manager - eBus Program        Department                                                 Toronto       ON           M4W 1E6      Canada
                                                                 Project Procurement
 Toronto Transit Commission        G. Aujla                      Section                                                    Toronto       ON           M2N 6L9      Canada
                                   Gurjap Aujla, Senior Contract 5160 Yonge Street, 6th
 Toronto Transit Commission        Administrator                 Floor                                                      Toronto       ON           M2N 6L9      Canada
 Toronto Transit Commission        Jacob Nejadi                  1138 Bathurst Street                                       Toronto       ON           M5R 3H2      Canada
 Toronto Transit Commission                                      1900 Yonge Street                                          Toronto       ON           M4S 1Z2      Canada




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                                                                Project Procurement
 Toronto Transit Commission (TTC) G. Aujla                      Section                                                           Toronto          ON           M2N 6L9      Canada
                                  Gurjap Aujla, Senior Contract 5160 Yonge Street, 6th
 Toronto Transit Commission (TTC) Administrator                 Floor                                                             Toronto          ON           M2N 6L9      Canada

 Toronto Transit Commission (TTC) Jacob Nejadi                       1138 Bathurst Street                                         Toronto          ON           M5R 3H2      Canada

 Toronto Transit Commission (TTC)                                    1900 Yonge Street                                            Toronto          ON           M4S 1Z2      Canada
                                                                     13131 West Little York
 Toshiba International Corporation                                   Road                                                         Houston          TX           77041
 Total Airport Services/Lufthansa
 Cargo                                                               900 Access Rd                                                San Francisco    CA           94128
 Total Quality Logistics                                             640 S. Front Street                                          Columbus         OH           43215
 Total Quality Logistics                                             PO Box 9049                                                  Louisville       KY           40209-0049
                                     Adam W. Chapdelaine, Town
                                     Manager, Office of the    730 Massachusetts
 Town of Arlington, Massachusetts    Purchasing Director       Avenue                                                             Arlington        MA           02476

 Town of Avon                        Eva Wilson, Mobility Director   100 Mikaela Way                                              Avon             CO           81632
 Town of Avon                        Jim Shoun                       PO Box 975                                                   Avon             CO           81620
 Town of Avon                        Paul Wisor, Town Attorney       100 Mikaela Way                                              Avon             CO           81632
 Town of Avon, CO                    Jim Shoun                       500 Swift Gulch Road                                         Avon             CO           81620
 Town of Banff                                                       Box 1260                                                     Banff            AB           T1L 1A1      Canada
                                     Attn James Phelps, Director,
 Town of Breckenridge                Public Works                    1095 Airport Road                                            Breckenridge     CO           80424
 Town of Breckenridge                                                1105 Airport Rd.                                             Breckenridge     CO           80424

                                     Attn Jennifer Pullen, Assistant
 Town of Breckenridge Transit        Director, Public Works          1095 Airport Road                                            Breckenridge     CO           80424
                                     James Phelps, Director of
 Town of Breckenridge Transit        Public Works                    PO Box 168                                                   Breckenridge     CO           80424
                                     Jennifer Pullen, Assistant
 Town of Breckenridge Transit        Director of Public Works        PO Box 169                                                   Breckenridge     CO           80425
                                     Matt Hulsey, Assistant
 Town of Breckenridge Transit        Mobility Director               1095 Airport Road                                            Breckenridge     CO           80424
 Town of Breckenridge Transit                                        1105 Airport Rd.                                             Breckenridge     CO           80424
 Town of Breckenridge, CO                                            1105 Airport Rd.                                             Breckenridge     CO           80424

 Town of Jackson hereinafter
 Southem Teton Area Rapid Transit                                    PO Box 1687                                                  Jackson          WY           83001
                                                                     8501 N. Scottsdale
 TPI Composites, Inc.                T.J Senior Vice President       Road, Suite 280                                              Scottsdale       AZ           85253
 TPI Industrial                                                      PO Box 4973                                                  Johnson City     TN           37602-4973
 TPI, Inc.                           Todd Altman                     373B Market Street                                           Warren           RI           02885
 TPx                                 Todd Altman                     373B Market Street                                           Warren           RI           02885
 TPx                                                                 373 Market Street                                            Warren           RI           02885




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                                                                 3600 Pammel Creek
 Trane                                                           Road                                                       La Crosse          WI           54601-7599
 Transalyvania County Scho           Alan Justice                225 Rosenwald Ln                                           Brevard            NC           28712
                                                                 848 Brickell Ave Suite
 Transcargo Solutions Corp                                       630                                                        Miami              FL           33131
 Transit and Mobility Manager City
 of Racine                                                       730 Washington Avenue                                      Racine             WI           53403
                                                                 200 West Loudon
 Transit Authority of Lexington                                  Avenue                                                     Lexington          KY           40508

 Transit Authority of Lexington-
 Fayette Urban County Government                                 200 West Loudon Av                                         Lexington          KY           40508
 Transit Authority of River City    J. Barry Barker              1000 West Broadway                                         Louisville         KY           40203-2301
                                    J. Barry Barker Executive
 Transit Authority of River City    Director                     1000 West Broadway                                         Louisville         KY           40203
 Transit Authority of River City    J. Barry Barker, Executive
 (TARC)                             Director                     1000 West Broadway                                         Louisville         KY           40203-2301
 Transit Joint Powers Authority for Christine Chavez, Transit
 Merced County                      Manager                      369 West 18th Street                                       Merced             CA           95340
 Transit Operations                                              45 Stony Point Road                                        Santa Rosa         CA           95401
 Transit Operations Center          Trevor Kyllingmark           3225 Cedar St                                              Everett            WA           98201

                                                                 2-1-11 Ajigawa Nishi-ku,
 Transport Co., Ltd.                                             Osaka (Genbei Building)                                    Sumiwa Harbor                              Japan
 Transport De Strecke bvbba                                      Gentsesteenweg 334                                         Lokeren                         B-9160     Belgium
 Transport Kuse BV                                               Kluizenmeersen 5                                           Sint-Gillis-Wass                9170       Belgium
 Transport M Janssens                                            Nieuwlandstraat 16                                         Melsele                         B9120      Belgium
 Transportation                                                  2675 Eighth St                                             Redding            CA           96001-0000
 Transportation and Public Works
 Engineering, Planning &
 Development Overtown Transit                                    701 NW 1st Court, 15th
 Village                                                         FL                                                         Miami              FL           33136
 Transportation Demand
 Management (DBA Starline Luxury
 Coaches)                                                        9801 MLK Jr Way S                                          Seattle            WA           98118
 Transportation Equipment Sales
 Corporation (TESCO)                                             6401 Seaman Road                                           Oregon             OH           43616-7230
 Transportation Equipment Sales
 Corporation (TESCO)                                             National Fleet Sales                                       Norcross           GA           30518
 Transuniverse Forwarding nv/sa                                  Industrieweg 118 b1                                        Wondelgem                       BE 9032      Belgium
 Transylvania County School Bus
 Garage                                                          225 Rosenwald Ln                                           Brevard            NC           28712
                                                                 630 West Harry Bridges
 TraPac (Y258)                                                   Blvd                                                       Wilmington         CA           90744

 Trapac Terminal Y549                                            2800 7th Street, Berth 30                                  Oakland            CA           94607




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 Trapeze Software Group                                             2975 Regent Blvd                                            Irving            TX           75063

 Trapeze Software Group                                             5265 Rockwell Drive NE                                      Cedar Rapids      IA           52402
 Trapeze Software Group                                             P.O. Box 202528                                             Dallas            TX           75320-2528
 Trapeze Software Group, Inc.                                       2975 Regent Blvd                                            Irving            TX           75063
 Trapeze Software Group, Inc.                                       P.O. Box 202528                                             Dallas            TX           75320-2528
 Trapeze Software Group, Inc. dba
 TripSpark                                                          5265 Rockwell Drive NE                                      Cedar Rapids      IA           52402
 Travel Plaza Transportation, LLC      Yujiro Kuwabara              818 Pine St                                                 Honolulu          HI           96817
 Travelers Indemnity Company                                        one tower                                                   hartford          CT           06183
 Travelers Indemnity Company                                        PO Box 98932                                                Chicago           IL           60693-8932
 Triangle Regional Public                                           4600 Emperor
 Transportation Authority                                           Boulevard, Suite 101                                        Durham            NC           27703
 Triblum Technologies                                               2972 Columbia St                                            Torrance          CA           90503
                                                                    12401 Orange Drive
 Triniti Corporation                   Vamsi Krishna, Sr. Director  Suite 205                                                   Davie             FL           33330
                                                                    Unit 1/31 Archimedes
 Tritium Inc.                                                       Place                                                       Murarrie          QLD          4172         Australia
 Tritium PTY. LTD.                                                  U1 23 Archimedes PL                                         Murarrie          QLD          4172         Australia
 Troutman Pepper Hamilton                                           Three Embarcadero
 Sanders LLP                           Elizabeth Holt Andrews       Center, Suite 800                                           San Francisco     CA           94111-4057
 Troutman Pepper Hamilton                                           Three Embarcadero
 Sanders LLP                           Elizabeth Holt Andrews, Esq. Center, Suite 800                                           San Francisco     CA           94111-4057
 Troutman Pepper Hamilton
 Sanders LLP                           Joseph T. Imperiale, Esq.    3000 Two Logan Square                                       Philadelphia      PA           19103-2707
                                                                    100 West Big Beaver
 Troy Liberty Center                                                Road                                                        Troy              MI           48084
 TR-Transit Daytona                                                 8001 Daytona NW                                             Albuquerque       NM           87121
 Truiem Inc.                                                        374 5th Avenue North                                        Naples            FL           34102
 TTC Birchmount Garage                                              400 Danforth Rd.                                            Scarborough       ON           M1L 3X6      Canada
 TTC Birchmount Garage                                              400 Danforth Rd.                                            Scarborough       ON           MIL 3X6      Canada
 Tulare County Regional Transit                                     210 North Church Street,
 Agency                                                             Suite B                                                     Visalia           CA           93291
 Tulare County Regional Transit
 Agency                                                             210 North Church Street                                     Visalia           CA           93291
 Tulsa Transit                         Maintenance Department       510 South Rockford                                          Tulsa             OK           74120

 Twin Rivers Unified School District                               3222 Winona Way                                              North Highlands   CA           95660
 U.S. General Services                 Craig D. Yokum, Contracting
 Administration                        Officer                     1800 F Street NW                                             Washington        DC           20405
 U.S. General Services                                             1800 F Street, NW Hub
 Administration                                                    3200                                                         Washington        DC           20405
 U.S. General Services
 Administration Federal Acquisition    Office of Travel,            Light Duty Automotive
 Services                              Transportation & Logistics   Acqn. Support Div.                                          Washington        DC           20405




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 U.S.General Services
 Administration Medium/ Heavy
 Vehicles Acquisiton Branch
 (QMAAB)                             Eric VanderVeen                1880 F St NW FL 3                                              Washington        DC           20405
                                                                    9500 Gilman Drive,
 UC San Diego                        Alicia McElwee                 Room 0991                                                      La Jolla          CA           92093
                                                                    9500 Gilman Drive
 UC San Diego                                                       #0955                                                          La Jolla          CA           92093
                                                                    Driftmier Engineering
 UGA Capstone Group                  UGA College of Engineering     Center                        597 DW Brooks Drive              Athens            GA           30602

 UKG Inc.                            Attn Catherine R. Choe, Esq.   Akerman LLP                                                    Orlando           FL           32801
 UKG Inc.                            UKG Inc                        Attn Rhonda Harriman                                           Lowell            MA           01851
 UL Company                          c/o UL LLC                     Attn General Counsel                                           Northbrook        IL           60062
 UL Contracting Parties              UL Solutions                   333 Pfingsten Road                                             Northbrook        IL           60062
 Ultilimaster R&D                    Ken Smith                      47632 Halyard Dr.                                              Ann Arbor         MI           48107
 Ultimate Software Group Inc.        Attn General Counsel           2000 Ultimate Way                                              Weston            FL           33326
 Ultimate Software Group Inc.                                       PO BOX 930953                                                  Atlanta           GA           31193-0953
 Umpqua Public Transportation                                       3076 NE Diamond Lake
 District                                                           Blvd                                                           Roseburg          OR           97470
 undersigned Institute for Process
 Excellence                                                         3700 Quebec #100-103                                           Denver            CO           80207
 United Parcel Service Inc.                                         291 Fairforest way                                             Greenville        SC           29607
 United Rentals (North America),
 Inc.                                                               PO Box 100711                                                  Atlanta           GA           30384-0711

 United States Gypsum Company                                       550 West Adams Street                                          Chicago           IL           60661
 United States Gypsum Company                                       550 West Adam Street                                           Chicago           IL           60661
 United Steel, Paper and Forestry,
 Rubber, Manufacturing, Energy,
 Allied Industrial and Service       International Union, AFL-CIO, 60 Boulevard of the
 Workers                             CLC                           Allies                                                          Pittsburgh        PA           15222

 United Steel, Paper and Forestry,
 Rubber, Manufacturing, Energy,
 Allied Industrial and Service                                      60 Boulevard of the
 Workers International Union                                        Allies                                                         Pittsburgh        PA           15222
                                                                    60 Blvd. of the Allies, 9th
 United Steelworkers                                                Floor                                                          Pittsburgh        PA           15222
                                                                    60 Blvd. of the Allies, 9th
 United Steelworkers International                                  Floor                                                          Pittsburgh        PA           15222
                                     David Campbell, Secretary-
 United Steelworkers Local 675       Treasurer                      1200 E. 220th St.                                              Carson            CA           90745-3505
 Universal Protection Service, LP                                   Eight Tower Bridge, 161
 d/b/a Allied Universal Security                                    Washington Street, Suite
 Services                                                           600                                                            Conshohocken      PA           19428




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                                       John Kavanagh, Executive    9500 Gilman Drive, MC
 University of California San Diego    Director, Transportation    0914                                                       La Jolla          CA           92093-0914
 University of California, Irvine      Bill To                     120 Theory, Suite 200                                      Irvine            CA           92617-1050
                                                                   Student Center G244
 University of California, Irvine      Ship To                     9498242410                                                 Irvine            CA           92697
                                       Snehal Bhatt, Chief
 University of California, Irvine      Procurement Officer         120 Theory, Suite 200                                      Irvine            CA           92617

 University of California, Irvine (UCI) Craig Denny and Time Rudek 670 California Ave.                                        Irvine            CA           92617
                                        Todd Adams, Director,      9500 Gilman Drive, MC
 University of California, San Diego Strategic Procurement         0914                                                       La Jolla          CA           92093
 University of Georgia                  Virginia Hamilton          310 Campus Road                                            Athens            GA           30602
                                                                   1088 S Lumpkin Street,
 University of Georgia                                             02119                                                      Athens            GA           30602
                                                                   424 E Broad Street,
 University of Georgia                                             Room 302                                                   Athens            GA           30602
 University of Georgia CAMPUS
 TRANSIT                                Michael Cosby              2505 RIVERBEND R D                                         ATHENS            GA           30602
 University of Georgia CAMPUS
 TRANSIT                                Todd Berven                2505 RIVERBEND R D                                         ATHENS            GA           30602
                                        Attn Bob Hlynosky,
                                        Procurement
 University of Montana                  Services/System Manager    El 236                                                     Missoula          MT           59812

                                       Bob Hlynosky, Procurement
                                       Services/Systems Manager    EL 236 32 Campus Dr
 University of Montana                 Business Services           MS 2304                                                    Missoula          MT           59812
                                                                   Associated Students of
                                       Jordan Hess, Director of    the University of
 University of Montana                 Transportation              Montana                                                    Missoula          MT           59812
                                                                   Associated Students of
                                                                   the University of
 University of Montana                 Office of Transportation    Montana                                                    Missoula          MT           59812
                                       Patrick Fagan, Property     Emma B. Lomasson
 University of Montana                 Manager                     Center Room 236                                            Missoula          MT           59812
 University of Montana                                             32 Campus Drive                                            Missoula          MT           59812
 University of Montana - ASUM                                      32 Campus Dr.                UC Suite 104                  Missoula          MT           59812

 University of Montana(Associated
 Students of the University of                                     University Center - Suite
 Montana Office of Transportation)                                 105                                                        Missoula          MT           59812
 University of Montana, Specifically
 the Associated Students of the
 University of Montana Office of                                   Business Services -
 Transportation                                                    Procurement Office                                         Missoula          MT           59812-2304




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 University of Montana, Specifically
 the Associated Students of the
 University of Montana Office of                                    University Center - Suite
 Transportation                                                     105                                                           Missoula          MT           59812
 UNIVERSITY OF SOUTH                                                4202 E. Fowler Ave.
 FLORIDA                               ACCTS PAYABLE                ALN147                                                        Tampa             FL           33620
 University of South Florida Board
 of Trustees                           Marie Bowen                  4202 E Fowler Avenue                                          Tampa             FL           33620
 University of South Florida Board
 of Trustees                           Procurement Services         4202 E Fopwler Avenue                                         Tampa             FL           33620
 UNIVERSITY OF SOUTH
 FLORIDA CENTRAL RECEIVING                                          4202 E FOWLER AVE,
 TAMPA CAMPUS                          Jill Edwards                 CRS100                                                        Tampa             FL           33620-5050
 University of Virginia                                             190 McCormick Rd                                              Charlottesville   VA           22903
 University of Virginia                                             500 Edgemont Rd.                                              Charlottesville   VA           22904
 University Of Virginia                                             PO Box 3025                                                   Scranton          PA           18508
 University Of Virginia                                             PO Box 400000                                                 Charlottesville   VA           22904
                                       Attn Absence Management
 Unum                                  Center                       1 Fountain Square                                             Chattanooga       TN           37402
 Uptima                                                             110 N 3rd St                                                  San Jose          CA           95112

                                                                    651 Holiday Drive Foster
 Uptima                                                             Plaza 5 Suite 400                                             Pittsburgh        PA           15220
 Uptima, Inc.                                                       110 N 3rd St                                                  San Jose          CA           95112

                                                                    651 Holiday Drive Foster
 Uptima, Inc.                                                       Plaza 5 Suite 400                                             Pittsburgh        PA           15220
 US 1 Warehouse - Norfolk                                           301 W 24th St                                                 Norfolk           VA           23517
 US General Services                                                                             Vehicle Engineering
 Administration                        Russ Miller                  1800 F St, NW, 3rd Fl        Branch, Purchasing               Washington        DC           20405

 USG Interiors, LLC                                                 550 West Adams Street                                         Chicago           IL           60661
                                                                    3475 Piedmont Rd NE
 USI Insurance Services, LLC CL        Tracy Nelms                  Suite 800                                                     Atlanta           GA           30305
                                       Shig Noguchi, Staff          861 South Village Oaks
 USW District 12                       Representative               Drive, Suite 206                                              Covina            CA           91724

 USW Local 675                         Gary Holloway, Field Director 1200 East 220th Street                                       Carson            CA           90745
                                                                     669 West 200 South
 Utah Transit Authority                                              Building 1                                                   Salt Lake City    UT           84101
 Utilimaster R & D                     Bristol R & D                 1650 Commerce Drive                                          Bristol           IN           46507
 Valeo TCV, North America, Inc.                                      22150 Challenger Drive                                       Elkhart           IN           46514
 Valley Regional Transit               Leslie Pedrosa                700 NE 2ND Street                                            Meridian          ID           83642
 Valmont/Brenham                                                     2551 Valmont Drive                                           Brenham           TX           77833
 Valmont/U.S. Bank                     c/o Syncada                   PO Box 3001                                                  Naperville        IL           60566-7001
 Van Dievel Transport                                                Schalienhoevedreef 7                                         Mechelen                       B-2800     Belgium




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 Van Dievel Transport N.V.                                      Schalienhoevedreef 7                                           Mechelen                          B-2800       Belgium

 Van Dievel Transport N/V                                       generaal De Wittelaan 1                                        Mechelen                          B-2800       Belgium
                                                                Bernard Van Hoolstraat
 Van Hool                          Jans Huyt                    58                                                             Koningshooikt-Lier                2500         Belgium
                                                                Bernard Van Hoolstraat
 Van Hool                          Jeroen Huysmans              58                                                             Koningshooikt-Lier                2500         Belgium
 Van Hool                                                       1700 St Antoniusweg                                            Doel                              B-9/130      Belgium
 Van Hool                                                       DP 1700                                                        Koningshooikt                     B-930        Belgium
                                                                                           Gallagher Business
 Van Hool                                                       Unit 2 Mallory Way         Park                                Coventry                          CV6 6PB      United Kingdom
 Van Hool                                                       3508 Haven Avenue                                              Redwood City         CA           94063
                                                                Autobus-en                 Bernard Van Hoolstraat
 VAN HOOL NV                       Jan Ruyts                    Bedrijfswagenfabriek       58                                  Koningshooikt-lier                B-2500       Belgium
 Van Hool NV                                                    Douane Customs Zoll                                            Koningshooikt                     2500         Belgium
                                                                Bernard Van Hoolstraat
 Vand Hool NV                                                   58                                                             Koningshooikt-Lier                2500         Belgium
                                                                Bernard Van Hoolstraat
 VanHool                           Sigrid Geldof, Esq           58                                                             Koningshooikt-Lier                2500         Belgium
 Vapor Bus International/Ricon
 Corporation                       KIM SHAW                     2259 Reliable Parkway                                          Chicago              IL           60686
 Vapor Bus International/Ricon
 Corporation                       Sue Jones                    2259 Reliable Parkway                                          Chicago              IL           60686
 Variant Displays Inc              Megan Zheng, Director        393 Cheryl Lane                                                City of Indusry      CA           91789
 Variant Displays, Inc                                          393 Cheryl Lane                                                Walnut               CA           91789
 Vasquez Trucking Inc                                           PO Box 3566                                                    Cerritos             CA           90703-3566
                                                                1 Eastgate Office Centre,
 VCA Headquarters                                               Eastgate Road                                                  Bristol                           BS5 6XX      United Kingdom
                                                                1 Eastgate Office Centre,
 Vehicle Certification Agency                                   Eastgate Road                                                  Bristol                           BS5 6XX      United Kingdom
                                                                VCA, 1 Eastgate Office
 Vehicle Certification Agency                                   Centre                    Eastgate Road                        Bristol                           BS5 6XX      United Kingdom
 Venable                                                        750 East Pratt Street     Suite 900                            Baltimore            MD           21202
 Ventura Systems Inc               Sieto Ykema                  160 Gibson Court                                               Dallas               NC           28034

 Verdae Properties Company, Inc.   Hollingsworth Funds, Inc.    124 Verdae Blvd            Suite 502                           Greenville           SC           29607
                                                                123 Rolling Meadow
 Verdek LLC                                                     Road                                                           Madison              CT           06443
 Vervoer an Dievel                                              Schalienhoevedreef 7                                           Mechelen                          B-2800       Belgium
 Via Colorado Boulder                                           2855 63rd Street                                               Boulder              CO           80301

 VIA Metropolitan Transit                                       1720 North Flores Street                                       San Antonio          TX           78212
 VIA Metropolitan Transit                                       800 W. Myrtle            PO Box 12489                          San Antonio          TX           78212
 VIA Mobility Services             Bill Patterson Lisa Curtis   2855N. 63rd Street                                             Boulder              CO           80301-2959
 Via Mobility Services             Bill Patterson, CFO          2855 N. 63rd Street                                            Boulder              CO           80301
 Via Mobility Services             Michael Collins              2855 N 63rd Street                                             Boulder              CO           80301




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 VIA Procurement Office                                              800 W. Myrtle, Suite 203                                   San Antonio      TX           78212
                                                                     26180 31B Ave,
 Vicinity Motor (Bus) Corp.                                          (Warehouse)                                                Aldergrove       BC           V4W 2Z6    Canada
                                      William Trainer, CEO &
 Vicinity Motor Corp.                 President                      3168, 262, Street                                          Aldegrove        BC           V6B 1R4    Canada
                                                                     2219 Rimland Drive,
 Vicinity Motor Corp. (Bus) USA       Attn John LaGourgue            Suite 301                                                  Bellingham       WA           98226
 Vicinity Motor Corporation           John LaGourgue                 3168, 262, Street                                          Aldegrove        BC           V4W 2Z6    Canada
 Vicinity Motor(Bus) Corp.                                           26180 31B Ave,                                             Aldergrove       BC           V4W 2Z6    Canada

 Virginia Beach City Public Schools                                  1677 Harpers Road                                          Virginia Beach   VA           23454
                                                                     112 W Stone Ave, Suite
 ViriCiti                                                            B                                                          Greenville       SC           29609
                                                                     240 East Hacienda
 ViriCiti Group B.V.                  c/o ChargePoint, Inc.          Avenue                                                     Campbell         CA           95008
                                                                     425 E. Oak Ave., Ste.
 Visalia                                                             301                                                        Visalia          CA           92391
 Visalia Bus Yard                                                    525 N. Cain Street                                         Visalia          CA           94898
 Visalia Bus Yard                                                    525 N. Cain Street                                         Visalia          CA           95898
                                                                     425 E. Oak Ave, Ste.
 Visalia Transit                                                     301                                                        Visalia          CA           92391
 Vola Trucks Ltd                                                     124 City Road                                              London                        EC1V 2NX   United Kingdom
 Volt Trucks LTD                                                     Unit 2 Mallory Way                                         Coventry                      CV6 6PB    United Kingdom
                                                                                             Gallagher Business
 Volta                                Graham Smith                   Unit 2 Mallory Way      Park                               Coventry                      CV6 6PB    United Kingdom
 Volta                                                               Prodrive Banbury                                           Oxfordshire                   OX16 4XD   United Kingdom
 Volta Trucks                                                        Chalker Way                                                Banbury                       OX16 4XD   United Kingdom
                                                                     Olof Palmesgata 29, 4th
 Volta Trucks AB                                                     Floor                                                      Stockholm                     111 22     Sweden
 Volta Trucks AB                                                     Vallbogatan 5                                              Kinna                         511 58     Sweden

 Volta Trucks Aftersales Limited      John Burrows                   Olof Palmesgata 29 Fl 4                                    Stockholm                     111 22     Sweden
                                      Skadden, Arps, Slate,
 Volta Trucks Aftersales Limited      Meagher & Flom LLP             One Rodney Square          920 N. King Street              Wilmington       DE           19801
 Volta Trucks c/o Prodrive            Robert Carter                  Chalker Way                                                Banbury                       OX16 4XD   United Kingdom
 Volta Trucks Limited                                                124 City Road                                              London                        EC1V 2NX   United Kingdom
                                      Attn Ellie Pittson - Head of
 Volta Trucks Ltd                     Procurement                    152-160 City Road                                          London                        EC1V 2NX   United Kingdom
 Volta Trucks Ltd                     Kemp House                     152-160 City Road                                          London                        EC1V 2NX   United Kingdom
                                                                     Kemp House 152-160
 Volta Trucks LTD                     Paul Dunn                      City Road                                                  London                        EC1V 2NX   United Kingdom
 Volta Trucks Ltd                     Steyr Automotive               Schonauerstrabe 5                                          Steyr                         4400       Austria
 Volta Trucks Ltd                     Steyr Automotive               Schonauerstrasse 5                                         Steyr                         4400       Austria
 Volta Trucks Ltd                     Steyr Automotive GmbH          Delivery Bay 56B           Schonauerstrasse 5              Steyr                         4400       Austria
 Volta Trucks Ltd                                                    124 City Road                                              London                        EC1V 2NX   United Kingdom




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                                                                 Regus-Winners Triangle
                                                                 Wharfdale Road,
 Volta Trucks Ltd                                                Building 220                                               Wokingham                     RG41 5TP     United Kingdom
                                                                 The Office, Willowfield
 Volta Trucks Ltd                                                Court                     Highfield Road                   Bushey                        WD23 2HD United Kingdom
                                                                 Regus Paris, 26-28 rue
 Volta Trucks SAS                                                de Londres                                                 Paris                         75009        France
 Volta Trucks, LLC                  Greg Tuckley                 124-128 City Rd                                            London                        EC1V 2NX     United Kingdom
 Volta Trucks, LLC                  Kathryn Findlay              124-128 City Rd                                            London                        EC1V 2NX     United Kingdom
 Volta Trucks, LLC                                               Chalker Way                                                Banbury                       OX16 4XD     United Kingdom
 Voltaiq, Inc                                                    108 E. 4th St#2                                            New York         NY           10003
                                                                 2020 Milvia Street, Suite
 Voltaiq, Inc                                                    #400                                                       Berkeley         CA           94704
 Vomela Speciality Company Inc      DBA Fusion Imaging           34 Ellwood Ct.                                             Greenville       SC           29607
 Vomela Speciality Company Inc      DBA Fusion Imaging           601 West Boro Street                                       Kaysville        UT           84307
                                    VT Concrete Construction     5200 A Wade Hampton
 VT Concrete Construction           LLC                          Boulevard                                                  Taylors          SC           29687
                                                                 1 Eastgate Office Centre,
 VTA                                                             Eastgate Road                                              Bristol                       BS5 6XX      United Kingdom
 VTA                                                             2855 N. 63rd Street                                        Boulder          CO           80301
 VTA                                                             800 W. Myrtle             PO Box 12489                     San Antonio      TX           78212
                                                                 200 Constitution Avenue,
 Wage and Hour Administrator        U.S. Department of Labor     N.W.                                                       Washington       DC           20210
 Walker & Whiteside Inc.            MR. JIM COX, P.E.            10 RAMSEUR CT                                              GREENVILLE       SC           29601
 WALKER WHITESIDE                   MR. JIM COX, P.E.            10 RAMSEUR CT                                              GREENVILLE       SC           29601
 Wando Welch Terminal Firms
 Code N598                                                       400 Long Point Road                                        Mount Pleasant   SC           29464
 Wanxiang America Real Estate                                    150 N. Riverside Plaza,
 Group                                                           Suite 1810                                                 Chicago          IL           60606
 Wanxiang Sterling Stetson Owner,                                150 North Riverside
 LLC                                Lawrence J. Krueger          Plaza, Suite 1810                                          Chicago          IL           60606
 Ward Trucking LLC                                               PO Box 1553                                                Altoona          PA           16603
 Washington Department of Labor
 and Industries                                                  7273 Linderson Way SW                                      Turnwater        WA           98501
 Washington Dept. of Enterprise
 Services                           Legal Services Manager      PO Box 41411                                                Olympia          WA           98504-1411
 Washington State Department of     David Mgebroff, Procurement
 Enterprise Services                Strategist                  1500 Jefferson St SE         PO Box 41407                   Olympia          WA           98504
 Washington State Department of
 Enterprise Services                Michael Maverick             1500 Jefferson St. SE                                      Olympia          WA           98501

                                                                 1 Brookings Drive, North
 Washington University                                           Brookings Hall, suite 126                                  St. Louis        MO           63130
 WATCO TERMINAL                                                  13901 Industrial Rd                                        Houston          TX           77015
                                    Airport Finance - Accounts
 Wayne County Airport Authority     Payable                      11050 Rogell Drive #602                                    Detroit          MI           48242-1144




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                                                               Michael Berry
                                                               Headquarters Building
 Wayne County Airport Authority    Nicole Martin, MBA, CM      #602 11050 Rogell Drive                                     Detroit            MI           48242

                                                               11050 Rogell Drive #602
                                                               Detroit Metropolitan
 Wayne County Airport Authority                                Wayne County Airport                                        Detroit            MI           48242
                                                               Berry Administration    11050 Rogell Drive,
 Wayne County Airport Authority                                Building                Bldg. 602                           Detroit            MI           48242
 Wayne County Airport Authority
 Michael Berry Administration      Matt McGowan John
 Building                          Salvatore                   11050 Rogell Drive, #602                                    Detroit            MI           48242
 Waynesboro City Public Schools                                301 Pine Ave                                                Waynesboro         VA           22980
 Waynesboro Public Schools                                     301 Pine Ave                                                Waynesboro         VA           22980
 WeDriveU San Jose                                             1336 old Bayshore Hwy                                       San Jose           CA           95112
                                                               700 Airport Blvd., suite
 WeDriveU, Inc.                                                250                                                         Burlingame         CA           94010
 Wellington Power Corporation                                  177 Thorn Hill Road                                         Warrendale         PA           15086
 Wells Fargo Bank National
 Association                       Requested By                15 Main Street, 3rd Floor                                   Greenville         SC           29601
 Wells Fargo Bank National
 Association                       Return To                  PO Box 65119                                                 San Antonio        TX           78265
 West Coast Manufacturing                                     383 Cheryl Lane                                              City of Industry   CA           91789
 West Publishing Corporation                                  West Payment Center     P.O Box 64833                        St Paul            MN           55164-0833
                                   C/O Joanna Vossen/ General 12701 Whitewater Drive,
 Westwood Professional Services    Counsel                    Suite #300                                                   Minnetonka         MN           55343
 Westwood Professional Services,
 Inc                                                           Centennial Plaza            1421 Victorian Ave              Sparks             NV           89431
 Wichita Transit(WT)                                           777 E Waterman St.                                          Wichita            KS           67202
 Williamsburg-James City County
 Public Schools                                                597 Jolly Pond Road                                         Williamsburg       VA           23188
                                   Leigh Drane, Manager        100 King Street West,
 Willis Canada Inc.                Commercial Surety           Suite 4700                                                  Toronto            ON           M5X 1E4    Canada
 Willis Of Oregon, Inc.            c/o 26 Century Blvd         PO Box 305191                                               Nashville          TN           37230-5191
 Willis of Oregon,Inc                                          26 Century Blvd           PO Box 305191                     Nashville          TN           37230-5191
                                                               525 Market Street, Suite
 Willis Tower Watson                                           3400                                                        San Francisco      CA           94105
                                                               425 E. Oak Ave, Ste.
 Willis Towers Watson              Jeff Broyles Caleb Bowman   301                                                         Visalia            CA           92391
 Willis Towers Watson Insurance                                18101 Von Karman, Ste
 Services West Inc.                Victoria Cambell, VP        600                                                         Irvine             CA           97612
 Willis Towers Watson Insurance                                18101 Von Karman, Site
 Services West Inc.                                            600                                                         Irvine             CA           92612
 Willis Towers Watson Insurance                                c/o 26 century Blvd. P.O.
 Services West, Ina                                            Box 305191                                                  Nashville          TN           37230-5191




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 Wimcotrans BV                                               Merksplasseweg 35                                           Beerse                       B-2340       Belgium
                                    General Counsel, Legal
 Wind River Systems, Inc.           Affairs                  500 Wind River Way                                          Alameda         CA           94500
                                                             9515 Deereco Road,
 Wise Consulting Associates, Inc.                            Suite 620                                                   Timonium        MD           21903

 Wise Consulting Associates, Inc.                            PO Box 4295                                                 Timonium        MD           21094

 Womble Bond Dickinson (US) LLP Stephanie Yarbrough          Post Office Box 999       5 Exchange Street                 Charleston      SC           29401

 Womble Bond Dickinson (US) LLP Stephanie Yarbrough, Partner 5 Exchange St.                                              Charleston      SC           29401

 Womble Bond Dickinson (US) LLP Stephanie Yarbrough, Partner Post Office Box 99                                          Charleston      SC           29402
                                                             1050 SW 6th Avenue,
 Woodruff-Sawyer Oregon Inc.    Amber Lohmeier               Suite 100                                                   Portland        OR           97204
                                                             1050 SW 6th Avenue,
 Woodruff-Sawyer Oregon Inc.    Eleanor Ko                   Suite 100                                                   Portland        OR           97204
                                                             1050 SW 6th Ave Ste
 Woodruff-Sawyer Orgon InC      Sandra Suter                 1000                                                        Portland        OR           97204

 Worcester Regional Transit Agency Stephen Oneil             287 Grove St #2                                             Worcester       MA           01605

 Worcester Regional Transit Agency                           60 Foster Street                                            Worcester       MA           01608
 Worcester Regional Transit
 Authority                         Stephen Oneil             287 Grove St #2                                             Worcester       MA           01605
 Worcester Regional Transit
 Authority                                                   60 Foster Street                                            Worcester       MA           01608
 Worcester Regional Transit
 Authority (WRTA)                                            60 Foster St                                                Worcester       MA           01608
                                                             10 G Street NE, Suite
 World Resources Institute                                   800                                                         Washington      DC           20002
                                                             2700 Commerce St Suite
 Worldwide Express                                           1500                                                        Dallas          TX           75226
                                                             2023 Victory Avenue,
 Worldwide Express Corp HQ                                   Site 1600                                                   Dallas          TX           75219

 Wujin Lijia Kun Hao Machine Inc.                            West Road #10           Wujin Lijia                         Changzhou       Jiangsu                   China
 Xalt Energy, LLC                                            2700 S. Saginaw Road                                        Midland         MI           48640
                                                             9800 Mount Pyramid Ct.
 XD Innovation, LLC                 Elayna Nagy              Suite 400                                                   Englewood       CO           80112
 Xover - Daimler - Gafner                                    552 Hyatt St                                                Gaffney         SC           29341
 Xover - Daimler Gaffney                                     552 Hyatt St                                                Gaffney         SC           29341
 Yakima School District             Art Rodriguez            1802 Perry St                                               Yakima          WA           98902-6106
 Yakima School District             Art Rodriguez            Transportation Building 1802 W Perry                        Yakima          WA           98902
 Yakima School District                                      104 N 4th Ave                                               Yakima          WA           98902
 Yale University                    Accounts Payable         PO Box 208228                                               New Haven       CT           06520




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 Yale University                    Ronald Stephen Gitelman   2 Whitney Ave                                             New Haven         CT           06510
 Yamatane Logistics                                           4-3-18 Tokai                                              Ota-ku, Tokyo                  1430001      Japan
                                                              2121 Norman Drive
 Yaskawa Americas, Inc                                        South                                                     Waukegan          IL           60085
                                                              777, Avenida
 Yaskawa Electrico Do Brazil LTDA                             Piraporinha, Diadema                                      Sao Paulo                      09950-000    Brazil
 Yaskawa Europe GmbH                                          Hauptstr 185                                              Eschborn                       65760        Germany
 Yoshitaka Hashimoto Komatsu                                  400 Shinden Yokokura    Tochigi Prefecture                Oyama City                     323-8558     Japan
 Yoshitaka Hashimoto Komatsu
 Logistics                                                    400 Shinden Yokokura   Tochigi Prefecture                 Oyama City                     323-8558     Japan
                                                              Beacon Hill Industrial
 Youngs Transport and Logistics                               Estate                 Botany Way              Purfleet   Essex                          RM19 1SR     United Kingdom
 Yua Yang                           Brenda McGill             201 Woodland Rd                                           Gaffney           SC           29341
 Yusen Terminals                                              701 New Dock Street                                       Terminal Island   CA           90731
                                                              707 Third Street, 2nd
 Zero-Emisison Transit Buses        Erica Seghesio-Groves     Floor                                                     West Sacramento   CA           95605
 ZF Friedrichshafen                                           Lowentaler Strabe 20                                      Friedrichshafen                88046        Germany
 Zing Professional Recruiting, A                              431 East Colfax Avenue
 Peoplelink Company                                           Ste 200                                                   South Bend        IN           46617-4707

 Zoom Video Communications Inc.     Attn Legal / Finance      55 Almaden Blvd                                           San Jose          CA           95113
                                                              55 Almaden Blvd, 6th
 Zoom Video Communications Inc.                               Floor                                                     San Jose          CA           95113




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